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           EXHIBIT D
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Dell EMC OpenManage NM v8
Powered by Cruz Operations Center




User Guide
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Notes and Cautions
       A NOTE indicates important information that helps you make better use of your computer.
       A CAUTION indicates either potential damage to hardware or loss of data and tells you how to avoid the problem.




____________________

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2019-2
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2                                                                                                                    OMNM 8.0 User Guide
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                   Deploying Firmware . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 476
                   Restoring a Configuration to Many Devices . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 477
                   Creating/Comparing Promoted Configuration Templates . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 478
                   Troubleshooting Backup, Restore or Deploy Issues . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 479

    9   Change Management and Compliance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 481
                   Change Management Portlets and Editors . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 482
                     Compliance Policies/ProScan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 482
                     Compliance Remediation Actions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 485
                     Compliance Schedules . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 488




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                      Compliance Alarms . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 491
                      Compliance Policy Summary . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 495
                    Using Change Management and Compliance . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 496
                    Configuring Compliance Policy Groups . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 497
                    Change Management (Example) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 498
                      Creating or Modifying a Compliance Policy . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 499
                    Create Source Group Criteria . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 505
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                    Standard Policies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 514
                      Cisco Compliance Policies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 514
                      Cisco Compliance Actions . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 516
                      Cisco Event Processing Rules . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 517
                      Juniper Compliance Policies . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 517
                    Change Determination Process . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 519
                      Change Determination Process Workflow . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 520
                      Triggering Change Management and ProScan . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 521
                      Change Determination Defaults . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 523
                    Compliance and Change Reporting . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 524
                      Forwarding Configuration Change Commands . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 526


    10 Traffic Flow Analyzer . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 527
                    How does Traffic Flow work? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 528
                    Setup Tasks . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 530
                      Creating TFA Configuration for a Managed Resource (Top-Level Device) . . . . . . . . . . . . . . . . . . . . 530
                      Creating TFA Configuration for a Port or Interface (Subcomponent) . . . . . . . . . . . . . . . . . . . . . . . . 530
                      Removing TFA Configuration from a Managed Resource, Port, or Interface . . . . . . . . . . . . . . . . . . 531
                      Showing TFA Configuration for Managed Resource, Port, or Interface . . . . . . . . . . . . . . . . . . . . . . 532
                      Registering an Exporter . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 532
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                      Showing Traffic for a Managed Resource (Top-Level Device) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 533
                      Showing Traffic for a Port or Interface (Subcomponent) . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 534
                      Showing Traffic from the Traffic Flow Page . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 534
                    Traffic Flow Portlet . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 535
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                      Traffic Flow Snapshot . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 542
                      Settings . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 542
                      Domain Name Resolution . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 544
                      Resolving Autonomous System (AS) Numbers . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 544
                    Traffic Flow Analyzer - Example. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 545
                    Traffic Flow Analysis Life Cycle . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 548
                    Best Practices: Performance Tuning Traffic Flow Analysis . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 551


    11 Actions and Adaptive CLI . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 555
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                    Actions Portlet. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 558




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                      Comparison . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 608
                    Active Performance Monitor Support. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . 609
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                                                                                      Preface

The Dell EMC OpenManage NM (OMNM) application offers automated, consolidated
configuration and control of your converged infrastructure resources, including servers, storage and
network devices. You can customize OMNM, and unify multiple systems for a single view of
infrastructure assets, monitoring, compliance auditing, troubleshooting.


Why OpenManage NM?
Productive
Discovery and wizard-driven configuration features are available within minutes of OpenManage
NM installation, which let you quickly discover, monitor and manage your multi-technology, multi-
vendor infrastructure.
Easy
OpenManage NM provides the network information you need from a single pane of glass, and
offers advanced capabilities with minimal configuration overhead.
Valuable
OpenManage NM often costs less to use and maintain than most other solutions.
Scalable
You can scale OpenManage NM to almost any size.

       NOTE:
       The OpenManage NM product is custom software. The underlying software code, debug statements,
       installation files, Java classes, license entries, Logs and so on, may refer to names other than
       OpenManage NM. Such names only have meaning for troubleshooting or support. Most users can safely
       ignore these. Examples include Redcell, Synergy, Oware, and Liferay.


Application Overview
The OpenManage NM (OMNM) application provides a flexible system to manage networks big
and small. It distributes processing between the following elements:
 •     Application Serveris the application’s “central processor.”
 •     Web Portal Server provides clients (browsers) with information based on the Application
       Server’s processes.
 •     Mediation Server manages message processing between the Application Server and managed
       devices.




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             •     Database Serverstores and retrieves information about managed devices.
            The installation wizard displays these options because you can install each of them to separate
            servers. Single-server installations are possible. However, to manage larger networks and provide
            failover High Availability (HA) installations, distributed and redundant installations are also
            available.
                  Single Server                           Multiple Server
                  Solution                                Solution




                                     Client(s)                                Client(s)

                    Application    Web Server                Application      Web Server
                                                              Application      Web Server
                    Server                                   Server
                                                              Server
                    Mediation      Database                  Mediation        Database
                    Server         Server                     Mediation         Database
                                                             Server           Server
                                                              Server            Server




                 Network of                             (Larger) Network of
                 Managed Devices                        Managed Devices


            Refer to the Installation Guide for more information about distributed and HA installations.




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       Key Features
               The following are some key features of OpenManage NM:

               Feature                   Description
               Customizable and          You can customize the web portal, even providing custom designed views of
               Flexible Web Portal       your data assigned to individual users. You can even create web portal
                                         accounts for departments, geographic areas, or other criteria.
               Automate and Schedule     Device discovery populates OpenManage NM’s database and begins network
               Device Discovery          analysis. You can also create schedules to automatically run Discovery
                                         whenever you need to update the initially discovered conditions.
               OpenManage NM             You can administer your network—adding devices, user accounts, and web
               Administration            portal displays—from a secure console on your network.
               Open Integration          OpenManage NM supports industry standards. It comes with an open-source
                                         MySQL database, and supports using Oracle databases. It also uses industry-
                                         standard MIBs and protocols, and even lets you install open-source screen
                                         elements like Google gadgets to its web portal.
               Network Topology          The OpenManage NM topology screen lets you create multi-layered,
                                         customizable, web-based topology displays of your network to help track the
                                         state of network devices.
               Alarms                    Alarms respond to hundreds of possible network scenarios by default, and you
                                         can configure them to including multiple condition checks. Alarms help you
                                         recognize issues before your network’s users experience productivity losses.
                                         Alarms can also trigger actions like e-mailing technical support staff,
                                         executing Perl scripts, paging, emitting SNMP traps to other systems, Syslog
                                         messaging, and executing external application.
               Traps and Syslog          OpenManage NM lets you investigate network issues by examining traps and
                                         Syslog messages. You can set up events/alarms and then receive, process,
                                         forward, and send syslog and trap messages.
               Reports and Graphs        This application comes with many pre-configured reports to display data from
                                         its database. You can archive and compare reports, or automate creating them
                                         with OpenManage NM’s scheduler. If your package includes them, you can
                                         also configure graphs to present performance and traffic flow data.
               Modularity                Modules analyze network traffic, manage services and IP address and subnet
                                         allocations. OpenManage NM modules save time adding to existing
                                         OpenManage NM deployments to add feature functionality without requiring
                                         additional standalone software.


       Networks with Dell EMC OpenManage NM
               The beginning of network management with OpenManage NM is executing Discovery Profiles to
               discover resources on a network. After that occurs, you can configure System Topology, Resource
               Monitors, and Performance Dashboards.
               After these initial steps, OpenManage NM helps you understand and troubleshoot your network’s
               conditions. For example: Suppose a OpenManage NM Performance Dashboard displays something
               you want to troubleshoot. You can right-click the impacted device in the Managed Resources
               portlet to access its configuration and initiate potential actions on it. The Network Status icon in
               the view indicates the device status. Its Connected Devices panel also displays the highest severity
               alarm on the device or its sub-components. For example, red indicates a Critical alarm.




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            In screens like Connected Devices on page 191 you can examine each section of device
            information and right-click components to see further applicable actions. For example, right-click
            to Show Performance, and edit and/or save that view of performance as another Performance
            Dashboard. Performance can also appear in portlets that Show Top Talkers (the busiest devices) or
            Show Key Metrics.
            From looking at Performance Dashboards or Top N [Assets] you may conclude some configuration
            changes made memory consumption spike. Right-click to access resource actions under File
            Management Menu that let you see the current configuration files on devices, and compare current
            to previous. You can also back up devices (see Backing Up Configurations on page 473) and restore
            previously backed up files (see Restoring Configurations on page 474). Finally, you may simply
            want to Resync (another right-click menu item) to insure the device and your management system
            are up-to-date.

                 NOTE:
                 Alternatively, the Alarms portlet also lets you right-click to expose Alarm Actions.
            You can right-click for Direct Access – Telnet or Direct Access – MIB Browser to display a
            command line telnetting to the device, or an SNMP MIB browser to examine SNMP possibilities
            for it.
            Click the plus in the upper right corner of any portlet to see its expanded version, for example: the
            Managed Resources expanded view. This displays detail or “Snap-in” panels at its bottom, with
            additional information about a selected resource.
            Generating a Report let you take snapshots of network conditions to aid in analysis of trends, and
            Audit Trail portlets track message traffic between OpenManage NM and devices.

      Updating Your License
            If you have a limited license — for example OpenManage NM may limit discovery to a certain
            number of devices — then it does not function outside those licensed limits.
            You can purchase additional capabilities, and can update your license for OpenManage NM by
            putting the updated license file in a convenient directory. Click License Management from the
            Settings > Application Configuration Settings portlet to register your license Your updated license
            should be visible in the License Viewer (See License Viewer Window on page 46 for details.)

                 NOTE:
                 If you update your installation from a previous one where you upgraded license, you must also install any
                 new licenses.
            If you import a license that, for example, changes the application’s expiration date, it often does
            not immediately take effect. Log out and log in again to have newly licensed capabilities
            immediately (with a few exceptions that may make you wait).
            Licenses support three expiration formats: Never, Date certain, and a format that indicates the
            license will be valid for a number of days after registration.




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       Online Help/Filter
               Access general online help by clicking Help from the OpenManage NM portal header. Help
               appropriate to each portlet appears when you click the help tool (question mark) on the portlet title
               bar.
               By default, this opens a separate browser window, which is not necessarily always in front of the
               screen that calls it. Because it is separate, you can arrange the display so the help screen does not
               conceal the portlet it describes. Click the Show button to display the contents, index and search
               tabs (Hide conceals them again), and the Prev/Next buttons, or clicking table of contents topics
               moves to different topics within the helpset.

                      NOTE:
                      A browser’s cache may interfere with help’s correct appearance. If you see a table of contents node
                      without contents, refresh (Reload) the help window or the application page.




A Note About Performance
               OpenManage NM is designed to help you manage your network with alacrity. Unfortunately, the
               devices managed or the networks that communicate with those devices are not always as fast as this
               software. If discovery takes a long time (it can), often network and device latency is the culprit. You
               can also optimize installations to be faster (see the recommendations in the Installation Guide and
               the first chapter of this guide), and limit device queries with filters, but device and network latency
               limit how quickly your system can respond.

                      NOTE:
                      If you use management systems other than this one, you must perform a device level resync before
                      performing configuration actions. Best practice is to use a single management tool whenever possible.




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20                                                           OMNM 8.0 User Guide
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                                                                                                          1
Getting Started
The section outlines the steps in a typical OpenManage NM (OMNM) installation. Because the
software described here is both flexible and powerful, this section does not exhaustively describe all
the details of available installations. Instead, references are made to those descriptions elsewhere in
this guide, the OpenManage NM Installation Guide, or online help. This guide assumes that the
OMNM product is installed and operational.
This section focuses on the tasks a user performs. For a detailed description of the OMNM portal,
windows, portlets, options, features, and so on.
In addition to the general information and the portlets and editors description, this section
provides administrative tasks. If you already have a good understanding of the general information
and the Control Panel, portlets, and editors, go directly to the tasks you want to perform.
OMNM Administrative Tools – 22
General Information – 57
Starting/Stopping OMNM – 60
Setting Up Secure Connections (SSL & HTTPS) – 62
Managing Users and Permissions – 65.
Implementing DAP – 73
Opening an Archive in dapviewer – 74
Backing Up the Database – 75
Restoring Databases – 76
Setting Up Authentication – 77
Configuring Pages and User Access – 85
Registering a License – 90
Creating an IPv6 Discovery Profile – 93
Discovering Resources – 96
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OMNM Administrative Tools | Getting Started



OMNM Administrative Tools
                   In addition to the OpenManage NM (OMNM) Control Panel on page 22, this section describes
                   the following portlets, editors, and windows used by a system administrator or anyone else
                   responsible for the tasks described in this section:
                    •   Aging Policies Editor
                    •   Quick Navigation Portlet
                    •   Network Tools
                    •   License Viewer Window
                    •   Common Setup Tasks Portlet

         Control Panel
                   Use the Control panel to configure access to the OpenManage NM system. You must be signed in
                   as a user with administrative permissions. (The default admin user has such permissions.) The Go
                   to > Control Panel menu item opens a screen with the following tabs of interest:
                    •   Administrator
                    •   [Domains]
                    •   Portal > Users and Organizations
                    •   Public/Private Page Behavior
                    •   Portal > Roles
                    •   Portal > Portal Settings
                    •   Portal > [Other]
                    •   Redcell > Permission Manager
                    •   Redcell > Database Aging Policies (DAP)
                    •   Redcell > Data Configuration
                    •   Redcell > Mediation
                    •   Redcell > Filter Management
                    •   Redcell > Application Settings
                    •   Server Administration
                   Each screen begins with its description. Click the question mark button to hide or show this
                   description. Tool tips appear when you hover the cursor over fields, or click the question mark
                   button.




                   Users without Administrator permissions may not see all of the features described in this guide.
                   See Control Panel on page 22 for the Control Panel capabilities.
                   Sometimes OpenManage NM may display Control Panel objects like users, roles, and organizations
                   inaccurately. This occurs because search Indexes need to be re-indexed every so often, especially
                   when changes to roles, users and organizations are frequent.
                   To re-index go to Control Panel > Server Administration and then click on the Reindex all search
                   indexes. This takes little time.




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               Administrator
               To configure information for your login, look for the bar titled with your account login’s name. It
               has the following lines beneath it:
               My Account— This configures your information as a user, including your e-mail address, password,
                   and so on.
               Contacts Center—This configures contacts, in other words, people within your system that you
                   are following. This is not the same as customer contacts as in the Contacts portlet (see
                   Contacts Portlet on page 220).
                      Click the Find People link to see a list of potential contacts within your system. You must click
                      Action > Follow to see them listed in the Contacts Home. Use the Action button to explore
                      other possibilities.
                      The contact has to approve you in their requests. To Follow means you want to receive the
                      followed person’s activity stream, blog postings, and so on. Friending means your friends can
                      see your activity and you can see theirs. They have to accept any Friend request.

                      NOTE:
                      You can export vCards for all contacts in the system to use with other software that uses contacts. For
                      example: e-mail clients.

               [Domains]
               A default domain name (OMNM) appears in Control Panel. Global and Administrator’s Personal
               Site, or [Multitenant Site Names] site configurations may appear as additional items to configure
               when you expand the domains list. The Global option is unrelated to Dell EMC OpenManage NM
               functionality. Refer to the Installation Guide or online help for more about Multitenancy, also
               referred to as MSP (Multitenant Service Provider) capabilities.

                      NOTE:
                      See whether Multitenancy is installed from the Manage > Show Versions > Installed Extensions list. It
                      shows as the Synergy MSP Extension.
               The domain options configure the site settings and the portal’s overall look and feel, reference
               information, and so on. See the tooltips for more complete descriptions. This also configures pages,
               documents, calendars, blogs, wikis, polls and so on.
               Social Activity lets you alter measurements for user participation in organizations. Equity values
               determine the reward value of an action; equity lifespans determine when to age the reward of
               action.

               Portal > Users and Organizations
               In these screens you can create Users you later assign to Roles and Locations with the appropriate
               permissions (Roles for operators, administrators, and so on). The limit for User Names is 70
               characters. Define the default password policy in the Control Panel under Portal > Password
               Policies.




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                   Users perform tasks using the portal. Administrators can create new users or deactivate existing
                   users. You can organize users in a hierarchy of organizations and delegate administrative rights.




                   After creating them, add Users to roles which configure their permissions for access and action with
                   the Actions menu to the right of a listed user, or during user creation.

                        NOTE:
                        Best practice is to spend some time designing your system’s security before creating users,
                        organizations and roles.
                        By default, every new user has the Power User and User roles. To assign a new user to specific
                        permissions only, remove all rights on these roles, or confine their permissions to those that are
                        universal first. You can remove users from Power User, but not from User.
                   When signed in, you can edit your user information by clicking the link with your username in the
                   top right corner of the screen.
                   User/Power User Roles
                   This role’s description is Portal Role: Portal users with view access. To turn off most permissions
                   from the User Role, go to Redcell > Permission Manager and edit the User role. The Advanced
                   button opens a screen where you can select/de-select permissions in larger groups. Power User is
                   Portal users with extended privileges, and Administrator is Portal users with system privileges.
                   Default User Roles — Power User
                   To make new users not assigned as Power Users by default, go to the Portal > Portal Settings >
                   Users > Default Associations Tab and remove the roles you do not want assigned by default. Notice
                   that you can assign/unassign to existing users in this tab too. The role User appears in this default
                   list, but removal does not have an impact. OpenManage NM automatically assigns all users to the
                   User role, so you must modify it as a universal minimum of permissions.
                   Multitenancy and Roles
                   For a new user that is part of Customer Turnup, OpenManage NM always assigns the Power User
                   role, regardless of defaults, since it is a Site Contact.

                   Public/Private Page Behavior
                   Despite the small Public/Private label next to the My Private/My Public pages listed in the Go To
                   menu, both types of pages appear only for the user(s) who created them. Page Standard settings are
                   Max Items, Default Filter, Max Items per Page, and Column Configuration. These persist for



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               Admin users on the OpenManage NM pages, or for users who have the portlet on their Public or
               Private pages (which makes them the owner of that instance). Without OpenManage NM portlets,
               URLs for pages labeled public are accessible even to users who do not log in.
               Some portlets provide extra settings—for example Alarms portlet’s charting options, or the Top N
               portlets number of Top Items. These persist too.

                      NOTE:
                      Max Items, Max Items Per Page and Columns persist for both the summary and maximized portlets
                      independently. For example: If Max Items is 50 in minimized mode it does not affect the Max Items in the
                      Maximized window state. This lets you configure modes independently.
               OpenManage NM remembers the default sort column and order per user, whether the user has
               Admin rights or not. The Sort Column/Order (Descending/Ascending) is also shared between
               both summary and maximized portlets. A sort on IP Address in Resources persists if you expand the
               summary portlet to maximized mode.
               The My Public and My Private pages do not appear in sites that have Multitenancy enabled unless
               you access them through Portal > Sites in the Control Panel. These pages are unrelated to user-
               specific pages in non-Multitenant installations. They refer to the site, not the user. Refer to the
               Installation Guide for more information about Multitenancy.
               In any case, the administrative user can re-arrange pages and portlets in a way that persists. Non-
               administrative users typically cannot do this.

               Portal > Roles
               Roles determine the applications permissions available to users assigned them; manage them in the
               Portal > Roles screen. Notice that these permissions are for the web portal’s open source
               capabilities. You can click the Actions button to the right of listed Roles to change a role’s portal
               capabilities. To configure OpenManage NM’s functional permissions, over and above portal
               capabilities, use the editor described in Redcell > Permission Manager on page 27.
               Click Add to create a Regular Role, Site Role, or Organizational Role. A Regular Role assigns its
               permissions to its members. A Site or Organizational Role assigns portal permissions to a site or
               organization to which you can assign users. Other than for Regular Role, however, only web portal
               permissions (not OpenManage NM permissions) are available for Site Roles and Organizational
               Roles. Only Regular Roles restrict a user’s OpenManage NM abilities.
               Click the Action button to the right of a role to Edit, view or alter Permissions, Assign Members
               (this last works to see and assign users). You can also assign role members in the Portal > Users and
               Organizations user editor.

                      NOTE:
                      Owner Roles do not have an Action button. Owner implies something you have added or created and so
                      actions do not apply.
               Notice also that when you Assign Members, a screen appears with tabs where you can assign Users,
               Sites, Organizations and User Roles. Typical best practice is to assign users to one of these
               collective designations, then assign the collection to a Role.
               Notice also that you can view both Current and Available members with those sub-tabs. You can
               even Search for members.
               Click Back (in the upper right corner) or the View All tab to return to the screen listing roles and
               their Action buttons.




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                   Portal > Password Policies
                   This panel lets you configure password policies for your installation. It includes options that
                   configure whether and when change to passwords must occur, syntax checking, history, expiration,
                   and lockout policies for failed logins.

                        NOTE:
                        For users of Multitenant sites, logins require the prepended site prefix. For example, an admin user in
                        customer site with prefix BP, logs in as BP-admin.
                   You can also generate a User Login Report/Last 30 Days to view the history of logins.

                   Portal > Portal Settings
                   The Settings screens are where users who are administrators can configure the most basic global
                   settings for OpenManage NM, including names, authentication, default user associations, and mail
                   host names. These include the following:
                    •   Users — Among other things Default User Associations configures Site and Role defaults for
                        users. Remember, you can remove the Power User default here, but removing the User role
                        does not work. You have to change permissions for User because every user gets that Role.
                    •   Mail Host Name(s) — These are for user account notifications, not mail hosts for
                        OpenManage NM event-based notifications configured in Event Processing Rules, for
                        example (see Automation and Event Processing Rules on page 297). Configure such
                        notifications as described in SMTP Configuration on page 54.
                    •   Email notifications, who sends them, what the contents are for account creation notices, or
                        password change/reset notices.
                    •   Identification, including address, phone, email and web sites.
                    •   The default landing page, and display settings like the site logo.
                    •   Google Apps login/password.

                           CAUTION:
                        Checking Allow Strangers to create accounts may produce a defective login screen. Do not do it.

                   Portal > [Other]
                   Some of the remaining portal items permit the following:
                   Sites—Configure sites. Sites are a set of pages that display content and provide access to specific
                        applications. Sites can have members, which are given exclusive access to specific pages or
                        content. Refer to the Installation Guide (or online help) for a more in-depth explanation of
                        Multitenancy and the real power of sites.
                   Site Template— Configures pages and web content for organizations. Refer to the Installation
                        Guide (or online help) for a more in-depth explanation of Multitenancy and the real power of
                        sites.
                   Page Template—Configures a page and portlets, as well as permissions. Refer to the Installation
                        Guide (or online help) for a more in-depth explanation of Multitenancy and the use of Page
                        Templates.
                   Password Policy—Configure the security policies you want, including user lockout and password
                        expiration, and assign them to users.
                   Custom Fields— Lets you configure custom fields for Blog entries, Bookmarks or Bookmark
                       Folders, Calendar Events, and so on.




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               Monitoring—Lets you see details like accessed URLs, number of hits, and so on, for live sessions
                  on the portal. Click a session to see its details. This is usually turned off in production for
                  performance reasons.
               Plugins Configuration— Configure access to portlets and features like themes, layouts and so on.
                    By default, only administrators can add portlets/plugins to their pages.

               Redcell > Permission Manager
               Manage Permissions in these panels to manage user access to different OpenManage NM features.
               These are configured as part of Roles, which aggregate users regardless of community affiliation.
               Create Roles with Portal > Roles.
               Notice that, by default, User, Power User and Administrator roles exist and have OpenManage NM
               permissions. Also, by default, the application assigns User and Power User roles’ permissions to any
               new users you create. Since OpenManage NM logically ANDs all permissions, this may mean you
               want to alter the defaults that come with these roles too. You can remove the Power User default in
               the Portal > Portal Settings > User > Default User Associations panel, but removing the User role
               from these default assignments is ineffective, so take care to configure User to reflect your system’s
               requirements.
               The Users editor screen accessible from the Action menu for users listed in Portal > Users and
               Organizations lets you manage groups to which Users are assigned.




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                   Click the Actions Edit button to see and configure its permissions.




                   Notice that you have the option to view Assigned or All permissions or search for the permission
                   you want to locate.
                   Click Actions Edit button to modify the type of permissions available.




                   The following describes the actions of the permissions, when selected:

                   Action              Default Behavior
                   read                Enables Details, Topology and View as PDF
                   write               Enables the Edit, Save, and Import/Export.
                   execute             Lets you see the view altogether, launch from a portlet and query for elements.
                                       Alternatively this action can control a specific application function, (typically
                                       described by the permission name) like provisioning a policy.
                   add                 Enables the New menu item, and Save. If you do not check this action, then the New
                                       menu item does not appear.
                   delete              Enables the Delete menu item.




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               The Advanced button lets you configure each functional permissions by type. For example, expand
               the Read list to specify READ permissions to all or selected functions.




               When you hover the cursor over a functional permission, tooltips provide a description.

                      NOTE:
                      If you upgrade your installation and new permissions are available, edit the Administrator Role, and
                      notice an enabled Add button indicates new permissions are available. Because of an upgrade, for
                      example, the Configuration Files portlet might not be visible. By default, upgrades turn off any new
                      permissions, so if you want them enabled, particularly for Administrators, click Add and enable them for
                      the Roles for which you want them enabled.
                      The portlet settings button (wrench) through which you edit portlet settings, is only accessible if you
                      have the “Change Portlet Settings” permission. On upgrade, no users this permission. This is by
                      design, because the intent is for the system administrator to consider which users (more specifically,
                      which user roles) should change portlet settings and which users should not have access to this
                      feature.

               Redcell > Database Aging Policies (DAP)
               Database Aging Policies prevent the OpenManage NM database from filling up by deleting old
               records. You can also save designated contents to an archive file on a specified cycle. Database
               Aging Policies configure which contents to archive, the archive location, and the configuration of
               that archive file.




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                   To view and manage such policies, right-click an item with them (for example, an alarm), or click
                   Manage > Control Panel, and under Redcell click Database Aging Policies.




                   Policies appear in the Aging Policies tab of this screen, with columns that indicate whether the
                   policy is Enabled, the Policy Name, Details (description), Scheduled Intervals and icons triggering
                   three Actions (Edit, Delete and Execute). Notice that the bottom right corner of this page also lets
                   you Enable/Disable/Execute All policies listed.

                   Redcell > Data Configuration
                   This panel configures custom attributes for OpenManage NM. Click the Edit button next to the
                   Entity Type (Managed Equipment, Port, Contact, Vendor, or Location) for which you want to
                   create custom attributes. This opens an editor listing the available custom attributes for the entity
                   type. Editing Custom Attributes on page 150 describes right-clicking to access this directly from
                   the portlet menu, and the details of how to edit custom attributes.

                        NOTE:
                        The custom fields configured here are for OpenManage NM. only. The Custom Fields editor in the Portal
                        portion of Control Panel manages custom fields for the rest of the portal.

                   Redcell > Audit Trail Definitions
                   This screen, accessible from Go to > Control Panel lets you manage audit trail definitions in
                   Redcell. Audit trail entries are based on these definitions. Clicking the Edit icon to the right of a
                   listed filter opens the editor. From this screen you can control the behavior of audit trail entries
                   based on each respective definition.
                   The following fields are available for configuration:
                   Severity Level - Users viewing the audit trail must have at least this level of security in order to view
                   this type of audit trail. 0 is the most restrictive, so if a definition has a security level of 0 then only
                   users with the highest level of security can see this type of audit trail.




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               Disabled - Controls whether or not this type of audit trail is saved to the database. If disabled is
               checked, then audit trail entries of this type are not saved.
               Emit Event - Controls whether or not to emit an event when this type of audit trail is created. This
               can be useful, for example, if you want to forward audit log entries to a northbound system. To do
               this, simply check Emit Event for the type of audit trails that you want to forward and then create
               an Event Processing Rule to forward northbound all events of type redcellAuditTrailEntry. Note
               that the default behavior for the event definition redcellAuditTrailEntry is reject, meaning that
               these events will not be saved to the event history, but they can still nonetheless trigger the
               execution of event processing rules.

               Redcell > Mediation
               This panel monitors mediation servers in your system, appearing only when such servers exist.
               Mediation servers appear listed in the Servers tab of this manager if mediation servers are
               connected to application servers.




               Mediation server, routing entries and partition entries appear automatically when mediation server
               connects for the first time. You can test connectivity from appserver cluster and medserver/
               partition.
               You can export or import both server and partition configurations. Use the button on the right
               above the listed servers or partitions to do this. Importing Partitions/MedServers overwrites those in
               the database with the same names. Exporting a partition exports contained medservers too.
               Importing a partition looks for overlapping routing entries and saves the partition with only its
               unique entries. If no entries are unique, the partition is not saved.

                      NOTE:
                      This panel does not appear if you install OpenManage NM in stand-alone mode, without a separate
                      mediation server. To make it appear, add medserver.support=true to portal-
                      ext.properties file in \oware\synergy\tomcat-7.0.26\webapps\ROOT\WEB-
                      INF\classes. Remember, best practice is to override properties as described in Overriding
                      Properties on page 111.




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                   In addition to automatically detecting mediation servers, you can click Add Server to configure
                   additional mediation servers.




                   When creating a new server, enter a Name, Description and IP Address. You can also Create
                   Partition (or select from Existing Partitions), choosing a Name, Description, Routable Domain,
                   and Routing Entries (click the ‘+’ to add your entries to the list).
                   The Test button scanning the ports in the proposed application server/mediation server link,
                   validating the installed versions of OpenManage NM in both locations are the same, and validating
                   the connection between application server and mediation server. A window opens similar to the
                   Audit Trail/Job Status on page 151 that tracks testing progress.
                   The Partitions tab of the Mediation monitor displays already-configured partitions, and lets Add
                   Partition, or lets you edit them with an Edit this entry icon. The editor screen is like the one that
                   adds new partitions, where you enter a name, description and routable domain CIDR IP addresses.
                   Test listed partitions with the gear icon to the right of the partition, or delete it with the Delete this
                   entry icon. Notice that you can also Import/Export partition descriptions with that button on this
                   screen.
                   Search for Mediation Server
                   The Search button in the Partitions tab of the Mediation monitor opens a screen where you can
                   enter an address in IP to Search for.




                   Clicking Search locates the mediation partition that services the entered IP address (although it
                   does not determine whether that partition is up and running).




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               Redcell > Filter Management
               This screen, accessible from Go to > Control Panel lets you manage the filters in OpenManage
               NM.




               Click the Delete icon to the right of a listed filter to remove it from the system. Click the disk icon
               to export the filter. Clicking the Import button at the top of the screen lets you import previously
               exported filters.

                      NOTE:
                      To find a particular filter, click the Search (magnifying glass) icon in the lower left corner of this screen.
               Clicking the Edit icon to the right of a listed filter, or clicking the Add Filter button opens the filter
               editor.




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                   Use this editor to configure filters. Enter a Name and Description, and use the green plus (+) to
                   select an entity type from a subsequent screen. Checking Shared makes the filter available for all
                   users, not just your user. You can add groups of filter criteria (click Add Group) that logical AND
                   (Match All) or OR (Match Any) with each other. Click Clear Conditions to remove criteria.
                   Configure the filter in the Criteria Group panel as described in the How to: Defining Advanced
                   Filters on page 147. Delete filters with the Delete this entry icon next to the edit icon.

                   Redcell > Application Settings
                   This screen has several panels in the following tabs:
                    •   General > Entity Change Settings
                    •   User Interface > Map Provider
                    •   User Interface > Job Viewer
                    •   User Interface > Performance Chart Settings
                    •   User Interface > Revert to Factory Defaults (self-explanatory)
                    •   Server
                   General > Entity Change Settings
                   This panel lets you override polling/refreshing for the minimized Managed Resources, Alarms,
                   Hierarchical View Tree, Topology and Map Context portlets. By default, these portlets poll at 40,
                   35, 40, 40, and 60 seconds, respectively, for changes in the data and automatically refresh. Polling
                   times are configurable. The valid range is 10 seconds -> 3600 (1 hour) for the minimized Alarms
                   portlet, 20 seconds -> 3600 seconds for the others.




                   User Interface > Map Provider
                   The Map Provider panel lets you set whether OpenManage NM uses Google or Nokia maps by
                   default, and sets the Initial Latitude and Longitude. Check Use Secure API if you want to load map
                   APIs in secure SSL mode. Some browsers block non-secure external APIs if they are viewing a
                   secure page, so use this if you view OpenManage NM through an HTTPS connection.




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               Follow the directions in Setting Up Google Maps on page 255 to set the application to use those
               maps.




               User Interface > Job Viewer
               The Job Viewer panel lets you select the following options and set the popup width:
               Show Job Viewer—Checking this displays the job viewer after Execution (most cases). Leaving it
                   unchecked does not display it, although you can still view jobs with My Alerts in the lower left
                   portion of the screen.
               Always show Job Viewer for Actions—When checked, this displays the job viewer for execution of
                   Actions or Action Groups.
               Show Information Messages by Default—When checked, shows informational message nodes by
                   default.




               User Interface > Performance Chart Settings
               This panel displays options for the performance dashboard and traffic charts. Day and Minute
               Formats depend on the locale settings in the operating system running OpenManage NM. Select
               them in the pick lists that appear in this panel. The 24 Hr Clock setting makes the charts show
               times in 24-hour format.
               The Canvas Line Charts option controls the type of line charts that are used. Earlier versions of
               OpenManage NM used a Scalable Vector Graphics type line chart. OpenManage NM now supports
               a Canvas based line chart which can display many more points. If you prefer to use the old style
               SVG line charts you can uncheck this box.
               The Restrict Y-Axis Range to data range option causes the Y-axis range to be based on the range of
               data being graphed. If this is not checked the range will be based on the max and min values
               associated with the attribute definitions. For example most % values will have a range of 0 to 100.




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                   The Equipment Display setting controls how equipment labels are shown in the performance
                   dashboards. The default is to display the IP address. You can also have it display the device name.
                   The Port/Interface Display setting lets you select between showing the Port/Interface Name of the
                   Port/Interface description.




                   Server
                   This panel lets you override the system defaults for web client time-outs. You must configure this if
                   you want your web client to remain connected to the server for extended periods. The timeout
                   extends automatically with any activity (keystrokes) on the client.




                   Set the timeout with the following fields:
                   Override System Defaults— Check this to start overriding the system default time-outs for all
                       users.
                   Timeout [mins]—Enter the minutes of inactivity before Timeout occurs (5 - 2880 [two days])
                   Role based Extended Inactivity
                   If you want to confine extended web client sessions to a particular role, then use these fields to
                   configure that.
                   User Role—Select the role for which this override works from the pick list.
                   Timeout [days]—Select the number of days for role-based timeout override, up to 365.

                   Server Administration
                   The Server Administration option lets you manage the portal’s webserver, and maintain its smooth
                   operation in a variety of ways. Click the Execute buttons to run actions, such as re-indexing the
                   search indexes. These options are visible to administrators only and they contain helpful settings
                   and resource information related to the server.
                   Access this option by selecting Go to > Control Panel > Server > Server Administration.




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       Aging Policies Editor
               When you click Add Policy, a selector appears where select the kind of policy you want to create and
               the then the editor appears. If you click the Edit icon to the right of a listed policy, the Aging
               Policies Editor appears with that policy’s information already filled out, ready to modify.




               The General screen has the following fields:
               Name— An identifier for the policy
               Description— A text description of the policy
               Enabled—Check to enable the policy.
               Schedule Interval—Use the pick list to select an interval. Once you have configured an interval
                   here, you can re-configure it in the Schedules portlet.
               Base Archive Name—The prefix for the archived file.
               Compress Archive— Check to compress the archive file.
               Archive Location—Select from the available Repositories in the pick list.
               The contents of the Options tab depend on the type of DAP you are configuring. Typically, this tab
               is where you set the retention thresholds.




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                   DAP SubPolicies
                   Some Options tabs include sub-policies for individual attribute retention.




                   Click Add SubPolicy or click the Edit button to the right of listed policies to access the editor. The
                   fields vary depending on the policy selected.

                   Editing Tips
                        Archiving options that appear in the Aging Policies Editor vary, based on type of policy
                        selected. Inventory Change Tracking DAPs ask how long you would like to keep Config
                        reports, Inventory Report DAPs ask how long you would like to keep your Historical Reports
                        based on number of instances, days, and weeks, months or years.
                        Set these thresholds in the Options tab. All DAPs require a Name and a record threshold.
                        Check the Enabled checkbox to enable the policy.
                        DAPs run on a schedule. If the record threshold number is greater than or equal to the
                        configured threshold then the DAP runs at the scheduled time. You may also manually click
                        the gear icon to the right of a listed policy, and execute a DAP at any time to check that
                        threshold figure. In either case, if the threshold is not crossed OpenManage NM creates no
                        archives.
                        To verify when current DAPs are scheduled to run, open the Schedules portlet, and select the
                        schedule on which it runs. For most DAPs, this is the Daily (recommended) DAP. Right-click
                        to edit it. The Scheduled Aging Policies list should include all DAPs that have selected that
                        schedule.




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               Aging Policies Options
               The Options tab in this editor can vary, depending on the type of policy.




               Fields can include the following:
               Keep [Aged Item] for this many days—The number of days to keep the aged item before
                   archiving it.
               Archive [Aged Item]— Check this to activated archiving according to this policy.

               Sub-Policies
               Some types of Database Aging Policies can have sub-policies that further refine the aging for their
               type of contents.
               These appear listed in the Aging Policies Options tab. Click Add Sub Policy to create them. Notice
               that you can Edit or Delete listed policies with the icons in the far-right Action column in this list.
               Such sub-policies can contain the following types of fields:
               Component— Select the component for the sub-policy from the pick list.
               Action Type—This further sub-classifies the Component.
               Retention (Days)— The number of days to keep the aged item before archiving it.
               Archive— Check this to activated archiving according to this policy.




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                   Repositories
                   When you select a repository in the Aging Policies Editor, the available policies come from what is
                   configured in this tab of the editor.




                   Available repositories appear listed in the initial screen. Like the Aging Policies Editor, you can
                   click Add Repository to create a new repository, and Edit or Delete selected, listed policies with the
                   icons in the Action column. Notice the listed policies indicated whether the archiving destination
                   is Online with a green icon (this is red, when the destination is offline).




                   When you Add Repository or Edit an existing one, the following fields appear in the editor:
                   Repository Name— An identifier for the archiving destination.
                   Description—A text comment.
                   Virtual Path—This is the path relative to the installation root directory. Any user with
                        administrator permissions can specify or change the default archive path here.
                   Online—Check this to put this repository online.




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               OpenManage NM automatically writes to any configured failover repository if the primary
               repository is full or not writable.

                      NOTE:
                      To view any archived DAP file, use dapviewer. Type oware in a command shell, then, after pressing
                      [Enter], type dapviewer to use this utility.


       Quick Navigation Portlet
               By default, the Quick Navigation portlet is available from the Home page. Admin users and Power
               users can see all tasks listed. The User role sees only options to which the user has write
               permissions.




               The Quick Navigation portlet lets you quickly perform these basic tasks:

               Task                     Description
               Quick Discovery          Discovers devices in you network with the Quick Discovery defaults, or construct
                                        a Quick Discovery profile if not exists. See Discovering Resources on page 211 for
                                        details.
               Link Discovery           Discovers their connections to resources after you discovered them. See Link
                                        Discovery on page 190. This option is visible only if you have write permission.
               Managed Resource         Backs up discovered devices’ configuration files. Before you can use this feature,
               Configuration            you must have servers configured as described in File Servers on page 468. See
                                        also Configuration File Compare Window on page 459.
               Upload Firmware          Uploads firmware changes for devices. See Firmware Image Editor on page 464
               Image                    for more about these capabilities. This option is visible only if you have write
                                        permission.
               Deploy Firmware          Deploys firmware updates. To deploy images, you must have File Servers
               Image                    configured, as described above for Backup. See Deploying Firmware on page 476.




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         Network Tools
                   The Network Tools portlet lets you invoke a variety of existing functions on a device without having
                   the device currently discovered. It typically appears listed as an available Application to install as a
                   portlet.




                   Before you can use the tools, you must enter an IP address in the appropriate field. Once you have
                   entered that address, you can use the following:
                    •   Ping Tool
                    •   MIB Browser Tool
                    •   Direct Access Tool

                        NOTE:
                        If you want to restrict access for some users so they do not automatically log in with direct access, then
                        remove direct access permissions for users, and use Network Tools for direct access.

                   Ping Tool
                   The second button is the Ping tool, which pings the selected device, and lists the time for ping
                   response.




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               MIB Browser Tool
               The first button displays the MIB browser with default SNMP settings. You can Edit the settings to
               match the device’s SNMP community settings and then save them. The next time Network Tools
               invokes the MIB browser, it defaults to your previous settings.




               Once you are done editing the SNMP settings, click Save. Click the Browse tab to look through
               available MIBs as you would ordinarily do in MIB browser. See MIB Browser Tool on page 43 for
               more about using the MIB browser. You can also browse MIBs in the attribute selection panel for
               the SNMP monitor. See SNMP on page 413.

                      NOTE:
                      Locations for MIB file included with your package are subject to change without notice, but generally are
                      under the owareapps/[application name]/mibs directory for different application modules. Refer to the
                      Installation Guide for additional information.

               Direct Access Tool
               The third button on the Network Tools portlet toolbar opens the Direct Access tool. It provides a
               command line interface terminal for Telnet, SSH, and SSH V2 access to the device.




               Click and select the type of direct access you want.
                •     Direct Access - Telnet
                •     Direct Access - SSH/SSH V2
               Or see Firefox Browser Configuration for Direct Access on page 44.
               Direct Access - Telnet
               Telnet direct access connects to the device with telnet and displays the terminal session. You must
               login to the device manually, unlike the method described for discovered devices in Network Tools
               on page 42.




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                   Direct Access - SSH/SSH V2
                   Direct Access for SSH or SSH V2 first prompts for a user name and password.




                   The Use LF instead of CR LF checkbox suppresses carriage returns when you click Enter key. This
                   is necessary for some devices (for example: some Dell Power Connect devices).
                   Once you log in, OpenManage NM attempts to connect with SSH or SSH V2 using the user id and
                   password provided. Some Dell Power Connect devices do not log when connected and prompt you
                   to enter the user and password again.
                   Firefox Browser Configuration for Direct Access
                   To make Direct Access - Terminal tool for CLI cut-through to work on the Firefox browser; you
                   must install or update the latest version of Java that is compatible with the browser from the
                   following page.
                   https://www.java.com/en/download/manual.jsp
                   Once installed, go to Firefox plugins page (about:addons) and enable the Java plugin.




                   You must enable Java content in the browser from your Java Security configuration.
                   Control Panel > Java > Security tab > select “Enable Java content in the browser” option.




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               You might also have to add the OMNM server IP Address to the Java Security Exception Site list.




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         License Viewer Window
                   Use the License Viewer window to examine the licenses for your system’s capabilities, monitor
                   license expirations, and register a license.
                   Access the License Viewer window by clicking the License Management button from the Settings
                   > Application Configuration Settings portlet.




                   The License Viewer provides access to the following panels by selecting the appropriate tab:
                    •   Subscription Info
                    •   Product
                    •   Subscription Renewal
                    •   Register License
                   See Registering a License on page 90 for detailed instructions. The following section details how
                   license expiration notification works.

                   License Expiration Notification
                   The OpenManage NM (OMNM) system includes an alarm warning of possible license expiration
                   (emsAppServerLicenseWillExpireSoon). If your license is about to expire, a license expiration
                   warning similar to the following example displays in the Alarms portlet.
                        Application server license will expire in 30 days, on 2017-7-14,0:0:0.0,-
                         -8:0
                   The time (0:0:0:0) indicates midnight, and --8 hours is the offset from GMT.




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               When this event occurs, the portal status bar color changes and displays the following message,
               which includes the number of days until license expiration:
               Your Application Server license will expire in 30 days causing the system to
               shutdown in red status banner.
               Click the message and the License Viewer, Subscription Renewal panel opens, where you can start
               the license renewal process.
               The alarm color reflects the threshold for the number of days remaining before license expiration:
                •     60 days or less: yellow status bar
                •     30 or less days: red status bar
                •     61 or more days status bar does not change colors
               A 0 days left message means that you have exceeded the subscription license expiration. When the
               Application license expires, the following occurs:
                •     Any data collected up to this point remains stored and no new data is collected.
                •     Status bar does not change colors and does not display a license expired message.
                •     Most portlets display a message saying they cannot reach the Application server.
                •     License Management option is still available to register a license when the Application server
                      is down.
                      Select Settings > Application Configuration Settings from the navigation bar, click the
                      License Management, click the Register License tab, and then click the Select License
                      button. When registered, a successfully registered license message is displayed.
               When an managed resource license expires, the following occurs:
                •     Resources under management are placed in a suspended management state until the number
                      of resource under management meets the managed resource license total.
                •     Suspended resources remain in inventory but cannot be accessed and no alarms are received.
                •     A resource suspended alarm (resrouceSuspended) is raised for each suspended resource to the
                      user visibility.

                      NOTE:
                      Extending your license clears any expiration alarm and status bar color, but might leave earlier warning
                      alarms in your event/alarm histories. Manually clear the history if you like.
                      Increasing your license that has 30 or less days left displays the following message and the status bar
                      turns blue. The message shows and the status bar remains blue until the initial license count expires.
                      A Right to Manage (25 count) license will expire in xx days reducing your
                       licensed count.
               This behaviors applies whether the software is a trial version or yearly subscription.




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                   Subscription Info
                   Use the Subscription Info panel to view upcoming changes to managed resources and Traffic Flow
                   Analyzer (TFA) exporters licensed resource counts.
                   Initially the Subscription Info panel is displayed when you access the License Viewer window.
                   Otherwise, access this panel by clicking the Subscription Info tab from the License Viewer window.




                   The Subscription Info panel provides the following information.

                   Column/Field        Description
                   Future License      A list of upcoming changes to licensed resource counts for managed resources and
                   Events              TFA exporters.
                   Event Date          The date when an event takes place. The date background color depends on the
                                       event type:
                                       • Green indicates that there will be an increase in Licensed Count for TFA
                                          Exporters or Managed Resources.
                                       • Yellow indicates that there will be a decrease in Licensed Count limit for TFA
                                          Exporters or Managed Resources that will not go below the current number of
                                          registered exporters/ discovered licensed resources. As a result, no changes will be
                                          made to the devices in inventory.
                                       • Red indicated that there will be a decrease in Licensed Count limit for TFA
                                          Exporters or Managed Resources that will reduce the limit to be lower than the
                                          current number of registered TFA exporters or licensed managed resources. As a
                                          result, the exporters would be unregistered and the managed resources will be
                                          suspended.
                   Description         A message describing what subscription is affected (TFA or managed resources) and
                                       what changes occur due to the event.




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               Column/Field        Description
               Active License      Information related to the current licensed count for:
               Subscriptions       • Traffic Flow Analyzer (TFA):
                                      • Licensed TFA Exporter Count shows the current limit amount of managed
                                        resources allowed to be registered as TFA exporters.
                                      • Currently Registered shows the current number of managed resources
                                        registered as TFA exporters.
                                   • Managed Resources:
                                      • Licensed resource count shows the current limit for the number of managed
                                        resources (that require a license) that can be managed.
                                      • Currently managed requiring a license shows the current number of managed
                                        resources within inventory that require a license.
                                      • Currently managed not requiring a license shows the current number of
                                        managed resources within inventory that do not require a license.
                                      • Total managed shows the current total of managed resources within inventory
                                        (both requiring a license and not requiring a license).

               Product
               Use the Product licenses list to monitor the products for which you have licenses, their expiration
               dates, and other details about the selected license. The most important product license listed is
               Oware Standard Edition, which is the Application server license. The Application server requires a
               valid license to run. All other components depend on a running Application server. If the
               Application server license expires, you cannot start the server and most applications that you start
               display a message that the server cannot be reached.
               Access this panel by clicking the Products tab from the License Viewer window.




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                   The Product panel provides the following license information.

                   Column/Field      Description
                   Show All          The option to show all registered licenses including subscription licenses or to show
                   Licenses          only subscription licenses related to the Subscription Renewal panel (Managed
                                     Resources and TFA)."
                   Show All          The option to show or hide expired licenses.
                   Expired"
                   Product           The product for which you have a license.
                   Edition           Information useful for support, such as the distinction between core and additional.
                   Next Expiration   The date and time when your license expires.
                   Date
                   Valid             An indicator showing whether the license is valid (checkmark) or not (X).
                   IP                Any IP restrictions (asterisk is unrestricted).
                   User              The person authorized to use the application.
                   Version           The license version (not the software).
                   License Details   The selected registered license details displays information, such as edition, activation
                                     date, expiration date, and so on. By default, this field displays information for the first
                                     product in the list.
                                     To see your license activation date, for example, select the Oware product license and
                                     then look in the License Details field for the ACTIVATION DATE parameter. The
                                     date is either:
                                     • The day you installed the OMNM system
                                     • The day registered a new license by increasing the license
                                     • The day the current license expires if you register a new license by extending your
                                        license
                                     • A given day if you register a new license from the command line
                                     To see your software’s Digital Service Tag parameter, select the Oware license and look
                                     in the License Details field for the APPPROPS parameter. This parameter is useful in
                                     license renewal.


                   Subscription Renewal
                   Use the Subscription Renewal panel to purchase or renew a subscription license. Enter the relevant
                   information, select the type of renewal, add any additional information or questions, and then click
                   Send Request to request a license.
                   Once you click Send Request, the information is forwarded to Dell EMC and you are redirected to
                   a Dell EMC order page, where you place an order for a new subscription license.
                   Access this panel by clicking the Subscription Renewal tab from the License Viewer window. You
                   can also access this panel by clicking the subscription message if it appears in the OpenManage
                   NM status bar.




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               The Subscription Renewal panel includes the following fields and options.

               Fields/Options     Description
               Name               The user requesting to purchase or renew a subscription.
               Company            The company the requestor works for.
               Phone Number       The phone number in which to contact the requestor.
               Email              The email address in which to contact the requestor.
               Subscription       The license option you are requisition. Select one of the following:
               Request            • 25 Devices/5 TFA exporters
                                  • 50 Devices/5 TFA exporters
                                  • 175 Devices/20 TFA exporters
                                  • 250 Devices/25 TFA exporters
                                  • 500 Devices/50 TFA exporters
                                  • 1000 Devices/100 TFA exporters
                                  • 2000 Devices/100 TFA exporters
                                  • Other (please comment)


               Register License
               Use the Register License panel to register your license. When you receive the OpenManage NM
               (OMNM) software package, it comes with a 30-day trial license for the Right to Manage (RTM)
               and Application server expiration date. The OMNM installation automatically installs this 30-day
               trial license.
               The expiration depends on the time left on the current Dell EMC subscription license, the length
               of time for the new Dell EMC subscription license, and whether you are extending or increasing
               the license.




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                   Once you upload a license file, one of the following scenarios occur:
                    •   License is not valid and a message displaying why the license is not valid and the Cancel
                        button displays below license details.
                    •   License is valid and the Register and Cancel buttons are displayed.
                    •   Licenses is valid and the following activation buttons are displayed:
                        • Activate the license immediately to increase licensed resource counts
                        • Activate the license to extend the current subscription duration.
                        Selecting either registration displays a confirmation before registering. You also have the
                        option to cancel the registration.

                        NOTE:
                        If you select the wrong activate option during license registration, you can re-register the most recent
                        managed resource license (if more than one non-trial license is registered) using the other activate
                        option.
                        For example, after registering a license to extend a subscription, you can re-register the license to
                        activate immediately.
                   Access this panel by clicking the Register License tab from the License Viewer window.


                                                                                                                Initial
                                                                                                                View




                   After License File
                   Selection




                   The Register License panel includes the following fields and options.

                   Fields/Options       Description
                   Product              The product for which you have a license.
                   Edition              Information useful for support, such as the distinction between core and additional.




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               Fields/Options      Description
               Next Expiration     The date and time when your license expires.
               Date
               Valid               An indicator showing whether the license is valid (checkmark) or not (X).
               IP                  Any IP restrictions (asterisk is unrestricted).
               User                The person authorized to use the application.
               Version             The license version (not the software).
               License Details     The selected registered license details displays information, such as edition, activation
                                   date, expiration date, and so on. By default, this field displays information for the first
                                   product in the list.
                                   To see your license activation date, for example, select the Oware product license and
                                   then look in the License Details field for the ACTIVATION DATE parameter. The
                                   date is either:
                                   • The day you installed the OMNM system
                                   • The day registered a new license by increasing the license
                                   • The day the current license expires if you register a new license by extending your
                                      license
                                   • A given day if you register a new license from the command line
                                   To see your software’s Digital Service Tag parameter, select the Oware license and look
                                   in the License Details field for the APPPROPS parameter. This parameter is useful in
                                   license renewal.
               Activate the        This option activates the registered license once the current license expires, which
               license             extends the license period by the length of the new license (recommended for renewed
               immediately to      subscriptions).
               increase licensed   For example: Your OMNM licensed is for 50 devices and one year starting January 1st
               resource count      2018. On November 1st 2018, you apply an additional 50 devices and one year license
                                   using the Extend option. On December 31st 2018, the original license expires and the
                                   new license takes effect with no disruption of service. You continue to be licensed for
                                   50 devices until December 31st 2019.
               Activate the        This option activates the registered license immediately. Use this option for:
               license on          • Upgrading a Trial version
               DateTime UTC        • Increasing your subscription to a higher count
               Year to extend
                                   This option applies the new license immediately and adds the new purchased license
               the subscription
                                   device count to the existing device count. The new license expiration countdown starts
               duration
                                   immediately. Expiration notification continues until the existing trial/subscription
                                   device count elapses. Once expired, the trial/subscription device count is deducted
                                   from the total device count leaving only the new license device count.
                                   For example: Your OMNM license is for 50 devices and one year starting January 1st
                                   2018. On July 1st 2018, you apply an additional 25 devices and one year license using
                                   the Increase option. You can manage 75 devices from July 1st 2018 to December 31st
                                   2018. On December 31st 2018, the original 50 devices license expires, with 25 devices
                                   remaining until June 30th 2019.
                                   See License Expiration Notification on page 46 to understand how license expiration
                                   notification works.
               Register            This option starts the registration process and displays a confirmation message.
               Cancel              The option to discontinue with the license registration process.
               Registration




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         Common Setup Tasks Portlet
                   By default, the Common Setup Tasks portlet appears on the Home page as part of the Getting
                   Started portlet and the Settings page. If your package does not display this portlet on these pages
                   and you want it there, click Add > Applications and put it there.




                   This portlet shows the setup status for the common tasks, such as:
                    •   SMTP Configuration
                    •   File Servers
                    •   Upload Firmware Images
                   The Status column shows whether the setup is complete (check mark) or is required (X). The
                   Requirement Tag column shows whether the setup is Optional, Recommended, or Required and a
                   tool tip describes each tag. Click the Edit action to modify a task’s settings or complete its setup.

                   SMTP Configuration
                   You can use the OpenManage NM (OMNM) messaging capabilities to communicate with other
                   users, but if you want to receive e-mails automated by actions, such as configuration file backups,
                   the OMNM application must have a mail account. The SMTP Configuration window configures
                   the e-mail server so the OMNM application can send such automated e-mails.




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               The Apply button accepts your edits. The Test button tries your edits. The Cancel button
               abandons your edits and returns to the OMNM application. The SMTP Configuration window
               contains the following fields and options.

               Field/Option         Description
               SMTP Server Host     The IP address or hostname of your SMTP server.
               SMTP Server Port     The port for your SMTP server. (Common ports are 25, 465, 587)
               Authentication       Check this to enable authentication for this server. Checking enables the next
               Enabled              two fields.
               User Name            The login ID for the SMTP server, if authentication is enabled.
               Password             The password for the SMTP server, if authentication is enabled.
               Security             Enable Secure Sockets Layer (SSL) protocol to interact with your SMTP server,
                                    or Transport Layer Security (TLS).
               Return Address       The return address for mail sent from OpenManage NM.
               Default Subject      Text that appears by default in the subject line of mail sent by OpenManage NM.
               Connection/Send      The time-outs for mail sent by OpenManage NM. If your SMTP server or
               Timeout              network is slow, increase the default timeout.
                                    Note: These time-outs are in milliseconds, and have been critical in getting e-
                                    mail to work, so do make them long enough to handle whatever latency is normal
                                    for your network.
               Max Per Minute       The maximum number of e-mails OpenManage NM can send per minute.
                                    Two settings for e-mail servers appear in Control Panel, one in the Control Panel
                                    > Portal > Settings Mail Host Names edit screen, and another in Control Panel
                                    > Server Administration > Mail. These are for Liferay login and password
                                    reminders/resets (see Resetting a Password on page 103). The Portal-based e-mail
                                    settings help Administrators limit signups to e-mails only existing in their
                                    organization. The screen in that panel provides a list of allowed domain names, if
                                    that feature is enabled.
                                    Control Panel > Server Administration > Mail is where to configure the Main
                                    server and authentication for routing mail.
                                    Note: If you require a sender/reply to e-mail address on mail sent, configure that
                                    with the following property in the owareapps/installprops/lib/installed.properties
                                    file:
                                    redcell.smtp.returnaddress.name




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                   File Servers
                   The file servers provide FTP connections for retrieving and deploying devices’ configuration files,
                   and for deploying firmware updates to devices on your network. See Configuration Management
                   for a description of the portlet that manages file servers. If you want to configure servers from the
                   Common Setup Tasks portlet, a slightly different screen appears when you click Edit.




                   This displays configured file servers. Configure new servers by clicking the new file server link in the
                   upper right corner. The editing process after that is as described in External File Server Editor on
                   page 472.

                           CAUTION:
                        If you select the internal file server, make sure no external file server is running on the same host. A port
                        conflict prevents correct operation. Either turn off the external file server, or use it as the FTP server. We
                        strongly recommend using the internal file server only for testing, and external file server(s) for
                        production.
                   OpenManage NM selects the file server protocol for backup, restore or deploy based on the most
                   secure protocol the device supports.

                   Upload Firmware Images
                   Use the Upload Firmware Images window to copy firmware images into the OpenManage NM
                   database. This opens an editor like the one described in Firmware Image Editor on page 464. Refer
                   to Configuration Management, particularly Image Repository on page 462 for more about using
                   this capability to deploy firmware to devices you have discovered.




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General Information
               The following topics provide some general information you may need to know:
                •     Web Portal/Multitasking
                •     Cookies and Sessions
                •     Web Clients
                •     Network Basics

       Web Portal/Multitasking
               You can open multiple tabs to different managers in the OpenManage NM system. In most cases
               this does not cause any issues for read–only data browsing. However, best practice is not opening
               multiple tabs when creating, editing or deleting. These may report Web session information
               incorrectly and task completion may appear to never finish. For example, you may submit a job that
               appears stuck “running” when in reality it has already finished but the status has not updated in the
               browser session. When this occurs, manually click the refresh button on the job status window to
               force an update. The recommended process is to close the job status window and move on to other
               tasks. The My Alerts feature in the portal’s lower left corner indicates when jobs are complete, and
               you can view details from that status bar location.

       Cookies and Sessions
               The OpenManage NM (OMNM) application stores cookies during the session. No personal data,
               such as username/password is stored. The cookie stores the assigned session ID as well as
               information about the current view so that the OMNM application can do partial view updates.
               OMNM sessions are not persisted, they are in memory only.

       Web Clients
               With the minimum hardware for a 32-bit client, you can run either a Web client or Java client, not
               both. You can start and stop the client without impacting the application server. Device monitoring
               stops when you stop the application server or turn off its host machine. The client can also be on a
               different machine than the application server.

                      NOTE:
                      See Starting Web Client on page 61 for more information about using web access to this software.
               The OpenManage NM (OMNM) application detects mobile devices and pads, such as tablets and
               iPads. For smaller screens, the Navigation bar collapses to the left hand side and the page only
               displays a single column. Some limits apply:
                •     Because touch devices do not support a right-click, the first time clicking a row selects it. A
                      repeat click launches a menu displaying the available actions. Click the menu item you want.
                •     All major charts are rendered as HTML 5, which are mobile-friendly. These charts are Line,
                      Pie, Donut, Bar and Column. Some Gauges and LED charts require flash, which is not
                      compatible with all mobile devices.
                •     Topology views are not available.




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                         NOTE:
                         Apple products are mostly OpenManage NM-friendly. Android is only partly supported.

                            CAUTION:
                         If your application server and client are on different machines, make sure that they have the same time
                         settings.


          Network Basics
                    The OpenManage NM (OMNM) application communicates with devices over a network. You must
                    be connected to a network for the Application server to start successfully. Firewalls, or programs
                    using the same ports on the same machine where this application is installed can interfere with its
                    ability to communicate with devices.
                    Your network may have barriers to communication with this software that are outside the scope of
                    these instructions. Consult with your network administrator to ensure this application has access to
                    the devices you want to manage with the protocols described below.

                         NOTE:
                         One simple way to check connectivity with a device is to open a command shell with Start > Run cmd.
                         Then, type ping [device IP address] at the command line. If the device responds, it is connected
                         to the network. If not, consult your network administrator to correct this. No useful information comes
                         from disconnected devices.

                    Consider                Description
                    Name Resolution         The OMNM application requires resolution of equipment names, whether by
                    (equipment)             host files or domain name system (DNS).
                                            If your network does not have a DNS, you can also assign hostnames in the
                                            following file on a Windows system:
                                            %windir%\system32\drivers\etc\hosts
                                            You must assign a hostname in addition to an IP address in that file. Here are
                                            some example hosts file contents (including two commented lines where you
                                            would have to remove the # sign to make them effective):
                                            # 102.54.94.97 rhino.acme.com # source server
                                            # 38.25.63.10 x.acme.com # x client host
                                            127.0.0.1              localhost
                                            Caution: This software only supports installation to a local file system. Do not
                                            install to shared drives.
                    Protocols               The OMNM application uses the following protocols:
                                            • TCP/IP
                                            • SNMP
                                            • HTTP
                                            • UDP Multicast
                                            You can bypass multicast, if it is disabled on your network. To allow a client to
                                            connect without multicast, add the following property to the client’s owareapps/
                                            installprops/lib/installed.properties file.
                                            oware.application.servers[Host1 IP address], [Host2 IP
                                            address]...




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               Consider                  Description
               Fixed IP Address          The OMNM application includes a Web server and must be installed on a host
                                         with a fixed IP address. For demonstration purposes, you can rely on dynamic IP
                                         address assignment (DHCP) with a long lease. However, this is not recommended
                                         for production installations.
                                         If you need to change your host’s IP address, do so by:
                                         • Changing Your Host IP Address using the ipaddresschange script
                                         • Manually Changing Your Host IP Address
               Partition Name            First character must be a letter (a-z, A-Z). The remaining must be alphanumeric
               Limitations               or underscore or dash characters (a-z, A-Z, 0-9 and _ or -). Maximum length is 31
                                         characters.
                                         In a clustered installation, make oware/synergy/data a shared directory
                                         because local user images, documents, and uploads go there, and in a cluster
                                         environment all web servers need to access this directory.

               Changing Your Host IP Address
               Change your host’s IP address as follows.
                1     Change the Virtual host IP to the new IP address in Manage > Control Panel > Portal.
                2     Change the host IP address
                3     Open a shell and run oware to set the environment
                4     Run ipaddresschange -n in the shell followed by the new IP address
                5     Restart the application server and the web server service.
                6     Open a browser to see the web client at this URL: [new IP address]:8080.

               Manually Changing Your Host IP Address
               Change your host’s IP address without the ipaddresschange script as follows.
                1     Change the Virtual host IP to the new IP address in Manage > Control Panel > Portal.
                2     Change the host IP address
                3     Delete the contents of \oware\temp.
                4     Change your local IP address anywhere it appears in
                      \owareapps\installprops\lib\installed.properties.
                5     Change the address on your web server. Change this in portal-ext.properties in
                      \oware\synergy\tomcat-7.0.40\webapps\ROOT\WEB-INF\classes
                      Change property:
                      jdbc.default.url=jdbc:mysql://[IP address]/
                       lportal?useUnicode\=true&characterEncoding\=UTF-
                       8&useFastDateParsing\=false
                      and
                      oware.appserver.ip=[IP address]
                6     Restart the application server and the web server service.
                7     Open a browser to see the web client at this URL: [new IP address]:8080.




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Starting/Stopping OMNM | Getting Started



Starting/Stopping OMNM
                  The OpenManage NM (OMNM) Application server processes network information for Web-based
                  clients. The Application server monitors devices, and produces the output for the Web server and
                  then makes it available for the Web clients. When you install or upgrade the OMNM application,
                  the installer automatically stops the servers before installation and starts them after installation.
                  However, there are many instances where you need to stop/stop the servers. The following tasks
                  show how to start the Application server and its subordinate process, the mediation server, which
                  communicates directly with devices, and how to stop these processes when needed:
                    •   Starting/Stopping Servers
                    •   Starting Web Client

         Starting/Stopping Servers
                    •         Starting application server. In Windows, you can use the Start button (Start >
                        OpenManage NM > Start application server), or type startappserver in a command
                        shell, or right-click the server manager tray icon and select Start (if you have installed this
                        software as a service and that icon is red, not green).

                        NOTE:
                        A message declares “Application server is now up” in My Alerts in the bottom left corner of the screen of
                        the web client when application server startup is complete. You can also make server monitor appear
                        with the pmtray command either in a shell or from a start menu icon.
                    •        Starting web server. If this does not auto-start, you can use the Start button (Start >
                        OpenManage NM > Synergy Manager), or right-click the web server’s tray icon to start it.
                        You can also double-click this icon and automate web server startup. From a command line,
                        you can also start this manager with [installation
                        root]\oware\synergy\tomcat*\bin\startsynergy.
                        To start the Web server in Linux in a shell, type /etc/init.d/synergy start. Stop
                        web server with /etc/init.d/synergy stop.

                           CAUTION:
                        If your OpenManage NM environment has a firewall, ports 8080 and 80 must be open for it to function
                        correctly. If you want to use cut-thru outside of your network, then ports 8082 – 8089 must be open.
                        OpenManage NM uses the first one available, so typically 8082, but if another application uses 8082,
                        OpenManage NM uses 8083 and so on. Web Services for OpenManage NM previously used port 80, but
                        for this version, they use 8089. See Ports Used on page 1021 for a complete list of all ports impacted.
                  Here are the various ways to start (and stop) OpenManage NM elements:

                   Windows Start Menu       Windows Command Line                       Linux Command Line
                   Program Shortcut
                   Server Monitor           pmtray                                     N/A
                   Start Application        startappserver                             startappserver
                   Server
                   Network Manager          startsynergy.com                           While no monitor display appears, you
                                            Note: this is in the                       can start the Web server with these
                                            oware\synergy\tomcat*\bin directory,       commands: startportal.sh start/
                                            and is not on the path.                    startportal.sh stop




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               Windows Start Menu          Windows Command Line                         Linux Command Line
               Program Shortcut
               Synergy Web Service         http://[application server host IP]:8080 http://[application server host IP]:8080
               Manager


       Starting Web Client
               Open the Web client user interface from your browser. Refer to the OpenManage NM Installation
               Guide for supported browsers and versions. The URL is:
               http://[application server hostname or IP address]:8080
               The default login user is admin, with a password of admin. The first time you log in, you can select
               a password reminder. If you have forgotten your password, click the Forgot Password link in the
               initial screen to begin a sequence that concludes by mailing your user’s e-mail address a password.
               (See Resetting a Password on page 103.)
               For this forgotten password sequence to work, you must configure users’ e-mails correctly, and the
               portal’s SMTP server in Go to > Control Panel > Server > Server Administration > Mail settings.
               To configure a user’s e-mail settings and other things, click the user name link in the portal header.
               The same configuration settings are available in Control Panel’s tabs labeled as that user’s login.
               The application server hostname is the name of the system where OpenManage NM is installed.

                         CAUTION:
                      The first time you start the application after you install it, you may have to wait an additional five minutes
                      for the Application to completely start. One indication you have started too soon is that the Quick
                      Navigation portlet does not appear properly. Also: The Web server may indicate it has fully started before
                      it is entirely ready. In rare instances, this may also inhibit correct communication with the client
                      interface. If OpenManage NM appears stuck after the application server is running completely, restart
                      the Web server.
               Disable password reminders with users.reminder.queries.enabled=false to
               oware\synergy\tomcat-x.x.xx\webapps\ROOT\WEB-INF\classes\portal-
               ext.properties




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Setting Up Secure Connections (SSL & HTTPS) | Getting Started



Setting Up Secure Connections (SSL & HTTPS)
                   The following describes how to turn on SSL support within OpenManage NM on single-server
                   installations. Configure Clustered installations with a Load Balancer with SSL Offloading. SSL
                   Offloading takes advantage of hardware which has been designed to deal with quick encryption and
                   decryption of SSL. It also lets you purchase a single SSL certificate rather than generating a
                   certificate per server, something that can be more costly.

                         NOTE:
                         If you want a secure connection between distributed servers (application and mediation servers, for
                         example), the following also applies.


         Enabling Secure SSL
                   Best practice for a clustered production environment is to use a Load Balancer with SSL Offloading
                   rather than creating a private key, as described below. Refer to the Installation Guide for more
                   about load balancing.
                   The private key and certificate described below provides identity and browser verification against
                   the CA signed root certificate. For testing and internal use you need this step to create a Private
                   Key and Private Signed Certificate to enabled SSL encryption.

                         NOTE:
                         Some functions may fail using this approach since some third party layers may expect a valid CA signed
                         root.

                   Creating a Private Key (Linux/Windows)
                     1   Open a command prompt in Windows or a Terminal within Linux
                     2   Navigate to a <INSTALL DIR>/oware/synergy/tomcat-XX/bin/certs
                     3   Enter the command: openssl
                         If this command does not find openssl, then first enter the oware environment (in Windows
                         type oware, in Linux, type . ./etc/.dsienv).
                     4   The OpenSSL prompt appears: OpenSSL>
                     5   Enter the command:
                          genrsa -des3 -out tomcatkey.pem 2048
                     6   OpenSSL then asks for a pass phrase for the key. Enter changeit. See Turning on SSL
                         Within the Web Portal on page 63 if you want to change the default password.
                     7   OpenSSL then creates the private key and stores it in the current directory

                   Creating a Certificate (Linux/Windows)
                   Once you have the private key created, you must create a certificate.
                     8   Assuming you are still running the OpenSSL program from the previous step, enter the
                         command:
                          req -new -x509 -key tomcatkey.pem -out tomcat.pem -days 1095
                     9   OpenSSL asks for the pass phrase defined for the private key. Enter the previous pass phrase
                         (default: changeit). This command creates a self-signed certificate with a lifetime of 3
                         years, using the private key.




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                      This password must be identical to the one entered in the previous steps.
               10     When asked the other questions such as Country Code, Organization you can enter any data
                      you wish. When asked for the Common Name (FQN) you must enter the hostname or IP
                      address of the server.
               11     OpenSSL generates the tomcat.pem in the directory you were in from the previous steps.
               12     Exit OpenSSL by typing exit
               13     Two new files appear within the //../tomcat-xx/bin/certs directory:
                      tomcatkey.pem and tomcat.pem
                      Some systems may put these files in another directory (for example
                      C:\users\[username] on Windows 7). If so, copy or move them to the
                      oware\synergy\tomcat-7.0.40\bin\certs directory before proceeding.

               Turning on SSL Within the Web Portal
               Turn on SSL within the Web portal by:
                •     Windows: Changing the Environment:
                •     Linux: Changing the Environment
                •     Heartbleed SSL Vulnerability
                •     Enabling Terms of Use
               Windows: Changing the Environment:
               First, update the setenv.bat with the SSL preferences. You must do this whether OpenManage
               NM’s web server starts manually or runs as a service. if OpenManage NM runs as a service, this file
               automatically updates the service on the next portal service restart.
                1     Stop OpenManage NM service
                2     Navigate to the <INSTALLDIR>/oware/synergy/tomcat-xx/bin directory.
                3     Edit the setenv.bat file in a text editor.
                4     Change the property ENABLE_SSL=false to ENABLE_SSL=true.
                5     If you used a pass phrase different from changeit then you can set it for the
                      SSL_PASSWORD=changeit value.
                6     Save setenv.bat
                7     In a command prompt navigate to /oware/synergy/tomcat-xx/bin, and type:
                      service.bat update
                8     Settings take affect after the you restart the service.
               You are now ready for a secure, SSL connection to OpenManage NM. After it has had a few
               minutes to start navigate to https://[application server IP address]:8443. (The
               HTTPS port is 8443, not 8080.)
               Linux: Changing the Environment
                1     Enter the command: “service synergy stop” to stop the OMNM service.
                2     Navigate to the /oware/synergy/tomcat-xx/bin directory
                3     Edit the setenv.sh file.
                4     Change ENABLE_SSL to true.
                      If you used a different pass phrase than the default (changeit) then you can set it for the
                      SSL_PASSWORD property here.



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                     5   Save the file.
                     6   Enter the command: "service synergy start" to restart the OMNM
                         service.
                   You are now ready for a secure, SSL connection to OpenManage NM. After it has had a few
                   minutes to start navigate to https://[application server IP address]:8443
                   Heartbleed SSL Vulnerability
                   OpenManage NM is not vulnerable as shipped. If the client does not have SSL turned on with a
                   valid certificate then the following does not matter:
                   When running Linux then your system admin must keep OpenSSL up to date. This is native to
                   Linux, not to OpenManage NM.
                   For windows OpenManage NM ships with 0.9.8d which is not affected. You can update this any
                   time. This is only applicable if you are using SSL by replacing the openssl.exe in oware/
                   synergy/tomcat-xx/bin/native/windows/x64.
                   Enabling Terms of Use
                   To Enable a “Terms of Use” statement required of each user use the following steps:
                     1   Login as Admin
                     2   Go to Control Panel
                     3   Click on Portal Settings and then the Users link on the right, and look in the Fields tab.
                     4   Check Terms of Use Required and save. You must then click I Agree to the Terms of Use
                         document that appears.
                     5   Logout and attempt to login as another user to validate the Terms of Use appear.
                   To change the Terms of Use wording:
                     1   Login as Admin
                     2   Go to the Synergy Control Panel
                     3   Click on Web Content
                     4   Click on the TERMS-OF-USE article link which will take you to the editor where you can
                         alter and save it.

                         NOTE:
                         Nothing prevents a user from deleting the Terms of Use article. If the Terms of Use seeded article is
                         removed then the static Liferay Terms of Use appears until next OpenManage NM restart. The editable/
                         delete-able article is a copy of the compiled static version but exposed as an article to make editing
                         easier. The next time OpenManage NM restarts, if the TERMS-OF-USE article does not exist, it imports a
                         new one.




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                                                                         Managing Users and Permissions | Getting Started



Managing Users and Permissions
               Manage users and permissions by performing the following tasks:
                •     Adding Users and Connecting them to Roles
                •     Adding and Configuring User Roles/Permissions
                •     Adding LDAP Users
                •     Creating an LDAP Admin User

       Adding Users and Connecting them to Roles
               When you add a new user, that user may not appear immediately. You can speed up the user’s
               appearance by using control panel’s Server > Server Administration Resource panel. Click Reindex
               all search indexes.
               Add Users with the following steps:
                1     Click Go to > Control Panel and navigate to Portal > Users and Organizations.
                2     Click the Add > User menu item at the top of the Users screen.
                3     Enter the details of the new user. If you are editing an existing user, more fields appear. Screen
                      Name, and Email Address are required. Optionally, you can enter Name, Job Title, and so on.

                      NOTE:
                      Make sure you specify a Password when you add a user. This is not optional.
                4     After you click Save notice that the right panel expands to include additional information.
                      The first time users log in, the application prompts them for a security question. E-mail for
                      password reminders/resets requires setting up the fields in Control Panel > Server
                      Administration > Mail, not the SMTP Configuration which is for OpenManage NM-
                      originated e-mails. See Resetting a Password on page 103
                      Also: When you make a multitenant site, OpenManage NM automatically assigns the site
                      prefix you select to the admin user it creates in the Site Management Editor. If you enter
                      “Admin” as that user, and the prefix is DS-, then that user must log in as “DS-Admin.” When
                      you or the tenant site admin create tenant site users manually in control panel, you must
                      manually add that prefix too when creating the user and when logging in as that user.
                5     Notice that if you are editing an existing user, or creating a new one, you can use the links on
                      the right to configure connections with Roles. Roles, in particular, configure the OpenManage
                      NM functional permissions for that user. For example the Operators role’s capabilities are
                      typically more limited than Administrators. See Adding and Configuring User Roles/
                      Permissions on page 67.
                6     Click Save again, and the user you just configured should appear listed in the Users screen
                      when you select View > All Users.
                7     After you have configured roles as described in Adding and Configuring User Roles/
                      Permissions on page 67, return to the Users and Organizations screen, edit the User, and click
                      the Roles link to associate the User with the Role(s) you have configured.
                      The most dramatic evidence of permission changes appears when you first remove Default
                      User Roles — Power User from your system in Portal > Portal Settings > Users > Default
                      User Associations (check Apply to Existing Users if you have already configured your user). If
                      you impersonate your user, and Go To > Control Panel, without User and Power User roles
                      assigned, the impersonated user can only see My Account and Sites.




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                        NOTE:
                        You can Export Users to a comma-separated value (CSV) file.
                  Once you have configured a user, you can click Action and to do the following:
                  Edit—Re-configure the selected user. Select the user’s Role in the editor, too. Roles configure
                      access and action permissions.
                  Permissions—Manage the user’s access to and control over various parts of the portal.
                  Impersonate User (Opens New Window or tab)— This allows you to see the effect of any
                      configuration changes you have made on a user. The new window (typically a new tab) also
                      lets you click the Sign Out link in the upper right corner where you can return to your original
                      identity impersonation concealed.
                  Manage Pages—The menu described below appears when you have not installed the
                     Multitenancy option. Configure the Public or Private pages for a user, depending on the
                     selected tab. Possible actions here include changing the look and feel of pages (for computers
                     and mobile browsers), adding pages and child pages, and importing or exporting page
                     configurations. Notice that you can configure meta tags, and javascript on these pages too.
                        Exports are in .lar format, and go to the download location configured in the browser you
                        are using. The export screen lets you select specific features, and the date range of pages to
                        export.

                        NOTE:
                        If you want to set up several pages already configured elsewhere for another user, or even for an entire
                        community of users, export those pages from their origin, then Manage > Pages menu for the user or
                        community.
                        Also: On private pages, you can see the Languages portlet. Click a flag to translate some labels to the
                        language represented by the flag. You can change the text in many labels (the portlet titles, for one
                        example) by clicking and re-typing that label. Some labels do not translate, no matter what.
                        See also the Multitenancy chapter of the Installation Guide for more potential variations on
                        page appearance.
                  Deactivate— Retires a user configured on your system. You can also check users and click the
                      Deactivate button above the listed users. Such users are not deleted, but are in a disabled
                      state. You can do an Advanced search for inactive users and Activate them or permanently
                      delete them.
                  Your organization has a number of geographic locations and you plan to manage the network
                  infrastructure for all these locations using RC7 Synergy. You can define the geographic locations to
                  which devices can be associated. This will help you manage and view your network, grouped by
                  location or branches. See Locations Portlet on page 221 for the specifics about the portlet where
                  you can set up locations.

                        NOTE:
                        To edit your own information as a signed-in user, simply click your login name in the upper right corner of
                        the portal screen.




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               Organizations
               Create Organizations just as you would create Users. You can create a Regular or Location type of
               organization. You can do this only if your package includes the MSP option, so this capability is not
               available to all users.

                      NOTE:
                      You must first create a Regular organization to be the parent for a Location. Also: These organizations are
                      useful to organize users. They are distinct from the device-organizing Locations described in Locations
                      Portlet on page 221 and are not available for organizing in the Hierarchical View portlet (see Using
                      Hierarchies on page 254).


       Adding and Configuring User Roles/Permissions
               Add and configure User Roles with the following steps:
                1     Click Go to > Control Panel > Portal > Roles.
                2     Click the Add tab under the heading at the top of the page, and select Regular Roles.
                      The New Role options are displayed.
                      You can also add site and organization roles that configure permissions.
                3     Enter the details of the new role (Name, Title, Description), then Save it.
                4     Click Portal > Roles > View All to verify that the new role was added to the list.
                      The actions available for a new role are Edit, Permissions, Define Permissions, Assign
                      Members, View Users, and Delete role.
                5     Click Actions > Define Permissions for the new role.
                      The Define Permissions editor is displayed.
                      Alternatively, select or delete OpenManage NM permissions by editing the role in Redcell >
                      Permission Manager.

                      NOTE:
                      If you are restricting permissions for new users, you must also remove the permissions from the User and
                      Power User roles, that OpenManage NM assigns all new users by default. The permissions available are
                      a combination of those configured here and the User and Power User roles’ permissions. You can
                      remove users from the Power User role altogether, but not from the User role. You must remove
                      permissions from that User role if you want users not to have them.




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                        If you have eliminated all permissions from a role by removing the Default User Roles —
                        Power User, an intervening screens lets you copy another Role’s permissions so you do not
                        have to enter all permissions from scratch.




                        NOTE:
                        Defining a base role’s permissions can provide the start for non-base role’s permissions if you use this
                        screen to copy them, then edit them later for the difference between the base role and non-base role. As
                        always, planning is the key to simplifying this work.
                    6   Select the type of permission from the Add Permissions list.
                    7   Select the actions you want to enable.
                    8   Click the Redcell > Permission Manager to alter or enable more of OpenManage NM
                        functional permissions.
                        The Role to Permission Settings list is displayed.
                    9   Click the action’s Edit button to see and configure available permissions.




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                      The Editing Role window is displayed.

                      NOTE:
                      The Show Assigned/Show All options to filter what displays in the list.




               10     Click Advanced to see available permissions organized by Read, Write, Execute, Add or Delete
                      actions.
               11     Select the appropriate permissions for each category.
               12     Apply your changes.
               13     Click the action’s Edit button to modify permissions type.
                      The Editing Permissions window is displayed.




               14     Enable and apply the appropriate permissions.
               15     Save the role configuration.




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                  Adding Individual Permissions
                  The Redcell > Permission Manager options are more convenient to do this in bulk, but to add
                  individual permissions, click Portal > Roles > Actions > Define Permissions for the appropriate
                  role, and then select the specific resource set.




                  Once you select a general type of permission with the pick list below Add Permissions, the Action
                  Groups that appear below let you check to select areas to enable, and the Limit Scope link to the
                  right lets you further filter the application of this enabled permission. The Private Pages limitation
                  in this final filter does not apply in Multitenant systems.
                  Because these screen are so granular, however, best practice is to use them to fine tune existing
                  permission structures.
                  Multitenant Users
                  When you try to log in as a multitenant user, OpenManage NM prepends the Screen Name Prefix
                  if you create the user in the Site Management Editor. If you make other users for the tenant site
                  manually in Control Panel, you must manually add the prefix to assign them to the correct site.




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       Adding LDAP Users
               You can integrate LDAP with your OpenManage NM installation in the Portal Settings > LDAP
               tabs. LDAP-added users cannot log into OpenManage NM’s Java Client, and can only use the web
               portal.

                         CAUTION:
                      Before enabling an LDAP server in the Portal, you must create and assign one user from the LDAP server
                      as the Portal administrator. You cannot access the Control Panel without a user with the administrator
                      role. See Creating an LDAP Admin User below for details.
               Make sure Import at Startup is turned off and in Password Policies, edit the default password policy
               and make sure that Change Required is off.

                      NOTE:
                      Notice that several test buttons appear in the LDAP screens, for example, Test LDAP Connection. Use
                      these to validate your entries as you make them.
               Click Add under LDAP Servers to add the specifications of your LDAP server. After configuring
               your LDAP server, restart the OpenManage NM server, and attempt to log in as an LDAP user.
               LDAP Server Settings
               The following settings are required (the values below are examples, only):
               Connection
               Base Provider URL : ldap://192.168.50.25:389
               Base DN : dc=dorado-exchange,dc=oware,dc=net
               Principal: dorado@dorado-exchange.oware.net [Principle user must have the necessary
               administrator rights in Active Directory Server or any other LDAP server]
               Credentials: ********
               Users
               Authentication Search Filter:(sAMAccountName=@screen_name@)
               Import Search Filter: (objectClass=person)
               User Mapping
               Screen Name: sAMAccountName
               In the Portal Settings > Authentication > LDAP tab:
               Authentication
               Enabled
               Import/Export
               Import Enabled
               Import on Startup Disabled




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Managing Users and Permissions | Getting Started



         Creating an LDAP Admin User
                  All users imported from an LDAP server default to the Poweruser role. The default OpenManage
                  NM (login/password: admin/admin) cannot log into Synergy once you enable authentication
                  through LDAP. Therefore, you must manually assign one of the users from the LDAP server as the
                  Portal administrator. An example of an LDAP database user with Administrator privileges:
                  Screen name: ITAdmin
                  User password: ITPassword
                  First Name: Scott
                  Last Name: Smith
                  Email: scott@doradosoftware.com

                        NOTE:
                        You cannot import users without these five attributes into OpenManage NM from an LDAP source.
                  Create an LDAP admin user by:
                    •   Creating user ITAdmin with Administrator role:
                    •   Stopping LDAP Authentication
                  Creating user ITAdmin with Administrator role:
                    1   As an Admin user, Go to > Control Panel.
                    2   Under the Portal category, click Users, then click the Add button.
                    3   Fill out the User form with name and email address and so on. Remember: screen name, first
                        name, and email address are required. Synergy LDAP import will not overwrite existing users.
                    4   When you are finished, click Save.
                    5   A message appears saying that the save was successful.
                    6   Select the Password, enter password: ITPassword and click Save.
                    7   Click the Roles link. A screen appears showing the roles to which your ID is currently
                        assigned. By default, all users are assigned the Power User role.
                    8   Remove the default PowerUser role (optional), and add the administrator role for the user,
                        then click Save.
                        Now you can enter LDAP server info.
                  Stopping LDAP Authentication
                    1   To stop authenticating through LDAP, log in as the admin user with ITAdmin/ITPassword.
                    2   In control panel go to Portal > Portal Setting > Authentication > LDAP and uncheck the
                        Enabled then Save.
                    3   When the portal re-appears, Users can login only with credentials that exist on Synergy
                        database




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                                                                                    Implementing DAP | Getting Started



Implementing DAP
               Database Aging Policies (DAP) prevent the OpenManage NM database from filling up by filling up
               by deleting old records. You can also save designated contents to an archive file on a specified cycle.
               Database Aging Policies configure which contents to archive, the archive location, and the
               configuration of that archive file.
               To view and manage such policies, right-click an item with them (for example, an alarm), or click
               Manage > Control Panel, and under Redcell click Database Aging Policies.
               Policies appear in the Aging Policies tab of this screen, with columns that indicate whether the
               policy is Enabled, the Policy Name, Details (description), Scheduled Intervals and icons triggering
               three Actions (Edit, Delete and Execute). Notice that the bottom right corner of this page also lets
               you Enable/Disable/Execute All policies listed.
               The following steps are typical for implementing DAP:
                1     From the screen listing Database Aging Policies (DAP), click Add Policy, and select a policy
                      from the displayed list of alternatives.
                2     This opens the Aging Policies Editor.
                3     In the Aging Policies > General tab, specify the name, schedule interval, whether this policy
                      is Enabled, and so on.
                4     Specify the Archive Location. Those listed are the Repositories listed on the Repositories
                      panel. You can manage those on that tab.
                5     Click the Options tab.
                6     Specify either the archiving and retention you want, or further specify sub-policies that refine
                      the items archived, and specify archiving and retention for those sub-policy elements. Which
                      one you can specify depends on the type of DAP you are configuring.
                7     Click Apply until the displayed screen is the DAP manager.
                8     View/Verify DAP.
                      DAP archives information into the specified repository under the installation root. You can
                      open archived .xml data with dapviewer. Launch this application from a command line
                      after setting the environment with oware in Windows or . ./etc/.dsienv in Linux.
                      Archived data is deleted from OpenManage NM’s database. You can verify that by querying
                      whether archived data still exist. You also can backup your database if you want to preserve
                      records not yet archived.




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Opening an Archive in dapviewer | Getting Started



Opening an Archive in dapviewer
                     1   First, make sure you have an archived file. One way to do this is to edit the Events DAP, make
                         sure the archived events go to a directory you can access later, and retain them for zero days.
                     2   Manually run the Events DAP
                     3   Open a command shell. Type oware in Windows, or . ./etc/.dsienv in Linux.
                     4   Type dapviewer.
                     5   Select the file with the ellipsis (...).

                         NOTE:
                         dapviewer opens both compressed and uncompressed files. It does not open empty files. Also: You must
                         have display set to the host running dapviewer if you are running it on a remote host.
                     6   Click the Load button.
                     7   Examine the archived data.




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                                                                                     Backing Up the Database | Getting Started



Backing Up the Database
               To back up your database, open a command shell (Start > Run cmd, in Windows), and then type
               the following at the prompt replacing USERNAME and owbusdb. By default, the database is
               owbusdb, user name is root and password is dorado.
                      mysqldump -a -u USERNAME --password=[name] owbusdb > FILENAME.mysql
               For example:
                      mysqldump -a -u oware --password=dorado owmetadb > owmetadb.mysql
               If you have Performance monitors or Traffic Flow Analyzer, you must also back up your stored
               procedures otherwise they do not get restored when you restore the database. The command line
               here adds --routines. For example:
                      mysqldump -a -u oware --password=dorado --routines owbusdb > owbusdb.mysql
               This writes the owbusdb to a plain-text file called FILENAME.mysql (owbusdb.mysql in our
               examples). This file is a full backup with which you can fully restore your database in case of
               problems.
               Defaults for the database are oware (login) and dorado (password). These are typically different
               from the login/password for the application.

                      NOTE:
                      To get a rough estimate of a database’s size, looking at the size of the directory
                      \oware3rd\mysql\data.
               Here are the backup commands for all the databases:
                      mysqldump -a -u root --password=dorado owbusdb > owbusdb.mysql
                      mysqldump -a -u root --password=dorado owmetadb > owmetadb.mysql
                      mysqldump -a -u root --password=dorado lportal > lportal.mysql
                      mysqldump -a -u root --password=dorado synergy > synergy.mysql
               To backup stored procedures too:
                      mysqldump -a -u oware --password=dorado --routines owbusdb > owbusdb.mysql


                      NOTE:
                      If you experience “Mysql ERROR at line 1153: Unknown command '\'” error use the following commands
                      to backup and restore your database.
                      mysqldump -u root --password=dorado -A --routines --hex-blob > omnm.mysql
                      Restore database command:
                      mysqldump -u root --password=dorado -A --routines --hex-blob > omnm.mysql




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Restoring Databases | Getting Started



Restoring Databases
                   Restoring from FILENAME.mysql is a three step process. This occurs, again, in a command shell:
                     1   Drop the database:
                         mysqladmin -u USERNAME -p drop owbusdb
                         or
                         mysqladmin -u USERNAME --password=[password] drop owbusdb
                     2   Recreate the database
                         mysqladmin -u USERNAME -p create owbusdb
                         or
                         mysqladmin -u USERNAME --password=[password] create owbusdb
                     3   Import the backup data
                         mysql -u USERNAME -p owbusdb < FILENAME.mysql
                         or
                         mysql     -u USERNAME --password=[password] owbusdb < FILENAME.mysql
                   Here are restoration commands for all the databases:
                         mysql -u root --password=dorado owmetadb < owmetadb.mysql
                         mysql -u root --password=dorado owbusdb                    < owbusdb.mysql
                         mysql -u root --password=dorado lportal                    < lportal.mysql
                         mysql -u root --password=dorado synergy                    < synergy.mysql


                         NOTE:
                         If the database contains Asian Characters use the following restore database
                         mysqldump -u root --password=dorado -A --routines --default-character-
                          set=latin1 < omnm.mysql

                         NOTE:
                         If you receive the error “Access Denied. Invalid Role for this device” or if the application(s) fails with
                         error indicating that it cannot connect to the device after a network change, There may be a DNS
                         resolution issue. You may still be able to ping or connect to a device by IP address but testing server
                         connectivity by using hostname will confirm or rule out a DNS problem. This would only be a problem if
                         the device(s) were discovered or set to “Manage by Hostname.” If the system was migrated to a system
                         that is not using DNS, then name resolution could fail and there would be no connectivity to devices. The
                         solution from the Resource Manager is to Right-click > edit and un-check “Manage by Hostname.” This
                         will then default to Manage by IP address. Alternatively, you can fix name resolution in your environment.

                         NOTE:
                         Whenever you upgrade your system and your database is on a separate server, you must run the
                         dbpostinstall script on the (primary) application server too.




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                                                                                 Setting Up Authentication | Getting Started



Setting Up Authentication
               Here are some authentication setup tasks:
                •     Integrating LDAP
                •     Configuring a CAS Server with RADIUS
                •     Setting Up Radius Authentication

       Integrating LDAP
               You can integrate LDAP with your OpenManage NM installation in the Control Panel > Portal
               Settings > Authentication > LDAP

                        CAUTION:
                      Before enabling LDAP server in Portal, you must create and assign one user from LDAP server as Portal
                      administrator. You will not be able to access control panel without administrator role.

               Step1: Assign one user from LDAP server as Portal administrator
               All users imported from an LDAP server default to the Poweruser role. The default OpenManage
               NM (login/password: admin/admin) cannot log into OpenManage NM once you enable
               authentication through LDAP. Therefore you must manually assign one user from the LDAP server
               as Portal administrator. Here is an example of an LDAP database user with Administrator privileges:
               Screen name: ITAdmin
               User password: ITPassword
               First Name: Scott
               Last Name: Smith
               Email: scott@dellhardware.com

                      NOTE:
                      You cannot import users without these five attributes into OpenManage NM from an LDAP source.
               Creating user ITAdmin with Administrator role:
                1     As an Admin user, Go to > Control Panel.
                2     Under the Portal category, click Users, then click the Add button.
                3     Fill out the User form with name and email address and so on. Remember: screen name, first
                      name, and email address are required. OpenManage NM LDAP import will not overwrite
                      existing users.
                4     When you are finished, click Save.
                5     A message appears saying that the save was successful.
                6     Select the Password, enter password: ITPassword then click Save.
                7     Click the Roles link. A screen appears showing the roles to which your ID is currently
                      assigned. By default, all users are assigned the Power User role.
                8     Remove the default PowerUser role (optional), and add the administrator role for the user,
                      then click Save.
                      Now you can enter LDAP server information. Be patient, your changes may take a moment to
                      take effect.




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                    Step2: Add an LDAP server
                    In the LDAP tab of the Authentication screen, check the Enabled checkbox, then click Add under
                    LDAP Servers and fill in that screen as appropriate.
                    Authentication
                    Enabled
                    Import/Export
                    Import Enabled
                    Import on Startup Enabled

                         NOTE:
                          Notice that several test buttons appear in the LDAP screens, for example, Test LDAP Connection. Use
                          these to validate your entries as you make them.
                    LDAP Server Settings
                    The following settings are required (the values below are examples, only):
                    Connection
                    Base Provider URL : ldap://192.168.50.25:389
                    Base DN : dc=test-exchange,dc=oware,dc=net
                    Principal: test@test-exchange.oware.net

                         NOTE:
                          The Principal user must have the necessary administrator rights in Active Directory Server or any other
                          LDAP server
                    Credentials: ********
                    Users
                    Authentication Search Filter:(sAMAccountName=@screen_name@)
                    Import Search Filter: (objectClass=person)
                    User Mapping
                    Screen Name: sAMAccountName




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               In the Portal Settings > Authentication > LDAP tab




               Step 3: Turn off default 'admin' user's local authentication. (Optional)
               By default, user 'admin' able to login with local authentication even when 'LDAP' required was
               selected.
               To prevent user 'admin' to use local authentication, edit the file .../oware/synergy/conf/server-
               overrides.properties and add the following line:
                      auth.pipeline.enable.liferay.check=false

                      NOTE:
                      user will need to rename server-overrides.properties.sample to server-overrides.properties

               Step 4: Restart the webserver
               Restart the OpenManage NM server, and attempt to log in as an LDAP user.

                      NOTE:
                      If LDAP users are not imported correctly, you can check the log under .../oware/synergy/tomcat-7.0.40/
                      logs/




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                    LDAP and Multitenancy FAQs
                    The following are answers to some of the frequently asked questions about LDAP, particularly
                    related to multitenancy (see the User Guide for more about Multitenancy).
                    Disabling logins after a preset number of failed attempts—OpenManage NM supports this for
                        both local and LDAP users.
                    Reporting login attempts— Supported from report: User Login Report/Last 30 Days.
                    All users log in with LDAP—This is supported. Tenant site users must prepend the site prefix. For
                         example: The full screen name for user admin in customer site with the prefix BP, logs in as
                         BP-admin.
                    Are Passwords stored as plain text?— Passwords are stored in encrypted form in the database, even
                         for imported users. LDAP users can authenticate through Active Directory (AD) or
                         OpenLDAP. If you do not want locally stored password, manually create users. Alternatively,
                         import users, then disable import, and change the local passwords so they are different than
                         the one from AD.
                    Roles and Users— You must locally configure different roles for users within OpenManage NM.
                    Authentications—By default, OpenManage NM authenticates from the local server(s). If you add
                        auth.pipeline.enable.liferay.check=false (in [installation
                        root]\oware\synergy\tomcat-7.0.40\webapps\social-networking-
                        portlet\WEB-INF\classes\portal.properties) and enable LDAP required, it
                        uses LDAP to authenticate. Liferay does have multiple entries for AD and OpenLDAP.

          Configuring a CAS Server with RADIUS
                    OpenManage NM does not support RADIUS for authentication directly, however it does support
                    LDAP (see Integrating LDAP on page 77), CAS, NTLM SSO, OpenID, Open SSO and
                    Siteminder. If you are not doing NTLM/LDAP/Active Directory, Central Authentication Service
                    (CAS) is a widely used, open source central authentication solution.

                         NOTE:
                          For more information on NTLM SSO (Microsoft Single Sign-On Authentication), please reference https://
                          dev.liferay.com/discover/deployment/-/knowledge_base/7-0/ntlm-single-sign-on-authentication
                          This feature imports users with the default level of permissions. You must manually alter permissions
                          and create groups if you want to differentiate between user permissions.
                    CAS can also use various authentication schemes like LDAP, or RADIUS, so OpenManage NM
                    supports those indirectly. Web applications like OpenManage NM only need to know about the
                    CAS server, not the various authentication protocols CAS uses to provide the final authentication
                    mappings.
                    One popular CAS Server is available at: http://www.jasig.org/cas
                    Configure access to CAS in the Portal > Portal Settings > Authentication > CAS tab, which
                    includes a Test CAS Configuration button. Other tabs are available here for authentication too, for
                    example LDAP and Active Directory (see Integrating LDAP on page 77 for instructions about how
                    to enable LDAP).
                    Liferay provides foundation classes for OpenManage NM’s web client. Liferay Wiki instructions
                    about setting up CAS appear here: http://www.liferay.com/community/wiki/-/wiki/Main/
                    CAS+Liferay+6+Integration.




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               The example we tested uses two devices running Tomcat 7.x and Java 6 on one device (DeviceA)
               and OpenManage NM on the second device (DeviceB). You must access DeviceA using its fully
               qualified hostname (example: QA002.test.loc, not QA002). You must create cas-web.war for
               OpenManage NM’s CAS server to support this. Instructions about how to do this are on the CAS
               open source site at wiki.jasig.org/display/CASUM/Best+Practice+-
               +Setting+Up+CAS+Locally+using+the+Maven+WAR+Overlay+Method. Your preferred
               search engine may find other instructions for compiling or downloading cas-web.war file.

               Configuring DeviceA
               Follow these steps:
                1     Install tomcat 7.x (example: apache-tomcat-7.0.37-windows-x64.zip)
                2     Insert cas-web.war into the ..\tomcat\apache-tomcat-7.0.37\webapps
                      directory. Start Tomcat (run startup.bat in tomcat\bin directory). This extracts cas-
                      web.war, creating the cas-web folder with subcomponents.
                3     Shut down Tomcat (shutdown.bat)

               Creating RADIUS configuration setup:
               Follow these steps (inserting the correct path when [path] appears):
                1     Edit the deployerConfigContext file located in the ..tomcat\apache-tomcat-
                      7.0.37\webapps\cas-web\WEB-INF directory.
                2     Search for the RadiusAuthenticationHandler section of that file.
                3     Replace index="0" with the IP address of the RADIUS server.
                4     Replace index='1' with the global RADIUS server password.
                5     We tested a RADIUS server using mschapv2 protocol. If your radius server uses a different
                      protocol replace index='2' value with the correct RADIUS protocol value.
                6     Save this file.

               Create, Export, Import Certificates using Java
               Follow these steps:
                1     Run the following from the Java location on your computer (typically under c:\Program
                      Files in Windows):
                      ..Java\jdk1.6.0_26\bin>keytool -genkey -alias cascommon -keyalg RSA
                      ..Java\jdk1.6.0_26\bin>keytool -export -alias cascommon -file
                       casserver.crt
                      ..Java\jdk1.6.0_26\bin>keytool -import -trustcacerts -alias cascommon -
                       file casserver.crt -keystore "C:\Program
                       Files\Java\jdk1.6.0_26\jre\lib\security\cacerts"
                2     Uncomment connector port="8443" section in the ..\tomcat\apache-tomcat-
                      7.0.37\conf\server.xml file
                3     And add keystorefile, keystorepass, truststorefile properties
                      <Connector port="8443" protocol="HTTP/1.1" SSLEnabled="true"
                                         maxThreads="150" scheme="https" secure="true"
                                         clientAuth="false" sslProtocol="TLS"
                                   keystoreFile="C:\users\TestUser\.keystore"




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                                       keystorePass="changeit"
                                    truststoreFile="C:\Program
                            Files\Java\jdk1.6.0_26\jre\lib\security\cacerts"
                                        />


                      4   In same file comment out <Listener
                          className="org.apache.catalina.core.AprLifecycleListener"
                          SSLEngine="on" />
                      5   Restart tomcat
                      6   Copy the casserver.crt file that was created during keytool -export from deviceA
                          to deviceB
                    Do the following configuration on deviceB
                      7   Import the certificate:
                          /cygdrive/c/[path]/oware3rd/jdk1.6.0_45nt64:keytool -import -trustcacerts
                           -alias cascommon -file "c:\ssl\casserver.crt" -keystore
                           "[path]\oware3rd\jdk1.6.0_45nt64\jre\lib\security\cacerts"
                      8   Add near the end of set "JAVA_OPTS" -
                          Djavax.net.ssl.trustStore="[path]\oware3rd\jdk1.6.0_45nt64\jre\li
                          b\security\cacerts" to the setenv.bat file located in
                          ..\oware\synergy\tomcat_xxx\bin
                          When finish the line should look like this:
                          set "JAVA_OPTS=%JAVA_OPTS% -Dfile.encoding=%PORTAL_ENDCODING% -
                           Djava.net.preferIPv4Stack=%PORTAL_IP_STACK% -
                           Dsynergy.https=%ENABLE_SSL% -Dssl.certfile=%SSL_CERTFILE% -
                           Dssl.certkeyfile=%SSL_CERTKEYFILE% -Dsynergy.http.port=%PORTAL_PORT% -
                           Djavax.net.ssl.trustStore="[path]\oware3rd\jdk1.6.0_45nt64\jre\lib\secu
                           rity\cacerts" -Xms%PORTAL_MAX_MEM% -Xmx%PORTAL_MAX_MEM% -
                           XX:MaxPermSize=%PORTAL_PERMGEN%"
                      9   On deviceB edit the portal-ext.properties file located in
                          \oware\synergy\tomcatxxx\webapps\root\web-inf\classes
                          Set property settings as follow:
                          live.users.enabled=false
                          com.liferay.portal.servlet.filters.sso.cas.CASFilter=true
                          default.landing.page.path=/group/root
                          company.default.home.url=/group/root
                    10    Restart web service using a command window to run this command:
                          oware/synergy/tomcat-7.0.40/bin/startup.bat
                    11    Go to > Control Panel in OpenManage NM
                    12    Select Portal > Portal Settings
                    13    Click on the Authentication link on the right
                    14    Click on CAS tab.
                    15    Check the Enabled check box.
                    16    Change the login URL to https://deviceA_hostname:8443/cas-web/login
                    17    Change the logout URL to https://deviceA_hostname:8443/cas_web/logout



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               18     Change the server URL to https://deviceB_IPAddress:8443/cas_web
               19     Click the Test CAS Configuration button.
               20     If the test passes, click Save
               21     To use RADIUS with OpenManage NM create users (no password) that already exist on the
                      RADIUS server in the Portal > Users and Organizations portion of the Control Panel.
               22     Logout from OpenManage NM.
               23     in a web browser go to the URL of your OpenManage NM:8080.
               24     A CAS authentication page appears where you enter credentials of users created on radius
                      server.

       Setting Up Radius Authentication
               The OpenManage NM (OMNM) application supports radius authentication using an external
               radius authentication server. To set up direct radius support, you need an OMNM user with the
               same name as the radius user name.
               Set up direct radius support as follows.
                1     Configure the OMNM system to recognize your radius server.
                      a. Navigate to the installDir/owareapps/installprops/lib/installed.properties file.
                      b. Open the installed.properties file with a text editor.
                      c. Add the following properties:
                         com.dorado.server.radius.server=<serverIP> required
                         com.dorado.server.radius.port=<radius port#> optional, default = 1812
                         com.dorado.server.radius.secret=<radius secret value> required
                         com.dorado.server.radius.timeout=<timeout in ms> optional, default =
                             1000 ms
                         For example:
                         com.dorado.server.radius.server=192.168.54.137
                         com.dorado.server.radius.port=1812
                         com.dorado.server.radius.secret=testing123
                         com.dorado.server.radius.timeout=1000
                2     Enable radius authentication.
                      a. Navigate to the installDir/oware/synergy/tomcat-7.0.40/webapps/netview/WEB-INF/
                         classes/portal.properties file.
                      b. Open the portal.properties file with a text editor.
                      c. Add the following line:
                         auth.pipeline.pre=com.dorado.nva.auth.CustomRadiusAuthenticator
                         This property causes the OMNM application to authenticate against the radius server
                         prior to logging in through OMNM authentication. To skip OMNM authentication,
                         continue with step 3. Otherwise, continue with step 4.




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                      3   Edit the server-overrides.properties file if you only want to authenticate against the radius
                          server.
                          a. Navigate to the installDir/oware/synergy/conf/server-overrides.properties.sample file.
                          b. Rename the server-overrides.properties.sample file to server-overrides.properties.
                          c. Open the server-overrides.properties file with a text editor.
                          d. Add the following line:
                              auth.pipeline.enable.liferay.check=false
                              If this line is set to false, the OMNM system authenticates against the radius server
                              only. If set to true (or not set), authentication must pass at both the radius server and
                              local OMNM authentication.
                      4   Verify that authentication work as defined.




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                                                                        Configuring Pages and User Access | Getting Started



Configuring Pages and User Access
               This section describes adding pages to your OpenManage NM (OMNM) installation, and
               configuring role-based user views. This is a way to manage user access to the OMNM features in a
               more complex environment. Configuring pages and user access involves:
                •     Creating Users
                •     Creating and Rearranging Pages
                •     Setting Page-Level Permissions
                •     Setting Portlet-Level Permissions
                •     Setting Resource-Level Permissions
               Pages display portlets in the following ways:

               Display Mode           Description
               Summary/               Any portlet's that have the Settings toolbar option (Filters and Max Results) can
               Minimized Mode         save/toggle the Current Filter, Max Results, Max Items Per Page, and column
                                      choices. See Portlet Tools and Options on page 128.
                                      Note: The Max Results settings for summary portlets differ from those for
                                      maximized/expanded portlets.
                                      If you are an Admin and are on the Main portal site, OpenManage NM saves these
                                      permanently. If you are a REGULAR user they are only saved temporarily unless the
                                      portlet is on your personal Public/Private pages. See Public/Private Page Behavior on
                                      page 24 for details.
               Maximized/             The Settings button in expanded portlets lets you configure displayed columns and
               Expanded Mode          their order, and the number of items to display. If the number of items in a list
                                      exceeds the maximum specified, a [limit reached] message appears next to the
                                      number of items listed in the bottom right corner of the page.
                                      Note: For large list, filters are a more efficient use of computing resources than large
                                      maximum settings. See Defining Advanced Filters on page 147 for more about
                                      configuring filters.


       Creating Users
               Create users as follows.
                1     Go to the Control Panel.
                2     Under the Portal category, click Users and Organizations, then click the Add > User menu
                      item.
                3     Fill out the User form with name and email address and so on.
                4     Click Save when finished.
                      The save was successful message appears.

                      NOTE:
                      The expanded form lets you fill out more information about the user.
                5     Select the Password, enter a password for the user, and then click Save.
                6     Click the Roles link.
                      A screen appears showing the roles to which your ID is currently assigned. By default, all users
                      are assigned the Power User role, and to the User role.




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                     7   Optionally remove the default PowerUser role, add the appropriate new role for the user with
                         the +Select link, and then click Save.
                         You can optionally fill out other details later.
                         (You may want to do this step after configuring roles. See Adding and Configuring User
                         Roles/Permissions on page 67.)
                     8   Select Redcell > Permission Manager.
                     9   Remove any permissions from the User role you do not want the user to have.

         Creating and Rearranging Pages
                   Create and rearrange pages as follows.
                     1   Sign in as an administration user.
                     2   Click Add > Page from the portal.
                         A field appears.
                     3   Enter the page name.
                         That creates a page with a blank title in the doc.
                     4   Click on that tab page to see it.
                     5   Click Manage > Page.
                         An editor appears that lets you configure the page, add child pages, and so on.
                     6   Re-arrange the portal pages from the tree on the left.
                     7   Click Save when configured as needed and then click the X in the upper right corner of this
                         editor.
                         Your page should appear in the portal after you refresh it.
                     8   Click the page label to open any new page, and click Add > Applications to add portlets to
                         that page.
                         You can also drag and drop the portlets within the page to rearrange them. The applications
                         under the Portal node are open source, and not documented here. The rest are OpenManage
                         NM-connected, and are documented in this guide.

                         NOTE:
                         Use the Search Applications field at the top of the Add > Applications menu to find portlets nested within
                         that menu’s categories. The Portal Applications and Global categories includes generic portlets; the
                         remaining categories are for OpenManage NM portlets.


         Setting Page-Level Permissions
                   Setting page-level permissions provide a user/group/role/organization access to a defined OMNM
                   page. Set page-level permissions as follows.
                     1   Sign in as an administration user.
                     2   Click Manage > Page.
                     3   Expand the Page Layout tree.
                         This represents the page layout as seen in the portal.




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                4     Select a page where you want to restrict access.
                5     Click the Permissions button.
                6     Deselect the View permission for Guest and Community members.
                7     Make sure Owner and PowerUser can still view the page.




                8     Now select View for any other roles you want to give access.
                9     Click Save.
               10     Verify that the user cannot see restricted pages by logging out and then logging in as the new
                      user.

       Setting Portlet-Level Permissions
               The portlet-level permissions provide a user/group/role/organization access to a defined portlet.
               Configure portlet-level permissions as follows.
                1     Sign in as an administration user.
                2     Click the Configuration tool (wrench) > Configuration for the appropriate portlet.




                      The Managed Resources - Configuration displays a list of permissions.
                3     Deselect View permission for Guest and Community members.




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                     4   Make sure Owner and PowerUser still have View permissions.




                     5   Select View for the relevant roles (for example, Silver Group).
                     6   Click Save.
                     7   Verify your configuration by logging out and then log in as Guest or another community
                         member.

         Setting Resource-Level Permissions
                   The resource-level permissions provide a user/group/role/organization access to a defined resource.
                   Configure resource-level permissions as follows.
                     1   Create a hierarchy for each Customer from the Hierarchical View Manager portlet.
                         a. Right-click to select New.
                            The Creating New Root Hierarchical View window is displayed.
                         b. Create a hierarchy for the desired Customer, naming and describing it.
                         c. Click the Authorizations tab.
                         d. Add authorization for admin and select limited authorization for the desired customer
                            (goldcustomercp, for example).




                     2   Configure the hierarchy’s membership by selecting and adding a group of devices.




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                3     Set up a page for Device Level View.
                      a. Add a Hierarchical View portlet to the page of interest with portlets for which you want to
                         restrict access.
                         Currently the Hierarchical View is enabled for the Managed Resources, Alarms, Ports,
                         and Audit Trails portlets.
                      b. Log out as admin and then log back in as a user with Gold Customer permissions.
                      c. Confirm your permission configuration is operating on this page.

                      NOTE:
                      If you add sub-hierarchies, the admin and goldcustomercp permissions “trickle down,” so that users see
                      the lower hierarchies’ contents. If you added, for example, silvercustomercp customer, that customer
                      does not see the parent Gold hierarchy.




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Registering a License
                    When it is time to register a license, you have the option to register the license using the
                    OpenManage NM (OMNM) application or using a command line interface.

          Using the OMNM Application
                    Register a license from the OMNM application as follows.
                      1   Select Settings > Application Configuration Settings > License Management.
                          The License Viewer is displayed.
                      2   Click the Register License tab.
                          A blank license list is displayed.




                      3   Click Select License.
                      4   Navigate to the license file, for example:
                          license6.5_2000dd_180D_200tfa_ServiceTag_byGen.xml
                      5   Select the file and then click Open.
                          The license information is displayed.




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                6     Click one of the following registration types:
                      • Activate the license immediately to increase licensed resource count
                      • Activate the license on dateTime UTC year to extend the subscription duration
                         See Register License on page 51 if you need more details about these options.
                      The license is registered.
                7     Verify that the license was activated.
                      a. Click the Products tab.
                      b. Select the Oware product.
                      c. Look at the ACTIVATION DATE.
                         If you increased the licensed resource count, the activation date is today’s date. If you
                         extended the subscription duration, the activation date is the day the current license
                         expires.

       Using a Command Line Interface
               Register a license from a command line interface (CLI) following the instructions for the
               appropriate operating system:
                •     Registering a License from Windows CLI
                •     Registering a License from Linux CLI




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                    Registering a License from Windows CLI
                      1   Start the command line tool.
                      2   Enter oware.
                      3   Navigate to the licenseFilename.xml file.
                      4   Enter the following command:
                            licenseimporter licenseFilename.xml
                          If you want to specify an activation date, enter the following command using the activation
                          option (-aYYYY-MM-DD):
                          licenseimporter -aYYYY-MM-DD licenseFilename.xml

                    Registering a License from Linux CLI
                      1   Start the command line tool.
                      2   Enter . /etc/.dsienv
                      3   Navigate to the licenseFilename.xml file.
                      4   Enter the following command:
                          licenseimporter licenseFilename.xml
                          If you want to specify an activation date, enter the following command using the activation
                          option (-aYYYY-MM-DD):
                          licenseimporter -aYYYY-MM-DD licenseFilename.xml




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Creating an IPv6 Discovery Profile
               The OpenManage NM (OMNM) system functions independently of the underlying IP protocol
               communication, so you can expect the OMNM application behavior to be the same regardless of
               whether resource management is through IPv4 or IPv6.



               The following conditions indicate how to use such IP addresses in OpenManage NM:
                •     When the blue 4/6 icon appears to the right of the IP address field means both IPv4 and IPv6
                      addresses are acceptable. When no icon appears, then only IPv4 addresses work.
                •     When a blue 6 icon appears, then only IPv6 addresses work. Notice that IPv6 does not support
                      capital letters; lower case only.
                •     If a field supports IPV4/V6 and you enter something like ::ffff:192.2.2.2 then
                      OpenManage NM converts it to a standard address format after you tab off the field, perhaps
                      adding some zeroes you did not enter.
               IP v6 support exists for the following:
                •     Discovery—IPv6 Discovery profiles support single IPv6 entries, not IPv6 ranges and subnets.
                      OpenManage NM discovers devices configured to have an IPv6 management interface. If you
                      discover a device with an IPv6 management interface, the discovery data collected on its ports
                      and interfaces defaults to IPV4 if both IPv6 and IPv4 are configured on the same port or
                      interface.

                      NOTE:
                      The ability to exclude a specific IP address on discovery profiles is limited to IPv4 only. IPv6 discovery at
                      this time does not support ranges or subnets so exclusion is not necessary.
                •     Filters/Filtering/Target selection by IP address
                •     Editing the device management interface for IPv4 or IPv6
                •     Network tool portlet includes support IPv4 and IPv6
                •     Alarms, inventory reports, and other screens support IPv6 too.

                         CAUTION:
                      If you have a distributed installation, inter-server communication must be IPv4. Also: IPv6 is enabled by
                      default. Add the following property to the owareapps/installprops/install.properties file to disable IPv6:
                      discovery.supports.ipv6=false
               The following features are not supported:
                •     You cannot install to an IPv6 server.
                •     Distributed installations must communicate with IPv4




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                    Create an IPv6 discovery profile as follows.
                      1   Create and name a Discovery Profile (see Discovering Your Network on page 97 for a more
                          complete description).
                      2   Enter the IPv6 address in the second screen of a discovery profile in the editor.




                          Notice that an address like de80::4564:3344:1a10:f37 becomes
                          de80:0:0:04564:3344:1a10:f37, inserting zeros, when you tab off the address field.
                      3   Configure the discovery as you would like, and inspect to validate the device is ready to
                          discover.
                          Notice that if your network has switches without IPv6 enabled between your OpenManage
                          NM installation and the device you are discovering, inspection fails.
                      4   Execute discovery.
                          The device appears in Managed Resources with the IPv6 interface in its IP Address column.




                          It also appears in filters (like selecting device targets)




                          ...and in various Alarm screens




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                      ...and in Details panels




                      ...and in Reports...




                      ...and view topologies




                      ...and Performance Dashboards




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Discovering Resources
                   Discovery profiles configure equipment discovery for OpenManage NM.




                   The summary view displays the Name, Description, Default (the green check indicates the default
                   profile), whether the profile is Scheduled and Next Execution Date for scheduled discovery.
                   The Expanded portlet adds a Reference Tree snap panel that displays a tree of associations between
                   selected profiles and authentication and tasks that they execute. See Discovery Profiles on page
                   165 for more about this portlet.
                   You can import discovery profiles to target multitenant domains with a command line importer.
                   The command is importprofiles and is in the owareapps/redcell/bin directory. This
                   command takes the import file name an argument. The required domains should be available in
                   the OpenManage NM system before import occurs. Before importing discovery profiles to
                   domains, any referenced authentications should be available in the domains or should be imported
                   first by using the importauths command (the same way you would import discovery files). In
                   other words, you should either manually create authentications for domains or import
                   authentication files using importauths command before importing discovery files to those
                   domains. Example XML files (with the <customer> tag for domains) are in
                   owareapps\redcell\db.

                        NOTE:
                         The date format follows the operating system’s conventions for the location and language selected.
                         Restarting the system changes system menus to the new language. If you want to revert back to the
                         original language in Linux, you may also need to update the cache file under /var/cache/gdm.
                   Here are the resource discovery tasks outlined in this sections:
                    •    Tuning Discovery Ping
                    •    Discovering Your Network
                    •    Incomplete Discovery
                    •    Configuring Resync
                    •    Zero-Touch Provisioning and Auto-Discovery

         Tuning Discovery Ping
                   During discovery, OpenManage NM pings the devices specified in profiles. You can alter the
                   defaults with the following properties:
                         redcell.discovery.timeout
                         redcell.discovery.retries
                         redcell.discovery.defaultport




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               Add these to the owareapps/installprops/lib/installed.properties file with the
               values you want preceded by an equal sign (=).

       Discovering Your Network
               The following steps describe how to discover devices on your network. You can also edit any seeded
               authentications and discovery profiles to see what they look like.
                1     Right-click the Discovery Profiles list and select New.
                      In a multitenant environment, you can create profiles exclusively for specific tenant sites (and
                      the master site). A selector appears with a list of available sites if you have other sites
                      configured.
                2     The Discovery Profile Editor appears, with a step-by-step set of screens to configure resource
                      discovery. You can navigate through it by clicking the screen tab names at the top, or by
                      clicking the Next button at the bottom of the page.
                      This editor appears with the following panels:
               General
                3     General Parameters—Configure the Name, Description and whether this profile is the
                      baseline default. Baseline discovery finds the baseline configuration to compare to later
                      discoveries.
                4     Profile Options—Select the Device Naming Format (how the device appears in resource
                      lists, once discovered), whether to Manage by IP address or hostname, and check whether to
                      Resolve Hostname(s), ICMP Ping Device(s), Manage ICMP-only Device(s), or Manage
                      Unclassified Device(s). This last checkbox determines whether OpenManage NM attempts to
                      manage devices that have no device driver installed. Management may be possible, but more
                      limited than for devices with drivers installed, provided this capability is one you have
                      licensed.

                      NOTE:
                      Some packages disable ICMP ping by default.
                      The Filters (by Location, Vendor, or Device Type) let you narrow the list of devices discovered
                      by the new profile. As the screen says, this filtering will not have any impact on the processing
                      that occurs during the Inspection step.
                      Make sure you Save profiles you alter, or these selections have no impact when you execute
                      discovery.
               Network
                5     After you click Next, the Network screen appears.
                      Network Type and Addresses—Select the type of entry in the pick list (IP Address(es), IP v6
                      Address, CIDR Address, Hostname, Subnet).

                      NOTE:
                      You can specify an IP v4 Address range by separating the beginning and end with a dash. For example:
                      192.168.1.1-192.168.1.240.
                      Hover your cursor over the data entry field and the tooltips describe what valid entries look
                      like.




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                         You can exclude IP addresses, or ranges of IP addresses if you check the Display exclusion
                         input checkbox and input the addresses you want excluded as you did for those you entered in
                         the Address(es) for Discovery field. Such exclusions only apply to the profile where you enter
                         them. To exclude an address or range, use the com.dorado.redcell.discovery.exclude property.
                         Examples of how to enter such exclusions appear in the redcell.properties file under
                         owareapps\redcell\lib. As always, best practice, if you want such properties to persist is to put
                         the property in owareapps\installprops\lib\installed.properties.
                     6   Authentication— You can Create new, or Choose existing authentications. (See Tuning
                         Application Features’ Performance Impact on page 112 for more about creating
                         authentications.) Notice that authentications appear with Edit/Delete icons and Up/Down
                         arrows on their right. The Up/Down arrows order authentications, so OpenManage NM tries
                         the top authentication first, then the next, and so on.
                         If you have an authentication like admin/abc123 and one that is identical with an enable-
                         level login/password (admin/abc123/enable/enable123), make sure the
                         authentication with enable appears first in the list, otherwise, discovery finds the device,
                         but does not access its enable functionality.

                            CAUTION:
                         If you do not get to the correct level of authentications—for example the “enable” user—then
                         OpenManage NM’s full functionality is not available. The functionality will not be available for backup,
                         restore, deploy, seeded or created actions that require a device enable login, Proscan, some
                         performance monitoring that requires for OMNM to log into the device to retrieve an information using
                         command line interface (CLI). Also, some device information will be missing like firmware versioning,
                         serial number, or port attributes when OMNM cannot retrieve that information using SNMP and needs to
                         use CLI to retrieve that kind of information

                         NOTE:
                         Best practice is to avoid special characters, particularly # and > (command line prompts) in device
                         banners so terminal access is unambiguous.
                         The Edit icon opens the authentication editor. Click the arrows to arrange the order in which
                         the software tries credentials (top first). Ordering only applies when two credentials are of the
                         same type.
                   Actions
                     7   You can configure Actions to run as part of discovery. By default, the actions screen includes
                         the Resync action. For more about that, see Configuring Resync on page 100.
                         Use Add Action to select others to enter here. You can also edit parameters (if available),
                         delete and re-order the actions listed here by clicking the icons to the right of them.
                         OpenManage NM executes them in top-to-bottom order.
                         By default discovery now automatically updates monitor targets with discovered equipment.
                         For example, if you have a monitor targeting the dynamic All Dell Devices group, and
                         discover a Dell device, discovery automatically adds the discovered device to the monitor’s
                         target list.
                         Device discovery initiated by web services does not require an existing discovery profile,
                         however, if a default discovery profile exists, then discovery initiated by web services uses it. If
                         you have updated your system, you must add the Refresh Monitor Targets action to any
                         existing discovery profiles you have created before this default behavior occurs in upgraded
                         discovery profiles.




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                      You can change this default by changing the settings in the /owareapps/redcell/lib/
                      redcell.properties file’s redcell.discovery.taskactivity.order property. See also Refresh Monitor
                      Targets for Newly Discovered Devices on page 420.
               Inspection
                8     Inspect Network using your current settings—This screen lets you preview the discovery
                      profile’s actions and access to devices. If you clicked Next rather than Inspect at the bottom of
                      the previous screen, click Start Inspection to begin the inspection process for selected
                      authentications that validates the device’s credentials.
                      Notice that the Inspection Status fields below listed authentications indicates the success or
                      failure of ping (if not disabled), Hostname resolution, and the listed Authentications.
                      If the device does not match all required authentications, you can click the Fix it icon (a
                      wrench with a red or yellow dot) to edit them for the selected device. You can also click Test
                      Device, Create New, or Choose Existing authentications while in the editor clicking the Fix it
                      icon displays the authentication selection panel. The yellow dot on the Fix it icon means an
                      optional authentication is missing. A red dot means a required one is missing.
                      When authentications are unsuccessful, you can remove or edit them in this editor too. Click
                      the icons to the right of listed authentications to do this.
                      When they test successfully, the authentications appear in a nested tree under the Discover
                      checkbox (checked when they test successfully).
                9     Save—Click Save to preserve the profile. You can then right-click it to select Execute and
                      begin discovery. If you select Execute from the profile editor, OpenManage NM does not save
                      the profile to execute later.
               Results
               10     Execute—Clicking Execute begins discovery, confirm you do not mind waiting, and the
                      message traffic between OpenManage NM and the device appears on the Results screen.
                      This is a standard Audit screen. See Audit Trail Portlet on page 154 for more about it. The
                      Audit Trail portlet saves its contents if you want to see the message traffic between
                      OpenManage NM and the device(s) later.
               11     A message (Discovery Profile Execute is complete) appears in the Messages at the bottom left
                      of the status bar.

                      NOTE:
                      You can also schedule discovery profiles to run periodically, updating your database with any network
                      changes. For more, see the options description in Schedules on page 156.
               12     The devices in your network now appear in the Managed Resources portlet, and elsewhere (in
                      the Network View topology, for example).
               See Discovery Profiles on page 165 for more about these capabilities.

                      NOTE:
                      OpenManage NM automatically adds discovered devices to the default ICMP monitor.

               LLDP Warnings
               Warning messages sometimes appear in the Discovery Audit Trail about LLDP. This occurs when
               the device's LLDP information indicates that a component exists with LLDP enabled at a certain
               IfIndex, but that IfIndex doesn't actually exist in the IfTable.




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                   In other words, the information in the two SNMP tables does not match perfectly, OpenManage
                   NM warns about the IfIndexes that are missing. This incongruity in the tables is rather common
                   and is not normally a problem, but OpenManage NM still displays the warning.
                   The only time it would be of concern is if the warning claimed that it could not match IfIndex
                   numbers that do exist in the IfTable, otherwise it's just a harmless warning that the LLDP table has
                   some bad data in it.

         Incomplete Discovery
                   If the device is detected and responds to ping, but does not respond to actions (for example:
                   Resync or Adaptive CLI), you may have only partially discovered it. Right-click the device in the
                   Managed Resources portlet and select Direct Access > Telnet. If that menu option does not exist,
                   the device is typically partially discovered with SNMP only. Right-click to edit the device, and add a
                   both Telnet Management Interface and Authentication in those two tabs of the editor.

         Configuring Resync
                   Resync now can retrieve, and if it is obsolete, update, the information gathered on initial discovery.
                   Fields retrieved/updated include SysDescription, Contact, and Location.
                   OpenManage NM can also retrieve the device’s SysName to update the device's Name field on
                   resync, depending on a system property. By default this is false, so no name retrieval occurs on
                   resync.
                   The property determining this behavior is in owareapps\ddbase\lib\
                   ddbase.properties. Here is how that property looks in ddbase.properties:
                         ##Update Device Name on resync - 'false' turns this behavior off.
                         ##Other options: sysname_ip , hostname_ip, sysname, hostname, and ip
                         ##For example, to set this to use sysname + IP naming format, use
                         ##com.dorado.devicedriver.base.updateName=sysname_ip
                         com.dorado.devicedriver.base.updateName=false
                   Best practice is to override the default in
                   owareappse\installprops\lib\installed.properties.

                            CAUTION:
                         This property overrides the discovery profile’s Device Naming Format convention selected. This can be
                         useful if you want to force discovery to use a particular naming convention regardless of how others may
                         have configured the Discovery Profile that initially retrieves information about the device discovered. It
                         may be less-than-useful if a Resync action that follows or is part of the discovery process provides
                         naming you do not want.
                   If you elect the default, resync still updates SysDescription, Contact and Location, but does not
                   update SysName (Name).
                   If you have selected Manage by Hostname in your discovery profile, then resync will also retrieve
                   any IP address changes, for example in a network with DHCP. Any override to resync’s retrieved
                   Device Naming Format may also change the device’s Name when resync occurs if the IP address has
                   changed, but it does not override the Manage by Hostname selection, and OpenManage NM still
                   keeps the originally retrieved hostname to refer to the device, even though it may not appear in the
                   Managed Resources portlet and elsewhere.




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               Finally, you can manually override all retrieved Name information. Right-click a device and
               selecting Edit, then make the alterations. See Resource Editor on page 186. Such edits only alter
               OpenManage NM’s database, not data on the device. To alter data on the device, you can create an
               Adaptive CLI. See Actions and Adaptive CLI.
               Resync overwrites any manual alterations if you make the resync property anything but the default.

       Zero-Touch Provisioning and Auto-Discovery
               Zero-touch provisioning is a process through which devices can be automatically configured and
               provisioned. Auto-discovery is a related process through which OpenManage NM automatically
               discovers unmanaged devices that have been configured to send traps.
               To enable zero-touch provisioning within your network, you will need an external DHCP server.
               This server needs to be configured to automatically provision new devices with a basic
               configuration file. You can include any basic configuration settings you want within this file.
               If you want to enable auto-discovery, then you need to configure the devices in your network to
               send traps to OpenManage NM and you will also need to log into the OpenManage NM web portal
               and follow a few configuration steps in order to activate this feature. Note if you want to use zero-
               touch provisioning in conjunction with auto-discovery, then your basic configuration file that is
               provisioned to the device will need to include a setting that tells the device to send traps to the
               OpenManage NM server. However, auto-discovery can be used independently of zero-touch
               provisioning and vice-versa.
               To activate auto-discovery of network devices within OpenManage NM, follow these steps:
                1     Log into the OpenManage NM web portal.
                2     Click on the Discover tab.
                3     Within the Discovery Profiles portlet, find the entry named “Device Auto-Discovery”. This is
                      the discovery profile that will be executed when a trap is received from an unmanaged device,
                      but it needs to be configured properly first.
                4     Right-click and Edit this entry.
                5     You might want to change some of the settings on the General tab. Please see the Discovery
                      Profiles section for more information about this edit screen and the available options.
                6     Click on the Network tab.
                7     Note that unlike the other discovery profiles, within this record, the IP Address(es) field is
                      intentionally left blank because the IP address of the target device will come from the source
                      IP address of the trap that is received from the unmanaged device.
                8     You will need to configure the credentials within the device(s) that you wish to auto-discover.
                      If you are using zero-touch provisioning, then you could include authentication credentials in
                      the basic configuration file that is provisioned to the device.
                9     This discovery profile was created with placeholders for the authentication credentials, as seen
                      in the “Select Authentication” list. You will need to remove these entries from the list and
                      create new entries that match the authentication credentials that the device is configured
                      with.
               10     Save the discovery profile.
               11     You will now need to enable the event processing rule that will execute this discovery profile
                      so that it will be triggered when a trap is received from an unknown device.
               12     Expand the Alarms menu item and click on Definitions and Rules.




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                    13   Within the Event Processing Rules portlet, find the entry named “Execute Auto-Discovery
                         when a trap is received from an unmanaged device”.
                    14   Right-click and Edit this entry.
                    15   Everything within this event processing rule should already be configured properly so that the
                         only thing you need to do would be to check the Enabled box and the click Save.
                    16   Once the event processing rule is enabled it will be triggered any time a trap (or syslog) is
                         received from an unmanaged device. If auto-discovery is used in conjunction with zero-touch
                         provisioning, and if all the pieces are configured properly, then OpenManage NM will
                         automatically discover a device shortly after it has been provisioned by the DHCP server.
                         The Managed Resources portlet displays all discovered devices.




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                                                                                 Resetting a Password | Getting Started



Resetting a Password
               You can reset a user's password two ways. One is to login as admin and change the user's password in
               Portal Settings > Users and Organizations. For additional information please refer to Portal >
               Users and Organizations on page 23.
               For the second method, users themselves can request an email be sent to them with instructions to
               set a new password. Follow the steps below.
                1     Login fails. At the bottom of the login screen is the Forgot Password link.
                2     A prompt appears for user to enter a Screen Name.
                3     A prompt appears to enter the answer to the reminder question (their Father's middle name)
                      that they set when logging in the first time.
                4     After entering the correct answer for their account, OpenManage NM sends an email to the
                      user’s email address. E-mail for password reminders/resets requires setting up the fields in
                      Control Panel > Server Administration > Mail, not the SMTP Configuration which is for
                      OpenManage NM-originated e-mails.
                      After entering an incorrect answer, a request failed screen appears, with another chance for
                      entering a correct answer.
                5     The e-mail provides a link where the user can enter a new password and confirm it.




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Deploying Add-On Capabilities | Getting Started



Deploying Add-On Capabilities
                   OpenManage NM (OMNM) add-on capabilities come in the following forms:
                    •    Deploy Updates
                    •    Extensions
                    •    .ocp and .ddp files
                   These add-on capabilities do not require a complete re-installation of the application. If you are
                   upgrading to an entirely new OMNM package, refer to the OpenManage NM Installation Guide
                   for the upgrading from a previous version instructions. If you are updating your operating system,
                   refer to the OpenManage NM Installation Guide for instructions.
                   The following sections describe how to update your initial system with them.

                    Add-On Capability     Description
                    Deploy Updates        Updates to OpenManage NM can come in .war files. For example, a new helpset
                                          (nvhelp.war), that updates the information about the program. To deploy such files,
                                          copy them to the installDir\oware\ synergy\deploy directory. A few minutes later, the
                                          OMNM application deploys them.
                    Extensions            Extended capabilities for the OMNM application may appear in .jar files. For
                                          example, the synergy-msp.jar file. To deploy these, copy the file into the
                                          installDir\oware\synergy\extensions directory.
                    .ocp and .ddp files   Device drivers and additional application capabilities come in files with the .ddp and
                                          .ocp extensions, respectively. These install automatically during the full OMNM
                                          installation when they are in the owareapps directory. To install them after your
                                          system is already up and running, use the following command line programs:
                                          ocpinstall -x [filename.ddp or filename.ocp]
                                          ocpinstall -l [filename.ddp or filename.ocp]
                                          ocpinstall -s [filename.ddp or filename.ocp]
                                          Note: You must install these to all application servers in a distributed environment.




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                                                                                  Using Device Drivers | Getting Started



Using Device Drivers
               For complete communication with devices, the OpenManage NM (OMNM) application requires a
               device driver. For example, to communicate with Dell EMC devices, you must have a Dell EMC
               driver installed. That does not mean you cannot discover and communicate with other vendors’
               devices without a driver installed. See .ocp and .ddp files on page 104 for driver installation
               instructions. The following sections include discussions of some of these drivers:
                •     Base Driver
                •     Supported PowerConnect Models
                •     Windows Management Instrumentation (WMI) Driver
                •     Web-Based Enterprise Management (WBEM) Driver

       Base Driver
               If you have no driver installed, the OpenManage NM (OMNM) application provides the following
               functionality, depending on the devices’ supporting and providing data from the SNMP system
               group (sysDescr, sysObjectID, sysUpTime, sysContact, sysName, sysLocation) and the ifTable,
               which provides list of device interface entries from the RFC1213-MIB. The OMNM application
               also depends on the entPhysicalTable in the ENTITY-MIB, which provides a list of physical entities
               contained on a device. If the device does not support the ENTITY-MIB, then the OMNM
               application bases sub-component creation entirely on ifTable contents.
               Confirm that a device is not part of those supported by installed drivers when part of its OID is
               3477.

               Functionality       Description
               Top Level Resource The OMNM application creates top level resource for discovered devices with the
                                  following attributes: Equipment Name, Description, IP Address, Location, Contact,
                                  Vendor, Model, System Object Id, Date created, Creator, Discovery date, Last
                                  Modified.
               Subcomponents       The OMNM application creates subcomponents (modules, ports, interfaces, power
                                   supplies, fans, and so on) for discovered device based on contents of
                                   entPhysicalTable.
               Port/Interface      The OMNM application sets Port/Interface Attributes depending on port/interface
               Attributes          type: Name, Port Description, MAC Address, Administrative State, Operational
                                   State, Port Type, Speed, Encapsulation, Operation Type, Switch Mode, CLI Name, If
                                   Index, Port Number, and Slot Number.
               Direct Access       SNMP and Ping (ICMP) are enabled.
               Monitors            The OMNM application automatically adds discovered device instances to the
                                   Default ICMP Monitor to indicate their Network Status. Support for SNMP based
                                   performance monitors using discovered ports and interfaces as targets is also
                                   possible. For example, Bandwidth Utilization.
               Reports             You can execute reports like the Port Inventory Report or Device Inventory and
                                   results should include discovered device and device port entities.
               Network View        Discovered devices and their sub-components appear, regardless of whether a device
                                   driver exists for them.
               Events              The OMNM application supports standard MIB-II traps for discovered device and or
                                   sub-components. For example, linkUp, linkDown, coldStart, warmStart, and so on.




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                    Functionality        Description
                    MIBs                 The OMNM application can import MIBs for use within MIB Browser and
                                         performance monitoring so you can query device-specific OID values on discovered
                                         device.
                    Hierarchies          Depending on the licensing, device and or contained sub-components are selectable
                                         and manageable in filters and portlets like Hierarchical View.
                    Links                You can manually create Links using discovered device or device subcomponents as
                                         end points which are then visible in Network View.
                    Attributes           You can manually populate or modify device/port attributes. For example Serial
                                         Number, Firmware Version, Port Type, Notes etc. Attribute values should then be
                                         included in reports based on a given report template.


          Supported PowerConnect Models
                    Refer to release notes for a list of supported devices. From the OpenManage NM (OMNM)
                    application portal, select Manage > Show Versions to view information about supported devices
                    and operating systems.

          Windows Management Instrumentation (WMI) Driver
                    The Windows Management Instrumentation (WMI) driver currently supports any Windows-based
                    operating system that supports the WMI. This driver must install supported versions of Windows.
                    Refer to the OpenManage NM Installation Guide for supported operating systems.
                    This driver supports global group operations. Discovery may display benign retry warning messages
                    in the application server shell or log. You can safely ignore these.
                    Before installing the WMI driver, make sure that completed all prerequisites. Then, prevent WMI
                    requests from being blocked by configuring the firewall.

                    Prerequisites
                    Before installing the OpenManage NM (OMNM) application to manage other computers with a
                    WMI driver, you must download and install the Microsoft .Net framework version 3.0 or later on
                    the application server if it is not already installed there. For complete functionality, the WMI login
                    for this software must be a login for a domain user who also belongs to the administrator group on
                    the WMI device. Both are requirements for any installation managing WMI devices.

                         NOTE:
                         If you have complied with the prerequisites for installation and do not need the basic installation
                         instructions that appear in the next section, refer to the more detailed installation instructions in the
                         other manuals for information about how to install OpenManage NM in more complex environments.
                    The following are common Windows prerequisites:
                    Credentials— Use administrative credentials to manage the computer system with WMI.
                    Firewall— Allow those WMI requests that you want to manage as some firewalls installed may
                         block WMI requests. (See Configuring the Firewall.)
                    License—Make sure that you have the proper licenses installed to discover the devices you want. If
                         you have a Dell-only license and are discovering a non-Dell device, discovery does not work.
                         Or if you have a Dell license for desktop discovery only, you cannot discover a server.
                         See License Viewer Window on page 46 for more about licenses.




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               Configuring the Firewall
               Configure the firewall between your server and the Internet as follows.
                 1    Deny all incoming traffic from the Internet to your server.
                 2    Permit incoming traffic from all clients to TCP port 135 (and UDP port 135, if necessary) on
                      your server.
                 3    Open Port 445 (WMI).
                 4    Permit incoming traffic from all clients to the TCP ports (and UDP ports, if necessary) on
                      your server in the Ports ranges specified.
                 5    Permit incoming traffic on all ports where the TCP connection was initiated by your server if
                      you are using callbacks.
                      WMI queries succeed only if you add the user account to a local admin group. Refer to the
                      Microsoft knowledgebase articles for the way to do this. For example, Leverage Group Policies
                      with WMI Filters.
                      For user rights for WMI access, see: www.mcse.ms/archive68-2005541196.html
                      See also: Service overview and network port requirements for the Windows Server system
                      (support.microsoft.com/kb/832017/)

       Web-Based Enterprise Management (WBEM) Driver
               The Web-Based Enterprise Management driver currently supports operating systems supporting
               the Web-Based Enterprise Management interface (WBEM).
               WBEM is always installed on the following operating systems versions, and later:
                •     Red Hat Linux and/or CentOS 6.2, 6.4
                •     VM Ware (ESX) with WBEM installed.
               You can install Web-Based Enterprise Management on some other systems if they do not already
               use it, but monitored devices must have this installed.

                      NOTE:
                      To verify WBEM is running on your system, run the following command: ps -e | grep cim. You
                      should see a process labelled cimserver.

               Installing WBEM on Red Hat
               You can download and install WBEM support for Red Hat Linux. For example, for Red Hat 6.2, a
               release for WBEM is tog-pegasus-2.12.0-3.el6_4.x86_64.rpm. This is what you need
               to download once you have logged into the Red Hat network.
               Install this as follows:
               Install: rpm -ih tog-pegasus-2.12.0-3.el6_4.x86_64.rpm
               Upgrade: rpm -Uh tog-pegasus-2.12.0-3.el6_4.x86_64.rpm
               To determine if wbem is running, run ps -ef | grep cimserver in a shell.
               To start | stop | get status of the WBEM service:
                      tog-pegasus start | stop | status"

               WBEM Prerequisites
               The following are common prerequisites:



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                    Credentials— WBEM credentials have a role in discovering the device. Your system must have
                        access to the computer using Administrative only credentials. These are the same credentials
                        as the user installing WBEM on the device.
                         Telnet/SSH credentials are necessary for other supported applications.
                         For full functionality, this WBEM device driver requires administrative (root) access. Many
                         devices may only allow root logins on a local console.
                         In such cases, configure the Telnet/SSH authentication for these devices to login as a non-
                         root user—and, in Authentication Manager, enter su in the Enable User ID field and enter
                         the root user’s password in Enable User Password in that same authentication. This enables
                         full device management functionality with root access.
                         Credentials for Telnet/SSH should have a privilege level sufficient to stop services and to
                         restart the computer system.
                    Firewall— Some firewalls installed on the computer may block WBEM requests. Permit access for
                         those you want to manage.
                    License—Make sure you have the correct WBEM driver license installed. Licenses come in the
                         following types:
                         • Major Vendor by Name - Such as Dell, Compaq, HP, Gateway.
                         • Server/Desktop individual license support.
                         • Generic computers - non-major vendors.
                         • ALL - this gives the driver all capabilities for any computer system.

                         NOTE:
                         If you discover an Amigopod host that does not have its SNMP agent turned on, OpenManage NM labels
                         it a WMI or WBEM host rather than an Amigopod host.
                    Secure WBEM Access
                    Some monitoring capabilities require root access, even if you securely log into the Linux host. In
                    this case, when configuring a secure (SSH) login, configure a telnet authentication with su as an
                    Enable User ID, and the root user’s password as the Enable Password. For other WBEM access,
                    configure authentication as an HTTP/HTTPS login/password, and select WBEM as the protocol
                    after you have selected the WBEM authentication.




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               VMWare ESX and KVM Controller Support
               Basic support for management of VMWare ESX and KVM Controller devices has been added. The
               controllers are discovered/managed via WBEM protocol and require WBEM and SSH
               authentication protocol at discovery time. VMs will appear in the controller's reference tree, but
               can also be discovered standalone.




               Example Reference tree for a KVM Controller showing three hosted VMs
               Supported Functionality for VMWare ESX and KVM Controllers
               VMWare ESX and KVM Controller devices support the following functionality:
                •     Discovery/Resync
                •     Limited KPI Support
                •     Direct Access/Terminal
                •     ACLI Support
                •     VM Management Actions
               VM Management Actions
               VMWare ESX and KVM Controller devices have specialized VM Management Actions that are
               available to them. These actions are accessible via the Actions menu that is available on a Managed
               Resource.
               The following actions are supported for managing hosted VMS:
                •     Start
                •     Stop
                •     Suspend




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                     •   Resume
                     •   Reboot

                         NOTE:
                         In order for some actions to function, the target hosted VM must be configured correctly. For VMWare
                         ESX devices, please see: https://www.vmware.com/support/developer/vcli/ and ensure that the vSphere
                         CLI tools are installed on the target guest VM. For KVM devices, please see: http://virt-tools.org/learning/
                         start-stop-vm-with-command-line/, and ensure that the target guest VM is configured to respond to ACPI
                         requests.




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                                                                                Optimizing Your System | Getting Started



Optimizing Your System
               To optimize you system, you can perform the following tasks needed:
                •     Overriding Properties
                •     Tuning Memory (Heap & Portal)
                •     Tuning Application Features’ Performance Impact
                •     MySQL Resizing, Starting and Stopping

       Overriding Properties
               You can fine-tune various features of the application. Rather than lose those changes if and when
               you upgrade or patch, best practice is to override changes.
               To do this for the Web portal, first rename the provided file \oware\synergy\conf\server-
               overrides.properties.sample to server-overrides.properties, and enable the
               properties within it by uncommenting them, and altering them to fit your needs. The comments in
               this file provide more information.
               You can also override application server-related properties in
               \owareapps\installprops\lib\installed.properties.
               Both of these properties files remain as you previously configured them if you install an upgrade,
               but upgrades overwrite the server-overrides.properties.sample, so keep a copy if it has
               anything you want to preserve.
               Screen names— One possible configuration property
                    (com.synergy.validation.screenmame.min.length) specifies a minimum length
                    for user screen names. For the existing user base then any screen names that are shorter than
                    the value must change to the required length on the next edit/save for that user.

       Tuning Memory (Heap & Portal)
               You can adjust the memory footprint of any installed server’s virtual machine (VM) by configuring
               it in the Heap configuration installation screen that appears during most package installations.
               Within limits, using more memory, if it is available, generally means better performance.
               Launching a server without sufficient memory produces the following error: Error occurred
               during initialization of VM Could not reserve enough space for object
               heap.
               You can re-set these after installation too, with the following properties in
               \owareapps\installprops\lib\installed.properties:
                      oware.server.min.heap.size=3072m
                      oware.server.max.heap.size=3072m
               For Windows and Linux valid settings range from 512m to the limit of available RAM minus
               operating system needs.
               While you can enter any number within these constraints, the following are values that are
               supported during upgrade. Other values are ignored during upgrade and you must choose again
               from supported value list during installation/upgrade.




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                   Portal Memory Settings
                   To manually change OpenManage NM web portal heap settings, change the setenv.sh (Linux)
                   or setenv.bat (Windows) file:
                         set "PORTAL_PERMGEN=512m"
                         set "PORTAL_MAX_MEM=3072m"
                         set "PORTAL_INIT_MEM=768m"
                         set "PORTAL_32BIT_MAX_MEM=768m"
                   These files are in the Tomcat***/bin directory. After you change their settings, for Linux, restart
                   the portal service to apply new memory settings. In Windows, besides updating setenv.bat you
                   must run service.bat update in that same directory.
                   You can increase these to even higher figures if your system has the memory available.

                        NOTE:
                         Make sure only one Tomcat process is running, otherwise your web server may exhibit poor
                         performance.

                   Memory Limits Advice
                   RAM size on hardware can increase virtually without limit. However, if you configure application
                   server so it does not use half of the configured Heap, then having such a large Heap degrades
                   performance since Java (this software’s programming language) scans and sizes garbage collection
                   with the pre-allocated large Heap in mind.
                   That is not to say servers cannot have large amounts of memory. As the applications goes into
                   production and usage grows, larger RAM lets you adjust to meet demand as it grows. Having a small
                   amount of RAM does not allow for growth when needed.
                   Another thing to remember: Suppose a host has 32GB for an Application Server. Say the
                   Application Server Heap is 28GB. This limits the amount of Threads you can run simultaneously
                   in Thread Pools as well as I/O forking. Every time Java executes a thread, it allocates memory
                   outside of its VM for native calls Since the server only had 32GB and the operating system must
                   use some, very little remains for these processes.
                   Best practice: Lower the Heap Memory in favor or leaving some more available to the operating
                   system so you can take advantage of more threads if you have the CPU cycles.
                   Too much Heap RAM impacts only excessive garbage collection which can equate to application
                   pauses as garbage collection moves memory around. Application pauses degrade performance.

         Tuning Application Features’ Performance Impact
                   Resync, Performance, and so on use different pools than backups, so limiting the size of the
                   backups pool would have little impact on resync since these applications does not compete for
                   resources.
                   If you need to configure these, you can configure pool sizes using properties in
                   installed.properties. On startup the application server creates a file called
                   mbean_attr_overrides.template in owareapps/installprops/lib. This includes
                   text descriptions of Mbeans and their settable properties. It allows you to copy properties you want
                   to override and add them to the existing install.properties, so the settings persist even if
                   you upgrade the software. This replaces a previous tuning method that required editing mbean-
                   settings.xml and did not persist past upgrade.




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               For more about performance settings for monitors, see Understanding Performance Monitoring
               on page 361.
               For successful discovery of the resources on your network, OpenManage NM requires authenticated
               management access to devices. To get such access, you must provide the correct SNMP community
               strings, WMI login credentials, and any other command-line (Telnet/SSH) or browser (HTTP/
               HTTPS) related authentication, and SNMP must active on devices, if that is not their default.
               Some devices require pre-configuration to recognize this management software. Consult your
               network administrator or device manuals for instructions about how to enable them and authorize
               OpenManage NM as the management console.

                        CAUTION:
                      If you do not get access to the deepest level of authentications—for example the “enable” user’s—you
                      cannot access all of OpenManage NM’s functionality.


       MySQL Resizing, Starting and Stopping
               MySQL Database Sizing—Installation includes the chance to select a size for your embedded
               database. This should reflect expected use, and should be small enough that you leave enough
               RAM for the application and operating system (at least 4G, typically).

                      NOTE:
                      The default MySQL login command line is: >mysql -u root --password=dorado
                      By default, installation optimizes the embedded database for the minimum hardware
                      requirement. This may not be sufficient for some environments when your database size
                      grows. You can set the database size during installation, and further tune performance
                      parameters in ..oware3rd\mysql\[version number]\my.cnf. Have your MySQL
                      operational expert review the links cited below to determine the best values for your
                      environment.
                      1. innodb_buffer_pool_size=512m to 16382m
                         Best practice is to make your buffer pool roughly 10% larger than the total size of
                         Innodb TableSpaces. You can determine total tablespace size with the (free download)
                         MySQL Workbench application.
                         If your database size is 30G, ideally have a buffer size of 33G or more. You can also
                         investigate limiting database size or consider adding extra RAM. For dedicated
                         database server, we recommend 70%-80% of system server's RAM, for example use 16G
                         of RAM for a server with 24G RAM total.
                         To avoid operating system caching what is already cached by this buffer you may have
                         to make additional adjustments. This is not necessary on Windows, but for Linux you
                         need to set innodb_flush_method=O_DIRECT.
                         You may want to make MySQL to use Large Pages for allocating Innodb Buffer Pool
                         and few other buffers. Tuning your VM to be less eager to swap things with echo 0 >
                         /proc/sys/vm/swappiness is another helpful change though it does not always
                         save you from swapping.
                         The optimal setting for Inno DB buffer is to have buffer pool hit rate of 1000/1000)
                              mysql> SHOW ENGINE INNODB STATUS\G
                              ----------------------




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                                BUFFER POOL AND MEMORY
                                ----------------------
                                Buffer pool hit rate 1000/1000
                             You may need to modify system settings, increase or decrease application server heap,
                             web server heap, and innodb buffer to fit your needs. This depends on whether you use
                             the webserver heavily.
                         2. innodb_log_file_size = 256 M to 1024m
                             A larger file improves performance, but setting it too large will increase recovery time in
                             case of a crash or power failure. Best practice is to experiment with various settings to
                             determine what size is best for performance.
                             To change the log file size, you must move existing the log files named ib_logfile0,
                             ib_logfile1, and so on. See Changing InnoDB Log Files in MySQL on page 116 for step-
                             by-step instructions. The database may not start if you configure a log file size
                             mismatch.
                         3. max_connections=100 to 1000
                             Best practice is to configure 200 or more connections per server (application server +
                             web server), especially if you are adding more servers.
                             The number of connections permitted in this version of MySQL defaults to 100. If you
                             need to support more connections, set a larger value for this variable. Windows is
                             limited to (open tables × 2 + open connections < 2048) because of the Posix
                             compatibility layer used on that platform.
                             Log in to mySQL to check current settings:
                                mysql -u root --password=dorado
                                mysql> show variables like 'max_connections';
                             To check open connections:
                                mysql> SHOW STATUS WHERE `variable_name` = 'Threads_connected';

                        NOTE:
                         You may need to reduce table_cache if you increase max_connection.
                         4. table_cache = 1024 (increase the default as appropriate).
                             table_cache is related to max_connections. For example, for 200 concurrent
                             running connections, you should have a table cache size of at least 200 * N, where N is
                             the maximum number of tables per join in any of the queries which you execute. You
                             must also reserve some extra file descriptors for temporary tables and files.
                             If the value is very large or increases rapidly, even when you have not issued many
                             FLUSH TABLES statements, you should increase the table cache size.
                         5. Monitors: If you enabled and configured the default SNMP interface monitor, it would
                         typically consume most of the space in owbusdb (the database).
                             Unless you have reason to do otherwise, best practice is to disable Retain polled data on
                             the default SNMP interface monitors. The graphs do not need these data for display.
                             OpenManage NM only uses retained data to derive the calculated metrics attributes. In
                             most cases, saving only calculated data for the default SNMP interface monitor
                             suffices.




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                          For example, if you have 16 polled data attributes and 27 calculated attributes, not
                          saving polled data can reduce the table size about 35%.
                          You can further reduce the table size if you only poll/save the relevant calculated
                          attributes in the default SNMP interface monitor. To accomplish this you must remove
                          calculated/polled attributes that you do not want to retain from the monitor
                          configuration, OpenManage NM does not support selectively choosing which
                          attributes to keep. Retained attributes can be all calculated or no calculated.

                      NOTE:
                      Best practice is to archive the modified database sizing file somewhere safe. Upgrading or patching your
                      installation may overwrite your settings, and you can simply copy the archived file to the correct location
                      to recover any configuration you have made if that occurs.
               If you want to change the size of your database after you have installed it, edit the my.cnf file in /
               oware3rd/mysql/[version number]/. Alter the last number on the following line:
                      [path]/oware3rd/mysql/ibdata/ibdata1:1024M:autoextend:max:102400M
               To start MySQL, run the following in a shell:
                      [path]oware3rd/MySQL/[version number]/bin/mysqld" --console
               When it starts successfully, the console includes a ready for connections message. Without
               the --console parameter, MySQL writes diagnostic output to the error log in its data directory.
               To stop MySQL, run the following in a shell on the path with MySQL:
                      mysqladmin shutdown
               Other operating system-specific shutdown initiation methods are possible as well: The server shuts
               down on Linux when it receives a SIGTERM signal. A server running as a service on Windows
               shuts down when you shut it down in Windows’ services manager.

                      NOTE:
                      The default MySQL login command line is: >mysql -u root --password=dorado




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                   Changing InnoDB Log Files in MySQL
                   To change the Number or Size of InnoDB redo log Files, follow these steps:
                     1   If innodb_fast_shutdown is 2, set it to 1:
                             mysql> SET GLOBAL innodb_fast_shutdown = 1;
                     2   After ensuring that innodb_fast_shutdown is not set to 2, stop the MySQL server and
                         make sure that it shuts down without errors (to ensure that there is no information for
                         outstanding transactions in the log).
                     3   Copy the old log files into a safe place in case something went wrong during the shutdown
                         and you need them to recover the tablespace.
                     4   Delete the old log files from the log file directory.
                     5   Edit my.cnf to change the log file configuration.
                     6   Start the MySQL server again. mysqld sees that no InnoDB log files exist at startup and
                         creates new ones.

                   SNMP in Multi-Homed Environment
                   Trap listener, Inform listener and all outbound SNMP requests must bind to a specific interface in
                   a multi-homed environment. This interface is considered appropriate to use for all network-facing
                   SNMP activity. By default, this is localhost, interpreted as the application's local IP value (the
                   NIC selected at installation time). The following text in installed.properties provides a
                   specific IP address to control outbound SNMP interface binding on the local machine:
                         # specific interface used for all NMS initated
                         # communications to the network
                         com.dorado.mediation.outbound.address=localhost
                   Include the following and provide a specific IP address to control inbound (listener) interface
                   binding on the local machine:
                         #
                         # specific interface used for binding mediation
                         # listeners such as SNMP trap listener
                         com.dorado.mediation.listener.address=localhost
                   Events with no corresponding definition appear as alarms of indeterminate severity. The only way
                   to change behavior of an unknown event in this version would be to locate the missing MIB and
                   load it into the system. This creates the missing event definition(s) needed to specify explicit
                   behaviors.




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Maintaining and Repairing Your System
               The following describes ongoing tasks that keep your OpenManage NM system functioning
               without interruptions. Some of these take advantage of pre-seeded features, and others take
               manual intervention.
                •     Mini Troubleshooting
                •     Database Aging Policies (DAP)
                •     Scheduled Items
                •     Database Backup and Administration
                •     Log Cleanup
                •     File Cleanup

       Mini Troubleshooting
               Suggested mini-troubleshooting steps for a balky application that is already installed and running:
                1     Refresh the browser. If that does not work...
                2     Clear the browser’s cache (Firefox in particular loves persistent old pages), then refresh. If
                      that does not work...
                3     Stop and start the browser. If that does not work...
                4     Stop and start the Web server
                      For Windows, to start the web server manager: oware\synergy\tomcat-
                      X.X.X\bin\startsynergy. For Linux.
                      /etc/init.d/synergy start or /etc/init.d/synergy stop
                      Worth noting: The tray icon for the web server (        ) is “optimistic” about both when the
                      web server has completely started and completely stopped. You cannot re-start web server
                      when its Tomcat process still lingers. If you lack patience, kill the (large) Tomcat process then
                      re-start web server. The smaller one is that tray icon.
                      If that does not work...
                5     Stop and start application server. Command lines for this:
                      stopappserver and startappserver
                      If that does not work...
                6     Delete the contents of the oware/temp directory and restart application server. If that does
                      not work...
                7     Reboot the host and re-start the application server, web server and browser.
               When troubleshooting (or contacting technical support), you may find pertinent information in
               logs located in the following directories:
                      ..\oware\jboss-3.0.8\server\oware\log
                      ..\oware\temp\soniqmq.log
                      ..\app_setup.log
                      ..\db_setup.log




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                   Best practice is to run the getlogs script from a command line. It packages relevant logs in a logs.jar
                   file in the root installation directory, and moves any existing copy of the logs.jar file to oware\temp.
                   The logs.jar file compresses all logs necessary for troubleshooting. Read the jar yourself, or forward
                   this jar to technical support for help in troubleshooting.
                   Searching \oware\jboss-5.1\server\oware\log\server.log for “error” is one way to look for the root of
                   application server problems.

                         NOTE:
                         If you see errors that say your Linux system has too few threads, make sure that you have set the file
                         handles correctly.


         Database Aging Policies (DAP)
                   DAP policies automatically purge or archive stale data so the database can maintain its capacity.
                   Several pre-defined and pre-seeded DAPs come with OpenManage NM. You may need to revise
                   these to fit your system. These start at specific times—see the Schedules portlet for specifics about
                   when.
                   DAPs amount to preventative maintenance since they help to maintain the database’s capacity.
                   Best practice is to do the following regularly:
                     1   In the Audit Trail Manager, create a Filter for Creation Date = prior Month and Action =
                         DAP Executed.
                     2   Review the records for Status – Failed. These indicate that a DAP job failed. As long as the
                         following DAP jobs execute, no immediate action is required. If any DAPs are repeatedly
                         failing, then consult the troubleshooting document or OpenManage NM support.
                     3   Review the DAP jobs entries and compare to the scheduled DAP start times. Confirm that
                         audit records are displaying a corresponding audit record for each scheduled execution.

         Scheduled Items
                   Reviewing schedules to ensure that scheduled task are executing as expected.
                     1   In the Audit Trail portlet, create a Filter for each scheduled action and confirm that the
                         schedule action is successful. The schedule “Type” is the Audit Filter Action.
                     2   Investigate any failure of a scheduled action.

         Database Backup and Administration
                   Backup your database regularly. Best practice is for the Oracle database administrator to perform a
                   monthly Full backup with Daily incremental backups. Best practice is for the Database
                   Administrator to check monthly to ensure that the application has sufficient resources. See
                   Backing Up the Database on page 75 and Restoring Databases on page 76.

         Log Cleanup
                   The server.log files may accumulate over time. Best practice is to purge these once a month.
                   The server.log files are in the directory <installation root>\oware\jboss-
                   5.1\server\oware\log. Archived these if you need historical log data. Best practice is to store
                   only a maximum of 30 days worth of log files.




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               Installation Logs may also accumulate in <installation root>\logs. Best practice is to
               review this directory monthly and purge it as needed. Best practice is to retain at least 6 months to
               a year of log data in this directory.

       File Cleanup
               When you turn on CLI trace, this software generates a log file for every CLI transaction and stores
               them in the oware\temp directory. This directory may accumulate many files if you leave CLI
               trace on for an extended period. You can delete or archive these files. Best practice is to inspect the
               directory and take the appropriate action at least once per month.
               When backing up/restoring configuration files or deploying firmware images using the internal file
               server, a copy of the file may remain in oware/temp. You can delete the contents of this directory
               since it is auto created.
               External file servers used in the production environment may also accumulate a copies of
               transferred files. Best practice is to review space on these file servers monthly to ensure the file
               server space is adequate.




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                                                                                                      2
Portal Configuration
The following explains how to customize the OpenManage NM (OMNM) portal. Because this
portal can be so flexible, and comes from open source features, this is not a comprehensive catalog
of all its features. The following discussion covers only those features significant for using the
OMNM application. If you already have a good understanding of the portlets and editors, go
directly to the tasks you want to perform.
Portal Overview – 122
Setting Time Formats – 140
Defining a Debug File – 141
Activating Log4J Email Feature – 142
Hiding Portlet Hint Text – 145
Modifying Column Settings – 146
Defining Advanced Filters – 147
Exporting/Importing Page Configurations – 148
Sharing a Resource – 149
Editing Custom Attributes – 150
Audit Trail/Job Status – 151
Schedules – 156
The Audit Trail and Schedules portlets are not part of the portal configuration. However, they are
fundamental to the OMNM functionality and accessible from many different portlets within the
application. Therefore, they are described in this section.




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Portal Overview
                    This section describes the OpenManage NM (OMNM) portal window, general portlet
                    information, and features that are common for multiple portlets.
                    The portal header has the company logo, OpenManage NM, and its menu options. The userName
                    is an active link to the Manage My Account options, where you can configure your name, job title,
                    image, email and so on. You can access these same options from the Go to > Control Panel menu
                    option. The header also includes:
                     •     Sign Out, which logs you out of the OpenManage NM portal. When you sign in, Password
                           Reminder portlet is displayed if your administrator has set this option.
                     •     Full Page Toggle, which expands the window full page or returns to a manually adjustable
                           window.
                     •     The page navigation bar, which provides access to the pages, subpages, and portlets.
                    The status bar opens My Alert/Action History window, displays subscription expiration alert, access
                    to settings, conferencing, and a list of colleagues on the system.

                                               Page Navigation                 Menu Options               Status Bar
                                               Bar



Header




          Menu Options
                    The following menu options are available from the OMNM portal header.

                    Menu                 Description
                    Help                 Opens the OMNM online help and provides access to any other available sources of
                                         information.
                    Add                  Lets you create Pages or add Applications (portlets) to an existing page.
                                         Select Add > Page and a field opens on the navigation bar when you enter the page
                                         name and then click the checkmark.
                                         Select Add > Applications and a list of available applications (portlets) is displayed.
                                         Navigate to the portlet, click Add, and the portlet is added to the currently selected
                                         page.
                                         See General Portlet Information on page 127 for more information about pages, child
                                         pages, portlets, editors, and the applications list.




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               Menu                Description
               Manage              Opens the Manage Page window where you alter the page organization or its layout
                                   when you select the Page or Page Layout options. From the Manage Page window,
                                   you can drag and drop page locations in the tree, and add child pages. See Creating
                                   and Rearranging Pages on page 86 for instructions.
                                   The Show Versions option displays information about your current OMNM
                                   installation, such as product details, installed extensions, and driver information.
                                   This option is not available from the message board portlet. You can create an HTML
                                   version of this information by running the drvrpt (Linux) or drvrpt.cmd (Windows)
                                   command from the /owareapps/ddbase/bin directory.
               Go to               Provides access to the Control Panel on page 22 and any other pages (public/private)
                                   defined by you or your system administrator. When you add a new community, its
                                   configured pages appear in this menu too.
                                   Creating public pages requires administrative rights. However, users that do not have
                                   administrative rights can only configure their private pages. Changes to a page persist
                                   after you make them, provided you have the rights to make changes to that page. See
                                   Public/Private Page Behavior on page 24 for the details.
                                   Best practice is to use multiple pages within the OMNM system rather than multiple
                                   tabs.
                                   If you have the Multitenancy (MSP) option installed, these options are not available
                                   and MSP offers a different security model.


       Page Navigation Bar
               The page navigation bar provides access to the pages and child pages installed by default or the
               pages and child pages you configured from the Manage > Page menu option. The page navigation
               bar appears horizontally below the portal header by default, or vertically on the left of the screen.
               The pages that appear on this bar vary depending on which OpenManage NM package you
               installed.




                                                             Horizontal Navigation Bar
                                                             (default)


                                     Vertical Navigation
                                     Bar




               If you narrow your browser window, the navigation bar collapses to the left. If you want the vertical
               navigation bar as the default, change the regular browsers menu position settings to vertical from
               the Manage Page window.




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          Status Bar
                    The status bar is at the bottom of the OpenManage NM (OMNM) portal window. It contains the
                    following elements:
                     •    My Alerts
                     •    Subscription Notification
                     •    Settings
                     •    Conferencing
                     •    Colleagues

                    My Alerts
                    My Alerts opens the MyAlert/Action History window when you click on it. The MyAlert/Action
                    History window displays cataloged messages and notifications you received, including generated
                    reports and growl messages that appeared in the upper right corner for a few seconds. From this
                    window, you can:
                     •    Delete selected messages or notifications by selecting those you want to delete and then
                          clicking Selection.
                     •    Delete all messages and notifications by clicking All.
                     •    View additional information about the message or notification by clicking the magnifying
                          glass.
                    You can see the portal when the Web server is up, but the application server is not. When the
                    application server starts after the Web server, an alert appears in the MyAlert/Action History list
                    announcing that application server is up.

                             CAUTION:
                          If My Alerts is not receiving messages or notifications, make sure that your firewall is not blocking ports
                          the application uses. See Ports Used on page 1021 for a list of ports and more about configuring Linux
                          firewalls.




                    Subscription Notification
                    The subscription notification is a warning that your license is nearing expiration. The status bar
                    color changes and displays a message, such as:
                    Subscription expiration alert: Action required! Your OMNM Subscription is
                    about to expire. You have 30 days left before expiration
                    Click the message and the License Viewer, Subscription Renewal panel opens, where you can start
                    the license renewal process. It also displays the number of days until license expiration.




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               The alarm color reflects the threshold for the number of days remaining before license expiration:
                •     60 days or less: yellow status bar
                •     30 or less days: red status bar
                •     61 or more days status bar does not change colors
               See License Viewer Window on page 46 form more details.

               Settings
               The Settings tool in the status bar lets you configure your user settings for any online chat with
               your colleagues, including the saying, whether your online presence appears, and whether to play a
               sound when messages arrive.
               When you have a message from another user, that user’s name appears on the status bar to the left
               of the settings tool.




               Conferencing
               The Conferencing tool in the status bar lets you share whatever is of concern with other
               OpenManage NM (OMNM) users and collaborate with more than one person. For example, if a
               discovered device has problems, you can create a link to the device’s from the Connected Devices
               on page 191 and share it with other users with the OMNM internal instant messaging/chat system
               (see Sharing a Resource on page 149).
               Use the Conferencing tool to configure your user settings for any online chat with multiple
               colleagues.




               The Join options become active when you are invited to a conference. An online chat window
               appears after you join.
               The Create options let you name the conference, specify whether the conference is private (for
               invites only), and then invite colleagues and configure an invitation message by clicking edit.




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                    Conferencing also opens a screen that both records text and provides a virtual white board where
                    participants can draw.




                    Hover the cursor over the white board tools at the top to see what they do. Enter text in the lower
                    left corner, and it appears on the left after you click Enter. Conference participants appear with
                    icons and colors keyed to their text in the lowest portion of the screen.

                         NOTE:
                          If appearance or performance concerns impede your conferencing, clear your browser’s cache, then try
                          conferencing again.

                    Colleagues
                    The Colleagues tool has a red dot when you are online alone and a green dot when other users are
                    online. It also shows the number of colleagues online. Click the Colleagues tool and a list of
                    OMNM users is displayed. The title bar shows the number of users online. A green dot indicates
                    the users that are online and a red dot indicates the users that are not online. Click on a colleague
                    and enter text in the popup that appears to send messages. Previous chat history also shows above
                    any current text in the chat popup.




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               Click the upper right corner (-) to close the window.

                      NOTE:
                      You can turn off chat for the application with special branding available through your sales
                      representative, but not for a single user. Chats are stored in the OpenManage NM database, but as blobs,
                      so reading chat history, except the date of chats, is problematic.




       General Portlet Information
               Portlets are the elements of any page within the OpenManage NM (OMNM) portal. Whether you
               have access to a portlet and from which page a portlet is accessed is defined by your system
               administrator. In your environment, a portlet could be accessed from multiple pages. See the
               description of each portlet for more details.
               Here are some common portal features related to portlets:
                •     Modifying pages by dragging portlets to a different location, adding portlets, or deleting
                      portlets. The applications list shows all the available portlets when you select the Add >
                      Applications menu option.
                •     Viewing data from both a summary view and an expanded portlet view for most portlets.
                •     Sorting on a column by clicking on that column’s heading. Reverse the sort order by clicking it
                      again. This only sorts what appears in the portlet, whether expanded or not. The application
                      remembers each user’s choice saving the last Sort Column and Order on any page. The arrow
                      to the right of that heading’s text displays the sort direction (ascending or descending). When
                      the arrow appears in a heading, the selected column is the basis for sorting.
                •     Resizing columns by dragging the header border.
                •     Print a portlet’s content by exporting by exporting its expanded view content to a PDF, Excel,
                      or CSV file, open the exported file in the appropriate application, and then printing it.
                •     All time stamps are based on the users timezone. It is based upon Greenwich Mean Time
                      (GMT) and changes depending upon the timezone that you are in when viewing a record.
                •     Some portlets include editors that appear after you select an item, right-click, and then select
                      either New or Edit.
                      Mandatory fields in these editors appear with a red flag icon to their right. That flag may
                      disappear once you fill in the field. Mandatory fields in an Action appear with a red flag icon
                      to their right. That flag disappears once you add the action to an Action Group.
                •     Password fields do not support copy/paste operations. When you type into a password field,
                      the text shows briefly and then disappears.




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                     •     Standard tooltips show for most portlet field’s content, which is useful when the field cannot
                           show all its content. Windows and editors have help tooltips when you click the question
                           mark next to a field.or what goes into a field in an editor when you hover over the cell/field.
                           For cells where a question mark appears when you hovering over a listed item, a more detailed
                           tooltip is displayed or a graph (in the Top N portlets) is displayed.




                           If a graph is displayed, it can line, bar or pie graph, depending on the portlet, device and
                           activity monitored. The more detailed tooltips require the latest Adobe Flash for full
                           functionality.
                    This section describes common portlet features, such as the portlet tools and options, summary,
                    footer, and hint.

                                                                                          Tools and
                                                                                          Options




                                                                                           Summary



                                                                                          Footer
                                                                                          Hint


                    Portlet Tools and Options
                    The following portlet tools and options apply to all OMNM portlets, where available. Specific
                    portlet features and functions are described in their respective section.

                    Tool                 Description
                                         Provides access to the following options:
                                         Look and Feel, where you configure the portlet text styles, background, border, margin
                                         and padding, advanced, and WAP styles.
                                         Configuration, where you specify whether users have view, add to page, configuration,
                                         and permissions based on their assigned role. You can also specify whether to share the
                                         portlet with a website, Facebook, OpenSocial gadget, Netvibes, or Friends.
                    +                    Displays a expanded portlet and provides additional information and options. Click
                                         Return to previous to return to the initial portlet view.
                                         This tool shows only for those portlets that have the Maximize option.
                    X                    Removes the portlet from the existing page.
                    Return to            Takes you back to the previous page (initial portlet). Some examples where this option
                    previous             shows are the expanded portlet and details portlets.
                                         Although browsers have a back button, the Return to previous option is the most
                                         dependable way to return to a previous page, window, portlet, and so on within the
                                         OMNM portal.




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               Tool               Description
                                  Displays online help for the selected portlet. Once you access the online help, you also
                                  have the option to search the help for other topics.
                                  Opens a Settings window, where you filter the results and specify which columns to
                                  include and their settings. In some portlets, such as Alarms, this option can configure
                                  whether charts or graphs appear. See Modifying Column Settings on page 146 for
                                  instructions.
                                  Column selections from the portlet are not propagated to the maximized view. If you
                                  want the same columns for both views, you must select them for each view.
                                  Isolates the browser’s page refresh to the selected portlet so that you do not have to load
                                  the entire window again. After you modify a portlet’s settings, click the refresh tool to see
                                  your changes.
               Search             Filters the list to show more specific items. Select from the list of user-defined filters.
                                  This searches all available items in the database, whether they appear listed or not.
                                  Displays the first page in the list.


                                  Displays the previous page in the list.


                                  Displays the next page in the list.


                                  Displays the last page in the list.



               Summary
               The portlet summary supports displaying up to 500 rows, the expanded portlet supports up to 1000
               rows. Using the portlet filtering capability makes more sense than trying to see more rows. (See
               Defining Advanced Filters on page 147 for instructions.)
               To act on listed items, right-click the item and then make a selection from the popup menu. The
               menu options available depend on the portlet and the row selected.
               To see information about listed items in a portlet, hover over the row until a large tooltip displays
               more details.

                      NOTE:
                      Portlet for Reports, Report Templates, Action and Compliance have a pre-seeded drop down list filters to
                      allow quick filtering of portlet rows.

               Footer
               The footer lists the number of items returned, the limit reached in red if you specified a maximum
               for the list, and the navigation buttons. The navigation buttons are the standard go to first/last
               page, move back/forward one page at a time, and select the page to go to.

               Hint
               The hint at the bottom of the portlet lets the user know that right-clicking the table opens a popup
               menu (context menu) listing the available actions. By default, this hint is there for every portlet. If
               you do not want the hint showing, set the show.portal.hints attribute to false in the server-
               overrides.properties file. See Hiding Portlet Hint Text on page 145 for detailed instructions.




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          Expanded Portlet
                    The expanded portlet lets you display more information, do quick searches, do more advanced
                    filters, or export the list to a PDF document or Excel or CSV formats. You can also see details about
                    a selected row in the Widgets panel. Access the expanded portlet from the summary portlet’s title
                    bar by clicking the expand (+) tool. Return to the summary portlet by clicking Return to previous.
                    You can perform all the same actions from the expanded portlet and you can from the summary
                    portlet and navigating the list is the same as the summary portlet.
                    User permissions may limit access to the expanded portlets. For example, the OpenManage NM
                    can have many communities and limit users’ memberships. Such users can lightly browse other
                    Communities’ screens without full privileges.
                    See Control Panel on page 22 for more about setting up user privileges for portlets.

                         NOTE:
                          Note that Screen size limitations may require you to expand the browser to see expanded screens
                          correctly. You must have at least 1250 pixels in width.




                    In addition to the options the summary view provides, the expanded portlet provides the following
                    options.

                    Option               Description
                    Return to            Takes you back to the previous page (initial portlet).
                    previous
                    Filter               Displays the default filter and any user-defined filters available. Select a filter from the
                                         list. Otherwise, select the Advanced or Quick Search option.
                    Advanced             Provides options to create conditional (AND, OR) filter statements. Once you create a
                                         conditional statement, click GO to view the results. Click Save As to save the filter.
                                         Click Reset to create another conditional filter. Otherwise, use the Filter or Quick
                                         Search option.
                    Quick Search         Activates a field, where you type a phrase and then press ENTER. Otherwise, use the
                                         Advanced or Filter option.




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               Option             Description
               Export             Saves the current table to PDF, Excel, or CSV format. Click Export, select the format
                                  type, and then click Generate Export.
               Widgets            Displays one or more detail widgets, such as the Reference Tree. You have the option to
                                  show or hide the widget details from the title bar.
                                  The Reference Tree also expands/collapses tree elements.


       Settings Window
               Use the Settings window to set the return results parameters, define a filter, and select the context
               mode. You can also specify which columns the portlet shows and the settings for each column.
               The Filter/Results panel is displayed by default. Click the Columns tab to display the Columns
               panel.

                      NOTE:
                      Column selections from the portlet are not propagated to the maximized view. If you want the same
                      columns for both views, you must select them for each view.
               Click the portlets Settings tool to access this window.




               The Settings window provides the following fields and options.

               Field/Option                   Description
               Max Items Returned             Sets the maximum number of items the filter returns. Valid values are 2, 25,
                                              50, 75, 100, 200, 300, or 500.
                                              For performance reasons, this default value is often relatively low.




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                    Field/Option               Description
                    Max Items per Page         Sets the maximum number of items displayed per page. Valid values are 4 to
                                               100.
                                               For performance reasons, this default value is often relatively low.
                    Current Filter             Provides a list of user-defined filters from which to choose. The product
                                               ships with a default filter.
                                               Depending on your permissions, you have the option to create a filter or copy
                                               the currently selected filter from which you create a filter.
                                               The expanded portlet does not include this option. See Defining Advanced
                                               Filters on page 147 for alternatives.
                                               Note: An administrator configures a portlet’s default display filter and then
                                               clicks the portlet name and renames it. For example, make the default filter
                                               in the Managed Resources portlet to display only Dell Routers, then click the
                                               Managed Resources portlet name to rename it to Dell Routers.
                                               If you are not an administrator, you must make a personal page for such
                                               portlets if you want the filter settings to persist (not applicable in
                                               multitenant environments).
                    Context Mode               Specifies which of the following context modes the selected portlet uses:
                                               • Listen for Context
                                               • Ignore Context (default)
                                               • Broadcast Context
                                               • Broadcast and Listen for Context
                                               • Not all portlets have all option.
                    Columns                    Displays a list of columns, their settings, and whether a column is hidden.
                                               Select the Column tab to display the columns. The default columns
                                               displayed and the available columns vary with each portlet.
                                               If you have many instances of a portlet in your environment, the changes
                                               made to the portlet or maximized portlet are not global, they apply only to
                                               the current portlet or its maximized portlet.
                                               Click the Settings button to specify whether the width is automatically set
                                               (Auto Width) or specify a specific pixel width. Auto Width is the default.
                                               The grayed out Show/Hide button indicates the selection for the column.


          Applications List
                    The applications list is displayed when you select the Add > Applications menu option. The
                    application (portlet) list shows some portlets with a purple icon and others with green icons.




                    The purple icon indicates that you can add only one instance to a community and it displays the
                    same data, even if it appears on more that one page, such as the Hierarchical View portlet. These
                    are referred to as non-instanceable portlets. Once you add a non-instanceable portlet to a page, its
                    entry in the applications list is disabled (grayed out).




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                                                                                Portal Overview | Portal Configuration


               The green icon indicates that you can add the portlet to many pages with each instance displaying
               different information, such as the Authentication or Hierarchical View Manager portlets. These are
               referred to as instanceable portlets.

               Category                   Application                          Default Location/Notes
               Actions                    Action Group                         Automation/Actions page
                                                                               Note: Can create only one instance
                                                                               to a community.
                                          Actions                              Automation/Actions page
                                          Tasks                                Available for use
               Administration and         Application Configuration Settings   Settings page
               Settings                                                        Note: Can create only one instance
                                                                               to a community.
                                          Audit Trail                          Settings > Audit page
                                          Common Setup Tasks                   Settings page and Home page as part
                                                                               of Getting Started
                                                                               Note: Can create only one instance
                                                                               to a community.
                                          Getting Started                      Home page
                                                                               Note: Can create only one instance
                                                                               to a community.
                                          Quick Navigation                     Home page
                                                                               Note: Can create only one instance
                                                                               to a community.
                                          Schecules                            Settings > Schedules page
               Alarms, Events, and        Alarms                               Home, Alarms/Events, Alarms/Events
               Automation                                                      > Hierarchical View, Topology >
                                                                               Hierarchical View pages
                                          Automation and Event Processing      Automation/Actions page
                                          Rules
                                          Event Definitions                    Settings > Alarm Definitions page
                                          Event History                        Alarms/Events, Automation/Actions
                                                                               pages
                                          Variable Binding Definitions         Settings > Alarm Definitions page
               Compliance                 Compliance Policies/Proscan          Compliance page
               Configuration              Configuration Alarms                 Configuration Management page
               Management                 Configuration Files                  Configuration Management page
                                          Configuration Management             Configuration Management page
                                          Schedule
                                          File Servers                         Configuration Management page
                                          Image Repository                     Configuration Management page




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                    Category                 Application                           Default Location/Notes
                    Hierarchical Views       Hierarchical View                     Alarms/Events > Hierarchical View,
                                                                                   Topology > Hierarchical View pages
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                             Hierarchical View Manager             Alarms/Events > Hierarchical View
                                                                                   page
                                             Map Context                           Available for use
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                    Multitenancy             Access Profile Templates              Available for use
                                             Site Management                       Available for use
                                             User Site Access                      Available for use
                    Network                  Connected Devices                     Resources page
                                             Links
                                             Network Tools                         Resources page
                                             Search by IP or Mac Address           Home, Resources pages
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                             VLAN Domain Assignment                Available for use
                                             VLAN Domains                          Available for use
                                             VLAN Membership                       Available for use
                                             VLANs                                 Available for use
                    Network Virtualization   Network Service Descriptors           Available for use
                                             Network Service Records               Available for use
                                             Physical Network Functin              Available for use
                                             Descriptors
                                             Physical Network Function Records     Available for use
                                             Software Images                       Available for use
                                             VIM Images                            Available for use
                                             Virtual Network Function              Available for use
                                             Descriptors
                                             Virtual Network Function Records      Available for use
                                             Virtual Requirements                  Available for use
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                             Virtual Reservations                  Available for use
                                             Virtualized Infrastructure Managers   Available for use
                    Performance Monitoring   Application Server Statistics         Settings > Server Configuration page
                    Management                                                     Note: Can create only one instance
                                                                                   to a community.
                                             Dashboard Views                       Performance > Dashboard
                                                                                   Management page
                                             Performance Dashboard                 Available for use
                                             Resource Monitors                     Settings > Monitor Management
                                                                                   page
                                             System Dashboards




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               Category                   Application                       Default Location/Notes
               Performance Top N          Top Bandwidth Received            Available for use
                                          Top Bandwidth Received (bps)      Performance page
                                          Top Bandwidth Transmitted         Available for use
                                          Top Bandwidth Transmitted (bps)   Performance page
                                          Top CPU Utilization               Performance page
                                          Top Configuration Backups         Available for use
                                          Top Disk Utilization              Available for use
                                          Top Egress Packet Loss            Performance page
                                          Top Ingress Packet Loss           Performance page
                                          Top Input Discards                Available for use
                                          Top Input Errors                  Performance page
                                          Top Interface Bandwidth           Performance page
                                          Top Interface Errors              Performance page
                                          Top Jitter                        Available for use
                                          Top MOS                           Available for use
                                          Top Memory Utilization            Performance page
                                          Top Output Discards               Available for use
                                          Top Output Errors                 Performance page
                                          Top Packet Loss                   Performance page
                                          Top Ping Response (Slowest)       Performance page
                                          Top Problem Nodes                 Available for use
                                          Top RT Delay                      Available for use
               Portal Applications > News Alerts                            Available for use
                                                                            Note: Can create only one instance
                                                                            to a community.
                                          Announcements                     Available for use
                                                                            Note: Can create only one instance
                                                                            to a community.
                                          RSS                               Available for use
                                          Weather                           Available for use
                                                                            Note: Can create only one instance
                                                                            to a community.
               Portal Applications >      IFrame                            Available for use
               Sample                     Web Proxy                         Available for use




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                    Category                   Application               Default Location/Notes
                    Portal Applications > Tools Dictionary               Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                                               Language                  Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                                               Network Utilities         Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                                               Password Generator        Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                                               Quick Note                Available for use
                                               Search                    Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                                               Sign In                   Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                                               Unit Converter            Available for use
                                                                         Note: Can create only one instance
                                                                         to a community.
                    Reports                    Report Templates          Reports page
                                               Reports                   Reports page
                    Resource Management        Authentications           Resources > Discover, Settings pages
                                               Cards                     Available for use
                                               Contacts                  Settings > Groups & Locations page
                                               Discovery Profiles        Resources > Discover page
                                               Interfaces                Resources page
                                               Locations                 Settings > Groups & Locations page
                                               Managed Resource Groups   Settings > Groups & Locations page
                                               Managed Resources         Home, Resources, Configuration
                                                                         Management pages
                                               Ports                     Resources page
                                               Vendors                   Settings > Groups & Locations page
                    Services                   Customers                 Available for use
                    Storage                    System Arrays             Available for use
                    Topology                   System Topology           Topology, Topology > Hierarchical
                                                                         View pages
                                               Topology Views            Available for use




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                                                                                    Portal Overview | Portal Configuration


               Category                     Application                            Default Location/Notes
               Traffic Flow Analysis        Traffic Flow Applications              Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Autonomous                Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Conversations             Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Endpoints                 Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Exporters by Managed      Traffic Flow page
                                            Equipment                              Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Exporters by              Traffic Flow page
                                            Subcomponent                           Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Protocols                 Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Receivers                 Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Senders                   Traffic Flow page
                                                                                   Note: Can create only one instance
                                                                                   to a community.
                                            Traffic Flow Snapshots                 Available for use


       Manage Page
               Use the Manage Page window to configure, add, or delete pages and to manage their appearance and
               permissions. You must refresh any altered page before edits take effect. Use the Copy Portlets from Page
               option to duplicate another page’s portlets on the selected page.
               Alter the following portal components:
                •     Page permissions, appearance, order (using drag-and-drop), and so on
                •     Child page creation
                •     Page configuration import/export
                •     Page layout column configuration
                      This option is not available if you have an expanded portlet open because the focus is not in
                      the context of a page.




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Portal Overview | Portal Configuration


                    Access this window by selecting the Manage > Page or Manage > Page Layout menu option.




          Show Versions
                    Use the Show Versions portlet to see which products and versions are installed. This portlet has the
                    following panels:
                     •    Product Details displays the installed package and modules, as well as their version numbers.
                     •    Installed Extensions displays any installed presentation layer enhancements.
                     •    Driver Information displays individual drivers (see Base Driver on page 105).
                          The Profile Details outlines the supported device models, identifiers (OIDs), types and
                          interfaces, and the OS Versions supported by the driver (although not device-by-device). This
                          information is important when you need technical support.

                         NOTE:
                          You can also produce an HTML version of this information from a command line. Run drvrpt
                          (drvrpt.cmd in Windows) from the \owareapps\ddbase\bin directory. The drvrpt command saves the
                          HTML version in the installRoot\reports\drivers directory.




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                                                                                 Portal Overview | Portal Configuration


               Access this portlet by selecting the Manage > Show Versions menu option.




       Password Reminder
               Use the Password Reminder portlet to add another level of security. If set by your administrator, this
               portlet displays when you sign in to the OpenManage NM portal.
               You have the option to pick a question from the list or create your own question.




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Setting Time Formats | Portal Configuration



Setting Time Formats
                   To set the time display in various locations (alarms, schedules, and so on), set the operating
                   system’s time format as you would like. These example steps show how to set the Australian default
                   day, month, year for the Windows 10 operating system.
                   Set Windows time formats as follows.
                     1   Navigate to the Control Panel.
                     2   Select Clock, Language and Region.
                     3   Click Change Date, Time, or number formats.
                         The Region window displays the format settings.
                     4   Verify that the format is: English (Australia).
                     5   Click the Administrative tab.
                     6   Click on Copy settings.
                     7   Select both these options:
                         • Welcome screen and system accounts
                         • New user accounts
                     8   Click OK.
                     9   Restart the application server.
                    10   Verify that the Day/Month format appears in your portlets.




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                                                                            Defining a Debug File | Portal Configuration



Defining a Debug File
               For more advanced users, any component under owareapps can define a log4j.xml debug file for
               each component matching the following pattern:
               owareapps\<component-dir>\server\conf\*log4j.xml
               Consult these files for categories you want to change, and copy those altered properties to the file
               you created in the owareapps\installprops directory. The categories altered in this file override any
               others. Changing such properties can produce enhanced error output in server logs. See also
               Application Server Statistics on page 369.




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Activating Log4J Email Feature | Portal Configuration



Activating Log4J Email Feature
                   The activation steps vary depending on whether you are activating the log4j email feature on the
                   application/mediation server or on the Web server.




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                                                                Activating Log4J Email Feature | Portal Configuration



       Defining Log4J on Application or Mediation Servers
               The application and mediation servers use JBoss, which defines Log4J settings through XML.
               Define the log4j email feature on Application or Mediation servers as follows.
                1     Go to the .../oware/conf/ directory
                2     Find the server-log4j.xml file.
                3     Add the following alongside the other <appender> tags:
                      <!-- If this is present the processing of SMTP will be asynchronous.                      It
                       is not required -->
                        <appender name="ASYNC" class="org.apache.log4j.AsyncAppender">
                           <errorHandler class="org.jboss.logging.util.OnlyOnceErrorHandler"/>
                           <appender-ref ref="SMTP"/>
                        </appender>


                       <!-- These are the main settings. Note that "SMTP" here is just a name.
                       You choose any name you want
                               and in fact you can have more than email appender -->
                        <appender name="SMTP" class="org.apache.log4j.net.SMTPAppender">
                      <errorHandler class="org.jboss.logging.util.OnlyOnceErrorHandler"/>
                           <param name="Threshold" value="ERROR"/>
                           <param name="To" value="destination@email"/>
                           <param name="From" value="sender@email"/>
                           <param name="Subject" value="Testing Log4J Email feature"/>
                           <param name="SMTPHost" value="email.com.au"/>
                      <!-- you might need this <param name="TLS" value="true"/> -->
                           <param name="SMTPUsername" value="myusername"/>
                           <param name="SMTPPassword" value="mypassword"/> -->
                          <param name="BufferSize" value="10"/> <-- find an appropriate value
                       for this -->
                           <layout class="org.apache.log4j.PatternLayout">
                            <param name="ConversionPattern" value="%m"/> <!-- read more at
                       https://logging.apache.org/log4j/1.2/apidocs/org/apache/log4j/
                       PatternLayout.html -->
                           </layout>
                        </appender>
                4     Find the server-log4j-tail.xml file.
                5     Change the file to something like this:
                       <root>
                              <appender-ref ref="CONSOLE"/>
                              <appender-ref ref="FILE"/>
                              <appender-ref ref="SMTP"/>
                       </root>
                6     Restart the server.




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Activating Log4J Email Feature | Portal Configuration



          Defining Log4J on Web Servers
                   Web servers use Tomcat, which defines Log4J settings through a properties file. Define the log4j
                   email feature on Web servers as follows.
                     1   Go to the following directory:
                         .../oware/synergy/tomcat-7.0.40/webapps/netview/WEB-INF/classes
                     2   Find the log4j.properties file.
                     3   Change the file to something like the following example, as appropriate.
                         You may want to use some of the same values from the XML file used for the application
                         server.
                         log4j.logger.com.dorado=INFO, CONSOLE
                         log4j.logger.com.dorado.netview.social=DEBUG, CONSOLE
                         log4j.logger.com.icesoft=WARN, CONSOLE
                         log4j.logger.com.icesoft.faces.async.render=TRACE, CONSOLE


                         log4j.appender.CONSOLE=org.apache.log4j.ConsoleAppender
                         log4j.appender.CONSOLE.layout=org.apache.log4j.PatternLayout
                         log4j.appender.CONSOLE.layout.ConversionPattern=%d{ABSOLUTE} %-5p
                          [%c{1}:%L] %m%n
                         log4j.rootLogger=ERROR, EmailAlertsAppender
                         log4j.appender.EmailAlertsAppender=org.apache.log4j.net.SMTPAppender
                         log4j.appender.EmailAlertsAppender.From=sender@email
                         log4j.appender.EmailAlertsAppender.To=destination@email
                         log4j.appender.EmailAlertsAppender.Threshold=ERROR
                         log4j.appender.EmailAlertsAppender.SMTPUsername=myusername
                         log4j.appender.EmailAlertsAppender.SMTPPassword=mypassword
                         log4j.appender.EmailAlertsAppender.SMTPHost=email.com.au
                         log4j.appender.EmailAlertsAppender.BufferSize=10
                         log4j.appender.EmailAlertsAppender.Subject=Testing Log4J Email feature
                         log4j.appender.EmailAlertsAppender.layout=org.apache.log4j.PatternLayout
                         log4j.appender.EmailAlertsAppender.layout.ConversionPattern=%m
                         log4j.appender.EmailAlertsAppender.EvaluatorClass=TriggerLogEvent
                         log4j.appender.EmailAlertsAppender.TLS=true
                     4   Restart the Web server

                         NOTE:
                         Your settings are overwritten on upgrade. Make sure that you backup the appropriate files before
                         upgrading and then restore the files after upgrading.




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                                                                            Hiding Portlet Hint Text | Portal Configuration



Hiding Portlet Hint Text
               By default, all portlets display hint text at the bottom. If you do not want the hint text to show, it
               can be hidden.
               Hide the portlet hint text as follows.
                1     Stop the Web server.
                      For example, enter the following from the command line:
                      sudo service synergy stop
                2     Navigate to the following directory:
                      installDir/OpenManage/Network Manager/oware/synergy/conf
                3     Copy the server-overrides.properties.sample file to server-overrides.properties.
                4     Open the server-overides.properties file with a text editor.
                5     Uncomment the show.portal.hints attribute.
                6     Set the show.portal.hints attribute to false.
                7     Restart the Web server.
                      For example, enter the following from the command line:
                      sudo service synergy start
                8     Login and verify that the hint no longer shows.




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Modifying Column Settings | Portal Configuration



Modifying Column Settings
                   You can make changes to the columns that are displayed, including to show additional columns,
                   hide certain columns, change the column left-to-right orientation shown, or change the column
                   width.
                   Modify column settings from an expanded or summary portlet as follows.
                     1   Click the Settings tool.
                         The Settings window is displayed.




                     2   Click the Columns tab.
                         All data attributes that are available for the portlet are displayed.
                     3   Click the appropriate button to show/hide a column.
                         If you select to show a column, the settings option is activated, where you specify column
                         width.
                     4   Click Settings to change the column width settings as needed.




                     5   Change the order in which columns appear using drag-and-drop.
                         The top-to-bottom attribute orientation corresponds to the left-to-right column orientation
                         within the portlet.
                     6   Click Apply and exit the window.
                         The changes appear instantaneously when you return to the portlet.




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                                                                              Defining Advanced Filters | Portal Configuration



Defining Advanced Filters
               Among other places, filters appear at the top of expanded portlets. Many pre-installed filters come
               from driver packages you installed. Filters match vendors and/or entity types, but may not
               necessarily make sense in the context of a particular portlet. You can pick filters from already-
               configured filters list, or click Advanced and create your own filter.

                      NOTE:
                      You can also filter what appears on a page with the Hierarchical View. Select an hierarchy, and the rest
                      of the portlets on that page confine displayed data to reflect the selected hierarchy’s contents.
               Define advanced filters as follows.
                1     Select Advanced.
                      The advanced filter fields and options are displayed.




                2     Select an operator (and/or) if combining more than one filter.
                3     Provide the field, condition, and text to filter.
                4     Click the add button (+) to define another filter.
                5     Click Go to see the list after the filter acts on it.
                6     Click Reset if you want to return the list to its original state.
                7     Click Save As to preserve a filter you have configured for future use.
                8     Enter a name and description.
                9     Click Save
                      The new filter is now available from the Filter list.
                      See Redcell > Filter Management on page 33 for directions to the screen that catalogs all
                      such filters.




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Exporting/Importing Page Configurations | Portal Configuration



Exporting/Importing Page Configurations
                   Export/Import also appears as a tab in screens that manage pages (Manage > Page and Manage >
                   Control Panel screens display these tabs). For example, click Manage > Settings in the Dock. Use
                   the options on the Export/Import page to select exactly what elements to export. The automated
                   file name includes your login identity, the date, and the lar extension. The file itself is a compressed
                   collection of XML file configuration settings for the Pages/Portlets you have elected export. Its
                   destination is the browser’s default download location. Use the More Options link at the bottom of
                   the Export screen to expose more export options. Use this same page to import such exported files,
                   if it is enabled for your user.




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                                                                                      Sharing a Resource | Portal Configuration



Sharing a Resource
               You can share elements within the OpenManage NM (OMNM) system with colleagues when more
               than one user exists on your OMNM system, and consult with them using the conferencing
               described in Status Bar on page 124.
               Share a resource with colleagues as follows.
                1     Select a resource listed from the appropriate portlet.
                2     Right-click and the select Share with User.
                      The Share with User window is displayed.




                3     Select a user with whom you want to share.
                4     Type any message you want to include.
                5     Click Share Asset.

                      NOTE:
                      Sharing can only handle one item so it uses the first one in the selection.
                      The chat message to the selected user includes your text and a link that opens to display the
                      Widgets panel for the selected item.




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Editing Custom Attributes | Portal Configuration



Editing Custom Attributes
                    The Edit Custom Attributes pop-up menu option is available from many portlets (Managed
                    Resources, Port, Contact, Vendor, or Location),
                    Edit custom attributes as follows.
                      1   Right-click the items whose attributes you want to modify.
                          For example, right-click an alarm from the Alarms portlet.
                          The Custom Attribute Editor displays the definitions appropriate for your selection. See
                          Redcell > Data Configuration on page 30 for another way to get to this editor.




                      2   Click the edit tool.
                      3   Select Enable to activate the custom field.
                      4   Enter a label and optional tooltip.
                          The label is for the tooltip and is what you see in the portlets appropriate for the entity type
                          you have selected. The tooltip that appears when you hover the cursor over the custom field.

                          NOTE:
                          Tooltips do not always function where the custom attribute appears in the Web client. However, even If it
                          does not appear, other views, Web services, or reports may use it.
                      1   Click Apply.
                      2   Click Save to preserve any changes you have made.
                      3   Verify that the Custom Attributes panel now exists.
                          a. Right-click a resource.
                          b. Select Edit.
                          c. See if the Custom Attributes tab exists in the Extended Details.
                          d. a resource and look in the Extended Details/Custom Attributes panel to see them.

                          NOTE:
                          If you want to enter the longitude and latitude for your OpenManage NM installation, go to Control
                          Panel’s Redcell > Application Settings to enter the information as a default location.




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                                                                             Audit Trail/Job Status | Portal Configuration



Audit Trail/Job Status
               When you execute an action, such as resyncing network resources, a Job Status window displays the
               message between the OpenManage NM (OMNM) product and the devices the action addresses.




               To see the details of any message, click on it, and those details appear below the toolbar. If you click
               on a summary message (not a “leaf” on the tree), a graph appears displaying the duration for its
               component messages. Hover your cursor over each portion of the graph for more details.
               The time for messages and logged in user initiating the action appear on the bar between the upper
               and lower screen, and an icon summarizing the action appears on its right. Click the second icon
               from the left to configure the amount of detail displayed in audit messages. Click the first
               (Refresh) icon to re-display messages if you re-configure the types displayed.
               To review the audit trail for recently completed processing, open the My Alerts tab in the lower left
               corner of the portal, and click the magnifying glass to the right of the message.




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Audit Trail/Job Status | Portal Configuration


                    Some audit trails display as many as three tabs for the Input (the command variables sent to the
                    device), the Job Viewer with the message traffic to the device, and finally the Results of sending the
                    messages to a device. This lists devices on the left, and message traffic for a selected device on the
                    right.

                          NOTE:
                          By default, the Job Viewer window conceals info-level messages. To see them, click the icon next to the
                          Refresh icon to open the message level selector and check the info circle level of reporting, then click
                          Refresh to see those blue circles.




                    Close the audit trail viewer any time, and the action continues in the background. The the audit
                    trail is archived in the Audit Trail Portlet.
                    Cancel option, when displayed, stops some, but not all jobs in progress. The underlying feature
                    (Discovery, Resync, Backup, and so on) described in the audit trail is responsible for gracefully
                    stopping the execution flow, ensuring that the system and the database is left in a good state; not
                    all features can do this. For performance reasons, it checks for cancellation at appropriate spots in
                    the transaction where it is easy and safe to exit the execution flow. This means that even if the type
                    of job supports cancellation, it may not cancel the current execution. If you press cancel while in
                    the middle of a multiple-device resync, the OpenManage NM application does not stop the resync
                    or that device but instead bypasses the resync of subsequent devices.
                    Cancellation does not roll back work that has already been completed. So if you are executing an
                    Adaptive CLI action against 10 devices and you cancel the job after the third device is configured
                    the OpenManage NM application does not try to roll back the work that has already occurred
                    against the first three, it does, however, stop executing against the remaining seven.
                    You can modify the Job Viewer appearance.




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       Modifying Job Viewer’s Appearance
               Modify the Job Viewer appearance as follows.
                1     Select Go to > Control Panel.
                      The Control panel is displayed.
                2     Select Redcell > Application Settings.
                      The General application settings are displayed.




                3     Select the User Interface tab.
                4     Go to the Job Viewer options.




                5     Select any of the following options that apply:
                      • Show Job Viewer after Execution
                      • Always show Job Viewer for Actions
                      • Show Information Messages by Default
                6     Change the pop-up width if needed.




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          Audit Trail Portlet
                    The Audit Trail summary portlet contains an archive of the Audit Trail/Job Status message traffic
                    between the OpenManage NM application and monitored devices, as well as the OpenManage NM
                    reaction to failed message transmission.
                    By default, this portlet is available by selecting Settings > Audit from the navigation bar.




                    The Creation Date, Subject, Action (the summary message of the audit trail), User ID (the login
                    ID of the user whose actions resulted in this trail), and the status message appears when you hover
                    over the Status field.
                    Right-click an item to View Job status, Delete a message, manage its Aging Policy, View as PDF, or
                    Share with User. See Implementing DAP on page 73 for more about such policies.
                    The Audit Trail/Job Status portlet displays additional information.




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               Expanded Audit Trail
               When you click the plus (+) in the upper right corner of the summary screen, the expanded portlet
               appears. Click the Settings button to configure the columns that appear in this screen and their
               order. Filter the screen appearance using the Advanced Filter capabilities at its top.




               In addition to the summary screen’s columns, the following columns are available in expanded
               view:
                •     User IP the OpenManage NM application creates the Audit Entry for IP Address of the
                      related user. If it cannot acquire the user’s IP Address or if the audit entry occurred because of
                      a Scheduled or System event then the IP address is for the related Application Server.
                •     Subject the equipment at the origin of the message traffic with OpenManage NM.
               Right-click an item to provides the same options as the minimized view (View Job, Delete a
               message, manage its Aging Policy, View as PDF, or Share with User).

               Job Status
               The Job Status window displays the audit trail messages in tree form. Access this window by right-
               clicking an audit trail item and then selecting View Job. To see the contents of an individual
               message that appears in the upper panel, select it and view its contents in the bottom panel. The
               divider has Refresh double-arrow, and screen/arrow icons in the left corner, and an icon indicating
               the status of the job on the right. Click Refresh to clear an old message so you can view a new one.
               Click the refresh button to check (info, warning, error) filters that limit the types of visible
               messages. Notice that when you select a message, its date and time appears to the right followed by
               the status.




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Schedules
                   Use the Schedule options to schedule an action. These options display in either a window’s panel
                   or a window of its own depending on how you accessed them.
                   Access the Schedule options from a portlet that ordinarily executes schedules using the Schedule
                   pop-up menu option, clicking the Schedule button from a window, or selecting the Schedule tab
                   from a window. For example, right-click a discovery profile and then select Schedule from the
                   Discovery Profiles portlet. Alternatively, right-click in the Schedules or Configuration
                   Management Schedules portlets, select New > actionType > Schedule.




                   Once you save the schedule, the action (for example Discovery Profile) also appears in the
                   Configuration Management Schedule portlet as a scheduled item.
                   If you have the OpenManage NM Change Management/Proscan capabilities installed, use
                   Schedules to initiate the Change Determination process. See Change Determination Process on
                   page 519. It is disabled by default.
                   The following descriptions provide more information about the Schedule fields and options.

                    Field/Option      Description
                    Starting On       Sets the date and time to execute the selected action.
                    Recurrence        Specifies how often to execute the selection action. Select one of the following
                                      recurrence types:
                                      • Every, the number, and unit of measure (Minutes, Hours, Days, Weekdays,
                                         Weekend Days, Weeks, Months, Years)
                                      • Increment (by minutes) and then specify the number of minutes
                                      • Only at Startup
                                      • Only Once
                    Enable Schedule   Activates the schedule when selected.
                    Stopping On       Sets whether to stop by date and time, occurrence, or never. If you select By Date and
                                      Time, the information displays in the m/d/yy h:mm a format. If you specify By
                                      Occurrence, specify the number of occurrences.

                   Once you schedule actions, you can view and modify them using the Schedules Portlet on page
                   158.




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       Scheduling Actions
               Schedule an action rather than execute it immediately, for example from Managed Resource
               portlet, follow these steps:
                1     Select the action in the right-click menu. For example: device Backup.




                2     Click Add Schedule instead of Execute.
                      The schedule panel appears.




                      Configure the start time and date, recurrence, and stop parameters in this screen. The Results
                      tab displays an audit trail when the action executes.




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                     3   Click Apply.
                         The previous panel returns, the Add Schedule button now appearing as Edit Schedule.
                     4   Click Save.
                         OpenManage NM creates a scheduled item around the activity and its data. A row also
                         appears in the screen described in Schedules Portlet on page 158 for this schedule.
                         When you have scheduled something from the Add Schedule button, clicking Apply in the
                         schedule panel returns you to the previous screen.
                         If you click Execute in that previous screen, the action begins, and the audit trail panel
                         appears, displaying the running job for the activity. If you have attached a Schedule,
                         OpenManage NM also saves the activity as a scheduled item in the Schedules Portlet.

          Schedules Portlet
                   Use the Schedules portlet to view and modify schedules. If you have OpenManage NM’s Change
                   Management/Proscan capabilities installed, you can use Schedules to initiate the Change
                   Determination process. See Change Determination Process on page 519. It is disabled by default.
                   This portlet is intended for users who are interested in scheduling tasks, such as Scheduling
                   Actions on page 606.
                   Access this portlet by selecting Settings > Schedules from the navigation bar. This portlet has both
                   a summary view and an expanded view. Each view could display different columns and has the
                   same pop-up menu options available.

                                                                                              Summary
                                                                                              View



                                                                                              Expanded
                                                                                              View




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               Columns
               Other than the general navigation and configuration options, the Schedules portlets (summary and
               expanded views) include the following columns. The columns displayed by default are noted.
               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column                 Description
               Enabled                A indicator that shows whether the schedule is enabled (check mark) or disabled
                                      (X).
                                      This field displays on the summary and expanded views by default.
               Description            A detailed description of the scheduled action, such as Network Data Collection,
                                      Default Device Config Backup, and so on.
                                      This field displays on the summary and expanded views by default.
               Type                   The type of action scheduled, such as Traffic Flow Analyzer, Refresh Proscan
                                      Targets or Monitor Targets, System, and so on.
                                      This field displays on the summary and expanded views by default.
               Submission Date        The date and time that this schedule was submitted.
                                      This field displays on the expanded view by default.
               Start Date             The date and time to start the scheduled action execution.
                                      This field displays on the expanded view by default.
               Next Execution         The next date and time that the schedule will execute.
                                      This field displays on the summary and expanded views by default.
               Recurrence             The frequency in which to execute the scheduled action, such as each weekday,
                                      every three months, only at startup, only once, and so on.
                                      This field displays on the summary and expanded views by default.
               End Date               The date and time to end the scheduled action execution or the number of
                                      occurrences before ending this scheduled action.
                                      This field displays on the expanded view by default.
               Scheduled              An indicator that shows whether action will execute on the next start date (check
                                      mark) or not (X). The scheduled action does not execute on the next schedule
                                      start date if it has exceeded the execution count or the specified end date has
                                      passed.
                                      This field displays on the expanded view by default.
               Execution Count        The number of time the schedule will execute.
                                      This field displays on the expanded view by default.
               Domain ID              The identifier for the resource domain.
               Run Status             Indicate the schedules current state, such as waiting.




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                   Pop-Up Menu
                   The Schedules pop-up menu provides access to the following options. Right-click a row to access
                   these options.

                    Menu Option        Description
                    New                Provides access to the following menu options that allow you to schedule a variety of
                                       actions:
                                       • Action (see Scheduling Actions on page 606 for the details)
                                       • Alarm Suppression (see Managed Resources on page 179 for details)
                                       • Config File Backup on page 453
                                       • Config File Restore on page 454
                                       • Database Aging Policy (see Implementing DAP on page 73 for more about DAP)
                                       • OS Image Deploy on page 455
                                       Based on the action selected, the subsequent window’s allow you to configure
                                       actions, their targets, and the order in which they execute.
                                       Note: You can also schedule new actions from the portlet that ordinarily executes
                                       them, for example Discovering Resources on page 211.
                    Edit               Opens the Editing Schedule window, where you modify the activity’s schedule
                                       parameters.
                                       To edit an existing schedule for an already scheduled action like a Discovery Profile,
                                       just right-click the item in its portlet and select Schedule. This displays the schedule
                                       information for the discovery profile and lets you make modifications.
                                       Note: You can also modify a schedule from the portlet that ordinarily executes it. For
                                       example Discovering Resources on page 211.
                    Delete             Removes the selected scheduled item.
                    Disable Schedule   Appears on an already enabled scheduled item.
                    Execute            Runs the scheduled action. If the scheduled item is an activity-based or discovery-
                                       profile-based scheduled item, an audit viewer displays progress (see Audit Trail/Job
                                       Status on page 151).
                                       For other types of scheduled actions, the following message is displayed:
                                       The scheduled item(s) has been sent to the application server
                                       for immediate execution.
                                       Monitor its status from the Audit Trail portlet.
                    Share with User    Opens the Share with User window where you select the colleague you want to share
                                       the selected rules with and then type your message.




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                                                                                                     3
Resource Management
This section describes the user interface components used to manage resources and then
provides some resource management tasks. If you already have a good understanding of the
portlets and editors, go directly to the tasks you want to perform.
Resource Management Portlets and Editors – 162
Discovering Resources – 211
Discovering a List of IPs and/or Subnets – 212
Modifying Discovery Profiles – 213
Logging Terminal Sessions – 215
Setting Java Security for Terminal Access – 216
Changing Customer to Port Associations – 217
Using the Add Ports Action – 218
Contacts, Locations and Vendors Portlets – 220
Optional applications and device drivers may increase the basic functionality described here, your
steps my differ slightly from the example steps provided.




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Resource Management Portlets and Editors
                 The Resource management portlets let you manage devices you have discovered or created on your
                 network and view device-specific information, both general (name, type, location, contact) and
                 technical (vendor, subcomponents, and so on). This section provides a detailed description of the
                 following resource management portlets and editors:
                   •   Authentications
                   •   Discovery
                   •   Managed Resource Groups
                   •   Managed Resources
                   •   Links
                   •   Search by IP or Mac Address
                   •   Connected Devices
                   •   Equipment Details
                   •   Direct Access
                   •   Resource Management
                   •   Interfaces
                   •   Cards

         Authentications
                 Use the Authentications portlet to see access credentials that let you discover and manage devices
                 on your network. Authentications portlets include a summary and an expanded authentications
                 portlet.
                 By default, this portlet is available by selecting Settings > Audit from the navigation bar.




                 The Name column lists identifiers for sets of credentials, Designated for EMS means the
                 credentials are accessible by all users, and Type indicates the protocol for that authentication.

                       NOTE:
                       If you have multitenancy installed, you can also elect to display a sites column that designates which
                       tenant site owns an authentication.
                 The following pop-up menu are available.
                 New/Edit—Opens Authentication Editor, where you can create a new authentication or edit the
                     selected authentication. You cannot change the Authentication Type when you edit an
                     existing authentication.
                 Details—Displays a reference tree, associated equipment, and the configuration created or altered
                     in Authentication Editor.




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               Audit— Opens an audit trail viewer for the selected authentication.
               Delete— Deletes the selected authentication. If it is in use, an error message appears saying that
                   deletion is not allowed.
               Import/Export—Export the selected config file to disk, or import it from disk. You can also import/
                   export a selected configuration file.
                      Provides the following actions when available for the selected image:
                      • Import retrieves a file containing XML compliance descriptions. Some imports can
                        come from a URL.
                      • Export Selection exports the selected description to an XML file.
                      • Export All exports all descriptions to an XML file.
                      Click Download Export File to specify where to save the file.
                      The Import/Export option is useful as a backup or to share descriptors with other projects.
                      You must import data into the correct portlet. For example, you cannot import event data into
                      the Actions portlet.
                      If one type of data depends on another, you must import the other data before importing the
                      data that depends on it.
               Share with User—Opens the Share with User window where you select the colleague you want to
                    share this assets with and then type your message.

               Authentication Editor
               You can right-click and select New or Open to create or modify credentials for your system. You can
               also Delete and Share with User from that right-click menu.




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                 The fields that appear in this editor vary, depending on the type of authentication. The ID (name)
                 for the authentication is mandatory. If you Add an existing authentication, for example to
                 Discovery, you can also configure the Management Interface Parameters like Timeout, Retries, and
                 Port used. If you have an authentication that works for multiple protocols (for example SSH or
                 Telnet), you can also select the Protocol Type.

                       NOTE:
                       Discovery can fail because of network latency/timeout issues. Increasing the timeout or retries for
                       OpenManage NM authentications can circumvent that.

                          CAUTION:
                       If you do not get access to the deepest level of authentication—for example the “enable” user—you
                       cannot access all of OpenManage NM’s functionality. Also: many devices require more than one
                       authentication—for example SNMP and Telnet/SSH (including that enable authentication).
                 When attempting to access a device configured with SNMP v3, if you see an error message like
                 unable to read device serial number for selected credential, discovery fails.
                 This indicates the SNMP v3 credential is faulty. One common problem: SMNP v3 credentials must
                 be at least eight characters long. Correct it, and discovery and other access should be available.
                 OpenManage NM’s SNMP v3 authentications support the following:
                   •   No Auth - No Priv
                   •   Auth with MD5 and SHA digests - No Priv
                   •   Auth with MD5 and SHA digests - Priv with DES, 3DES or AES128 encryption

                          CAUTION:
                       The standard for SNMP v3 passwords is eight characters or larger. Some devices may accept shorter
                       passwords, but OpenManage NM requires eight characters or longer. Also: Traps from an SNMP v3-
                       accessed device do not appear when you change an SNMP v3 login or password on the device or
                       OpenManage NM, unless you resync the device, or until an SNMP monitor polls the device. Finally:
                       Rebooting an SNMP v3 device may change the number for the SNMP v3 engine. You must restart
                       application server to pick up this change.
                 Use the Equipment and User Groups tabs to associate the authentication you configure here to
                 devices or groups of users.




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               Expanded Authentications Portlet
               The Settings button in the expanded Authentication portlet lets you configure column appearance
               (see Modifying Column Settings on page 146). This offers the same column setup as the summary
               screen.




               When you select a listed authentication the Reference Tree Snap Panel displays a tree of that
               authentication’s connections to Discovery profiles and equipment.

       Discovery
               The OpenManage NM application has a Discovery Profiles portlet and Discovery Profile Editor.
               This section describes both.

               Discovery Profiles
               Discovery profiles configure equipment discovery for OpenManage NM. These profiles configure
               equipment discovery for the OpenManage NM application.
               Access this portlet by selecting Resources > Discovery from the navigation bar.




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                 The summary view displays the Name, Description, Default (the green check indicates the default
                 profile), whether the profile is Scheduled and Next Execution Date for scheduled discovery.
                 The Expanded portlet adds a Reference Tree snap panel that displays a tree of associations between
                 selected profiles and authentication and tasks that they execute. See Discovery on page 165 for
                 more about this portlet.
                 You can import discovery profiles to target multitenant domains with a command line importer.
                 The command is importprofiles and is in the owareapps/redcell/bin directory. This command takes
                 the import file name an argument. The required domains should be available in the OpenManage
                 NM system before import occurs. Before importing discovery profiles to domains, any referenced
                 authentications should be available in the domains or should be imported first by using the
                 importauths command (the same way you would import discovery files). In other words, you
                 should either manually create authentications for domains or import authentication files using
                 importauths command before importing discovery files to those domains. Example XML files
                 (with the <customer> tag for domains) are in owareapps\redcell\db.

                      NOTE:
                       The date format follows the operating system’s conventions for the location and language selected.
                       Restarting the system changes system menus to the new language. If you want to revert back to the
                       original language in Linux, you may also need to update the cache file under /var/cache/gdm.
                 When OpenManage NM discovers unknown devices, it examines the RFC1213 MIB for hints of
                 the device's capabilities, determining if it looks similar to a layer 3 router or a layer 2 switch. Since
                 some device can do both, OpenManage NM classifies such ambiguous devices as routers. See Base
                 Driver on page 105 for more about generic discovery capabilities.
                 When you right-click a profile, the following menu options appear:
                 New—Opens Discovery Profile Editor in new profile mode. (see General on page 168)
                       If you have the multitenancy option installed, you can limit a discovery profile to a tenant site
                       or have it discover devices within the entire system. To create discovery profiles for a
                       particular site, select the site with New (Specified Site) right-click menu item for the
                       Discovery Profile portlet.
                 Edit— Opens Discovery Profile Editor.
                 Copy— Opens Discovery Profile Editor, and renames the selected profile as “CopyOf[Original
                     Name]”. Rename this copy appropriately before proceeding.
                 Execute— Executes a discovery profile. This also produces an audit trail (see Audit Trail/Job
                     Status on page 151). A message appears indicating the success or failure of discovery
                     execution.
                       Discovery execution continues in the background even when you close the audit trail/jobs
                       screen, but the message indicating success/failure still appears when the discovery process is
                       done.
                 Execute With File— Similar to the Execute option except profile discovery is from a file (.txt).
                     This allows you to discovery multiple IP addresses and/or subnets. Each line in the file
                     spedifies an IP address or an IP address range or a classless inter-domain routing (CIDR)
                     network.
                 Inspect—This validates that the device responds to ping, the profile’s credentials, and that the
                      device is licensed for discovery. See Inspection on page 173.




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               Quick Discovery—Opens discovery wizard displaying network and authentications, but without
                   the Actions and Inspection panels. Not only does the Actions not appear, Quick Discovery
                   does not execute any Actions. It is important to note that Quick Discovery settings, including
                   Authentications and temporary device mappings, are not persisted. Device authentication
                   mappings are only persisted in saved Discovery profiles. Click the Execute button once you
                   open this screen to quickly discover equipment. See Network on page 170 for more about the
                   screen this displays. Quick discovery is not available on tenant sites in a Multitenant system.

                      NOTE:
                      When using Quick Discovery, a "Quick Discovery" profile is created in Discovery Profiles. Quick discovery
                      is intended to minimize user inputs by eliminating some data entry. For example, there is no description
                      field and profile will have a blank description field. Users can edit the quick discovery profile and set a
                      description, but the profile will be overwritten with the execution of the Quick Discovery process. It is
                      important to note that Quick Discovery settings, including Authentications and temporary device
                      mappings, are not persisted. Device authentication mappings are only persisted in saved Discovery
                      profiles
               Schedule—Opens schedule editor where you can create and/or modify the schedule for a discovery
                   profile’s execution.
               Audit— Displays audit trails for the selected profile. See Audit Trail/Job Status on page 151.
               Delete— Deletes a discovery profile. After confirming that is what you want to do, a notification
                   message appears when deletion is completed on the application server.
               Import/Export—Export the selected config file to disk, or import it from disk. You can also import/
                   export a selected configuration file.
                      Provides the following actions when available for the selected image:
                      • Import retrieves a file containing XML compliance descriptions. Some imports can
                        come from a URL.
                      • Export Selection exports the selected description to an XML file.
                      • Export All exports all descriptions to an XML file.
                      Click Download Export File to specify where to save the file.
                      The Import/Export option is useful as a backup or to share descriptors with other projects.
                      You must import data into the correct portlet. For example, you cannot import event data into
                      the Actions portlet.
                      If one type of data depends on another, you must import the other data before importing the
                      data that depends on it.
               Share with User—Opens the Share with User window where you select the colleague you want to
                    share this assets with and then type your message.

                      NOTE:
                      OpenManage NM discovers Aruba Access points through the controllers to which they connect,
                      discovery does not find stand-alone access points.




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                 Discovery Profile Editor
                 The Discovery Profile editor lets you create or modify profiles by setting the following parameters
                 and options:
                   •   General
                   •   Network
                   •   Actions
                   •   Inspection
                   •   Results
                 General
                 The Discovery Profile editor opens to the General.




                 The General panel includes settings for:
                   •   General Parameters, where you specify the name, description, and whether this profile is the
                       discovery default.
                   •   Profile Options, where you specify the Device Naming Format (how the device appears in
                       lists, once discovered), whether to Manage by IP address or hostname, and whether to Resolve
                       Hostnames, ICMP Ping Devices, Manage ICMP-only Devices, or Manage Unclassified
                       Devices. This last option determines whether the OpenManage NM application attempts to
                       manage devices that have no OpenManage NM device driver installed. If your system’s
                       license permits it, such management may be possible, but more limited than for devices with
                       drivers installed.
                       If your license limits the number of devices you manage, discovering such “generic” devices
                       may count against that limit. See Base Driver on page 105 for more.




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                      The Filters (by Location, Vendor, or Device Type) let you narrow the list of devices discovered
                      by the selected item(s). As the screen says, this filtering will not have any impact on the
                      processing that occurs during the Inspection step.
                      The Attempt to enable SNMP option (when selected and a device is not reached during the
                      SNMP discovery process) allows the discovery engine to attempt to enable SNMP on a device
                      using the SNMP credentials provided in the discovery profile authentication section. In order
                      to enable SNMP on the device the device must be reachable via CLI with the CLI credentials
                      provided. If the device is successfully enabled for SNMP, the SNMP discovery process is
                      attempted again.
                      The Equipment Type list is displayed when you select the Attempt to enable SNMP option.
                      Select which equipment type on which you want to enable an SNMP trasnsaction.

                      NOTE:
                      Fields like Location query the database for current information, so even though its field may appear
                      empty, Locations may exist. Click the Search button to the right of this field to populate it. Keeping such
                      fields empty until you use them enhances performance.
               The buttons at the bottom of the Profile Editor let you navigate through this series of panels.
               Previous/Next move back and forth between screens, Save lets you preserve whatever stage you have
               configured, and close the editor, Inspect moves directly to the Inspection screen (described below),
               and Execute triggers the discovery profile and opens the Results panel, displaying message traffic
               between OpenManage NM and the device(s). Click the “X” in the top right corner of these screens
               to close them without saving.
               If you discover devices without retrieving their hostnames, and need that hostname later, you can
               re-run discovery after checking Resolve DNS Hostnames. This fetches the DNS hostname and
               resyncs the device.

                      NOTE:
                      If there is a need to sync up discovered equipment names to a new format, or to keep the current format
                      in sync with the device - ie as sysname changes, You can enter one of the property options below into the
                      installed.properties file in /<installdir>/owareapps/lib/installed.properties.
                      Save the file, restart the applcation server and resync devices to update the equipment name.
                          com.dorado.devicedriver.base.updateName=sysname_ip
                          com.dorado.devicedriver.base.updateName=hostname_ip
                          com.dorado.devicedriver.base.updateName=sysname
                          com.dorado.devicedriver.base.updateName=hostname
                          com.dorado.devicedriver.base.updateName=ip
                          com.dorado.devicedriver.base.updateName=false
                      This last setting will disable update of the equipment name on resync. This property will control
                      whether resync updates contact and location.
                          com.dorado.devicedriver.base.updateContactAndLocation=true|false
                      true will refresh on the contact and location on resync. false will not update information on resync.




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                 Network
                 The Network Panel collects the network (IP range, hosts, and so on) and the authentication
                 information for the discovery profile. After you click Next, the Network panel appears.




                 The Network panel includes settings for:
                   •   Network Type and Addresses, where you select the type of entry in the pick list (IP
                       Addresses, CIDR Address, Hostname, SNMP Broadcast, Subnet).
                       The tooltips tell what valid entries look like.

                       NOTE:
                       OpenManage NM now discovers all IP addresses in a specified range, regardless of the specified base
                       IP address is (middle, starting IP, or last in the range). IP addresses outside of range will not be
                       discovered. You can use the CIDR specification of the network to discover rather that the subnet ID.
                       You can exclude IP addresses, or ranges of IP addresses if you check the Display exclusion
                       input checkbox and input the addresses you want excluded as you did for those you entered in
                       the Address(es) for Discovery field. Such exclusions only apply to the profile where you enter
                       them. To exclude an address or range, use the following property:
                       com.dorado.redcell.discovery.exclude
                       Examples of how to enter such exclusions appear in the redcell.properties file in the
                       owareapps\redcell\lib directory. If you want such properties to persist, put the property in the
                       owareapps\installprops\lib\installed.properties file.




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                •     Authentication, where uou can create new, or add existing authentications. See
                      Authentications on page 162 for the way to create such authentications outside the discovery
                      process.

                         CAUTION:
                      If a device or its driver requires two authentications and you only enter one, it may not appear in
                      inventory after discovery. To correct this, enter both authentications in the Discovery Profile or in Quick
                      Discovery. If you discover a device partially with only one authentication—typically the SNMP
                      community—you can re-discover with the correct authentications later, or Edit the resource to add that
                      correct authentication and the management interface for it.
                      Note that authentications appear with Edit/Delete icons and Up/Down arrows on their right.
                      The Edit icon opens the authentication editor. Click the arrows to arrange the order in which
                      the application tries credentials (top first). Ordering only applies when two credentials are of
                      the same type.
                      If you have imported a discovery profile without importing or creating the authentications it
                      uses, editing its authentications is not possible. If you cannot import authentications, or have
                      not created them when you do attempt to edit them, the easiest solution is to delete the un-
                      imported un-created authentication the profile refers to and create a new one.
                      If two similar authentications include one with a deeper, enable login, and a “shallower” one
                      without that additional login, arrange to try the deeper login first. If the device rejects it,
                      discovery still tries the shallower one later.
               Actions
               When you click Next, the Actions panel appears.




               You can accept the default actions that appear here (like Resync, adding the device to a global
               Scheduled Resync, link discovery, and so on) by clicking Next to the Inspection portion of
               discovery. (See also Configuring Resync on page 100).




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                 Alternatively, you can click Add Action. This opens a screen with a list of available actions. Click
                 Apply to select an action to add to the list for this profile.




                 Notice that the default are for the most common actions, but you can also click keyword search to
                 display a search field instead of a pick list with the most common actions. The search results appear
                 in the pick list. When you select an item, if it has parameters, they appear listed below that item.
                 Select the options or from the pick list to configure these parameters, then click Apply to select this
                 action as part of the profile. The screen appearance changes depending on the selected action.
                 The Edit, Delete, Move icons appear to the right of each action. If you Edit a profile with
                 parameters, you can change them. The screen looks like the one that appears when you Add
                 actions. Deleting actions removes them from the list, and the Move arrows help arrange the order
                 in which actions appear listed, and are executed. The list of actions the profile executes goes from
                 top-to-bottom.




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               Inspection
               Using the Inspection panel is optional. If you want to execute the profile after entering the required
               information on the General and Network panels, you can skip this step, and just click Execute. The
               Inspection panel lets you preview the discovery profile’s actions and access to devices. If you clicked
               Next rather than Inspect at the bottom of the previous screen, click Start Inspection in the top right
               corner of this screen to begin the inspection process that validates the device’s credentials.




               Notice that the Inspection Status fields indicate the success or failure of Ping, Hostname
               resolution, and Authentications, and the Status column displays whether a valid authentication
               exists, whether it has been tested, and whether the test is successful.




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                 When authentications are unsuccessful, click the icons to their right to remove or edit them. You
                 can also click the wrench/screwdriver “fix it” icon in the Discover column to open an editor where
                 you can revise the authentications for that device.




                 Create New lets you create new authentications, Choose Existing lets you select from existing
                 authentications, Test Device lets you try out the authentications you have selected, and Close
                 closes this screen. Notice that you can configure new or existing authentications’ port, retry and
                 timeout settings before you click Apply (or Cancel) in the authentication editor that appears after
                 clicking the “Fix it” button.
                 Save preserves the profile. You can then right-click it to select Execute. If you select Execute from
                 the profile editor, OpenManage NM does not save the profile to execute later.
                 Execute begins discovery, and the message traffic between OpenManage NM and the device
                 appears on the Results panel.
                 Results
                 This is a standard Audit Trail/Job Status window displaying the message traffic. See also Audit
                 Trail/Job Status on page 151 for more about retrieving audit trail archives.
                 A message (Discovery Profile Execute is complete) appears in the Messages at the bottom left of the
                 status bar.
                 Click the X in the top right corner of the discovery profile editor to close it.




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               Discovery Profiles Expanded
               This larger view offers a Reference Tree snap panel where you can see the connection between a
               selected profile and the authentications and discovery tasks it includes.




       Managed Resource Groups
               The managed resource groups make acting on several devices at once more convenient. They also
               make managing groups of devices possible. The summary screen displays columns describing the
               group Name, Type, and Icon. Typically a variety of Dynamic Groups come with your package. For
               example, Discovered devices are all added to All Devices automatically.
               By default, this portlet is available from the Settings page by selecting the Groups & Locations
               menu option.




               You can also right-click to do the following:
               New— Lets you make either a Static Group (one in which you select devices) or a Dynamic Group
                  (one in which a filter selects devices). See details of these screens below.
               Edit—This opens the same editors as New, populated with the information for the selected group.




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                 Edit Resources— Lets you edit resources associated with the selected group like its location,
                      contact, or whether to manage it by hostname.
                 Topology— Displays a topology map of the selected group. See Presentation Capabilities for
                     more.
                 Actions— Select from a sub-menu of actions available for the group. This includes Adaptive CLIs.
                      Select from a sub-menu of Adaptive CLI.
                       If you want the target to be a group of devices, Ctrl + click the target devices before your
                       right-click to invoke an action, or right-click in the Groups portlet and select Actions there.
                 File Management > Backup, Restore, Deploy— Lets you call on OpenManage NM’s NetConfig
                      configuration file backup, restore and deploy capabilities. See Backing Up Configurations on
                      page 473 for an example of the steps this follows. See also Configuration File Compare
                      Window on page 459 and more about deploying updates to the OS for the selected resource
                      group. See Deploying Firmware on page 476 for details.




                       When you select a group backup, and the group contains devices of several types, the Device
                       Options panel displays a tab for each device type. Select the backup parameters there before
                       executing or scheduling backup.

                      NOTE:
                       Some devices merge rather than replace configurations when you select Restore. (Cisco XR, for one)
                       You can tune resources consumed by processes like backup or resync. See How to: Tuning
                       Application Features’ Performance Impact on page 112
                 Link Discovery— Discover links between members of the selected group, and others. See New
                      Link on page 189 and Link Discovery on page 190 for details.
                 Resync Resources—Queries the devices in the group to update OpenManage NM’s database.
                     Resyncing also resyncs alarms on the selected device.




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               Delete— Remove the selected group from inventory. The devices remain in inventory, but this
                   removes the grouping.
               Import/Export—Export the selected config file to disk, or import it from disk. You can also import/
                   export a selected configuration file.
                      Provides the following actions when available for the selected image:
                      • Import retrieves a file containing XML compliance descriptions. Some imports can
                        come from a URL.
                      • Export Selection exports the selected description to an XML file.
                      • Export All exports all descriptions to an XML file.
                      Click Download Export File to specify where to save the file.
                      The Import/Export option is useful as a backup or to share descriptors with other projects.
                      You must import data into the correct portlet. For example, you cannot import event data into
                      the Actions portlet.
                      If one type of data depends on another, you must import the other data before importing the
                      data that depends on it.
               Share with User—Opens the Share with User window where you select the colleague you want to
                    share this assets with and then type your message.
               OpenManage NM does not supports static groups that include members retrieved by (dynamic)
               filters. You can configure membership with dynamic resource groups that include group
               memberships as filter criteria. For example you can create a filter for members of
               ResourceGroupABC or members of ResourceGroupXYZ.
               Expanded Managed Resource Groups
               The expanded Managed Resource Groups screen lets you see the summary screen’s groups with a
               Reference Tree snap panel that displays a selected group’s connection to its devices and any
               assigned monitors.




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                 Static Group
                 Selecting Static Group as the type to create displays a selector screen where you can Name and




                 select a Category for the group, then search for available resources with a filter. Click Apply Filter
                 after you have configured it, and a list of devices fitting its criteria appears. Select device(s) and
                 click Add Selected, or simply click Add All to add the entire list to your static group. Notice that
                 you can continue to re-use this filter to list devices, and continue to select them.




                 When you select a device, it no longer appears listed. When you click Done the subsequent screen
                 displays all devices you have selected. You can click Add on this screen to return to the previous
                 screen (or Remove All to delete the listed devices from the group). At the bottom of this screen,
                 you can also elect to group devices by None, Vendor or Common Type (Switch, Router, and so on).
                 These last two create “trees” with nodes for each vendor or type. You can also click the magnifying
                 glass to search through listed devices. Clicking Remove All removes all devices in the group.
                 Click Save to preserve the group you have configured.




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               Dynamic Group
               In contrast to Static Groups, Dynamic Groups do not let you select individual equipment. You
               simply configure a filter, and OpenManage NM creates the group on the fly. After you enter the
               Name and Category for the group, create the filter. To see what the group would look like, click
               Preview Group. This opens the Preview tab, concealing the General tab. To return to General, click
               that at the top of the screen. Click Save to preserve the group configuration, or Cancel to exit
               without saving.




       Managed Resources
               Use this Resource Management portlet instance to manage the configuration of devices that you
               discovered or created on your network. Resource Management portlets show device-specific
               information, both general (name, type, location, contact) and technical (vendor, subcomponents,
               and so on). The default layouts in the summary and expanded views are geared towards device
               configuration management.
               This portlet is intended for anyone that wants to manage their network device’s configuration.




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                 Access this portlet by selecting the Configuration Management page. This portlet has both a
                 summary view and an expanded view. Each view displays different columns and have the same pop-
                 up menu options available.



                                                                                                        Summary
                                                                                                        View




                  Expanded View




                 Other that the Reference Tree, Details properties, Utilization Summary, and Bandwidth Utilization
                 widgets, the expanded view includes a Details settings widget. The Details settings widget includes
                 the system Object Id, Date Created (that is, discovered), Creator (the user who performed
                 discovery), Install Date, Administrative State (Locked [Device use is prohibited] Shutting Down
                 [Only existing users can use the device] Unlocked [Normal use of device is permitted]),
                 Operational State (Disabled [Inoperable because of a fault, or resources are unavailable] Enabled
                 [Operable and available for use] Active [Device is operable and currently in use with operating
                 capacity available to support further services] Busy [Operable and currently in use with no
                 operating capacity to spare]).
                 OpenManage NM includes a task that updates the operational and administrative states of a port
                 or interface when an event processing rule (EPR) responds to the events listed below. Five
                 automation EPRs respond to these events and invoke this update task with the target from the
                 entity associated with the event. Only subcomponents are affected. The EPRs are as follows
                 (impacts in parenthesis follow them):
                 monitorTargetDown (operational state = Down)
                 monitorTargetUp (operational state = Up)
                 monitorTargetIndeterminate (operational state = Unknown)
                 linkDown (operational state = Down, administrative state = the value of the var bind
                      ifAdminStatus)
                 linkUp (operation state = The value of the var bind ifOperStatus, administrative state = Up)




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               Columns
               Other than the general navigation and configuration options, this instance of the Managed
               Resources portlets (summary and expanded views) include the following columns. The columns
               displayed by default are noted.
               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column             Description
               Network Status     The resource’s status in the network, such as:
                                  • Responding means that this application gets a response from the device through a
                                    network protocol.
                                  • Not Responding means that the device does not respond to the protocol.
                                  • Indeterminate means that the monitoring software has not tried to reach the
                                    device or there was some other error that prevented us from determining one of
                                    the other two statuses.
                                  The Network Status option availability depends on its response to the ICMP
                                  monitor. If you disable the monitor (for example, for performance reasons), a status
                                  may appear, but it is not meaningful.
                                  This field displays on the summary view by default.
               Name               The device name.
                                  This field displays on the summary and expanded views by default.
               Firmware Version   The version for the device’s firmware.
                                  This field displays on the summary and expanded views by default.
               Last Backup        The date and time that the device was last backed up. You can sort on this column.
                                  This field displays on the summary and expanded views by default.
               Next Backup        The next date and time that the device is scheduled to back up.
                                  This field displays on the expanded view by default.
               Next Deploy        The next date and time that the device is scheduled to deploy.
                                  This field displays on the expanded view by default.
               IP Address         The device’s IP address.
                                  This field displays on the expanded view by default.
               Vendor             The vendor for this device.
                                  This field displays on the expanded view by default.
               Model              The device model.
                                  This field displays on the expanded view by default.
               Type               The device type, such as switch, router, and so on.
                                  This field displays on the expanded view by default.
               Software Version   The version for the device’s software.
                                  This field displays on the expanded view by default.
               Location           The device’s location shown with text and an icon.
                                  expanded view
               Hardware Version   The device’s version.
                                  This field displays on the expanded view by default.
               TFA Registered     An indicator that traffic flow analyzer (TFA) is registered (checkmark) or not ().
                                  This field displays on the expanded view by default.




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                  Column               Description
                  Alarm Severity       The highest alarm severity opened for a device and /or its subcomponents. Alarms
                                       against the device as a whole are always considered and this also includes all alarms
                                       that are against subcomponents (ports, interfaces, etc.) and whose Resource
                                       Propagation is "Impacts Top Level" or "Both" but it does not include alarms against
                                       subcomponents whose Resource Propagation is "Default" or "Impacts
                                       Subcomponents".
                                       This field displays on the expanded view by default.
                  Vendor Name          The resource’s vendor name.
                                       This field displays on the expanded view by default.
                  Location Name        The location where the resource resides. Shows both text and icon.
                                       This field displays on the expanded view by default.
                  Widgets              Additional information about the selected rule, such as:
                                       • Reference Tree shows the device and connected components
                                       • Details shows information about equipment name, vendor, location, contact,
                                         icon, and last modified and discovery date
                                       • Utilization Summary graphs device utilization, such as CPU, disk I/O, memory
                                         and ping rate
                                       • Bandwidth Utilization graphs the device’s bandwidth utilization. Notice that you
                                         can change the number of top interfaces graphed, when this is applicable. See also
                                         Bandwidth Calculation on page 418
                                       The Widgets field is available only from the expanded view.
                  Additional IP        Any additional IP addresses assigned to the resource, other than the primary IP
                  Addresses            address. For example, a resource might have an IPv4 address and a IPv6 address. If
                                       this is the case, the primary IP address appears in the IP Address column and the
                                       additional IP addresses appear in this column.
                  Alarm Suppression The description provided for an alarm suppression configuration.
                  Description
                  Alarm Suppression Indicates if the device is in alarm suppression, and if so, which mode of suppression
                  Mode              is active. The two modes of active alarm suppression are "Ad Hoc", which means that
                                    suppression will remain indefinitely until it is stopped manually, and "Scheduled",
                                    which means that suppression will automatically stop at some point in the future
                                    (see the Schedules portlet). If the device is not in alarm suppression then a dash "-" is
                                    listed.. If some form of alarm suppression is listed, the device does not receive alarms.
                  Asset Tag            Any asset tag identifier for the device.
                  Contact              Any contact associated with the resource.
                  Creator              The user or process (such as, a discovery rule or device driver) that created this
                                       resource.
                  DNS Hostname         The resource’s host name.
                  Description          A text field for a description of the resource.
                  Discovery Date       The date and time the resource was discovered.
                  Domain ID            The identifier for the device’s domain. This is populated in a multitenant
                                       environment.
                  Foreign ID           An optional identifier for the customer’s organization.
                  Install Date         The date and time that the resource was installed.
                  Last Configuration The time/date stamp for the last configuration change detected. This is driven from
                  Change             Automations (which are a category of Event Processing Rules) whose configured
                                     action is "Config Changed"




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               Column              Description
               Last Modified       The date and time that the last modification occurred.
               Last Status Change The last time that the Network Status changed. For example, if the device has been
                                  not responding for 8 hours continuously (but was previously responding) then this
                                  value will give the time that that the status changed to "Not Responding"
               MAC Address         The resource’s Machine Address Code.
               Manage By           An indicator that shows whether the device is managed by host name rather than IP
               Hostname            address.
               Management State The management state of the resource.
               Mediation Server 2 The resource’s secondary mediation server IP address (applies in a high availability
               IP Address         system with two mediation servers).
               Mediation Server    The resource’s mediation server IP address.
               IP Address
               Next Restore        The next date and time to restore a resource.
               Notes               A text field for information about the resource.
               Operational State   The resource’s state independent of its network status. Valid values are:
                                   • Disabled indicates that the resource is inoperable because of a fault, or it is not
                                     available.
                                   • Enabled indicates that the resource is operable and available for use.
                                   • Active indicates that the resource is operable and currently in use with operating
                                     capacity available to support further services.
                                   • Busy indicates the resource is operable and currently in use with n operating
                                     capacity to spare.
               Physical Index      The given index associated to the resource. This is useful when a vital device
                                   component, such as a power supply or fan has sensors attached.
               RTM Category        The resource’s right-to-manage category.
               Serial Number       The resource’s serial number.
               Service Tag         The device’s service tag.
               SupportAssist       The device’s SupportAssist status. Valid values are Opt-In and Opt-Out.
               Status
               System Object ID    The identifier for the resource’s system object.
               Topology Icon Size The equipment icon size. Modify this size by right-clicking a device and then
                                  selecting Edit.

               Pop-Up Menu
               The Managed Resources pop-up menu provides access to the following options. Right-click a row
               to access these options.

               Menu Option         Description
               New                 You can create a new device without discovering it with this menu item. Select the
                                   device vendor, model and type in the next screen, then fill in the information about
                                   the device in the editor that appears after that selection.
               Edit                Opens the Resource Editor, where you use modify a resources options and
                                   parameters.




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                  Menu Option        Description
                  Details            Opens a Details screen for the selected resource. This contains information like the
                  (Click+Shift)      performance indicators, power supplies and fans, monitor status summary, reference
                                     tree, network (ports, interfaces, details, and associated links), alarms and history
                                     events, audit trail and execution history, performance data, and maintenance
                                     information.
                  Manage             Provides access to the following actions:
                                     • Set Management State for the selected devices to one of the following states:
                                        • Normal — The device is unconstrained by the other Administrative States.
                                           Changing from Suspended to Normal stops alarm suppression. Standard
                                           access, and inclusion in right-to-manage count.
                                        • Decommissioned — While this device is in inventory, it is not active. No
                                           device access allowed, no Monitor associations, no event processing, no
                                           Management Interfaces, no Authentication, no links, and no services are
                                           permitted.
                                        • Suspended — Suspends all device-related activities. No device access allowed,
                                           Monitoring Suspended, No event processing, Counts against right-to-manage.
                                        • Planned — The planned (future) device. No device access allowed, no monitor
                                           associations, and no event processing.
                                        • Maintenance — Neither alarms or polling apply to the device. Does allow
                                           resync and Adaptive CLI. Standard device visibility.
                                        The Management State menu option is available if the write permissions are
                                        functional.
                                     • Set Domain Access Control Select the Multitenancy domain where the selected
                                        device is to be visible, or manageable. This only appears if you implemented the
                                        Multitenancy option. Refer to the OpenManage NM Installation Guide for details
                                        about that option.
                                     • View the Maintenance Log log for the selected device. See Connected Devices on
                                        page 191 for more about maintenance logging capabilities.
                  Topology           Opens the Topology portlet, where you define a topology. It also displays a topology
                                     map that includes the selected resources. See Presentation Capabilities on page 229
                                     for more about these maps.
                  Actions            Displays a list of action that you can initiate, such as Adaptive CLI Actions and other
                                     actions specific to the selected device.
                                     The list’s content depends on the device selected. Use the magnifying glass search
                                     option to narrow the list of actions. Select an action and then click Load Selected to
                                     run it manually. See Actions Portlet on page 558 for more about configuring these
                                     activities.
                  Change             Executes or schedules for execution one of the following policies based on the option
                  Management         selected:
                                     • Change Determination runs the selected device. (See Change Determination
                                        Process on page 519.)
                                     • Execute Proscan runs any ProScan (also known as Compliance Policy) connected
                                        to the selected device.
                                     • Execute Proscan Policy runs any Proscan. (See Compliance Policy Summary on
                                        page 495.)
                  Direct Access      Open an SNMP Mib Browser to the alarmed device, a CLI Terminal (Telnet window)
                                     to the alarmed device, or ICMP Ping the device alarmed. Only those available appear
                                     in the subsequent menu.




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               Menu Option       Description
               Event             Suppresses or updates alarms related to the selected resource. The following event
               Management        management options available are:
                                 • Start Alarm Suppression starts alarm suppression after you enter a description
                                   and then click Start. A Success/Failure confirmation message is displayed.
                                 • Stop All Alarm Suppression discontinues all alarm suppression. A confirmation
                                   message is displayed. You can also stop alarm suppression using the View Active
                                   Suppressions option.
                                 • Schedule Alarm Suppression opens the New Schedule suppression Action window,
                                   where you set the exception options and suppression targets parameters and then
                                   set the schedule options.
                                 • View Active Suppressions displays a list of active suppressions. A messages is
                                   displayed if there are no active suppressions. You can stop selected alarm
                                   suppressions from this list.
                                 • View Event History shows event history for the selected resource in the Event
                                   History portlet.
                                 • Resync Alarms refreshes the information displayed with the latest information in
                                   the database for the selected resource or all resources.
                                 Except for View Event History, perform these actions on one or more resources.
               File Management   Displays a current configuration file, compares it to previous backups, backs up,
                                 restores, imports or exports a configuration file by selecting the appropriate option.
                                 You can also deploy firmware to devices from this menu.
                                 If you go to the Configuration Files portlet, you can also edit backed up
                                 configuration files. See Configuration File Compare Window on page 459 for details.
               Links             Create a new link or discover links between members of the selected group, and
                                 others. See New Link on page 189 and Link Discovery on page 190 for details.
               Performance       Shows performance data for the selected interfaces in the Performance Dashboard
                                 window. Click the edit tool to modify the dashboard view properties, entities, or
                                 attributes. See Dashboard Editor on page 429 for more about the editor and its
                                 options.
               Resource Groups   Adds the selected device to new Dynamic or Static groups, or to existing groups. See
                                 for Managed Resource Groups on page 175 more about this.
               Resync            Queries the device again for more current information, including alarms.
               SupportAssist     Changes whether the selected devices SupportAssist status is Opt-In or Opt-Out.
                                 This option is available only if you have configured the Dell EMC SupportAssist
                                 feature.




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                  Menu Option          Description
                  Traffic Flow         Configures the selected device to appear in the Traffic Flows displays when you
                  Analyzer             select the Register option. Selecting UnRegister removes the selected device from
                                       the Traffic Flows displays. See Traffic Flow Analyzer on page 527 for more details on
                                       the analyzer.
                                       There are two Show Traffic menu options available from this sub-menu, both of
                                       which will navigate to full-screen views of the expanded Traffic Flow Portlet and will
                                       show the traffic flow data for the selected device. Show Traffic as Endpoint is
                                       available for all managed devices and this option navigates to a page showing the
                                       traffic where this device was either the sender or the receiver of the flow (as
                                       endpoints are essentially senders and receivers combined). Show Traffic as Exporter
                                       is available only for registered exporters and this option shows all traffic going
                                       through the device.
                                       You also have the option to execute or schedule execution for:
                                       • Create Configuration
                                       • Remove Configuration
                                       • Show Configuration
                  Delete               Removes the selected devices from inventory.
                  Edit Custom          Opens the Custom Attribute Editor where you define field characteristics, such as
                  Attributes           whether it is enabled, the label name, and the tooltip.
                  View as PDF          Creates an Acrobat PDF document containing the selected alarms’ content
                                       displayed in the portlet.
                  Share with User      Opens the Share with User window where you select the colleague you want to share
                                       the selected alarms with and then type your message.

                 Resource Editor
                 The Resource editor allows you to modify the following options and parameters:
                   •   Resource Editor: General
                   •   Resource Editor: Authentication
                   •   Resource Editor: Management Interface
                   •   Resource Editor: Custom Attributes—This tab appears only if you have configured custom
                       attributes. See Redcell > Data Configuration on page 30 for more about them.
                 Click Save to preserve any changes made in these screens to OpenManage NM’s database, or Close
                 to abandon any changes made in editor screens. Unless the device is a printer, changes to these
                 screens typically make database changes, not changes on the device.

                       NOTE:
                       You can edit fields like Notes and Description in subcomponent cards by right-clicking them in the
                       resource tree.




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               Resource Editor: General
               This screen may vary for different kinds of devices. Its General Details panel displays the Name,
               Description, Vendor, Location, Contact, and Equipment Icon for the selected device.




               The Extended Details panel includes Network, Properties and Settings tabs. These let you view or
               alter things like IP Address, DNS Hostname, Manage by Hostname, Network Status, Model and
               Equipment Type, Serial Number, Software Version Firmware and Hardware versions. The Settings
               tab lists the System Object ID, Date created (the date this managed device entered the database),
               Creator (the user who discovered or created the device), Install Date, Management State (see also
               the Manage > Administrative State menu below), Operational State, Topology Icon Size (eXtra
               Large - Small), and any Notes about the device.

                      NOTE:
                      Changing fields in the Editor screens like Network Status, Administrative State, Operational State (and
                      MAC address for ports) do not change the device; they change only the OpenManage NM database. You
                      can alter these fields to take notes or set aspirational values, but no change goes to the device, and
                      resync eradicates changes made if the device has conflicting values.




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                 Resource Editor: Management Interface
                 This lists the management interfaces for the selected device, including the IP Address, Port,
                 Retries, and Timeout.




                 You can Add interfaces with the button in the upper right corner, delete them with the icon to the
                 right of the listed interface.

                      NOTE:
                       If an operation produces an error saying the device lacks authentications, if none exists that
                       corresponds to the authentication type, make sure that you add a management interface as well as
                       authentication to remedy that problem.

                 Resource Editor: Authentication
                 This lists the authentications for the selected device. You can Add authentications with the button
                 in the upper right corner, delete them with the icon to the right of the listed authentication. These
                 originate in the portlet described in Authentications on page 162.
                 Details—Displays several tabs with detailed resource information. A reminder of the selected
                     device’s name appears above the tab bar. See Connected Devices on page 191 for more
                     information about this screen.

                      NOTE:
                       Not all devices support the options listed below for the Manage menu.




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       Links
               The links portlet displays discovered or created links in your system. If information is truncated,
               hover the cursor over a column to see the contents of that column as a tooltip. The expanded
               portlet displays link connections in a Reference Tree snap panel, and includes columns for the
               interface and device for each end of the link.




               The expanded portlet displays link connections in a Reference Tree snap panel, and includes
               columns for the interface and device for each end of the link.
               By right-clicking, you can create a New link, Edit an existing, selected one, or Discover links for
               specified devices. See New Link and Link Discovery on page 190 for more about creating, editing
               and discovering links.

               New Link
               When you create a new link or edit an existing one, the Link Details screen appears where you can
               configure the link.




               This screen has the following fields:
               Link Name—A text identifier for the link.
               Link Type— Select the type of link from the pick list.
               A End Point Resource/Address — Click the plus (+) to select a resource for one end of the link.
                   When you right-click a selected resource, it automatically appears here. Click the minus (-) to
                   remove it.
               Z End Point Resource/Address —Click the plus (+) to select a resource for one end of the link.
                   When you have selected two resources, they automatically appear as A and Z endpoints.




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                 Link Discovery
                 This is an automated network link discovery feature that you can initiate from individual devices in
                 the Resource Editor portlet, or with the Link Discovery button on the home screen. The following
                 device features that provide link information:
                   •   IEEE Link Layer Discovery Protocol (LLDP) support
                   •   Cisco Discovery Protocol (CDP) support
                 Links discovered can also appear in the screen described in Links in a Topology on page 252.
                 Although OpenManage NM automates link discovery, you must enable the sources for link
                 discovery information on the devices where you do such discovery.




                 When you elect to discover links from a right-click menu, the Network Link Discovery screen
                 appears. Check the type of links you want to discover or from which you want to refresh collected
                 data. Other options available on this screen include the following:
                   •   Layer 2/Layer 3 option allows you to select the layer for which you want to discover links.
                       Depending on the layer selected, the available types appear as options below this tab
                       selection.

                       NOTE:
                       Click All/None to select all or none of the displayed types for each layer. Remember, selecting more link
                       types consumes more time and processing power.
                   •   Archive Data is an advanced option. Selecting this option archives current data before
                       collecting information about and discovering links.

                       NOTE:
                       Links with incomplete endpoint information are not discovered.
                 Click Add Schedule to schedule link discovery, or Execute to run it now (and confirm you are
                 willing to wait for results in a subsequent screen). The Job Viewer tab in the link discovery screen
                 displays the message traffic between OpenManage NM and the device(s). See Audit Trail Portlet
                 on page 154 for more about Job Viewer screens.




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       Search by IP or Mac Address
               The Search by IP or Mac Address portlet lets you find Managed Equipment, Ports and Interfaces
               for the IP or MAC address entered.




               The same right-click menus as appear in Resource Editor, Ports or Interfaces appears in the search
               results. The display confines those results to what is found; if only ports satisfy the search criteria,
               then Managed Equipment and Interface do not appear. A count of found items appears in the
               upper right corner of each panel.

                      NOTE:
                      Search by IP or Mac Address portlet supports search by description on both ports and interfaces


       Connected Devices
               Connected Devices is an enhanced version of the Find Physical Connection for IP or MAC Address
               feature. Connected Devices can assist you in locating the port that a device you are searching for is
               physically connected to. Additionally, using Connected Devices, you can determine everything that
               is connected to a specified managed device - whether those somethings are managed or
               unmanaged.
               OpenManage NM's Connected Devices feature works by utilizing LLDP, CDP, EDP, Bridging, and
               ARP data that is collected during Network Data Collection. At the very end of the Network Data
               Collection action, using that data, a list of connected devices is compiled and maintained for each
               device being managed by OpenManage NM.

                      NOTE:
                      Connected Devices relies on Network Data Collection related data being up to date. It is automatically
                      scheduled to be run daily, however - depending on your network situation - you may wish to schedule
                      Network Data Collection to happen more frequently.




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                 Additionally, when using Connected Devices, if you have reason to believe that your Network Data
                 Collection data may be out of date, it is suggested that you run Network Data Collection on any
                 devices that you believe may have changed.

                       NOTE:
                       In order for the Connected Devices feature to have maximum success at finding devices that may be
                       connected to your managed equipment, it is important to ensure that all devices in your network have all
                       configuration necessary to enable the following applicable protocols/network technologies: LLDP, CDP,
                       EDP, ARP, Bridging Tables. The necessary configuration varies from manufacturer to manufacturer, so
                       please consult with the applicable guides for the devices you are working with.
                 Access this portlet from the Resources page or the selected connected device’s Details portlet.
                 Searching and Filtering
                 Data displayed in the Connected Devices portlet can be searched and filtered on in two ways.
                   •   The Quick Search feature can be used from the minimized portlet view, and allows the user to
                       search the Remote Device IP, Remote Device ID, Remote Port ID, and VLAN fields.




                   •   Advanced filtering can be done from the portlet's maximized view, and allows any field to be
                       filtered on.




                 Fields
                 The following fields are available for Connected Devices:
                   •   Local Device - The endpoint that is being managed by OpenManage NM.
                   •   Local Port - The port that the Local Device knows about the connected device through.
                   •   Connection Type - This will either be DIRECT or UNKNOWN. If the type is DIRECT, the
                       connection was discovered via LLDP, CDP, or EDP, and a direct connection is known to exist.
                       In the case that the type is UNKNOWN, the connection was discovered via bridging data,
                       and the connection may be either indirect, or direct.




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                •     Remote Device IP - The IP Address of the device connected to Local Device.
                •     Remote Device ID - The Remote ID of the device connected to the Local Device. The value
                      contained within this field can vary depending upon how LLDP, CDP, EDP, etc. is configured
                      on the devices in your network (For example, it could be the MAC address of the remote
                      chassis, or it could be a descriptive string).
                •     Remote Port ID - The Remote Port ID of the port that the remote device is connecting to the
                      Local Device via.
                •     VLAN - The VLAN through which the Local Device knows about the Remote Device.

                      NOTE:
                      For a given connection, certain fields may or may not be populated, depending on which data (LLDP, CDP,
                      EDP, Bridging, ARP) that connection was present in.


       Equipment Details
               This screen displays the details for a selected resource. You can see it by selecting Details in the
               right-click menu for the Resource Editor portlet. You can also install an Equipment Details portlet
               on a page and use the Hierarchical View portlet to select individual devices that appear in it. In that
               case, you must select an individual device before it displays data.




               Details screens are available for a variety of things besides equipment, too. Here are some highlights
               of the Equipment Details screen (and others):




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                 The Quick Actions panel in the General tab also displays icons that activate direct access or the
                 resource editor.




                 Direct access includes Terminal, MIB Browser, Ping (ICMP) or HTTP/HTTPS).
                 Click the tab name to see the following:
                 General–In addition to Quick Action icons, this displays details about the selected equipment,
                     including its Domain ID. This screen also includes performance indicators to report on the
                     device’s CPU, memory and disk utilization (flash memory) both currently and for the last 30
                     minutes (click the links above the panel), a Monitor Status Summary, and Reference Tree,
                     and a list of the Authentications connected to the device. If disk utilization is less than one
                     percent, an indication that the device is still active may appear in that graph.
                       Permissions control the visibility of some attributes. Information like IOS/Firmware/Software
                       versions appears to users only if they have READ permission for these attributes. To configure
                       attributes as not viewable—one example: management IP address—you must define the
                       attribute set and add it to owareapps\installprops\lib\installed.properties file as in the
                       following example:
                       restricted.attribute.names.set1=RedCell.Config.EquipmentManager_IPAddress
                       For each restricted attribute set, you can define multiple attributes with comma delimited
                       DSI names.
                       After defining such attributes, in the permission manager, uncheck the READ permission on
                       roles that you do not wish to have access to Restricted Attribute Access 1. You can
                       conceal up to five such attributes. Attribute names are similar to the Using Email Action
                       Variables on page 318, at least when fully qualified with the prefix
                       Redcell.Config.EquipmentManager. Contact technical support for identifiers not listed there.
                 Network–This screen lists the Ports and Interfaces for the selected device (some devices have one,
                     but not the other), VLANs and links associated with the device.
                 Alarms–Displays the alarms and events associated with the selected device.
                 History–Includes audit trails connected to the device, and any backed up configurations. Right-
                      click to view or otherwise act on these.
                 Performance–This screen contains two links at its top. One displays a performance dashboard
                      (template) related to the selected device. See Show Performance Templates on page 435 for
                      how to configure these. The other displays any configured Top Talkers for the device. See Top
                      N [Assets] on page 422.
                       You can also configure the interval displayed by clicking the clock icon at the top of this
                       screen.




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               Logs – Displays maintenance logs connected to the device to users with permissions to see this tab.
                    Right-click to create or edit these.




                      Notice that you can right-click listed interfaces, configuration files, and so on to perform more
                      actions, or to see additional Detail screens.
               You can also right-click and then select Details to view more information about some
               subcomponents like Interfaces and Ports. The Details portlet includes a Reference Tree (similar to
               the Widget). You can even right-click nodes in that reference tree to drill down to additional
               details.




                      NOTE:
                      Notice the breadcrumb trail at the top of the Equipment Detail panel tracks the levels through which you
                      drill down. You can click a level that appears in this trail to return to a previous screen. If you click Return
                      to previous in the upper right corner of the screen, you will return to the original screen from which you
                      selected the basic equipment.
                      Also: Some fields may appear truncated onscreen, but you can hover the cursor over the truncated
                      field so the text appears as a tooltip or drill down to see the detail.
               Some devices populate the ports panel, but not the interfaces panel, which is empty for such
               devices. Interfaces may appear for Dell EMC Networking FTOS, Cisco or Juniper devices. You may
               also discover such devices as type: Unknown (see Base Driver on page 105). Force 10 devices
               interfaces details can display Port Channels (LAGs), VLANs (SVIs) and Loopbacks.
               If the Ports portlet is on the same page as the Resource Editor portlet, selecting a device in
               Managed Resources makes its ports appear in the Ports portlet. The display can also get out of sync,
               but clicking the browser’s Refresh restores the correspondence between a selected device and the
               ports displayed. To resync a port, resync the device that contains it.




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                 Field Definitions
                 The meanings of most fields that appear in details screens are self-evident. Here is a little more
                 information about some of them:
                 Operational State—One of following possible values describing the availability of the resource.
                       Disabled—Inoperable because of a fault, or resources are unavailable.
                       Enabled—Operable and available for use.
                       Active—Device is operable and currently in use with operating capacity available to support
                           further services.
                       Busy—Operable and currently in use with no operating capacity to spare.
                 Administrative State—One of the following values:
                       Locked—Device use is prohibited.
                       Shutting Down—Only existing users can use the device.
                       Unlocked—Normal use of device is permitted.
                 Network Status—The status of the resource in the network. For example: Responding means this
                     application can, via some network protocol, get the device to respond. Not Responding means
                     the device does not respond to the protocol. Indeterminate means the monitoring software
                     has not tried to reach the device or there was some other error which prevented us from
                     determining one of the other two statuses.
                       The appearance of Network Status depends on the default ICMP monitor (see Resource
                       Monitors on page 371. If you exclude this equipment from the monitor or disable it (for
                       example, for performance reasons) then a status may appear, but it is not meaningful.
                       You can now use monitors other than ICMP to determine this status. See Monitoring
                       Network Availability on page 375.

                       NOTE:
                       The Alarms Details panel now lets you correlate parent/child alarm pairs.


         Direct Access
                 Direct access provides less-mediated access to the device in the following ways:
                   •   MIB Browser
                   •   Terminal
                   •   Ping (ICMP)
                   •   HTTP/HTTPS
                 The following sections describe those direct options in more detail.

                       NOTE:
                       Best practice is to avoid special characters, particularly # and > (command line prompts) in device
                       banners so terminal access is unambiguous.




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               MIB Browser
               As part of the Direct Access menu, the MIB Browser lets you examine SNMP data available about
               devices.




               The screen that opens when you select this option displays MIBs available in OpenManage NM in a
               tree on the left. Notice that a pick list at the top of the left column narrows what appears in the
               tree. A progress bar at the bottom of this screen indicates a query for the selected information is in
               progress.
               Click Load MIB at the top left corner of the screen to load a new MIB. A file selection dialog opens
               after you click Load MIB. Click the Refresh button at the bottom of the browser to re-query the
               device for new information. Click the Export button at the bottom of the browser to export the
               screen contents to a spreadsheet (Excel-format) file.
               Use the Load MIB button in the upper right corner, or the menu described in Using Extended
               Event Definitions on page 341 for loading new MIBs.




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                 Select a MIB and expand it to see the contents for a selected node appear on the right. In addition
                 to the Device Results tab, which displays what the currently selected device uses from the MIB, the
                 MIB Information tab displays the parameters available for the selected node.




                 Notice that the Description, Comments, Notification Variables, and Valid Values tabs appear at the
                 bottom of this screen.
                 Terminal
                 This opens a terminal shell connected to the selected device.




                 A green icon in the lower right corner indicates the device is online, while the IP address of the
                 device appears in title bar. The IP address of OpenManage NM’s server also appears in the lower
                 left corner, when the connection is active.




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               The following menus appear for your terminal session:
               File— This menu lets you Connect or Disconnect to the device.
               Edit—This menu lets you Copy or Paste text within the terminal session. Click and drag to select
                   text.
               Terminal— This menu lets you set Foreground and Background colors, as well as configuring the
                   Font and Buffer sizes. Reset Terminal restores the defaults.
                      Terminal is an applet that requires a Java Runtime Environment be installed and associated to
                      the browser as a plug-in on the client machine. See also Setting Java Security for Terminal
                      Access on page 216 below.

                      NOTE:
                      You can cut and paste from the Direct Access terminal.
               Telnet sessions are synchronous. You cannot interrupt a command in progress with another
               command you send, unless you have enabled something that periodically prompts for additional
               commands (for example enabling line continuation prompts).
               Ping (ICMP)
               Select this option from the Direct Access menu to initiate ICMP ping, and to display a list of the
               selected device’s ping responses.




               Alternatively, an error message can appear describing the device’s lack of response.
               When ping responds in less than one millisecond, results appear in a table with <1ms entries.
               HTTP/HTTPS
               Selecting this menu item opens the default browser, providing access to the selected device.




               An intervening dialog appears advising you about the required network conditions for a successful
               connection.
               Secure Connections to OpenManage NM
               Typically multi-server installations with load balancers are where OpenManage NM users need
               secure connections. Consult the Installation Guide for instructions about how to configure
               HTTPS to connect to a load balancer in such an installation.




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         Ports
                 The Ports summary portlet displays discovered device ports. Note that in this context a "Port" is a
                 type of subcomponent that is essentially a physical interface of the device. The Interfaces portlet is
                 tied to a different distinct but related type of subcomponent that some device vendors might call a
                 "sub-interface" or a "logical interface.”




                 This displays a list of ports, with columns for Port Icon, Equipment Name, Name, Type and
                 Encapsulation. Hover the cursor over the State column, and a popup appears to display the port’s
                 Name, Type and Operational State information. Right-clicking offers a subset of the actions listed
                 in Resource Editor on page 186. You can also create links. See Links on page 189.
                 If the Ports summary portlet appears on the same page as the Managed Resources portlet, then a
                 selection made in Managed Resources makes the Ports portlet display only ports for the selected
                 resource. This “filter” through Managed Resources disables filters configured through the settings
                 menu. See Understanding Hierarchical View on page 253 for more about this feature.
                 The Port Details portlets display all the port’s settings that have been retrieved, including a
                 Reference Tree of logical interfaces below the port, a Learned MAC Address panel, Alarms related
                 to the port, and other Detail.




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                      NOTE:
                      Switch Mode is only populated for devices that support the Bridge-MIBs.The default value is unknown.




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                      NOTE:
                       Switch Mode is only opulated for devices that support the Bridge-MIBs. The default value is unknown.




                 This screen displays the following tabs, accessed by clicking their name in the top of the screen.
                 Just above their names, a reminder appears of the name of the selected port.
                 General— In this tab, fields appear describing attributes for the selected port. For example Date
                     Created (typically, this is the date discovered).
                 Alarms—This tab displays alarms and the Event History connected to the selected port. See
                     Alarms Portlet on page 284 and Event History on page 295 for more about that information.
                 Performance— Displays monitor information, if available, related to the selected port.
                 See also Connected Devices on page 191 and Managed Resources on page 179 for an explanation
                 of some of these fields.




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               Ports Expanded
               Clicking the plus (+) in the upper right corner of the summary screen displays this expanded view
               of available ports.




               The Settings button lets you configure columns that appear and their order. The available columns
               for this view include many related to the attributes that appear in the Port Details. This screen also
               includes a Reference Tree displaying a tree of the selected port’s relationship to logical interfaces
               and monitors.
               This screen has columns similar to those described in Alarms Portlet on page 284. Configure these
               as visible or hidden by clicking Settings. The following are some additional columns available.

       Interfaces
               Use the Interfaces portlet to monitor and manage your discovered interface resources. This portlet,
               like the Ports portlet, displays subcomponents of discovered resources. Unlike the Ports portlet, it
               does not display the Widgets panel in its expanded form, just more columns.




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                 Access this portlet from the Resources page. This portlet has both a summary view and an
                 expanded view. Each view could display different columns and could have the same pop-up menu
                 options available.



                                                                                     Summary View



                                                                                     Expanded View




                 Columns
                 Other than the general navigation and configuration options, the Interfaces portlets (summary and
                 expanded views) include the following columns. The columns displayed by default are noted.
                 You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
                 columns tab, clicking Show for the appropriate column, and then applying the change.

                  Column             Description
                  Name               A interface identifier, such as the CLI Name.
                                     This field displays on the summary and expanded views by default.
                  Interface Type     The resource interface type, such as IP interface, Proprietary Virtual interface,
                                     Primary ISN interface, and so on.
                                     This field displays on the summary and expanded views by default.
                  State              An indicator that shows whether the operation state is functioning (checkmark) or
                                     not (X).
                                     This field displays on the summary and expanded views by default.
                  Equipment          The name of the managed resource (top-level device) in which the interface is
                                     contained .
                                     This field displays on the expanded view by default.
                  Encapsulation      An identifier for the port.
                                     This field displays on the expanded view by default.
                  IP Address         The interface’s primary address within the network. See Additional IP Addresses if
                                     you interface has more than one address.
                                     This field displays on the expanded view by default.




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               Column               Description
               Subnet Mask          The network segment address to which an interface belongs.
                                    This field displays on the expanded view by default.
               Interface            A detailed description for the interface.
               Description          This field displays on the expanded view by default.
               Date Created         The date this resource entered the database.
                                    This field displays on the expanded view by default.
               Additional IP        Any additional IP addresses assigned to the interface, there than the primary IP
               Addresses            address. For example, an interface might have an IPv4 address and a IPv6 address. If
                                    this is the case, the primary IP address appears in the IP Address column and the
                                    additional IP addresses appear in this column.
               Administrative       The interface’s current administrative state, such as down, testing, unknown, or up.
               State
               Alarm Severity       The highest severity of any existing alarms against this resource.
               Alarm Suppression The description provided for an alarm suppression configuration.
               Description
               Alarm Suppression Indicates if the device is in alarm suppression, and if so, which mode of suppression
               Mode              is active. The two modes of active alarm suppression are "Ad Hoc", which means that
                                 suppression will remain indefinitely until it is stopped manually, and "Scheduled",
                                 which means that suppression will automatically stop at some point in the future
                                 (see the Schedules portlet). If the device is not in alarm suppression then a dash "-" is
                                 listed.. If some form of alarm suppression is listed, the device does not receive alarms.
               CLI Name             The command line resource name.
               Hierarchical View    The hierarchical view index number.
               Index
               Creator              The name of the person or process (such as a discovery rule) that created this
                                    interface.
               Domain ID            The identifier for the interface domain.
               Egress Bandwidth     The interface’s outgoing bandwidth (bps).
               Egress/Ingress       The type of calculation used to determine bandwidth:
               Bandwidth            • CONFIGURED means that the OMNM system has a QoS policy configured
               Calculation            against the interface.
                                    • TRUNK AGGREGATION means that the port is in trunking mode and calculates
                                      it bandwidth from its access ports.
                                    • INTERFACE AGGREGATION means that the total bandwidth of the parent is
                                      the sum of the bandwidth of it children if the interface has sub-interfaces.
                                    • ASSOCIATION means that the bandwidth is taken from the linked port if the
                                      port is currently UNCONFIGURED and has a physical and has a physical link to
                                      another port that is not UNCONFIGURED.
                                    • UNCONFIGURED means that the bandwidth is set to the port’s IfSpeed. This is
                                      the default setting.
                                    See Bandwidth Calculation on page 418 for more details.
               Foreign ID           An optional identifier for the customer’s organization.
               IfIndex              The SNMP interface index number used to identify a particular end point (port or
                                    interface).
               Ingress Bandwidth The interface’s incoming bandwidth (bps).
               Install Date         The time and date the interface was installed.
               Interface Number     The number used to create a logical or virtual interface.




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                  Column             Description
                  MTU                The maximum transmission unit (packet) size (256-9192).
                  Notes              A text field for information about the interface.
                  Port Number        A number assigned to user sessions and server applications in an IP network.
                  Rack Number        The number that identifies on which rack the component (card, port, or interface) is
                                     installed. This is useful when you have larger chassis that have internal racks.
                  VRF Name           An identifier for the VRF.
                  Slot Number        An interface attribute set by the OMNM product.
                  Speed              The port/interface speed.
                  Subslot Number     The number that identifies which slot on the card that the service module is
                                     installed. Cards have the potential of supporting child modules, configurable service
                                     modules installed on the card.

                 Pop-Up Menu
                 The Interfaces pop-up menu provides access to the following options. Right-click a row to access
                 these options.

                  Menu Option        Description
                  Edit               Opens the Editing interfaceName window, where you view or modify the resources
                                     general details or interface properties.
                  Details            Displays the selected resource’s general details and the alarms, event history,
                  (Click+Shift)      performance, and quality of service (QOS) details.
                  Topology           Displays a topology map that includes the selected resources. See Presentation
                                     Capabilities on page 229 for more about these maps.
                  Domain Access      Opens the Domain Access Control window where you assign access rights to the
                  Control            domain.
                  Actions            Executes any actions associated with the selected resource. An error is displayed if
                                     you do not have permission to execute actions or if there are no actions for the
                                     selected resource.
                  Event              Suppresses or updates alarms related to the selected resource. The following event
                  Management         management options available are:
                                     • Start Alarm Suppression starts alarm suppression after you enter a description
                                       and then click Start. A Success/Failure confirmation message is displayed.
                                     • Stop All Alarm Suppression discontinues all alarm suppression. A confirmation
                                       message is displayed. You can also stop alarm suppression using the View Active
                                       Suppressions option.
                                     • Schedule Alarm Suppression opens the New Schedule suppressionAction window,
                                       where you set the exception options and suppression targets parameters and then
                                       set the schedule options.
                                     • View Active Suppressions displays a list of active suppressions. A messages is
                                       displayed if there are no active suppressions. You can stop selected alarm
                                       suppressions from this list.
                                     • View Event History shows event history for the selected resource in the Event
                                       History portlet.
                                     • Resync Alarms refreshes the information displayed with the latest information in
                                       the database for the selected resource or all resources.
                                     Except for View Event History, perform these actions on one or more interfaces.




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               Menu Option        Description
               Links              Opens the Add a New Link window when you select New. Specify a link name, type,
                                  and A/Z end points resource/address. See Links on page 189 for more details about
                                  the link options available.
               Show Performance Shows performance data for the selected interfaces in the Performance Dashboard
                                window. Click the edit tool to modify the dashboard view properties, entities, or
                                attributes. See Dashboard Editor on page 429 for more about the editor and its
                                options.
               Traffic Flow       Executes the following traffic flow analyzer actions on the selected resource:
               Analyzer           • Show Traffic
                                  • Create Configuration
                                  • Remove Configuration
                                  • Show Configuration
                                  See Traffic Flow Analyzer on page 527 for more details.
               Edit Custom        Opens the Custom Attribute Editor where you define field characteristics, such as
               Attributes         whether it is enabled, the label name, and the tooltip.
               View as PDF        Creates an Acrobat PDF document containing this alarm’s contents displayed in the
                                  summary portlet.
               Share with User    Opens the Share with User window where you select the colleague you want to share
                                  this assets with and then type your message.




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         Cards
                 Use the Cards portlet to monitor and manage your discovered card resources.
                 This portlet is intended for users who are interested in managing their discovered devices.
                 After installation, this portlet is not from any page. However, you can add it to any page, such as the
                 Resources page by selecting Add > Application, expanding the Resource Management list, and
                 adding the Cards portlet. This portlet has both a summary view and an expanded view. Each view
                 could display different columns and could have the same pop-up menu options available.


                                                                                                  Summary
                                                                                                  View


                                                                                                  Expanded
                                                                                                  View




                 Columns
                 Other than the general navigation and configuration options, the Cards portlets (summary and
                 expanded views) include the following columns. The columns displayed by default are noted.
                 You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
                 columns tab, clicking Show for the appropriate column, and then applying the change.

                  Column             Description
                  Name               A resource identifier, such as the CLI Name.
                                     This field displays on the summary and expanded views by default.
                  Equipment          The name of the resource, such as ISDN card, NIC, and so on.
                                     This field displays on the summary and expanded views by default.




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               Column              Description
               Card Description    A description of the resource, such as the card part number.
                                   This field displays on the summary and expanded views by default.
               Card Type           The type associated with this resource, such as slot, ISDN card, NIC, Other, and so
                                   on.
                                   This field displays on the summary and expanded views by default.
               Operational State   An indicator that shows whether the resource is:
                                   • Active shows that the card is operable and currently in use with operating capacity
                                     available to support further services.
                                   • Busy shows that the card is currently in use with no operating capacity to spare.
                                   • Disabled shows that the card is not operable because of a fault or unavailable
                                     resources.
                                   • Enabled shows that the card is operational and available for use.
                                   • Not Determined show that the state is not determined.
                                   This field displays on the summary and expanded views by default.
               Date Created        The date this resource entered the database.
                                   This field displays on the summary and expanded views by default.
               Active Ports        The number of active ports related to a resource. By default, a port is considered
                                   active if the administrative state is up.


                                   You can modify this functionality to use the port’s operational state to determine
                                   whether a port is active or inactive by adding the following property to your
                                   installed.properties file, saving the file, and then restarting the application server:
                                   com.dorado.redcell.inventory.ActivePortAttribute=OW_Operation
                                   alState
                                   This attribute only updates when the device re-syncs.
               Administrative      The interface’s current administrative state, such as down, testing, unknown, or up.
               State
               Alarm Severity      The highest severity of any existing alarms against this resource.
               Alarm Suppression The description provided for an alarm suppression configuration.
               Description
               Alarm Suppression A boolean setting (on/off). If Ad Hoc suppression is listed, the device does not
               Mode              receive alarms.
               CLI Name            The command line resource name.
               Hierarchical View   The Hierarchical View index number.
               Index
               Creator             The name of the person or process (such as, a discovery rule or device driver) that
                                   created this interface.
               Domain ID           The identifier for the resource domain.
               Firmware Version    The resource’s firmware version.
               Foreign ID          An optional identifier for the customer’s organization.
               Hardware Version    The card’s hardware version.
               Card Icon           The icon that represents the resource.




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                  Column             Description
                  Inactive Ports     The number of inactive ports related to a resource. By default, a port is considered
                                     inactive if the administrative state is not up.
                                     You can modify this functionality to use the port’s operational state to determine
                                     whether a port is active or inactive by adding the following property to your
                                     installed.properties file, saving the file, and then restarting the application server:
                                     com.dorado.redcell.inventory.ActivePortAttribute=OW_Operation
                                     alState
                                     This attribute only updates when the device re-syncs.
                  Install Date       The time and date the resource was installed.
                  Model              The number that identifies the resource model.
                  Notes              A text field for information about the resource.
                  Physical Index     The given index associated to the resource. This is useful when a vital device
                                     component, such as a power supply or fan has sensors attached.
                  Rack Number        The number that identifies on which rack the component (card, port, or interface) is
                                     installed. This is useful when you have larger chassis that have internal racks.
                  Serial Number      The resource’s serial number.
                  Slot Number        An attribute set by the OMNM product.
                  Software Version   The resource’s software version.
                  Subslot Number     The number that identifies which slot on the card that the service module is
                                     installed. Cards have the potential of supporting child modules, configurable service
                                     modules installed on the card.
                  Total Ports        The total number of ports related to a resource.
                                     This attribute only updates when the device re-syncs.

                 Pop-Up Menu
                 The Cards pop-up menu provides access to the following options. Right-click a row to access these
                 options.

                  Menu Option        Description
                  Edit               Opens the Editing cardName window, where you view or modify the general details
                                     and card properties.
                  Details            Shows the general, alarms, and event history details for the selected card.
                  (Click+Shift)
                  Edit Custom        Opens the Custom Attribute Editor window, where you add or modify attribute
                  Attributes         definitions.
                  Share with User    Opens the Share with User window where you select the colleague you want to share
                                     this asset with and then type your message.




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                                                                        Discovering Resources | Resource Management



Discovering Resources
               This section outlines some basic resource discovery steps. Discover resources as follows.
                1     Set up Authentications for the resource you want to discover.
                      a. Click Settings from the navigation bar.
                      b. Right-click the Authentications portlet and then select New.
                      c. Enter a unique identification.
                      d. Add any associated equipment.
                      OpenManage NM must be authorized to set CLI session parameters; permissions-related
                      timeouts may occur during device access if it is not enabled. For example, Cisco CLI access
                      requires the set terminal length 0 command.
                2     Set up the Discovery Profiles for the resource you want to discover.
                      a. Select Resources > Discovery from the navigations bar.
                      b. Right-click the Discovery Profiles portlet and then select New.
                      c. Enter a unique name for the profile.
                      d. Specify the discovery, network, actions, and inspection options.
                      e. Execute the profile.
                         If the discovery fail, use the Network Tools Portlet to confirm that any device missing
                         from discovery is online. The device itself must permit the OpenManage NM system
                         access it.
                3     View the results in the Managed Resources portlet.




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Discovering a List of IPs and/or Subnets | Resource Management



Discovering a List of IPs and/or Subnets
                  Discover a list of IP addresses and/or subnets by creating a discovery profile, a text file listing the IP/
                  subnet values, and then executing the discovery profile using the Execute With File menu option.
                  The steps in this section assume that you already have a text file (.txt) listing each IP address, IP
                  range, or subnet on a single line. For example:
                        10.100.4.5
                        10.100.4.6
                        10.100.4.7
                        ...
                        10.100.4.130 - 10.100.4.150
                        ...
                        10.100.6.17
                        10.100.6.30 - 10.100.6.35
                        10.100.6.128/25
                  If you do not have the text file, create it before getting started.
                  Discover a list of IPs/subnets from the Discovery Profiles portlet as follows.
                    1   Right-click and then select New > Current/Specified Site.
                        The Creating New Discovery Profile window is displayed.
                    2   Enter a name.
                    3   Select the Network tab.
                    4   Set the appropriate authentications.




                    5   Right-click the profile you created and then select Execute With         File.
                    6   Select your text file.
                    7   Click Execute.
                        When discovery process completes, the Results panel displays Success or Failed is displayed.
                        The portal also displays a successful completion, unable to execute, or failed message.




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                                                                    Modifying Discovery Profiles | Resource Management



Modifying Discovery Profiles
               Modify discovery profiles from the Discovery Profiles portlet as follows.
                1     Right-click the profile you want to modify.
                2     Select Edit.
                      The Discovery Profile editor is displayed.




                3     Modify the general parameters and profile options as needed.
                4     Click the Network tab and then modify network types or authentication.
                      The Network panel is displayed.




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Modifying Discovery Profiles | Resource Management


                    5   Click the Actions tab and then modify actions as needed.




                    6   Click the Inspection tab and then modify settings as needed.
                    7   Click Save to preserve the profile.
                        If you execute the profile before saving it, the OMNM system does not save the profile to
                        execute later.
                    8   Click Execute.
                        The Results panel displays the message traffic between the OMNM system and the device.
                        When processing completes, Success or Failed is displayed. The portal also displays a
                        successful completion, unable to execute, or failed message.
                    9   Close the Discovery Profile editor.




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                                                                    Logging Terminal Sessions | Resource Management



Logging Terminal Sessions
               Log terminal sessions (if you like) as follows.
                1     Enable Java Console on the client.
                      • For Windows, do this in Control Panel.
                      • On Linux you must navigate to the install location of your JRE and run the Console
                        script. Select the Advanced tab and change the Java Console setting to show the
                        console.
                         Java Control Panel > General tab > Settings displays the location where the logs are
                         stored.
                2     Open a Direct Access > Terminal session by right-clicking a device.
                         The Java Console appears.
                3     Configure the logging level in the Terminal menu of the direct access screen.
                      Levels, in increasing order of detail, include None, Info, Debug, and Trace, which echoes
                      keystrokes.




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Setting Java Security for Terminal Access | Resource Management



Setting Java Security for Terminal Access
                  Newer Java distributions (7+) block websites with self-signed certificates, which interferes with
                  Direct Access. You need to provide a security exception for the OpenManage NM (OMNM)
                  application server to avoid issues.
                  Set Java security for terminal access as follows.
                    1   Access the Java control panel by doing one of the following:
                        • From Windows, locate the configure java program and open it.
                        • From Linux, locate the JRE installed and associated to your browser and then run the
                          ../jre/bin/ControlPanel script.
                    2   Select the Security tab and then click Edit Site List.
                    3   Click Add.
                    4   Enter the OMNM URL (example: http://192.168.0.51:8080/).
                    5   Click OK and Continue.
                    6   Apply this change and/or click OK.
                        Direct access functions correctly after you make this adjustment.




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                                                      Changing Customer to Port Associations | Resource Management



Changing Customer to Port Associations
               You can associate or dis-associate a customer with a port or interface using the Associate Contact to
               Equipment or Remove Associated Contacts actions.
               Change customer port associations as follows.
                1     Execute the action (Associate Contact to Equipment or Remove Associated Contacts).
                2     Select the port and contact.
                3     Finish executing the action.




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Using the Add Ports Action | Resource Management



Using the Add Ports Action
                  A Manage-type Action lets you add Juniper device ports to the OpenManage NM (OMNM)
                  database before resync picks them up. These can be ports created by Adaptive CLI actions that
                  simply add ports without updating the database, or those added outside the OMNM application.
                  Once ports are in the database, you can then use them in services in in the Service Center. The
                  advantage of having this action available explicitly is that you do not have to wait for a resync to
                  populate the database correctly.

                          CAUTION:
                        This Management Action works only for ports already added to the device. Using it to add to the OMNM
                        inventory first then running automated or manual resync removes the port from the database.
                  Use the Add ports action from the Managed Resources portlet as follows.
                    1   Right-click a device and then select Actions.
                        The Actions Selection window is displayed.
                    2   Click the Manage tab.




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                                                                   Using the Add Ports Action | Resource Management


                3     Select Add Ports to Inventory > Continue.
                      The Action editor displays the input parameters.
                4     Enter the CLI names of one or more ports to add (separate multiple entries with commas).




                5     Execute or schedule the Action.
                      If you enter something not in a format like a port (xx-#/#/#, or xx-#/#/#:#, and so on), the
                      OMNM application does not attempt to add it. If you enter a port identifier for which the
                      OMNM application cannot find, the OMNM application does not add the port. For example,
                      the parent card (ge-1/10/20) when no card with a containerIndex 1, slotNumber 20 is in the
                      database.
                      The OMNM application does not populate any of the details other than name, CLI
                      name, slot number, and icon. The OMNM application retrieves any other attributes
                      when a normal resync occurs.




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Contacts, Locations and Vendors Portlets | Resource Management



Contacts, Locations and Vendors Portlets
                  This section describes the following key portlets:
                   •    Contacts Portlet
                   •    Contacts Editor
                   •    Locations Portlet
                   •    Vendors Portlet

         Contacts Portlet
                  The Contacts portlet displays available contacts for your system. There is no expanded version of
                  this portlet, but you can select multiple contacts (Ctrl+click).
                  By default, this portlet is available by selecting Settings > Groups & Locations from the navigation
                  bar.




                  You can right-click to act on the selected contact with the following menu items.
                  New/Edit — Opens the Contacts Editor, where you can create new contacts or alter existing ones.
                  Details—Displays a screen with contact-associated alarms, and the information entered in
                      contacts editor.
                  Delete—Delete the selected item. Caution: such deletions can impact anything else referring to
                      what you are deleting.
                  Because of its simplicity, this portlet does not have an expanded version, so no plus (+) appears in
                  its upper right corner.
                  OpenManage NM only retrieves Contact and Location information on initial discovery. You can
                  modify these once the resource is under management, however doing so will not modify any system
                  information on the device.

                       NOTE:
                        You can import contacts to Multitenant domains with a command line importer. The command is
                        importcontacts. This script is in the owareapps/redcell/bin directory. It takes the import file
                        name as a parameter. The domain must exist before it can import contacts, and it generates an error if
                        the contact specifies no domain, or if the domain does not exist. The required domains should exist in the
                        OpenManage NM system before import occurs. Example XML files (with the <customer> tag for
                        domains) are in owareapps\redcell\db.




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                                                     Contacts, Locations and Vendors Portlets | Resource Management



       Contacts Editor
               This editor has several panels where you can enter contact information (Name, Address, Phone, and
               so on). Click the tabs at the top of this screen to move between the panels. The Contact ID, a
               unique identifier for the contact in your system, is a required field at the top of the first page.




               Click Save to preserve your new or modified contact information. Click Cancel to leave the contact
               unmodified.

       Locations Portlet
               The Locations portlet displays configured locations in your system.
               By default, this portlet is available from the Settings page by selecting the Groups & Locations
               menu option.




               You can right-click to create, modify or remove (New, Open, Delete) the selected location. See
               Location Editor description below for more about editing or creating locations.
               If you select Topology, a map of the selected location’s connection to equipment appears. See
               Presentation Capabilities for more.




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Contacts, Locations and Vendors Portlets | Resource Management


                  This screen has the following columns:
                  [Icon]—The icon for this location.
                  Name—The name for this location.
                  Details—A description for this location.
                  Type—A designated type for the location.
                  In addition to the Location portlet, this section describes the:
                   •    Location Editor
                   •    Expanded Location Portlet
                   •    Tag

                  Location Editor




                  When you click New or Open, an editor appears. The Name field is mandatory.
                  Name—A unique name for the Location. If you alter the name of an existing location already in
                     use by existing equipment, the editor creates a new location. If you change the name of a
                     location, this change may take a short period to percolate to all managed objects that use it.
                     You can do this, though.
                  Parent — The “parent” of this location (the location to which this location is subordinate). Select a
                       Parent Location from the pick list. The maximum number of levels supported is 15.
                  Details—A text description of the location.
                  Type—Type of location, as selected from the drop-down menu. Available types are: Area Hub,
                      Customer, National Hub, Other, Provider, Regional Hub, and State.
                  Postal Address— The Street, City/State, Zip address of the location.
                  Additional— Any optional notes.




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               Click Save to save the Location, or any modifications you have made.

                         CAUTION:
                      Deleting locations can impact anything else referring to what you are deleting.

               Expanded Location Portlet
               The location portlet displays a list of all locations, with Snap Panels to display a selected location’s
               connection to the network and details.




               The New menu option appears in the expanded location portlet. Click Settings to change the
               column appearance (see Modifying Column Settings on page 146). This has the same columns as
               Locations Portlet on page 221.
               Selecting a location row displays the Reference Tree widget, with the selected location’s connection
               to hierarchical views (see Hierarchical View on page 234) and equipment. Click the plus (+) icons
               to expand the tree. The Location Details panel displays what has been configured in the Location
               Editor.




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Contacts, Locations and Vendors Portlets | Resource Management


                  Tag
                  When creating a location, OpenManage NM automatically selects the latitude and longitude for
                  the address entered for a location. Tag a location by right-clicking it in the Locations Portlet..




                  The location created by default is the address entered in the Locations Portlet editor. You can also
                  enter the address in the Search field, or click and drag the marker that appears on this screen. Click
                  Apply to accept the re-location. A Delete Tag button appears when you have created a tag, and lets
                  you remove it. Cancel closes the screen.

                        NOTE:
                        You can zoom in or out on the displayed map with the + and - buttons in the upper left corner of this
                        screen.


         Vendors Portlet
                  The Vendors portlet displays the available vendors for network resources. This portlet also has an
                  Expanded Vendor Portlet.
                  By default, this portlet is available from the Settings page by selecting the Groups & Locations
                  menu option.




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               Right-clicking a row lets you do the following:
               New/Edit—Opens the Vendor Editor where you can configure or re-configure a vendor.
               Details—Displays a panel showing the alarms, registered models, and identifiers for the selected
                   vendor.
               Topology—See a topology of the network filtered to display only the selected vendor, see
                   Presentation Capabilities
               Import/Export—Export the selected config file to disk, or import it from disk. You can also import/
                   export a selected configuration file.
                      Provides the following actions when available for the selected image:
                      • Import retrieves a file containing XML compliance descriptions. Some imports can
                        come from a URL.
                      • Export Selection exports the selected description to an XML file.
                      • Export All exports all descriptions to an XML file.
                      Click Download Export File to specify where to save the file.
                      The Import/Export option is useful as a backup or to share descriptors with other projects.
                      You must import data into the correct portlet. For example, you cannot import event data into
                      the Actions portlet.
                      If one type of data depends on another, you must import the other data before importing the
                      data that depends on it.
               Delete— Delete the selected item. Caution: such deletions can impact anything else referring to
                   what you are deleting.
               This screen has the following columns:
               Vendor Icon— The icon for this vendor.
               Enterprise Number—The enterprise number for this vendor.
               Vendor Name—The name for this vendor.

               Vendor Editor
               The Vendor editor configures (or re-configures) vendors.




               The General panel has the following fields:
               Vendor Name—A text identifier for the vendor.
               Enterprise —A numeric identifier for the vendor.




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Contacts, Locations and Vendors Portlets | Resource Management


                  Vendor Icon— Select an icon from the pick list.
                  From the Contacts panel, click the Add button to select from contacts in OpenManage NM to
                  associate with this vendor. See Contacts Portlet on page 220 and Contacts Editor on page 221 for
                  information about configuring contacts.

                  Expanded Vendor Portlet
                  When you expand the Vendor portlet, besides sharing you can also click Settings to configure the
                  columns that appear here (see Modifying Column Settings on page 146). This screen has the same
                  columns and menu items available as the summary portlet. The Reference Tree in the Widgets
                  panel displays a company icon for the selected vendor.




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Presentation Capabilities
You can display devices and network arrangements in a variety of ways. This section describes
the presentation capabilities user interface components and then provides some common tasks.
If you already have a good understanding of the portlets and editors, go directly to the tasks you
want to perform.
Presentation Portlets and Editors – 230
Understanding Hierarchical View – 253
Using Hierarchies – 254
Setting Up Google Maps – 255
Setting Up Nokia Maps – 256
Creating a Topology View – 257
Modifying Topology Label Length – 258
Exporting to Visio – 259

        CAUTION:
     If you installed a firewall on the application server, ports 80 and 8080 must both be open for topology
     feature to work.




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Presentation Portlets and Editors
                    This section describes the following presentation portlets and editors used to view your network
                    content graphically and to modify your graphical network view:
                     •    Hierarchical View Manager
                     •    Hierarchical View
                     •    Map Context
                     •    Maps and Hierarchical Views Together
                     •    System Topology
                     •    Topology Portlet
                     •    Topology Toolbar
                     •    Topology and View Configuration
                     •    Alarms in Topologies
                     •    Links in a Topology
                     •    Topology Views

          Hierarchical View Manager
                    Hierarchical View Manager portlet lets you create, edit and delete hierarchical tree models
                    displayed in Hierarchical Views (described in the next section). These hierarchical views filter what
                    appears in other portlets on the page with the Hierarchical View portlet.
                    The relationship to users and devices appears in Hierarchical View Manager Expanded.
                    Right-click to select from a menu with New, Edit and Delete, and Refresh Members/Alarm State.
                    Refreshing re-queries the database for members fitting the dynamic filter, or for new alarms for
                    members. Selecting New, or Edit displays the Hierarchical View Editor.
                    You can also Tag hierarchies so Map views show hierarchies. See Tag on page 235 for more about
                    how that works.
                    Access this portlet by selecting the Alarms/Events > Hierarchical View from the navigation bar.

                    Hierarchical View Manager Expanded
                    The expanded view displays the same information as the summary view, but displays the selected
                    hierarchy’s authorized users, creator, owner, and membership in the Reference Tree snap panel.




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               Multitenancy and Hierarchies
               If you have the multitenancy option installed, you can limit a hierarchy’s visibility to a tenant site,
               or to the entire system. You can also import hierarchies to target multitenant domains with a
               command line importer. The command is importcontainers and is in the owareapps/redcell/
               bin directory. This command takes the import file name an argument. The required domains
               should be available in the OpenManage NM system before import occurs. Example XML files
               (with the <customer> tag for domains) are in the owareapps\redcell\db directory.

               Hierarchical View Editor
               The Hierarchical View editor lets you create and manage hierarchies. You can also associate user
               authorizations with hierarchy models to specify which groups or users have access to contained
               items.




               In this editor, a tree panel on the left lets you build and navigate the hierarchical tree. Click Add
               Child (or Delete Child) to create (or remove) a node to/from the node you have selected in the
               tree. Clicking a node in the tree displays the tabbed panel on the right where you can edit it.
               The Hierarchical View Details panel has the following tabs:
                •     General
                •     Membership
                •     Authorizations
                •     Hierarchical View Display
               Click the labels at the top of the screen to access these. Alarm states and severities are recalculated
               and propagated for hierarchies as they are for System Topology on page 240.
               General
               This panel has the following fields:
               Name— The hierarchical view identifier.
               Description— A text description of the hierarchical view.
               Domain/Site Access—If you have the Multitenancy option installed, to expose a hierarchical view
                  or sub-hierarchical view within a site the hierarchy must specify that site. You can confine a
                  hierarchical view’s contents to what is visible on a single site. All hierarchical view contents
                  are visible for the master site.




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                    Owner—Select an owner for the hierarchical view. The owner of a hierarchical view can also
                       change the ownership of the hierarchical view.
                    Update View Authorizations—Clicking the link here automatically includes the creating user in
                        those authorized to see the hierarchical view. See Authorizations for more about them.
                    Membership
                    Hierarchical view membership defines the inventory items that are in a hierarchical view. You can
                    select either a Static membership, which cannot change, or a Dynamic one, based on a filter or
                    existing groups. When the OpenManage NM application evaluates the filter it adds the resulting
                    items as members in the hierarchical view.




                    The sub-tabs at the top of the screen let you edit these types. You can add individual items with the
                    Static tab, or the results of a Dynamic filter with that tab. See Managed Resource Groups on page
                    175 for more about the specifics of editing these dynamic groups.
                    When you add an item or filter to your hierarchical view, notice that the subsequent screen
                    contains a pick list Select an entity of the following type. The contents of that list can contain
                    several types of managed objects, including Contact, Equipment and Subcomponent, Interface,
                    Location, Managed Equipment, Port, and Vendor. Select the type appropriate for your hierarchical
                    view.
                    Click Save to preserve the membership you have configured. If you Group By Entity Type (at the
                    bottom of the screen) rather than None, the list of devices appears in a tree, with each node as an
                    entity type. Click the plus (+) to the left of the entity label to expand the tree.
                    Authorizations
                    This tab configures user or role access to the hierarchical view you are editing. By default, no
                    authorization exists to see a hierarchical view or its contents, so you must permit specified users
                    and roles to have access before any hierarchical views or their contents are visible in the
                    Hierarchical View portlet.




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               Click Add User or Add Role to select the users or groups with permission to access the hierarchical
               view you are configuring. By default hierarchical views are accessible to everyone.




               Each entry in the Hierarchical View Authorizations list specifies the name of the user or role, and
               whether the entry is inherited or not. A child hierarchical view by default inherits the
               authorizations from parent hierarchy, no explicit authorizations for child hierarchical views are
               necessary. Edit any authorizations in the parent.
               When editing a child hierarchical view, click a listed authorized user or role and its permissions
               appear in the panel at the bottom of this screen.
               Clicking Save preserves any alterations you have made. Confirm the hierarchical view is configured
               as you like by examining it in a Hierarchical View portlet.
               Hierarchical View Display
               This tab configures how the hierarchical view appears in the System Topology portlet.




               Selected hierarchical views’ labels appear in the Topology’s title bar. Configure the following display
               settings in this panel:
               Display Hierarchical View within Graph as—Select either Node or Group.
               Node Icon Type—This appears if you select Node. Use the pick list to select among the various
                   icon types as is appropriate for your hierarchical view.
               Group Style—Select either Default (Rectangle Shaded Group) or Cloud (Cloud Background
                   Image). The group is like the Expand Grouped capability described in Topology and View
                   Configuration on page 244. The Cloud is a cloud icon like the one you can add to views as
                   described in Topology Toolbar on page 241.
               Display Hierarchical View Name within Group—This appears if you select Group. Check it to
               display the hierarchical view name as a label within the group.




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          Hierarchical View
                    The (non-instanceable) Hierarchical View portlet displays configured hierarchical views authorized
                    for the logged-in user, in the color of the most severe alarm for equipment within that hierarchical
                    view. Because it is non-instanceable, only one can appear on a page.
                    Filter what appears on a page using the Hierarchical View portlet. Select a hierarchical view, and
                    the rest of the portlets on that page filter their data reporting to reflect that hierarchical view’s
                    contents. The only caveat to this type of filtering is that you can add only one Hierarchical View
                    portlet to a page.
                    Access this page by selecting the Alarms/Events > Hierarchical View from the navigation bar.




                    Expand the Hierarchical View tree to view its content. Hierarchical View contents sort
                    alphabetically, and alarms appear to the right of equipment displayed.
                    The hierarchical view selected acts as a filter for a screen’s other OpenManage NM portlets. If you
                    select “Folsom” as a location in the Hierarchical View portlet, then only items related to Folsom
                    devices appear in the other portlets on the page. If you select a parent hierarchical view, that
                    expands the selection to include all child hierarchical views’ selections. It does not, however select
                    everything. You can configure hierarchical views in Hierarchical View Editor on page 231. You may
                    have to wait a few moments to see a hierarchical view’s contents accurately.
                    Portlets that respond to Hierarchical View or Map Context “filtering” include the following: Audit
                    Trail, Event History, Locations, Vendors, Contacts, Managed Resources, Ports, Authentications,
                    Discovery Profiles, Monitors. If you have no hierarchical views configured, the other portlets appear
                    empty when Hierarchical View is on the same page.
                    See General > Entity Change Settings on page 34 for the way to set the summary portlet refresh
                    interval. The default is 40 seconds. If this portlet is in expanded mode, refresh does not occur
                    automatically, but you can refresh it manually.

                          NOTE:
                          If a Hierarchical View portlet displays unexpected results or no members at all, right-click it to refresh its
                          membership or alarm severity/state. Remember also that the visible changes may take a moment to
                          appear.
                    Right-clicking a hierarchical view displays the following menu items:
                    Refresh Members—Query the database again to populate any dynamic filter that is part of the
                         hierarchical view.




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               Details— Opens a details panel with a list of the hierarchical view’s contents (Members) as well as
                   hierarchical view members’ Alarms (Alarms and Event History) and History (Audit trails and
                   Configurations).
               Refresh Alarm State— Re-query the database to update the hierarchical view’s alarm state based
                    on its contents.
               Edit Resources—Open an editor screen for the hierarchical view that lets you change common
                    attributes within it.
               Topology—Display a hierarchical view in the System Topology portlet where you can drill in to see
                   its contents (see System Topology on page 240).
               Tag—Enter map location coordinates for the hierarchical view. See Hierarchical View in Tenant
               Sites and Tag for more details.
               Share with User

               Hierarchical View in Tenant Sites
               Within a Multitenant environment, only hierarchical views configured to appear in tenant sites
               appear there. If that hierarchical view contains equipment only visible on the master site, those
               devices will appear below the hierarchical view node, but will have no impact in filtering other
               portlets, like Alarms, for example.

               Tag
               When creating a hierarchical view or customer tag, OpenManage NM automatically selects the
               latitude and longitude of the address entered for a location. Tag a hierarchical view by right-clicking
               it from the Hierarchical View Manager on page 230.




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                    You can also enter the address in the Search field, or click and drag the marker that appears on this
                    screen. Click Apply to accept the re-location. A Delete Tag button appears when you have created a
                    tag, and lets you remove it. Cancel closes the screen.

                          NOTE:
                          You can zoom in or out on the displayed map with the + and - buttons in the upper left corner of this
                          screen.


          Map Context
                    In addition to displaying filtered-by-Hierarchical View portlets, you can view discovered devices in
                    the Map Context portlet, automatically placed by location.




                    Notice that you can move the center of the map with the arrows in its upper left corner above the
                    zoom in/out (+/-) buttons. The menu in the upper right corner lets you select a Map or Satellite
                    views, and fine-tune them to include labels, terrain and so on.
                    In addition to the Help and Settings icons at the top of this portlet, you can also Toggle Marker
                    Style (pushpins or triangles), Toggle Marker Clustering (combine markers into cluster marker when
                    they are near each other), or Search by Name for a location. Clustered markers display the number
                    of separate markers combined within them.




                          NOTE:
                          The Search function is case-sensitive. Omit the initial letter if you are uncertain about capitalization for a
                          tagged location.
                    Clicking the Settings icon produces a screen where you can configure the default marker style,
                    whether clustering is enabled, and where you can save the current map boundaries (Save Current
                    Bounds), which appear, read-only, below that option.




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               See General > Entity Change Settings on page 34 for the way to set the summary portlet refresh
               interval. The default is 40 seconds. This screen also sets the default center of your map.
               The page layout controls the width of the map. However you can control the height of the map
               with the Look and Feel configuration in the Advanced Styling tab.




               Add the following line to the custom CSS settings in this tab:
                      #portlet_8877_WAR_netview .gmap { height: 1000px !important; }
               This sets the height of the map context portlet to the configured number of pixels, here, 1000.
               Access this tab from the drop-down originating with the word Map in the top right corner of the
               portlet.
               Configure mapped hierarchical view or customer locations with the Tag menu item. See Tag on
               page 235 for an explanation. See Maps and Hierarchical Views Together below for more about
               their joint capabilities.




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          Map Context without Hierarchical Views
                    If a page has no hierarchical view then the Map Context can act like a Hierarchical View too. It
                    displays all tagged resources within the system (see Tag on page 235). Clicking on a tagged item
                    behaves like clicking a Hierarchical View portlet, confining displayed resources, alarms, and so on,
                    to those for the selected tag.




                    Each tagged coordinate is cross-correlated with the Alarm severity table (if there are alarms against
                    it) and its color reflects the current Alarm severity.

          Maps and Hierarchical Views Together
                    A map context portlet is in Standalone mode when no Hierarchical View portlet is on the same
                    page.




                    In Standalone mode you can determine exactly what portion of the map appears through the
                    Settings option (the wrench icon).
                    The map context portlet is in Hierarchical View Context mode when a Hierarchical View portlet is
                    on the same page. In these Hierarchical View Context configurations, the Hierarchical View portlet
                    determines what appears in the Map portlet, so the Map Context portlet resets its boundaries




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               based upon the geographic position of the selected hierarchical view's members. For example, you
               can select a hierarchical view (Morocco) resulting in two clustered pin for both Casablanca and
               Tangier.




               However if you select Casablanca from the hierarchical view the map automatically changes its
               presentation and boundaries based upon the members of the new selection. The view zooms to the
               street level in Casablanca.




               If you select Tangier and map presents the hierarchical view’s sites in a street-level view of Tangier    ier.




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          System Topology
                    The System Topology portlet displays discovered devices, mapping them in relationship to each
                    other. It also lets you store and retrieve views you have arranged, as well as configure the default
                    view (see Topology and View Configuration on page 244 for more about these capabilities). The
                    topology toolbar is common to both the this portlet and the Topology Portlet.
                    See General > Entity Change Settings on page 34 for the way to set the summary portlet refresh
                    interval. The default is 40 seconds.
                    The color displayed in these topologies indicates the alarm severity of the node or link (“edge”)
                    only. No color or icon indicates a device’s network status or availability, although hovering the
                    cursor over a node displays that information.

                          NOTE:
                          You can increase or decrease the size of icons in the Equipment Editor. Right-click a device in the
                          Managed Resources portlet, and select Edit. In the Extended Details panel, select Settings and a
                          Topology Icon Size pick list appears as one option to configure.
                    System Topology portlet also acts like a filter. Portlets like Alarms and Ports respond to clicking a
                    topology node, by displaying information relevant to only that node.




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          Topology Portlet
                      Use the Topology portlet to define topologies. This portlet is access from the Managed Resource
                      portlet by right-clicking resources and then selecting Topology. The topology toolbar is common to
                      both the this portlet and the System Topology portlet. It also lets you configure the default view
                      (see Topology and View Configuration on page 244 for more about these capabilities).


Toolbar
Breadcrumbs




Topology View




Layout
Configuration Toosl




          Topology Toolbar
                      The topology toolbar helps navigate through the topology, load a view, save a view, and so on.
                      When you click the Toggle Design Mode tool, several additional tools appear that let you manipulate the
                      topology view.

                      Tool                Description
                                          Toggle Design Mode(Ctrl+D) shows and hides the design tools, such as the line
                                          draw, undo/redo, group/ungroup, and so on.
                                          Click this to turn on the design tools, such as line draw, edge filtering, undo/redo, and
                                          so on. You can configure users’ permissions for Design Mode in Control Panel >
                                          Permissions manager. To disable Design mode, uncheck Visualizer permission both
                                          ADD and DELETE for all assigned roles (typically these include User, Power User,
                                          and sometimes Administrator).
                                          To enable Design Mode check Visualizer permission ADD and DELETE for roles
                                          (typically for the Administrator role). To give other-than-administrator users no
                                          Design Mode permission, uncheck ADD and DELETE for User and Power User
                                          assigned roles.
                                          Help Click this to turn access the online help for this screen.




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                    Tool                  Description
                                          Default Click the wrench icon to configure the default view. If the Topology portlet
                                          is on a page not driven by another Context—for example, Hierarchical—and you
                                          have write permission, then this icon appears. Clicking this lets you associate the
                                          Topology portlet on the current page to a selected view. To return to the default
                                          network view, click the red minus (-) in the settings. Any view change requires a page
                                          refresh after applying the revised setting.




                                          Search Node Elements within this Graph (Ctrl+S)
                                          Search for a particular node. This opens a screen displaying the search results, name,
                                          type of node and the node’s alarm severity. Click Select/Center Item on Graph to
                                          select a listed item.




                                          Note: Search also finds links or “edges” between devices, and saving a view preserves
                                          displayed links’ appearance.
                                          Selection Tool
                                          The cursor selects nodes. Click and drag around nodes to select several.
                                          Pan Tool
                                          The hand moves the background.
                                          Shortest Path Tool
                                          Click two nodes to highlight the shortest path between them. This simple tool looks
                                          for the shortest set of lines, and does not take into account factors like route cost,
                                          bandwidth, link status, and so on.
                                          Bifocal Effect
                                          Move the cursor to magnify nodes under it. Handy in a crowded view.
                                          Line Draw Click to select the type of line to draw, then shift+click two icons
                                          onscreen to draw the line.


                                          hidden with other view tools




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               Tool      Description
                         Zoom Out
                         These magnifying glass icons change the magnification for the view.
                         Zoom In


                         Load a View opens a saved view.


                         Delete and Reset Factory View tool


                         Save this View tool saves the current. Views include visible nodes and links, but you
                         cannot save the location of these nodes. (See Map Context on page 236 for a possible
                         alternative.)
                         Edge Filtering tool opens the Edge Filtering window, where you select whether to
                         enable edge filtering and then which links appear in the topology.
                         By default, edge filtering is not enabled and all links are selected.
                         Undo tool reverses the last action.


                         Redo tool puts the last action back.


                         Group tool puts the selected objects, lines, and labels together allowing you to move
                         the in tandem. Ctrl+click to select multiple objects.
                         These two icons group or ungroup selected icons labels and lines together so you can
                         move them in tandem. Ctrl+click to multi-select icons.
                         When you create a group, the Properties panel provides additional configuration
                         parameters. These include the Header panel where you can configure whether the
                         group header is Visible, its Label the Background and Text Color. Click the minus in
                         the header to minimize the group (and plus to expand a minimized group).
                         The Content panel lets you configure whether the group appears as a Panel or Cloud,
                         and its Background and Stroke colors.




                         Ungroup tool separates all objects, lines, and labels and you can no longer move the
                         objects in tandem.

                         Clear tool empties the topology view.




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                    Tool                  Description
                                          Add tool open the Add a Graph Element window where you select the element type
                                          (Label, Cloud, or Linked View) and whether it is a static placement.
                                          Use the Properties panel to configure the font, background color, label contents, and
                                          so on, after you select the added element.
                                          Note: If you configure and save a Drill-in view with the design tools, then that view
                                          persists for all drill-ins from that device until you remove it an icon that appears
                                          between view Open and Save when it is enabled. Deleting such a drill-in view
                                          restores the default settings.




                                          When you add these elements, you can elect to check Static Placement and they will
                                          not move with graphic elements when they are automatically re-arranged. You can,
                                          however, click and drag them.


          Topology and View Configuration
                    Click and drag displayed portions of this view to see other topology parts. To move the display
                    more, click in the Overview Panel. You can also expand/collapse the panels on the left of the screen
                    by clicking their title bars. (Figures below display them expanded.)




                    Nodes appear colored according to the alarm severity on the device, and white if no alarm exists for
                    the device. Hover the cursor over an icon or link between icons to see a small screen describing its
                    device (Name, Type, IP address), network status (Responding/Not Responding) and alarm severity.
                    Click an icon to highlight it (or click its name in the Top-Level Nodes Tab list) and its connections
                    to the network. See Alarms in Topologies on page 251 for more about the alarm severities
                    indicated by icons in topology.
                    Click the Legend Tab to see the lines meaning, links, and alarm colors. Hover the cursor over a link
                    to see its type described.
                    The topology toolbar helps navigate through the topology, load a view, save a view, and so on.




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               The right of the topology view displays the following panels:
                •     Overview Panel
                •     Layouts Panel
                •     Properties and Settings > Properties
                •     Legend Tab
                •     Top-Level Nodes Tab
               Click the triangles to the left of these panels’ labels to collapse or expand them.
               In addition to the screen components immediately displayed, you can right-click an icon or
               component, and Drill in or Expand a device to see its subcomponents. If you expand, then its
               subcomponents appear with the rest of the topology. If you Expand Grouped, then the
               subcomponents appear in a minimize-able block (hover your cursor to see the block in color, and
               click the circled minus to minimize the group).




               If you drill in, other components do not appear. In addition, you can select the Details menu option
               to open another browser window with the selected node’s Details. The Event History menu item
               also opens a new browser window with the selected node’s event history.

                      NOTE:
                      If you want to initiate Actions on a node or its components, do so by right-clicking the Details screen’s
                      Reference Tree.
               The Layouts Panel selections determine the arrangement of such expansions or drill-ins.
               When you drill in, the path back to the top level appears below the topology.
               Click the level where you want to “drill out,” or click Home to go to the top level.
               If you right-click the blank area of the screen, you can Export it as either a .png image or GML
               (graphic markup language), or print the displayed topology.
               You can also right-click to Remove Node and delete a device from a view. You cannot add nodes to a
               view; you must add them when you create the view. You can visualize Managed Resource Groups,
               however, or simply go to the expanded Managed Resources portlet, select multiple resources
               (Ctrl+click), and the right-click > Topology.

                      NOTE:
                      Because Topology uses Adobe Flash, menu items appear for that software when you right-click nodes.
                      This includes Settings, Global Settings and About Flash menu items. The text below does not discuss
                      these since they relate to Adobe products.

               Overview Panel
               The Overview panel displays a thumbnail of the entire topology view. Click on a location to center
               on it in the topology view.




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                    Use the slider at to change the magnification of your view. The icons to the right of the slider let
                    you click them to fit visible icons vertically and both vertically and horizontally. You can also click
                    and drag the cursor within this overview to change the magnification.




                    Layouts Panel
                    The Layouts panel lets you select and configure the automated node layout type that appears in
                    the topology display.
                    Access this panel by selecting the Properties and Settings > Layouts tab.




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               Use one of the following layout tools to specify a layout type and its settings. The fields and options
               available depend on the layout selected.

                         CAUTION:
                      Layout settings become fixed once you save a view. For example, when you save a view with a particular
                      line style, that line style is not something you can alter later. Saved Views do not preserve links if they
                      include non-grouped hierarchical views (single-node representations).

               Layout Tool            Description
                                      Hierarchical-Cyclic layouts arrange connections in a hierarchy.




                                      Use the following settings to alter its appearance:
                                      • Orientation (Vertical or Horizontal)
                                      • Vertical Spacing (High, Medium, or Low)
                                      • Horizontal Spacing (High, Medium, or Low
                                      • Line Style (Orthogonal polyline, Straight, Straight polyline, Curved polyline, or
                                        Orthogonal curved)
                                      Orthogonal layout connections include right-angles.




                                      Use the following settings to alter its appearance:
                                      • Grid Spacing (High, Medium, or Low)
                                      • Use Diagonal Edges enables edges that have non-right angles




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                    Layout Tool           Description
                                          Circular layouts arrange all nodes in a circle.




                                          Use the following settings to alter its appearance:
                                          • Layout Angle (360 or 180)
                                          • Nodes spacing (High, Medium, or Low)
                                          Balloon layouts display links between managed objects in a balloon tree structure.
                                          The root is typically whatever device you expanded or drilled into.




                                          Use the following settings to alter its appearance:
                                          • Root/Child wedge angle sector uses radio buttons to determine the angle (360,
                                            180). The root sector determines how much of an arc around that root the child
                                            nodes fill. The child sector determines the orientation around the child nodes.
                                          • Root selection policy specifies the item you want at the center of this view
                                            (Directed [a pop-up appears with the remaining selections], Most closed/
                                            surrounded/weighted).
                                          • Equal angle distribution specifies whether to distribute nodes at equal angles.
                                          Radial layouts arrange nodes in concentric rings.




                                          Use the following settings to alter its appearance:
                                          • Layout angle uses the radio buttons determine the angle (360, 180).
                                          • Root selection policy specifies the item you want at the center of this view
                                            (Directed [a pop-up appears with the remaining selections], Most closed/
                                            surrounded/weighted).
                                          Organic layout produces a static GEM layout, withou any parameters to tune.




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               Properties and Settings > Properties
               This panel configures the System Topology view properties. This panel has the following fields (you
               must click the Design Mode icon in the upper left corner to see all of them).




               Background Settings
               The background settings allow you to set:
               Background Color—Click the icon to see a color selector where you can select the background
                   color for the System Topology view.
               Image Source—Click the Browse icon to select a graphic for the background.
               Image Opacity—Use the slider to set the background opacity.
               Global Settings
               Node Labels— Check to label nodes in the System Topology view.




               Legend Tab
               This displays the meaning of various link types and alarm severity colors in the System Topology
               view. It describes only the type of links that appear onscreen in the topology.




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                    Top-Level Nodes Tab
                    This displays a legend of icon types followed by a count (in parentheses) of how many of each
                    appear in the topology. The switch at the bottom of this panel centers the display around the
                    selected icon.




                    Click the plus (+) to the left of the inventory category icons to display a list of devices in that
                    category in the topology. Click on a list item to highlight that device and its network connection in
                    the topology view. A colored glow highlights it and its network connection(s). The listed inventory
                    changes if you drill in.




                    The listed text appears in the alarm color of the device. See Alarms in Topologies on page 251.




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       Alarms in Topologies
               Colored rectangles appear around topology nodes to indicate the highest alarm on them. Expand or
               drill in to see alarms on the sub-components. For information about the alarm, hover your cursor
               over the device or subcomponent, and a tooltip appears describing the alarm’s severity appears. The
               alarms indicated are like alarms described in the portlet Alarms Portlet on page 284.
                  Expanding to
                  see the alarmed
                  sub-
                  component.




               By default, un-alarmed nodes appear clear/white. You can alter this so they appear green instead. To
               change this behavior, uncomment the following property:
               nodes.display.clear.severity.as.green=true
               This property is located in the server-overrides.properties.sample file in the \oware\synergy\conf
               directory, and save the file as serveroverrides.properties in that directory.
               By adding icons to the devices, the topology also displays the alarm suppression and maintenance
               status of devices in the Topology view.




               Here are the icons and their significance:

               Icon       Device Status
                          No icon—The device is unconstrained by the other Administrative States. Changing from
                          Suspended to Normal stops alarm suppression. Standard access, and inclusion in right-to-
                          manage count.
                          Alarm Suppression active—Activated from the Managed Resources, Event Management pop-
                          up menu option.
                          Decommissioned — While this device is in inventory, it is not active. No device access allowed,
                          no Monitor associations, no event processing, no Management Interfaces, no Authentication,
                          no links, and no services are permitted.
                          Down—The device is down.

                          Maintenance — Neither alarms or polling apply to the device. Does allow resync and Adaptive
                          CLI. Standard device visibility.
                          Planned — Planned (future) device. No device access allowed, no monitor associations, and no
                          event processing.
                          Suspended — Suspends all device-related activities. No device access allowed, Monitoring
                          Suspended, No event processing, Counts against right-to-manage.

               You can set these alarm suppression and maintenance statuses in the right-click Event
               Management and Maintenance menus in the Managed Resources portlet.




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          Links in a Topology
                    When you discover links between devices in your network (see Link Discovery on page 190), they
                    show in a topology view.




                    Hover the cursor over a link, and a panel the color of the link’s alarm severity, appears with the link
                    information (Name, Type (for example: Ethernet), Severity, and A/Z Names for the endpoints).
                    OpenManage NM currently does not support displaying one-ended links.

          Topology Views
                    The Topology Views portlet displays saved views, and when it is on the same page as the System
                    Topology portlet, filters that portlet so it displays the selected, saved topology.




                    Right-clicking selected views, lets you Edit the title of the view, or its description, or Delete the
                    selected view.




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                                                                 Understanding Hierarchical View | Presentation Capabilities



Understanding Hierarchical View
               Hierarchical views manage what appears in other portlets on the same page, including Topology
               and Maps portlets. If a page with a Topology portlet has no Hierarchical View portlet, clicking a
               topology node limits other portlets on that page to only that node’s information (for example
               Alarms).
               Here are the context display rules for how portlets manage each others’ displays:

               Rule                   Description
               1                      If the Hierarchical View portlet is on a page, its selections drive all portlets that
                                      accept context. If you have no hierarchies configured, the other portlets are empty.
                                      If the Hierarchical View portlet is not on a page, then the remaining rules may apply.
               2                      If the System Topology portlet is on a page, it acts like the Hierarchical View portlet
                                      and drives all portlets’ appearance.
               3                      If rules 1 and 2 are not in effect, the Managed Resources portlet drives Ports and
                                      Links portlets’ appearance.
               4                      If rule 1 is not in effect and the Topology Views portlet is on the same page as the
                                      System Topology portlet, the selected view appears in the Topology portlet.

               The context rule displays in a portlet’s header if its appearance is being managed by another portlet
               as defined by these context display rules.
               When a page with a Hierarchial View loads, the hierarchy loads first and then starts polling. If a
               System Topology portlet is on the same page as a Hierarchical View portlet, the System Topology
               portlet starts its polling after the page loads, so some lag may occur between the Hierarchical View
               and Topology Views portlets, depending on your settings. Clicking Context from a portlet or
               drilling down or expanding nodes in the Topology portlet resets the refresh timer since it may poll
               different nodes. This can also offset refresh timing for different page elements. You can change
               refresh timing from the Application Settings window (see Redcell > Application Settings on page
               34 for details), but synchronizing such portlets is not likely.

                      NOTE:
                      Some portlets may display a selected context without operating as though it was selected. For example if
                      you put Managed Resources.
               Some pages may not exhibit this default behavior. For example, custom branding on pages may
               interfere with these rules, in which case, you can see the default behavior by creating a new page
               with the relevant portlets. You may also try refreshing the page.
               You can disable the context responses in the Alarms portlet from its preferences menu (click the
               wrench). When you disable context responses, the Alarm portlet instance’s auto refresh displays
               new, unique alarms, but does not display, for example, a selected hierarchical view’s alarms.
               Otherwise, you must change the context call from the Hierarchical View portlet to refresh alarms.




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Using Hierarchies | Presentation Capabilities



Using Hierarchies
                    Use hierarchies as follows.
                      1   Create the hierarchies you would like for filtering resource views.
                          For example, create a hierarchy for each customer or location.

                             CAUTION:
                          By default, hierarchies are configured without any authorizations. Make sure that you configure
                          authorizations so you can see the hierarchy once it is configured. Otherwise, it is not visible.
                          a. Navigate to the Hierarchical View Manager portlet (Alarms/Events > Hierarchical View).
                          b. Right-click the portlet and then select New.
                              The Creating New Root Hierarchical View window is displayed.
                          c. Enter a name and description.
                          d. Specify membership, such as customers.
                          e. Set Authorizations.
                          f. Choose the topology display object.
                          g. Click Save.
                      2   Create a page with the Managed Resources portlet or other hierarchy-filtered portlets (Ports,
                          Alarms, and so on).
                      3   Add the Hierarchical View portlet to that page.
                      4   Select the hierarchy by which to filter.
                      5   Observe the other portlets to see resources assigned to the selected hierarchy, such as,
                          customer or location.




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                                                                       Setting Up Google Maps | Presentation Capabilities



Setting Up Google Maps
               Google now requires an API key to use their google maps API. Set up Google Maps as follows.

                      NOTE:
                      If you do not specify an API key, the OpenManage NM (OMNM) default key is used but you may be
                      severely limited in the number of map downloads you can make.
                1     Go to https://console.developers.google.com.
                2     Create a google account if you do not already have one.
                3     Click the APIs & Services Library link.
                4     Click Google Maps JavaScript API.
                5     Click Create Project.
                6     Click Create a Project under API Manager Dashboard.
                7     Type in a project name and click yes to agree to terms of service.
                8     Click Create.
                9     Click Enable.
               10     Click Create Credentials.
               11     Under “Which API are you using?” select “Google Maps JavaScript API”.
               12     Under “Where will you be calling the API from?” select Web browser (Javascript).
               13     Click the “What Credentials do I need?” link.
               14     Type a name for your API key.
               15     Click Create API key.
               16     Copy down the API key value.
               17     Go to the OMNM Control Panel > Redcell >Application Settings.
               18     Click the User Interface tab.
               19     Select Google Maps as the map provider.
               20     Enter the API key in the Application ID field.
               21     Click Save.




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Setting Up Nokia Maps | Presentation Capabilities



Setting Up Nokia Maps
                   By default, the OpenManage NM (OMNM) application uses Google maps. To use the Nokia maps
                   service, you need App ID and App token. Set up Nokia maps service as follows.
                     1   Get an ID and token from https://developer.here.net.
                     2   Click Sign In.
                     3   Click on Register.
                     4   Create Your Nokia Account.
                     5   Click Register.
                     6   Click “Create app” and provide an application name.
                         For example: OpenManage NM
                     7   Click Get Started.
                     8   Click Done.
                     9   Copy the App ID and App token.
                    10   Go to the OMNM Control Panel > Redcell >Application Settings.
                    11   Click the User Interface tab.
                    12   Select Nokia Maps as the map provider.
                    13   Enter the API key in the Application ID field.
                    14   Click Save.




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                                                                          Creating a Topology View | Presentation Capabilities



Creating a Topology View
               Creating a topology map of devices or services is as simple as right-clicking the items you want to
               map, and selecting Topology. You can also save different topologies after configuration and fine-
               tune its appearance using the tools provided. For a detailed description of the Virtualize portlet and
               its available options, see Topology Portlet on page 241.

                         CAUTION:
                      If you installed a firewall on the application server, ports 80 and 8080 must be open for topology to work.
               Create a topology map as follows.
                1     Navigate to the Managed Resources portlet.
                2     Select the items you want to include in the topology map.
                3     Right-click the selections and then select Topology.
                      The Topology portlet is displayed.
                      Note that Topology uses Adobe Flash. The pop-up menu includes the Flash Settings, Global
                      Settings, and About Flash menu items.
                4     Organize the objects and draw the needed connectors.
                5     Save your view.
                      Your view is now available from the Topology Views portlet.
                6     Fine-tune your view using the Overview, Layout, and Properties options.
                7     Save any changes.
                      If you do not see what you expect, make sure that you refresh your browser so cached images
                      do not interfere with current images.
                      If you want to initiate Actions on a node or its components, right-click the node, select
                      Details, right-click the reference tree node/component, and then select Actions.




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Modifying Topology Label Length | Presentation Capabilities



Modifying Topology Label Length
                   Labels default to 13 characters, but you can extend them to a wider size by adding the following
                   property to the installDir/oware/synergy/conf/server-overrides.properties file:
                   nodes.labels.extended.width=true
                   Otherwise, you can force an extended label with your Extension so it is automatic. Using your
                   extension, you can do it within the PortletProvider#getPortalProperties() call.
                   For example:

                         public Properties getPortalProperties() {
                             Properties props = new Properties();
                             props.put("nodes.labels.extended.width", "true");
                             return props;
                         }

                         NOTE:
                         This allows labels to be much longer but adds the possibility of text bleeding on top of other nodes.




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                                                                             Exporting to Visio | Presentation Capabilities



Exporting to Visio
               Export a topology view to Visio as follows.
                1     Create a topology view if it does not already exist.
                      See Creating a Topology View on page 257 if you need some detailed steps.
                2     Go to the Topology Views portlet.
                3     Right-click the view you want to export and then select Export to Visio.




                      A message displays indicating that the view was exported.
                4     Click Download Visio File.
                      This downloads the Visio file to your browser. The equipment and link tooltips are saved in
                      the Visio shape data. To see the shape data in Visio, right-click the shape or link (connector)
                      and then select Data > Shape Data.




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                                                                                                     5
Generating Reports
This section describes report-related portlets and editors, and tasks related to creating a report
template, generating reports, and printing groups of reports. If you already have a good
understanding of the portlets and editors, go directly to the tasks you want to perform.
Report Portlets/Editors – 262
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Report Portlets/Editors | Generating Reports



Report Portlets/Editors
                    This section describes the following report-related portlets and editors:
                     •   Report Templates Portlet
                     •   Report Template Editors
                     •   Reports Portlet
                     •   Expanded Reports Portlet
                     •   Report Editor

          Report Templates Portlet
                    Report Templates are the basis of reports. This portlet displays the Template Name, Description,
                    Inventory Entity, and Type in columns.




                    Right-clicking in this portlet lets you create a New template, Edit a selected template (see Report
                    Template Editors for information about subsequent screens), view Details or Delete a selected
                    template. You can also Import/Export report templates to files.
                    The expanded Report Templates portlet also includes a Reference Tree snap panel displaying a tree
                    for selected templates connecting them to Report Groups and specific reports.

                         NOTE:
                         You can create reports related to users and their groups. Create a new report and select Permission as
                         the Source of attributes in Report Template editor to begin.




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       Report Template Editors
               OpenManage NM has several report template editors. Creating a New template, can make
               Comparison, Table and Trend templates.




               Table reports simply report the configured data in tabular form as you have configured the
               columns. Comparison reports display selected attributes comparing reporting devices, for example
               a summary graph then a list of devices’ ICMP monitor RTT in the following pages.
               A Trend Report displays a data graph with data reported over a polled period.
               You can now select more than one attribute for trend reports. Chart generation depends on the
               number of attributes selected and the number of targets:
                •    1 target, n attributes produces 1 chart with all attributes (line series graph only)
                •    n targets, 1 attribute produces 1 chart with all the targets
                •    x targets, n attributes produces n charts with x targets on each
               This editor has General, Source, and Layout panels.
               You can edit any but pre-existing templates, whether they have reports attached to them or not.
               Consider this example:
               Template T has three columns; A, B and C. Someone creates a report R against Template T,
               executes the report, saves the data as a historical report H1. Two weeks later, someone modifies the
               Template T, removing column C, adding column D.
               When executing report R against the revised Template T’, the report now shows columns A, B and
               D. User saves the report as historical report H2. Here, H1 only has data for columns A, B and C. H2
               has data for columns A, B and D.
               If you view H1 you see Template T’ is in use and this template creates a report with columns A, B
               and D. Unfortunately, H1 only has data for columns A, B and C, so the report created has data for
               columns A and B only. Column D is empty. When viewing H2 you can see Template T’ is in use
               and can create a report with columns A, B and D. H2 has data for columns A, B and D, so all data
               appears.




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Report Portlets/Editors | Generating Reports


                    General
                    The following are fields that appear on these screens. Not all screens have all fields.
                    General Settings
                    Name—An identifier for the template.
                    Description—An optional description of the template.
                    Chart Type—Select from the available alternatives (column, line). This is only available for trend
                        and comparison templates.
                    Summarize by Group—Group similar results together. This is only available for trend and
                       comparison templates
                    Advanced Settings
                    Orientation— Select from Portrait and Landscape
                    Include Chart Details—Includes a table with the data after the graph. This is only available for
                         trend and comparison templates
                    Report Summary— Enables the report summary, which places the total count of records at the end
                        of the report.
                    Row Separator—Displays a separator between rows within the report.
                    Page Header Position— Select none, top, bottom or both.
                    Auto Column Split— Enable automatic column splitting. This automatically aligns the columns
                        equally on the report providing the column widths that are most proportional.
                    Group on First Attribute— Creates a report that groups rows based on the first reported attribute.
                        This creates groups of items in the report whenever the left most column’s value changes.
                         For example, with disabled, a report looks like this:
                             Device Name         Gig/e Port Name       Health Status
                             M5                               ge/0/0/1                                Up
                             M5                               ge/0/0/2                                Down
                             M5                               ge/0/0/3                                Up
                             M5                               ge/0/0/4                                Unknown
                             M18                              ge/0/1/1                               Up
                             M18                             ge/0/1/2                                Starting
                             M18                             ge/0/1/3                                Up
                             M18                             ge/0/1/4                                Down
                         The same report looks like this with Group on First Attribute enabled:
                             Device Name         Gig/e Port Name             Health Status
                             M5
                             ge/0/0/1                            Up
                             ge/0/0/2                            Down
                             ge/0/0/3                            Up
                             ge/0/0/4                            Unknown

                             M18
                             ge/0/1/1                           Up
                             ge/0/1/2                            Starting
                             ge/0/1/3                            Up
                             ge/0/1/4                            Down




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               Alternative ways of Grouping Attributes in Reports—The following are ways to turn on grouping
                    in a report template.
                     • Select Group on First Attribute. This groups output based only on the first attribute as
                       described above.
                     • Do not select Group on First Attribute—In the layout for each column select group by
                       for the individual attributes you wish to report together. This method creates separate
                       groups for each attribute, groups within groups appear.
               Select both of the above. This method creates a single group using all the columns you have
               selected in attribute layout and inserts a count for each group.
               The Source and Layout tabs are common to all editors.
               Summarize Data Only - Generates a report that only shows the raw data, with no column or page
                  headers and no group summaries.

               Source
               Select the source inventory for a report, and its data types in this screen.




               Click the green plus (+) to select the Inventory Type. The types of data available for that inventory
               type appear in the leftmost column in this screen. Click on a Selected Type to see its Available
               Columns. Click the arrows to move columns from Available to Selected. The Selected Columns
               appear in the template’s report.




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Report Portlets/Editors | Generating Reports


                    Layout
                    This tab outlines the column layout for the template.




                    Click on the up/down arrows on the right of each row to re-order data columns. Click to select a
                    row, and the editor panel at the bottom of the screen appears. It has the following fields:




                    Column Text— The column label.
                    Horizontal Alignment—Right, Left, Center (the default).
                    Column Width—The column width in characters.
                    Sort Priority—Configures report sorting. Define the attribute sort order here. You can sort within
                         a sort, so you can sort on Name and then by Location and then by IP Address, and so on. The
                         number configures the sort group, so 1 sorts, then 2 within 1, then 3, and so on.
                         The report sorts the leftmost column first and then the sort priority moves left to right.
                    Font Size— The data’s font size.
                    Font/Background Color— The color for the text/background. Click the field to open a color
                         chooser.
                    Calculation Type—How to calculate for summarizing the numeric data. Select from the available
                        options, which includes Average, Min, Max, Sum, and Min/Avg/Max (which shows each of
                        these together). If Min/Avg/Max is selected for at least one attribute a report summary header



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                                                                           Report Portlets/Editors | Generating Reports


                     will be created at the top of the report showing the average max and min values for the
                     attribute calculated over all the data rows in the report. The following screenshot shows an
                     example report summary:




               Group data by this attribute — If checked, the data will be grouped by this attribute, which means
               that every distinct value for this attribute will only appear once as a group header and the related
               data for the other attributes will show rows below this header.
               Sort Type — Select ascending or descending.
               Click Save to preserve any template you have configured, or Close to close the editor screens
               without saving.

       Reports Portlet
               This portlet’s summary screen lists the available reports that you can run with OpenManage NM.




               The report Icon, Name, Template, and Subtitle appear in the columns in this summary screen.
               Generally speaking, the report selects the target equipment, and the template configures the layout
               and attributes reported. If the Interface details panel is empty, then the Interface reports will have
               no contents. Some devices have ports, but no interfaces. Use the Ports report for such devices.
               OpenManage NM generates reports with only the first 5,000 records by default. Larger reports warn
               that they have reached the maximum, and have only those first 5,000 records.
               You can change the maximum with the property
               com.dorado.redcell.reports.max.report.query.size=5000




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Report Portlets/Editors | Generating Reports


                    in rpt.properties file in /owareapps/reports/lib/.
                    Larger numbers have an impact on the performance of the report and database.

                         NOTE:
                         You must have Adobe’s Acrobat reader installed to view reports.
                    Right-click a selected report to do the following:
                    New/Edit/Copy —This opens the Report Editor, described below, to configure a new report, edit
                        or copy an existing, selected report. Copy automatically renames the selected report.
                    New Group— Creates a collection of reports. See Printing Groups of Reports on page 277 for
                        details about how to configure these.
                    Schedule— Opens a scheduler screen to automate report creation.
                    Execute Report— When you execute a report, a numbered message notification appears, and a
                        link to the report appears in the Messages panel to notify you the report is ready for viewing.
                        Click the magnifying glass to the right of the notification to view either the audit trail or the
                        report.




                         Lengthy Reports may take a some time to appear onscreen without much indication that they
                         are in process. This is an artifact of the Acrobat plug-in, and outside the scope of
                         OpenManage NM to influence. Acrobat also produces an error if a report has too much data
                         to display meaningfully.




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                     Execute Report (Advanced)— Also lets you schedule configure a few other things with
                     reports.




                     When you View or Execute Report (Advanced), by right-clicking either a listed report or a
                     historical instance of that report, a configuration screen appears that lets you select several
                     parameters.
                     These include the following:
                     Report Email/Export Type—Select the export file type from the pick list. Options can
                        include CSV, HTML, and PDF.

                     NOTE:
                     Programs other than OpenManage NM let you manipulate mail outside the scope of OpenManage NM.
                     For example IFTTT (If This Then That) could save mail attachments like reports to Dropbox accounts.
                     Also: Open CSV output in a spreadsheet for additional formatting options.
                     Overwrite Existing—Check to activate overwriting any existing report.
                     Save—Check to activate saving the report to the database.
                     Notify—Check to activate emitting a notification event.
                     Email Address—Enter an e-mail destination for the generated report, and click the plus (+)
                        to list it. You can enter several such e-mails.
                     Export Directory—Enter directory destinations for saved reports as you would e-mail desti-
                         nations.x
                     Click Add Schedule to schedule the report for future or repeated execution, Execute to run
                     the report immediately, or Save to preserve this report’s configuration. The Job Viewer tab
                     displays the report’s progress if you click Execute.

                        CAUTION:
                     Reports can be large. Typically the limitations on e-mail within your system are what limit the size of
                     deliverable reports. Best practice is to use filters and a limited number of targets to make reports
                     succinct rather than comprehensive.




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Report Portlets/Editors | Generating Reports


                    Aging Policy—If you automate report generation, you may also want to configure a Database
                        Aging Policy to insure the volume of reports does not overwhelm your storage capacity. See
                        Implementing DAP on page 73 for more about doing that.
                    Delete—Removes the selected report from the list display
                    Delete History— Removes the selected report’s history.
                    To change reports’ appearance and contents, you must configure their Report Templates Portlet.
                    Also, see Branding Reports on page 275 for instructions about changing the default report logo.

          Expanded Reports Portlet
                    Clicking the plus (+) icon displays the expanded portlet. the expanded portlet adds Add/Remove
                    Column to the menu options available in the summary screen.




                    Available columns are like those described in the summary screen section previously. The Reference
                    Tree snap panel displays the selected report’s connection to devices, historical reports and any
                    report template. Right-click to view the reports in the Historical Reports node.
                    The Widgets panels for reports display a Reference Tree of connections between the selected report
                    and target equipment, and between the report and any Report Template.
                    The Report History Snap Panel displays the selected report’s Run Date, Row Count and the User
                    who ran the report. Right-click a row in this panel, and you can Delete, Print (the report history) or
                    Export (the report history), View (the report) or View (Advanced). If you View the report, a
                    message with a link to the report appears in the bottom left of the screen.




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       Report Editor
               This editor configures reports, and their targets. It has the following panels:
                •    General
                •    Filter

               General
               This screen configures the Name, Title (displayed text in the report), Subtitle, and lets you select
               the Report Template for the report (see Report Templates Portlet on page 262 for more about
               them)




               Filter
               This screen configures a filter to retrieve devices that are the source of the report.




               Click Add Filter in the filter panel to select an existing filter, create a new filter, or copy an existing
               filter. When you create a new filter, you must enter a Name and optionally a Description for it,
               select an Entity Type with the green plus (+), and elect whether this filter is available to other users
               (Shared). See Defining Advanced Filters on page 147 for instructions about configuring the filter
               itself in the lower portion of this screen.



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                    Once you have configured or selected a filter, the Filter panel displays its characteristics in tree
                    form. Click Edit to re-open the editor, or Del to remove the filter. Filters appear only from the
                    entity type of your report template.




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                                                                         Creating a Report Template | Generating Reports



Creating a Report Template
               Formatting counts in making reports useful. Sometimes the output limitations need to inform the
               formatting you select. For example, PDF output does not handle large numbers of columns well,
               while CSV (importable into Excel) output has no problem with it. Best practice is to test reports
               you configure before putting them into production. For a detailed description of the Report
               Templates portlet and related editors, see Report Templates Portlet on page 262.
               Create a report template from the Report Templates portlet as follows.
                1    Right-click the portlet and then select New > template Type.
                     The Creating New Report Template window is displayed.
                2    Name the template (for example: Test Amigopod Report).
                3    Optionally enter a detailed description for the template.
                4    Make sure that the advanced settings are correct, such as orientation.
                     The defaults are Landscape.
                5    Click the Source tab.
                     The Source panel displays a list of inventory sources.
                6    Select an inventory source (for example: Inventory resources [A - DD] Amigopod).
                     A list of values related to the selected source is displayed.
                7    Select the appropriate value.
                     The Inventory columns lists are populated.
                8    Select a type.
                9    Populate the selected columns list from the available columns list (for example: Amigopod:
                     Administrative State, Amigopod: DNS Hostname, Amigopod: Equipment Name,
                     Amigopod:IP Address)
                     If you populate the selected columns list in the order you want them to appear in the report,
                     they automatically appear in this order on the Layout panel and you can skip to step 12.
                     Otherwise, continue with step 10.
               10    Click the Layout tab.
                     The Layout panel lists the column order (top is first, bottom is last) and the default column
                     settings.
               11    Click the Edit action tool to modify a column’s the font size, color, alignment, and so on and
                     then Apply your changes.
               12    Click Save.
                     You have successfully created a template.




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Generating a Report | Generating Reports



Generating a Report
                   To generate a report, you first configure the report and then generate it from the Reports portlet.
                   For a detailed description of the Reports portlet and related editors, see Reports Portlet on page
                   267.

                         NOTE:
                         If you create a report based on interface monitoring, remember, the interface monitor is disabled as
                         default. Additionally, some reports rely on data collected through Actions and are empty unless the
                         Action supplying data is executed first. For example, to generate a report using VLAN data, you need to
                         execute the “Get VLAN Data” action first. Without data, the report is empty.
                   For an example of a standard system report, see User Login Report on page 280.
                   Generate a report from the Reports portlet as follows.
                     1   Right-click a report and then select New.
                         The Creating New Report window is displayed.
                     2   Name the report (for example: Test Juniper Router Report).
                     3   Enter a title and/or subtitle for the report (such as Juniper Routers).
                     4   Select a template for the report.
                         For example, the template configured in Creating a Report Template on page 273.
                         Note that if you create a template, the first report you create after making that template
                         automatically selects the newly created template.
                     5   Click the Filters tab.
                     6   Add a a filter to confine the reports input to certain devices, locations, and so on.
                         For example, select the existing All Juniper Routers filter.
                     7   Click Save.
                     8   Locate the newly created report in the Reports portlet.
                     9   Right-click the report and then select Execute Report.
                         A message of success or failure is displayed.
                    10   Click My Alerts from the portal status bar.
                         The My Alert/Action History window displays a notification that the report is ready for
                         viewing.
                    11   Click the magnifying glass tool for the report message.
                         The report displays in a new window.
                    12   Hover your cursor over the lower right corner of the report to show tools that let you expand,
                         zoom out and in, save, or print the report.




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                                                                                        Branding Reports | Generating Reports



Branding Reports
               Reports come with a default logo, but you can change that. Put the graphic file (.png, .jpg or .gif)
               with your desired logo in a directory on the application server.

                        CAUTION:
                     If you have a distributed installation, make sure this image and property are on all servers.
               Brand reports with a different logo as follows.
                1    Create an image that is no taller that 50 pixels, and no wider than 50 pixels.
                2    Save the image file as .png, .jpg, or .gif.
                3    Navigate to the installed.properties file located in the owareapps/installprops/lib/ directory.
                4    Alter the image property in the installed.properties file.
                     redcell.report.branding.image=<filename_here>
                     For example:
                     redcell.report.branding.image=C:/installPath/owareapps/redcell/images/
                      TestImage.png
                     Notice that you must use the forward slashes, (not backslashes as is typical of Windows) when
                     you specify the path.
                5    Verify that the logo changes by generating a report.




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Adding Custom Report Images | Generating Reports



Adding Custom Report Images
                  You can uploading images that appear, branding reports into the portal’s Documents and Media
                  portlet. Put them in the pre-seeded folder named Report Images. By default reports use the site
                  logo in reports if you have set up no override.
                  Site Override—To override the logo for every report that does not have an individual custom logo
                       setup, upload the image into the Documents and Media/Reports Images folder and name it
                       report logo. This image becomes the site's default report logo.
                  Individual Report Override —Individual reports. To override the logo for individual reports,
                  upload an image into the Documents and Media/ Reports Images folder. It then appears in the
                  report editor as a selectable branding images. Users can view and select these images if they have
                  the correct permission with write privileges (Permission-RP:ReportTitleImage).




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                                                                               Printing Groups of Reports | Generating Reports



Printing Groups of Reports
               You can print a collection of several reports and generate a table of contents if the collection is large
               enough to warrant it. Print groups of reports from the Reports portlet as follows.
                1    Right-click and then select New Group.
                     The Group Report editor is displayed.




                2    Enter the name and optionally a title and subtitle.

                     NOTE:
                     Reports within the report group are sorted by title. If no title specified, the report name is used as the map
                     key.
                3    Select whether to generate a table of contents.




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Printing Groups of Reports | Generating Reports


                         The generated table of contents lists reports by group.




                     4   Click Add Report (+).
                         A list of reports from which to select is displayed.
                     5   Select all that apply.
                     6   Click Add Selection.
                     7   Click Done.
                     8   Click Save.




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                                                                                  Example Reports | Generating Reports



Example Reports
               This section provides the following example reports:
                •    Cisco Port Groups
                •    User Login Report
                •    Network Assessor Reports

       Cisco Port Groups
               The Cisco Port Group Report collects data on port groups and assembles that to display the current
               total bandwidth for port groups under a device or card.
               This supports two types of port groups, both with 8 ports:
                •    One type is alternating groups of 8, so on a 48 port card, 1-8 would be one port group, 9-16
                     would be a second, 17-25 would be a third, and so on.
                •    The other type is even/odd alternating groups of 8, so on a 48 port card, ports 1, 3, 5, 7, 9, 11,
                     13, and 15 would be one group, while ports 2, 4, 6, 8, 10, 12, 14 and 16 would be a second
                     group, 17, 19, 21, 23, 25, 27, 29, 31 would be a third group, and so on.
               The following two properties in the owareapps/cisco/lib/cisco.properties file configure port
               collection:
               com.dorado.cisco.portgroups.blockcards
               com.dorado.cisco.portgroups.evensoddscards
               Tou must add any card for which you want to gather port group data to one of these two lists,
               depending on what kind of port groups it wants to collect. Add the card by adding its MODEL
               NAME (example: WS-X6248-RJ-45). Delimit multiple models with commas. Examples are in the
               cisco.properties file comments.




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Example Reports | Generating Reports



         User Login Report
                  In addition to reports about inventory, devices, and so on, the OpenManage NM application lets
                  you create a report documenting user logins.




                  This report can include the following attributes: Login Date, Status [SUCCESS, AUTH FAILURE,
                  IP RESTRICTION], UserID, User Name, User IP, Proxy IP (if going through a Load Balancer/
                  Proxy), AppServer IP, Browser [CHROME, FIREFOX, and so on], Operating System
                  [WINDOWS, LINUX, MAC, IPHONE, IPAD, and so on.]
                  The following attributes are available, but not in the default seeded report to conserve Column
                  space: Portal IP and Browser Version.
                  When authentication fails, this report does not record the IP address from which the user made the
                  attempt, unless such users are behind a proxy or load balancer.
                  Browser ID, Version and Client appear only by best effort. Browsers do not always send the user-
                  agent and can change standard messaging with extra plugins.

                       NOTE:
                        A Default User Sign-On Log DAP exists, which by default keeps the last 30 days.




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                                                                                Example Reports | Generating Reports



       Network Assessor Reports
               If you have the Network Assessor option (assessor.ocp) installed, it includes reports like the
               following: Asset Report ALL Resources, Software Version Report, IP - Hostname Only Report, IP -
               Hostname Report, Configuration Change Report, Hardware Change Report, Software Change
               Report, NetConfig Backup Status Report, NetConfig Deploy Status Report, NetConfig Restore
               Status Report, Card Report, Firmware Report, Interfaces Report, Inventory Report, Port Report,
               Primary Contact Report, Subnet Report. You can also see an EOL Report ALL Devices (EOL
               means “End of Life”).
               The EOL Report ALL Devices report tells which of your discovered equipment has passed its end
               of life or end of service. A registration script (RegisterEOL) in the .../owareapps/assessor/bin
               directory registers EOL information different from the defaults that ship with the Network Assessor
               option. To update your EOL/EOS (“End of Life”/“End of Service”) dates, create a text file
               (myEOL.txt) with EOL and EOS definitions as a parameter for RegisterEOL. Construct this
               parameter file as follows:
               EOL=SysobjectID, EOL True False, EOL Date (mm/dd/yyyy), EOS True False, EOS Date (mm/
               dd/yyyy)
               Here is an EOL and EOS example text file:
                     # Example (below) Cisco AS5200 Series Universal Access Servers AS5200,,,,
                     EOL=1.3.6.1.4.1.9.1.109,True,07/14/1999,True,07/23/2010
               where:
                     1.3.6.1.4.1.9.1.109 is the SysobjectID for a Cisco AS5200 Universal Access Server . Remember
                     to preceed the objectID with EOL=
                     True sets the End Of Life indicator to true
                     07/14/1999 is the End Of Life date
                     True sets the End of Service indicator to true
                     07/23/2010 is the End of Service date
               Once you created your EOL/EOFS text file (myEOL.txt), follow these steps to register the file.
                1    Save the myEOL.txt file to installDir/owareapps/assessor/bin directory.
                2    Navigate to installDir/owareapps/assessor/bin directory.
                3    Execute the RegisterEOL script while the server is running.
                     • In Linux, run these commands:
                        . /etc/.dsienv
                        ./RegisterEOL myEOL.txt
                     • In Windows, run these commands:
                        oware
                        RegisterEOL myEOL.txt
                     The “New EOL Definition was processed” message is displayed.




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Example Reports | Generating Reports




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                                                                                                        6
Alarms, Events, and Automation
This section provides tasks and information related to setting up alarms, events, and
automation. It also provides what you need to understand alarm propagation and event/alarm
life cycles. If you already have a good understanding of the portlets and editors, go directly to the
tasks you want to perform.
Alarms – 284
Event History – 295
Automation and Event Processing Rules – 297
Event Definitions – 332
Variable Binding Definitions – 347
Understanding Alarm Propagation to Services and Customers – 350
Understanding Event Life Cycle – 353
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Alarms | Alarms, Events, and Automation



Alarms
                  This section describes the following portlets and editors related to alarms, events, and automation:
                    •   Alarms Portlet
                    •   Alarm Editor
                    •   Setting Audible Alerts

         Alarms Portlet
                  The Alarms portlet on the Home page displays the pie chart and the color legend.
                  By default, access the portlet by selecting Home, Alarms/Events, or Alarms/Events > Hierarchical
                  View, and Topology > Hierarchical View from the navigation bar.
                  In its summary form, this portlet displays alarms. See General > Entity Change Settings on page
                  34 for the way to set the summary portlet refresh interval. The default is 40 seconds. If this portlet
                  is on the same page as the Hierarchical View portlet, or if it is in expanded mode, refresh does not
                  occur automatically, but you can refresh it manually.
                  A small clock icon appears in the upper right corner of this portlet if auto-refresh is enabled. A
                  small speaker icon appears if audible alerts are enabled. See Using Extended Event Definitions on
                  page 341 for more about this feature.




                  The chart acts as a filter, too. For example, clicking the Critical alarms slice means only Critical
                  alarms are listed. The chart explodes to highlight the selected slice. Hover the cursor over a portion
                  of the chart and a tooltip with information about that slice also appears. Click exploded slices to
                  return the graph and the list to its original state.
                  Different tooltips appear when you hover over the Entity Name and Device IP columns. Such
                  tooltips are available if the question mark appears when you hover over the field.




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               For example, hover over an alarm’s entity name and the tooltip displays the alarm’s Date Opened,
               the Entity Name, any alarm Message, Event Name, Alarm and Entity Type, its status as Service
               Affecting, Notification OID, Equipment, Severity, whether the alarm was Suppressed, or
               Acknowledged and the Device IP.




               Hover over the Device IP Address column, and a tooltip appears with information about the alarm
               source’s Model, Vendor, Management State, Discovery Date, and Description, with a title bar that
               indicates whether the device is running or not. Such tooltips elsewhere also include other device-
               dependent items. For example, bar graphs to display the % CPU [utilization], % Memory, and
               Description..




               By default, the chart appears only when alarms exist. See Alarms Menu on page 288 for details
               about menu items available when you right-click in the summary and expanded portlets.
               The following columns appear in this screen by default:
               Severity—The alarm severity indicated by the color of the leftmost icon. The severity only has
                    meaning for Alarms and Security Alarms. Informational Alarms get a severity level of
                    Indeterminate. Closed alarms appear without color.
               Date Opened— The date the alarm appeared.
               Entity Name— The entity emitting this alarm (often within the Equipment).
               DeviceIP—The IP address of the equipment where the alarm appeared.
               Event Name— The event associated with the alarm.
               Message—The message associated with the alarm.
               Open the Settings > Columns screen to see additional possibilities for columns.
               If an alarm is Service Affecting, (reflect an impact on a service) it propagates to appear as
               components of service- and customer-related alarms. The Service Affecting alarm column in this
               portlet does not appear by default. To see an alarm’s propagation, show that column in the Using
               Extended Event Definitions portlet, where it is concealed by default.

                     NOTE:
                     You can select multiple rows in the Alarms portlet and the Managed Resources portlet. Many other
                     columns are available, including those related to suppression, region, any parent alarm, and so on.




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                  See Alarms in Topologies on page 251 for a description of how alarms appear in the topology
                  portlet. The Expanded Alarm Portlet section below describes additional alarm portlet capabilities.
                  The Settings tool lets you select an Alarm Chart, the expanded Alarms portlet’s totals, or no chart.
                  The last two options permit selecting a filter. The Alarm Chart is a filter itself. If no data exists for
                  the chart and the Chart option is on, the portlet returns to “no-chart” mode.
                  Settings persist if you have Admin rights or the Portlet is on your Public/Private pages (like standard
                  behavior).

                        NOTE:
                        Changes appear after you click Apply. The Filter panel disappears when you select the Show Chart
                        option.
                  In addition to the Alarms summary portlet, there is the:
                    •   Expanded Alarm Portlet
                    •   Alarms Menu
                    •   Parent/Child Alarm Correlation: Alarm Details Panel
                    •   Alarm Email

                  Expanded Alarm Portlet
                  The expanded Alarm portlet appears when you click the plus (+) in the top right corner of the
                  smaller screen.




                  This displays listed alarms, totals by severity for alarm types found, and Snap Panel details of a
                  selected alarm. By default this screen adds the first of the following columns to those visible in the
                  Event History portlet. To add the others listed here, right-click, and select Add Columns to change
                  the screen appearance.

                        NOTE:
                        All severity totals appear in expanded view. This display updates automatically when alarms clear.




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               Instead of the filtering graph on the summary portlet, the expanded portlet gives you the option to
               select a user-defined filter from the list, create custom filtering by selecting Advanced Filters, or do
               a quick search.
               The following are available additional columns, besides the default columns visible in the Alarms
               Portlet (summary view):
               Assigned User— The user currently assigned to this alarm (right-click to do this). The assigned
                    user can then look for alarms by consulting the Assigned User (AU) column in the display
                    (concealed by default), or by filtering alarms using Advanced Filters. One can even create an
                    alarm portlet that filters for a single user’s assigned alarms.
               Acknowledged— Indicates whether or not the alarm has been acknowledged. This is controlled by
                   the Acknowledge and Unacknowledge actions that are available from the popup menu.
               Count— A count of the instances of the events that correlate to this alarm. Multiples of what is
                   essentially the same alarm appear as a single row, but increment this count.
               Entity Type— The type of monitored entity.
               State— The state (open/closed) of the alarm.
               Date Cleared—The date and time that the alarm was closed.
               Update Time— The time stamp for when this alarm was updated (for an additional count, the
                   time the last duplicate was received).
               Notification OID—The identifier of the notification displayed as an alarm. This is also the
                    unique identifier of the Event Definition upon which the alarm was based, which means that
                    the alarm inherits attributes such as Severity, Resource Propagation, etc. from the Event
                    Definition that has the same Notification OID.
               Equipment—The name for the top-level entity (Managed Resource) emitting the alarm.
               Date Assigned— The date and time that the alarm was assigned.
               Ack Time—The time the alarm was acknowledged.
               Cleared By—The user who cleared the alarm.
               MIB Text—The alarm’s MIB Text.
               Location—The location of the Managed Resource associated with the alarm.
               Correlated Time— The alarm’s date/time of correlation to a parent alarm (caused by or blocked
                   by).
               Entity Description— The description of the alarmed entity.
               Mediation Partition — The mediation partition that received the event (traps, syslog, etc.) that is
                   correlated to the alarm.
               Resource Propagation — Indicates how this alarm propagates through the resource hierarchy, so
                   as to possibly impact the Alarm State of the top-level device and/or the subcomponents that
                   are hierarchically associated with the entity that was alarmed. This value is inherited from the
                   Event Definition upon which the alarm is based.
               Equipment—The equipment emitting the alarm.
               Ack By— The user that acknowledged the alarm.
               Correlation State—The role this alarm plays in any parent/child correlation (for example: Top
                   level alarm, caused by parent, Blocked by parent).
               Has Children— Red for no or green for yes: an indication of whether the alarm has children (see
                   Parent/Child Alarm Correlation: Alarm Details Panel on page 290).




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                  Notes— A text field to take notes about the alarm.
                  Parent Alarm—The name of the parent alarm (see Parent/Child Alarm Correlation: Alarm
                       Details Panel on page 290).
                  Domain ID—The Multitenant domain ID emitting the alarm.
                  Service Affecting— Indicates whether or not the alarm affects services that are provisioned against
                       the alarmed entity. If this is true then the alarm state of the entity might propagate to the
                       associated services.
                  Correlated By— The name of the user who correlated this alarm to a parent.
                  The Widgets panel includes the following information:
                  Alarm Details—The source, Severity, Message, Date Opened, and so on. See also Parent/Child
                       Alarm Correlation: Alarm Details Panel below.
                  MIB Details—The Notification OID, and MIB Text for the selected alarm.
                  Reference Tree— The connection between the alarm and its source in tree form.
                  Total Occurrences by Date— A graph of the total occurrences of this alarm, by date.

                  Alarms Menu
                  Right-clicking an alarm lets you select from the following pop-up menu options:
                  Edit—Access the editors for the Alarm (see Alarm Editor on page 292) or Event Definition (see
                      Event Definition Editor on page 334).
                  Details(Shift+Click)— This menu item expands to display options for the different detail viewing
                      options. Select Alarm details to open a Details screen for the alarm itself; or select Equipment
                      Details to open a Details screen for the entity emitting it. (see Connected Devices on page
                      191 for an example of this type of screen). The Alarm Details contains information like the
                      MIB text, any Event Processing Rules invoked, and a Reference Tree for the alarm. It also lets
                      you configure alarm correlation. See Parent/Child Alarm Correlation: Alarm Details Panel
                      on page 290.
                  Topology— Display a topology map that includes the selected alarm(s). See Presentation
                      Capabilities for more about these maps.
                  Acknowledge/Unacknowledge Alarm— Acknowledges the selected Alarm(s). The current date
                      and time appear in the Ack Time field. Unacknowledges previously acknowledged alarm(s),
                      and clears the entries in the Ack By and Ack Time fields. The red “unacknowledged” icon
                      appears in the expanded portlet and turns to a green check “acknowledged” icon the alarm
                      has been acknowledged.
                  Assign User—Assign this alarm to one of the users displayed in the sub-menu by selecting that
                       user. An icon also appears in the expanded portlet indicating the alarm has been assigned to
                       someone.
                  Clear Alarm— Clearing the alarm removes the alarm from the default alarm view and marks it as a
                      candidate for the database archiving process (DAP). Essentially it is an indication to the
                      system that the alarm has been resolved/addressed. If your system has enabled propagation
                      policies, clearing recalculates dependent alarms.
                  Clear Group of Alarms —Sometimes you might have lots of open alarms that are unimportant
                      because they are old and/or of low severity. For example, perhaps you want to clear all alarms
                      that are informational and are more than a week old. Rather than having to clear them all
                      individually, you can clear them as a group. Before selecting this menu item, you will need to




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                     create a filter for the group of alarms that you want to clear. When this menu item is selected,
                     a panel will appear that contains all previously saved alarm filters. When you select a filter
                     from the list and push Execute, it will clear all open alarms that meet the criteria of this filter.

                        CAUTION:
                     The Clear Group of Alarms action is irreversible.
               Direct Access— Open an SNMP Mib Browser to the alarmed device, a CLI Terminal (Telnet
                    window) to the alarmed device, or ICMP Ping the device alarmed. Only those available
                    appear in the subsequent menu.
               Email Alarm—Opens the Email Alarm window to email the selected alarm. Enter a subject an e-
                   mail address to which you want to mail the alarm’s content, and click add (+) to the list of
                   addresses (the minus deletes them). Then click Send Email. Click Cancel to end this
                   operation without sending e-mail.
                     SMTP setup is required to e-mail an alarm. See SMTP Configuration on page 54 for
                     instructions about setting up e-mail from OpenManage NM. See Alarm Email on page 291
                     for an example of what the content looks like.
               Show Performance—If the equipment is monitored, this displays a performance dashboard for the
                   alarmed equipment. See Dashboard Views on page 425 for more about these.
               Edit Custom Attributes—Opens the Custom Attribute Editor where you define field
                    characteristics, such as whether it is enabled, the label name, and the tooltip.
               Aging Policy—This lets you select a policy that determines how long this alarm remains in the
                   database. See Implementing DAP on page 73 for information about configuring such
                   policies.
               View as PDF—Create an Acrobat PDF document containing this alarm’s contents as displayed in
                   the summary portlet basic columns.
               Share with User—Opens the Share with User window where you select the colleague you want to
                    share the selected rules with and then type your message.

                     NOTE:
                     To resync alarms—that is, query the device for its alarm state—resync the device.




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                  Parent/Child Alarm Correlation: Alarm Details Panel
                  Like many other items managed by OpenManage NM, the Alarms portlet has a Details panel (see
                  Connected Devices on page 191, for example). In addition to the items mentioned above, the
                  Alarm Details also have a Correlations panel.




                  Alarm parent/child correlation lets you correlate one alarm to another so you can conceal the child
                  alarm(s) in standard alarm views. You can also correlate one alarm to block resolution of another. In
                  effect, parent alarms conceal (or block) correlated child alarms. This can confine alarms that
                  appear or resolve to those requiring action only.
                  The Correlations panel lists the following:
                  Correlation Details—The current correlation state of the current alarm. Attributes include:
                      Correlation Date, Correlated By, and Correlation State along with information about the
                      correlated, parent alarm. In addition to manually removing the correlation, you can right-click
                      in this component to navigate to the details of the correlated alarm.
                  Caused Alarm(s)—The alarms caused by this alarm. Right-click to add alarms to the table or to
                      remove them.
                  Blocked Alarm(s)— The alarms that are currently blocked from resolution by this alarm. Right-
                      click add alarms to the table (and remove them).
                  When adding a correlated alarm, you can select any alarm that does not already have a parent
                  alarm, then click Done to make it a child alarm.
                  When you correlate correlating one alarm to another, OpenManage NM understands their
                  correlation state as either Caused By or Blocked By. By default, the correlation state is Top Level
                  Alarm.
                  OpenManage NM does not support multiple correlation states so one alarm cannot be both
                  Caused By and Blocked By. However, a parent alarm can have both Caused By and Blocked By child
                  alarms. A single alarm can also be both parent and child. Consider, for example, an alarm that
                  causes several other alarms but is Blocked By another alarm. Its parent alarm would appear in the
                  Correlation Details panel too.
                  Alarms correlated as Caused By clear automatically when the parent alarm clears. Blocked by alarms
                  status as child alarms disappears when their parent alarm clear. This means they become visible
                  again within the alarm view's.




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               Here are a few things you need to know about alarm correlation state:
                •    Alarm Processing Effects
                     An alarm’s correlation state does not affect alarm processing behavior. So if a clearing event
                     enters OpenManage NM, the open alarm clears regardless of its correlation state. Event
                     counts also continue to increase as duplicate events arrive.
                •    Default Filtering
                     By default, all alarm filters exclude child alarms. A filter criteria (Include child alarms) can
                     include child alarms, so you can always see all alarms regardless of their correlation state by
                     selecting the Include child alarms attribute within the expanded alarms portlet and setting
                     the search criteria to Is true.
                •    Additional Alarm Attributes
                     The following attributes reflect the correlation state for an alarm. When another alarm
                     conceals the child alarm (or blocks it), it sets the following too.
                     • Correlated By: User who created the correlation
                     • Correlation Date: Date the correlation was created
                     • Correlation State: CausedBy or BlockedBy
                     • Parent Alarm
                     • Has Children: Whether the alarm has children

               Alarm Email
               The e-mail sent by right-clicking an alarm has the subject specified when you send it, and contains
               the information within the alarm. For example:
                     Alarm: monitorIntervalSkip
                     Alarm Attributes:
                     ===============================
                     Device IP                =
                     Message                  =
                     Alarm State              = Open
                     Severity                 = 5 - Major
                     Count                    = 1
                     Date Opened              = Tue Dec 14 22:01:30 PST 2010
                     Update Date/Time         = Tue Dec 14 22:01:36 PST 2010
                     Entity Name              =
                     Entity Type              =
                     Entity Description =
                     Equipment                =
                     Region                   = SUPDEMOPartition
                     Location                 =
                     Assigned By              = OWSystem
                     Date Assigned            = Thu Dec 16 10:40:24 PST 2010
                     Assigned User            = qatester
                     Acknowledged             = false
                     Ack By                   =




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                        Ack Time                     =
                        Cleared By                   =
                        Date Cleared                 =
                        MIB Text           = Monitor session was skipped due to resource
                         constraints. Typically, this implies one or more monitors should run
                         less frequently. This may also be caused by a large number of timeouts
                         which force executions to take longer to complete than normal.
                        Advisory Text                =


         Alarm Editor
                  The Alarm Editor window appears when you right-click an alarm and select Edit Alarm from the
                  Alarms Portlet.




                  You also have the option to edit the Event Definition (see Using Extended Event Definitions on
                  page 341) or open the alarmed device’s Details panel (see Connected Devices on page 191). The
                  Alarm Editor window contain the following type of information:

                   Information Type       Provides
                   General Details        Event Name—The event that triggered the alarm.
                                          Date Opened—The date the alarm occurred.
                                          Entity Name—The entity emitting this alarm (often within the Equipment).
                                          Alarm State—The state of the alarm (Open/Closed).
                                          Severity—The alarm severity indicated by the color of the leftmost icon. The
                                          severity only has meaning for Alarms and Security Alarms. Informational Alarms get
                                          a severity level of Indeterminate. Closed alarms appear without color. If you change
                                          the severity, you may have to refresh the portlet after you save the changed alarm.




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               Information Type      Provides
               Extended Details:     Equipment—The equipment (not subcomponent) that triggered the alarm.
               Additional            DeviceIP—The IP address of the equipment where the alarm appeared.
               Information
                                     Entity Description—A description of the triggering equipment.
                                     Location—The location for the alarm. See Locations Portlet on page 221.
                                     Region—The partition/region for the alarm.
                                     Notes—A field where you can enter text.
               Extended Details:     This panel contains primarily read-only fields describing the alarm, including
               Historic              whether it was Acknowledged, Ack by, Ack Time, Count and so on.
               Information
               Extended Details:     If you have created any Custom Fields for Alarms, this panel appears in the editor.
               Custom Fields         See Editing Custom Attributes on page 150 for instructions about these.


       Setting Audible Alerts
               Audible Alerts produce a sound when a new alarm arrives in the Alarms summary (not expanded)
               portlet. The sound occurs when the OpenManage NM (OMNM) auto-refresh controller polls for
               state changes. If you enable Audible Alerts and the Alarms summary view receives new alarms, the
               specified sound occurs.
               Cleared alarms do not trigger an audible alert. Only new alarms received trigger an audible alert
               during auto-refresh. To cut down on audio clutter, only a single Audible Alert sounds no matter
               how many alarms occur during an auto-refresh cycle.
               Each browser supports sound differently because of licensing for various sound formats. Audible
               alarm support exists for most browsers, so if issues occur with a particular browser the workaround
               is either to upgrade or use Chrome.
               Browsers support MP3 sounds the most, so this is the only format supported for Audible Alerts.
               The Firefox browser only support OGG format natively and the Internet Explorer browser has
               issues with most sounds. To support those browsers, the OMNM application plays MP3 sounds
               through a Flash Object, so browsers need no special plugins.
               This section provides instructions for:
                •    Turning On Audible Alerts
                •    Adding Custom MP3 Sounds

               Turning On Audible Alerts
               Turn on Audible Alerts as follows.
                1    Navigate to the page containing the Alarms portlet.

                     NOTE:
                     For audible alerts to work, the Alarms portlet must be on a page without the Hierarchical View portlet or
                     other context broadcasting that dynamically changes the Alarms portlet’s context. Auto refresh does not
                     run when in this environment so as a result the Audible Alerts are not exposed. (See Understanding
                     Hierarchical View on page 253.)
                2    Click the Settings (wrench) tool.
                     The Setting window is displayed.




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                    3   Enable the audible alerts for new alarms option.
                        This activates the sound field.
                    4   Select a sound to plays.
                    5   Click the play button to preview the selected sound.
                        By default, the OpenManage NM product ships with four standard alert sounds: Alert, Bell,
                        Chord, and Ding. See Adding Custom MP3 Sounds to add custom sounds.
                    6   Click Apply.
                        This Alarms portlet instance now has Audible Alerts enabled.

                  Adding Custom MP3 Sounds
                  Add custom MP3 sounds as follows.
                    1   Go to the Control Panel.
                    2   Click the Documents and Media section.
                    3   Click the Add button and then Select Basic Document.
                    4   Click Choose File and pick an MP3 file to upload from the File section.
                        Because this interface lets you add any type of media, no file validation occurs. However,
                        Audible Alerts only display audio/MP3 mime-types.
                    5   Give the new MP3 sound a short title.
                        For example, if you upload cowsound.mp3, call it Cow Sound.
                    6   Click Publish.
                    7   Go back to the Alarms portlet.
                    8   Click the Settings (wrench) tool.
                  Verify that there is a new sound to select.




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Event History
               Not all events appear as alarms. Event History preserves all event information for your system.




               The Event History portlet (summary view) displays an icon whose color reflects any alarm state
               associated with the event. It also displays the Receive Time, Entity Name, Device IP, and Event
               Name, Message, and Entity Type. Right-click to edit event definition or entity details, view event
               details, view or modify aging policies, create a PDF, or share and event with users.

                     NOTE:
                     Hovering over the Device IP column produces a tooltip similar to the Alarms tooltip.
               The default filter for this portlet displays only recent events. If you do not see the desired events,
               expand the period for which they appear.
               Clicking the plus (+) in the upper right corner of the initial portlet view displays the Event History
               portlet (expanded view). As in other expanded portlets, use the filtering capabilities to further limit
               the events listed.




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                   The expanded view has columns similar to those described in Alarms Portlet on page 284 or
                   Expanded Alarm Portlet on page 286. Configure these as visible or hidden by clicking Settings.
                   The following are some additional columns available.
                   Receive Time—The date the event was received.
                   Entity Name—The entity emitting the event.
                   Event Name—The event identifier.
                   Entity Type—Typically something like Managed Equipment.
                   Protocol—The protocol that delivered the event. Commonly this is either SNMPv1, SNMPv2c, or
                        SNMPv3, indicating that the event originated from some version of an SNMP trap or inform
                        notification. Other possible values that indicate an notification was received from an external
                        system include Syslog and HTTP REST. System; indicating OpenManage NM itself delivered
                        it.
                   Instance ID—The instance identifier for the event.
                   Mediation Server IP—The mediation server retrieving the event. If you have a single-server
                       environment, this is blank. It is most useful in a clustered environment.
                   Location— The location of the entity emitting the event.
                   Equipment— The equipment emitting the event.
                   SubType— A classification for the event. For example: Trap, Inform, etc.
                   Notification OID—The object identifier (OID) for the Event Definition upon which this event is
                   based.
                   Source IP— The source of the event’s IP address.
                   Region—The region emitting the event.
                   Click a listed alarm to display its details in the Widgits panel. The Reference Tree displays the
                   event’s relationship to any alarms, and to the source device. Click the plus (+) next to an item in
                   the tree to unpack it.
                   The Bindings Snap Panel displays the event’s Variable Binding (varbind) information, including the
                   Binding OID, the device’s IP address, and other event-specific information.
                   The MIB Details Snap Panel includes MIB information like the Notification OID and MIB Text.
                   You can right-click the listed events and Share with User (see Sharing a Resource on page 149), or
                   Modifying Column Settings on page 146.




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Automation and Event Processing Rules
               Use the Automation and Event Processing Rules portlet to configure and maintain event processing
               and automation rules.You can create custom multitenant domains and event processing rules
               (EPRs) within any Multitenant site. Aside from the filter criteria, which EPR applies depends on
               the EPR’s Domain ID compared to the target entity's notification Domain ID. All EPRs with the
               root site’s Domain ID apply to all arriving events. EPRs with another Domain ID only apply to
               events for entities that have been assigned the same Domain ID.
               This portlet is intended for users who are interested in configuring and maintaining event
               processing and automation rules. For steps to create these rules, see Creating Event Processing
               Rules on page 300.
               Access this portlet by selecting Alarms > Automation from the navigation bar. This portlet has
               both a summary view and an expanded view. Each view could display different Columns and has
               the same Pop-Up Menu options available.



                                                                                         Summary
                                                                                         View

                                                                                         Expanded
                                                                                         View




       Columns
               Other than the general navigation and configuration options, the Automation and Event
               Processing Rules portlets (summary and expanded views) include the following columns. The
               columns displayed by default are noted.




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                  You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
                  columns tab, clicking Show for the appropriate column, and then applying the change.

                   Column              Description
                   Rule Name           A descriptive name given to the rule.
                                       This field displays on the summary and expanded views by default.
                   Rule Category       The stage in the event and/or alarm life cycle that the rule is triggered. For example:
                                       • Protocol Translation rules trigger early in the life cycle when non-SNMP messages,
                                         such as Syslog are received.
                                       • Stream Based Correlation rules also trigger early in the life cycle to minimize the
                                         event processing load on the application server and to improve throughput.
                                       • Event Definition Override rules trigger after the aforementioned rule categories,
                                         but prior to alarm correlation.
                                       • Automation rules trigger a little later in the life cycle so that the results from the
                                         execution of those rules are taken into account during automation.
                                       This field displays on the summary and expanded views by default.
                   Rule Type           Text that indicates what the rule does. For example, there are several rule types
                                       within the Event Definition Override category that change specific event attributes
                                       to override default values otherwise inherited from the event definition.
                                       To consider a specific example of this, you can make an Event Definition Override
                                       Event Processing Rule that sets an event as service-affecting. These rules override the
                                       default service affecting field that would otherwise be entirely determined by the
                                       event definition (as determined by the notification type).
                                       Note: The installation provides some seeded event processing rules. You can edit
                                       some seeded rules, others you cannot edit. If you edit a system seeded rule and want
                                       to restore the default settings, you need to delete the rule from the portlet and then
                                       enter ocpinstall -s from an oware command line to re-seed the database.
                                       This field displays on the summary and expanded views by default.
                   Event Name          The event associated with the rule.
                                       This field displays on the summary and expanded views by default.
                   Enabled             An indicator that the rule is enabled (checkmark) or not (X).
                                       This field displays on the summary and expanded views by default.
                   System              An indicator that the rule is a system rule (checkmark) or a non-system (user-
                                       defined) rule (X).
                                       This field displays on the summary and expanded views by default.
                   Description         Text describing the rule in more detail.
                                       This field displays on the expanded view by default.
                   Widget              Additional information about the selected rule, such as:
                                       • Reference Tree shows the connection between the rule and its event.
                                       • Rule Actions list any configured actions associated with the rule.
                                       • Event Filter Summary shows configured filters for the selected rule.
                                       The Widgets field is available only from the expanded view.
                   Component           The component the rule accesses, such as Extreme Networks device driver.
                   Domain ID           The identifier for the resource domain.
                   Icon                The icon that represents this resource.
                   Valid               An indicator that the rule is valid (checkmark) or not (X).




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       Pop-Up Menu
               The Automation and Event Processing Rules pop-up menu provides access to the following
               options. Right-click a row to access these options.

               Menu Option        Description
               New                Provides access to the following menu options:
                                  • Protocol Translation displays the Syslog Escalation option. Select this option to
                                     open the Creating New Syslog Escalation Rule window and define a syslog
                                     escalation rule.
                                  • Stream Based Correlation displays the Frequency Threshold and State Flutter.
                                     options. Select the event processing rule type to open the Creating New eventType
                                     Event Processing Rule window and define a new event processing rule.
                                  • Event Definition Override displays the Reject Event, Suppress Alarm, Set
                                     Severity, Set Service Affecting, and Device Access options. Select the event
                                     processing rule type to open the Creating New eventType Event Processing Rule
                                     window and define a new event processing rule.
                                  • Automation opens the Creating New Automation Event Processing Rule window,
                                     where you define an automation processing rule.
               Edit               Opens the Editing Automation Event Processing Rule window, where you can view
                                  the rule details or edit the rule if it is not read-only.
               Copy               Creates a new rule derived from the selected rule with some changes to the
                                  properties, filtering, members, or actions.
                                  Note: The OpenManage NM system generates a new name, such as CopyOfUpdate
                                  Component State. You must change that name before you save the event processing
                                  rule.
               Audit              Opens the Audit Trail Viewer window, which lists existing audit records and jobs for
                                  the selected record.
               Delete             Removes the selected rule.
               Import/Export      Provides the following actions when available for the selected rule:
                                  • Import retrieves a file containing XML compliance descriptions. Some imports
                                     can come from a URL.
                                  • Export Selection exports the selected description to an XML file.
                                  • Export All exports all descriptions to an XML file.
                                  Click Download Export File to specify where to save the file.
                                  The Import/Export option is useful as a backup or to share descriptors with other
                                  projects.
                                  You must import data into the correct portlet. For example, you cannot import event
                                  data into the Actions portlet.
                                  If one type of data depends on another, you must import the other data before
                                  importing the data that depends on it.
               Share with User    Opens the Share with User window where you select the colleague you want to share
                                  the selected rules with and then type your message.


       Multitenant Domains and Event Processing Rules (EPRs)
               You can create custom EPRs within any Multitenant site. Aside from the filter criteria, which EPR
               applies depends on the EPR's Domain ID compared to the target entity's notification Domain ID.
               All EPRs with the root site's Domain ID apply to all arriving events. EPRs with another Domain ID
               only apply to events for entities that have been assigned the same Domain ID.



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         Creating Event Processing Rules
                  There are many different types of rules you can create. As an example, the steps provided show how
                  to create a device access rule from the Automation and Event Processing Rules portlet. If you need
                  a detailed description of this portlet, the rule types, or other menu option, see Automation and
                  Event Processing Rules on page 297. Also see Filtering/Settings on page 302, Syslog Escalation
                  Criteria on page 306, and Actions on page 310 for more about the differences available between
                  rule types.
                  Create a rule from the Automation and Event Processing Rules portlet as follows.
                    1   Right-click and then select Event Definition Override > Device Access.
                        The Rule Editor is displayed.
                    2   Enter a name to identify the rule and an optional description.
                    3   Select Enabled if you want this rule to begin working immediately.
                    4   Click Next to specify filters.




                    5   Add the events to filter.
                        a. Click Add to show the events list.
                        b. Select the events you want to add.
                        c. Click Add Filter to further filter the selected events.
                    6   Click Next to specify the settings for the selected rule type.
                        This panel’s appearance depends on the type of rule you selected when you clicked New.
                        When you are editing an existing rule, it defaults to that rule’s screen. For more about the
                        available alternatives, see Filtering/Settings on page 302.
                        The Device Access example creates a specific device access event for user login, logout, login
                        failure, or configuration change.
                    7   Select the Access Type (Config Change, Login Failure, User Login, User Logout) from the
                        pick list for that field.




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                8    Enter the User Name Variable and/or User Name RegEx match string.
                     This confines rule response to the selected users.
                9    Select Suppress Correlated events if you do not want to see events correlated with this one.
               10    Click Save to preserve the event processing rule.

                     NOTE:
                     To test these rules, you typically need specialized trap-sending software. However, you can make a rule
                     respond to an internal OpenManage NM event, such as backup failure if you only want to see the
                     outcome. Simply disable your FTP server) and back up a device to get a backup failure event.


       Rule Editor
               After you select a category and type for a new rule, the Rule Editor is displayed, where you manage
               the event processing described briefly in Creating Event Processing Rules on page 300. The editor
               has the following panels:
                •    General
                •    Filtering/Settings
                •    Syslog Escalation Criteria (for Syslog Escalation)
                •    Actions (for automation rules)
               Subcomponent names must cache on the server if you want to refer to them in rules. For example,
               if you want e-mail whenever a linkDown occurs on a port, then you must cache subcomponents. If
               you cache subcomponents, it impacts performance, which is why such caching is disabled by
               default.
               To enable caching, set the following property in the installed.properties file and then restart the
               Application server:
                     com.dorado.redcell.inventory.equipment.subcomponent.cache=true

               General
               The General panel is common to all rule types.




               It contains the following fields:
               Name— Enter a text identifier for the rule.




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                  Description—Enter an optional text description of the rule
                  Alarm Only— Visible only in automation rules. Check this to enable the rule only if an alarm is
                       generated, not suppressed.
                  Explicit Membership — Visible only in automation rules. This indicates that this rule has explicit
                       membership. If any explicit members are defined for a rule, then the event must be associated
                       with one of these entities in order for this rule to execute. This box must be checked in order
                       to enable the buttons to add entities on the Explicit Members tab.
                  Enabled—Select this option to enable the rule.

                  Filtering/Settings
                  For all rule types, select the Event Definition. Click Add to open a screen where you can select
                  events to include in the event you are creating. This includes a filter at the top that you can use to
                  search for specific events. For example, Event Name Contains. Click Add Selection to include
                  selected items in this filter, or Add All to include all displayed events. After you finish event
                  selection, click Done at the bottom of this selection screen.




                  Click Add Filter to further filter the selected events. See Defining Advanced Filters on page 147
                  for more about this feature. After you Add Filter the button changes to Clear Filter so you can
                  remove any filter from the event rule.

                        NOTE:
                        OpenManage NM supports multiple IP addresses per resource. During event processing, filters that
                        include IP address criteria may behave incorrectly when OpenManage NM evaluates the filter. Best
                        practice is using resource name(s) instead of IP addresses.




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               The following types are processing rule types and a description of their properties.

               Rule Type                Properties
               Protocol Translation     These rules define how to translate messages that are received from protocols
                                        other than SNMP into a format that is more similar to an SNMP trap so that
                                        they can become events in OpenManage NM. SNMP traps always have all of
                                        the data in their payload contained within variable bindings, and this is also
                                        the way events are structured within OpenManage NM so for the system to be
                                        able to have events that come from protocols other than SNMP, they first have
                                        to undergo this translation. Currently the only rule type within this category is
                                        Syslog Escalation, and rules of this type translate incoming syslog messages
                                        into a payload that is more similar to an SNMP trap so that they can become
                                        events based on the definition syslogNotification.
               Stream Based             These rules allow you to control the stream of events that are processed. You
               Correlation              can do this by specifying a correlation pattern that the system should detect
                                        among the events within the stream and then also specifying the action that
                                        the system should take to modify the stream in some way. Correlation patterns
                                        can take into account the frequency of certain types of similar events (as is the
                                        case for Frequency Threshold rules) or they can operate on the intermittent
                                        fluttering of the raising and clearing of certain types of alarms (as is the case for
                                        State Flutter rules). You can use rules of types within this category for the
                                        purpose of minimizing the number of events submitted to the application
                                        server for further processing.
               Event Definition          By default, events inherit all of their attributes (such as severity, behavior, etc.)
               Override                 directly from the event definition identified by the notification type OID.
                                        These rules allow you to override the default attributes such as severity (Set
                                        Severity), service affecting (Set Service Affecting), and/or behavior (with rules of
                                        the type Reject Event or Suppress Alarm). Device Access rules also fall into this
                                        category because you can use rules of this type to normalize the device-specific
                                        events into standardized events.
               Automation               These rules execute specified actions for the rule after the event processing
                                        occurs. Note that Automation is both a rule category and a rule type since there
                                        is only one type of rule within this category.
                                        The following are Event Definition Override rule types:
                                        • Reject Event — This screen presents the Specify Event Filtering portion of
                                          the screen without any Settings in the lower screen. Specify events to reject
                                          with this selection and filtering.
                                        • Set Severity — This rule overrides the default alarm severity of an event
                                          selected and filtered in the upper screen.




                                        • Suppress Alarm — This screen presents the Specify Event Filtering portion
                                          of the screen without any Settings in the lower screen. Specify events/alarms
                                          to suppress with this selection and filtering.




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                   Rule Type                Properties
                   Device Access            The Device Access example creates a specific device access event for user login,
                                            logout, login failure or configuration change. Select the Access Type (Config
                                            Change, Login Failure, User Login, User Logout) from the pick list for that
                                            field.




                                            Enter the User Name Variable and/or User Name RegEx match string in those
                                            fields. This confines rule response to the selected users.
                                            Select Suppress Correlated events if you do not want to see events correlated
                                            with this one.

                  Stream Based Correlation has the following rule types:
                  Frequency Threshold—This rule type changes event behavior based on the frequency of the
                      selected event. For successive events of the same type, associated with the same entity, it
                      suppresses or rejects the first few received, up to the given event threshold, within the pattern
                      expiration time, and publishes the rest.




                        Enter the Pattern expiration time (idle time between events), specified in seconds and Event
                        threshold, number of events required before a notification is published, then select an Event
                        Action to take before the threshold is reached (Reject or Suppress the event). If you Reject an
                        event, it does not appear in Event history; if you Suppress it, it creates no alarm, but it does
                        appear in the Event history. Check Publish frequency start and stop notifications if you want
                        OpenManage NM to keep a record of when this rule starts and stops filtering events.
                        On receipt of the first event matching the given filter criteria, OpenManage NM enables the
                        selected pattern. It remains active until no matching events are received for at least the
                        number of seconds specified as the pattern expiration time. The rule always waits this
                        number of seconds before publishing the event(s), even if the number of matching events
                        crosses the threshold before the pattern expires. Every time the rule reaches its threshold in
                        this time window, it publishes one event and then reset the counter.
                        For example, consider a pattern configured for 3 events in 10 seconds. If OpenManage NM
                        receives only 2 matching events in a 10 second time window then it publishes no events. With
                        these same parameters, if OpenManage NM receives at least 3 but less than 6 (3 times 2)




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                     events, then OpenManage NM publishes one event. If it receives six events then it publishes
                     two events (because this amounts to 3 times 2).
               State Flutter—This type of rule changes event behavior on transient raising/clearing state changes
                    for events that are correlated to each other. For example, if there is a series of flapping linkUp
                    and linkDown events for the same interface, but you do not want the alarm state of this
                    interface to change rapidly, then you can use a rule of this type to filter out the noise so that
                    the alarm state reflects the most common state of the interface. When rules of this type are
                    configured, the system looks for successive raising and clearing events that correlate to each
                    other and are associated with the same entity and it publishes the final state in after a given
                    number of seconds has elapsed and it suppresses or rejects the extra events..




                     To create a rule of this type, you will need to associate it with at least one raising and/or
                     clearing event definition. You can include more than one raising and/or more than one
                     clearing, but for an event to be affected by this type of rule, it must have a correlated pair to
                     another event definition. To add event definitions to the rule, when you are on the Filter tab
                     of the edit screen, click the Add button within the upper panel and select event definitions
                     that correlate to each other through raising/clearing correlation. If you need to look up this
                     information, you can go to the Event Definitions portlet and bring up the edit screen for any
                     given event definition and then navigate to the Correlations tab. Examples of pairs of event
                     definitions that are related to each other through raising/clearing correlation include linkUp/
                     linkDown, monitorTargetUp/monitorTargetDown, among many others.
                     After you select the event definitions and also enter any additional filtering as desired,
                     navigate to the Setting tab and enter the Interval (seconds) and the Action (Reject or
                     Suppress the event). If you Reject an event, it does not appear in Event history; if you
                     Suppress it then it creates no alarm but it does appear in the Event history. Check Publish
                     Event if you want OpenManage NM to keep a record of when this rule starts and stops
                     filtering events.
                     OpenManage NM always publishes the first raising event matching the given filter criteria.
                     When OpenManage NM receives a correlated event (either the raise or the clear), this
                     activates the State Flutter rule pattern, which will then expire after the given number of
                     seconds has elapsed. Until the pattern expires, it holds all correlated rising and clearing
                     events. This way if the state goes from raise to clear and back to raise in rapid succession, the
                     result will be the final state after the number of seconds has elapsed, but without publishing
                     the extra events and/or creating the alarms.
               The following type is the Protocol Translation rule type:
               Syslog Escalation —This screen presents the Specify Event Filtering portion of the screen without
                    any Settings in the lower screen. Specify events to select. Then click Next to go to the
                    Escalation tab.
               Automation rules let you modify the Specify Event Filtering portion of the screen without any
               Settings in the lower screen. Specify events to select. Then click Next to go to the Actions tab. See
               Actions on page 310 for more about that feature.




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                  Syslog Escalation Criteria
                  This tab of Syslog Event Rules lets you manage events based on matching text, and configure
                  messages in response to such matches.




                  The following sections describe syslog escalation criteria:
                    •   Criteria: Syslog Match Text
                    •   Criteria: Syslog Event Setup
                    •   Template Fields
                    •   Message Test
                    •   Explicit Members
                  Criteria: Syslog Match Text
                  In this tab, enter the Syslog Match Text. Click the plus to add matching text to the list below the
                  empty field. There are two options for How to Apply the Match Text to Syslog Messages, which is
                  controlled by whether or not this box is checked. Check to match any single entry (only one
                  message match text must be present in the message) or uncheck to match all entries (all message
                  match texts must be present). For example, consider that the Message Match Text list contains the
                  following entries: "LOGIN" and "FAILED" and consider a Syslog message that says "USER LOGIN
                  SUCCESS". This message would be a match if the box was checked but it would not be a match if
                  the box was unchecked. If the list contains the same entries but the Syslog message was "USER
                  LOGIN FAILED" then this would be a match regardless of whether the box was checked.
                  Criteria: Syslog Event Setup
                  This portion of the Criteria screen sets up the syslogNotification event emitted when
                  matching occurs. Here are the fields:
                  Event Severity — Select the alarm severity of the event emitted when a match occurs. You can
                      choose to assign a specific severity to the syslogNotification events that would be created
                      from this escalation, such as Major, Minor, etc., or you can instead select Indeterminate,
                      which will use the severity within the original Syslog message to determine the severity of the
                      resulting event. For example, if you select Indeterminate and the Syslog message has a




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                     severity of Critical then the resulting event will also be Critical. But if you select a specific
                     severity from this drop down, such as Minor, then this the events will be assigned this severity
                     regardless of what severity is found within the original message.
               Message Pattern —- An optional regular expression for the text to retrieve and transmit in the
                   created event's variable bindings (varbinds). Syslog escalation uses the retrieved value(s)
                   entered in the template fields to populate the associated varbinds.
               Category Template — A directive for how to populate the syslog category varbind value. This is a
                   template field, which means that you can either enter static text (like Category1) or a
                   template containing variables (like Category%1). This populates the syslogCategory
                   varbind with the appropriate text, for example: Category-LOGIN. See Template Fields
                   below for more about this type of field.

                     NOTE:
                     When you dynamically populate the syslog category, you can more easily base extended event
                     definitions (EEDs) on the syslogNotification definition. For example you could change the base
                     event definition to allow EEDs on the syslog category varbind. See Using Extended Event Definitions on
                     page 341 for more about EEDs.
               Message Template— A directive for how to populate the syslog text varbind value. This is a
                   template field, which means that you can either enter static text (like syslog message
                   received) or a template containing variables (like %1 occurred on %3 for %2). See
                   the next topic for more information about Template Fields.
               Suppress Alarm — Indicates whether or not to suppress the alarm for the resulting event. If you
                   only want events to be created in the Event History but you do not want alarms to also be
                   created, then check this box.
               Template Fields
               Template fields are associated with specific varbinds. When a syslog message matches an escalation
               filter, OpenManage NM creates an event and populates its varbinds using the respective templates
               and the Message Pattern.
               Templates have numbered variables—%1, %2, and so on. OpenManage NM resolves such variables
               with substrings extracted from the original message text. This means it inserts the first pattern
               retrieved in place of %1, inserts the second pattern retrieved for %2, and so on. For example: the
               Message Template field contains %1 occurred on %3 due to %2, the Message Pattern
               contains the regular expression (.*): (.*). IP: (.*) and a syslog message arrives that
               matches the Syslog Match Text with the contents: Error: out of memory. IP:
               192.168.0.1 then the message text varbind on the resulting event resolves to Error
               occurred on 192.168.0.1 due to out of memory. This works on other template fields
               too, like Category.
               OpenManage NM's syslogNotification event also includes a varbind containing the original syslog
               message. This can be useful if you want the syslogText varbind to be the product of processing but
               you also want to see the original message.




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                  Message Test
                  This screen lets you test your message against the pattern and/or template. Click the Test button to
                  the right of the top field to activate this testing.
                  Test Message—Enter a message to test.
                  Test Message Result—The text extracted for the event as it appears in the template after you click
                       the Test button.
                  Click Apply to accept these escalation criteria, or Cancel to abandon them without saving.

                        NOTE:
                        The default behavior of the syslogNotification is Reject rather than Suppress. This means that received
                        syslog messages have to match an escalation filter to become events. Users who want all received
                        syslog messages to become events must override this default setting and change the behavior to either
                        Suppress (which makes only events but no alarms) or Alarm (which makes alarms). Note that this default
                        behavior only affects messages that do not match any escalation filter. OpenManage NM processes
                        those that match an escalation filter just the same regardless of what is the default behavior of
                        syslogNotification.
                  Explicit Members
                  This screen displays the explicit member entities that are associated with this rule. If any explicit
                  members are defined for a rule, then the event must be associated with one of these entities in
                  order for this rule to be triggered. This is a convenient way of defining entity-specific filters for the
                  rule and you can also use this feature to allow the rule to behave differently based on the entity that
                  is associated with the triggering event. Please note that the Explicit Membership box on the
                  General tab must be checked in order to enable the buttons on this tab.




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               If explicit membership is enabled, then you can click Add and this displays a screen through which
               you can select an explicit member entity and optionally configure specific overrides that would be
               associated with this member.




               From the Editing Explicit Member Entity popup screen, you can select a Member Entity from
               among different possible entity types including Managed Equipment, among others. You can also
               specify Filter Criteria Overrides, which are the changes to the filter criteria that should be applied
               when this rule is triggered by an event associated with the Member Entity that was selected. Finally,
               you can specify Action Parameter Overrides, which are changes to the action parameters that
               should be applied when this rule is triggered by an event associated with the member entity that
               was selected. If you choose to add an override of either type, a screen will be shown that allows you
               to specify the attributes that are being overridden along with the override value.




               On the Editing Override Value screen, if this is a filter criteria override then a drop down list will be
               shown to select the Filter Criteria Attribute. Note that this list will be populated with the filter
               criteria that this rule is configured with from the Filtering tab. If you select an attribute and then
               enter a value then this value will override the default configured value on the Filtering tab if this
               rule is triggered by an event associated with the configured member. The filter will then be applied
               with the override values and this rule will only be triggered if these criteria are met.




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                  If this is an action parameter override then drop down lists will be shown to select the action and
                  the action parameter. Note that these lists will be populated with the names of the items in the
                  Actions tab and also with the parameters associated with each respective action. If you select an
                  action and an action parameter and then enter a value then this value will override the default
                  configured value on the Actions tab if this rule is triggered by an event associated with the
                  configured member. The action will then be executed with the override values.

                  Actions
                  This screen catalogs the actions configured for the Automation rule you previously configured.




                  Click Add Action to create a new action in the editor. The Actions column lets you revise (Edit this
                  entry) or Delete entries in this table. Click Save to preserve the actions configured here, or Cancel
                  to abandon any edits.
                  Clicking Add Action to configure:
                    •   an action based on available Adaptive CLI actions
                    •   destinations and messages for email and SMS recipients
                    •   automation to forward northbound messages
                    •   config changed
                  Click Apply to accept configured actions, or Cancel to abandon their editor and return to this
                  screen.

                        NOTE:
                        Actions available here are like those for Discovery Profiles on page 165. You can also use actions to
                        Execute Proscan. See Change Management and Compliance.




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               Action
               This screen lets you configure an action based on Adaptive CLI actions available in the system.
               Select an action. To search for an action, specify search criteria and then click Go. The parameters
               available vary depending on the selected action. Tooltips provide additional information when you
               hover over a field.




               Optionally select the action device target from the list. If you do not specify an explicit target,
               OpenManage NM uses the default entity for the event as the target.
               You can specify parameter variables, dependent on the event, rule, and selected targets specifics.
               Do this with either NOTIFICATION or VARBIND.
               The following are valid attributes to use in a phrase like [[NOTIFICATION: <attr name>]]:
                •    TypeOID
                •    AlarmOID
                •    EntityOID
                •    EquipMgrOID
                •    DeviceIP
                •    SourceIP
                •    EntityName

                     NOTE:
                     Consult the relevant portlet to find and verify an OID. For example, the Event Definitions portlet has an OID
                     column, and the varbind OIDs appear in the event editor Message Template window.
               Correct spelling is mandatory, and these are case sensitive. NOTIFICATION and VARBIND must
               be all caps, and within double brackets. The colon and space after the key word are required.
               OpenManage NM converts anything that conforms to these rules and then passes the converted
               information into the action before execution. Anything outside the double square brackets passes
               verbatim.




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                  For example, if you have the following string:
                        This is the alarm OID [[NOTIFICATION: AlarmOID]] of notification type
                         [[NOTIFICATION: TypeOID]] having variable binding [[VARBIND: 1.3.4.5.3]]
                  This string is passed as:
                        This is the alarm OID 1OiE92tUjll3G03 of notification type
                         1.3.6.1.4.1.3477.1.27.20.7 having variable binding 151.
                  Click Apply to accept your edits, or Cancel to abandon them. For an example, see Extracting
                  Adaptive CLI Attributes from a Syslog Alarm on page 322.
                  Email
                  Email actions configure destinations and messages for e-mail and SMS recipients. You can include
                  fields that are part of the event by using the features described in Using Email Action Variables on
                  page 318.




                  Notice that below the e-mail action Description, you can check to send this mail (and/or SMS) to
                  associated Contacts, if any are available, even if you specify no mail address destination. The SMS
                  tab is similar to the e-mail tab, but limits the number of characters you can enter with a field at its
                  bottom. You must send SMS to the destination phone carrier’s e-mail-to-SMS address. For
                  example sending text to 916-555-1212 when Verizon is the carrier means the destination address is
                  9165551212@vtext.com.
                  When enabled, notification emails go to the Contact associated with the Managed Equipment for
                  the notification event. For the contact's email address, mail goes to the first specified address from
                  either the Work Email, Home Email or Other Email fields in the Contact editor. SMS messages go




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               to the Pager Email field for the contact. If a Contact was not found or the required addresses are
               not specified for the Contact, then OpenManage NM uses the Recipient addresses configured in
               the Email Action.

                     NOTE:
                     Programs other than OpenManage NM let you manipulate mail outside the scope of OpenManage NM.
                     For example IFTTT (If This Then That) lets you send SMS in countries whose providers do not provide e-
                     mail equivalents to SMS addressing. You can also use such applications to save mail attachments like
                     reports to Dropbox accounts.
               This screen has the following fields:
               Recipient —Enter an e-mail address in this field and then click add (+) to add a recipient’s
                    address. Click delete (-) to remove selected recipients.
               Subject— The e-mail subject.
               Email Header/Footer— The e-mail’s heading and footing.
               SMS Body— The e-mail contents to be sent as text.
               SMS Max Length— The maximum number of characters to send in the SMS. Typically this is 140,
                  but the default is 0, so be sure to set to your carrier’s maximum before saving.
               Here is what Email looks like when it arrives:
                     Sent: Wednesday, March 02, 2011 2:37 PM
                     To: techpubs@testsoftware.com
                     Subject: Web Test
                     Notification: redcellInventoryAttribChangeNotification
                     Notification Attributes:
                     ===============================
                     sysUpTime.0                                  = 5 hours, 16 mins, 43 secs
                     snmpTrapOID.0                                = 1.3.6.1.4.1.3477.2.2.1
                     redcellInventoryAttrName.0                   = RedCell.Config.EquipmentManager_Notes
                     redcellInventoryAttrChangedBy.0 = admin
                     redcellInventoryAttrNewValue.0               = hello
                     world
                     severity
                     auto
                     redcellInventoryAttrOldValue.0               = hello
                     world
                     severity




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                  Forward Northbound
                  When you want to forward a message, such as an SNMP v2 event (trap) to another host, then
                  configure automation in this screen to do that.




                  Enter the following fields:
                  Forwarded Message Type — The type of message to forward. This can be an SNMP v2 Trap, a
                      Syslog, or an HTTP REST call. This selection is determined by the type of message the
                      northbound system is expecting. For example, you might have a northbound system that is
                      expecting to collect SNMP traps from OpenManage NM. Some northbound systems are
                      configured to collect Syslog messages and other might be configured to collect HTTP REST
                      calls.
                  Destination Address— The IP address of the northbound destination.
                  Destination Port—The port on the northbound destination. Note that this auto-populates with
                       the most common port number based on the selected Forwarded Message Type.
                  Community String —The SNMP community string for the northbound destination. This is only
                     relevant if the Forwarded Message Type is SNMP Trap.
                  Username — If the Forwarded Message Type is HTTP REST call, the username is required for
                       authentication.
                  Password — If the Forwarded Message Type is HTTP REST call, the password is required for
                       authentication.
                  Send as Proxy— Select this option to send the IP address you specify as the event source. If not
                      selected, the IP address of the mediation server receiving the trap is sent. (See Sending as
                      Proxy on page 315 for more information.)
                  Send Generic Message — When selected, this sends a generic message, whether this be a trap or a
                      different kind of message. See Forwarding a Generic Message on page 317 for more
                      information.
                  Only forward variable bindings received in original trap payload (do not forward mined variable
                      bindings) — If selected, only the variable bindings received in the original trap payload is
                      forwarded. If not selected, the mined variable bindings are also forwarded. If the Forwarded
                      Message Type is Syslog, this is irrelevant because Syslog messages do not contain variable
                      bindings.




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               Config Changed
               This action sets a flag on the device notifying that a configuration change has occurred. This also
               updates the "Last Configuration Change" attribute of the managed resource that is associated with
               the event that triggered the automation to execute.
               Hint: You can generate the report named "Configuration Change Report" to see all configuration
               changes that have occurred for each device.

               Forwarding Traps
               SNMPv1 and SNMPv3 traps become SNMPv2 Traps
               SNMPv1 traps are converted according to the RFC 1908 specification. SNMPv3 traps are already in
               the SNMPv2 format and the application simply does not use SNMPv3 security when sending these
               northbound. The following is the relevant snippet from the RFC 1908 specification:
                     3.1.2. SNMPv1 -> SNMPv2
                     When converting responses received from a SNMPv1 entity acting in an agent
                      role into responses sent to a SNMPv2 entity acting in a manager role:
                     (1) ...
                     (2) If a Trap-PDU is received, then it is mapped into a SNMPv2-Trap-PDU.
                      This is done by prepending onto the variable-bindings field two new
                      bindings: sysUpTime.0 [6], which takes its value from the timestamp
                      field of the Trap-PDU; and, snmpTrapOID.0 [6], which is calculated as
                      follows: if the value of generic-trap field is enterpriseSpecific,
                      then the value used is the concatenation of the enterprise field from the
                      Trap-PDU with two additional sub- identifiers, ‘0', and the value of the
                      specific-trap field; otherwise, the value of the corresponding trap
                      defined in [6] is used. (For example, if the value of the generic-trap
                      field is coldStart, then the application uses the coldStart trap [6])
                      Then, one new binding is appended onto the variable-bindings field:
                      snmpTrapEnterprise.0 [6], which takes its value from the enterprise
                      field of the Trap-PDU. The destinations for the SNMPv2-Trap-PDU are
                      determined in an implementation-dependent fashion by the proxy agent.
               Despite this description, many vendors defined a trap for SNMPv2 and then had to support
               sending it as SNMPv1 protocol. The assembly of v2 OID from v1 enterprise and specific is
               supposed to include an extra zero (0) as in: enterpriseOID.0.specific. However, if a v2 trap is
               defined that has no '0' in it, it cannot be sent as v1 and converted back following the specifications.
               Sending as Proxy
               The OpenManage NM (OMNM) application can forward a trap as though it came from a device
               (sourceIP spoofing) or act as an agent proxy according to the SNMP-COMMUNITY-MIB. If not
               sending as a proxy, the OMNM application forwards traps from an application server cluster as an
               SNMPv2 notification as though it is coming directly from the originating agent (device). This is a
               common and the desired behavior. Some operating systems prevent packet spoofing as a security
               measure so this behavior is optional.
               If sending as a proxy, the OMNM application forwards the trap from the IP address given in the
               field adjacent to the Send as Proxy option when you select it. If you select the Send as Proxy option
               but leave the adjacent IP address blank, the OMNM application forwards the trap from the
               receiving mediation server as sourceIP.




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                  The relevant excerpt from SNMP-COMMUNITY-MIB is:
                    --
                    -- The snmpTrapAddress and snmpTrapCommunity objects are included
                    -- in notifications that are forwarded by a proxy, which were
                    -- originally received as SNMPv1 Trap messages.
                    --



                  snmpTrapAddress OBJECT-TYPE
                              SYNTAX     IpAddress
                              MAX-ACCESS accessible-for-notify
                              STATUS current
                              DESCRIPTION
                                         "The value of the agent-addr field of a Trap PDU which
                                         is forwarded by a proxy forwarder application using
                                         an SNMP version other than SNMPv1.       The value of this
                                         object SHOULD contain the value of the agent-addr field
                                         from the original Trap PDU as generated by an SNMPv1
                                         agent."
                     -- 1.3.6.1.6.3.18.1.3 --          ::= { snmpCommunityMIBObjects 3 }


                    snmpTrapCommunity OBJECT-TYPE
                              SYNTAX     OCTET STRING
                              MAX-ACCESS accessible-for-notify
                              STATUS current
                              DESCRIPTION
                                         "The value of the community string field of an SNMPv1
                                         message containing a Trap PDU which is forwarded by a
                                         a proxy forwarder application using an SNMP version
                                         other than SNMPv1.        The value of this object SHOULD
                                         contain the value of the community string field from
                                         the original SNMPv1 message containing a Trap PDU as
                                         generated by an SNMPv1 agent."
                     -- 1.3.6.1.6.3.18.1.4 --          ::= { snmpCommunityMIBObjects 4 }


                  The OMNM application always adds snmpTrapAddress to every trap forwarded as a proxy,
                  (never adding snmpTrapCommunity). It does not keep track of the community string on the
                  traps received.




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               Forwarding a Generic Message
               The option to forward a generic message forwards a trap or other type of message is found in the
               following MIB file:
               ../owareapps/eventmgmt/mibs/AssureAlarms-MIB
               The following is the definition, as found in this file:
               redcellGenericTrap NOTIFICATION-TYPE
               OBJECTS { alarmOID, referencedNotificationTypeOID,
               referencedNotificationName, redcellSeverity, redcellEquipmentName,
               redcellEquipmentManagerOID, redcellInventoryEntityName,
               redcellInventoryEntityType, alarmMessage, redcellNotificationReceivedTime,
               redcellEquipmentIPAddress }
                     STATUS current
               DESCRIPTION
               "Generic trap used for forwarding information about another trap while using a
               standard trap format and notification type OID."
               ::= { defaultProcessing 6 }
               There is an XML version of this definition in the following file:
               .../owareapps/eventmgmt/server/conf/mibs.xml
               Here is the XML content, as found in this file:
               <item>
                     <Description>Generic trap used for forwarding information about another
                      trap while using a standard trap format and notification type OID.</
                      Description>
                     <IndexPosition>1</IndexPosition>
                     <Name>redcellGenericTrap</Name>
                     <OID>1.3.6.1.4.1.3477.1.7.11.6</OID>
                     <Status>current</Status>
                     <Type>NOTIFICATION-TYPE</Type>
                     <Variables>
                        <item>
                            <Name>alarmOID</Name>
                            <OID>1.3.6.1.4.1.3477.1.7.11.1</OID>
                        </item>
                        <item>
                            <Name>referencedNotificationTypeOID</Name>
                            <OID>1.3.6.1.4.1.3477.1.7.11.3</OID>
                        </item>
                        <item>
                            <Name>referencedNotificationName</Name>
                            <OID>1.3.6.1.4.1.3477.1.7.11.4</OID>
                        </item>
                        <item>
                            <Name>redcellSeverity</Name>
                            <OID>1.3.6.1.4.1.3477.1.6.1</OID>
                        </item>
                        <item>




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                               <Name>redcellEquipmentName</Name>
                               <OID>1.3.6.1.4.1.3477.2.3.1</OID>
                           </item>
                           <item>
                               <Name>redcellEquipmentManagerOID</Name>
                               <OID>1.3.6.1.4.1.3477.2.3.14</OID>
                           </item>
                           <item>
                               <Name>redcellInventoryEntityName</Name>
                               <OID>1.3.6.1.4.1.3477.2.1.8</OID>
                           </item>
                           <item>
                               <Name>redcellInventoryEntityType</Name>
                               <OID>1.3.6.1.4.1.3477.2.1.5</OID>
                           </item>
                           <item>
                               <Name>alarmMessage</Name>
                               <OID>1.3.6.1.4.1.3477.1.7.11.2</OID>
                           </item>
                           <item>
                               <Name>redcellNotificationReceivedTime</Name>
                               <OID>1.3.6.1.4.1.3477.1.6.3</OID>
                           </item>
                           <item>
                               <Name>redcellEquipmentIPAddress</Name>
                               <OID>1.3.6.1.4.1.3477.2.3.8</OID>
                           </item>
                        </Variables>
                        <ViewType>OBJECT</ViewType>
                  </item>

                  Using Email Action Variables
                  The following are the Email Action variables used to customize the action email content. These
                  variables are classified as follows:
                    •   Basic Variables
                    •   Managed Equipment Variables
                    •   Entity Type: Port
                    •   Entity Type: Interface, Logical interface
                  To successfully retrieve custom attributes in an e-mail, you must first create them. See Editing
                  Custom Attributes on page 150.
                  You can also configure more limited variables that are slightly more efficient in performance, if not
                  as detailed as those described in the following section.




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               For example, you can retrieve the following attributes:
                     {RedCell.Config.EquipmentManager_Custom1}
                     {RedCell.Config.EquipmentManager_Custom2}
                     {RedCell.Config.EquipmentManager_LastBackup}
                     {RedCell.Config.EquipmentManager_LastConfigChange} and
                     {RedCell.Config.EquipmentManager_HealthStatus}

                     NOTE:
                     If the entity does not contain/return these values, then the message [No data for <attribute name>]
                     appears in the email instead.
               Best practice is to clarify such attributes by combining them with others that spell out their source.
               Basic Variables
               Here is a description of the basic variables:

               Attribute                    Description                               Email Action Variable
               Name                         The event/alarm name                      {Name}
               Message                      Description from the event                {Message}
               Entity Name                  The entity (interface, card...) name      {EntityName}
               Equipment Manager            The name of the equipment, parent or {EquipMgrName}
               Name                         chassis.
               Device IP address            the IP of the device in alarm             {DeviceIP}
               Entity Type                  Type of entity (Router, and so on)        {EntityType}
               Instance ID                  An identifier for the event               {InstanceID}
               Protocol Type                Of originating alarm (SNMP, syslog,       {ProtocolType}
                                            etc.)
               Protocol Sub Type            Inform, Trap, [blank] (for internal       {ProtocolSubType}
                                            events)
               Receive Time                                                           {RecvTime}
               Region                       The mediation server partition name. {Region}
               Severity                     0 - cleared, through 6 - critical, from   {Severity}
                                            Alarm Definition
               Source IP address            The IP of the component sending the {SourceIP}
                                            alarm

               Managed Equipment Variables
               Here is a description of the managed equipment variables. These variables may have a performance
               impact

               Attribute                    Description                               Email Action Variable
               Custom 1                     Note that although you can re-name {RedCell.Config.EquipmentManager
                                            any Custom attribute, you must use _Custom1}
                                            the variable’s original name. For
                                            example here, that is
                                            {RedCell.Config.EquipmentManager
                                            _Custom1}




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                   Attribute                 Description                           Email Action Variable
                   Custom 2                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom2}
                   Custom 3                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom3}
                   Custom 4                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom4}
                   Custom 5                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom5}
                   Custom 6                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom6}
                   Custom 7                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom7}
                   Custom 8                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom8}
                   Custom 9                                                        {RedCell.Config.EquipmentManager
                                                                                   _Custom9}
                   Custom 10                                                       {RedCell.Config.EquipmentManager
                                                                                   _Custom10}
                   Custom 11                                                       {RedCell.Config.EquipmentManager
                                                                                   _Custom11}
                   Custom 12                                                       {RedCell.Config.EquipmentManager
                                                                                   _Custom12}
                   Custom 13                                                       {RedCell.Config.EquipmentManager
                                                                                   _Custom13}
                   Description               Description of the equipment          {RedCell.Config.EquipmentManager
                                                                                   _DeviceDescription}
                   DNS Hostname              Hostname of equipment                 {RedCell.Config.EquipmentManager
                                                                                   _Hostname}
                   Equipment Type            Equipment Type                        {RedCell.Config.EquipmentManager
                                                                                   _CommonType}
                   Firmware Version          Version of the equipment’s firmware   {RedCell.Config.EquipmentManager
                                                                                   _FirmwareVersion}
                   Hardware Version          Version of the equipment’s hardware   {RedCell.Config.EquipmentManager
                                                                                   _HardwareVersion}
                   Last Backup               Last Backup                           {RedCell.Config.EquipmentManager
                                                                                   _LastBackup}
                   Last Configuration        Last Configuration Change             {RedCell.Config.EquipmentManager
                   Change                                                          _LastConfigChange}
                   Last Modified             Timestamp of Last Modified            {RedCell.Config.EquipmentManager
                                                                                   _LastModified}
                   Model                     Model number of the equipment         {RedCell.Config.EquipmentManager
                                                                                   _Model}
                   Name                      Component name                        {RedCell.Config.EquipmentManager
                                                                                   _Name}
                   Network Status            Network Status                        {RedCell.Config.EquipmentManager
                                                                                   _HealthStatus}




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               Attribute                  Description                           Email Action Variable
               Notes                      Equipment Notes                       {RedCell.Config.EquipmentManager
                                                                                _Notes}
               OSVersion                  OSVersion                             {RedCell.Config.EquipmentManager
                                                                                _OSVersion}
               Serial Number              Unique identifier for the equipment   {RedCell.Config.EquipmentManager
                                                                                _SerialNumber}
               Software Version           Version of the equipment’s software   {RedCell.Config.EquipmentManager
                                                                                _SoftwareVersion}
               System Object Id           SNMP based system object identifier {RedCell.Config.EquipmentManager
                                                                              _SysObjectID}

               Entity Type: Port
               Here is a description of the Port entity type variables.

               Attribute                  Description                           Email Action Variable
               Custom 1                   Note that although you can re-name {RedCell.Config.Port_Custom1}
                                          any Custom attribute, you must use
                                          the variable’s original name. For
                                          example here, that is
                                          {RedCell.Config.EquipmentManager
                                          _Custom1}
               Custom 2                                                         {RedCell.Config.Port_Custom2}
               Custom 3                                                         {RedCell.Config.Port_Custom3}
               Custom 4                                                         {RedCell.Config.Port_Custom4}
               Encapsulation              Encapsulation                         {RedCell.Config.Port_Encapsulation}
               Hardware Version           Version of the port’s hardware        {RedCell.Config.Port_HardwareVersion}
               If Index                   SNMP If Index                         {RedCell.Config.Port_IfIndex}
               MAC Address                “Typically a MAC Address, with the {RedCell.Config.Port_UniqueAddress}
                                          octets separated by a space, colon or
                                          dash depending upon the device. Note
                                          that the separator is relative when
                                          used as part of a query.”
               Model                      Model number of the port              {RedCell.Config.Port_Model}
               MTU                        Maximum Transmission Unit             {RedCell.Config.Port_Mtu}
               Name                       Port name                             {RedCell.Config.Port_Name}
               Notes                      Port Notes                            {RedCell.Config.Port_Notes}
               Port Description           Description of the port               {RedCell.Config.Port_DeviceDescrip
                                                                                tion}
               Port Number                Port Number                           {RedCell.Config.Port_PortNumber}
               Slot Number                Slot Number                           {RedCell.Config.Port_SlotNumber}
               Speed                      Speed                                 {RedCell.Config.Port_Speed}
               Subnet Mask                SubMask                               {RedCell.Config.Port_SubMask}




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                  Entity Type: Interface, Logical interface
                  Here is a description of the Interface, Logical interface entity types

                   Attribute                 Description                           Redcell Email Action variable
                   Custom 1                  Note that although you can re-name {RedCell.Config.Interface_Custom1}
                                             any Custom attribute, you must use
                                             the variable’s original name. For
                                             example here, that is
                                             {RedCell.Config.EquipmentManager
                                             _Custom1}
                   Custom 2                                                        {RedCell.Config.Interface_Custom2}
                   Custom 3                                                        {RedCell.Config.Interface_Custom3}
                   Custom 4                                                        {RedCell.Config.Interface_Custom4}
                   Encapsulation             Encapsulation                         {RedCell.Config.Interface_Encapsula
                                                                                   tion}
                   IfIndex                   SNMP Interface Index                  {RedCell.Config.Interface_IfIndex}
                   Interface Description     Description of the Interface          {RedCell.Config.Interface_DeviceDe
                                                                                   scription}
                   Interface Number          Interface Number                      {RedCell.Config.Interface_Interface
                                                                                   Number}
                   Interface Type            Common Interface Type                 {RedCell.Config.Interface_Common
                                                                                   Type}
                   MTU                       Maximum Transmission Unit             {RedCell.Config.Interface_Mtu}
                   Name                      Interface name                        {RedCell.Config.Interface_Name}
                   Notes                     Interface Notes                       {RedCell.Config.Interface_Notes}
                   Port Number               Port Number                           {RedCell.Config.Interface_PortNumber}
                   Slot Number               Slot Number                           {RedCell.Config.Interface_SlotNumber}
                   Subnet Mask               Subnet Mask of the Interface          {RedCell.Config.Interface_SubMask}


         Extracting Adaptive CLI Attributes from a Syslog Alarm
                  This section demonstrates how to pass attribute text from a syslog alarm to an action by detailing
                  the following workflow:
                    1   Receiving Syslog Events
                    2   Matching Text from a syslogNotification Event
                    3   Creating Extended Event Definition for syslogNotification
                    4   Creating ACLI Action and Pass Varbind Value for Execution
                    5   Verifying the Results




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               Receiving Syslog Events
               To receive syslog events, you need to configure a device to send syslog traps to the OpenManage
               NM (OMNM) application.
               Receive syslog events by configuring your device to send syslog traps to the OMNM application as
               follows.
                1    Configure a device to send syslog to the appserver.
                     For a Dell S5000 switch (10.128.6.22), add logging 192.168.0.138.
                     !
                     logging trap debugging
                     logging 192.168.54.43
                     logging 10.35.35.201
                     logging 10.35.35.78
                     logging 192.168.50.200
                     logging 192.168.0.138
               Verify that the Event History portlet shows the SyslogNotification event name for the defined
               entity.
                     The syslogNotification default behavior is suppress. Because we receive many
                     syslogNotifications, you can set the event to Reject after confirming the use case. For Cisco,
                     the syslog event may use clogMessageGenerated.




               Matching Text from a syslogNotification Event
               This example matches specific text from an event and associates it to a category by creating a
               Syslog Escalation rule in the Event Processing Rule portlet.
               Match text from a syslogNotification event as follows.
                1    Extract the port information from a syslog message.
                     S5000> configure t
                2    Log in Device and
                     > interface te 0/20




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                    3   Shut down an interface:
                        > shutdown
                    4   Bring up the interface
                        > no shutdown
                    5   Locate the syslogNotification event in the Event History portlet.
                    6   Look at the syslogText provided from the shutdown and no shutdown commands.




                    7   Extract the relevant port information with these messages.
                        syslogText.0: 6w6d1h: S5000_22: %STKUNIT0-M:CP %IFMGR-5-ASTATE_DN:
                         Changed interface Admin state to down: Te 0/20
                        syslogText.0: 6w6d1h: S5000_22: %STKUNIT0-M:CP %IFMGR-5-ASTATE_UP:
                         Changed interface Admin state to up: Te 0/20
                    8   Right-click to create a new Protocol Translation > Syslog rule in the Event Processing Rules
                        portlet to extract information.
                    9   Make sure that the filtering tab is not blank as you edit.
                        For this example set Source IP is not 0.0.0.0.




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               10    Add the Escalation criteria extracting the following Syslog information for the Te 0/20
                     interface:
                     syslogText.0: 6w6d1h: S5000_22: %STKUNIT0-M:CP %IFMGR-5-ASTATE_DN:
                      Changed interface Admin state to down: Te 0/20




               11    Provide the following information:
                     • Message Match Text use ASTATE_DN from the syslogText.
                     • Event Severity is the alarm severity for syslogNotification::[Category]
                     • Message Pattern get from the given syslogText.0, parse the port string (Te 0/20)
                       with down: (.*)
                     • Category Template set up an event definition based on the Category name. The next
                       step creates an Extended Event Definition for this. For example, the next time this type
                       of syslog alarm arrives, it appears as syslogNotification::[Category] in this
                       case syslogNotification::STATE_DOWN.
                     • Message Template is the regular expression in this rule parses Message Pattern, %1 from
                       (.*) into syslogText
               12    Apply the STATE_DN criteria.




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                   13   Parse the ASTATE_UP match text similar to:
                        syslogText.0: 6w6d1h: S5000_22: %STKUNIT0-M:CP %IFMGR-5-ASTATE_UP:
                         Changed interface Admin state to up: Te 0/20




                   14   Apply and then Save.

                  Creating Extended Event Definition for syslogNotification
                  Create extended event definition events to associate certain alarms for syslogNotification
                  categories.
                    1   Go to the Event Definitions portlet (Settings > Alarm Definitions).
                    2   Locate the syslogNotification event.




                    3   Right-click the syslogNotification event and then select Edit.




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                     The Editing Event Definition window is dispalyed.




                4    Click the Extensions tab.
                5    Add syslogCategory to the Key Variables list.
                6    Click Save.
                7    Right-click the syslogNotification event and then select Add Extended Event Definition0.
                     The Adding Extended Event Definition window is displayed.
                8    Use the category specified earlier and have syslogCategory create the Extended Event
                     Definition.




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                    9   Verify that the next alarm is the alarm created during this exercise, after creating the syslog
                        events for syslogNotification::STATE_DOWN and STATE_UP.




                   10   Log into the device and shutdown an interface and then check the Alarms or Event History:
                        S5000> configure t
                        > interface te 0/20
                        > shutdown
                        Then bring up the interface:
                        > no shutdown




                  Creating ACLI Action and Pass Varbind Value for Execution
                  For this example, create an ACLI action to bring up the interface based on the Varbind extracted
                  from the syslogNotification event. So if you shut down an interface, what we did previously
                  extracted the port information into the syslogText attribute, the Adaptive CLI uses the Varbind for
                  the ACLI script we set up here.
                  Create an ACLI action pass the Varbind value for execution as follows.
                    1   Navigate to the Actions portlet (Resources > Actions).
                    1   Create a new action.
                        a. Right-click the portlet and then select New > Adaptive CLI.
                        b. Specify the general settings and any associated actions.
                        c. Save the action.
                    2   Select the Attributes tab.




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                3    Create a String attribute Message.




                4    Select the Scripts tab.
                5    Create an Embedded CLI script.
                     For example, enter the following commands:
                     configure t
                     interface [Message]
                     no shutdown
                     exi
                     We will create a post processing rule and pass a Varbind OID so it goes into the Message
                     parameter specified here.




                6    Create an Automation rule.
                     a. Select Alarms > Automation.
                        The Automation and Event Processing Rules portlet is displayed.
                     b. Right-click and then select New > Automation.




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                        c. Add the event with which to trigger an action.




                        d. Click the Actions tab and then select Add Action > Action.
                        e. Select the action you made.
                        f. Pass the Varbind OID to the Adaptive CLI action.
                            For a Varbind, the syntax is [[VARBIND: <varbind_oid>]].




                            The Varbind of interest is the syslogText extracted port string from syslogNotification.
                    7   Check the Event Details from Event History portlet.




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                 8   Get the Varbind OID.
                     a. Go to the Event Definition portlet (Settings > Alarm Definitions).
                     b. Right-click the event definition and then select Edit.
                        The Editing Event Definition window is dispalyed.
                     c. Click the Message Template tab.
                        The syslogText OID shows as 1.3.6.1.4.1.3477.1.7.5.1




               Verifying the Results
               Verify the results as follows.
                 1   Trigger the syslogNotification::STATE_DOWN event by shutting down an interface.
                     If the Adaptive CLI action successfully brings the interface back up, it triggers the
                     syslogNotification::STATE_UP event.
                 2   Check the audit trail for the Adaptive CLI action.
                     When successful, it indicates the Adaptive CLI successfully used the syslogText varbind
                     message.




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Event Definitions
                   You can define how the OpenManage NM application treats notifications (events) coming into the
                   system. Administrators define event behavior deciding whether it is suppressed, rejected, or
                   generates an Alarm. Manage the definitions of events from this portlet.
                   By default, this portlet is accessed by selecting Settings > Alarm Definitions from the navigation
                   bar.




                   From this portlet, you can configure events that, when correlated as described in Automation and
                   Event Processing Rules on page 297, trigger actions.
                   Columns include the MIB Name, Event Name, Notification OID, Severity for associated alarms,
                   and Default Behavior. Alter these settings from the Event Definition Editor. Right-click a selected
                   event definition for the following menu items:
                   Edit—Open the selected event definition in the Event Definition Editor.
                   Set Behavior—This lets you select from the following options:
                         • Reject–Every received message is rejected.
                         • Suppress–The message is tracked in Event History and then ignored.
                         • Alarm–The message is tracked in Event History and then processed through the alarm
                           life cycle, which might create a new alarm, increment an existing alarm, or clear an
                           existing alarm.
                   Set Severity— Set the alarm severity for the selected event, or select the Cleard option.
                   MIB—This lets you upload a new MIB to your event definitions.
                   Import/Export—Export the selected config file to disk, or import it from disk. You can also import/
                       export a selected configuration file.
                         Provides the following actions when available for the selected image:
                         • Import retrieves a file containing XML compliance descriptions. Some imports can
                           come from a URL.
                         • Export Selection exports the selected description to an XML file.
                         • Export All exports all descriptions to an XML file.
                         Click Download Export File to specify where to save the file.
                         The Import/Export option is useful as a backup or to share descriptors with other projects.
                         You must import data into the correct portlet. For example, you cannot import event data
                         into the Actions portlet.
                         If one type of data depends on another, you must import the other data before importing the
                         data that depends on it.



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               Share with User—Opens the Share with User window where you select the colleague you want to
                    share this assets with and then type your message.
               You can also configure an Aging Policy and View events as PDF in this menu. See Implementing
               DAP on page 73 for more details.
               To see an event’s propagation policy, you can view the editor panel described below. See also
               Understanding Alarm Propagation to Services and Customers on page 350.
               Unknown Traps
               OpenManage NM normalizes all incoming traps not elsewhere defined as
               redcellUnknownTrap (essentially “none of the above”). When a trap arrives with an OID not
               in the list of event definitions then the redcellUnknownTrap determines its behavior. You can
               configure OpenManage NM to reject all such traps, suppress them so that they become events or
               allow them all to become full-fledged alarms.
               You can also create event processing rules to handle (suppress, alarm, send e-mail) any such events.
               See Creating Event Processing Rules on page 300. The redcellUnknownTrap’s default
               behavior is suppress, its default severity is indeterminate. Events and alarms that are unknown still
               contain the notification OID from the trap. As a formality, redcellUnknownTrap has its own
               notification OID.
               Different Forms of Event and Alarm Correlation
               OpenManage NM supports different forms of event and alarm correlation:
                •    Stream Based Correlation: When multiple events occur within the mediation server and
                     there are rules that correlate them with each other so that when a certain kind of pattern is
                     detected (frequency threshold, state flutter), this affects which events the mediation server
                     submits to the application server. You can configure this form of correlation by creating
                     certain types of event processing rules. See Stream Based Correlation on page 303
                •    Event to Alarm correlation: Open alarms are uniquely identified by the source entity and the
                     key bindings. This means that if a new alarm comes in that is essentially identical to an
                     existing open alarm, this will increment the count of the open alarm and also in some cases
                     escalate it or de-escalate it (if the incoming alarm has a different severity level or a different
                     message). This is facilitated by the correlation hash field on each alarm record, which encodes
                     all of the fields relevant for correlation. Note that for key bindings, the data within the binding
                     that is used for correlation depends on how the variable binding definition is configured. If it
                     is configured to correlate By Value then the value within the binding is used and conversely if
                     it is configured to correlate By Index then the index of the OID is used. The index is the last
                     segment in the OID string after the defined OID. For example, if a variable binding definition
                     has an OID of 1.2.3 and the payload of a trap has a variable binding based on this definition
                     with an OID of 1.2.3.55 then 55 is the index of this binding. There will also be a value
                     associated with this binding in the payload of the trap, which is different from the index. See
                     Key Bindings within Correlations on page 338 for more information.
                •    Raising/Clearing Alarm Correlation: When an open alarm with a raising severity (Critical,
                     Major, Minor, or Warning) is correlated with another alarm that was recently created whose
                     severity is cleared, this will then clear the raising alarm (it will no longer be opened). See
                     Event Definitions Correlated Events for Raising/Clearing within Correlations on page 338 for
                     more information.
                •    Parent/Child Alarm Correlation: In some cases an alarm can cause other alarms to be created
                     and in other cases an alarm can block other alarms from being addressed. In these cases the
                     causing or blocking alarm becomes the parent and the alarms that were caused or blocked are
                     the children. This form of correlation can be performed manually or automatically. For




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                         information on manual parent/child alarm correlation, see Parent/Child Alarm Correlation:
                         Alarm Details Panel on page 173. For information on automatic parent child alarm
                         correlation, see Event Definitions Correlated for Parent/Child within Correlations on page
                         338.

         Event Definition Editor
                   This editor lets you modify event definitions from the following panels:
                    •    General
                    •    Message Template
                    •    Entity Lookup
                    •    Correlations
                    •    Extensions
                   And then you can start adding extended event definitions.
                   Click Save to preserve any modifications you have made, or Cancel to abandon them.

                   General
                   This tab manages basics for Event Definitions.




                   It has the following fields:
                   Event Name—A text identifier for the event.
                   Notification OID—The object ID.
                   MIB Name—The MIB with which this event is associated.
                   Severity—The severity of any associated alarm. If a new alarm is a clearing severity, then it closes
                        any existing alarm to which it correlates. Otherwise, if a new alarm severity does not match
                        the existing severity then the existing alarm is closed and a new alarm opened for the new
                        severity.




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               Default Behavior—The options for behavior (Undefined, Alarm, Suppress, Reject). Alarm means:
                   Process at the mediation server, generate event history and an alarm. Suppress means: Process
                   at the mediation server and generate an event (not an alarm). Reject means: Reject at the
                   mediation server (do not process)
               Resource Propagation—The hierarchical resource propagation behavior for any alarm based on
                   this event definition (either Default, Impacts subcomponents, or Impacts top level, or Impacts
                   Top Level and Subcomponents). (See also Understanding Alarm Propagation to Services and
                   Customers on page 350 for more about how this impacts services and customers.)
                     An event definition configures “Resource Propagation” (distinct from “Alarm propagation”)
                     based on the event type. Do alarms based on this event definition impact the overall device
                     (Impacts top level), subcomponents (Impacts subcomponents), both (Impacts Top Level and
                     Subcomponents) or just the correlated inventory entity (Default)?
                     Alarm behavior differs for monitorAttributeTrend alarms when an SNMP Interface monitor
                     targets a Port/Interface rather than targeting a device. If the alarm comes from the former, and
                     its correlation state is not Top Level Alarm, only the port appears alarmed, not the device. If
                     the monitor target is the device, however, the device appears as alarmed. If the monitor has
                     Port targets, then you must configure propagation to Top Level Alarm to see the device
                     alarmed in, for example, the System Topology view.
               Service Affecting—Check this if the event has an impact on services. Indicates whether the alarm
                    has an impact on services. If this is checked then alarms based on this event definition
                    propagate calculated alarm states across services and customers that depend on the (directly)
                    alarmed resource.
                     For example: If a resource has a service affecting alarm, then OpenManage NM propagates
                     the severity of this alarm across all associated services and customers. If the resource alarm is
                     “clear” then all services depending on this resource are “clear” too. If the resource alarm is
                     “critical,” then all services depending on that resource are “critical” too.

                     NOTE:
                     Alarms imported from previous versions appear as not service affecting, regardless of severity.
                     For more about propagation, see Understanding Alarm Propagation to Services and
                     Customers on page 350.
               Service Propagation — This only affects alarm propagation if Service Affecting is true for the event
                    definition. This is like Resource Propagation, but controls only whether alarms affect services
                    associated with entities hierarchically related to the alarmed entity. For example, if a port
                    alarm is created and its event definition specifies that the Service Propagation is Impacts
                    Subcomponents then the alarm propagates only to the services associated with this port's
                    interfaces. This does not affect the services associated with the top-level device.
               Advisory Text—The Advisory Text appears with the event. Configure it in the text box here.




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                   Message Template
                   The Mwssage Template panel lets you view or alter MIB Text, Bindings and the Message Template
                   for the selected event.




                   This contains three sections:
                   MIB Text—A read-only reminder of the MIB contents for this OID.
                   Variable Bindings in Event — Lists the variable bindings that are expected to be in events
                        based on this definition. This displays the varbind contents of the event, matching the
                        Variable Binding Name, OID (object identifier), and the association type. There are three
                        ways that bindings are associated to event definitions:
                         • In Trap Payload means that the association is determined by the MIB and thus it being
                           mentioned here is read-only.
                         • Critical Mined means that the binding needs to be mined from the device that
                           emitted the trap so that the event is augmented to have this additional information
                           available for the message template, correlation, entity lookup, extensions, or filtering of
                           event processing rules.
                         • Latent Mined means that the bindings are mined only during alarm correlation. This h is
                           too late for such bindings to be available for certain features, such as entity lookup and
                           extensions.
                         Click the Add Critical Mined Binding button to display a list of variable binding definitions
                         from which to select. Critical mined bindings are configured using this option. Latent mined
                         bindings are configured from the variable binding definition level. See Variable Binding
                         Definitions on page 347.




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               Message Template—A template for messages that accompany this event. Specifying an OID
                   within the curly braces {} in the template acts as a tag which replaces the OID with its MIB
                   value. For example: Interface: {1.3.6.1.2.1.2.2.1.1} left the down state.
                     You can also add optional messages surrounded by double brackets [[ ]]. if the event
                     definition has the message “aindex: {1.2.3}[[, bindex: {1.2.4}]]” and {1.2.3} is defined as say
                     “1” but {1.2.4} is not defined then this resolves to “aindex: 1". If they are both defined (say
                     {1.2.4} is “2”) then this resolves to “aindex: 1, bindex: 2"
                     If a message template exists for an existing, correlated alarm and the generated text does not
                     match the original alarm, then OpenManage NM closes the existing alarm, and generates a
                     new one. Leaving this blank transmits the original message.

                     NOTE:
                     Putting an OID in curly brackets amounts to a tag replaced by the MIB text for that OID. Look for OIDs and
                     messages in the MIB browser (as described in MIB Browser Tool on page 43).

               Entity Lookup
               This screen lets you configure how events based on this definition will be associated to entities. By
               rule, the Equipment attribute of any event will be determined by the source IP address of the
               original message (trap, syslog, etc.) By default, the Entity attribute will be the same as the
               Equipment, but there might be information in the variable bindings of the trap through with the
               event can be resolved to a subcomponent (Port, Interface, etc. )




               Variable Binding to Use for Lookup — Indicates the variable binding that should be used for the
               entity lookup. This drop down list includes all bindings that are expected to be in the trap payload
               and also those that are critical mined. Latent mined bindings cannot be used for this purpose.
               Entity Lookup Type — IndIndicates the algorithm that should be used to lookup the entity. For
               example, if the variable binding to use for lookup contains an ifIndex then you should select By
               ifIndex. It might also be that it instead contains the physical index, in which case there are two
               options, either By Physical Index (simple) to simply lookup the entity by this given physical index
               and associate to that entity directly, or By Physical Index (find parent) to instead use the physical
               index to find the hierarchical parent. This is useful when a vital component of a device, like a power
               supply or a fan, has sensors attached. Traps coming from this device contain the physical index of
               the sensor rather than the vital component being monitored. This lookup type lets you associate
               alarms with the vital components so you can ensure these components are functioning optimally.




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                   Correlations
                   This screen lets you configure different forms of correlation for the event definition including
                   Raising/Clearing Correlated Events, Parent/Child Correlated Events, and Correlation Key
                   Bindings, the latter of which is essential for event to alarm correlation.




                   The Event Definitions Correlated Eventsfor Raising/Clearing panel lets you control what type of
                   events will automatically clear the correlated alarms that are based on this definition. Within this
                   panel, click Add to display a selector (with filter) to find events definitions to correlate with the one
                   you are editing. What this means is that if there is an existing open alarm based on this definition
                   (we can call it a raised alarm) and then subsequently another alarm is created that is correlated to
                   the raised one, it will cause the raised alarm to be cleared (it will no longer be open). Note that this
                   will only work if the definition you are editing has the severity of cleared and the definition in the
                   list has a severity other than cleared. For example, link down and link up event definitions are
                   correlated as raising/clearing, and thus all events and alarms based on these definitions will inherit
                   these correlations. So consider that a link down event is received that creates a raised alarm and
                   then subsequently a link up event is created. The link up would then correlate to and clear the link
                   down alarm.
                   The Event Definitions Correlated for Parent/Child panel lets you control what type of alarms will
                   automatically correlate as parent/child relationships that indicate that one alarm caused the other
                   or that one alarm blocks progress on the other. What this means is that an open alarm based on the
                   definition you are editing will form a parent/child correlation to another open alarm based on a
                   definition in this list. Note that alarms based on the definition you are editing will become
                   correlated children of alarms based on definitions in the list (the later will become correlated
                   parents). For example, when new alarms are created that are based on this definition, OpenManage
                   NM will try to find a correlated match between each new alarm and other existing open alarms, and
                   it does this based on the entries in this list. If it finds a match, it will correlate the parent alarm to
                   the child alarm.



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               Within this panel, click Add to display a popup panel through which you can select an event
               definition to correlate with the one you are editing.




               The following fields show on this screen:
               Correlated Parent Event Definition — Displays a selector (with filter) to find the event definition
               to correlate to the one that you are editing. Alarms based on the definition you select will be
               correlated parents of alarms based on the definition that you are editing.
               Correlated By — This is the algorithm that is used to determine if there is a correlated match
               between any potential parent and child alarms. Currently the only option is Same Entity, meaning
               that the two alarms must be associated with the same entity in order to be correlated in this way.
               Resulting Correlation State — This indicates the type of parent/child correlation that should be
               created. Caused By indicates that the parent alarm caused the child alarm to be created and
               Blocked By indicates that the parent alarm is blocking progress on the child alarm. The most
               significant difference in terms of how such correlations are processed occurs when the parent alarm
               is cleared. In such scenarios, caused by children will be cleared automatically when the parent is
               cleared, whereas blocked by children will simply be unblocked when the parent is cleared.
               Priority — Indicates the priority that this entry should have in relation to the other entries in the
               list. If there are multiple entries in this list, then OpenManage NM will first try to find correlated
               matches based on the entry with priority 1 and then if there are no matches it will try to do so based
               the entry that is priority 2, and so on.
               In Correlation Key Bindings, use the right/left arrows to select Key Variables from Available
               Variables. The variables considered keys for event to alarm correlation are the key bindings for the
               target alarm in the correlation process. This means that if event A is defined to include event B as a
               correlated event, comparison of the key bindings defined for event B is also considered when
               comparing a new alarm for event A to an existing alarm for event B.




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                   Extensions
                   This START panel lets you configure Extension Key Bindings. Extensions allow you to adding
                   extended event definitions.




                   In Extension Key Bindings, use the right/left arrows to select Key Variables from Available
                   Variables. For example, if a device generates one type of trap, but has three key variables (alarmID,
                   state, and severity), you may extend the event definition based on state. One derived definition for
                   the “alarm” state and another for the “clear” state. You probably would extend based on state and
                   severity to define a clearing definition for all events where state is “clear” and then derive a specific
                   “alarm” event for each severity as defined by the vendor.

                   Adding Extended Event Definitions
                   The menu item for this screen can appear when you right-click an extendable event (one that has
                   one or more Extensions). For an implemented example, see Extending Event Definitions on page
                   342.




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               The Extended Event Definitions editor has the Extension Key Values fields that are the same as
               those configured in Extensions, and the following general properties:
               Event Name— An identifier for the Extended Event. This field is editable, but if left blank the
                   system creates a name based on the name of the parent event definition and the key bindings
                   entered here.
               MIB Name— A MIB identifier for the Extended Event
               Parent Name— An identifier for the parent of the Extended Event
               Notification OID— As with parent event definitions, this is the object ID. OpenManage NM
                    automatically generates this based on the Notification OID of the parent and key binding
                    values entered. For example, if the parent event definition has a Notification OID of “1.2.3.4”
                    and the key binding values of the extended definition are 5 and 6 (the parent must have
                    previously been configured to have two extension bindings available) then the resulting
                    Notification OID for this new extended event definition will be “1.2.3.4::5:6”.
               The remaining fields are as described in the Event Definition Editor General screen. The Message
               Template tab is as described in Message Template on page 336, only this message template is for
               the configured extended event definition.
               Click Save to create or re-configure an extended event, or Cancel to abandon your edits. See
               Extending Event Definitions on page 342 for detailed steps.

       Using Extended Event Definitions
               To handle complex networks, you can configure event responses with a “Base Event Definition”
               and several “Extended Event Definitions” (EEDs). You can customize events, the reaction to them,
               and even extend events with EEDs. Modified or extended event definitions override the base set of
               definitions that comes from the traps and notifications found in loaded MIB files, and their OIDs
               appear in the Event Definition Editor on page 334.
               You can modify Extended Event Definitions two ways:
                •    Extending Event Definitions
                •    Extending Event Definition XML
               You can configure extended event definitions to perform partial matching on variable bindings by
               including wildcard characters in the extension key. The asterisk * matches any number of
               characters and the question mark ? matches a single character. For example an extension key of 1*
               matchs variable bindings that start with a 1 including 11, 12, 134, and so on. An extension key of 1?
               matchs 11, 12, 13 but does not match 134. An extension key of *3* matchs any variable binding
               that includes the number 3 somewhere, including 34, 13, 3, 438.




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                   Extending Event Definitions
                   To extend event definitions, you create “child” events that extend a “parent” event. Extend an
                   event definition as follows.
                     1   Save the parent event for which you configured Extensions.
                     2   Select it from the Event Definitions manager.
                     3   Right-click your selection and then select Add Extended Event Definition.
                         The Adding Extended Event Definitions on page 340 window the Extension Key Values
                         fields configured from the Event Definitions, Extensions panel. The variables also show in
                         the order you selected from the Extensions panel. A suggested name for this event is the
                         parent event name, followed by a colon-separated list of the field values entered on this
                         screen.
                   Once configured, this extended event overrides the parent.

                   Extending Event Definition XML
                   After loading its base event definitions, the OpenManage NM (OMNM) application loads all event
                   definitions in the XML files in the server\conf directory under each module (for example
                   \owareapps\redcell\server\conf\eventdefs.xml) and applies them as overrides. The OMNM
                   application discards any XML event definitions if the notification type is unknown—that is, not in
                   a loaded MIB. If you alter this XML file, you need to import it in Event Definitions Manager before
                   the alterations take effect.
                   Extended event definitions (EEDs) support system extensions along with system overrides. An
                   extension creates a unique definition for a MIB-based event that only applies to certain instances
                   of the event. The extension appears as a separate event in the event definition manager and you
                   can modify it as you can any other event.
                   Extension exist primarily to create specialized event definitions for recognizable variations from
                   the basic event.
                   For details, see the following:
                    •    XML Event Definition
                    •    Extended Event Definitions
                    •    Extended Event Definition Example
                   XML Event Definition
                   The format format is of an XML event definition:
                   <bean xsi:type="tns:NotificationDefinitionNP">
                         <NotificationOID/>          <!-- required -->
                         <ExtensionKey/>             <!-- extensions only - syntax: key1Value[:key2Value]-
                          ->
                         <Description/>       <!-- message text - supports object OID tag
                          replacement: {objectOID} -->
                         <Behavior/                  <!-- 1=alarm, 2=suppress, 3=reject (default is
                          alarm)-->
                         <Severity/>          <!-- 0=clearing, 1=info, 2=unkown, 3=warning,
                          4=minor, 5=major, 6=critical -->
                         <ImpactPropagation/> <!-- 1=up, 2=down, 3=both (default is none) -->




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                     <KeyBindings>        <!-- OID(s) for bind object value(s) to use as
                      correlation key -->
                     <item/>
                     </KeyBindings>
                     <CorrelatedEvents>   <!-- OID(s) for alarms to clear when this event
                      occurs. These OIDs can include an extension key as OID::extKey -->
                        <item>oid[::keyValue[:keyvalue]]</item>
                     </CorrelatedEvents>
               </bean>
               Extended Event Definitions
               You can extend any event definition that defines one or more key bindings. The extension key
               consists of a value for each key binding in the correct order. You must separate each value with a
               colon (:).
               Only extensions should set an extension key. The key format is dictated by the parent (extended)
               definition’s key bindings. Set key bindings for the extension as needed for proper alarm correlation.
               The following Extended Event Definition Example provide some clarification.

                     NOTE:
                     Definition extensions do not inherit any settings from the extended definition.

               Extended Event Definition Example
               Events extend a basic definition:
                     bigBand 1.3.6.1.4.1.6387
               Here are the extensions:
                     bigBandAdmin 1.3.6.1.4.1.6387::400
                     bigbandConfig 1.3.6.1.4.1.6387::5* (with partial matching extension key)
                     bigbandTraps 1.3.6.1.4.1.6387::400:50
                     bigbandAlarmTrapPrefix 1.3.6.1.4.1.6387::400:50:0
                     bigbandSessionAlarm 1.3.6.1.4.1.6387.400.50.0.0.2 (v2 OID)
                     bigbandEscalation 1.3.6.1.4.1.6387::400:50:0:0:3* (with partial matching
                      extension key)
               Another base event:
                     bigBandCommon 1.3.6.1.4.1.6387.100
               Other extensions:
                     session 1.3.6.1.4.1.6387.100::50
                     sessionAlarms 1.3.6.1.4.1.6387.100::50:100
                     sessionAlarmTable 1.3.6.1.4.1.6387.100::50:100:40
                     sessionAlarmEntry 1.3.6.1.4.1.6387.100::50:100:40:1
                     sessionAlarmProgramNumber 1.3.6.1.4.1.6387.100::50:100:40:1:2
                     sessionAlarmEscalation 1.3.6.1.4.1.6387.100::50:100:40:1*:2? (with
                      partial matching extension key)




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                   The following example variables are for such extended events:
                         bigbandSessionAlarm TRAP-TYPE
                              ENTERPRISE         bigbandAlarmTrapPrefix
                              VARIABLES      {
                                    sessionAlarmAssertedTime,
                                    bigbandAlarmOnOrOff,
                                    sessionAlarmOutputChannelIndex,
                                    sessionAlarmProgramNumber,
                                    sessionAlarmPid,
                                    sessionAlarmAssertedType,
                                    sessionAlarmAssertedInputChannelIndexOrZero,
                                    bigbandSessionAlarmSequenceNo,
                                    sessionAlarmSessionId,
                                   sessionAlarmAuxiliary1,
                                   sessionAlarmAuxiliary2
                              }
                              DESCRIPTION
                                    "a session alarm is generated for every asserted/removed
                                     alarm. It contains all parameters as in sessionAlarm table,
                                     as well as a sequence no. that is incremented by 1 for
                                     every session-trap generation."
                              ::= 2
                   The sample XML for the definitions and extensions:
                         <!-- bigbandSessionAlarm -->
                            <bean xsi:type="tns:NotificationDefinitionNP">
                              <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                              <Description>Program #{1.3.6.1.4.1.6387.100.50.100.40.1.2}</
                           Description>
                              <Behavior>1</Behavior>
                              <Severity>2</Severity>
                              <KeyBindings>
                                  <!-- bigbandAlarmOnOrOff -->
                                  <item>1.3.6.1.4.1.6387.400.50.1</item>
                                  <!-- sessionAlarmProgramNumber -->
                                  <item>1.3.6.1.4.1.6387.100.50.100.40.1.2</item>
                              </KeyBindings>
                            </bean>


                            <!-- bigbandSessionAlarm ext:alarmOn program 12 -->
                            <bean xsi:type="tns:NotificationDefinitionNP">
                              <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                              <ExtensionKey>1:12</ExtensionKey>
                              <Description>program #12 alarm ON</Description>




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                         <Behavior>1</Behavior>
                         <Severity>4</Severity>
                         <CorrelatedEvents>1.3.6.1.4.1.6387.400.50.0.0.2::0:12</
                      CorrelatedEvents>
                      </bean>


                      <!-- bigbandSessionAlarm ext:alarmOff program 12 -->
                      <bean xsi:type="tns:NotificationDefinitionNP">
                         <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                         <ExtensionKey>0:12</ExtensionKey>
                         <Description>Program #12 alarm OFF</Description>
                         <Behavior>1</Behavior>
                         <Severity>0</Severity>
                         <CorrelatedEvents>1.3.6.1.4.1.6387.400.50.0.0.2::1:12</
                      CorrelatedEvents>
                      </bean>
               To build on the previous BigBand example, the following example shows support for an EED with a
               partial key. It also shows the base event as an indeterminate severity alarm, then extends it for
               alarm on and alarm off default behaviors using partial keys. Finally, it is extended twice more,
               showing example of program-specific event settings.
                     <!-- bigbandSessionAlarm -->
                      <bean xsi:type="tns:NotificationDefinitionNP">
                         <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                         <Description>Program #{1.3.6.1.4.1.6387.100.50.100.40.1.2}</
                      Description>
                         <Behavior>1</Behavior>
                         <Severity>2</Severity>
                         <KeyBindings>
                           <!-- bigbandAlarmOnOrOff -->
                           <item>1.3.6.1.4.1.6387.400.50.1</item>
                           <!-- sessionAlarmProgramNumber -->
                           <item>1.3.6.1.4.1.6387.100.50.100.40.1.2</item>
                         </KeyBindings>
                      </bean>


                      <!-- bigbandSessionAlarm ext: alarmOff all programs -->
                      <bean xsi:type="tns:NotificationDefinitionNP">
                         <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                         <ExtensionKey>0</ExtensionKey>
                         <Description>Program #{1.3.6.1.4.1.6387.100.50.100.40.1.2}</
                      Description>
                         <Behavior>1</Behavior>
                         <Severity>0</Severity>
                      </bean>




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                            <!-- bigbandSessionAlarm ext: alarmOn default -->
                            <bean xsi:type="tns:NotificationDefinitionNP">
                              <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                              <ExtensionKey>1</ExtensionKey>
                              <Description>Program #{1.3.6.1.4.1.6387.100.50.100.40.1.2}</
                           Description>
                              <Behavior>1</Behavior>
                              <Severity>6</Severity>
                            </bean>


                            <!-- bigbandSessionAlarm ext: alarmOn program 12 -->
                            <bean xsi:type="tns:NotificationDefinitionNP">
                              <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                              <ExtensionKey>1:12</ExtensionKey>
                              <Description>program #12 alarm ON</Description>
                              <Behavior>1</Behavior>
                              <Severity>4</Severity>
                            </bean>


                            <!-- bigbandSessionAlarm ext: alarmOn program 40 -->
                            <bean xsi:type="tns:NotificationDefinitionNP">
                              <NotificationOID>1.3.6.1.4.1.6387.400.50.0.0.2</NotificationOID>
                              <ExtensionKey>1:40</ExtensionKey>
                              <Description>#40 special message text</Description>
                              <Behavior>1</Behavior>
                              <Severity>5</Severity>
                            </bean>




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Variable Binding Definitions
               Events contain data elements called Variable Bindings and also known as varbinds for short. Just as
               Events are based on Event Definitions, Variable Bindings are based on Variable Binding
               Definitions.

       Variable Binding Definitions Portlet
               You can define how the OpenManage NM application treats variable bindings that are found
               within events. Administrators can fine-tune certain aspects of how variable bindings are processed
               using this portlet.
               By default, this portlet is available from the Settings page by selecting the Alarm Definitions menu
               option.
               You might need to edit a variable binding definition if any of these scenarios occurs:
                •    Alarm to event correlation is not working properly for events/alarms based on a certain event
                     definition - In this case, you might need to find which variable bindings are within the event
                     and change the Correlation Type for one or more of the variable binding definitions. This
                     might then correct the correlation issues for new events and alarms based on the same
                     definitions.
                •    The message within an alarm is not descriptive enough - In this case, you might need to find
                     which variable bindings are within the event definition upon which the alarm is based and
                     then add latent mined variable bindings so that new alarms based on these definitions will
                     include more information.
                •    The message within an alarm is unreadable (i.e. it shows up as hexidecimal code) - In this
                     case, you might need to find the which variable bindings are within the event definition upon
                     which the alarm is based and then set it to perform Forced Conversion.




               Columns include the MIB Name, Name, Variable Binding OID, Data Type, Correlation Type, and
               Forced Conversion. See Variable Binding Definition Editor for how to alter these. Right-click a
               selected variable binding definition for the following menu items:
               Edit — Open the selected variable binding definition in the Variable Binding Definition Editor.




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         Variable Binding Definition Editor
                   This editor lets you modify variable binding definitions




                   It has the following fields:
                   Name — A text identifier for the variable binding.
                   Variable Binding OID — Unique identifier for the variable binding.
                   MIB Name — The MIB with which this variable binding is associated.
                   Data Type — The data type, as defined in the MIB.
                   Correlation Type — The way that variable bindings based on this definition should be correlated.
                   You might need to change this value if certain types of events and/or alarms do not correlate
                   correctly for your system-for example the clearing alarm does not clear the initial raising alarm-then
                   you can edit one or more of the variable binding on the Message Template tab of the event
                   definition. The possible values for this attribute are: By Value, where all bindings have both an OID
                   and a value, the value is used to correlate (this is default), and By Index, e.g. OID of
                   1.4.5.3.4389.334 where no binding exists with this exact OID but 1.3.5.3 does exist and is
                   configured this way will use the remainder of the string (4389.334 in this example) to correlate.
                   The correlation value that is extracted from the binding (whether By Index or By Value) is only
                   relevant if this particular binding is configured as a key binding within the event definition ( see
                   Using Extended Event Definitions on page 341 for an explanation of key bindings) and this is
                   used for event to alarm correlation, not other forms of correlation (see Correlations on page 338 for
                   an explanation of the different forms of correlation).
                   Forced Conversion — Indicates whether or not forced conversion should be applied to the data
                   within the variable bindings that are based on this definition. This is false by default. If this is set to
                   false, then it is possible that variable bindings based on this definition will have data that does not
                   conform to the data type it is supposed to have based on what is stated in the MIB. For example,
                   the MIB might say that a certain variable binding is supposed to be an integer, but there could




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               nonetheless be a device that sends data based on this definition as a string. If this is set to true,
               then this will enable a conversion mechanism so that it will ensure that the data will conform to the
               data type specified in the MIB.
               Variable Bindings — This panel contains a list of additional variable bindings to mine after a trap
               comes in. The variable bindings present in any SNMP trap is supposed to be specified in the MIB,
               but sometimes more variable bindings are needed to so that the resulting alarm message contains
               the necessary contextual information. If more variable bindings are needed, but can only be
               accessed by using data from one that has already come in then this should be specified here where
               the variable binding you are editing is the one that is expected to come in the payload of the trap
               and the binding listed within this panel are then mined using the index of the binding that is based
               on the definition you are editing. You can push the button Add Latent Mined Binding and select a
               binding from the popup and add it to this list. After you save this screen, the bindings you add will
               show on the Message Template tab of any event definition that contains this binding in its trap
               payload based on the trap definition as specified in the MIB. Note that any bindings added to this
               list are latent mined, meaning that they are only mined during alarm correlation. The data from
               these bindings can be used in the message template and/or key bindings of the respective event
               definition, but latent mined bindings cannot be used in filters, nor for extensions, and nor for
               entity lookup. If you would like to use a mined binding for any of those features, you will have to
               use critical mining rather than latent mining. Critical mined bindings are defined at the event
               definition level rather than at the variable binding definition level. Please see Using Extended
               Event Definitions on page 341 for more information.




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Understanding Alarm Propagation to Services and Customers | Alarms, Events, and Automation



Understanding Alarm Propagation to Services and
Customers
                  The following describes the use cases where Alarm Propagation services and customers occurs. This
                  describes the sequence of events/alarms. See also Variable Binding Definition Editor on page 348
                  for ways to augment propagation possibilities.
                  Alarm state must propagate to associated entities for each step and might take some time to reach
                  all of them, so matching mentioned may not be instantaneous, depending on the complexity of the
                  associations. This propagation to services and customers occurs through a background process,
                  running on regular intervals.
                  A resource can have several levels of services that depend on it, and then customers can depend on
                  them, and so on. Potentially, several levels of dependency and a large database full of services and
                  customers to propagate alarm states can exist, so propagation processing occurs in the background.
                  By default, this process runs every 30 seconds, but you can configure this interval by setting the
                  com.dorado.assure.propagation.AlarmPropagationInterval property. This value is in milliseconds.
                  For example, the to set the interval to 60 seconds, set this property as follows:
                        com.dorado.assure.propagation.AlarmPropagationInterval=60000
                  To prevent any OpenManage NM upgrades from overwriting this setting, it is best to put it into the
                  following file:
                        \owareapps\installprops\lib\installed.properties
                  After changing this property, make sure that you restart the application server for the change to
                  take effect.

                       NOTE:
                        Only services associated with the alarmed subcomponents are affected by alarms on the subcomponent,
                        not services connected to the rest of the device. You can also override default service affecting alarm
                        behavior with an Event Processing Rule. See Automation and Event Processing Rules on page 297 for
                        more details about this editor.
                  The remainder of this section describes what happens when a new alarm arrives, an existing alarm
                  clears, or user actions execute.
                  A New Alarm Arrives
                  When a new alarm arrives, here is what happens:

                   What Happens                   Description
                   Service Affecting Alarm     The new alarm changes the alarm state (higher or lower) of the resource
                   Changes Source Alarm State: that is its source.
                                                  Dependencies: If this resource has services or customers that depend on it,
                                                  the alarm state matches for all such deployed, dependent services and their
                                                  associated customers. Without such dependencies, no alarm state changes,
                                                  besides that of the source.
                   Parent Resources:              The alarm changes the alarm state of a child of the source and the alarm's
                                                  Resource Propagation value is Impacts Subcomponents.
                                                  Dependencies: Child equipment matches the top level’s alarm state. All
                                                  deployed services and their related customers depending on this particular
                                                  resource component match the resource component’s alarm state.




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               What Happens                  Description
               Child Resources:              The alarm changes the alarm state of parent of the source and the alarm's
                                             Resource Propagation value is Impacts Top Level.
                                             Dependencies: Parent equipment matches the child entities alarm state.
                                             All deployed services and associated customers depending on only this
                                             resource’s alarmed component have their alarm state match the resource’s
                                             component.
               No Change to Alarm State:     The new alarm does not change the alarm state of its source, so no services
                                             or customers have their alarm state changed
               Alarm not Service Affecting: The new alarm is not service affecting. The result is that no change occurs
                                            to services’ or customers’ alarm state.

               Existing Alarm Clears
               When an existing alarm clears, here is what happens:

               What Happens                  Description
               Clearing Service Affecting    This changes the alarm state (higher or lower) of a resource.
               Existing Alarm Changes        Dependancies: All deployed services and associated customers depending
               Alarm State:                  on this resource have their alarm state match the resource.
               No Dependencies:              No services or customers change their alarm state
               Clearing Non-Service          No services or customers have their alarm state changed
               Affecting Existing Alarm:

               User Actions Execute
               When user actions execute, here is what happens:

               What Happens                  Description
               Resync the resource’s alarm   • If the resource’s displayed alarm state was incorrect, perhaps because it
               state:                          is a parent or child of a resource whose alarm state has changed, then
                                               this corrects it.
                                             • If this action changes the alarm state and this resource’s most severe
                                               alarm is service affecting, then resync makes alarm states propagate to
                                               any associated services and customers. If the deployed services have the
                                               incorrect alarm state, then resync corrects that inaccuracy.
               Viewing alarms associated     • If the service is deployed, and the target resource has open service
               with a service:                 affecting alarms, all open service affecting alarms for the target resource
                                               appear.
                                             • If the service is deployed, but the target resource has only cleared or
                                               non-service affecting alarms against it, no alarms appear.
                                             • If the service is deployed, and the target resource does not have open
                                               service affecting alarms, but at least one descendent entity of this
                                               resource has open service affecting alarms against it, those alarms
                                               propagate up to the resource. All open service affecting alarms that
                                               propagate up (Resource Propagation is Impacts top level) for the target
                                               resource’s descendants appear
                                             • If the target resource does not have service affecting alarms, and neither
                                               do any service affecting alarms exist for its descendent entities, no
                                               alarms appear.
                                             • If the service is undeployed, no alarms appear.




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                   What Happens                   Description
                   Viewing alarms associated      • If at least one service associated with the customer has open, service
                   with a given customer:           affecting alarms, all open service affecting alarms for all services
                                                    associated with this customer appear.
                                                  • If none of the services associated with this customer have open, service
                                                    affecting alarms, so alarms appear
                   User views the services        • If the alarmed resource has at least one deployed service that depends
                   impacted by a particular         on it, all deployed services depending on the alarmed resource appear.
                   alarm:                         • If the alarmed resource does not have any deployed services that depend
                                                    on it, no services appear.
                   Deploying a service whose      • Before deploying, no alarms appear for the service. After deploying, all
                   target resource has service      open, service affecting alarms for the target resource appear.
                   affecting alarms:
                   Undeploying a service whose • Before undeploying, all open, service affecting alarms for the target
                   target resource has service   resource should appear. After undeploying, no alarms appear.
                   affecting alarms:
                   Editing a deployed service to • If the original resource has service affecting alarms but the new one does
                   change the target from one      not, all open service affecting alarms for the original target resource
                   resource to another:            should appear before the edit. After the edit, no alarms appear.
                                                 • If the original resource does not have service affecting alarms but the
                                                   new one does, before editing, no alarms appear. After editing, all open
                                                   service affecting alarms for the new target resource appear.




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Understanding Event Life Cycle
               The following diagram shows the OpenManage NM events processing.




               The following items correspond to the numbered processes in the diagram.

               Process                    Description
               1     SNMP trap received   The server received an SNMP trap.




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                   Process                      Description
                   2   OpenManage NM            An internal trap occurred within OpenManage NM. Many situations are
                       internal trap occurred   considered internal traps that emit an Event. One example is when a monitor
                                                polls a certain target and retrieves data for an attribute making the attribute
                                                cross a severity threshold. This emits a monitorAttributeTrend Event.
                   3   Syslog message           The server received a Syslog message.
                       received
                   4   New Event                OpenManage NM creates a new Event (“Notification”) from the data
                       (Notification) created   received. Such Events are specific to OpenManage NM’s internal processing.
                   5   Satisfies filter         Syslog Event Processing Rules (EPRs) handle received Syslog messages to
                       conditions?              determine whether to convert the message into a OpenManage NM Event or
                                                discarded. Such EPRs also determine how the Syslog data creates the new
                                                Event (what severity, message, and so on, it has).
                   6   Reject                   If the received Syslog message does not satisfy the filter conditions of the
                                                Syslog EPRs then it is rejected and no Event occurs.
                   7   Critical mining of       Sometimes OpenManage NM must return to the device that sent the original
                       variable bindings        trap to “mine” additional variable bindings. This mining can be either critical
                                                or latent, depending on whether OpenManage NM needs the additional
                                                information early in the Event life cycle or whether it can wait until after an
                                                Alarm has been created.
                                                If OpenManage NM needs additional data to associate an Event to an entity
                                                (which happens in #8. Entity lookup) then this is critical. On the other hand
                                                if OpenManage NM only needs this additional data for an Alarm message,
                                                then this would be better configured as latent mining of variable bindings of
                                                the Alarm. Critical mining is configured using the Variable Binding Definition
                                                Editor on page 348.
                   8   Entity lookup            By default, OpenManage NM associates Events with the IP address of the
                                                device from which the original trap (or other kind of message) came. The
                                                entity lookup process associates the Event to a subcomponent or other type of
                                                entity if necessary based on the available variable bindings. Sometimes
                                                OpenManage NM must configure Event definitions to associate Events based
                                                on them to the appropriate entities. You can configure these through the
                                                <EntityLookup> tag within eventdefs.xml files. See Entity Lookup
                                                on page 337 for details.
                   9   Resolve Notification The notification type OID is set on the Event either from the matching base
                       Type OID from BED or event definition (BED) or if there is an extended event definition (EED)
                       EED                  whose extension bindings match those in the Event then this notification type
                                            OID is used instead. All default properties (such as severity, behavior, etc.)
                                            and EPRs associated with the resolved Event Definition are used, whether this
                                            happens to be a BED or EED.
                   10 Normalize device-         If the Event came from a device-specific trap then an Event Processing Rule
                      specific data for         of type Device Access may exist that can normalize the payload. This then
                      standardized Event        facilitates standardized Event processing.
                      processing                For example, OpenManage NM can convert an Event based on a Cisco-
                                                specific definition reporting on a failed login to a generic Event that still
                                                reports on the failed login, but is not Cisco-specific. OpenManage NM applies
                                                any EPRs whose filter conditions match the incoming Event here.
                   11 Apply Event Definition By default, the Event Definition determines the data attributes of an Event,
                      override mappings      but some Event Processing Rules can override these defaults. Such EPRs can
                                             override attributes like severity, service affecting, and behavior. OpenManage
                                             NM applies any such enabled EPRs whose filter conditions match the
                                             incoming Event here.




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               Process                    Description
               12 Apply stream base       OpenManage NM considers frequent Events a stream that might correlate
                  correlation             within the steam base. Users can control stream base correlation by creating
                                          Event Processing Rules to detect patterns in the frequency of incoming
                                          Events for the purpose of minimizing the number of Events submitted to the
                                          application server for further processing. This includes EPRs of type State
                                          Flutter and Frequency Threshold. OpenManage NM applies any such enabled
                                          EPRs whose filter conditions matches the incoming Event here. If an Event
                                          matches a steam base correlator then this step might be the end of its
                                          processing.
               13 Marked for reject?      Is the behavior of the Event “Reject”? If so, then OpenManage NM does
                                          insert it into the database. In most cases rejected Events do not go to the
                                          application server for further processing if, but some Events require a trigger
                                          for correct system behavior and therefore must be processed by the system
                                          even when rejected. OpenManage NM posts such Events to the application
                                          server for further processing but does not insert them into the database.
               14 Reject                  OpenManage NM rejects the Event rather than inserting it into the database.
                                          Note that even rejected Events might have some effect, like triggering device
                                          driver processing, despite not being persisted to the database. See # 13.
                                          Marked for reject?
               15 Post Events to          In distributed environments, much of this processing is going on within the
                  application server      mediation server. Events that make it through to this point are posted to the
                                          application server so that they can be inserted into the database and for
                                          additional processing to take place that depends on data that needs to be
                                          queried from the database, including Alarm Correlation.
               16 Receive Events          Application server receives Events from the mediation server.
               17 Execute device driver   Some managed devices have drivers that feature follow-up Event processing.
                  processing              If the Event originated from a such a device then this step executes that
                                          follow-up processing.
               18 Perform Alarm           Go to step one of the Understanding Alarm Life Cycle diagram. This process
                  Correlation             might create, edit, or clear an Alarm.
               19 Persist Event to DB     Saves the Event to the database for future reference.
               20 Execute automation      If any automation Event Processing Rules satisfy the filter conditions of the
                  actions                 Event, then the OpenManage NM application executes the associated actions
                                          here. Actions may include sending an email, forwarding the Event
                                          northbound as an SNMP trap, signifying that the configuration was changed
                                          on the device, and so on.
               21 Done                    Processing on the application server is done for this Event.
               22 Apply Database Aging This begins the process that applies Database Aging Policies (DAP) to delete
                  Policy               old Events.
               23 Delete old Events       Delete the old Events according to the active DAP for Events.
               24 Done                    Done applying database aging policies for Events.




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Understanding Alarm Life Cycle
                   The following diagram shows the OpenManage NM alarm processing flow.




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               The following items correspond to the numbered processes in the diagram.

               Process                         Description
               1     Alarm correlation         An Event occurred and was not marked as Reject.
               2     Marked as suppress?       Is the behavior of the Event Suppress? At this point, this might occur because
                                               of the default behavior of the Event Definition or possibly because of an
                                               override mapping event processing rules (EPR).
               3     Event is persisted but    If OpenManage NM suppresses the Event then it is inserted to the database
                     creates no Alarm          but the insertion creates no Alarm
               4     Source entity under       Is the entity that is the source of the Event under Alarm suppression? This
                     Alarm suppression?        can be scheduled or indefinite.
               5     Severity is already set   Is the severity of the Event set to Cleared?
                     to cleared
               6     Clear open correlated     Clear all open Alarms correlated to this Event. Correlated implies more than
                     Alarms                    one meaning for Alarms and/or Events: this correlation refers to rising/clearing
                                               correlation. How the Event Definitions associated with these Alarms/Events
                                               are correlated to each other is what drives this.
               7     Latent mining of          OpenManage NM must sometimes return to the device that sent the original
                     variable bindings         trap to “mine” additional variable bindings. Such mining can be either critical
                                               or latent, depending on whether this additional information is needed early in
                                               the Event life cycle or whether it can wait until after OpenManage NM creates
                                               an Alarm.
                                               If OpenManage NM needs additional data to associate an Event to an entity
                                               (which happens in # 8. Entity lookup in the Understanding Event Life Cycle
                                               diagram) then mining is critical, as described below. Critical mining of
                                               variable bindings also within the Event Life cycle diagram. On the other hand
                                               if this additional data is only needed for an alarm message, then it this would
                                               be better configured as latent. See Variable Binding Definition Editor on page
                                               348.
               8     Opened correlated         Are there any open Alarms that correlate to this Event? Here, “correlated”
                     Alarms exist?             refers to the correlation of a single open Alarm to one or more Events. The
                                               first of these was the Event that made the Alarm open. If the original Alarm is
                                               still open, each subsequent correlated Event does not open a new Alarm,
                                               instead incrementing this Alarm’s count. Events correlate to existing open
                                               Alarms provided it meets all of the following conditions: 1) It is based on the
                                               same Event Definition as the Alarm 2) It has the same values for all key
                                               bindings as the Alarm 3) It is associated with the same entity as the Alarm.
               9     Correlated Alarm has      Are the severity and the message associated with this new Event the same as
                     the same severity and     those of the correlated Alarm?
                     message?
               10 Escalate/de-escalate to Escalate or de-escalate the correlated Alarm by editing its severity and
                  new severity and        message to match that of the new Event.
                  message
               11 Increment Alarm              Increment the count of the correlated Alarm.
                  count
               12 Clear extra correlated       Only one open correlated Alarm can exist. It is unusual, although not
                  Alarms                       impossible, for more than one open Alarm to correlate to each other. If this
                                               happens it would probably be due to concurrency issues across multiple
                                               application servers. If this does happen then one of the Alarms can stay open
                                               and OpenManage NM clears the others.




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                   Process                    Description
                   13 Open new Alarm and      Open a new Alarm and persist it to the database so that it can be queried later.
                      persist to DB
                   14 Perform automatic       If your configuration designates open Alarms the parent or child of a new
                      parent/child            Alarm then OpenManage NM automatically creates the parent/child
                      correlation             relationship. This derives from configurations made within the Event
                                              Definitions that are the basis of the Alarms. You configure this through the
                                              CorrelatedParentData tag of the eventdefs.xml files.
                   15 Alarm Propagation       This is the start of process propagating Alarm States to associated entities.
                   16 Propagate up and/or     Depending on the Alarm’s resource propagation attribute, it might propagate
                      down the resource       Alarm States to the subcomponents of the alarmed entity and/or to the top
                      hierarchy               level device.
                   17 Propagate to associated Propagate the Alarm States to the Links associated with the source entity.
                      Links                   OpenManage NM compares the severity of the A and Z endpoints and sets
                                              the severity of the Link to the higher of the two.
                   18 Service affecting?      Is this Alarm service affecting? This will either come from the default
                                              behavior of the Event Definition or else a mapping Event Processing Rule
                                              (EPR) may override it.
                   19 Propagate Alarm State Propagate the Alarm State to the deployed Services and Customers associated
                      to deployed Services  with the source entity. This uses the severity calculator configured for the
                      and Customers         association type being used to route the propagation. This occurs one
                                            association route at a time, where if one routing and calculation results in a
                                            change in severity of the target entity then it will find the targets associated
                                            with that entity and route to them to do another round of calculation. This
                                            propagation is recursive and only stops once there are no more target entities
                                            whose severity has changed as a result of the calculation.
                   20 Done                    Processing on the application server is done for this Alarm.
                   21 Clear Alarm request     The user manually clears an Alarm.
                   22 Persist clear to the    The database is updated to make this Alarm cleared.
                      database
                   23 Execute Propagation     Go to # 15. Propagate Alarm States to the associated entities.
                   24 Alarm has children?     Does the Alarm have children? This includes other Alarms that are caused by
                                              or blocked by this one.
                   25 Clear child Alarms      Clear all of this Alarm’s children.
                   26 Un-parent child         Update all of this Alarm’s children so that they are top-level Alarms (no longer
                      Alarms                  children of any other Alarm).
                   27 Children are caused by Are the child Alarms caused by the parent? This comes from the correlation
                      parents?               state of the child Alarms. There is more than one sense of what it means for
                                             Alarms and/or Events to be “correlated” so to clarify in this context the
                                             “correlation state” refers to Alarm parent/child correlation.
                   28 Done                    Processing on the application server is done for this Alarm.
                   29 Apply Database Aging This is the start of the process that applies Database Aging Policies (DAP) to
                      Policy               delete old Alarms.
                   30 Delete old Alarms       Delete the old Alarms according to the active DAPs for Alarms. Note that
                                              there can be more than one active DAP, which might include one to delete old
                                              cleared Alarms and possibly another to delete very old Alarms that are still
                                              open, if this is desired.
                   31 Done                    Done applying database aging policies for Alarms.




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Performance Monitoring
This section focuses on the following performance monitoring tasks a user performs from the
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Performance Monitoring Overview | Performance Monitoring



Performance Monitoring Overview
                  This section describes Resource Monitors as they appears in the OpenManage NM web portal. The
                  following describes these monitors:
                   •   Application Server Statistics
                   •   Resource Monitors
                   •   Top N [Assets] (pre-configured monitor portlets that come with your installation by default.
                  Finally, this chapter contains a reminder about scheduling refreshes of monitor target groups. See
                  Scheduling Refresh Monitor Targets on page 420.
                  If you see a monitor documented here that is unavailable in your installation, you may not have
                  purchased it with your system’s package. Consult your sales representative if you need to have the
                  monitor that appears in documents, but not your installation.

                       NOTE:
                       If you configure your installation with multitenancy, you may be unable to edit Monitoring, except in the
                       central, OpenManage NM site. Collected statistics may be visible in the customer's domain as
                       dashboards, but the configuration of the underlying monitor is not. Therefore, do not include a monitor
                       portlet in the customer site template. Multitenancy does limit data dashboards and monitors display to
                       the assets visible to the tenant sites as long as you create the dashboard on the tenant site.




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Understanding Performance Monitoring
               This chapter contains the following step-by-step instructions for these features:
                •    Create a Server Status Monitor Dashboard
                •    Create an SNMP Interface Monitor
                •    Create an ICMP Monitor
                •    Create a Key Metrics Monitor
                •    Create an Adaptive CLI Monitor
                •    Create a Monitor for an External Script
                •    Create a Monitor Report
                •    Create a Simple Dashboard View
                •    Create A Performance Template
               You can see Performance Options from a variety of locations by right-clicking in OpenManage NM.
               For example:
                •    Ports in the Ports portlet
                •    Interfaces
                •    Ports/Interfaces in the Details panels lets you Show Performance
                •    Right-clicking on any of the above within a Reference tree lets you select Performance
                     Options.
                •    All Top N [Assets] portlets let you right-click for Performance options.
               Monitors do not directly monitor string attributes, but you can create an extractive Adaptive CLI
               monitor that responds to string values in devices. See Example 5: Monitor Text Values on page 602
               for an example.
               Diagram 1 and Diagram 2 illustrate the OpenManage NM (OMNM) performance monitoring life
               cycle processes.




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                  Diagram 1




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               The following items correspond to the numbered processes in diagram 1.

               Process                          Description
               1     For each enabled           This process executes for each item within the Resource Monitors portlet that
                     Monitor and each           is marked as Enabled and for each targeted entity.
                     target
               2     Polling interval has       This process executes every time the Polling Interval has elapsed. For example
                     elapsed                    if the Polling Interval for a given Monitor is 15 Minutes then it executes that
                                                often.
               3     Server low on memory Is the server low on memory? This is determined by the property
                                          lower.threshold.limit which by default is 5. This means that if the
                                          available memory on the server is less than 5% (or whatever value this property
                                          is set to) then it meets this condition.
               4     Skip due to low            Numbers 4, 7 and 8 all involve skipping rather than trying to poll the targeted
                     memory                     entity. If OpenManage NM finds the system low on memory then it cannot
                                                poll the target(s) and skips polling instead. Any time it skips it increments the
                                                associated skip count and also updates the associated last time skipped. You
                                                can view these attributes can be viewed through the JMX console > oware >
                                                service=PollingEngine. See SkippedExecutionDueToMemoryCount
                                                and MostRecentSkippedExecutionDueToMemory.
               5     Is the server done         Is the server still working on polling targets from the previous time? The
                     processing the             polling process begins every time the polling interval elapses, regardless of
                     previous polling           whether or not the server is still working on the previous round of polling.
                     attempt for all targets?   This means the previous polling attempt has not produced results so the
                                                server will have to skip it (due to overload) rather than trying to perform two
                                                (or more) polling attempts simultaneously. If the polling interval is short
                                                enough then there will inevitably be skips due to overload because the polling
                                                process takes time.
               6     Is the polling thread      Is the polling thread hung? If so it is not doing any work and will not produce
                     hung?                      any results. There is a maximum duration that a polling thread has to produce
                                                results before the polling engine considers a thread hung. The PollingEngine
                                                MBean attribute ThreadInterruptThreshold which is set to 90000
                                                (15 minutes) by default determines this.
               7     Skip due to hung           Similar to number 4. If a polling thread is hung then it cannot poll the
                     thread                     target(s) and will instead skip. Any time it skips it will increment the
                                                associated skip count and also update the associated last time skipped. View
                                                these attributes through the JMX console > oware > service=PollingEngine.
                                                See HungThreadInterruptedCount and
                                                MostRecentHungThreadInterrupted. When the system identifies a
                                                hung polling thread it tries to interrupt the thread and reclaim it.
               8     Skip due to overload       Like number 4. If the server is overloaded then it cannot poll the target(s) and
                                                will instead skip. Any time it skips it will increment the associated skip count
                                                and also update the associated last time skipped. View these attributes
                                                through the JMX console > oware > service=PollingEngine. See
                                                SkippedExecutionDueToOverloadCount and
                                                MostRecentSkippedExecutionDueToOverload.
               9     For each attribute         Every Monitor has a set of attributes that it will try to periodically poll from
                                                each targeted entities.
               10 Attempt to poll this          OpenManage NM tries to reach the target device and poll the given
                  attribute                     attributes.




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                  Process                     Description
                  11 What was the result of Was this target available and reachable? If so did data return for this attribute?
                     this polling attempt? Certain error conditions result from an error occurring, including if the
                                            connection failed or was refused or dropped or if there were bad credentials or
                                            if there was a device fault. Some conditions result in posting an indeterminate
                                            result, including the data context not being found within the device for the
                                            attribute being polled.
                  12 Post data result         OpenManage NM posts attribute data it successfully retrieves from the target
                                              device. Once it posts this data to the application server and stores it in the
                                              database, because data returned, the Monitor Status Summary of the target
                                              device becomes Available (with a green checkbox icon) in most cases.
                                              The only exception occurs when not all requested attributes for the target
                                              returned data. If some data returns but one or more attributes is unavailable
                                              or not supported by the device then status of the target says Partial Results
                                              (with a yellow triangle with an exclamation point icon).
                                              Note that this step compiles the polling data that came from the target
                                              device, it does not post the returned data to the application server nor store it
                                              to the database, but it does identify the polling results as successful, as
                                              opposed to error or indeterminate.
                  13 Post error result        If an error occurred during the attempt to poll the target then OpenManage
                                              NM posts information about the error. Possible causes: connection to the
                                              target failed, was refused, or was dropped, bad credentials, or another device
                                              fault. Once OpenManage NM posts the error information to the application
                                              server and stores it in the database, the Monitor Status Summary of the target
                                              device becomes Not Available (with a red “X” icon). Note that this step exists
                                              only to take note of the errors that occurred during the last polling attempt.
                                              Like step 12, this step does not post any data to the application server nor
                                              store it to the database, but simply compiles the results of the last polling
                                              attempt.
                  14 Post indeterminate       Sometimes the attempt to poll the target device is indeterminate. In such
                     result                   situations, neither an error occurred, nor did any data return from the target.
                                              If OpenManage NM did not find the data context on the target device for this
                                              attribute, or a timeout occurred while trying to reach the device, this can
                                              occur. Once OpenManage NM posts the indeterminate information to the
                                              application server and stores it in the database, the Monitor Status Summary
                                              of the target device becomes Not Applicable (with a gray question mark icon).
                                              Like step 12, this step does not post any data to the application server nor
                                              store it to the database, but simply compiles the results of the last polling
                                              attempt.
                  15 Did the attribute to     Each attribute can have one or more severity thresholds and/or conditions. For
                     cross a severity         example if the CPU usage exceeds 95% then its attribute might be at a critical
                     threshold or condition   severity level. If an attribute was previously within a certain severity level and
                     because of the new       the new polling results show that this attribute crossed the threshold into
                     data?                    another severity level (for example minor to major or major to critical) then it
                                              meets this condition. If new polling results show that this attribute remained
                                              in the same severity level (for example, it was critical and remains critical at
                                              least for the moment), then it does not meet this condition.
                  16 Emit Monitor          OpenManage NM emits a monitorAttributeTrend Event. Go to step 1. RC
                     Attribute Trend Event internal trap occurred of the Understanding Event Life Cycle diagram.
                  17 Emit availability/       An Emit Availability checkbox appears on the Editing Monitor popup screen.
                     reachability Event       When you check it, OpenManage NM creates reachability Events.




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               Process                     Description
               18 Post result to           In distributed environments, much of this processing is going on within the
                  application server       mediation server. Once OpenManage NM produces the polling results, it adds
                                           them to a queue that the server then reads. In effect, OpenManage NM has
                                           posted the results to the application server. Once the application server
                                           receives these results, it inserts them into the database for later querying.
                                           Monitor this queue through the JMX console > oware >
                                           service=MonitorPollingHandlerMBean.
               19 Go to Emit Monitor       Go to step 27, the Emit Monitor Target Status Event Routine, to consider the
                  Target Status Event      reachability of the target device. This routine computes whether to emit the
                  Routine to               reachability Event.
                  conditionally emit
                  reachability Event
               20 Go to Emit Monitor       Go to step 27, the Emit Monitor Target Status Event Routine, to consider the
                  Target Status Event      availability of the target device. This routine computes whether to emit the
                  Routine to               availability Event.
                  conditionally emit
                  availability Event
               21 Receive polling results Here, the application server receives polling results from the mediation server.
               22 Update network           The Update Network Status checkbox on the Editing Monitor popup screen
                  status?                  determines whether this condition is met.
               23 Update the network       OpenManage NM updates the network status of the device based on the
                  status of the device     polling results that were created in steps 12, 13 or 14.
               24 Insert the polling       OpenManage NM inserts the polling results into the detail table associated
                  results to the current   with this Monitor so that they can be queried later.
                  detail table for this
                  Monitor
               25 Update hourly and        OpenManage NM updates the hourly and daily rollup records for this
                  daily rollup records     attribute.
               26 Done                     Processing on the application server is done until more polling results are
                                           received from the mediation server.




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                  Diagram 2




                  The following items correspond to the numbered processes in diagram 2.

                  Process                    Description
                  27 Monitor Target Status This routine is executed to compute whether or not to emit the Monitor
                     Event Routine         target status Event (reachabilityEvent or availabilityEvent). There are similar
                                           conditions that determine whether these types of Events are emitted.




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               Process                    Description
               28 Is one of these       Are any of these conditions met?
                  conditions met? State • The state changed with the last polling attempt. Either the device was
                  change, always emit,    previously available/reachable and now it is notavailable or notreachable or
                  re-emit timeout         vice versa. If the state is the same as before (for example, it was unavailable
                                          and this is still the case) then it does not meet this condition.
                                        • The state is unavailable/unreachable and one of the follow two sub-
                                          conditions is met:
                                          • The pm.monitor.AlwaysReemitAlarm property is set to true. This
                                             property is set to false by default.
                                          • The duration of the pm.monitor.AlarmReemitTimeout property
                                             has elapsed since the last time OpenManage NM emitted a Monitor
                                             target state Event for this particular target and Monitor. By default this
                                             property is 30, which means that by default even if a polling target stays
                                             down for a period of several hours, it will only emit this Event at most
                                             every 30 minutes. Even if you configure the Monitor to poll this target
                                             more often than this and even if this target is unavailable every polling
                                             cycle, it will still only emit this Event every 30 minutes, unless you
                                             change this property.
               29 One of these            Available, unknown, or threshold reached? (State is unavailable/unreachable
                  conditions is met?      and threshold for the number of unreachable/unavailable attempts was
                                          reached).
                                          This threshold comes from the # of Unreachable Attempts before update field
                                          on the Editing Monitor. Note that this field covers both unreachable and
                                          unavailable attempts.
               30 Emit Monitor target     Emit the Monitor target status Event. If this routine is called to consider the
                  status Event            reachability of the target, it emits one of these event types:
                                          • monitorTargetReachable
                                          • monitorTargetUnreachable
                                          If this routine is called to consider the availability of the target, it emits one of
                                          these event types:
                                          • monitorTargetUp (available)
                                          • monitorTargetDown (not available)
                                          See Understanding Event Life Cycle on page 353, the second process
                                          (OMNM internal trap occurred) in the event life cycle diagram.
               31 Return without          Return the origin of this routine without emitting an Event.
                  emitting Event
               32 Return                  Return to the origin calling this routine.
               33 Apply Retention         Begin the process that applies retention policies to drop tables and/or delete
                  Policies                rows from tables.
               34 Drop old retention      Drop the retention tables that are old according to the retention policy for the
                  tables                  monitor associated with each table.




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                  Process                    Description
                  35 Deletion of old rows    Most often, the only way old polling data is aged out of the system is by
                     enabled?                dropping the old tables but there is also a property that controls whether or
                                             not to delete old records within the tables without dropping the tables
                                             completely. This property is pm.retention.DeleteOldDBRecords and is
                                             false by default. This feature was added in an earlier OpenManage NM version
                                             to deal with limitations that existed in older database versions that are no
                                             longer supported. We strongly recommend keeping this feature disabled
                                             because it produces a significant drag on system performance and does not
                                             provide any added benefit beyond the dropping of expired tables (and all the
                                             data within them), which occurs anyway.
                  36 Delete old rows in      Deletes the old rows in the retention OpenManage NM tables according to
                     retention tables        the retention policy for the monitor associated with each table.
                  37 Deletion of excess      Controls whether to delete excess records within the retention tables without
                     rows enabled?           dropping the tables completely. This is accomplished using the following
                                             porperty, which is false (disabled) by default:
                                             pm.retention.PruneRowsInRawDataTablesToMaxCount
                                             If you set this property to true, then the value of the the following property is
                                             the maximum number of rows that any retention table can have:
                                             pm.retention.RawDataMaxCount
                                             This feature existed in earlier OpenManage NM versions to deal with
                                             limitations that existed in older database versions that are no longer
                                             supported. We strongly recommend keeping this feature disabled because it is
                                             a significant drag on system performance.
                  38 Delete excess rows in   Deletes the oldest rows in the OMNM retention tables to get the row count
                     retention tables        down to the maximum accepted number.
                  39 Done                    Done applying retention policies for polling data.




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                                                                 Application Server Statistics | Performance Monitoring



Application Server Statistics
               The Application Server Statistics portlet has no expanded view. It displays the statistics for the
               OpenManage NM application servers and provides access to set logging levels for a variety of
               categories on application servers.
               By default, this portlet is available from the Settings page by selecting the Server Configuration
               menu option.




               The bar graph displays Total, Used, and Free memory on the server. One such graph appears per
               server monitored. Hover your cursor over a bar to see its reading in a tooltip. Hover your cursor over
               the bar graphs related to the server you want to monitor, and its information appears in a tooltip.
               The Thread Count graph displays information for as long as this portlet is open, restarting when
               you revisit it or refresh the page.




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                   Logging Categories
                   The Application Server Statistics portlet also displays a table that catalogs servers’ Partition Name,
                   Server Type and Node Name. This includes a button the upper right corner where you can access
                   Log Categories—log4j.xml items—without having to text edit that file. See Defining a Debug
                   File on page 141 for more about log4j.xml.




                   The log4j.xml items appear listed with their default log levels. Altering log levels for the listed
                   items can provide more information for troubleshooting. Log levels determine the detail of server
                   log output.
                   Notice that you can sort these by clicking the table headings, and can look for items with the
                   Search link below the checkboxes. You can check or uncheck categories at the top of this screen to
                   confine the display to only desired categories.
                   These self-monitoring capabilities let you tune Application Server logs to produce meaningful
                   output. Clicking the Edit icon to the right of an item lets you change its log level.




                   Changing log levels in this screen alters log reporting levels for all Application servers, if you have
                   more than one, without restarting them. This simplifies setting log levels, and does not require
                   editing the log4j.xml file.

                            CAUTION:
                         More, and more detailed logging can have a performance impact. See also Understanding Performance
                         Monitoring on page 361.




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                                                                          Resource Monitors | Performance Monitoring



Resource Monitors
               This summary screen displays currently, active performance monitors in brief.




               The Name column displays the identifier for each monitor instance, Enable displays a green check
               if it is currently enabled, or a red minus if it is disabled.
               The Monitor Type column typically displays what the monitor covers. Hover your cursor over this
               column to see a popup with the selected monitor’s properties. The popup that appears after this
               query displays the relevant information for the monitor, including whether it is Name, Enabled,
               and Monitor Type.




               The graph that appears to the right of the monitors displays the aggregate availability information
               for the enabled monitors. Topics graphed include, Available, Not Available, No Data and Not
               Applicable.
               Yellow icons mean that not all the data requested was collected. This can occur when MIB
               attributes have been deprecated. Typically, OpenManage NM monitors include alternative
               attributes.
               Right-click a listed monitor to do the following (not all menu items appear for all types of
               monitors):
               New Monitor— Opens the Select Monitor Type popup, where you can select the type of monitor
                   to create. Pressing continue after doing so will open the Monitor Editor. See Monitor Editor
                   on page 378 for details.
               New (from Template)—Opens the Select Template popup, where you can select a template for a
                   new monitor. Pressing continue after doing so will open the Monitor Editor, where you can
                   configure the equipment targets for preconfigured monitor templates of the type(s) selected
                   in the sub-menu. These templates are based on monitors described in Monitor Options
                   Type-Specific Panels on page 397, but have already have selected attributes and calculations.
                   You can examine exactly what these are in the editor that appears when you select one.
               Edit Monitor—Opens the Monitor Editor, where you can modify the selected monitor. For a look
                    at the individual monitors’ screens, see Monitor Options Type-Specific Panels on page 397.




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                  Details—Opens a Detail panel, with a reference tree, status summary, and general information
                      about the selected monitor.




                  Copy Monitor— Copy the selected monitor and its settings to make a new monitor. You must re-
                      name the copy, and can change settings selectively.
                  Enable/Disable Monitor— Enables or disables the monitor. Only one of these options appears.
                      Only enabled monitors report data (and demand resources), while disabled monitors do not.
                  Refresh Monitor— Re-query to update any targets for the current monitor. See Scheduling
                       Refresh Monitor Targets on page 420 for instructions about automating this.
                  Manage Retention Policies—Select this to manage the data retention policies for the selected
                     monitor. See Retention Policies on page 376 for details.
                  Delete—Removes the selected monitor.
                  View Monitor Data —View the targets’ responsiveness to the monitor. Red means unresponsive,
                      green means responsive, and yellow means intermittently responsive.
                  View as PDF— Creates an Acrobat PDF document containing this alarm’s contents displayed in
                       the summary portlet.
                  Import/Export—Export the selected config file to disk, or import it from disk. You can also import/
                      export a selected configuration file.
                        Provides the following actions when available for the selected image:
                        • Import retrieves a file containing XML compliance descriptions. Some imports can
                          come from a URL.
                        • Export Selection exports the selected description to an XML file.
                        • Export All exports all descriptions to an XML file.
                        Click Download Export File to specify where to save the file.
                        The Import/Export option is useful as a backup or to share descriptors with other projects.
                        You must import data into the correct portlet. For example, you cannot import event data
                        into the Actions portlet.
                        If one type of data depends on another, you must import the other data before importing the
                        data that depends on it.
                  Share with User—Opens the Share with User window where you select the colleague you want to
                       share this assets with and then type your message.




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                                                                         Resource Monitors | Performance Monitoring


               Expanded Resource Monitor
               This screen appears when you click the plus in the upper right corner of the summary screen.




               As in most expanded views, this one displays a list ordered by the Name of the monitor. Click
               Settings to configure the column display. Available columns include those on the summary screen
               (Name, Enabled, Monitor Type) as well as Description, Poling Interval, Target Count and Retention
               Policy. Menu items are like those described for the summary portlet.
               Resource Monitor Snap Panels
               When you select a monitor, the Snap Panels at the bottom of the screen display details about it.
               The Reference Tree shows the selected monitor’s connection to attributes, groups, retention
               policies and its membership (the devices monitored).
               The Details Snap Panel displays the attributes the popup shows when you hover the cursor over the
               Monitor Type column in the summary screen, and adds Emit Availability (events), Retain
               Availability, Retain Polled Data, and Retain Calculated Data parameters.
               The Monitor Status Summary Snap Panel displays the status of each individual member (Target) of
               the monitor, showing the Last Polled time and date, and a title bar and icon indicating Availability
               (green is available, red is not).




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                  Hover the cursor over the Availability icon, and a popup appears with details about availability. If
                  the device is available, the RTT (round-trip time) for communication appears in Avg (average),
                  Max (maximum), and Min (minimum) amounts, along with the PacketCount. If it is not, an Error
                  Message appears instead of the RTT and PacketCount parameters.
                  To edit more performance settings and targets than are available here, use the features described in
                  Dashboard Views on page 425. You can create and display dashboards by right-clicking items in the
                  Managed Resources portlet, selecting Show Performance.
                  Excluding Attributes from Display
                  The show.perf.exclude property in the portal-ext.properties file contains a comma
                  delimited list of the attribute display names to exclude from display. Remember, best practice is to
                  override properties as described in Overriding Properties on page 111.
                  For example,
                        show.perf.exclude=CPU Utilization,AvgRTT
                  If you define this property, the Show Performance command creates charts for the listed attributes.
                  This has no impact on manually created dashboards.

                       NOTE:
                        You must restart tomcat after changing the properties file for the changes to take effect.




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Monitoring Network Availability
               In addition to using the standard ICMP monitor, you can create performance monitors that return
               network availability information displayed on monitor tooltips and reflected in the Network Status
               column in the Managed Resources portlet.
               Here are the steps to set that up:
                1    Create an Adaptive CLI that monitors some status attribute. For example, rather than using
                     the built-in ICMP ping on OpenManage NM, you can use a Perl script like this one:
                       use Net::Ping;
                       $hostname = '10.128.7.11';                          # host to check
                       $timeout = 10;                             # how long to wait for a response
                       print "-1" if pingecho($hostname, $timeout);
                2    Make sure the script’s network-monitoring attribute return maps to an Adaptive CLI integer
                     attribute named or containing NetworkStatus. (NetworkStatus can be just part of the
                     attribute name. It is case insensitive.) You must add this attribute to the Adaptive CLI.




                3    Configure the data extraction as follows:
                     Attribute Name: NetworkStatus
                     Parse Algorithm: Extract
                     Parse Expression: (/-*/d)$
                4    Create an Adaptive CLI monitor referring to your Ping script Adaptive CLI.
                5    Configure it to monitor the attribute in the selected Adaptive CLI as follows:
                     Attribute Name: Network Status (or your name containing that)
                     Attribute Type: Integer
                     Enabled: [check]
                     Metric Type: Gauge
                     Also make sure to check the Update Network Status checkbox on the monitor.
                6    If this attribute exists and the value is 1, polling sets the device’s network availability to
                     Available. If its value is 0 it sets availability to Not Available and if it is -1 it sets availability to
                     Indeterminate.




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         Retention Policies
                   The basis of all reporting and dashboard presentations is data retained from monitors. In other
                   words, each monitor provides a simple schema from which you can produce a chart, graph or
                   report.
                   All monitors rely on a polling engine which executes device interactions at regular intervals. To
                   reduce resource impacts, you can exclude some of the collected data from what OpenManage NM
                   retains. A monitor could even have no retained data, only emitting events based on transient results
                   in the execution/calculation. Another example: the application can derive a metric from several
                   collected values and you may opt to retain only the derived result. Monitors may share a retention
                   policy.




                   OpenManage NM rolls up data hourly and daily into aggregations. See the Aggregate Data on page
                   377 for more details. The retention policy controls how long OpenManage NM holds data per
                   aggregation period. You must select the correct period if you want to review what has been
                   collected.
                   When you select Manage Retention Policies in the Monitors portlet, first a list of available policies
                   appears. Clicking the Add button at the top of the screen lets you create a new policy, while clicking
                   the Edit button to the right of selected, listed policies lets you modify existing policies. The Delete
                   button to the right of listed policies removes them from the list.
                   Editor
                   Monitors may share a retention policy. The retention policy controls how long data is held per roll-
                   up period. The editor for Retention policies lets you assign characteristics and monitors to them.




                   The editor contains the following fields:




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               General Retention Policy Options
               Policy Name—A text identifier for the policy.
               Description— An optional description for the policy.
               Detail/Hourly/Daily Data (Days)—How many days to retain the selected data.
                     The amount retained has both a performance and data storage impact. For example, retaining
                     day’s information from an active performance SNMP monitor configured with one target’s
                     worth of data, retrieved on one minute intervals can consume 0.7 G of database, and require
                     21 insertions per second. See Understanding Performance Monitoring on page 361 for more
                     about retention policies, monitors and how they impact performance.
               Active Monitor Members
               Select from Available Monitors on the left, and click arrows to move the desired monitor(s) to the
               Selected Monitors on the right.
               Click Save to preserve your edits, and include the monitor as listed among existing Retention
               Policies, or click Cancel to abandon any changes.

       Aggregate Data
               OpenManage NM uses detail polling data to produce aggregate values for larger intervals of time,
               including hourly and daily periods. Here is how this works: at the end of each hour, the detail
               polling data for the previous hour is aggregated (or as we can say "rolled up") into hourly data. The
               resulting hourly records are always given the polled time that is the start of the hour, but these data
               points represent the aggregation across the entire hour. For example, if there is a monitor that polls
               its targets every 5 minutes, then during the 10 am hour it will poll 12 times and it will have results
               for each target and for each attribute for each time it polls. Then when the 11 am hour begins,
               OpenManage NM will aggregate all of the detail polling data collected between 10:00 am and 10:59
               am and these new hourly data points will be given the polled time 10:00 am. Likewise, at the end of
               each day, OpenManage NM will aggregate all hourly data into daily data, and all new daily data
               points will be given the polled time of midnight of the previous data. These daily data points
               should be understood to represent an aggregation across the entire day.
               You can also report on longer aggregation periods, including Weekly, Monthly, Quarterly, and Yearly,
               but these values are computed on-the-fly and are not stored in the database. See Create a Monitor
               Report for more information about how to generate reports for monitoring data.

       Deployment and Polling of Monitor Targets
               For each active monitor, the polling targets are deployed and OpenManage NM polls the
               appropriate attributes every interval. There are two ways of defining the targets for a given monitor:
               explicit and implicit. Explicit targets are defined by selecting the specific devices that should be
               polled (equipment managers, subcomponents, etc.) Implicit targets are defined by configuring a
               monitor to poll a group of devices, where the group implicitly includes certain devices based on
               certain filter criteria. Explicit targets can only be added or removed if you edit the monitor.
               Implicit targets can be added and removed any time a device is added or removed from inventory or
               some attribute of a device changes. When implicit targets are removed from a monitor, they are
               not deleted but they are changed from active to inactive. Only active targets are deployed. Inactive
               targets are not deployed, but you can still report on the polling data that is associated with inactive
               targets.




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                   Also, for each monitor target, the Equipment Manager that the target is associated with has a
                   Device Management State, and this data is copied over into an attribute of the monitor target
                   itself. Only targets whose Device Management State is Normal will be deployed. For example, if a
                   monitor target is an interface of a device in inventory whose Management State is
                   Decommissioned, then this target will not be deployed. As long as the Management State is
                   something other than Normal, this target will never be deployed and OpenManage NM will never
                   poll the device, even if the target is active. See Create a Monitor Target Report on page 396 for
                   more information.

         Monitor Editor
                   This editor lets you fine-tune the monitor you selected and right-clicked to open the editor. It
                   includes the following panels and fields:
                        •   General
                        •   Monitor Options
                        •   Calculated Metrics
                        •   Thresholds
                        •   Inventory Mappings
                        •   Conditions

                   General
                   The General panel is common to all different monitor types.




                   af




                   General Monitor Options
                   Name—The identifier for this monitor.
                   Description—A text description for this monitor.
                   Polling Interval— Use these fields to configure how often the monitor polls its target(s).




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               Retention Options
               Retention Policy— This configures how long OpenManage NM retains the monitor’s data.
                   Manage these by right-clicking in the Resource Monitors portal, and selecting Retention
                   Policies. You must make retention policies before you can select them here. See also
                   Retention Policies on page 376.
               Enabled—Check to enable.
               Emit Availability Events— Check to activate emitting availability events. The monitor does not
                   emit an event until the monitored entity’s state has changed. All monitors can generate
                   events on failure to contact the monitored device, port, and so on. For example, by default
                   ICMP monitor updates the network status after a selected number of consecutive failures.
                     You can configure the monitor to generate an event in addition to updating network status,
                     but OpenManage NM does not like the polling interval to be very small especially when
                     monitoring many devices.
                     Example: poll every 10 secs for 10,000 devices with Packet Size = 64 bytes, Packet Count = 3
                     Timeout (secs) = 1, and configure Unreachable attempts = 1 with polling interval = 10
                     seconds. This polls the device every 10 seconds and emits a “down” event on the first failed
                     attempt.
               Retain Availability Data—Check to activate. You must Retain availability data to enable alarms.
                    If you define thresholds, you should retain availability data. Retain availability data stores the
                    Boolean values of whether availability data was in the range your defined metrics.
               Retain Polled Data— Check to activate. If you uncheck Retain polled data only calculated data
                    remains, you cannot view data retrieved from monitored entities. Turning off Retain polled
                    data discards the data as it arrives from the device.
               Retain Calculated Data—Check to activate. Retain calculated data complements Retain polled
                    data. If checked, it stores the calculated results which came from the raw poll data received
                    from the device.
               Update Network Status—Check to activate reporting the network status of the target device(s).
                   The results of this monitor's activity then appear in the Network Status column of the
                   Managed Resources portlet. Only one monitor—and no monitors on interfaces or child
                   components—should ever update networks status. Any monitors on child components or
                   interfaces are rolled up to the top level device, so status may be erroneously reported. For
                   example the top level device is not necessarily down if the interlace is down.
                     If two monitors report the network status of a single device on different intervals, they must
                     both agree it is down before that state appears in Managed Resources. As long as one monitor
                     says a device is Responding, then that is the state displayed.
                     If ping fails (an endpoint is down) and update network status is configured, then
                     OpenManage NM tries to ping the switch/router in front of the endpoint to determine if that
                     device is reachable. If that device also failed, then the endpoint’s status becomes
                     indeterminate.

                     NOTE:
                     For clarity’s sake, best practice has only one monitor per device updating network status. By default
                     ICMP monitoring enables Update Network Status, and monitors all discovered devices.
                     Migrating from previous OpenManage NM versions automatically replaces any configured
                     Heartbeats with ICMP monitors with Update Network Status enabled. If your previous




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                         system had HTTP or SNMP heartbeats, you must manually configure monitors to provide
                         equivalent monitoring in this version.
                   # of Unreachable Attempts before update— The number of attempts to reach the device before
                        OpenManage NM updates the displayed network status of the device. (1-100)
                   Click Save to preserve any edits you make, or Cancel to abandon them.

                   Monitor Options
                   Monitor options contains two panels. The entity panel lets you select the monitor targets. The
                   types of monitor entities allowed varies depending on the type of monitor. The second panel
                   contains options specific to the monitor type being edited.




                   The entity and options panels for the various types of monitors appear below in Monitor Options
                   Type-Specific Panels on page 397.

                            CAUTION:
                         Have no more than 20,000 targets on a single monitor. Your system may not keep up with polling if you
                         exceed the recommended target limit. Best practice is to poll important devices in shorter intervals and
                         less important devices over longer intervals.

                        NOTE:
                         You can elect to monitor the same attribute in multiple, different monitors. This has a performance
                         impact. Best practice is to monitor an attribute only once.




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               Calculated Metrics
               The calculated metrics panel lets you create attributes that are calculated from existing monitor
               attributes. The metric attribute legend assigns a letter value to each monitor attribute. The
               Reassign button reassigns the letters. This is useful if some attributes have been deleted and their
               letters are no longer used.
               The Configured Metrics table lists the calculated metrics. An edit and delete action appears to the
               right of each row. The Add button creates a new calculated metric and the Remove All button
               deletes all the calculated metrics.




               Clicking on the Add button or edit button displays the calculation editor.




               This panel contains the following properties:
               Name— The attribute name to be displayed for the calculation
               Type— Calculation Type - Gauge or Counter
               Units— Units string to appear in graphs. Units do not appear in dashboards with a single attribute.




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                   Max Value—Maximum value to be used in graphing (0 = no max)
                   Formula—The formula for the calculation using the assigned formula codes from the metric
                       attribute legend.

                   Thresholds
                   The thresholds panel allows the user to set threshold intervals on attributes in the monitor. The
                   table lists the attributes for which attributes have been configured. Each row has an edit action and
                   delete action. The Add button allows thresholds to be specified for another attribute. If all monitor
                   attributes have thresholds defined for them the Add button will be disabled.




                   The Add or Edit buttons open a threshold editor (blank or with existing, configured thresholds,
                   respectively).




                   Configure threshold intervals you Add at in the editor screen according to the following
                   parameters.




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               Attribute Name—Appears when you click Add rather than Editing a selected threshold. Use the
                    pick list that appears in this screen to select the attribute for which you are specifying
                    threshold information. When you Edit, the name of the attribute appears as a title within the
                    editor screen.
               Calculation Type—Select from the pick list. Specifies whether the range calculation is to be done
                   based on Average or Consecutive values.
               Consecutive Value Count—Select how many consecutive values to consider at once for a range
                   calculation. Typically the larger the number here, the less “flutter” in reporting threshold
                   crossings.
               Emit Notification— Check to emit an event if the device crosses the configured threshold(s). The
                   notification event contains the threshold-crossing value, as well as which threshold was
                   crossed, and is an alarm at the severity selected when you configure the threshold.
                     You can make a set of thresholds for each monitored attribute, so a single monitor can throw
                     different alarms for different attributes. To see available events and their descriptions, view
                     the contents of the RedcellMonitor-MIB in \owareapps\performance\mibs.
               Apply to Series — Check to enable on composite attributes only. Checking this applies the
                   threshold to individual elements within the series. When it is unchecked, the threshold
                   applies only to aggregate measurements (the overall value of the series), not individual
                   elements within the series.
                     For example; a Key Metric monitor for CPU utilization on a device with two CPUs actually
                     monitors both CPUs. When unchecked, the threshold applies to the average of both CPUs,
                     when checked, the threshold applies to each individual CPU.
                     You can also apply thresholds to regular expressions. This is useful to monitor components
                     within components, for example cores within a CPU.
               Click Apply to preserve your edits, or Cancel to abandon them.
               The threshold interval editor pops up when you select the Add button or the Edit icon to the right
               of a threshold’s row in the threshold attribute editor.




               This screen contains the following fields:
               Name— The identifier for the threshold interval.
               Severity—The event severity for crossing this threshold interval (informational/indeterminate/
                    warning/minor/major/critical)
               Color—The color to display threshold interval on graphs.
               Lower Boundary—The interval’s lower boundary.
               Upper Boundary—The interval’s upper boundary. May be blank.




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                   Matching String—A Regex matching string.

                        NOTE:
                         You can configure a response to threshold crossing with an Event Processing Rule. Create your
                         thresholds within the monitor and then create an Event Processing Rule whose filter conditions respond
                         to monitorAttributeTrend and other conditions such as severity, and so on. You can even use
                         specific values of the event varbinds in the filter conditions too.
                   Threshold Graph Background
                   If you configure a set of thresholds, the dashboard graph displaying the data monitored displays the
                   threshold colors (and text label) in the background. When an upper or lower threshold has no
                   upper or lower bound, then those background colors may appear as white.




                   Inventory Mappings
                   The inventory mappings panel lets you associate predefined inventory metrics with a monitored
                   attribute to normalize the attribute if a device does not report metrics in a way that matches the
                   monitored attribute’s name or format. Available metrics include CPU Utilization %, Memory
                   Utilization %, ICMP Round Trip Time, ICMP packet errors, and Bandwidth utilization %.




                   Common attributes include those for Top N. For example, service A may call it “Disk % Utility”
                   and Service B may call it “% Disk Utility”. We can map them to a common name and can display
                   them as Top N.




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               You can Add a new mapping with that button, or Remove All listed mappings with that button. You
               can also edit or delete listed mappings with the Action icons to the right of each row. Adding or
               editing opens the Inventory Mapping Editor.




               This lets you configure the following:
               Metric ID—Inventory metric name
               Attribute ID— Attribute to associate with the inventory metric

               Conditions
               This panel lets you add multiple conditions to the monitor you are editing.




               Click the Add button to enter a new set of conditions, or click the Edit this entry button to the
               right of a listed Monitor Condition to open the editor. Click the Delete button to remove a listed
               set of conditions. Click the Copy icon to duplicate the listed condition.




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                   The editor has the following fields and settings to configure:




                   Condition Properties
                   Name— Enter a text identifier for the conditions.
                   Alert— Check this if you want OpenManage NM to emit an alert when the monitor satisfies the
                        conditions.
                   Trendable— Check if the conditions specified are trendable. If this is true, the database retains
                       qualifying conditions (or thresholds) for later reporting/dashboards.
                   Severity— Specify the severity of the emitted alert, if any.
                   Successive Intervals Required— Enter the number of occurrences of what is specified in the
                       Condition Filter to satisfy the Conditions.
                   Description— A text description for the conditions.
                   Condition Filter
                   Minimally, use this panel to select a condition, an operator and a value. If you want to use the
                   logical AND or OR operators with a second condition, click the green plus (+), and select a second
                   condition, operator and value. For example, Packet Out Errors greater than 200 AND ifSpeed
                   greater than 10000 can be a set of conditions that only has to occur once to satisfy this monitor’s
                   condition.
                   Click Save to accept your edits, or Cancel to abandon them.




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        Self Management/Self Monitoring: Default Server Status Monitor
                OpenManage NM also includes a Default Server Status Monitor that monitors its own server(s).
                Even clustered application and mediation servers are automatically added to this monitor. You can
                edit this monitor to alter polling intervals, and make different calculations for the monitored
                attributes. Those attributes include TotalMemory, FreeMemory, MemoryInUse, ThreadCount and
                TrapCount for Application Server and Mediation Server processes. You cannot modify the targets
                for this monitor.




                You must create your own Dashboard to view the data in this monitor. Create a custom dashboard
                for this as in described below.


        How To:
Create a Server Status Monitor Dashboard
                  1   Create a custom dashboard as described in How to: Create a Custom Dashboard View on
                      page 429.
                  2   Click the edit icon on one of the dashboard components and set the data source as the
                      Default Server Status Monitor, and the target as the server(s) monitored.
                  3   Save the monitor
                See Dashboard Views on page 425 for more about configuring dashboards.




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         How To:
Create an SNMP Interface Monitor
                   To set up a typical performance monitor, follow these steps:
                     1   In the Resource Monitors portlet, and create a new monitor by right-clicking and selecting
                         New.
                     2   Select the type of monitor from the submenu—for this example, an SNMP Interfaces
                         monitor.

                         NOTE:
                         Some devices have ports rather than interfaces. This monitor works for them too, even though it is an
                         “interface” monitor.
                     3   In the General screen, enter a polling interval (5 minutes is the default). For this example,
                         check Retain polled data and accept the remaining defaults for checkboxes and the retention
                         policy.
                     4   Select an entity to monitor by clicking the Add button in the top portion of the Monitor
                         Options screen. For an interface monitor, select Interface as the Type at the top of the screen.
                         You can also filter the list of interfaces that appear further by selecting Interface Type as ge
                         (gigabit ethernet), for example.

                         NOTE:
                         Notice that you can add refinements like filtering on Administrative State and IP Address to the filter.
                     5   Select interfaces (Ctrl+click to add more than one), then click Add Selection then Done to
                         confirm your entity. Hover your cursor over a line describing an interface to have a more
                         complete description appear as a popup.
                     6   Click Browse to display the MIB Browser. For the sake of this example, we elect to monitor
                         ifInErrors (in RFC Standard MIBs, RFC1213-MIB > Nodes > mib-2 > interfaces > ifTable
                         > ifEntry > ifInErrors).
                     7   In the Thresholds screen, configure thresholds by first clicking Add.
                     8   Click Add above the threshold levels list for each threshold you want to add.
                     9   In the threshold editor, enter a name (Examples: Low, Medium, Overload), an upper and
                         lower boundary, (0 - 10, 10 - 100, 100+), a severity (Informational, Warning, Critical) and
                         color (BLUE, YELLOW, RED). In this case, no string matching is necessary. When the data
                         crosses thresholds, the monitor reacts.
                         Attributes available depend on the type of monitor you are creating. Notice that you can also
                         check to make crossing this threshold emit a notification (an alarm that would appear on the
                         Alarm panel). You can also configure the type of calculation, and so on. You can even alter
                         existing thresholds by selecting one then clicking Edit to the right of the selected threshold.
                    10   Click Apply for each threshold interval you configure, then Apply for the entire threshold
                         configuration.
                         If a threshold’s counter is an SNMP Counter32 (a 32-bit counter) monitoring can exceed its
                         capacity with a fully utilized gigabit interface in a relatively short period of time. The defaults
                         configured in this monitor account for this, but if you know that this is an issue, you can
                         probably configure the monitor to account for it too.




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                      After taking a look at Thresholds no more configuration is required. Notice, however, that you
                      can also configure Calculated Metrics, Inventory Mappings and Conditions on other screens
                      in this editor to calculate additional values based on the monitored attributes, to map them,
                      and to make conditional properties based on monitored behavior.

                      NOTE:
                      Calculated Metrics is particularly valuable if you want to monitor a composite like ifInErrors + ifOutErrors
                      or want to calculate a parameter like errors per minute when the monitor’s interval is 5 minutes.
                 11   Click Save and the monitor is now active.
                      Notice that the Availability icon appears at the top of a Monitor Status Summary snap panel
                      in the Expanded Resource Monitor next to a time/date stamp of its last polling. Right-click
                      the monitor and select Refresh Monitor to manually initiate polling.
                      Values displayed in the Overall Availability column of the Monitor Manager do not
                      automatically refresh and may be out of date. The Reference Tree snap panel maps the
                      monitor’s relationship to its target(s) attribute(s) and other elements. The Details snap panel
                      summarizes the monitor’s configuration.
                 12   For information about having the monitor’s results appear in the a Dashboard portlet, see
                      Dashboard Views on page 425.


        How To:
Create an ICMP Monitor
                The following steps create an ICMP (ping) monitor.
                  1   In the Resource Monitors portlet, and create a new monitor by right-clicking and selecting
                      New.
                  2   Select the type of monitor from the submenu—for this example, an ICMP monitor.
                  3   In the General screen, enter a name (Test ICMP Monitor), and a polling interval (5 minutes is
                      the default). For this example, check Retain polled data and accept the remaining defaults for
                      checkboxes and the retention policy.
                  4   Select an entity to monitor by clicking the Add button in the top portion of the Monitor
                      Options screen.
                  5   Select devices you want to ping, (Ctrl+click to add more than one), then click Add Selection
                      then Done to confirm your entity.
                  6   Define packets in the ICMP Monitor Options panel, including Packet Size, Packet Count and
                      timeout. You can accept the defaults here, too.
                  7   In the Thresholds tab, select an attribute (MaxRTT, or maximum round trip time) and add
                      the following thresholds by clicking Add:
                      Name High color red, Lower Boundary 15 and Upper Boundary [blank] Severity Critical
                      Name Fine color green, Lower Boundary 0 and Upper Boundary 15 Severity Cleared.
                      Notice that this example does not emit a notification. If you checked that checkbox, an alarm
                      of the configured severity would accompany crossing the threshold.




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                     8   Accept the other defaults and click Apply
                     9   Click Save.
                    10   Test ICMP Monitor now appears in the portlet.


         How To:
Create a Key Metrics Monitor
                   Follow these steps to create a Key Metrics Monitor (also, see Key Metric Editor on page 439).
                     1   In the Resource Monitors portlet, and create a new monitor by right-clicking and selecting
                         New.
                     2   Select the type of monitor from the submenu—for this example, an Key Metrics monitor.
                     3   In the General screen, enter a name (Test Key Metrics Monitor), and a polling interval (5
                         minutes is the default). For this example, check Retain polled data and accept the remaining
                         defaults for checkboxes and the retention policy.
                     4   Select an entity to monitor by clicking the Add button in the top portion of the Monitor
                         Options screen.
                     5   Select devices on which you want to monitor Key Metrics.
                     6   Select from the available metrics that appear at the bottom of the screen in Key Metric
                         Properties by selecting a category with the pick list at the top of the screen, then click on an
                         Available metric, and click the right arrow to make it a Selected metric.
                     7   Click Save to retain your new Monitor.
                     8   Test Key Metrics Monitor appears in the Resource Monitors portlet.


         How To:
Create an Adaptive CLI Monitor
                   You can create monitors that track Adaptive CLI responses. The following outlines the steps:
                     1   Determine the Show Command that you want to run.
                     2   Create ACLI to extract the data as described below.
                     3   Create the Monitor that uses the data from the ACLI.
                     4   Create any threshold crossing events/actions (see Thresholds on page 382).
                     5   Create dashboards (see Dashboard Views on page 425) to view results and reports (see How
                         to: Create a Monitor Report) to preserve or display the data.

                   Monitor Reports in Multitenant Environments
                   Reports for the master site can target all available devices, however, in tenant sites, only devices to
                   which the tenant site has access are visible in reports.
                   If, for example, a tenant wants to make a report about a monitor shared by all tenants, then the
                   tenant can create the report only for data from devices assigned to its site.




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               Show Command
               For this example, use the Cisco show ip traffic command. Run the command so you can see
               the data you want to extract. Here, we want to know the number of dropped packets due to
               adjacency and no route issues. Here is some example output:
                     c1720-1.30#show ip traffic
                     IP statistics:
                       Rcvd:    2072045 total, 1995503 local destination
                                0 format errors, 0 checksum errors, 0 bad hop count
                                0 unknown protocol, 0 not a gateway
                                0 security failures, 0 bad options, 0 with options
                       Opts:    0 end, 0 nop, 0 basic security, 0 loose source route
                                0 timestamp, 0 extended security, 0 record route
                                0 stream ID, 0 strict source route, 0 alert, 0 cipso, 0 ump
                                0 other
                       Frags: 0 reassembled, 0 timeouts, 0 couldn't reassemble
                                0 fragmented, 0 couldn't fragment
                       Bcast: 1952255 received, 4 sent
                       Mcast: 0 received, 0 sent
                       Sent:    86915 generated, 0 forwarded
                       Drop:    18 encapsulation failed, 0 unresolved, 0 no adjacency
                                0 no route, 0 unicast RPF, 0 forced drop
               This command has more output, our only concern is extracting the number of no routes and no
               adjacencies in the first section, underlined, above.

               Create ACLI
               Create a show ACLI for the show ip traffic command. This ACLI executes the command
               and it will extract the appropriate data using RegEx.
                1    Create a new ACLI (or modify an existing)




                     Create an attribute in ACLI for each attribute that you want to monitor. The Date Type must
                     be Integer.




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                     2   Here, there is an attribute for no_adjacency.




                     3   Create an attribute for no_route, too.
                     4   Create the script which contains the command you want to run. Notice the the attributes
                         appear listed on the right panel. Do not refer to the attributes in the script as you would in a
                         configuration script. The next step contains attribute references.




                     5   In the Value Extractions Tab click Add new attribute extraction and then pick the attribute.
                         The Parse Expression is the RegEx that extracts the correct data. For no_route use this
                         RegEx: .*(\d+) no route,.*



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                6    Add the next attribute. For no_adjacency use the RegEx: .*unresolved, (\d+) no
                     adjacency.*




                7    Apply and Save the ACLI.
                8    Select the ACLI and execute it, selecting the devices you want to monitor.
                     The audit panel catalogs the progress of the job, and the Execution History snap panel in the
                     expanded Actions portlet displays the execution, listing multiple executions by time and date.
                     Right-click an execution listed, and select Results to see the results.

               Create the Monitor
               Follow these steps to monitor the Adaptive CLI created in the previous section.
                1    Create a new monitor, select Adaptive CLI as the type.
                2    Name the monitor, set the polling interval.
                3    Select device(s) to monitor and then select the ACLI you just created. Notice that the
                     attributes appear in the input parameters tab.
                4    Under the Monitor Attributes tab, use the defaults.
                5    Set any thresholds you like in the Thresholds node. This example monitors normal
                     functionality so it includes no thresholds.
                6    When you save the monitor it begins working and executes the ACLI every polling cycle,
                     extracting the data.




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         How To:
Create a Monitor for an External Script
                   The following steps describe creating a monitor for an external command configured as an
                   Adaptive CLI (ACLI).
                   Create the Adaptive CLI
                     1   Right-click in the Actions portlet, and create a new External Command ACLI
                     2   Make a new attribute schema with attribute: Status (integer)
                     3   In Scripts, enter the following as Script Content:
                         perl "C:\[installation path] \owareapps\performance\scripts\
                          http_test.pl"[_EquipmentManager_IP_Address]
                         The path that precedes the owareapps directory may differ if you have installed OpenManage
                         NM elsewhere, and by default on Linux.
                         Several Perl scripts appear in this performance\scripts directory by default. You can try others
                         in addition to the http_test.pl script.
                     4   In the Value Extraction panel enter the following:
                         ^\{(\d+)\}.*
                     5   Click Apply
                     6   Click Save
                     7   Right-click and Execute the ACLI to test it.
                     8   Look in Job Viewer for the results.




                         Click Set attribute extraction results, click here to see the results appear in the bottom panel.
                         Notice also that you must check informational messages for all these to appear, and that
                         several additional sets of messages besides the extraction results appear.




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               Create a Monitor for the External Script Adaptive ACLI
               Now that you have verified the script is working, you can create a monitor to see how this attribute
               is doing.
                1    In the Monitors portlet, create a new ACLI Monitor
                2    Uncheck Update Network Status (recommended since the ICMP monitor is already doing
                     this)
                3    In Monitor Options select your example monitor configured previously.
                4    Confirm that Monitor Attributes displays the Status attribute configured previously.
                5    In the Conditions tab of the Monitor Editor, create “Status Up” condition, with the severity
                     of Informational, and check Alert.
                6    Create a criterion which is Status = 0.
                7    Save this condition
                8    Create a new Condition called “Status Down”
                9    The criterion is Status = 1
               10    Apply and Save
               11    Save your monitor

                     NOTE:
                     You may want to test your monitor, in which case, you may want to change the interval to 30 seconds.
               12    Right-click to select View Monitor Data, and you can see the results of your efforts.




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         How To:
Create a Monitor Report
                   You can create reports based on your monitors. The following example creates a report based on
                   How to: Create an SNMP Interface Monitor above.
                     1   Create a new Report Template by right-clicking the Report Templates portlet, selecting New
                         > Table Template.
                     2   Name the report (here: Test SNMP Interface Report).
                     3   Select a source in the Source tab. Here: Active Monitoring > SNMP Interfaces.
                     4   Notice that the Select your inventory columns panel displays the attributes available based on
                         your monitor selection.
                     5   Select Available columns and click the right arrow to move them to Selected. In this case we
                         select SNMP Interfaces: Monitor Target, Polled Date/Time, ifInErrors.
                     6   Arrange the columns and fonts as you like in the Layout tab.
                     7   Save the template.
                     8   Right-click, and select New in the Reports portlet.
                     9   Enter a Name and Title for the report.
                    10   Notice that since this is the first report created since you made the Test SNMP Interface
                         Report template, that it is the Report Template already selected.
                    11   Since the monitor already filters devices, we add no filter in the Report, although you could
                         add one to further filter the monitored devices.
                    12   Test SNMP Interface Report should appear in the Reports portlet.
                    13   Right-click and select Execute (noticing that you can also schedule such reports, even
                         repeatedly).
                    14   Click the magnifying glass to the right of the Report Completed message in My Alerts to see
                         the report.
                    15   Hover your cursor over the lower right corner of the report to see a set of icons that let you
                         expand, zoom out and in, save, or print the report.


         How To:
Create a Monitor Target Report
                   Similar to Monitor Reports, you can create reports based on the targets associated with your
                   monitors. The following example creates a report based on How to: Create an SNMP Interface
                   Monitor above.
                     1   Create a new Report Template by right-clicking the Report Templates portlet, selecting New
                         > Table Template.
                     2   Name the report (here: Test SNMP Interface Targets Report).
                     3   Select a source in the Source tab. Here: Active Monitoring > SNMP InterfacesTargets (there
                         should be two entity types for each monitor: one for the actual monitor data, and one for the
                         targets).




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                4    Notice that the Select your inventory columns panel displays the attributes associated with
                     the monitor targets. These attributes are the same for each monitor target entity type. This is
                     unlike the monitor data entity types, where the list of available attributes is different for each
                     monitor.
                5    Select Available columns and click the right arrow to move them to Selected. In this case we
                     select Monitor Target, Equipment, Availability, Last Polled, Enabled, Device Management
                     State.
                6    Arrange the columns and fonts as you like in the Layout tab.
                7    Save the template.
                8    Right-click, and select New in the Reports portlet.
                9    Enter a Name and Title for the report.
               10    Notice that since this is the first report created since you made the Test SNMP Interface
                     Targets Report template, that it is the Report Template already selected.
               11    Since the monitor already filters devices, we add no filter in the Report, although you could
                     add one to further filter the target devices and/or subcomponents.
               12    Test SNMP Interface Target Report should appear in the Reports portlet.
               13    Right-click and select Execute (noticing that you can also schedule such reports, even
                     repeatedly).
               14    Click the magnifying glass to the right of the Report Completed message in My Alerts to see
                     the report.

       Monitor Options Type-Specific Panels
               The following describes the panels associated with the following Monitor Options types.
                •    Adaptive CLI
                •    Cisco IPSLA
                •    Cisco Metro Ethernet SLA Monitors
                •    Cisco QoS Monitors
                •    ICMP
                •    Juniper CoS
                •    Juniper RPM
                •    Key Metrics
                •    ProScan
                •    SNMP
                •    SNMP Interfaces
                •    SNMP Table Monitor
                •    VRF

               Adaptive CLI
               For this monitor, see How to Create an Adaptive CLI Monitor on page 390.




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                   Select Monitor Entities in the top panel, and an Adaptive CLI to monitor at the top of the bottom
                   panel. The Input Parameters for the Adaptive CLI appear in that tab, and you can edit the Monitor
                   Attributes in that tab.




                   The Name and Type, and whether the attribute is Enabled appear in this editor. You can also select
                   whether the attribute is a Counter, Gauge or Boolean. For Counter types, the monitor computes
                   change from previous readings, and for Gauges it does not. Boolean attributes are either true or
                   false

                   Cisco IPSLA
                   This screen configures options for Cisco IPSLA monitoring.




                            CAUTION:
                         Target equipment for this monitor must be an IPSLA transmitter, not an IPSLA responder.
                   Click to select from Available Attributes and use the arrows to move such attributes to Selected
                   Attributes that you want to monitor.

                        NOTE:
                         This Monitor provides end-to-end service verification. Alarms appear in the Service Details Panel and
                         service topology. You must configure the monitor to emit availability events for this to occur.




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               IPSLA OIDS
               The following are the object IDs for IPSLA, all found in CISCO-RTTMON-MIB

               Monitor Attribute Name        Mib Attribute name                       OID
               NumOfPositvesDS               rttMonEchoAdminNumPackets                1.3.6.1.4.1.9.9.42.1.2.2.1.1
                                                                                      8
               NumOfRTT                      rttMonLatestJitterOperNumOfRTT           1.3.6.1.4.1.9.9.42.1.5.2.1.1
               RTTSum                        rttMonLatestJitterOperRTTSum             1.3.6.1.4.1.9.9.42.1.5.2.1.2
               RTTSum2                       rttMonLatestJitterOperRTTSum2            1.3.6.1.4.1.9.9.42.1.5.2.1.3
               MinRTT                        rttMonLatestJitterOperRTTMin             1.3.6.1.4.1.9.9.42.1.5.2.1.4
               MaxRTT                        rttMonLatestJitterOperRTTMax             1.3.6.1.4.1.9.9.42.1.5.2.1.5
               MinOfPositivesSD              rttMonLatestJitterOperMinOfPositivesS 1.3.6.1.4.1.9.9.42.1.5.2.1.6
                                             D
               MaxOfPositvesSD               rttMonLatestJitterOperMaxOfPositivesS 1.3.6.1.4.1.9.9.42.1.5.2.1.7
                                             D
               NumOfPositivesSD              rttMonLatestJitterOperNumOfPositivesS 1.3.6.1.4.1.9.9.42.1.5.2.1.8
                                             D
               NumOfPositivesDS              rttMonLatestJitterOperSumOfPositivesS 1.3.6.1.4.1.9.9.42.1.5.2.1.9
                                             D
               Sum2PositivesSD               rttMonLatestJitterOperSum2PositivesSD 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                                                                   0
               MinOfNegativesSD              rttMonLatestJitterOperMinOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             SD                                   1
               MaxOfNegativesSD              rttMonLatestJitterOperMaxOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             SD                                   2
               NumOfNegativesSD              rttMonLatestJitterOperNumOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             SD                                   3
               SumOfNegativesSD              rttMonLatestJitterOperSumOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             SD                                   4
               Sum2NegativesSD               rttMonLatestJitterOperSum2NegativesS 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             D                                    5
               MinOfPositivesDS              rttMonLatestJitterOperMinOfPositivesD 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             S                                     6
               MaxOfPositivesDS              rttMonLatestJitterOperMaxOfPositivesD 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             S                                     7
               NumOfPositivesDS              rttMonLatestJitterOperNumOfPositives     1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             DS                                       8
               SumOfPositivesDS              rttMonLatestJitterOperSumOfPositivesD 1.3.6.1.4.1.9.9.42.1.5.2.1.1
                                             S                                     9
               Sum2PositivesDS               rttMonLatestJitterOperSum2PositivesDS 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                                                   0
               MinOfNegativesDS              rttMonLatestJitterOperMinOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                             DS                                   1
               MaxOfNegativesDS              rttMonLatestJitterOperMaxOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                             DS                                   2
               NumOfNegativesDS              rttMonLatestJitterOperNumOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                             DS                                   3




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                   Monitor Attribute Name              Mib Attribute name                        OID
                   SumOfNegativesDS                    rttMonLatestJitterOperSumOfNegatives 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                       DS                                   4
                   Sum2NegativesDS                     rttMonLatestJitterOperSum2NegativesD 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                       S                                    5
                   PacketLossSD                        rttMonLatestJitterOperPacketLossSD        1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                                                                 6
                   PacketLossDS                        rttMonLatestJitterOperPacketLossDS        1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                                                                 7
                   PacketOutOfSequence                 rttMonLatestJitterOperPacketOutOfSeq 1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                       uence                                8
                   PacketMIA                           rttMonLatestJitterOperPacketMIA           1.3.6.1.4.1.9.9.42.1.5.2.1.2
                                                                                                 9
                   PacketLateArrival                   rttMonLatestJitterOperPacketLateArrival 1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                               0
                   OWSumSD                             rttMonLatestJitterOperOWSumSD             1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 3
                   OWSum2SD                            rttMonLatestJitterOperOWSum2SD            1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 4
                   OWMinSD                             rttMonLatestJitterOperOWMinSD             1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 5
                   OWMaxSD                             rttMonLatestJitterOperOWMaxSD             1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 6
                   OWSumDS                             rttMonLatestJitterOperOWSumDS             1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 7
                   OWSum2DS                            rttMonLatestJitterOperOWSum2DS            1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 8
                   OWMinDS                             rttMonLatestJitterOperOWMinDS             1.3.6.1.4.1.9.9.42.1.5.2.1.3
                                                                                                 9
                   OWMaxDS                             rttMonLatestJitterOperOWMaxDS             1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 0
                   NumOfOW                             rttMonLatestJitterOperNumOfOW             1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 1
                   MOS                                 rttMonLatestJitterOperMOS                 1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 2
                   ICPIF                               rttMonLatestJitterOperICPIF               1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 3
                   InterArrivalJitterOut               rttMonLatestJitterOperIAJOut              1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 4
                   InterArrivalJitterIn                rttMonLatestJitterOperIAJIn               1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 5
                   AvgJitter                           rttMonLatestJitterOperAvgJitter           1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 6
                   AvgJitterSD                         rttMonLatestJitterOperAvgSDJ              1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 7
                   AvgJitterDS                         rttMonLatestJitterOperAvgDSJ              1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                                 8




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               Monitor Attribute Name           Mib Attribute name                      OID
               OWAvgSD                          rttMonLatestJitterOperOWAvgSD           1.3.6.1.4.1.9.9.42.1.5.2.1.4
                                                                                        9
               OWAvgDS                          rttMonLatestJitterOperOWAvgDS           1.3.6.1.4.1.9.9.42.1.5.2.1.5
                                                                                        0
               LatestHTTPOperRT                 rttMonLatestHTTPOperRTT                 1.3.6.1.4.1.9.9.42.1.5.1.1.1
               LatestHTTPOperDNSRTT             rttMonLatestHTTPOperDNSRTT              1.3.6.1.4.1.9.9.42.1.5.1.1.2
               LatestHTTPOperTCPConnectRT rttMonLatestHTTPOperTCPConnectR               1.3.6.1.4.1.9.9.42.1.5.1.1.3
               T                          TT
               LatestHTTPOperTransactionRTT rttMonLatestHTTPOperTransactionRTT 1.3.6.1.4.1.9.9.42.1.5.1.1.4
               LatestHTTPOperMessageBodyOc rttMonLatestHTTPOperMessageBodyOc 1.3.6.1.4.1.9.9.42.1.5.1.1.5
               tets                        tets
               LatestHTTPOperSense              rttMonLatestHTTPOperSense               1.3.6.1.4.1.9.9.42.1.5.1.1.6
               LatestHTTPErrorSenseDescriptio rttMonLatestHTTPErrorSenseDescriptio 1.3.6.1.4.1.9.9.42.1.5.1.1.7
               n                              n
               LatestRttOperCompletionTime      rttMonLatestRttOperCompletionTime       1.3.6.1.4.1.9.9.42.1.2.10.1.
                                                                                        1

               Cisco Metro Ethernet SLA Monitors
               This monitor Cisco's CISCO-IPSLA-ETHERNET-MIB. It collects performance metrics against
               individual RTT probe operations for the target device. This monitor works like the existing Cisco
               IPSLA monitor for the CISCO-RTTMON-MIB. It indexes statistics using the probe index as
               defined in the rttMonCtrlAdminTable in the CISCO-RTTMON-MIB. The Ethernet jitter probes
               have a rttMonCtrlAdminRttType of ethernetJitter.
               OpenManage NM does not provide configuring of Ethernet jitter SLA operations. Information
               about configuring CFM can be found in the following documents found on the Cisco web site:
               Configuring Ethernet CFM and OAM and Configuring IP SLAs for Metro-Ethernet.




               To create a Cisco Metro Ethernet monitor, select New Monitor > Cisco Ethernet SLA from the
               right-click menu in the Resource Monitors portlet. The Monitor Options screen lets you configure
               monitored attributes and devices. As with the IPSLA monitor, you can select either equipment
               groups or individual managed equipment objects. If you select a managed equipment object you



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                   can click on the gear icon in the Action column to see a list of the Ethernet Jitter SLA probe IDs
                   configured for that device and select specific probes which then appear in the SLA Key(s) column.
                   Without such a selection, the monitor tracks all Ethernet Jitter SLA probes for the device.
                   The Ethernet SLA Properties panel allows selection of the specific attributes you wish to collect
                   data on. The attributes correspond directly to the oids in the ipslaEtherJitterAggStatsTable in the
                   ipslaEthernetStats section of the CISCO-IPSLA-ETHERNET-MIB.

                   Cisco QoS Monitors
                   This monitors values for Cisco QoS from the Cisco Class-Based QOS MIB. The following
                   screenshots come from the Class Map monitor, but OpenManage NM’s Cisco QoS monitoring
                   capabilities include more than just this monitor. See Additional QoS Monitors on page 403.




                   Service Policies
                   A Service Policy is a policy map attached to a logical interface. Because a policy map can also be a
                   part of the hierarchical structure (inside a classmap), OpenManage NM considers only a policy
                   map directly attached to a logical interface as a service policy.
                   Class Map— A user-defined traffic class that contains one or many match statements that classify
                        packets into different categories.
                   Match Statement— Specifies specific match criteria to identify packets for classification purposes.
                       Match statements exist within a class map.
                   Policy Map— A user-defined policy that associates QoS actions to the user-defined traffic class -
                        ClassMap.
                   Qos Actions— These include: Queueing, Random Detect (WRED), Traffic Shaping, Police, Set
                       (Packet Marking), Compression (IP header), Account (C3pl).




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               See Additional QoS Monitors on page 403 for attributes you can monitor related to
               these.
               Monitor Entitles
               Select the equipment to monitor in this screen. Notice the PF and IF columns that indicate
               whether a port filter or interface filter is active to further limit what parts of the selected device is
               monitored. Delete the device or configure port and interface filters with the icons to the right of
               listed equipment.
               QOS Properties - Monitored Attributes
               This panel lets you select attributes monitored with right/left selection arrows. Move the desired
               attributes from the Available to the Selected side of this panel. Notice that, by default, you can
               monitor two additional calculated attributes. You can also edit the monitor to create additional
               calculated attributes, which would also appear here.

                     NOTE:
                     If you change the bandwidth (speed) on an port/interface, you must resync the device to update the port
                     speed in OpenManage NM. You must refresh targets on any QOS monitor after resync for the application
                     to reflect the correct MaxClassBandwidth value. See also Bandwidth Calculation on page 418.
               Additional QoS Monitors
               The sections below list the monitored attributes for possible Monitor types that include the
               following:
                •    Qos Class Map Monitor
                •    Qos Match Statement Monitor
                •    Qos Police Monitor
                •    Qos Queuing Monitor
                •    Qos Traffic Shaping Monitor
                •    Qos RED Monitor
                •    Qos IPHC Monitor
                •    Qos Packet Marking Monitor
                •    QoS Police Monitor
                •    Qos Estimate Bandwidth Monitor
                •    QoS C3pl Account Monitor
               Qos Class Map Monitor
               Qos Class Map Monitor collects metrics from the cbQosCMStatsTable. This table specifies
               ClassMap related Statistical information.
               Available Metrics:
                        DropBitRate
                        PrePolicyPkt
                        PrePolicyByte
                        PrePolicyBitRate
                        PostPolicyByte
                        PostPolicyBitRate
                        DropPkt
                        DropByte
                        NoBufDropPkt




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                           FragmentPkt
                           FragmentByte
                   Target Summary Pattern
                   This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
                   the top panel




                         <PolicyMapName> : <Name>
                   Qos Match Statement Monitor
                   Qos Match Statement Monitor collects metrics from the cbQosMatchStmtStatsTable. This table
                   specifies Match Statement related statistical information.
                   Available Metrics
                           PrePolicyPkt
                           PrePolicyByte
                           PrePolicyBitRate
                   Target Summary Pattern
                   This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
                   the top panel
                         <PolicyMapName> : <Name> : <StmtName>

                   Qos Police Monitor
                   Qos Police Monitor collects metrics from the cbQosPoliceStatsTable. This table specifies Police
                   Action related statistical information.
                   Available Metrics
                           ConformedPkt
                           ConformedByte
                           ConformedBitRate
                           ExceededPkt
                           ExceededByte
                           ExceededBitRate
                           ViolatedPkt
                           ViolatedByte
                           ViolatedBitRate
                   Target Summary Pattern
                   This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
                   the top panel




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                     <PolicyMapName> : <CMName> : <CfgRate>

               Qos Queuing Monitor
               Qos Queuing Monitor collects metrics from the cbQosQueueingStatsTable. This table specifies
               Queueing Action-related statistical information.
               Available Metrics
                      CurrentQDepth
                      MaxQDepth
                      DiscardByte
                      DiscardPkt
               QoS Configuration Filtering Attributes
                      CfgBandwidth - specified in kbps or percentage
                      CfgBandwidthUnits - enumeration
               Target Summary Pattern
               This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
               the top panel
                     <PolicyMapName> : <CMName> : <CfgBandwidth>

               Qos Traffic Shaping Monitor
               Qos Traffic Shaping Monitor collects metrics from the cbQosTSStatsTable. This table specifies
               traffic-shaping Action related statistical information.
               Available Metrics
                      DelayedByte
                      DelayedPkt
                      DropByte
                      DropPkt
                      Active
                      QSize
               Target Summary Pattern
               This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
               the top panel
                     <PolicyMapName> : <CMName>         : <TSCfgRate>

               Qos RED Monitor
               Qos RED Monitor collects metrics from the cbQosREDClassStatsTable. This table specifies per
               Precedence WRED (wait random early detection) Action-related statistical information.
               Available Metrics
                      RandomDropPkt
                      RandomDropByte
                      TailDropPkt
                      TailDropByte
                      TransmitPkt
                      TransmitByte
                      ECNMarkPkt




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                           ECNMarkByte
                           MeanQSizeUnits
                           MeanQSize
                   Target Summary Pattern
                   This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
                   the top panel
                         <PolicyMapName> : <CMName> : < CfgDscpPrec >

                   Qos IPHC Monitor
                   Qos IPHC Monitor collects metrics from the cbQosIPHCStatsTable. This table specifies IP Header
                   Compression statistical information.
                   Available Metrics
                           RtpSentPkt
                           RtpCmprsOutPkt
                           RtpSavedByte
                           RtpSentByte
                           RtpSentByteRate
                           TcpSentPkt
                           TcpCmprsOutPkt
                           TcpSavedByte
                           TcpSentByte
                           TcpSentByteRate
                           RtpFullHdrSentPkt
                           TcpFullHdrSentPkt
                   Target Summary Pattern
                   This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
                   the top panel
                         <cbQosPolicyMapName> : <cbQosCMName> : <CfgOption>

                   Qos Packet Marking Monitor
                   Qos Packet Marking Monitor collects metrics from the cbQosSetStatsTable. This table specifies
                   packet marking statistical information.
                   Available Metrics
                           DscpPkt
                           PrecedencePkt
                           QosGroupPkt
                           FrDePkt
                           AtmClpPkt
                           L2CosPkt
                           MplsExpImpositionPkt
                           DiscardClassPkt
                           MplsExpTopMostPkt
                           SrpPriorityPkt
                           FrFecnBecnPkt




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                      DscpTunnelPkt
                      PrecedenceTunnelPkt
               Target Summary Pattern
               This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
               the top panel
                     <cbQosPolicyMapName> : <cbQosCMName> : <CfgFeature>

               QoS Police Monitor
               Qos Police Monitor collects metrics from the cbQosPoliceColorStatsTable. This table specifies
               Police Action-related statistical information for two rate color aware marker.
               Available Metrics
                      ConformedBitRate
                      ConfirmedByte
                      ConformedPkt
                      ExceededBitRate
                      ExceededByte
                      ExceededPkt
                      ViolatedBitRate
                      ViolatedByte
                      ViolatedPkt
               Target Summary Pattern
               This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
               the top panel
                     <cbQosPolicyMapName> : <cbQosCMName> : <cbQosPoliceCfgRate>

               Qos Estimate Bandwidth Monitor
               Qos Estimate Bandwidth Monitor will collect metrics from the cbQosEBStatsTable. This table
               specifies Estimate Bandwidth related statistical information.
               Available Metrics
                      StatsCorvilEBValue
                      StatsCorvilEBStatus
                      StatsCorvilCTD
               Target Summary Pattern
               This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
               the top panel
                     <cbQosPolicyMapName> : <cbQosCMName> : <???>

               QoS C3pl Account Monitor
               Qos C3pl Account Monitor collects metrics from the cbQosC3plAccountStatsTable. This table
               specifies C3pl Account Action-related statistics information.
               Available Metrics
                      cbQosC3plAccountDropPkt
                      cbQosC3plAccountDropByte
                      cbQosC3plAccountTailDropPkt




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                           cbQosC3plAccountTailDropByte
                   Target Summary Pattern
                   This pattern appears in the expanded Resource Monitors portlet when you select the monitor in
                   the top panel
                         <cbQosPolicyMapName> : <cbQosCMName> : <cbQosC3plAccountFeatureType>

                   ICMP
                   The ICMP Monitor Options panel contains the following properties:




                   Packet Size—Size of packet for ICMP transmission
                   Packet Count—Number of packets to send.
                   Timeout—Number of seconds without a response before a timeout is issued
                   The ICMP Entity Panel lets you select resource groups and Resource manager objects. Clicking
                   Add button displays a selector panel for these.
                   Select the type of entity you want to add, then select any desired filter attributes, then click Apply
                   Filter. Select from the entities that appear and add them to the monitor.

                        NOTE:
                         Migrating from previous versions updates the Network Status check box to true and redeploys the
                         monitor.




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               Juniper CoS
               This (optional) monitor uses the fields described below and lets you track CoS attributes for
               Juniper equipment. It appears only on systems with a Juniper device driver installed.




               Monitor Entities
               Click Add to configure monitored devices in a subsequent selector screen. This is the typical
               selector with a filter to help you find discovered devices.
               At the right you can see PF (Port Filter) and IF (Interface Filter) columns, which display green
               icons if such filters are active. Click the Configure Port/Interface Filter icon at the far right to
               configure such filters. These contain the standard filtering mechanism visible throughout
               OpenManage NM. (See Defining Advanced Filters on page 147, for example). Notice that for port
               and interface filters, the editor also lets you delete the filter. The Delete button on the right of
               listed Monitor Entities lets you delete equipment.
               COS Properties
               Click to select Available Attributes, and use the arrows between columns to move these to the
               Selected Attributes column to select the monitored CoS properties.




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                   Juniper RPM
                   This (optional) monitor uses the fields described below and lets you track RPM attributes for
                   Juniper equipment. It appears only on systems with a Juniper device driver installed.




                   Monitor Entities
                   Click Add to configure monitored devices in a subsequent selector screen. This is the typical
                   selector with a filter to help you find discovered devices.
                   At the right you can see the RPMs column. This displays information about RPM probes. Click the
                   Configure RPM Probes icon (a gear) at the far right to select and configure such probes. The Delete
                   button on the right of listed Monitor Entities lets you delete equipment and probe combinations.
                   RPM Properties
                   Click to select Available Attributes, and use the arrows between columns to move these to the
                   Selected Attributes column to select the monitored RPM properties.
                   These monitors collect data for all tests for the selected probe(s), and collect only attributes
                   assigned to them. If all attributes are assigned in the monitor, but only a handful of actual
                   attributes are being tested, then the monitor collects only data from attributes running tests.
                   For example, if you select Egress to monitor, and tests occur for Egress, then the monitor collects
                   Egress. However, if you select all attributes, and only Egress and PostRttJitter are tested, and the
                   monitor collects only Egress and PostRttJitter.
                   Another example: If you select all attributes for the monitor, then slowly add more tests and
                   attributes on the device, the monitor picks up these changed attributes as you add them to the
                   tests.




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               The default refresh rate is 30 minutes, but you can configure the refresh by overriding the attribute
               pm.monitor.rpm.refresh_rate. This property determines how often the monitor fetches the list of
               tests and attributes for the probe. Disable/Enable-ing the monitor also refreshes the list. The
               monitor can stay up to date with the device without much user intervention.
               You can also change the attribute names (like Egress) too through the pmmsgs.properties file.
               Search for RPM and modify the nine attribute names. Remember, best practice is to override
               properties as described in Overriding Properties on page 111.
               Click Save to preserve your edits, or Cancel to abandon them.

               Key Metrics
               The Key Metrics Properties panel contains a list of key metrics you can add to the monitor. They are
               grouped by category.




               The Monitor Entities Panel lets you select equipment group and equipment manager objects (as
               described in ICMP on page 408, above).
               The Key Metrics Properties panel at the bottom of this screen uses a pre-defined list of key metrics.
               It does not check if the key metrics selected are supported by the devices and groups selected in the
               monitor.




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                   ProScan
                   In this screen, you simply select the Proscan (also known as Compliance Policy) to monitor. In the
                   Thresholds tab, you can set thresholds for both in and out of compliance numbers.




                   The Proscan policy contains the target network assets.
                   Execute the Proscan only after creating the monitor. The Proscan monitor displays data when you
                   create it and its supporting Proscan policy in the following order:
                     1   Create Proscan policy X that has explicit targets.
                     2   Create a Proscan monitor referring to Proscan policy X, and modify polling to the desired
                         interval.
                     3   Execute Proscan X.




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               SNMP
               The SNMP attributes panel lets you specify which SNMP attributes are to be monitored.




               You can specify the SNMP attributes the following ways:
                •    With the SNMP browser, or
                •    Entering the SNMP attribute properties explicitly.
               The Browse button launches the SNMP MIB browser. (See MIB Browser Tool on page 43) You can
               also click the Device Results tab to open an SNMP authentication screen and log into any device
               you specify, even undiscovered devices. Specify the IP address, SNMP Read Community, port,
               SNMP version, timeout and retries.




               Click on the desired SNMP nodes and then click on the Add Selection button to add an SNMP
               attribute. When done selecting, click the Done button to add selected attributes to the monitor or
               Cancel to abandon the operation and close the browser.




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                   The Add and Edit buttons in the SNMP attribute panel launch the SNMP Attribute editor.




                   This panel contains the following properties:
                   Oid— The object identifier for this attribute
                   Name—This attribute’s name
                   Instance—SNMP instance. 0 for scalar or the ifIndex value for an SNMP column.
                   View Type—Scalar or Column.
                   Syntax—Integer, Boolean, DisplayString, and so on.
                   Meta Syntax— Counter, Gauge, and so on.
                   If you type in an OID and click the search button next to the OID field, the browser searches the
                   MIB for the OID and fills in the other values if it finds the OID.

                        NOTE:
                         For all counter types, the polled data stored in database reflect the changes between two polled data
                         points from an SNMP table.




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               SNMP Interfaces
               The SNMP Interface Monitor Entity editor supports the following entity types: group, equipment
               manager, port and interface. It also supports port and interface filters on groups and equipment
               manager objects.




               If you check the Collect from ifXTable checkbox, then OpenManage NM attempts to fetch
               attributes from the ifXTable. These attributes are ifHighSpeed, ifHCInOctets, ifHCInUcastPkts,
               ifHCOutOctets and ifHCOutUcastPkts. If any of these attributes are not available, then it fetches
               from ifTable.
               If an interface does not support ifxTable, SNMP get typically retrieves an error and OpenManage
               NM uses the ifTable instead. Some ATM ports do not send errors from the ifxTable oids, so
               OpenManage NM also uses the ifTable values if ifHighSpeed is 0.

                     NOTE:
                     The SNMP V1 protocol does not support 64bit counters located in ifXtable. This means OpenManage NM
                     monitors only collect performance data from ifTable when a device is discovered using the SNMP V1
                     protocol. Best practice: Discover devices using snmpV2c or snmpV3 protocols to collect performance
                     data located in ifXtable.
               Even with this checked, OpenManage NM defaulting to 32-bit counters if 64-bit is not available.
               OpenManage NM now supports multiple indexes in the SNMP Interface monitor. Specify them in
               the instance field, separated by dots. For sfpTxPowerValue
               1.3.6.1.4.1.28458.7.2.4.6.7.1.22.Y.Z, where Y is the slot and Z is the @ifindex,
               specify @slotNumber.@ifIndex as the instance. You can also specify a constant string. For
               sonetLineIntervalUASs 1.3.6.1.2.1.10.39.1.3.2.1.5. X.16 Where X is the
               @ifindex and 16 is the last record, specify @ifIndex.16.
               The variable name following the “@” must correspond to an attribute in the port or interface bean.




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                   When determining the “not available” status of a device, SNMP AdminStatus and
                   OperationalStatus messages both have to indicate a device is Available before a monitor
                   determines it is available.
                   Certain devices that do not support ifTable availability indicators. For the sake of these devices, a
                   Skip availability check checkbox appears.
                   The Skip Polling Interval configures skipped availability checks when polling, so you can check
                   availability, for example, every fourth polling interval (skipping three). This helps the monitor avoid
                   flutter artifacts
                   The PF and IF table columns indicate if a port filter or interface filter is configured for the entity.
                   Click the icons on the right side of the list of Monitor Entities to configure filters. Clicking these
                   buttons displays an interface configuration panel.
                   This panel lets you specify filter attributes for the port or interface filters you want to monitor. For
                   example, if you select a device but only want to monitor active interfaces created by a particular
                   user, then these filters do the job.
                   The SNMP Attributes panel is the same as described in SNMP on page 413.

                   SNMP Table Monitor
                   This panel appears if you are editing an SNMP Table monitor. The application stores not absolute
                   numbers from counters but the counter’s change since its last measurement.




                   Columns include the SNMP Attribute Name, OID, Row Identifier, Foreign Key, Series Name, Meta
                   Syntax, Units, and Action.

                        NOTE:
                         If you select one of the 64-bit counters in ifXTable, make sure the Meta Syntax is 64-bit.




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               Clicking the Add or the Edit button to the right opens either a MIB Browser where you can retrieve
               these attributes, or an Add/Edit SNMP Attributes editor at the bottom of the screen, See the
               following sections for details.
               MIB Browser
               This lets you select attributes to monitor as described in MIB Browser Tool on page 43. The SNMP
               table monitor lets you pick a table column, not the entire table.
               Add/Edit SNMP Attributes
               This screen lets you specify individual attributes.




               It has the following fields:
               Oid— A field where you can enter the object identifier. This also has an integrated search function.
                  Click the magnifying glass icon on the right to activate it. A successful search populates the
                  rest of the fields for the object identifier.
               Row Identifier—This mandatory field defaults to @instance (The OID instance).
               Name— The text identifier for the OID
               Foreign Key—Enter the foreign key, if any.
               Series Name—This defaults to @RowIdentifier.
               Units— Enter the units of measurement.
               Meta Syntax— Further refine the variable type with the pick list. For example, you can select
                   Counter32 (a 32-bit counter). For Counter types, the monitor computes change from
                   previous readings, and for Gauges it does not.

                     NOTE:
                     If a message appears saying: “Device fault: Return packet too big” in the Monitor Status Summary, then
                     you have selected too many SNMP attributes to poll in a single request. Please modify your monitor to
                     request smaller numbers of attributes




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                   VRF
                   Select the device with the VRF you want to monitor in this screen.




                   The monitor calculates the average interfaces utilization associated with the VRF on the selected
                   target device, based on the current VRF configuration. Click Save to preserve your choice.

         Bandwidth Calculation
                   Cisco devices running IOS or IOS-XR can calculate bandwidth. To support this functionality, all
                   ports and interfaces now have four new filterable attributes:
                    •    Ingress Bandwidth (the ingress bandwidth in bps)
                    •    Ingress Bandwidth Type (the type of calculation used to determine the ingress bandwidth)
                    •    Egress Bandwidth (the egress bandwidth in bps), and
                    •    Egress Bandwidth Type (the type of calculation used to determine the egress bandwidth).

                   Types of Bandwidth Calculation
                   The ways to arrive at a bandwidth number appear here in order, from highest priority to lowest
                   priority. If OpenManage NM can calculate bandwidth in more than one way for a particular port/
                   interface, it uses the highest priority calculation type.

                         NOTE:
                         If a port or interface's Administrative State is not Up, its bandwidth will always be 0, regardless of the
                         calculation type!
                   CONFIGURED—This means OpenManage NM has a QoS policy configured directly against
                      this port or interface. For example: a policer, shaper, or queuing policy. Policies applied to
                      input affect the ingress bandwidth, output affect the egress bandwidth.
                   TRUNK AGGREGATION— This calculation means a port is in trunking mode and calculates its
                      bandwidth from its access ports. Essentially, if a trunk shares a VLAN with any access port,
                      that access port adds its bandwidth values to the trunk port's totals. This reverses ingress and
                      egress values. The total ingress bandwidth of the access ports becomes the egress bandwidth
                      of the trunk port, and the total egress bandwidth of the access ports becomes the ingress
                      bandwidth of the trunk port. If a port in this configuration is no longer in trunking mode, it
                      reverts to UNCONFIGURED.




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               INTERFACE AGGREGATION—If a port or interface has sub-interfaces, the total bandwidth of
                  the parent is the sum of the bandwidth of its children. For example: If GigabitEthernet0/1 has
                  four subinterfaces GigabitEthernet0/1.1, GigabitEthernet0/1.5, GigabitEthernet0/1.8 and
                  GigabitEthernet0/1.9 and each sub-interface has bandwidth of 1G, the total bandwidth of
                  GigabitEthernet0/1 will be 4G.
                     Unlike trunk aggregation, this does not reverse ingress and egress. The total ingress of the
                     children becomes the total ingress of the parent, and the total egress of the children becomes
                     the total egress of the parent. If a port or interface in this configuration loses all of its children
                     (i.e. the interfaces all get deleted), it reverts to UNCONFIGURED.
               ASSOCIATION—If a port is currently UNCONFIGURED and has a physical link to another port
                  that isn't UNCONFIGURED, it takes the bandwidth of the linked port. This reverses Ingress
                  and Egress—the linked port's ingress becomes the other port's egress and vice-versa. If
                  someone deletes the link, the port reverts to UNCONFIGURED.
               UNCONFIGURED—The default setting for bandwidth. This sets the ingress and egress
                  bandwidth of a port or interface to the IfSpeed of the port. This means a 10G port with an
                  IfSpeed of 10G registers an Ingress and Egress Bandwidth setting of 10G.

               Triggering Bandwidth Calculations
               On resync, OpenManage NM’s rules check for configured QoS policies and update the port and
               interface bandwidth as needed (the CONFIGURED bandwidth calculation type). OpenManage
               NM adds any ports and interfaces registering a change in their bandwidth values (or any newly-
               created ports and interfaces, as in initial discovery) to a list to be processed after the resync is over.
               OpenManage NM also queues the device for recalculation of TRUNK AGGREGATION every time
               it collects VLAN data (for example, during resync or during network data collection).
               After the resync finishes, the OpenManage NM bandwidth processor processes the list of ports and
               interfaces whose bandwidth values changed and re-check its calculations to see if INTERFACE
               AGGREGATION or ASSOCIATION calculation types are applicable, and then calculate them if
               necessary.
               Link creation, modification or deletion also trigger recalculations of ASSOCIATION calculation
               type for the endpoints of the link in question.
               OpenManage NM adds any ports/interfaces that change in the bandwidth processor back to the
               processor, so that changes can propagate throughout the network. For example, if OpenManage
               NM discovers a link and it changes the linked port's bandwidth (type ASSOCIATED), it needs to
               recalculate the TRUNK AGGREGATION for all trunk ports on that device in case the port was an
               access port and the trunk port bandwidth values need to be updated.
               Another example: If an interface's bandwidth value changed, then OpenManage NM adds its
               parent for INTERFACE AGGREGATION reprocessing in case it has a parent using that
               calculation type that now needs to be updated.
               OpenManage NM uses a strict priority to determine which calculation method to use if multiple
               are applicable: CONFIGURED > TRUNK AGGREGATION > INTERFACE AGGREGATION >
               ASSOCIATED > UNCONFIGURED. This means that if a port has a direct QoS configuration
               against it, it doesn't matter if it also has child interfaces or links. OpenManage NM uses the QoS
               configuration's value. Likewise, if OpenManage NM calculates a port’s bandwidth using
               INTERFACE AGGREGATION and it has a link, the link does not matter for the purpose of
               bandwidth calculation since ASSOCIATED is lower priority.




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         Scheduling Refresh Monitor Targets
                   Because monitors can address targets that are members of dynamic groups, refreshing these ensures
                   that group memberships are up-to-date. To do this, you can create or alter the schedule for Monitor
                   Target Refresh (in most packages, such a scheduled item appears by default). When executed, this
                   updates monitors with groups as targets based on current memberships. This removes targets no
                   longer members of a monitored group and adds new group members. A seeded schedule refreshes
                   these every six hours, by default.
                   Refresh Monitor manually by right-clicking in the Resource Monitors table.

                   Refresh Monitor Targets for Newly Discovered Devices
                   If you discover a new device that is part of a monitored dynamic group, it may take some time
                   before monitoring includes that device. To provide immediate monitoring, as soon as discovery
                   finds the device, add the Refresh Monitor action to the discovery profile. See Actions on page 98
                   for more about that Discovery Profile capability.
                   To make sure this refresh occurs, do not override the following in redcell.properties (This
                   section defines the actions executed when no default discovery profile exists):
                         #This shows the default order of Task Activities within Resource Discovery
                          Options
                         #The TaskDefOid will be used for identification and true/false will
                          determine if they are
                         #on by default
                         #format: <TaskDefOid>&&true,<TaskDefOid2>&&false,<TaskDefOid3>&&true
                         redcell.discovery.taskactivity.order=Resync&&true,\
                         DataCollectionForGroupOfDevices&&false,\
                         Discover_Links_for_a_Group_of_Devices&&false,\
                         Scheduled_Resync&&false,\
                         Refresh_Monitor_Targets&&true

                   Topological Correlation
                   A device can appear unresponsive in monitors if devices through which OpenManage NM must
                   access it are down, even though it may be active independently of the condition of its access.
                   Topological correlation take this into account, and produces fewer false MonitorTargetDown events
                   because OpenManage NM attempts to communicate with adjacent devices to the first device in
                   the network topology. OpenManage NM calculates adjacency according link configuration. If
                   adjacent devices are unreachable, then OpenManage NM does not generate a MonitorTargetDown
                   event because this first device is simply unreachable from OpenManage NM at the moment.

                   Updating Polling Subscriptions
                   Polling subscriptions on the mediation agent process can get out of sync with the application server
                   process. When the application server and mediation agent start running, whichever one comes
                   online last triggers application server sending the polling subscription and target information to the
                   mediation server. Enabling or disabling performance monitors also sends this information from the
                   application server to the mediation server.
                   Any time data goes from one machine to another, temporary connectivity issues can arise, along
                   with potential for data loss, so OpenManage NM accommodates this possibility too. If a server is
                   running for a long time (weeks) and the performance monitors have been frequently enabled and




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               disabled, some targets may not be polled because the appserver/medserver information has become
               out of sync. It’s possible, but less likely, that polling and target information could be out of sync
               even on standalone systems, where the application server also serves as a mediation agent. This is
               why the following feature is also available on standalone systems.
               You can schedule periodic resyncs of polling subscription and target information. The scheduled
               item that runs this process is disabled by default, but if enabled it typically runs every 30 minutes.
               You can also enable this item and schedule it more or less often than every 30 minutes.
               If you enable this scheduled item, or run it a single time manually, then it ensures the mediation
               agent has all of information it needs for polling. This includes the polling subscription information
               associated with each active performance monitor and all active targets associated with each active
               monitor.




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Top N [Assets] | Performance Monitoring



Top N [Assets]
                   The OpenManage NM system uses seeded, default Active Performance Monitors (APM) to display
                   performance data in several categories. The Top Asset portlets display device monitoring summary
                   results. For example, the Top Ping Response (Slowest) portlet displays the devices that are the
                   slowest to respond to a ping.




                   Devices listed are ranked by the monitored parameter. Hover over the Ping Rate column to view
                   recent activity in a pop-up graph.
                   If you right-click a monitored item, you can select from menu items like those that appear in the
                   portlet described in Managed Resources on page 179.
                   For some portlets (for example Top CPU/Disk/Memory Utilization, Top Interface Bandwidth/
                   Errors), the right-click Performance menu items include Key Metrics. The menu can include
                   Performance, which displays Dashboard Views related to the selected monitor.
                   For some packages, these can also include IP SLA statistics like the following: Top Bandwidth
                   Received/Transmitted, Top CPU/Disk Utilization, Top Ingress/Egress Packet Loss, Top Jitter, and
                   Top RT Delay. To see all available Top portlets, click Add > Applications and look below Top N on
                   the subsequent panel.
                   Top RT Delay maps to the AvgRTDelay inventory metric. When no metric for Average RT Delay
                   exists in the MIB, OpenManage NM calculates it the average RT Delay using two MIB attributes:
                   RTTSum (the total time taken for all round trips) and NumOfRTT (the number of round trips
                   taken). The calculation of AvgRTT is the value of RTTSum divided by the value of NumOfRTT.
                   OpenManage NM maps this attribute to the AvgRTDelay inventory metric.

                        NOTE:
                        An alternative way to provide this kind of performance information is to use the Traffic Flow Analyzer. For
                        systems generating large amounts of information that strain the limits of processing capacity, see Best
                        Practices: Performance Tuning Traffic Flow Analysis on page 551 as a possible solution.
                   Calculations within Top N Portlets
                   The following Top N portlets are potentially available. Only those with monitored parameters
                   display data. The data comes from monitor data using the monitor inventory mappings specified in
                   each monitor.




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               The tooltip graph shows the values for the attribute over the last 30 minutes. The Errors and
               Discards attributes are counter values that show the change in value since the previous polling
               cycle. The other attributes are gauges which display a rate or percentage. The value displayed for
               each entry is the average over the last 30 minutes for the gauge attributes and the sum of values
               over the last 30 minutes for counter attributes.
               These top asset portlets are available from the Performance page or can be added using the Add >
               Application menu option as needed.
               The following portlets display data based on equipment targets:

               Portlet                                            Description
               Top CPU Utilization                                Percentage of CPU used. Located on the
                                                                  Performance Summary page by default.
               Top Disk Utilization                               Disk use.
               Top Memory Utilization                             Memory use. Located on the Performance Summary
                                                                  page by default.
               Top Ping Response (Slowest)                        Lowest ping response. Located on the Performance
                                                                  Summary page by default.

               The following portlets display data based on port or interface targets:

               Portlet                                            Description
               Top Interface Bandwidth                            Most interface bandwidth use. Located on the
                                                                  Performance Summary page by default.
               Top Interface Errors                               Most interface errors. Located on the Performance
                                                                  Summary page by default.
               Top Input Discards/Errors                          Most input discards/errors. The tooltip/graph that
                                                                  appears when you hover your cursor over a row in
                                                                  these portlets shows the change in discards or errors,
                                                                  then the OMNM system adds changes to the base
                                                                  value and that sum appears within the table.
                                                                  Top Input Errors portlet is located on the
                                                                  Performance Summary page by default.
               Top Output Discards/Errors                         Largest number of output discards/errors.
                                                                  Top Output Errors portlet is located on the
                                                                  Performance Summary page by default.
               Top Bandwidth Received/Transmitted                 Displays percentage of bandwidth use received or
                                                                  transmitted.
               Top Bandwidth Received (bps)/Transmitted (bps)     Displays bandwidth use in bytes per second.
                                                                  Located on the Performance Summary page by
                                                                  default.

               The following portlets display data based on SLA or VRF targets:

               Portlet                                            Description
               Top Egress/Ingress Packet Loss                     Most egress/ingress packets lost. Located on the
                                                                  Performance Summary page by default.
               Top Jitter                                         Highest jitter rates




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                   Portlet                                             Description
                   Top MOS                                             Highest MOS (a network performance
                                                                       measurement).
                   Top Packet Loss                                     Greatest packet loss. Located on the Performance
                                                                       Summary page by default.
                   Top RT Delay                                        Longest round trip (RT) ping delay

                   The following portlets are not monitor-based:

                   Portlet                                             Description
                   Top Problem Nodes                                   Devices with the highest alarm state
                   Top Configuration Backups                           The most recent backups


         Displaying Tenant Domains in Top N Portlets
                   If you have implemented a multitenant (MSP) system, but want the master domain to display Top
                   N for just a tenant domain, the key icon in the portlet’s toolbar lets you select different sub-
                   domains.




                   The filter label in the toolbar displays which domain has been selected. Once you filter a Top N
                   portlet this way, it displays results only for equipment authorized for the selected domain.

         Top Configuration Backups
                   This panel lists the most recent configurations backed up from devices. The pick list in the upper
                   right corner lets you select not just the top 10 such backups, but the top 5, 10, 15, 20, and 25.Right-
                   clicking a backup offers the same options as the portlet described in Configuration Files on page
                   456.




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Dashboard Views
               The Dashboard Views portlet lets you assemble several monitors into a single display, or dashboard.
               You can create and display dashboards by right-clicking items in the Managed Resources portlet,
               selecting Show Performance, or by selecting New in the Dashboard Views portlet.Dashboard Views.




               Right-click the listed dashboards, and a menu appears that lets you Rename, Delete, Copy, Edit,
               create a New simple or custom dashboard, or Launch a Dashboard View (either Maximize—a larger
               view—or as a Popup). You can also import/export views and share views with other users on your
               system. See Dashboard Editor on page 429 for information about creating or modifying
               dashboards. For an explanation of Convert, see Convert Simple Dashboards to Custom Dashboards
               on page 434.
               The Performance Dashboard on page 428 and Dashboard Editor on page 429 describe configuring
               simple dashboards. See the How to: Create a Custom Dashboard View on page 429 section for a
               description of custom dashboard view creation.
               You can also Convert Simple Dashboards to Custom Dashboards, as described below. When you
               Edit a view, Dashboard Editor appears. It lets you select which monitors appear in the dashboard,
               the monitored entities, and attributes.
               The expanded portlet offers similar capabilities.To make a monitor appear on a page, use the
               portlet described in Performance Dashboard on page 428.
               When you create dashboards, data rollup is part of what the display shows. If, for example, the
               monitor displays the results from a boolean (0 or 1 output), rollup may average values for a
               duration, and values less than one will appear in the graph.

                       CAUTION:
                     Revisions like deleting Hierarchical View portlets from a page require a page refresh before the
                     dashboard works correctly. Some packages contain a System dashboard that may not let you select
                     monitors.




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                  Launch a Dashboard View
                  Launching a view lets you view the monitors active for a Dashboard view.




                  Some packages display a Network Dashboard by default. If the Network Dashboard portlet is blank,
                  you can create a new one. Click the select new text in the upper right corner of the portlet to select
                  an alternative, already configured view from those in Dashboard Views portlet. Click the edit
                  button in that same corner to alter the configuration of any existing dashboard. See Dashboard
                  Editor on page 429 for more about altering views.
                  You can configure Dashboards appear by configuring them in the Dashboard Views portlet, or by
                  selecting a device or devices from the Managed Resources portlet, right-clicking and choosing Show
                  Performance. To select more than one device, use the expanded Managed Resources portlet.
                  The first time you create a default template dashboard for a single device, OpenManage NM saves
                  it in the Dashboard Views manager. Invoking Show Performance for that device subsequently
                  displays its default view.
                  The icons in the dashboard’s upper right corner let you edit Dashboard Properties with the
                  Dashboard Editor, or Save the dashboard with the other icon.

                       NOTE:
                       No need to reload the browser to update a dashboard; it reloads data every 30 seconds by default, with
                       less overhead.
                  Displaying Values
                  Hovering the cursor over the individual points displays the charted attribute value(s) as popup
                  tooltips. If a graph has multiple lines, the data points for different lines are charted at different
                  times (OpenManage NM distributes polling to balance the load on its mediation service). Hover
                  the cursor over the time when a line’s data point appears, and that line’s value appears as a tooltip.
                  It may seem a device reporting the same value as others is not graphed properly, but mousing over
                  the graph displays the value.



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                The legend of devices and/or attributes that appear in each graph also provides interactive features.
                Hover your cursor over a device or attribute color in the legend and only that device or attribute
                appears onscreen. By default all such legend color squares contain checks. Uncheck the ones you do
                not want to see. The legend can appear consolidated or for each chart, as is appropriate to the
                distribution of charted devices and attributes.
                If no data is available for an attribute in a dashboard, no panel appears for that data.
                Changing Dashboard Time/Date Format
                Control panel’s Redcell > Application Settings screen has a Performance Chart Settings panel
                where you can set the Day Format and Minute Format so dashboards display time (the x axis) in a
                meaningful way. If you want European date formats (day/month/year rather than month/day/year),
                this is available if the language/location settings of the operating system on the computer running
                OpenManage NM makes it available.
                In Control Panel’s Performance Chart Settings panel, you can also enable Threshold display in
                dashboards and elect to Restrict Y-Axis Range to data range with checkboxes.


        How To:
Create a Simple Dashboard View
                Follow these steps to create a simple dashboard view. See How to: Create a Custom Dashboard
                View on page 429 for more complex monitor creation.
                 1   In the Dashboard Views portlet, right-click to select New > Simple Dashboard.
                 2   Select a name (for example SNMP Interface, to display the monitor configured in How
                     to:Create an SNMP Interface Monitor on page 388).
                 3   Click Add Entity in the Entities panel.
                 4   In the filter that appears, select the type: Interface.
                 5   Filter for the IP address of the entity monitored in the previous SNMP interface monitor
                     creation, select it and click Add Selection and Done.
                 6   Select the ifInErrors attribute, and click the right arrow in the Dashboard View Attributes
                     panel.
                 7   Click Save. The dashboard view you have configured should appear in the portlet.
                 8   To launch it, right-click and either Launch (Popup) or Launch (Maximize)
                 9   If you want to convert this simple dashboard to a custom dashboard so you can alter it further,
                     right-click and click Convert.
                10   Notice that you can also change the time/date format as described in Changing Dashboard
                     Time/Date Format above.

                     NOTE:
                     To improve performance, SNMP Interface Monitor does not retain polled data by default. You cannot use
                     historical attribute data in a dashboard without this retention.




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         Performance Dashboard
                  This portlet lets you install and configure Dashboard Views as permanent displays rather than
                  portlets. When you initially install this portlet, it appears empty. The message “No Dashboard View
                  has been set:” appears with a Select button. Click that button to open the Dashboard View
                  Selection screen.

                  Dashboard View Selection
                  This screen displays any existing dashboards so you can select one for the Performance Dashboard
                  you want to appear on a page in OpenManage NM.




                  Use the filter at the top of this selector to limit the listed dashboards from which you can select.
                  See Dashboard Views on page 425 for more about creating and configuring the views from which
                  you select.

                       NOTE:
                       If you delete the Network Status Dashboard can put it back by adding the Performance Dashboard
                       portlet to the desired page, then select the desired Dashboard View you would like to display as your
                       Network Dashboard.




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               Dashboard Editor
               When you Edit a dashboard by right-clicking a resource from the Managed Resources portlet and
               selecting Show Performance, or create (select New) a dashboard from the Dashboard Views portlet,
               an editor appears that lets you select and rearrange the monitor components of the dashboard.




               This screen has the following fields:
               View Name—The identifier for the dashboard. The default is “Performance dashboard for [IP
                   address],” but you can edit this. This is what appears in the Dashboard Views list.
               Show Composites—Show attributes that are constructed from other attributes. Composites
                   attributes are special attributes that consist of the attribute name and the instance name. For
                   example: CPU Utilization:cpu1. Some KPI metrics are composite. If you use SNMP Table
                   monitor, then pretty much all values retrieved are composite.
               TimeFrame— Use the selectors to configure the time frame for the performance measurement
                   displayed.
               Entities— Select the equipment you want to monitor. When you right-click to Show Performance
                    with resource(s) selected, those resources appear in this list.
               Dashboard View Attributes—Click the arrows between Available and Selected panels to select
                   monitors for the dashboard. The Available Attributes list shows all the available attributes for
                   that device based on its monitor affiliations. If you select none, a chart appears for each
                   attribute that has data. This is the default. If the user moves some attributes to the Selected
                   list then only charts for those attributes appear.


       How To:
Create a Custom Dashboard View
               The following steps create a custom dashboard view:




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                    1   In the Dashboard Views portlet, select the New Custom Dashboard command. An empty
                        default view with twelve components appears.




                        The Properties panel contains the following controls:
                        View Name—The name of the dashboard view (Required)
                        Time Frame—The period over which to display the data. May be either relative (like last 30
                           minutes) or absolute (between specific dates and times). The specified frame applies to
                           all charts in the dashboard.
                        Data Source—Source for the data. Current displays current (raw) data. Hourly displays
                           rolled up hourly data. Daily displays rolled up daily data. Auto (default) determines
                           which data source to use based on the selected time frame.
                        Layout—Select the desired layout style used to display the dashboard components.




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                2    To select a layout style, click on the ... button next to the current layout. The layout chooser
                     appears.




                3    Click on the desired layout or click Close to keep the current layout. The components
                     displayed to reflect the selected new layout.




                     If no dashboard components have been configured yet a default configuration appears with
                     three or four rows depending on the dashboard style. If the dashboard components have been
                     configured it will create at least enough rows to display all the configured dashboard
                     components. Add more rows by clicking on the Add Row button. An individual dashboard
                     component can be deleted by clicking on the delete button on the component.




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                  Moving Dashboard Components
                    4   To move a dashboard component to another location, click and drag it over another
                        component. When you release the mouse, the components exchange places.
                  Configuring Dashboard Components
                    5   To configure a dashboard component, click the Edit button in the upper right corner of the
                        component. The component editor appears.




                        The following properties appear in the General Properties section:
                        Title—Title of this component (required).

                        NOTE:
                        Dashboards with a single attribute do not display units, so including them in the title may be informative.
                        Show Title—Check to display this title above the chart for this component. This overrides
                           the default title that is shown for some charts.
                        Aggregate—Aggregate the monitored attributes. The aggregate is a sum of all the values for
                            all the entities in the current context.
                        Show Percentile—Check to enable showing a percentile line for displayed data. Configure
                           the percentile in the field and spinner combination that appears after you check to
                           enable it.
                            A blue line appears on the dashboard at the selected percentile of the displayed data. If
                            you selected 95%, then of 100 data points, five would be above the line, and 95 below it
                            (so the calculation is more like median than mean). A tooltip for this line displays the
                            calculated value and the selected percentile.
                            This only supports one line per chart for percentile. If more than one line is on the
                            chart, this computes the percentile based on the first line.




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                     Component Type—Combo Box which specifies what type of component to create. These
                        include the following chart types, Line, Dial, Bar, Top Talkers (a line chart showing the
                        top [or bottom] n components for a specific attribute on a specific monitor) Top Sub-
                        components (a line chart showing the top [or bottom] n subcomponents belonging to a
                        specific device for a specific attribute. See
                         Other controls appear depending on the component type selected. These components
                         also have a Monitor control, a pick list where you can select from which monitor the
                         charted data originates. See Dial Chart Properties, Top Talkers Properties and Top
                         Subcomponents Properties below for specifics about those.
                         The line and bar components have two tabs under the general properties section:
                         Monitor Targets and Attributes. The Monitor Targets section lets you select the devices
                         that are sources of data. You can select any device or attribute in the previously selected
                         monitor. Click the Add button displays the monitor target selector.
                6    The Attributes tab selects the attribute(s) that appear in the chart. If an attribute is a
                     composite, then its series appears in the Available Series listbox.




                     Select the desired series and click the right arrow to move them to the Selected Attributes
                     listbox.
                     If the attribute is not a composite, then nothing appears in the Available Series listbox. Here,
                     click the right arrow to move the attribute to the Selected Attributes listbox.
               You can also elect to Show Title, Aggregate (show composite attributes), or Show Percentile
               (display a line at the 95th percentile on the graph) by checking the checkboxes.
               Dial Chart Properties
               Dial charts have the following additional properties
               Monitor— Select which monitor the charted data comes from in the pick list.
               Attribute—The attribute to get data for. Note that for aggregate data, each attribute has a
                    minimum (min), maximum (max), and base attribute . If the period is set to Detail, then the
                    aggregate values will always be zero.
               Min/Max Value— The minimum/maximum value on the dial.
               Entity— The monitor target to get the data for. Clicking on the + button brings up the entity
                    selector.
               Top Talkers Properties
               Top Talkers components have the following properties.
               Monitor— Select which monitor the charted data comes from in the pick list.




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                  Attribute—The attribute to get data for.

                        NOTE:
                        For aggregate data, each attribute has a minimum (min), maximum (max), and base attribute . If the
                        period is set to Detail, then the aggregate values will always be zero.
                  Max # of Entities—The number of entities to display
                  Order— Select either Ascending (Bottom n), or Descending (Top n).
                  Top Subcomponents Properties
                  Top Subcomponents components have the following properties.
                  Entity—The parent entity for the found subcomponents. Clicking on the + button brings up the
                       entity selector.
                  Attribute—The attribute to get data for.
                  Max # of Entities—The number of entities to display
                  Order— Select either Ascending (Bottom n), or Descending (Top n).
                  Convert Simple Dashboards to Custom Dashboards
                  To convert a simple dashboard to a custom dashboard use the Convert command on the
                  Dashboard Views menu. You cannot convert custom dashboards to simple dashboards.


         How To:
View Historical Dashboard Data:
                    1   Click on the clock icon in the dashboard header.
                    2   Change the timeframe to the period on the day for which you want to view data.
                    3   Click on the green checkmark.
                    4   The data appears for the selected time frame.
                  On simple dashboards the type of data (raw, hourly, daily) depends on the timeframe selected. For
                  less than three hours, raw data appears. For three hours to less than three days, hourly data appears.
                  For three days or more daily data appears.
                  Do not forget you may need to change the data retention policy. You may not see raw data if you are
                  viewing a timeframe from two days ago because the default retention policy only keeps raw data for
                  one day.




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                                                              Show Performance Templates | Performance Monitoring



Show Performance Templates
                By default, the Show Performance command displays data for the first twelve attributes it finds.
                You can control which attributes appear when you select Show Performance by creating a
                performance template. A performance template lets you set dashboard parameters and associate
                them to one or more device models. Then, when you execute Show Performance on a device of that
                type, those dashboard parameters display the dashboard for that device.


        How To:
Create A Performance Template
                To create a performance template, follow these steps:
                 1   Right-click in the Dashboard Views portlet and click on the Performance Templates menu
                     item.
                 2   The Performance Templates manager appears.
                 3   To create a new performance template, click on the Add button. The Performance Template
                     Editor appears.




                     For this example, we have selected Entity Type: Equipment with the radio buttons below
                     Device Models. See Dashboard Templates for Interface and Port Equipment on page 437
                 4   Name your template. The Show Composites and Time Frame fields are the same as in the
                     dashboard (see Dashboard Editor on page 429).




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                   5   To specify which device model(s) this template will apply to, click on the + button in the
                       Device Models panel. The model selector appears.




                       Select multiple devices by clicking + repeatedly, selecting a single device each time. You can
                       also make several templates for each device. See Multiple Performance Templates on page
                       437 for the way that works.
                   6   Click on a vendor to see the device types for that vendor. Then click on a device type to see
                       the models available for that vendor and device type. Select the model you want and click on
                       the select button.
                   7   To select the attributes that you want to appear by default in a performance dashboard for the
                       selected device, click on a monitor to see the attributes available for that monitor. Click on
                       the right arrow button to move the selected attributes from Available to Selected. Those are
                       the attributes that will appear by default in dashboards for the selected device.
                   8   When you have selected all the parameters you want, click Save. It then appears in the
                       template list.




                       To edit or delete your template, use the buttons in the action column of the table.




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                                                               Show Performance Templates | Performance Monitoring


               Now when you click on show performance, OpenManage NM checks whether a template for that
               device type exists. If one exists, then that template guides what appears in the performance view for
               the device.

       Multiple Performance Templates
               The template name appears in the upper right corner of dashboards that appear when you select
               Show Performance.




               If other templates for that device type exist they also appear in a template pick list in the upper
               right corner. You can pick another template to display its attribute selection. The No Template
               selection displays the default dozen attributes that would appear if you selected Show Performance
               without a template defined for the device.

       Dashboard Templates for Interface and Port Equipment
               Dashboard template types include Interface and Port templates. When configuring a dashboard
               template in the editor (see How to: Create A Performance Template on page 435), select the
               Interface or Port radio button in the middle panel of the editor, then add the appropriate port or
               interface in that same middle panel.




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                 After selecting the port or interface types for the template, you can select the Attributes to monitor
                 as you would for other equipment.




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                                                                            Key Metric Editor | Performance Monitoring



Key Metric Editor
               When you select Performance > Show Key Metrics, this editor appears for devices that have such
               metrics. It displays the available Metrics, and a Chart panel where you can configure their display.
               Metrics
               This panel’s display depends on the selected device.




               Chart
               Click Chart to first select up to three metrics you want to graph, and the polling interval for the
               graph.




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Key Metric Editor | Performance Monitoring


                   Then click Save, and the graph appears.




                   Click the screwdriver/wrench icon in the upper right corner to return to the chart configuration
                   screen.




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                                                        Best Practices: Performance and Monitors | Performance Monitoring



Best Practices: Performance and Monitors
               Monitoring can impact system performance. Monitors with many targets, many attributes per
               target and frequent polling intervals are most likely to slow system performance.

                        CAUTION:
                     Limit monitor targets to 10,000 or less per monitor (distribute them if you have more than 10,000). The
                     following suggests other ways to improve monitor performance, too.
               The following are the primary considerations when configuring monitors to get the desired
               performance from your system:
               Database Insertion Rate — How many rows can your hardware realistically insert per second?
                     Every system has a maximum data insertion rate. This rate depends on the system’s hardware
                     configuration. A standard 7200 RPM disk can typically manage 300 insertions per second per
                     disk. 10000-15000 RPM disk can have as many as 600 insertions per second per disk. Your
                     experience may vary depending on your drive’s controller and configuration.
                     The sum of all monitors’ insertion rate should not exceed the system’s maximum data
                     insertion rate. To calculate the insertion rate of a monitor apply the following formula:
                     <# of monitor targets> x <# of retained attributes>/<polling interval in seconds> =
                     inserts /second.
                     So a monitor with 100 targets, retaining 10 attributes once a minute would have an insertion
                     rate of 17 rows per second (100 * 10 / 60 = 16.67 inserts per second).
               Example:
               Monitor A: 1000 targets * 10 retained attributes each / 120 = 83 insert per second
               Monitor B: 100 targets * 25 retained attributes each / 600 = 4 insert per second
               Monitor C: 10000 targets * 10 retained attributes each / 60 = 1667 insert per second
               System total insertion rate (A+B+C): 1754 insertions per second
               This configuration would be too aggressive for a system with a 7200 RPM disk since it dramatically
               exceeds the 300 insertions per second that the disk can support.
               The following alternatives could resolve this:
                •    Upgrade to disk hardware that can keep up with the insertion rate. If the target insertion rate
                     is 1754 inserts per second, add a disk to the array. If 1754 inserts / 300 insertions per second on
                     a 7200 rpm disk amounts to 5.84 disks, use 6 disks (or more). If using 15000 RPM disks at 600
                     inserts per second, 1754/600 means you need 2.92 (3 discs) minimum.
                •    Modify the monitors to achieve a lower insertion rate. If you only have one 7200 RPM disk, it
                     can only support 300 insertions per second. You have the option of lowering the target count,
                     reducing what is retained or lengthening the polling interval.
                     So from the example above if we changed the polling interval from once a minute to once
                     every 10 minutes, Monitor C’s insertion rate would drop to 167 inserts per second. The overall




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                        system would then only have an insert rate of 254 per second well below the hardware’s
                        limitation.

                        NOTE:
                        Traffic flow analysis can process and retain even larger amounts of information. Flows that correlate
                        50%, polled every minute for a day require roughly 109G of database, and require 4500 insertions per
                        second.

                           CAUTION:
                        These numbers and sample calculations represent best case scenarios. Any disk or disk array typically
                        serves other applications and processes besides monitors. Make sure to take account of that when
                        calculating how to accommodate your monitors. The system admin or system user should assist in
                        making that assessment.
                  Storage Requirements (Database Size) — How much disk space do you need, based on your
                       retention policy? See Retention Policies on page 376 for more about configuring those.
                        OpenManage NM stores performance data in three different forms Detail, Hourly and Daily
                        data. It collects Detail metrics directly from the device or calculates these from the collected
                        data with each poll. Hourly data summarizes the detail data collected during the hour. Daily
                        data summarizes the hourly data collected during that day. The retention policy associated to
                        the monitor describes how long OpenManage NM retains each of these data types within the
                        system.
                        OpenManage NM stores a performance metric as a single row within a database table. Each
                        row in that database consumes roughly 150 bytes of disk space. The sum of each monitor’s
                        disk space required determines the amount of disk space. For each monitor add the disk space
                        required for the Detail, Hourly and Daily data using the following formula:
                        <Detail disk space> + <Hourly disk space> + <Daily disk space> = Monitor disk space in
                        bytes
                        where...
                        <# of metrics retained per poll> = <# of monitor targets> x <# of retained attributes>.
                        <# of metrics retained per day> = <# of metrics retained per poll> x <# of polls per
                        day>.
                        <Detail disk space> = <# of metrics retained per day> x <# of days to retain Detail data>
                        x 150.
                        <Hourly disk space> = <# of metrics retained per poll> x <# of days to retain Hourly
                        data> x 24 x 150.
                        <Daily disk space> = <# of metrics retained per poll> x <# of days to retain Hourly data>
                        x 150.
                  If the system does not have sufficient disk space consider the following options:
                    •   Add more hardware to increase the available disk space.
                    •   Reduce the retention period of one or more monitors to lower the overall disk space
                        requirements. Of the three data forms Detail data will consume the most disk space per day
                        of retention.




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               Table size — Based on your monitor configuration how large will database tables get? Each
                    monitor has a series of dedicated performance tables that store the Detail, Hourly and Daily
                    performance metrics. The number of tables depends on the retention policy associated with
                    the monitor.
                     A single table stores the monitor’s detail data for a 24 hour period. Detail data are individual
                     performance metrics collected and/or calculated during each poll. After that initial 24 hours,
                     OpenManage NM creates a new table to store the next 24 hours’ of detail data and so on.
                     Because of the resulting table size, the number of performance metrics generated by a single
                     monitor in a 24 hour period impacts performance. Best practice is to configure each monitor
                     to produce less than 10 million rows per day. When monitors exceed that number noticeable
                     delays result when retrieving performance data. To determine the number of metrics retained
                     by monitors per day please refer to <# of metrics retained per day> calculation from the
                     previous section.

                       CAUTION:
                     These numbers depend entirely upon the system hardware, available memory and processor speed.
               If a monitor does exceed the target maximum rows per day consider the following options singly or
               in combination to change that:
                •    Reduce the number of retained attributes per poll.
                •    Reduce the polling frequency.
                •    Reduce the number of monitor targets per monitor. Notice that you can still have the same
                     number of targets if you split the targets among multiple monitors.
               Finally, tune your database for the expected load. Refer to the OpenManage NM Installation
               Guide for MySQL sizing recommendations.

               Dashboard Performance Limits
               Creating dashboards makes performance demands on your system. If you make too many, or
               monitor too many attributes within your dashboards, system response times can suffer.
               Performance can also suffer because you have too many dashboard portlets on a single page.
               To work around these limitations, add another page (see Portal Overview on page 122 for details),
               then move some dashboard portlets from the over-populated page to the new one. You can also
               split monitored attributes between different dashboards.

               Monitoring from a Cloud Server
               The following outlines hardware sizing for performance monitoring from a cloud server:

               RAM                   Max Targets      Heap Memory Settings                 Recommended CPU Cores
                                     (5 minute poll                                        and Disk Space
                                     intervals)
               16 GB RAM             10000            4 GB Synergy Web Server heap, 6      4+ core, 100 GB+ disk
                                                      GB Application Server heap, 2GB      space
                                                      Database buffer
               32 GB RAM             25000            6 GB Synergy Web Server heap, 12     4+ core, 200 GB+ disk
                                                      GB Application Server heap, 8 GB     space
                                                      Database buffer




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                   RAM                  Max Targets      Heap Memory Settings                Recommended CPU Cores
                                        (5 minute poll                                       and Disk Space
                                        intervals)
                   64 GB RAM            50000            8 GB Synergy Web Server heap, 16 8+ core, 400 GB+ disk
                                                         GB Application Server heap, 24 GB space
                                                         Database buffer
                   128 GB RAM           50000            12 GB Synergy Web Server heap, 24 16+ core, 400 GB+ disk
                   (recommended)                         GB Application Server heap, 48 GB space
                                                         Database buffer
                   Note:
                   • The VPN tunnel is assumed to be available to cloud services.
                   • The suggested target numbers are for latency under 50ms. You may have to scale down numbers of
                     targets when latency is greater than 50ms.

                  monitorTargetDown Event Interval
                  By default, OpenManage NM only creates the monitorTargetDown event every 30 minutes, even if
                  the polling interval is shorter. This behavior is configurable. There are properties through which
                  you can either tell the system to always create these so-called availability events every time it finds
                  the target unreachable.
                  You can also change the time threshold for which it will create another monitorTargetDown event
                  if you want to have these created more or less often then once every 30 minutes in circumstances
                  where a polling target remains unreachable for an extended period of time.
                  To configure this interval, modify (or better, override) the following properties (from .../
                  owareapps/performance/lib/pm.properties)
                         #Monitor alarm settings
                         #
                         #pm.monitor.AlwaysReemitAlarm=true
                         #pm.monitor.AlarmReemitTimeout=15
                  Notice that these are commented out by default, so monitorTargetDown appears by 30 minute
                  intervals, and the default for AlwaysReemitAlarm is false. Restart application server for edits
                  to take effect. In a cluster, all edits must be consistent.




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                                                                                                 8
Configuration Management
This section provides tasks and information related to perform configuration management tasks,
such as managing your file servers and files. If you already have a good understanding of the
portlets and editors, go directly to the tasks you want to perform.
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Understanding FTP/TFTP Servers – 471
Backing Up Configurations – 473
Restoring Configurations – 474
Deploying Firmware – 476
Restoring a Configuration to Many Devices – 477
Creating/Comparing Promoted Configuration Templates – 478
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Configuration Management Portlets and Editors | Configuration Management



Configuration Management Portlets and Editors
                  This section describes the following configuration management portlets and editors:
                   •    Configuration Alarms
                   •    Configuration Management Schedule
                   •    Configuration Files
                   •    Image Repository
                   •    File Servers

         Configuration Alarms
                  Use the Configuration Alarms portlet to view alarms generated by a configuration action, such as
                  backup, restore, or deploy and filter out those alarms not related to configuration actions. You can
                  expand or change to event history to show all events.
                  This portlet is intended for users who are interested in managing the configuration of their
                  discovered devices.
                  Access this portlet by selecting the Configuration Management page. This portlet has both a
                  summary view and an expanded view. Each view displays different columns and have the same pop-
                  up menu options available.



                                                                                              Summary
                                                                                              View


                                                                                              Expanded View




                  See Alarms in Topologies on page 251 to understand how alarms appear in the topology portlet.

                  Columns
                  Other than the general navigation and configuration options, the Configuration Alarms portlets
                  (summary and expanded views) include the following columns. The columns displayed by default
                  are noted.




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               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column                 Description
               Severity               The alarm severity indicated by the color and text. The severity only has meaning
                                      for alarms and security alarms. Informational alarms have a severity level of
                                      Indeterminate. Closed alarms show without color.
                                      This field displays on the summary and expanded views by default.
               Assigned User (AU)     The user currently assigned to this alarm. You can filters your assigned alarms
                                      using the Advanced filter option and selecting Assigned by User, contains, and
                                      entering your user ID.
                                      This field displays on the expanded view by default.
               Acknowledged (A)       An indicator whether the alarm is acknowledged (checkmark) or not (X).
               Date Opened            The date the alarm was created.
                                      This field displays on the summary and expanded views by default.
               Count                  The number of instances for this alarm. Multiples of the same alarm show as a
                                      single row but this value increments as more instances occur.
                                      This field displays on the expanded view by default.
               Equipment              The entity emitting the alarm.
                                      This field displays on the summary view by default.
               Device IP              The equipment IP address where the alarm appeared.
                                      This field displays on the summary and expanded views by default.
               Message                The message associated with the alarm.
                                      This field displays on the summary and expanded views by default.
               Event Name             The event associated with the alarm.
                                      This field displays on the expanded view by default.
               Widgets                Additional information about the selected alarm, such as:
                                      • Reference Tree shows the connection between the alarm and its resource.
                                      • Alarm Details shows the severity, message, date opened, and so on.
                                      • MIB Details shows notification OID and MIB text.
                                      • Total Occurrences by Date shows a graph of the total occurrences by date.
                                      The Widgets field is available only from the expanded view.
               The remaining field descriptions are available for use but do not appear on the default Configuration
               Alarms portlets.
               Date Cleared           The date and time the alarm was closed.
               Update Date/Time       The time stamp for when the alarm was updated.
               Date Assigned          The date and time that the alarm was assigned.
               Assigned By            The user ID for the person that assigned this alert.
               Ack Time               The time that the alarm was acknowledged.
               Alarm State            The alarm’s open or closed state.
               Cleared By             The user ID for the person that cleared the alarm.
               MIB Text               The alarm’s MIB text.
               Ack By                 The user ID for the person that acknowledged the alarm.
               Correlated By          The user ID for the person that cleared the alarm.
               Correlated Time        The date and time when the alarm correlation to a parent alarm (caused by or
                                      blocked by).




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                   Column                 Description
                   Correlation State      The role the alarm plays in any correlation, such as top-level alarm, caused by
                                          parent, blocked by parent.
                   Domain                 The domain emitting the alarm.
                   Entity Name            The entity emitting this alarm.
                   Entity Type            The type of monitored entity.
                   Has Children           An indicator that shows whether the alarm has children (checkmark) or not (X).
                   Highest Severity       The highest severity assigned to the selected alarm.
                   Include child alarms   An indicator that shows whether the alarm includes child alarms (checkmark) or
                                          not (X).
                   Location               The alarm’s location.
                   Notification Type      The identifier for the notification displayed as an alarm.
                   OID
                   Original Severity      The original severity specified for the selected alarm.
                   Parent Alarm           The name of the parent alarm.
                   Region                 The alarm’s region.
                   Resource Propagation The propagation for this alarm, if any.
                   Service Affecting      Indicates whether the alarm is on equipment in a provisioned service (checkmark)
                                          or not (X).
                                          A service affecting alarm propagate to show as a component of service- and
                                          customer-related alarms. Service-Affecting alarms are of indeterminate or greater
                                          severity.
                   Service Propagation    The alarm propagation if Service Affecting is true in the event definition.
                                          This is similar to Resource Propagation, but controls only whether alarms affect
                                          services associated with entities hierarchically related to the alarmed entity. For
                                          example, if a port alarm is created and its event definition specifies that the
                                          Service Propagation is Impacts Subcomponents, then the alarm propagates only
                                          to the services associated with this port's interfaces. This does not affect the
                                          services associated with the top-level device.
                   Suppressed             An indicator whether the alarm is suppressed (checkmark) or not (X).
                   Suppression Date       The date and time of the alarm’s suppression, if applicable.
                   Suppressor             The alarm that suppresses the selected alarm.

                  Pop-Up Menu
                  The Configuration Alarms pop-up menu provides access to the following options. Right-click a row
                  to access these options.

                   Menu Option            Description
                   Edit                   Opens the Edit Alarm window (see Alarm Editor on page 292) or the Editing
                                          Event Definition window (see Event Definition Editor on page 334).
                   Details(Click+Shift) Opens a Details screen for the alarm itself, not the entity emitting it. (see
                                        Connected Devices on page 191 for an example of this type of screen). This
                                        contains information like the MIB text, any Event Processing Rules invoked, and a
                                        Reference Tree for the alarm. It also lets you configure alarm correlation. See
                                        Parent/Child Alarm Correlation: Alarm Details Panel on page 290.
                                          Select Alarm Details or Equipment Details




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               Menu Option         Description
               Topology            Displays a topology map that includes the selected alarms. See Presentation
                                   Capabilities for more about these maps.
               Acknowledge Alarm   Acknowledges the selected alarms. The current date and time appear in the Ack
                                   Time field. The checkmark appears in the expanded portlet for acknowledged
                                   alarms.
                                   This option is available when the selected alarms are not acknowledged.
               Unacknowledge       Unacknowledges previously acknowledged alarms, and clears the entries in the
               Alarm               Ack By and Ack Time fields. When an alarm is not acknowledged, the red icon
                                   appears in the expanded portlet.
                                   This option is available when the selected alarms are acknowledged.
               Assign User         Assigns selected alarms to one of the users displayed in the sub-menu by selecting
                                   that user. An icon also appears in the expanded portlet indicating the alarm is
                                   assigned to someone.
               Clear Alarm         Removes the selected alarms from the default alarm view and marks them as a
                                   candidates for the database archiving process (DAP). Clearing alarms is an
                                   indication to the system that the alarms are resolved/addressed. If your system has
                                   propagation policies enabled, clearing recalculates dependent alarms.
               Clear Group of      Removes a group of alarms from the default alarm view and marks them as
               Alarms              candidates for DAP.
                                   This option is useful when you have many unimportant alarms that you want to
                                   clear at the same time instead of individually. For example, perhaps you want to
                                   clear all alarms that are informational and are more than a week old.
                                   Before selecting this menu item, create a filter for the group of alarms that you
                                   want to clear. When you select Clear Group of Alarms, a list of defined filters
                                   appears. Select the appropriate filter and then click Execute. All open alarms that
                                   meet the filter criteria are cleared.
                                   Caution: The Clear Group of Alarms action is irreversible.
               Direct Access       Open an SNMP Mib Browser to the alarmed device, a CLI Terminal (Telnet
                                   window) to the alarmed device, or ICMP Ping the device alarmed. Only those
                                   available appear in the subsequent menu.
               Email Alarm         Opens the Email Alarm window, where you specify a subject and e-mail address to
                                   which you want to mail the alarm’s content, and then click Send Email. Click
                                   Cancel to end this operation without sending e-mail.
                                   SMTP setup is required to e-mail an alarm. See SMTP Configuration on page 54
                                   for instructions about setting up e-mail from OpenManage NM.
               Show Performance    Shows performance data for the selected interfaces in the Performance Dashboard
                                   window. Click the edit tool to modify the dashboard view properties, entities, or
                                   attributes. See Dashboard Editor on page 429 for more about the editor and its
                                   options.
               Aging Policy        This lets you select a policy that determines how long the selected alarms remain
                                   in the database. See Implementing DAP on page 73 for information about
                                   configuring such policies.
               Edit Custom         Opens the Custom Attribute Editor where you define field characteristics, such as
               Attributes          whether it is enabled, the label name, and the tooltip.
               View as PDF         Creates an Acrobat PDF document containing the selected alarms’ content
                                   displayed in the portlet.
               Share with User     Opens the Share with User window where you select the colleague you want to
                                   share the selected alarms with and then type your message.




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         Configuration Management Schedule
                  Use the Configuration Management Schedule portlet to quickly locate schedules pertaining to
                  managed device configurations and to create and maintain schedules for the following action types:
                  • Config File Backup
                  • Config File Restore
                  • OS Image Deploy
                  The seeded Default Change Determination process backups a device if a configuration file change
                  is detected. This runs against all devices when turned on.
                  This portlet is intended for users who are interested in managing the configuration of their
                  discovered devices.
                  Access this portlet by selecting the Configuration Management page. This portlet has both a
                  summary view and an expanded view. Each view displays different columns and could have the
                  same pop-up menu options available.




                                                                                               Summary
                                                                                               View



                                                                                               Expanded View




                  Columns
                  Other than the general navigation and configuration options, the Configuration Management
                  Schedule portlets (summary and expanded views) includes the following columns. The columns
                  displayed by default are noted.




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               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column             Description
               Enabled            An indicator that shows whether the schedule is enabled (checkmark) or not (X).
                                  This field displays on the summary and expanded views by default.
               Description        The schedule description.
                                  This field displays on the summary and expanded views by default.
               Type               The type of action scheduled, such as Config File Backup, Config File Restore, or OS
                                  Image Deploy.
                                  This field displays on the summary and expanded views by default.
               Next Execution     The frequency in which to execute the scheduled action, such as each weekday, every
               Date Recurrence    three months, only at startup, only once, and so on.
                                  This field displays on the summary and expanded views by default.
               Submission Date    The date and time that this schedule was submitted.
                                  This field displays on the expanded view by default.
               Start Date         The date and time to start the scheduled action execution.
                                  This field displays on the expanded view by default.
               End Date           The date and time to end the scheduled action execution or the number of
                                  occurrences before ending this scheduled action.
                                  This field displays on the expanded view by default.
               Finished           An indicator that shows whether the configuration execution completed
                                  (checkmark) or not (X).
                                  This field displays on the expanded view by default.
               Execution Count    The number of times this scheduled action executed. Useful if you specified and end
                                  date based on the number of occurrences.
                                  This field displays on the expanded view by default.
               Last Execution     The date and time that the action was executed.
               Date               This field displays on the expanded view by default.
               Domain ID          The Multitenant domain ID emitting the alarm.
               Run Status         Indicated the schedules current state, such as waiting.
                                  Available to add to the summary/expanded view




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                  Pop-Up Menu
                  The Configuration Management Schedule pop-up menu provides access to the following options.
                  Right-click a row to access these options.

                   Menu Option        Description
                   New                Provides access to the following schedule configuration types:
                                      • Config File Backup
                                      • Config File Restore
                                      • OS Image Deploy
                                      Once you select the configuration type, the New Schedule (configType) window
                                      opens, where you configure actions, their targets, and the order in which they
                                      execute.
                                      You can also create a schedule from a portlet that ordinarily executes them using the
                                      Schedule option. For example Discovering Resources on page 211.
                   Edit               Opens the Editing Schedule (configType) window, where you modify the selected
                                      schedule’s settings.
                                      This option appears for activity-based configurations.
                                      You can also edit a schedule from a portlet that ordinarily executes them using the
                                      Schedule option. For example Discovering Resources on page 211.
                   Delete             Deletes the selected schedule configuration. A confirmation message is displayed.
                                      Click Delete to continue with the deletion. Click Cancel to disregard the request.
                   Enable Schedule    Activates the selected schedule. This option appears if the selected schedule is
                                      disabled.
                                      You can also enable a schedule using the Edit option and selecting the Enabled
                                      option.
                   Disable Schedule   Deactivates the selected schedule. This option appears if the selected schedule is
                                      enabled.
                   Execute            Runs the scheduled action. If the scheduled action is activity-based or discovery-
                                      profile-based, an audit viewer appears progress of the selected item.
                                      For other scheduled action types, a message is displayed sating that the scheduled
                                      items were sent to the application server for immediate execution. Use the Audit
                                      Trail portlet to monitor progress (see Audit Trail Portlet on page 154) for details.
                   Share with User    Shares selected alarms with other colleagues on your OpenManage NM system,
                                      and consults with them using the conferencing feature.




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               Config File Backup
               Use the New Schedule (Config File Backup) window to specify the backup options, targets for backup,
               device options, and then schedule the backup.
               Access this window by right-clicking a configuration and then selecting New > Config File Backup.




               The Config File Backup Parameters window has the following fields and options. See Schedules
               Portlet on page 158 for scheduling fields and options descriptions.

               Field/Option         Description
               File Name            This name is used as the backed up configuration file during server transfers and
                                    saved in source control.
                                    The backed up configuration file will be name this during the server transfers and
                                    saved in the source control.
                                    Due to limitations of some devices, do not exceed 15 characters for the filename.
               Description          Provides a description of the file as it’s checked into storage.
               Transfer Protocol    Specifies which protocol is used (Default, FTP, TFTP, or SFTP) to transfer files.
               Update user label    Creates or points the selected user label to the backed up configuration file.
               Email Settings       Opens a window where you specify email options and recipients.
               Add Equipment        Adds the selected equipment to the Targets for Backup list.
               Add Groups           Adds groups of devices to the Targets for Backup list.
               Remove All           Deletes all devices and groups from the Targets for Backup list.
               Targets for Backup Provides the following information for each target:
                                  • Name
                                  • Last Backup Results
                                  • Last Backup Date
                                  • Action deletes the entry




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                   Field/Option        Description
                   Device Options      Lists the tabs for each device based on your target backup list. Click a device tab to
                                       view its options, such as Config Name, VRF Type, Config File, Configuration Type,
                                       on so on.

                  Config File Restore
                  Use the Config File Restore window to specify the targets for restore, device options for the
                  selected targets, and schedule the restore.
                  Access this window by right-clicking a configuration and then selecting New > Config File Restore.




                  The Config File Backup Parameters panes has the following restore and driver fields and options.
                  See Schedules Portlet on page 158 for scheduling fields and options descriptions.

                   Field/Option        Description
                   Transfer Protocol   Specifies which protocol is used (Default, FTP, TFTP, or SFTP) to transfer files.
                   Add Equipment       Adds the selected equipment to the Targets for Restore list.
                   Add Groups          Adds groups of devices to the Targets for Restore list.
                   Remove All          Deletes all devices and groups from the Targets for Restore list.
                   Targets for Restore Provides the following information for each target:
                                       • Name
                                       • Restore Config/Label Selection
                                       • Action deletes the entry
                                       When you select to target to restore, the following options appear:
                                       • Restore a Label
                                       • Restore a specific Configuration File.
                                       If you select Restore a Label, select a label to restore. If you select Restore a specific
                                       Configuration File, select the configuration file from the list.




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               Field/Option         Description
               Device Options       Lists the tabs for each device based on the restore target selected. Click a device tab
                                    to view its options, such as Replace or Merge Config, Reload Device If Necessary,
                                    Load Action, on so on. Select the appropriate action for each option.

               OS Image Deploy
               Use the OS Image Deploy window to specify firmware image, targets for deployment, device
               options, and then schedule the OS image deployment.
               Access this window by right-clicking a configuration and then selecting New > OS Image Deploy.




               The OS Image Deploy Parameters window has the following fields and options. See Schedules
               Portlet on page 158 for scheduling fields and options descriptions.

               Field/Option         Description
               Firmware Image       Specifies which image you want to deploy.
               Description          Displays the selected firmware image description.
               Version              Displays the selected firmware image version.
               Transfer Protocol    Specifies which protocol is used (Default, FTP, TFTP, or SFTP) to transfer files.
               Device Class         Displays the selected firmware’s device class.
               Device Family        Displays the selected firmware’s device family.
               Add Equipment        Adds the selected equipment to the Targets for Deployment list.
               Add Groups           Adds groups of devices to the Targets for Deployment list.
               Remove All           Deletes all devices and groups from the Targets for Deployment list.




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                   Field/Option       Description
                   Targets for        Provides the following information for each target:
                   Deployment         • Name
                                      • Software Version
                                      • Firmware Version
                                      • Status
                                      • Action deletes the entry
                   Device Options     Lists the tabs for each device based on the deploy target selected. Click a device tab
                                      to view its options. Select the appropriate action for each option.


         Configuration Files
                  Use the Configuration Files portlet to view backed up configuration files. To see the most recent
                  configuration files, see Top Configuration Backups on page 424.
                  Access this portlet from the Configuration Management page. This portlet has both a summary
                  view and an expanded view. Each view could display different columns and has the same pop-up
                  menu options available.



                                                                                  Summary          Expanded
                                                                                  View             View




                  Columns
                  Other than the general navigation and configuration options, the Configuration Files portlet
                  includes the following columns. The columns displayed by default are noted.




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               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column             Description
               Equipment          The equipment impacted by the configuration.
                                  This field displays on the summary and expanded views by default.
               File Name          A descriptive name given to the configuration.
                                  This field displays on the summary and expanded views by default.
               Date Saved         The date and time the configuration file was saved.
                                  This field displays on the summary and expanded views by default.
               Version            The version for the selected configuration.
                                  This field displays on the summary and expanded views by default.
               File Type          The type of file in which the configuration is stored, such as text.
                                  This field displays on the expanded view by default.
               Description        A detailed description for the configuration.
                                  This field displays on the expanded view by default.
               File Size          The configuration file size (KB/MB). The OMNM system converts from bytes to KB/
                                  MB and presents the file size in terms of KB/MB after some rounding. For example,
                                  1484 bytes/1024 = 1.44921875 KB, which is rounded to 1.45 KB by the OMNM
                                  system.
                                  In an advanced search by file size, search for a range to accommodate the rounding
                                  conversion.
                                  This field displays on the expanded view by default.
               Labeled            An indicator that shows whether the configuration file has a label (checkmark) or not
                                  (X). When a configuration has a label applied, you cannot delete or archive it.
                                  This field displays on the expanded view by default.
               Widgets            Additional information about the selected image, such as:
                                  • Reference Tree shows the configuration file name and provides access to the
                                    operations it supports by right-clicking the file name.
                                  • Labels connected to the selected configuration file and the date on which the
                                    connection was made.
                                  The Widgets field is available only from the expanded view.


               Pop-Up Menu
               The Configuration File pop-up menu provides access to the following options. Right-click a row to
               access these options.

               Menu Option        Description
               View               Opens the Configuration File editor, where you can see the configuration file content
                                  if it is a non-binary file.
               Edit               Opens the Configuration File editor, where you can edit the backed up, non-binary
                                  configuration file. Configuration File Editor on page 461 for a description of these
                                  capabilities.




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                   Menu Option         Description
                   Assign Labels       Labels a single selected configuration file. A label selector appears that lets you select
                                       an existing label and create a new one. If you assign one file the Current label, others
                                       from the same device cannot have it. OpenManage NM automates moving Current
                                       from one file to the other, if another has it. You can delete non-system labels from
                                       devices in the selector this menu item produces.
                   Backup              Backs up the device (again) related to the selected file.
                                       Note: The OpenManage NM system automatically assigns the most recently restored
                                       file the Current label.
                   Compare to Label/ Compares labeled configuration files to the current selection. See Configuration File
                   Compare Selected Compare Window on page 459 for a description of this capability. You can create
                                     labels when you back up a config file, or you can compare to the default labels
                                     (Change Determination, Current, Compliant). If you select two configuration files
                                     in the expanded portlet, you can also Compare Selected.
                   Promote             Makes the selected configuration file available for mass deployment. This is a useful
                                       way to make a pattern configuration file to deploy to several devices. See
                                       Configuration on page 466 for additional information about how to do this.
                   Restore             Restores the selected file to its device.
                                       Note: The OpenManage NM system automatically assigns the most recently restored
                                       file the Current label.
                   Aging Policy        Opens the Aging Policy selector., where you specify how long this file remains in the
                                       database. See Implementing DAP on page 73 for more about configuring such
                                       policies.
                   Export              Saves the selected configuration file to to an XML file or saves multiple-selected
                                       configuration files to a ZIP file. Click Download Export File to specify where to save
                                       the file. This option is useful as a backup or to share descriptors with other projects.
                   Import              Retrieves a file containing XML configuration descriptions. Some imports can come
                                       from a URL. This option is useful when sharing descriptors with other projects.
                                       Note: If you exported multiple configurations into a ZIP file, extract the appropriate
                                       configuration before doing an import.
                                       You must import data into the correct portlet. For example, you cannot import event
                                       data into the Actions portlet.
                                       If one type of data depends on another, you must import the other data before
                                       importing the data that depends on it.
                   Share with User     Opens the Share with User window where you select the colleague you want to share
                                       this asset with and then type your message.




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               Configuration File Compare Window
               In addition to letting you back up and restore configuration files, and deploy firmware updates to
               devices, the Configuration File Compare window manages viewing and comparing configuration
               files backed up from the selected devices.




               Compare and View options have the following limitations:
                •     If you select a config file that is a single file, without any historical precedent, no comparison
                      option appears on the menu since the selected version does not have a prior version.
                •     If you select a single config file of version two or higher, comparison is an option. When
                      selected, OpenManage NM automatically compares against the most recent prior version for
                      that device and file name.
                •     If you select two config files of any version, OpenManage NM compares those two versions.
                •     If you select three or more config files, no comparison option appears.
                •     The View option appears for a single selection only, and only lets you view files that are not
                      binary.
               The File Type column indicates whether a configuration file is binary (not viewable) or text
               (viewable).




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                  The following configuration file options are available.

                   Option             Description
                   View/Edit          Opens a window displaying the configuration file’s contents. Use the browser’s Find
                                      function to locate specific text within the configuration file. You can also select and
                                      copy text within this window.
                                      The Selected Config and Live Config (current) version and storage dates are
                                      displayed. When you perform a backup that differs from the config that is Labeled
                                      Current, that label changes to Live Config if changes are detected.
                                      Selected Config appears when you open this window from the Configuration Files
                                      portlet, but Live Config/Current Config appear side-by-side when you open this
                                      window from the Managed Resources portlet.
                                      You can also compare two different configurations (Selected Config and Labeled
                                      Current/Live Config) with the Compare Files tab panel.
                                      Close the screen with the buttons at its bottom. Notice you can also Backup or
                                      Restore what you are viewing with buttons at the bottom of the screen.
                   Assign Labels      Use this option to select an existing label or create a new one. You cannot assign
                                      System labels (Current, Compliant, and so on).
                   Compare Current    You can compare configurations by right-clicking a device, or two devices then
                   v. Previous/to     selecting Compare. If you right-click a single device with a previous backup, then the
                   Label /Selected    comparison is between the latest and next-to-latest backup. If it does not have a
                                      previous backup, then the menu offers to compare to a designated label. You can
                                      compare two different Selected devices too.
                                      Ctrl+click to select two different devices before you Compare.
                                      Notice that the Prev/Next buttons at the bottom of this screen can cycle through as
                                      many as five previous configuration files.
                                      The comparison screen appears with the configurations side-by-side (note the file
                                      names in the title bar of this screen).
                                      Colors: Lines that differ between the two configurations appear highlighted green.
                                      Lines missing in one, but that appear in another appear highlighted red. Added lines
                                      are yellow.
                                      Use the right/left arrows to page through the side-by-side comparison. The page
                                      numbers and beginning/forward/back/end arrows help you navigate between pages of
                                      pairs of files. Notice also that if you have more than two such files, a panel appears at
                                      the bottom that lets you navigate between adjacent pairs of such files (1 and 2, 2 and
                                      3, 3 and 4, and so on). Click the Prev/Next links to move between pairs of files.
                                      Use the browser’s “Find” function (Ctrl+F) to locate text within these views.
                   Backup/Restore     Select these to backup or restore a configuration file. See Backing Up Configurations
                                      on page 473 or Restoring Configurations on page 474 for step-by-step instructions.
                                      Some devices merge rather than replace configurations when you select Restore.
                                      (Cisco XR, for one)




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               Option              Description
               Deploy              Select this option to deploy an OS Image (firmware). See Deploying Firmware on
                                   page 476 for more.
                                   Some devices, including the Dell EMC Networking FTOS C-Series and E-Series,
                                   first permit then drop telnet connections during deployment or file restoration when
                                   you select restart as part of the process. This can take from six to eight minutes,
                                   though it can take as long as fifteen minutes for a fully populated chassis. During
                                   that time, ping detects the device; however, OpenManage NM cannot log in to the
                                   device until the reboot is complete.
                                   Restoring configurations to Dell Force 10 devices may produce errors when
                                   individual commands already exist in the running config and cannot be overwritten.
                                   OpenManage NM ignores such errors and reports success by default since the errors
                                   indicate a command was not applied, not that restoration was unsuccessful. Best
                                   practice is to restore to startup config to avoid these errors, especially when
                                   scheduling backup or backing up a group on such devices.
                                   “Console Logging” must be turned off on all devices. The messages from console
                                   logging interfere with the communication between OMNM and the device (via CLI)
                                   and can disrupt supported functionality in OMNM.
               Export/Import       Export lets you save a local copy of the selected config file. Import opens a screen
                                   that lets you select a locally-accessible file to store, view, compare and deploy.

               Configuration File Editor
               Use the Configuration File editor to manually edit configuration files, and save them to the
               OpenManage NM database. You can edit only non-binary configuration files.
               When you select a file from the Configuration Files portlet, and then right-click to select Edit, the
               Configuration File editor opens with the Find/Replace options.
               Click the search/replace tool (magnifying glass) to open the text search feature. Select A/a to
               make your search case-sensitive, or RegEx to use regular expressions to search.
               Click the Find button to locate text in the config file. Click Replace to replace the text found.
               Select All and then click Replace to globally replace all instances of the text found within the
               configuration file.
               Click Save to preserve your edits, or Close to abandon them. Notice that the edited configuration is
               listed with the other Configuration Files in the portlet as a different version than the original. The
               version increments by one every time you edit and save a configuration.




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Configuration Management Portlets and Editors | Configuration Management



         Image Repository
                  Use the Image Repository portlet to manage firmware updates to deploy to devices in your network,
                  or manage configurations that you want to deploy to several devices. Add these files to your
                  OpenManage NM system before deploying them.
                  This portlet is intended for users who are interested in managing firmware updates deployed to
                  devices or manage configurations deployed to several devices.
                  Access this portlet from the Configuration Management page. This portlet has both a summary
                  view and an expanded view. Each view could display different columns and has the same pop-up
                  menu options available.

                                                                                      Expanded
                                                                                      View
                                                                     Summary
                                                                     View




                  Columns
                  Other than the general navigation and configuration options, the Image Repository portlet
                  includes the following columns. The columns displayed by default are noted.
                  You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
                  columns tab, clicking Show for the appropriate column, and then applying the change.

                   Column             Description
                   Name               The image name.
                                      This field displays on the summary and expanded views by default.
                   Version            The version for the selected image.
                                      This field displays on the summary and expanded views by default.
                   Type               The type of image, such as firmware, configuration, and so on.
                                      This field displays on the summary and expanded views by default.
                   Device Class       The device class for the selected image.
                                      This field displays on the summary and expanded views by default.




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               Column             Description
               Device Family      The device family for the selected image.
                                  This field displays on the summary and expanded views by default.
               Description        More details about the firmware or configuration.
                                  This field displays on the expanded view by default.
               File Names         The files related to the selected image. These files are also listed in the Widgets field.
                                  This field displays on the expanded view by default.
               Installed Date     The date and time in which the firmware was installed.
                                  This field displays on the expanded view by default.
               Status             The device’s readiness to deploy (failed, importing, ready).
                                  This field displays on the expanded view by default.
               Device Family ID   The family of models for which the image works.
                                  This field displays on the expanded view by default.
               Widgets            Additional information about the selected image, such as:
                                  • Reference Tree shows the connection between the image and its device.
                                  • Related files. Also listed in the File Names field.
                                  The Widgets field is available only from the expanded view.

               Pop-Up Menu
               The Image Repository pop-up menu provides access to the following options. Right-click a row to
               access these options.

               Menu Option        Description
               New                Opens the Firmware Image Editor window or the Configuration Image Editor
                                  window, where you define a firmware image or configuration, respectively.
               Edit               Opens the Firmware Image Editor or the Configuration Image Editor if the selected
                                  line is a configuration image.
               Deploy             Opens the Deploy Firmware window, where you define deployment options for the
                                  selected image. For this to function, you must enable a server. See Configuration File
                                  Compare Window on page 459 for details.
               Download           Downloads firmware from the internet for the selected device. The devices that
               Firmware For       support downloading (such as Dell DNOS or Dell FTOS) are listed as an option to
                                  the Download Firmware For menu option. Select the device for which you want to
                                  download OS images and the OpenManage NM system automatically downloads it.
               Delete             Removes the selected OS image or configuration from the list.
               Share with User    Opens the Share with User window where you select the colleague you want to share
                                  this asset with and then type your message.




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                  Firmware Image Editor
                  Use the Firmware Image editor to create or maintain OS images. This editor has the following
                  panels:
                   •    General Parameters specifies the general parameters, such as name, version, class, and so on
                   •    Image Files specifies or displays image-related files
                   •    Readme File to view or specify a text file related to the image
                  Click Save to preserve the image you have configured, or Cancel to exit these screens without
                  saving.
                  Access this editor from the Image Repository portlet by selecting the New > Firmware Image pop-
                  up menu option or selecting a firmware image and then the Edit pop-up menu option.




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               The Firmware Image editor has the following fields or options.

               Field/Option       Description
               Name               Specifies a user-defined name for the image.
               Description        Provides more details about the image.
               Version            Provides a descriptive version number.
               Device Class       Lists the available device firmware classes from which to choose. Based on the device
                                  class selected, the Device Family list is populated.
               Device Family      Lists the device families available for the selected Device Class.
               Image Files        Imports a file from disk or from URL when you create an image. Displays imported
                                  files when editing and image.
                                  Because OS images can consist of multiple files, you can import multiple files here.
               Readme File        Imports a read me text file to accompany the image or displays the imported file
                                  content.


               Configuration Image Editor
               Use the Configuration Image editor to create and maintain image configurations. This editor has
               the following panels:
                •     General Parameters
                •     Configuration
               Access this editor from the Image Repository portlet by selecting the New > Configuration Image
               pop-up menu option or by selecting a configuration image and then the Edit pop-up menu.
               General Parameters
               Use the General Parameters panel to name and describe the configuration file, and configure a
               filter to screen restoration targets.




               The Configuration Image editor has the following fields or options.

               Fields/Options     Description
               Name               Specifies a unique identifier for the image configuration.
               Description        Provides more details on the image configuration.




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                   Fields/Options       Description
                   Version              Automatically tracks changes to the original.
                   Target Filter        Defines which devices to target. When targets fail, restoration skips them. Add filters
                                        by creating a filter or copying and existing filter.

                  Configuration
                  Use the Configuration panel to configure what is restored, and what is variable in mass
                  deployments. Initially the configuration document is empty if you are creating a configuration
                  image. However, it displays data from any promoted configuration file if it originated as a promoted
                  configuration file.
                  Access this information by clicking the Configuration Image editor Configuration tab.
                  The Target Params list includes all available discoverable parameters. These parameters are stored
                  in the OpenManage NM database. Some parameters may not apply to a specific device or
                  configuration file. To insert a parameter into the document, double-click it. If you are adding a
                  parameter to an existing document, make sure that you indicate where you want to add it before
                  double-clicking the parameter.
                  For example, if a Contact parameter appears in the configuration file, delete the specifics retrieved
                  from a particular device’s configuration and then double-click the Contact target parameter. The
                  following line is inserted into the document where you put the cursor:
                  $_EquipmentManager_RedCell_Config_EquipmentManager_Contact
                  When you deploy this configuration file to the devices that pass the General Parameters target
                  filter, the OpenManage NM system updates this parameter with discovered data retrieved from the
                  device before restoring the configuration. This facilitates deploying the same configuration to
                  many devices while retaining individual target parameters like Contacts, DNS Hostname, and so
                  on.

                        NOTE:
                        If you want to compare different promoted configuration file templates for the same devices, deploy both
                        template #1 and template #2, then compare them in the Configuration Files on page 456 portlet. By default
                        the Description notes that such configuration files are “Created from template.”




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               Deploy Firmware
               Use the Deploy Firmware window to configure a deployment, whether triggered from resource
               groups, individual resources, or the Image Repository portlet. Deployment validates that the
               selected image is appropriate for the selected devices, or appropriate devices within a group.
               You have the option to select a transfer protocol, add target equipment or groups, execute
               immediately, or schedule the deployment for a later date/time. If you create a deployment
               schedule, save your configuration. Otherwise, close the window to abandon your edits.

                      NOTE:
                      When you add firmware to the Image Repository for Dell 35xx and 55xx devices, you must add both the
                      boot image and firmware image together to deploy to these devices.
                      You may see multiple options for selecting the configuration file to backup for PowerConnect (not Dell
                      EMC Networking FTOS) devices. Layer 2 Powerconnect switches have just running and startup
                      options while the Layer 3 router has running, startup and backup options, so different options appear
                      for the two sets of switches. When you do file backup for a group of devices, all those options are
                      combined. Select only the top entry selection for execution.




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         File Servers
                  Use the File Servers portlet to define and maintain a list of internal and external file servers. This
                  portlet has only the summary view.
                  This portlet is intended for anyone that want to define and maintain file servers and they have the
                  permission to do so.
                  Access this portlet from the Configuration Management page. This portlet has only a summary
                  view with all columns showing and pop-up menu options available.




                  Columns
                  Other than the general navigation and configuration options, the File Servers portlet includes the
                  following columns. All columns are displayed by default and there is not option to change the
                  columns show.

                   Column/Option      Description
                   File Server Mode   An option to specify whether the file server is internal or external. The default is
                                      External.
                   Enabled            An indicator that shows whether the server is enabled (checkmark) or not (X).
                   Name               The user-defined name for the server.
                   Description        A detailed description for the server.
                   IP Address         The IP address used by the application.
                   TFTP Enabled       An indicator that shows whether the server supports TFTP (checkmark) or not (X).


                  Pop-Up Menu
                  The File Servers pop-up menu provides access to the following options. Right-click a row to access
                  these options.

                   Menu Option        Description
                   New                Opens the External File Server editor, where you define an external file server by
                                      setting general parameters, specify server type (FTP, FTP/SCP) and whether you
                                      want TFTP support, and the authentication settings.
                   Edit               Opens the External File Server editor, where you modify the selected external file
                                      server’s general parameters, server type (FTP, FTP/SCP) and whether you want
                                      TFTP support, and the authentication settings.
                   Disable            Disables the selected file servers from the list. A successful/failed message is
                                      displayed.
                                      This option shows only if the selected file servers are enabled.




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               Menu Option         Description
               Enable              Disables the selected file servers from the list. A successful/failed message is
                                   displayed.
                                   This option shows only if the selected file servers are not enabled.
               Test                Verifies your settings for the selected file server. Shows the test progress and the
                                   results in the Job Status window.
               Delete              Removes the selected file servers from the list. A confirmation message is displayed.
                                   Click Delete to remove.
               Share with User     Opens the Share with User window where you select the colleague you want to share
                                   this asset with and then type your message.

               External File Server
               Use the External File Server editor to define and maintain external file servers.
               Access this editor by right-clicking the File Servers portlet and then selecting New, or by right-
               clicking and existing file server definition and then selecting Edit.




               The External File Server editor has the following fields and options.

               Field/Option        Description
               Name                Is a unique name for the file server.
               Description         Provides a detailed description for the file server.
               Enabled             Activates the file server for use. Selected by default.
               Server Type         Specifies one of the following file server types:
                                   • FTP Server (default)
                                   • Secure FTP/SCP Server
                                   Note: Secure FTP connections (scp/sftp) often require SSH services be enabled on
                                   the devices addressed. Make sure that your system’s server and sftp/scp file server can
                                   also access the devices with SSH.




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                   Field/Option        Description
                   TFTP Support        Indicates whether you want TFTP support. The default is to have TFTP support
                                       (selected).
                   IP Address          Specifies the IP address used by the application. This address is required.
                   External IP Address Specifies the IP address used by the devices.
                   Login               Specifies the login defined for this server. This is required.
                   Net Mask            Determines which file server to use. The default is 255.255.255.0.
                                       If you have several servers, the specified net mask determines which server
                                       communicates with devices in which portion of the network.
                   Password            Specifies the optional password for the login name.
                   Test (panel)        Shows the Job Status and whether the test was successful or failed. Click the Test
                                       button to verify your file server configuration.




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                                                                  Understanding FTP/TFTP Servers | Configuration Management



Understanding FTP/TFTP Servers
               Before you can push and pull configuration files to and from devices or deploy firmware updates,
               you need to configure FTP, TFTP, or both file servers.

                         CAUTION:
                      The internal FTP/TFTP server is for testing only, not for production use. Service discovery may not
                      function correctly with the internal FTP/TFTP server. No internal server is available on Linux installations.
               Port conflicts prevent an external file server and internal file server from operating on the same
               machine.
               You need not be concerned that the internal server may provide insecure access to the
               OpenManage NM (OMNM) application. The internal file server was designed to be ultra-secure. It
               creates a separate authentication and virtual file system for each file retrieved. It also only responds
               to OMNM internal requests.

                      NOTE:
                      The internal FTP server is primarily for testing, not production systems. It may not function in all cases.
                      Configure an external file server and use it instead if and when the internal file server fails.
               The following sections provide some more specific information related to FTP/TFTP servers:
                •     File Permissions
                •     Recommended Windows File Servers
                •     External File Server Editor

       File Permissions
               The OpenManage NM (OMNM) application automatically deletes any temporary file created as
               part of an FTP/TFTP interaction. If the directory you selected for your servers does not have
               permissions needed to make these deletions, transactions still proceed. The OMNM application
               does print a warning saying the deletion failed, and the details panel suggests checking to make sure
               delete permissions exist in the relevant directory. Omitting such permissions causes no loss of
               functionality, but the server may fill up with the remnants of old transactions.
               When you test a TFTP server on a Windows system, you may see the following error:
               FTP umask/permissions of file on server are incorrect
               This is an artifact of Windows permission structure, and may be safely ignored (test your TFTP
               server just to make sure).

                      NOTE:
                      For Linux TFTP servers, a typical configuration line in the /etc/xientd.d/tftp file is:
                          server_args = -c -p -u ftpuser -U 177 -s /home/ftpuser




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Understanding FTP/TFTP Servers | Configuration Management



         Recommended Windows File Servers
                  The open source Filezilla server works as a service on Windows servers. Any login/password access
                  to these servers goes in the File Server editor login/password fields. To support TFTP, try the
                  Tftpd32 or Tftpd64 (for 32-bit or 64-bit machines) open source.
                  These servers must read/write from/to the same directory. Also, make sure that the directory offers
                  open read/write/execute permissions so you can retrieve files put there temporarily, and delete them
                  once the process is done with them.

         External File Server Editor
                  From the File Servers portlet, access the External File Server editor to manage your file servers and
                  files. See External File Server on page 469 for a detailed description of this editor.

                       NOTE:
                       Secure FTP connections (scp/sftp) often require SSH services be enabled on the devices addressed.
                       Make sure that your system’s server and sftp/scp file server can also access the devices with SSH
                  FTP servers typically must be on the same side of the firewall as the devices with which they
                  communicate. If you have several such servers, the specified Net Mask also determines which
                  server communicates with devices in which portion of the network.
                  The OpenManage NM (OMNM) file server uses an internal, local LAN address (192.168.100.100
                  example). However, the routers with which it communicates often cannot communicate to such
                  internal addresses. Therefor, an external/reachable address is necessary. You can know an IP address
                  used by the OMNM application, and another External IP Address used by these devices. If you
                  configure multiple file servers, the OMNM application selects the server with the Net Mask whose
                  subnet is closest to the devices with which it communicates.




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                                                                 Backing Up Configurations | Configuration Management



Backing Up Configurations
               The OpenManage NM (OMNM) application simplifies backing up devices so you can always have
               their configuration, even if the device file becomes corrupted or out-of-date.
               You can back up several devices at once. Use the standard Ctrl+click option in the expanded
               Managed Resources portlet to select several devices. Or, look for the appropriate group in the
               Managed Resource Groups portlet.
               Back up your device configurations as follows.
                1     Make sure that an FTP or TFTP server is configured to handle the backup. See File Servers
                      on page 468.
                2     Navigate to the Managed Resources portlet.
                3     Right-click the devices and then select File Management > Backup.
                      The Backup Device window is displayed.
                4     Specify options, targets, and device options.
                      See Config File Backup on page 453 if you need a detailed description of these fields.




                5     Execute the backup now. Otherwise, continue with step 6.
                      The Results panel displays the message traffic between the OMNM application and the
                      devices. See Audit Trail Portlet on page 154.
                6     Schedule the backup for a later time.
                7     Click Save to preserve this scheduled configuration.




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Restoring Configurations | Configuration Management



Restoring Configurations
                  Restore a configuration file to a device as follows.
                    1   Make sure that an FTP or TFTP server is configured to handle the restore. See File Servers on
                        page 468.
                    2   Navigate to the Managed Resources portlet.
                    3   Right-click the devices and then select File Management > Restore.
                        The Restore Device window is displayed. If you selected multiple devices, select a target from
                        the list before continuing with the next step.




                    4   Modify the Targets for Restore list as necessary by:
                        This screen’s tabs let you configure the following:
                        • Deleting a target
                        • Adding equipment
                        • Adding groups
                    5   Select a target for restore.
                    6   Set and apply the restore options for the selected target.
                        This panel lets you select either a label (like Current, Compliant and so on—a selector listing
                        available labels appears onscreen once you click this option), or Restore a specific
                        Configuration File. The latter lists available files and lets you click to select.
                    7   Select the driver options for the selected target.
                        The Driver Options tab lets you select device-specific restoration options. If you are restoring
                        to a group or multi-selected devices, as many tabs appear as are necessary to configure
                        different restorations for different devices
                    8   Repeat steps 5 through 7 for each target listed.
                    9   Execute the backup now. Otherwise, continue with step 10.
                        The Results panel displays the message traffic between the OMNM application and the
                        devices. See Audit Trail Portlet on page 154.




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                                                                  Restoring Configurations | Configuration Management


               10     Schedule the restore for a later time.
               11     Click Save to preserve this scheduled configuration.




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Deploying Firmware | Configuration Management



Deploying Firmware
                  Deploy a device firmware image as follows.
                   1   Complete these steps if your image is larger than 500MB. Otherwise, go to step 2.
                       a. Copy the large firmware image file to file server file directory.
                       b. Ceate a file less that 10 bytes with the same name as firmware image file.
                       c. Use OMNM to create a firmware image where the file created in step b is uploaded.
                   2   Make sure that an FTP or TFTP server is configured.
                       See File Servers on page 468.
                   3   Navigate to the Managed Resources portlet.
                   4   Right-click the devices and then select File Management > Deploy.
                       The Deploy Firmware window information based on the selected device.
                   5   Select the firmware image you want to deploy.
                       The fields are populated based on your selection.
                   6   Select a transfer protocol.
                   7   Modify the targets as needed, such as deleting a target, adding equipment, or adding groups.
                       What you can do is restricted to devices that match the deploy file’s type.

                          CAUTION:
                       You can also select devices, then change the OS selection so a potential mismatch may occur. This may
                       trigger deployment rejection by the device, but is not a recommended experiment.
                   8   Specify any device options available to fine-tune the deployment.
                       The options available are vendor-specific.
                   9   Execute the backup now. Otherwise, continue with step 10.
                       The Results panel displays the message traffic between the OMNM application and the
                       devices. See Audit Trail Portlet on page 154.
                  10   Schedule the deployment for a later time.
                  11   Click Save to preserve this scheduled configuration.




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                                                  Restoring a Configuration to Many Devices | Configuration Management



Restoring a Configuration to Many Devices
               You can restore a single configuration to many discovered devices without overwriting those
               devices’ essential information. Restore a single configuration to many discovered devices as follows.
                1     Back up a single device’s configuration that is closest to the configuration you want to see.
                2     Navigate to the File Management Menu portlet.
                3     Right-click this backed up file in the File Management Menu portlet, and Promote it (so it
                      eventually appears in the portlet).
                      The Editor appears for the promoted configuration.
                4     Name the file.
                5     Configure a Target Filter if necessary from the editor’s General Parameters panel to confine it
                      to certain devices by default.
                6     Select the Configuration tab.
                7     Locate the parameters you want to preserve in discovered devices when you restore this file.
                      This can include items like the device’s DNS Hostname, IP Address, and so on. Delete the
                      file’s specifics and double-click to insert the Target Params in place of these variables.
                8     Save the configuration.
                9     Right-click and then select Deploy.
                      This deploys the configuration to the targets you select.
                      You can select Generate and save for configuration only if you simply want to deploy later, and
                      save for now. Also, optionally name a Configuration File Label for the deployed files.
               10     Select the devices, or groups of devices to which you want to deploy.
               11     Click Save, Execute or Add Schedule depending on your desired outcome.
                      If you click Execute, confirm the action.
                      When OpenManage NM deploys the configuration, it reads the Target Params from those
                      discovered for each device, inserts them in the deployed config file, then restores the
                      configuration, device by device, skipping any that do not pass the filter set up in step 4.




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Creating/Comparing Promoted Configuration Templates | Configuration Management



Creating/Comparing Promoted Configuration Templates
                  If you want to store “template” configurations you have promoted, and compare them to previous
                  templates, here are the steps to do that.
                    1   Select a configuration file and promote it to be a template.
                        Suggestions: Settle on a naming convention for these, perhaps one that includes a date so you
                        can easily find and compare templates from different dates. You can also create a label for
                        such configurations by simply typing in the Label for Configuration field. This should make
                        such configurations easy to retrieve, particularly in the expanded Configuration Files portlet.
                    2   Enter the needed variables.
                    3   Save the template.
                    4   Right-click to Deploy it.
                    5   Select a single target and make sure to check the Generate and Save Configuration Only
                        checkbox.
                    6   Execute. Rather than deploying the file, this saves a copy of the file as it would be generated
                        for the single target in the Configuration Files.
                    7   When you have more than one of these configurations, find the files and Ctrl + click to select
                        a pair of them, then right-click to Compare them.




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                                           Troubleshooting Backup, Restore or Deploy Issues | Configuration Management



Troubleshooting Backup, Restore or Deploy Issues
               Here are some steps to troubleshoot issues you man encounter during a backup, restore, or deploy
               action. The following example steps are for troubleshooting a backup, but the steps apply to a
               restore or deploy action too.
                1     Make sure the FTP/TFTP server you are using is correctly set up, and still active.
                      Use the External File Server test button to confirm the servers work.
                2     Look in the Audit Trail portlet for the failed job.
                3     Copy the “Executing read commands against the device” informational message content.
                      For example:
                      copy running-config tftp://192.168.0.138/010128030139_DefaultConfig
                4     Use Direct Access to get to a Telnet/SSH command line on the device having backup issues.
                      If you cannot get to a command line, then see Incomplete Discovery on page 100 for the way
                      to remedy that.
                5     Paste the command you have copied in step 3 after the prompt.
                6     Press [Enter].
                7     Observe whether the device executes this command.
                      If the device does not successfully execute the command, either the authentication used does
                      not have permission to do such commands, or the device is configured to prohibit their
                      execution.
                      Consult with your network administrator to get the correct authentication, and either revise
                      the Discovery Profile that discovered this device, delete the device from the OpenManage
                      NM system, and the discover it again. Or, Edit the device and enter the revised
                      authentication/management interface combination.
                      If the device is configured to prohibit this command’s execution, then consult the device’s
                      documentation and revise that.




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Troubleshooting Backup, Restore or Deploy Issues | Configuration Management




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                                                                                                            9
Change Management and Compliance
The OpenManage NM Change Management and Compliance (also known as ProScan) utility
lets you scan stored configurations or Adaptive CLI show command output to verify that
managed devices comply with company, department, or industry standards. The ProScan utility
also automatically tracks all changes to managed devices. You can report on user-specified values
found in persisted backup configuration files for a group of devices. This lets network managers,
security officers, and external auditors to generate detailed audit trail documents to validate
compliance with both internal standards (ISO 17799, NSA Guidelines) and industry regulations
(Sarbanes-Oxley, GLBA, HIPAA).
Compliance reporting lets you specify a text string, regular expression, or optionally the generated
configlet from File Management (NetConfig) for matching. Group results must be separated by
device like Adaptive CLI Manager. When Compliance policies run, the application emits
notifications whose contents depend on whether compliance was or was not maintained.

     NOTE:
     Your system may have several Compliance Policy examples. You can use the examples as is, or copy and
     alter them to suit your network.
This section describes the portlets and editors used to perform change management tasks and then
provides those tasks. If you already have a good understanding of the portlets and editors, go
directly to the tasks you want to perform.
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Using Change Management and Compliance – 496
Configuring Compliance Policy Groups – 497
Change Management (Example) – 498
Create Source Group Criteria – 505
Standard Policies – 514
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Change Management Portlets and Editors
                 This sections describes the portlets and editors related to change management and compliance
                 tasks:
                  •   Compliance Policies/ProScan
                  •   Compliance Remediation Actions
                  •   Compliance Schedules
                  •   Compliance Alarms
                  •   Compliance Policy Summary
                 By default, access these portlets by selecting Compliance from the navigation bar.

        Compliance Policies/ProScan
                 Use the Compliance Policies/Proscan portlet to configure compliance requirements. Limit the
                 visible policies using the filtering in the expanded view.
                 This portlet is intended for users who are interested in configuring and maintaining compliance
                 policies or policy groups.
                 By default, access this portlet by selecting Compliance from the navigation bar. This portlet has
                 both a summary view and an expanded view. Each view could display different columns and has the
                 same pop-up menu options available.



                                                                                             Summary
                                                                                             View




                                                                                             Expanded
                                                                                             View




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               Columns
               Other than the general navigation and configuration options, the Compliance Policies/ProScan
               portlets (summary and expanded views) include the following columns. The columns displayed by
               default are noted.
               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column             Description
               Name               The user-defined name for the policy or policy group.
                                  This field displays on the summary and expanded views by default.
               Targets            The number of devices to scan.
                                  This field displays on the summary and expanded views by default.
               Overall            The overall policy compliance using the following values and flags:
               Compliance         • All Compliant—Icon: Green. indicates that all selected equipment is in
                                    compliance with the policy.
                                  • None Compliant—Icon: Red. indicates that none of the selected equipment is in
                                    compliance with the policy.
                                  • None Determined—Icon: blank. indicates that none of the equipment was tested
                                    for compliance.
                                  • Partial Compliance—Icon: Yellow. indicates that not all equipment complies
                                    with the policy but all equipment was tested.
                                  • Compliance Varies—Icon: Yellow indicates that not all equipment was tested for
                                    compliance. The tested equipment might be compliant or not compliant.
                                  This field displays on the summary and expanded views by default.
               Monitored          An indicator that shows whether the policy is monitored (checkmark) or not (X). See
                                  ProScan on page 412 in Performance Monitoring for details.
                                  This field displays on the summary and expanded views by default.
               Scheduled          An indicator that the policy’s execution is scheduled (Yes) or not (No) and whether
                                  the schedule has occurred.
                                  This field displays on the summary and expanded views by default.
                                  Note: You can execute a policy manually from the Managed Resources portlet by
                                  right-clicking the targeted device, selecting Change Management, and then selecting
                                  one of the following options:
                                  • Execute ProScan to execute policies that target the device.
                                  • Execute ProScan Policy to execute a ProScan policy that is not already associated
                                     with the device or group.
                                  A selection screen appears where you can select a policy and either execute or
                                  schedule it.
               Description        A detailed description of the policy/policy group.
                                  This field displays on the expanded view by default.
               Enabled            An indicator that shows whether the policy is enabled (checkmark) or not (X).
                                  This field displays on the expanded view by default.
               ProScan Type       An indicator that the policy is a single policy or a group policy.
                                  This field displays on the expanded view by default.
               Input Source       The inputs source, such as Not Applicable, Current Label, and so on.
                                  This field displays on the expanded view by default.




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                  Column              Description
                  Next Execution      The frequency in which to execute the scheduled action, such as each weekday, every
                  Date                three months, only at startup, only once, and so on.
                                      This field displays on the expanded view by default.
                  Icon                A graphical representation of the selected policy/rule.
                  Widgets             Additional information about the selected alarm, such as:
                                      • Reference Tree shows the connection between the alarm and its resource.
                                      • Compliance Policy Summary catalogs the compliance policy’s history and lists the
                                        equipment scanned and a indicator that the run discovered equipment in
                                        (checkmark) or out (X) of compliance.
                                      • Compliance Policy Chart
                                      The Widgets field is available only from the expanded view.
                  Adaptive CLI        The Adaptive CLI script.
                  Config File Label   The configuration file label, such as Current.
                  Configured Date     The configuration date and time.

                 Pop-Up Menu
                 The Compliance Policies/ProScan pop-up menu provides access to the following options. Right-
                 click a row to access these options.

                  Menu Option         Description
                  New                 Select either a new policy or group. Creating a new policy opens the Compliance
                                      Policy Editor, through which you can define one. See Creating or Modifying a
                                      Compliance Policy on page 499 for more information about the Editor. See Creating
                                      or Modifying Compliance Policy Groups on page 513 for the group editor.
                                      Provides access to the following options to create policies/policy groups:
                                      • Group opens the Creating New Compliance Policy Group window, where you
                                         define general properties, grouped policies, and grouped targets. See Creating or
                                         Modifying Compliance Policy Groups for editor details.
                                      • Policy opens the Creating New Compliance Policy, where you define a policy’s
                                         general properties, targets, and compliance criteria.
                  Edit                Opens the selected policy or group for modification. See Creating or Modifying a
                                      Compliance Policy on page 499 for more information. See Creating or Modifying
                                      Compliance Policy Groups on page 513 for the group editor.
                  Execute             Initiates a compliance check for the selected policy. The Job Status window opens
                  Compliance          displaying each check as it occurs and its outcome as well as a Success/Failed when
                                      complete. This option is available only for compliance alarms.
                  Refresh Targets     Queries to check targets, particularly those in dynamic groups, are up-to-date.
                                      Best practice is to Refresh ProScan Targets before running a scan particularly if your
                                      network has changed since the last scan. You can also schedule this. See Schedules
                                      Portlet on page 158.
                  Modify Targets      Lets you modify and/or select target equipment for the policy.
                  Schedule            Configures a policy to run on a schedule.
                  Audit               Opens an Audit Viewer with the results of a selected policy’s runs. This is one way to
                                      see the historical results of the Compliance Policy runs. Another is to consult the
                                      Compliance Policy Summary widget in the Compliance Schedules.
                  Delete              Removes the selected compliance policy/group.
                                      Caution: This can impact anything that refers to what you are deleting.




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               Menu Option         Description
               Import/Export       Provides the following actions when available for the selected image:
                                   • Import retrieves a file containing XML compliance descriptions. Some imports
                                      can come from a URL.
                                   • Export Selection exports the selected description to an XML file.
                                   • Export All exports all descriptions to an XML file.
                                   Click Download Export File to specify where to save the file.
                                   The Import/Export option is useful as a backup or to share descriptors with other
                                   projects.
                                   You must import data into the correct portlet. For example, you cannot import event
                                   data into the Actions portlet.
                                   If one type of data depends on another, you must import the other data before
                                   importing the data that depends on it.
               Share with User     Opens the Share with User window where you select the colleague you want to share
                                   this asset with and then type your message.


       Compliance Remediation Actions
               Use the Compliance Remediation Actions portlet to manage remediation actions. Compliance
               policies are used to scan a target for configuration that it expects to be present, or check for
               configurations that it expects to not exist.
               You can create a remediation action script that fixes a failed policy. A remediation action can apply
               Commands to a target or remove configuration from a target. You can manually execute the action
               or automate the corrective action so that when a policy failure event occurs, the event triggers the
               remediation action and brings the device into compliance.
               The Compliance Remediation Actions portlet allows you to create a custom filter so that you only
               see actions that apply to compliance policies. The current portlet configuration will display all
               avaliable actions. The easiest way to filter is by Name. You should have a naming convention for
               your user created compliance-related actions. For example, all new compliance related actions start
               with “Remediation-”. Then create a portlet filter like:
               Name begins with Remediation-
               Once you apply the filter, only the relevant compliance actions are listed.




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                 By default, access this portlet by selecting Compliance from the navigation bar. This portlet has
                 both a summary view and an expanded view. Each view could display different columns and has the
                 same pop-up menu options available.

                                                                                                 Summary
                                                                                                 View

                                                                                                 Expanded
                                                                                                 View




                 Columns
                 Other than the general navigation and configuration options, the Compliance Remediation
                 Actions portlets (summary and expanded views) include the following columns. The columns
                 displayed by default are noted.
                 You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
                 columns tab, clicking Show for the appropriate column, and then applying the change.

                  Column              Description
                  Name                The user-defined name for the policy or policy group.
                                      This field displays on the summary and expanded views by default.
                  Family              Pre-seeded grouping/categorization of actions based on the feature it supports.
                  Target Entity Type The target type for the action, such as alarm, port, managed equipment, and so on.
                                      This field displays on the summary and expanded views by default.
                  Description         A detailed description of the remediation action.
                                      This field displays on the summary and expanded views by default.
                  Web Service ID      A unique identifier for the Web service.
                                      This field displays on the expanded view by default.
                  Access Level        The level of access for the action, such as public or private.
                                      This field displays on the expanded view by default.




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               Column             Description
               Web Service        The Web service state (Deployed/Undeployed).
               Deployment         This field displays on the expanded view by default.
               Supports Groups    An indicator that shows whether the action supports groups (checkmark) or not (X).
                                  This field displays on the expanded view by default.
               Widgets            Additional information about the selected alarm, such as:
                                  • Reference Tree shows the connection between the alarm and its resource.
                                  • Execution History.
                                  • Scheduled Actions
                                  The Widgets field is available only from the expanded view.
               Component          This identifies the OpenManage NM component that seeded the action. It will
                                  specify 'User' if the action was created by the user.
               Data Type          The name of the data schema name for the action. The data schema defines the
                                  parameters for the action.
               Domain Id          The identifier for the resource domain.
               Icon               A graphical representation of the selected action.
               Implementor Type List this as internal use
               Web Service        An indicator that shows whether the Web service is deployed (checkmark) or not
               Deployed           (X).

               Pop-Up Menu
               The Compliance Remediation Actions pop-up menu provides access to the following options.
               Right-click a row to access these options.

               Menu Option        Description
               New                Opens an editor where you specify general settings, action associations, attribute
                                  settings, and scripts for the following actions:
                                  • CLI Show Command
                                  • CLI Configure Command
                                  • Config File Generation
                                  • External Executable
                                  • Perl Script
                                  • RESTful Web Service
                                  See Adaptive CLI Editor on page 563 for a detailed description of the editors fields
                                  and options.
               Copy               Provides access to the following functions for the selected action:
                                  • Copy Full copies the original schema to a new schema.
                                  • Copy reuses or references the original ACLI’s schema.
               Execute            Initiates a compliance check for the selected policy. The Job Status window opens
                                  displaying each check as it occurs and its outcome as well as a Success/Failed when
                                  complete. This option is available only for compliance alarms.
               Details            Shows more details for the selected action, such as activity details, execution history,
                                  scheduled actions, reference tree, and associated scripts.
               View Scripts       Displays the scripts for the selected action.
               History            Lists the selected action’s execution history results and execution details.




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                  Menu Option         Description
                  Web Services        Allows you to deploy/undeploy the selected action. You also have the option to export
                                      the selected actions to a WSDL (Web Services Description Language) XML-based
                                      file.
                  Audit               Opens the Audit Trail Viewer.
                  Show Last Results   Shows the results for the last time you executed the selected action.
                  Schedule            Configures a policy to run on a schedule.
                  Add to Action       Opens a window where you select the actions you want to add to a group.
                  Group
                  Import/Export       Retrieves a file containing XML compliance descriptions. Some imports can come
                                      from a URL.
                                      You must import data into the correct portlet. For example, you cannot import event
                                      data into the Actions portlet.
                                      If one type of data depends on another, you must import the other data before
                                      importing the data that depends on it.
                                      Note: Use the Export button to save the current table to PDF, Excel, or CSV format.
                                      Click Export, select the format type, and then click Generate Export.
                  Share with User     Opens the Share with User window where you select the colleague you want to share
                                      this asset with and then type your message.


        Compliance Schedules
                 Use the Compliance Schedules to view and modify Compliance-specific schedules. You can use
                 Schedules to initiate the Change Determination process. See Change Determination Process on
                 page 519. Change Determination is disabled by default.
                 This portlet is intended for users who are interested in viewing and modifying Compliance-specific
                 schedules.




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               By default, access this portlet by selecting Compliance from the navigation bar. This portlet has
               both a summary view and an expanded view. Each view could display different columns and has the
               same pop-up menu options available.


                                                                                                          Summary
                                                                                                          View



                                                                                                          Expanded
                                                                                                          View




               Columns
               Other than the general navigation and configuration options, the Compliance Schedule portlets
               (summary and expanded views) include the following columns. The columns displayed by default
               are noted.
               You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
               columns tab, clicking Show for the appropriate column, and then applying the change.

               Column             Description
               Enabled            An indicator that shows whether the schedule is enabled (checkmark) or not (X).
                                  This field displays on the summary and expanded views by default.
               Description        A detailed description of the scheduled action, such as Network Data Collection,
                                  Default Device Config Backup, and so on.
                                  This field displays on the summary and expanded views by default.
               Type               The type of action scheduled, such as Device Discovery, Config File Backup,
                                  Database Aging Policy, System, and so on.
                                  This field displays on the summary and expanded views by default.
               Next Execution     The next date and time that the schedule will execute.
                                  This field displays on the summary and expanded views by default.




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                  Column             Description
                  Recurrence         The frequency in which to execute the scheduled action, such as each weekday, every
                                     three months, only at startup, only once, and so on.
                                     This field displays on the summary and expanded views by default.
                  Submission Date    The date and time that this schedule was submitted.
                                     This field displays on the expanded view by default.
                  Start Date         The date and time to start the scheduled action execution.
                                     This field displays on the expanded view by default.
                  End Date           The date and time to end the scheduled action execution or the number of
                                     occurrences before ending this scheduled action.
                                     This field displays on the expanded view by default.
                  Scheduled          An indicator that shows whether definition is scheduled (checkmark) or not (X).
                                     This field displays on the expanded view by default.
                  Execution Count    The number of times this scheduled action executed. Useful if you specified an end
                                     date based on the number of occurrences.
                                     This field displays on the expanded view by default.
                  Domain ID          The identifier for the resource domain.
                  Run Status         Indicate the schedules current state, such as waiting.

                 Pop-Up Menu
                 The Compliance Schedules pop-up menu provides access to the following options. Right-click a
                 row to access these options.

                  Menu Option        Description
                  New                Opens the New Schedule window, where you define a schedule for the following
                                     option selected:
                                     • Action (see Scheduling Actions on page 606 for the details)
                                     • Alarm Suppression (See Managed Resources on page 179 for details)
                                     • Config File Backup on page 453
                                     • Config File Restore on page 454
                                     • Database Aging Policy (Implementing DAP on page 73 for more about DAP)
                                     • OS Image Deploy on page 455
                                     The subsequent window’s fields and options depend on the action selected.
                  Edit               Opens the Editing Schedule (ProScan Target), where you modify the schedule
                                     settings.
                  Delete             Removes the selected schedule. A successful/unsuccessful confirmation message is
                                     displayed.
                  Disable Schedule   Deactivates a currently enabled schedule. This option displays if the selected
                                     schedule is currently enabled.
                                     You can also disable a schedule by right-clicking it and then selecting the deselecting
                                     the Enable Schedule option from the Editing Schedule window.
                  Enable Schedule    Activates a currently disabled schedule. This option displays if the selected schedule
                                     is currently disabled.
                                     You can also enable a schedule by right-clicking it and then selecting the Enable
                                     Schedule option from the Editing Schedule window.




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               Menu Option        Description
               Execute            Runs the actions for the selected schedule.
                                  The audit viewer displays execution progress for activity-based or discovery-profile-
                                  base schedules. For all other types of scheduled actions, a message is displayed
                                  stating that the item was sent to the application server for immediate execution.
                                  Monitor it progress from the Audit Trail portlet (see Audit Trail Portlet on page 154
                                  for more details).
               Share with User    Opens the Share with User window where you select the colleague you want to share
                                  this asset with and then type your message.


       Compliance Alarms
               Use the Compliance Alarms portlet to manage Compliance-related alarms. This portlet filters all
               other non Compliance-related alarms.
               This portlet is intended for users who are interested in managing ProScan-related alarms.
               By default, access this portlet by selecting Compliance from the navigation bar. This portlet has
               both a summary view and an expanded view. Each view could display different columns and has the
               same pop-up menu options available.


                                                                                                Summary
                                                                                                View

                                                                                                Expanded View




               Columns
               Other than the general navigation and configuration options, the Compliance Alarms (summary
               and expanded views) include the following columns. The columns displayed by default are noted.




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                 You can view the value for most of the hidden columns by clicking the Settings tool, selecting the
                 columns tab, clicking Show for the appropriate column, and then applying the change.

                  Column              Description
                  Severity            The alarm severity indicated by the color and text. The severity only has meaning for
                                      alarms and security alarms. Informational alarms have a severity level of
                                      Indeterminate. Closed alarms show without color.
                                      This field displays on the summary and expanded views by default.
                  Date Opened         The date the alarm was created.
                                      This field displays on the summary and expanded views by default.
                  Entity Name         The entity emitting this alarm.
                                      This field displays on the summary and expanded views by default.
                  Device IP           The equipment IP address where the alarm appeared.
                                      This field displays on the summary and expanded views by default.
                  Event Name          The event associated with the alarm.
                                      This field displays on the summary and expanded views by default.
                  Assigned User (AU) The user currently assigned to this alarm. You can filters your assigned alarms using
                                     the Advanced filter option and selecting Assigned by User, contains, and entering
                                     your user ID.
                                      This field displays on the expanded view by default.
                  Acknowledged (A) An indicator whether the alarm is acknowledged (checkmark) or not (X).
                  Count               The number of instances for this alarm. Multiples of the same alarm show as a single
                                      row but this value increments as more instances occur.
                                      This field displays on the expanded view by default.
                  Entity Type         The type of monitored entity.
                                      This field displays on the expanded view by default.
                  Message             The message associated with the alarm.
                                      This field displays on the expanded view by default.
                  Widgets             Additional information about the selected alarm, such as:
                                      • Reference Tree shows the connection between the alarm and its resource.
                                      • Alarm Details shows the severity, message, date opened, and so on.
                                      • MIB Details shows notification OID and MIB text.
                                      • Total Occurrences by Date shows a graph of the total occurrences by date.
                                      The Widgets field is available only from the expanded view.
                  Alarm State         The alarm’s open or closed state.
                  Date Cleared        The date and time the alarm was closed.
                  Updated Date/       The time stamp for when the alarm was updated.
                  Time
                  Notification OID    The identifier for the notification displayed as an alarm.
                  Equipment           The entity emitting the alarm.
                  Date Assigned       The date and time that the alarm was assigned.
                  Assigned By         The user ID for the person that assigned this alert.
                  Ack Time            The time that the alarm was acknowledged.
                  Cleared By          The user ID for the person that cleared the alarm.
                  MIB Text            The alarm’s MIB text.
                  Ack By              The user ID for the person that cleared the alarm.




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               Column              Description
               Correlated By       The date and time when the alarm correlation to a parent alarm (caused by or
                                   blocked by).
               Correlated Time     The role the alarm plays in any correlation, such as top-level alarm, caused by parent,
                                   blocked by parent.
               Correlation State   The domain emitting the alarm.
               Domain ID           The identifier for the resource domain.
               Entity Description The alarmed entity’s description.
               Has Children        An indicator that shows whether the alarm has children (checkmark) or not (X).
               Highest Severity    The highest severity assigned to the selected alarm.
               Location            The alarm’s location.
               Notes               A text field for information about the resource.
               Original Severity   The original severity specified for the selected alarm.
               Parent Alarm        The name of the parent alarm.
               Region              The alarm’s region.
               Resource            The propagation for this alarm, if any.
               Propagation
               Service Affecting   Indicates whether the alarm is on equipment in a provisioned service (checkmark) or
                                   not (X).
                                   A service affecting alarm propagate to show as a component of service- and customer-
                                   related alarms. Service-Affecting alarms are of indeterminate or greater severity.
               Suppressed          An indicator whether the alarm is suppressed (checkmark) or not (X).
               Suppression Date    The date and time of the alarm’s suppression, if applicable.
               Suppression End     The alarm’s suppression termination.
               Suppressor          The alarm that suppresses the selected alarm.

               Pop-Up Menu
               The Compliance Alarms pop-up menu provides access to the following options. Right-click a row
               to access these options.

               Menu Option         Description
               Edit                Opens the Edit Alarm window or Editing Event Definition window, where you
                                   modify the alarm or event definition, respectively.
               Details             Displays either equipment or alarm details, such as general information, MIB text,
               (Click+Shift)       reference tree, advisory text, event processing rules, correlations, performance, and so
                                   on. The details displayed vary depending on the option selected (Alarm Details/
                                   Equipment Details).
               Topology            Displays a topology map that includes the selected alarms. See Presentation
                                   Capabilities for more about these maps.
               Acknowledge         Acknowledges the selected alarms. The current date and time appear in the Ack
               Alarm               Time field. The checkmark appears in the expanded portlet for acknowledged alarms.
                                   This option is available when the selected alarms are not acknowledged.
               Unacknowledge       Unacknowledges previously acknowledged alarms, and clears the entries in the Ack
               Alarm               By and Ack Time fields. When an alarm is not acknowledged, the red icon appears in
                                   the expanded portlet.
                                   This option is available when the selected alarms are acknowledged.




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                  Menu Option        Description
                  Assign User        Assigns this alarm to one of the users displayed in the sub-menu by selecting that
                                     user. An icon also appears in the expanded portlet indicating the alarm is assigned to
                                     someone.
                  Clear Alarm        Removes the alarm from the default alarm view and marks it as a candidate for the
                                     database archiving process (DAP). Clearing an alarm is an indication to the system
                                     that the alarm was resolved/addressed. If your system has propagation policies
                                     enabled, clearing recalculates dependent alarms.
                  Clear Group of     Removes a group of alarms from the default alarm view and marks them as
                  Alarms             candidates for DAP.
                                     This option is useful when you have many unimportant alarms that you want to clear
                                     at the same time instead of individually. For example, perhaps you want to clear all
                                     alarms that are informational and are more than a week old.
                                     Before selecting this menu item, create a filter for the group of alarms that you want
                                     to clear. When you select Clear Group of Alarms, a list of defined filters appears.
                                     Select the appropriate filter and then click Execute. All open alarms that meet the
                                     filter criteria are cleared.
                                     Caution: The Clear Group of Alarms action is irreversible.
                  Direct Access      Open an SNMP Mib Browser to the alarmed device, a CLI Terminal (Telnet window)
                                     to the alarmed device, or ICMP Ping the device alarmed. Only those available appear
                                     in the subsequent menu.
                  Email Alarm        Opens the Email Alarm window, where you specify a subject and e-mail address to
                                     which you want to mail the alarm’s content, and then click Send Email. Click Cancel
                                     to end this operation without sending e-mail.
                                     SMTP setup is required to e-mail an alarm. See SMTP Configuration on page 54 for
                                     instructions about setting up e-mail from OpenManage NM.
                  Show Performance Shows performance data for the selected interfaces in the Performance Dashboard
                                   window. Click the edit tool to modify the dashboard view properties, entities, or
                                   attributes. See Dashboard Editor on page 429 for more about the editor and its
                                   options.
                  Aging Policy       This lets you select a policy that determines how long this alarm remains in the
                                     database. See Implementing DAP on page 73 for information about configuring such
                                     policies.
                  Edit Custom        Opens the Custom Attribute Editor where you define field characteristics, such as
                  Attributes         whether it is enabled, the label name, and the tooltip.
                  View as PDF        Creates an Acrobat PDF document containing this alarm’s contents displayed in the
                                     summary portlet.
                  Share with User    Opens the Share with User window where you select the colleague you want to share
                                     this asset with and then type your message.




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                                       Change Management Portlets and Editors | Change Management and Compliance



       Compliance Policy Summary
               This snap panel appears at the bottom of the expanded portlet described in Compliance Policy
               Summary on page 495. It catalogs the compliance policy’s history and lists the Equipment scanned,
               a status icon indicating whether the run discovered equipment in (green) or out (red) of
               compliance. If you added equipment to a policy before it has run, you may also see a Not Executed
               (blue) status. Each run date for the policy and equipment combination selected in the list at the
               top of the detail panel screen appears as a row in this panel. You can also see compliance failure
               messages in OpenManage NM’s audit trails.




               Compliance scans do not stop the first time they fail. They continue so all failures of compliance in
               the entire device configuration appear cataloged in the result.
               Each time OpenManage NM executes a compliance policy it stores a history record in the database.
               Similarly, edits to these policies update history records. When you edit a compliance policy to add/
               remove equipment, OpenManage NM creates or deletes the corresponding history record. Every
               time OpenManage NM executes the compliance policy, it updates the Last Run Date, Status and
               Details on the history record.
               Groups
               When you run a Compliance Policy group, the history for the group appears in this detail panel just
               as it would for a single policy. History concatenates the results of the component policies, as does
               reporting. See Compliance and Change Reporting on page 524.
               To see the Compliance Policy History, print a Compliance Policy Violation report from Report
               Manager.




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Using Change Management and Compliance | Change Management and Compliance



Using Change Management and Compliance
                 The following outlines common use cases for this software, and the steps to achieve the goals of
                 each case:
                 Goal: Regularly verify configurations are compliant
                  1   Create compliance policy(ies) based on what indicates compliance. Right-click New > Policy
                      in the Compliance Policies/ProScan portlet.
                  2   Specify the Name and Input source (based on Device Backup, Current Config, Configuration
                      Label, By Date and Adaptive CLI Results)
                  3   Add Targets > Filter Option available for selecting Equipment/Group

                      NOTE:
                      The advantage of selecting dynamic device groups is that newly discovered devices of the selected type
                      automatically become members of the group, so they are scanned too. A benign warning (“No
                      compliance policies have target group(s)”) lets you know you have not selected groups when you
                      execute a compliance policy without them.
                  4   Specify Compliance Criteria. Add Criteria. For example, that devices’ SNMP communities
                      Do not contain the following:
                        snmp {
                              community public {
                  5   Save.
                  6   Execute or schedule your created compliance policies.
                  7   Any out-of-compliance devices throw an alarm, which you can email, or configure to trigger
                      other actions (see the next use case).
                 Goal: If devices are not compliant restore compliant configuration
                 In addition to the steps in the previous section:
                  8   Create an event automation rule that responds to the redcellProScanFailureNotification
                      event by executing the Netconfig Restore action. Typically you would select to restore the
                      Compliant label. (28493)
                 If you have multiple device types you do not need to assign actions for each device, or even each
                 device type. OpenManage NM supports the assigned policies, so it knows which actions to do to
                 that device based on which device sent the trap.
                 Avoiding Restoring Files for Trivial Differences
                 Because automated network updates, for example from NTP servers, can change configurations,
                 you may want to tune this to avoid restoring files that differ only insignificantly. Do this by editing,
                 or better overriding, the property file: ...owareapps/netrestore/lib/nr.properties.
                 Alter the following property:
                      append.com.dorado.redcell.netrestore.backup.change.omit=
                 For example:
                      append.com.dorado.redcell.netrestore.backup.change.omit=,ntp clock-period




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                                           Configuring Compliance Policy Groups | Change Management and Compliance



Configuring Compliance Policy Groups
               If you have different compliance policies for different device type, then you can run a Compliance
               Policy Group and automatically scan even different types of devices. For more about this, see
               Creating or Modifying Compliance Policy Groups on page 513.
                1     Right-click and select New > Group.
                2     Specify the Compliance Policy Group Parameters.
                3     Add Compliance Policies. These policies can be in multiple groups.
                4     Add Targets. Notice that group targets appear in the “child” policies, grayed out. Child
                      policies can add more targets.
                5     Save.
                6     Execute or schedule the group policies to run against the selected targets.




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Change Management (Example) | Change Management and Compliance



Change Management (Example)
                 The following describes an example use of Change Manager. This backs up a configuration file,
                 modifies it, then scans the file for the modified text, and acts according to the result. The following
                 steps describe how to do this:
                  1   Back up a device configuration. Select a device and click the File Management > Backup
                      right-click menu in Managed Resources portlet.
                  2   Right-click, and Export this backup to a file in the Configuration Files portlet.
                  3   Edit this config file, adding the word “MyTestContact” somewhere in its text that has no
                      impact. For example, the snmp-server contact, or in comments. Some devices let you create
                      descriptions within their configurations so you can enter a word without impact there.
                  4   Now import this edited file from the Managed Resources portlet after you have right-clicked
                      on the same device from which you exported it. Renaming it something distinctive is helpful.
                  5   Right-click this file and Restore to the device. Since the name is a comment or description, it
                      should not interfere with the device’s operations.
                  6   Right-click the device and select File Management > Backup. This makes the
                      MyTestContact file label Current.
                      To confirm MyTestContact is labeled Current, you can use an Advanced filter in the
                      expanded Configuration Files portlet to view only Current labels.
                  7   Now, create a compliance policy by right-clicking in the Compliance Policies/ProScan portlet,
                      selecting New > Policy.
                  8   In the General tab, name this policy MyTestContactScan, and as an input, select the
                      Configuration Label > Current label as the Input Source.
                  9   In the Targets tab, select the equipment from which you exported the config file.
                 10   In the Criteria tab, click Add Criteria enter contains MyTestContact as the Match All of the
                      following criteria.
                 11   Click Save.
                 12   Right-click the new policy and select Execute Compliance.
                 13   The audit screen that appears should indicate Success.
                 14   Right-click and Open the MyTestContactScan policy, and change the Criteria to “does not
                      contain” MyTestContact.
                 15   Save
                 16   Re-execute the policy.
                 17   The audit screen that appears should indicate Failure.
                 Alarms/Events
                 Once you have a compliance policy that has failed, the redcellProScanFailureNotification alarm
                 appears in the Alarms portlet. Success produces an event, not an alarm (visible in the Event History
                 portlet) called redcellProScanClearNotification.
                 To create a response, create processing rules for the event/alarm (see Creating Event Processing
                 Rules on page 300). For example, you could restore the Compliant-labeled configuration file if
                 redcellProScanFailureNotification occurs, or send an e-mail to a technician, among many other
                 responses.




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                                                     Change Management (Example) | Change Management and Compliance


               Some Limitations in this Example
               Note that this example does not change authentication, either for telnet or SNMP. If it did alter the
               SNMP authentication, you would have to create an SNMP authentication alternative before
               scanning could occur.

       Creating or Modifying a Compliance Policy
               This series of screens lets you configure ProScan policies.




               This screen has the following tabs:
                •     General
                •     Targets
                •     Criteria
               The Compliance Policy Job Status screen displays progress of a compliance policy as it executes.

                         CAUTION:
                      Compliance policies work only with text files; it does not work with binary configuration files.
               If you have more than one type of device, you must typically have more than one compliance policy
               to address each device type. To run more than one compliance policy, so you can address multiple
               types of devices, create a compliance policy group. See Creating or Modifying Compliance Policy
               Groups on page 513.

               General
               This tab has the following fields:
               General Properties
               Name— An identifier for the policy (editable only when you click New, not on existing policies).
               Enabled—Check to enable this policy.




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Change Management (Example) | Change Management and Compliance


                 Description—A text description of the policy. This also appears when the policy is listed in the
                     manager.
                 Input Source
                 Use the radio buttons to select a source. Select from among the following options:
                 Device Backup—Retrieve the configuration from the device and scan it for compliance.
                 Current Config—The scan the current configuration backed up from the device.
                 Configuration Label—Select the configuration to run against based on a label. This software
                     automatically updates the Current label so it points to the most recently backed up
                     configuration files.
                 By date—When you click this radio button, you can then select a configuration file backed up
                      that precedes a specified date most closely in a selector that appears below the radio button.
                      You can scan even historic configurations for compliance, with the Based on Date field. No
                      validation ensures this date is the current one.
                 Adaptive CLI—Select a desired Show Adaptive CLI to scan the target device below the radio
                     button. The policy configured scans the show results, and that show appears in the Audit
                     screen.

                 Targets
                 The top of this screen (Current Inherited Targets) displays any targets inherited from already-
                 configured Compliance Policy Groups. Click Add Targets in the Current Explicit Targets panel at
                 the bottom to select equipment that are targets to scan with this policy. You can also select listed
                 equipment click the Remove icon to delete it from the list.




                      NOTE:
                      Use filtering in the subsequent selector screen to make individual selection easier, but do not forget this
                      is not dynamic selection. You must assign policies whenever your managed environment adds new
                      equipment.




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               To provide information for individual policies that are part of groups, this screen displays inherited
               group targets grayed out. See Creating or Modifying Compliance Policy Groups on page 513 for
               more about groups.

               Criteria
               This screen lets you filter configuration files based on text, or Regular Expressions. Click Add to
               open an editor line.




               This screen ultimately determines whether the configuration file(s) for the selected equipment
               complies with the applicable policy. To create a policy, first select whether you want to Match Any
               (logical OR), or All (logical AND) of the criteria you configure with the radio buttons at the top of
               this screen.
               See these sections for more about criteria:
                •     Editing Compliance Policy Criteria
                •     Match Regex for each line
                •     Count number of occurrences
                •     Input Source Grouping
                •     Properties
               For additional criteria information consult these sections:
                •     Create Source Group Criteria
                •     Regular Expressions
                •     Perl/Java (Groovy) Language Policies




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Change Management (Example) | Change Management and Compliance


                 Editing Compliance Policy Criteria
                 After clicking Add Criteria, use the pick list on the upper right to select an operation to select a
                 criteria match type (Contains, Doesn’t contain, [does not] match Regex (see Regular Expressions
                 on page 508), [does not] Match Regex for each line, Count number of occurrences, Perl or Java
                 (Groovy)). Specify the match string or regular expression (Regex) in the text editor below the pick
                 list.




                 With the Add Criteria button, you can configure multi-criteria policies with several lines. For
                 example, configure one saying a maximum of four lines containing name-server can appear
                 (<5), in any order (Match Regex for each line), and another that says the configuration must
                 contain no ip domain lookup [domain].
                 Notice the radio buttons Match Any of the following and Match all of the following. Selecting Any
                 means that if either of the lines matched the policy would succeed. Selecting All says that both
                 lines must pass before the policy is successful.
                 For more complex scans, you can also enter Perl or Java (Groovy) language policies. See Perl/Java
                 (Groovy) Language Policies on page 510 for details about these. The does not operators are just
                 the negative of the match without does not.
                 Click the Apply green check button to accept your term, or the Cancel button to abandon your
                 edits.
                 You can edit already listed compliance tests by clicking the Edit button (pencil and paper) in the
                 list row. You can delete them by clicking the Delete button next to the criterion.
                 Match Regex for each line
                 In using this type of term, OpenManage NM processes each line separately, comparing the input
                 source to the match criteria. This returns a true value only if the criteria find a match in the source.
                 The order of matching is not important since OpenManage NM processes each line separately.




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               Count number of occurrences
               This operator lets you specify a less than, greater than, or equal mathematical operator (<, >, =)
               and a number of lines after you provide regex or string criteria with the operator and count value.




               This returns true if the criteria (as a whole) match the input source count and operator
               combination. On the other hand, for example, if you choose a match criterion that includes =9
               lines as the operator, and the scanned configuration has ten lines that match, the scan returns false.
               Input Source Grouping
               Adaptive CLI show commands and configuration files often have repeating sections or groups of
               parameters. OpenManage NM scan configurations by section using Start Criteria and End Criteria
               Regex group criteria patterns. A configuration can contain multiple start and stops. This is
               especially useful when the criteria provided might occur multiple times in the input source but you
               want to find only the instances which are preceded by a particular line in the source.
               Click Add new group in the Input Source panel in the Criteria editor, and the grouping editor
               appears. (Click the red icon to the source grouping’s left to delete it.)




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                 Enter the starting and ending regular expressions (Start at/End at), and elect whether the
                 beginning or end of the source group includes or excludes what that expression matches. Click
                 Apply to accept your edits, or Cancel to abandon them. You can create multiple group criteria.
                 OpenManage NM applies the group criteria in order, from top to bottom.
                 When you have defined a Start and Stop, OpenManage NM finds the information between these.
                 OpenManage NM logically extracts the data from the main config (essentially creating sections)
                 and then does the audit.
                 For example, if your configuration has one section of router bgp and multiple sections for each bgp
                 neighbor, you can specify matches within each neighbor. Your policy can audit each router bgp
                 section and each neighbor within each router bgp.
                 See Create Source Group Criteria below for an example of how to use these capabilities. Also, see
                 Regular Expressions below for more about what match criteria are supported.
                 Properties
                 Checkboxes on this page configure whether the compliance policy match is Case Sensitive, or has
                 Multi-Line Support. By default they are disabled. Check to enable them. If (upper/lower) case
                 matters in what you are scanning for, check Case Sensitive. If you want to scan for a regular
                 expression that spans more than one line, check Multi-Line Support. Lines do not have to be
                 consecutive. For example, you could scan for hostname [line(s) intervene]ipv6.




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                                                   Create Source Group Criteria | Change Management and Compliance



Create Source Group Criteria
               Here is an example of how you can use source group criteria. Suppose you want to scan for the
               following text:
                      neighbor 2.3.4.5 activate
                      neighbor 2.3.4.5 route-map allanRM01
               This is within the following configuration:
                      router ospf 888
                       log-adjacency-changes
                      redistribute bgp 88 metric 10010 metric-type 1 subnets tag 334 route-map
                      allanRM02
                       network 2.3.4.0 0.0.0.255 area 123
                       network 2.3.5.0 0.0.0.255 area 124
                       network 2.3.6.0 0.0.0.255 area 125
                      !
                      router isis
                      !
                      router rip
                       version 2
                       network 175.92.0.0
                       no auto-summary
                      !
                      address-family ipv4 vrf VPN_PE_A
                      no auto-summary
                       no synchronization
                       exit-address-family
                      !
                      router bgp 88
                       bgp log-neighbor-changes
                       neighbor 2.3.4.5 remote-as 22
                       neighbor description "This is Test"
                          neighbor test-parameter xxx
                       neighbor 4.5.6.7 remote-as 66
                       neighbor description "This is Test"
                      neighbor test-parameter xxx
                       !
                       address-family ipv4
                       redistribute connected route-map map-12
                       redistribute static route-map hjlhjhjhjk
                      redistribute ospf 888 metric 500 match internal external 2 nssa-external
                      1 nssa-external 2 route-map allanRM03
                       neighbor 2.3.4.5 activate
                       neighbor 2.3.4.5 route-map allanRM01 in
                       neighbor 4.5.6.7 activate




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                        neighbor 4.5.6.7 route-map allanRM02 in
                        default-information originate
                        no auto-summary
                        no synchronization
                        exit-address-family
                        !
                        address-family ipv4 vrf VPN_PE_A
                        redistribute ospf 10 vrf VPN_PE_A match internal external 1 external 2
                        no auto-summary
                        no synchronization
                        exit-address-family
                       !
                  In addition, within this configuration, you want to check if the target lines are present under each
                  address-family in the router bgp section. To scan for this, follow these steps:
                   1   Select the Match All of the following radio button and enter both of the above lines as match
                       criteria. Select the Config Term as match Regex for each line, so the order in which these lines
                       appears does not matter.
                   2   Add a source group criterion to search for a section that begins with “routers bgp”—in regex:
                       routers\sbgp. No end match criterion is needed. Click Apply.
                   3   Click Add to make another criterion. This time, the start is address-family\s, and the
                       end is exit-address-family. Click Apply.
                   4   You should see both criteria listed in the editor




                   5   Applying the first group criterion finds the match (underlined) in the following:
                       router bgp 88
                        bgp log-neighbor-changes
                        neighbor 2.3.4.5 remote-as 22
                        neighbor description "This is Test"
                        neighbor test-parameter xxx
                        neighbor 4.5.6.7 remote-as 66
                        neighbor description "This is Test"
                       neighbor test-parameter xxx
                        !
                        address-family ipv4
                        redistribute connected route-map map-12
                        redistribute static route-map hjlhjhjhjk
                        redistribute ospf 888 metric 500 match internal external 2 nssa-external
                        1 nssa-external 2 route-map allanRM03
                       neighbor 2.3.4.5 activate
                       neighbor 2.3.4.5 route-map allanRM01 in




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                       neighbor 4.5.6.7 activate
                       neighbor 4.5.6.7 route-map allanRM02 in
                       default-information originate
                       no auto-summary
                       no synchronization
                       exit-address-family
                       !
                       address-family ipv4 vrf VPN_PE_A
                       redistribute ospf 10 vrf VPN_PE_A match internal external 1 external 2
                       no auto-summary
                       no synchronization
                       exit-address-family
                      !
                6     Applying the second group criterion on the above result divides the source:
                      Source 1:
                      address-family ipv4
                       redistribute connected route-map map-12
                       redistribute static route-map hjlhjhjhjk
                       redistribute ospf 888 metric 500 match internal external 2 nssa-external
                       1 nssa-external 2 route-map allanRM03
                      neighbor 2.3.4.5 activate
                      neighbor 2.3.4.5 route-map allanRM01 in
                       neighbor 4.5.6.7 activate
                       neighbor 4.5.6.7 route-map allanRM02 in
                       default-information originate
                       no auto-summary
                       no synchronization
                       exit-address-family
                      Source 2:
                      address-family ipv4 vrf VPN_PE_A
                       redistribute ospf 10 vrf VPN_PE_A match internal external 1 external 2
                       no auto-summary
                       no synchronization
                       exit-address-family
                      This creates two sources sections.
                7     Now OpenManage NM applies the regex in the criteria field to each of the sources. It returns
                      true only if both sources pass (we selected the Match All radio button). In this case “Source 2"
                      does not have those lines, so OpenManage NM returns a false value.
                8     The error details appear in the audit trail panel.




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Create Source Group Criteria | Change Management and Compliance


                  Regular Expressions
                  Regular expressions include metacharacters to instruct the program how to treat characters it
                  encounters. These include the following: ^, $, . , | , { , } , [ , ] , ( , ), *, +, ? , \. If you want to match
                  one of these metacharacters, you must prepend a backslash (\). So to match a literal question mark,
                  rather than instructing regular expression matching to match 0 or 1 of a previous expression, you
                  must enter \?.
                  The following table outlines standard, supported regular expressions.

                  Label               Pattern
                  Single digit        \d
                  Two digits          \d{2}
                  Three digits        \d{3}
                  Four digits         \d{4}
                  Five digits         \d{5}
                  Number              [0-9]+ One or more
                                      [0-9]* Zero or more
                  Decimal             .[0-9]+
                  Float               [0-9]+.[0-9]+
                  IP Address          (\d{1,3}.){3}\d{1,3}
                  IP Address/Mask     (\d{1,3}.){3}\d{1,3}/\d+
                  Domestic phone 1?[\s\-\/\.]*\(?([1-9]\d{2})\)?[\s\-\/\.]*([0-9]{3})[\s\-\/\.]*([09]{4})[\s\-\/
                  number with    \.x]*([0-9]{3,4})?
                  extension
                  MAC Address         ([0-9a-fA-F]{1,2}:){5}[0-9a-fA-F]{1,2}
                  MAC Address         ([0-9a-fA-F]{1,2}.){5}[0-9a-fA-F]{1,2}
                  MIB2 OID            (1.3.6.1.6.1.2.1.(\d+\.)+\d)
                  Enterprise OID      (1.3.6.1.4.1.(\d+\.)+\d)
                  Time                [0-1][0-3]:[0-5][0-9]:[0-5][0-9]
                  All                 .*
                  Ending Number       \d+$
                  Character           \w
                  Word                \w+ One or more.
                                      \w* Zero or more.
                  Whitespace          \s+One or more.
                                      \s* Zero or more.
                  String w/o space    \S+One or more.
                                      \S* Zero or more.
                  New Line            \n
                  FormFeed            \f
                  Tab                 \t
                  Carriage Return     \r
                  Backspace           \b
                  Escape              \e
                  Backslash           \B




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               Label               Pattern
               URL                 (?:^|")(http|ftp|mailto):(?://)?(\w+(?:[\.:@]\w+)*?)(?:/
                                   |@)([^"\?]*?)(?:\?([^\?"]*?))?(?:$|")
               HTML Tag            <(\w+)[^>]*?>(.*?)</\1>

               Here are some examples of such expressions:

               Label                                               Pattern
               Email address (U.S.)                                ^[A-Za-z0-9._%+-]+@[A-Za-z0-9.-]+\.[A-Za-
                                                                   z]{2,4}$
               MAC Address                                         ([0-9a-fA-F]{1,2}:){5}[0-9a-fA-F]{1,2}
               Time hh:mm:ss                                       (0[0-9]|1[0-2]):[0-5][0-9]:[0-5][0-9]
               IP Address                                          (\d{1,3}.){3}\d{1,3}
               Validated IP Address (restricts what matches        (25[0-5]|2[0-4][0-9]|[01]?[0-9][0-9?])\.(25[0-
               better than the previous example)                   5]|2[0-4][0-9]|[01]?[0-9][0-9?])\.(25[0-5]|2[0-
                                                                   4][0-9]|[01]?[0-9][0-9?])\.(25[0-5]|2[0-4][0-
                                                                   9]|[01]?[0-9][0-9]?)
               MIB2 OID                                            (1.2.6.1.6.1.2.1.(\d+\.)+\d

               The following are examples of the kinds of matching possible:

                          CAUTION:
                      Cutting and pasting from notepad into OpenManage NM may cause carriage return or line-feed issues.
                      Best practice is to compose these within OpenManage NM.
               Simple (Cisco ACL)
               To match the following rows in a Cisco ACL:
                      access-list 159 permit icmp any any
                      access-list 159 permit tcp any any eq smtp
                      access-list 159 permit tcp any any eq www
               To match these lines, simply create a compliance policy for Config Term contains (line contents)
               for each line.
               Complex (Juniper)
               When you have a multi-line statement to match, with varying elements, regular expressions are
               necessary. For example:
                      lab@MyServer# show protocols
                      bgp {
                          group internal {
                              type internal
                              export nhs
                              neighbor 10.1.1.1
                          }
                      }
               In the above statement, the goal is to ensure an export policy in the BGP group internal called nhs.
               A suggested regex expression to match with the goal:




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                         bgp/s+{/n/s+group/s+internal/s+{/n/s+type/s+internal;/n/s+export/s+nhs

                         NOTE:
                         Make sure you check Multi-line Support.
                  Another example:
                         lab@MyServer# show policy-options
                         policy-statement nhs {
                          term set-nhs {
                                 then {
                                     next-hop self;
                                     }
                          }
                  }
                  The following regex statement matches this example:
                         policy-statement\s+ns\s+{\n\s+term\s+set-nhs\s+{\n\s+then\s+{\n\s+next-
                          hop\s+self

                  Perl/Java (Groovy) Language Policies
                  In addition to regular expressions, you can enter Config Terms that use either Perl or Java (Groovy)
                  language capabilities for scans. The following sections describe these.
                   •     Perl
                   •     Java (Groovy)
                  These scans are compiled at runtime, and the Java scan uses the Groovy libraries, included with
                  OpenManage NM. You may need to install Perl on Windows application servers if you want to use
                  that type of Config Term (it often comes with other supported operating systems). Refer to the
                  OpenManage NM Installation Guide for upgrading Perl instructions.
                  Perl
                  When you select Perl as the type of Config term, an editor appears that lets you enter Perl scans.




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               As the screen says $input_source is what the code scans. The following is example of the type of
               Perl you can enter that scans for contents like description in shut down interfaces, and prints
               output “Success” visible in the Audit viewer when it finds a matching term like description in
               whatever source you select:
                      if($input_source =~ m/shutdown/){
                          print("Success");
                      }
                      elsif($input_source =~ m/description/){
                          print("Success");
                      }
                      else
                      {
                          print("Failure - no description found");
                      }
               Notice that you can also combine these scans with the Edit Source Group Criteria regular
               expressions to streamline them.
               Java (Groovy)
               When you select Groovy as the type of Config term, an editor appears that lets you enter that type
               of scans.




               As the screen says this implements ProScanGroovy or Groovy Java classes. The method should
               return ‘Success or ‘Failure -’ results, and assumes public String validate (String
               input) { precedes what you enter in the text editor. The following is example of the type of Java
               code you can enter that scans for contents like description in shut down interfaces, and prints
               output “Success” visible in the Audit viewer when it finds a matching term like description in
               whatever source you select:
                      if(input.contains("shutdown") || input.contains("description"))
                      {
                          return "Success";
                      }




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                       else
                       {
                             return "Failure - no description found";
                       }

                       NOTE:
                       Notice that you can also combine these scans with the Edit Source Group Criteria regular expressions to
                       streamline them.
                  Click Save to preserve the policy you have configured in these screens, or click Close (in the tool
                  bar) to abandon your edits.

                  Compliance Policy Job Status
                  This screen displays the progress of compliance scanning you have configured.




                  You can revisit history of this policy’s use in the Audit portlet (see Audit Trail Portlet on page 154).
                  Select an audit trail in this portlet to review details.
                  When you see the Success indicator, then the scanned item is compliant. If you also see a warning
                  message that no policies have target groups, this does not have an impact on compliance.
                  When you see the Failure indicator, then the scanned item is Not compliant. Select the “Following
                  Config Term not satisfied” message to see the contents of the failed file at the bottom of this
                  screen.
                  Executing compliance policies may trigger a benign warning that “No compliance policies have
                  target group(s).” You can safely ignore this warning message.
                  The advantage of selecting dynamic device groups is that newly discovered devices of the selected
                  type automatically become members of the group, so ProScan scans them too.




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       Creating or Modifying Compliance Policy Groups
               When you create or modify a Compliance Policy Group after right-clicking New > Group or Open
               when you have selected a group, the Compliance Policy Group editor appears.




               This has the following to configure:
               Name— A text identifier for the group.
               Enabled—Check to enable this grouping.
               Grouped Policies —Click Add Policy to select compliance policies in a selector screen. Click the
                   Remove icon to delete a selected policy. You can use individual policies in several groups.
                   Individual policies that are part of groups display inherited group targets grayed out.
               Grouped Targets—Click Add Targets to select targets for the scans.
               Executing a group executes all the member policies and update the history records of the group and
               member policies. Any policy execution also update its parent group history records.




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Standard Policies
                 Change Management comes with several policies and actions by default. These include compliance
                 policies and policy groups, as well as the corresponding Actions for correcting any violations, and
                 Event Processing Rules that automate remedy actions. The following sections briefly describe a
                 representative set of these (you may have more or less, depending on your package).
                   •   Cisco Compliance Policies
                   •   Cisco Compliance Actions
                   •   Cisco Event Processing Rules

                          CAUTION:
                       Seeded compliance policies are not necessarily correct by default. You must specify device targets at
                       least. Given the variance in responses, particularly for Cisco devices, best practice is to test any such
                       policy before you use it.


         Cisco Compliance Policies
                 The following are Cisco Compliance policies included by default with your Change Management
                 installation. Policies listed here are part of Compliance Policy Groups scanning for PCI, HIPPA,
                 SOX, NSA, and CISP compliance. These appear at the bottom of this list.
                 COMPLIANCE Cisco Enable Secret—Use enable secret for enable level access to device; PCI
                    8.4
                 COMPLIANCE Cisco Finger Service (12.1+)—Disable Finger service; PCI 2.2.2
                 COMPLIANCE Cisco HTTP Server— HTTP server should not be running; PCI 2.2.2
                 COMPLIANCE Cisco Finger Service (11.3-12.0)—Disables finger service; PCI 2.2.2
                 COMPLIANCE Cisco Identd Service—Disable Identd service globally
                 COMPLIANCE Cisco Timestamps Logging— Use the timestamps service to show date and
                    time on all log messages; PCI 10.2
                 COMPLIANCE Cisco Disable MOP—Disable MOP support on all Ethernet and VLAN
                    interfaces; PCI.
                 COMPLIANCE Cisco NTP Redundant Servers— Ensures that more than one NTP server is
                    defined; PCI 10.4
                 COMPLIANCE Cisco Disable NTP—Disable NTP if not in use; PCI 2.2
                 COMPLIANCE Cisco PAD Service—The packet assembler/disassembler (PAD) service
                    supports X.25 links. This service is on by default, but it is only needed for devices using X.25;
                    PCI 2.2.
                 COMPLIANCE Cisco Service Config—Disable autoloading of configuration files from a server;
                    PCI 2.2.2
                 COMPLIANCE Cisco Password Encryption—The password-encryption service shows user
                    passwords as encrypted strings within the configuration; PCI 8.4
                 COMPLIANCE Cisco IP Source Route—Disable handling of source routed packets.
                 COMPLIANCE Cisco SNMP RW Communities— Do not use SNMP Read-Write strings, and
                    only use Read-Only strings with associated access lists; PCI 2.2.3.
                 COMPLIANCE Cisco TCP Small-Servers (11.2-)— Disables unneeded TCP services such as
                    echo, discard, chargen, etc; PCI 2.2.2




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               COMPLIANCE Cisco TCP Small-Servers (11.3+)—Disables unneeded TCP services such as
                  echo, discard, chargen, etc; PCI 2.2.2
               COMPLIANCE Cisco UDP Small-Servers (11.2-)— Disables unneeded UDP services such as
                  echo, discard, chargen, etc.; PCI 2.2.2.
               COMPLIANCE Cisco UDP Small-Servers (11.3+)— Disables unneeded UDP services such as
                  echo, discard, chargen, etc; PCI 2.2.2
               COMPLIANCE Cisco VTY Exec Timeout—Set Exec Timeout on VTY ports; PCI 8.5.15
               COMPLIANCE Cisco VTY Access Class Inbound—Set inbound access class on VTY ports;
                  PCI 2.2.3.
               COMPLIANCE Cisco VTY Login—Enable Login on VTY ports; PCI 2.2.3
               COMPLIANCE Cisco VTY Transport Input Limit—Limit Input Transport on VTY ports; PCI
                  2.3
               COMPLIANCE Cisco Set Login on Console Port— Enable login on console port; PCI 2.2.3
               COMPLIANCE Cisco AAA Login— AAA login should be enabled; PCI 8.3
               COMPLIANCE Cisco BOOTP Server—The BOOTSP server should be disabled; PCI 2.2.2
               COMPLIANCE Cisco CDP Service— Disable CDP (Cisco Discovery Protocol) globally
               COMPLIANCE Cisco Console Exec Timeout— Set an exec timeout console port; PCI 8.5.15
               Cisco tacacs+ enabled
               Cisco monitor logging Enabled
               Cisco console logging Enabled
               Cisco buffered logging Enabled
               Cisco SNMP Community String NOT public
               Cisco SNMP Community String NOT private
               Cisco RADIUS Enabled
               Cisco Interfaces MUST have Description
               Cisco Banner Enabled
               Cisco ACL RFC 1918 space
               Cisco ACL Permit Transit Traffic
               Cisco ACL Permit RIP
               Cisco ACL Permit OSPF
               Cisco ACL Permit IGRP
               Cisco ACL Permit EIGRP
               Cisco ACL Permit BGP
               Cisco ACL Deny access to internal infrastructure
               Cisco ACL BGP AS Source
               Cisco ACL Anti Spoofing
               Cisco ACL - Deny special use address source
               Cisco session-timeout' Enabled - ALL LINES
               Cisco exec-timeout' enabled ALL LINES




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                 Compliance Policy Groups
                 The following combine the Compliance Policies described above into groups to scan for
                 compliance.
                 PCI Compliance for Cisco—This includes the following COMPLIANCE policies: Cisco VTY
                     Transport Input Limit, Cisco VTY Login, Cisco VTY Exec Timeout, Cisco VTY Access Class
                     Inbound, Cisco SNMP RW Communities, Cisco Password Encryption, Cisco Finger Service
                     (12.1+), Cisco Finger Service (11.3-12.0), Cisco Disable NTP, Cisco Identd Service, Cisco
                     AAA Login, Cisco UDP Small-Servers (11.2-)
                 HIPPA Compliance for Cisco—A policy group. This includes the following COMPLIANCE
                     policies: Cisco VTY Transport Input Limit, Cisco VTY Login, Cisco SNMP RW
                     Communities, Cisco Set Login on Console Port, Cisco Password Encryption, Cisco PAD
                     Service, Cisco HTTP Server, Cisco Enable Secret, Cisco Timestamps Logging, Cisco NTP
                     Redundant Servers, Cisco Finger Service (11.3-12.0), Cisco Finger Service (12.1+), Cisco
                     BOOTP Server, Cisco CDP Service.
                 SOX Compliance for Cisco— A policy group. This includes the following COMPLIANCE
                    policies: Cisco VTY Login, Cisco VTY Transport Input Limit, Cisco SNMP RW
                    Communities, Cisco Set Login on Console Port, Cisco Password Encryption, Cisco PAD
                    Service, Cisco Finger Service (11.3-12.0), Cisco Finger Service (12.1+), Cisco HTTP Server,
                    Cisco Identd Service, Cisco UDP Small-Servers (11.3+).
                 NSA Compliance for Cisco—A policy group. This includes the following COMPLIANCE
                     policies: Cisco VTY Login, Cisco VTY Transport Input Limit, Cisco SNMP RW
                     Communities, Cisco VTY Exec Timeout, Cisco Service Config, Cisco Password Encryption,
                     Cisco PAD Service, Cisco HTTP Server, Cisco Finger Service (12.1+), Cisco Finger Service
                     (11.3-12.0), Cisco Enable Secret, Cisco Disable MOP, Cisco Disable NTP, Cisco NTP
                     Redundant Servers.
                 CISP Compliance for Cisco— A policy group. This includes the following COMPLIANCE
                     policies: Cisco UDP Small-Servers (11.3+), Cisco VTY Transport Input Limit, Cisco VTY
                     Login, Cisco VTY Exec Timeout, Cisco VTY Access Class Inbound, Cisco Password
                     Encryption, Cisco Finger Service (12.1+), Cisco Finger Service (11.3-12.0), Cisco Enable
                     Secret.

         Cisco Compliance Actions
                 Remedial actions are often part of the process of change management. These may be triggered by
                 the Cisco Event Processing Rules, and are included as part of the Standard Policies.
                 Compliance Cisco AAA Login— To avoid being locked out of the router, define username and
                    password on the access server before starting the AAA configuration.
                 Compliance Cisco Finger Service— Disables the ip finger service.
                 Compliance Cisco HTTP Server—Disables http.
                 Compliance Cisco Identd Service— Disables identd
                 Compliance Cisco IP Source Route—Disables ip source route
                 Compliance Cisco UDP Small-Servers (11.3+)— Disables PCI UDP Small-Servers (11.3+).
                 Compliance Cisco TCP Small-Servers— Displace PCI Cisco TCP Small-Servers.
                 Compliance Cisco BOOTP Server— Disables PCI Cisco BOOTP Server.
                 Compliance Cisco PAD Service—Disables the PAD service.




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               Compliance Cisco Timestamps Logging—Enables PCI Cisco Timestamps Logging.
               Compliance Cisco SNMP RW Communities—Removes RW community string with user input.
               Compliance Cisco Password Encryption— Enables PCI Cisco Password Encryption.
               Compliance Cisco CDP Service— Disables CDP Cisco Discovery Protocol.
               COMPLIANCE Cisco VTY Transport Input Limit
               COMPLIANCE Cisco VTY Login
               COMPLIANCE Cisco VTY Exec Timeout
               COMPLIANCE Cisco VTY Access Class Inbound
               COMPLIANCE Cisco Set Login on Console Port
               COMPLIANCE Cisco Service Config
               COMPLIANCE Cisco SNMP RW Communities
               COMPLIANCE Cisco Password Encryption
               COMPLIANCE Cisco PAD Service
               COMPLIANCE Cisco NTP Redundant Servers
               COMPLIANCE Cisco Enable Secret
               COMPLIANCE Cisco Disable NTP
               COMPLIANCE Cisco Disable MOP
               COMPLIANCE Cisco Console Exec Timeout

       Cisco Event Processing Rules
               The event processing rules here typically tie Cisco Compliance Policies with remedial Cisco
               Compliance Actions.
               Compliance Cisco AAA Login Remediation— Triggers a task to configure an AAA login.
               Compliance Cisco BOOTP Server—Corrects PCI Cisco BOOTP Server compliance failures.
               Compliance Cisco CDP Service— Corrects PCI Cisco CDP Service compliance failures.
               Compliance Cisco Finger Service—Corrects PCI Cisco Finger Service compliance failure.
               Compliance Cisco HTTP Server—Corrects http server compliance failures.
               Compliance Cisco Identd Service— Corrects PCI Cisco Identd Service compliance failures.
               Compliance Cisco IP Source Route— Corrects PCI Cisco IP Source Route compliance failures.
               Compliance Cisco PAD Service— Corrects PCI Cisco PAD Service compliance failures.
               Compliance Cisco TCP Small-Servers—Corrects PCI Cisco TCP Small-Servers compliance
                  failures.
               Compliance Cisco Timestamps Logging— Corrects PCI Cisco Timestamps Logging compliance
                  failures.
               Compliance Cisco UDP Small-Servers (11.3+)—

       Juniper Compliance Policies
               Packages that support Juniper devices have the following policies:
               Juniper FW Filter Private IP—RFC 1918




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                 Juniper Policer DNS—Protect from source address spoofing
                 Juniper Policer NTP—Protect from source address spoofing
                 Juniper Policer RADIUS— Protect from source address spoofing
                 Juniper Policer SNMP—Protect from source address spoofing
                 Juniper Policer SSH—Protect from source address spoofing
                 Juniper Policer Small BW—Protect from source address spoofing
                 Juniper Policer TCP—Protect from source address spoofing
                 Juniper Recommended Logging—Confirms recommended logging is on.
                 Juniper SNMP community NOT public — Checks the SNMP community is not “public” closing
                      a potential security hole.
                 Juniper SNMP community NOT private — Checks the SNMP community is not “private”
                      closing a potential security hole.
                 Juniper ALL Services Policy— Note: this compliance policy will typically be modified per
                      deployment.
                 Juniper Recommended SSH—Confirms recommended SSH is on.
                 Juniper Recommended Syslog— Confirms recommended syslogging is on.




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Change Determination Process
               If you run the Change Determination Process, it collects all the configuration changes that
               occurred on the target resources since the last time this process ran. It also associates these changes
               with the date and time when the Change Determination process runs. After running Change
               Determination, you can then produce a report (see Compliance and Change Reporting on page
               524), outlining all such changes by date and time. This report comes seeded with installation.
               OpenManage NM stores incremental changes as RedcellConfigChangeRecords by device/
               timestamp. The ConfigChangeRecordsDAP Database Aging Policy (DAP) manages how long the
               OpenManage NM database retains these records. This DAP’s default setting stores incremental
               records for 30 days, then archives or purges them. Reporting shows only records in the database;
               therefore, by default, the Configuration Change Report shows only resource changes made in the
               last 30 days, but no older. Change this default by changing the number of days to retain such
               records with the DAP.
               The next section describes Change Determination Process Workflow.




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        Change Determination Process Workflow
                 Change Manager seeds Change Determination Process and compliance group operations. You can
                 configure this to run on groups of your choosing if you create a new Change Determination Process
                 group operation.

                                                            Initiate Change
                                                             Determination


                                                         Back up device config
                                                         and add it to label:
                                                         Change
                                                         Determination



                                                             Check config
                                                             changed flag




                                           Yes                Is there a         No
                                                             configuration
                                                               change?


                                Compare configuration                                 Copy the config in the
                                                           Make equipment
                                  labels - “Change                                           Change
                                                          change diff records
                                 Determination” and                                    Determination label
                                                           for later reporting
                                      “Current”                                        to the Current label



                                                                                          Reset config
                                                                                          changed flag



                                                                                         End Change
                                                                                         Determination


                 This process records what is removed, updated or added since it last ran on a scanned device’s
                 configuration. If you run the Change Determination Process, it first backs up the devices’
                 configuration(s), and stores those with the Change Determination label.
                 Change Determination Process then looks for Config Changed Flags, and if it finds such flags,
                 indicating a change occurred on the device and/or Change Determination has not run on it, the
                 process then compares the device’s changed configuration (in the Change Determination label) to
                 the one in the Current label, storing the difference for future reporting.
                 At its end, the Change Determination Process re-labels the configuration with the Change
                 Determination label to the Current label, and it un-sets the Config Changed Flag on scanned
                 resources so the flag will not signal change occurred when Change Determination runs again.




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                After running the Change Determination Process, you can run the Configuration Change report to
                display what changed for a defined period. The contents of that report depends on the report filter,
                and the specified period. This report lists changed attributes in the configurations.

        Triggering Change Management and ProScan
                To trigger the Change Management for a device, right-click it in the Managed Resources portlet
                and select Change Management > Change Determination. You can also schedule Change
                Determination to run repeatedly, on regular intervals in the Schedules portlet.
                You can similarly trigger ProScan by right-clicking a device, and selecting Change Management >
                Execute ProScan or Execute ProScan Policy. The former execute all policies connected with the
                selected device, while the latter allows you to select policy (or policies) to run. Creating a
                Compliance Policy Group, lets you run all compliance policies for each device within the selected
                group, scanning groups even if they consist of devices from different vendors. In ProScan, you can
                scan device configurations (of specified labels) or Adaptive CLI command output. (See How to:
                Using Change Management and Compliance on page 496).


        How To:
Run the Change Determination Process
                The following describes an exercise for the Change Determination process based on manually
                running it. To run the process as a response to events devices must transmit traps to OpenManage
                NM. The next sections describe using Change Determination in the following ways:
                 •    Change Determination Confirmation
                 •    Event/Trap-Based Change Determination
                Change Determination Confirmation
                The following steps confirm change determination is working.
                 1    Initialize the Change Determination Report and let it do a configuration backup. The first
                      time this runs, OpenManage NM creates no diffs. It just initializes the Change
                      Determination label.
                 2    Edit a configuration to make a change. For example, make a change in a device you have
                      discovered. One benign change is to add a contact or a description to an interface.
                 3    Restore it to the device.
                 4    Execute the Change Determination process on the device by right-clicking it in the Managed
                      Resources Portlet, and selecting Change Management > Change Determination.
                      This then backs up the device, compares the original and altered configurations, and writes
                      the difference to report later (see How to: Report on Change Determination on page 525 for
                      the steps to run the report to see such changes).
                      Since we have initialized the report in step 1, the updated report shows the changes made to
                      the config file.
                 5    Repeat step 2 through 5 if you like after you have made further changes.

                      NOTE:
                      Best practice in production is to schedule a recurring run for Change Determination in the Schedules
                      portlet. Notice that you can also disseminate the report by e-mail, or view previous reports in the web
                      client, as described in the Reports portion of this guide.




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                 Event/Trap-Based Change Determination
                 The following steps to trigger Change Determination based on events received by OpenManage
                 NM. Your devices must transmit traps to the OpenManage NM installation, and must emit traps
                 when changes occur, or this does not work.
                   1   Back up the configuration file for a device you have discovered.
                   2   Make a change to that device with the Managed Resources editor, or from a Direct Access
                       command line.
                   3   Such changes make the device emit an event that may have further consequences. For
                       example, for Juniper devices, the Juniper JUNOS Configuration Changed event is a
                       correlation event.
                   4   To provide a response (and to normalize the emitted event), create an automation rule that
                       emits a redcellEquipmentConfigChangeNotification event when OpenManage
                       NM receives creates a event in response to events like the jnxCmCfgChange event that
                       occurs when Juniper devices change.
                   5   Create a rule to respond to redcellEquipmentConfigChangeNotification by
                       running the Change Determination process. You do not have to back up the configuration
                       after the change. See How to: Create Event Processing Rules to Trigger Change
                       Determination Process below.
                   6   To see the change itself, run the Change Determination Report (see Compliance and
                       Change Reporting on page 524 and How to: Report on Change Determination on page
                       525). The report displays the changes made.


        How To:
Create Event Processing Rules to Trigger Change Determination Process
                 This exercise creates an Event Processing rule that has Change Determination respond to an event.
                 The steps to configure such an event processing rule are as follows:
                   1   Create a new event processing rule by right-clicking in Event Processing Rules > New > Post
                       Processing rule in the Event Processing Rule portlet.
                   2   Enter the name in the field labeled Name. (Example: Update Config Change Flag)
                   3   Click Next to go to the Filter tab.
                   4   For the Specify Events panel, click on the Add button to select the event to which this rule
                       responds. A selector listing available events appears.

                       NOTE:
                       Notice you can limit the selector’s displayed events by entering text in the filter at the top of the selector
                       screen.
                   5   In the selector, click the event definition (here:
                       redcellEquipmentConfigChangeNotification), and confirm your selection.
                   6   Click Done to accept the Event(s) you have configured.
                   7   Notice you can further filter which events this rule responds to with the lowest panel in this
                       screen’s Filter Conditions panel by clicking Add Filter. For example, you could create a rule
                       that responds only to events from a particular IP address. For now, we will not configure
                       additional filters.
                   8   Click Next to open the Actions tab.




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                9     Click Add Action, and click the Custom action alternative, then click Keyword Search and
                      select Change Determination. That action appears in the drop-down combo box. Notice you
                      can also select a target in the action selector. By not selecting one, we run change
                      determination against all Managed Equipment.
               10     Click Apply and view the Change Determination action listed in the Actions screen.




                      Notice that you can add more actions, and edit or delete existing ones with the icons to the
                      right. Click Apply once you have selected Change Determination.
               11     Click Save to preserve this event processing rule. The rule should now respond to the
                      configured event, triggering the action you configured.

                      NOTE:
                      Backup and Change Determination automates backing up target devices.
                      Also: Change Determination’s current default is to compare files even if the “Config Change” flag has not
                      been modified.


       Change Determination Defaults
               By default, Change Determination can run against all devices without requiring the config change
               update flag be set or updated based on events tied to the Update Config Change Flag event
               processing rule/action.
               To disable the manual run-ability of the Change Determination process, uncomment the property
               in \owareapps\changemgmt\lib\cm.properties (or add it to
               \owareapps\installprops\lib\installed.properties).
                      #############################################
                      # Change Determination Flag
                      # Allows system to be flagged to only run
                      # change determination against devices we
                      # have received Config Change Event for.
                      # Default Behavior is to run change determination
                      # for All targets (the same as setting the below property = false)
                      #com.dorado.changemgmt.change.determination.require.config.events=true




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Compliance and Change Reporting | Change Management and Compliance



Compliance and Change Reporting
                 The Compliance Policy Violation report is seeded when you have ProScan/Change Management in
                 OpenManage NM. Inventory Compliance Attributes for reporting can also appear in report
                 templates when you install ProScan. These report in-compliance or out-of-compliance, the last
                 compliance date (when last compliant or not compliant), last config date (when configuration last
                 changed), last checked date (when change was last determined).
                 You can also run the Change Determination Report that displays changes made to configurations.
                 See Generating a Report on page 274 for more about reporting capabilities.
                 The Change Determination Report report displays detected changes based on a configuration
                 change flag set when OpenManage NM detects a change made to the device. To successfully
                 execute this report, you must enable a scheduled Change Determination Process. The process
                 must run before the reports has any contents. To run the process, go to the Schedules portlet, and
                 schedule that change determination process.
                 Reporting Limitations
                 The Configuration Change Report only reports on incremental configuration changes discovered
                 in the CD process. Simply making changes to configurations and backing them up in OpenManage
                 NM does not ensure these appear in Configuration Change Reports. They appear in reports only
                 after running the CD process.
                 The Configuration Change Report includes a Filter that you can alter at runtime. By default, the
                 report filters on Type only. If you want more filter criteria—like device IP, and/or date ranges—you
                 must edit the Report filter. To edit the filter, in the Reports manager, right-click the Configuration
                 Change Report, and select Open, then edit the filter in the Filter screen by selecting that node on
                 the left.

                      NOTE:
                      A recommended best practice is to execute the CD process as an operation run against multiple
                      resources following a scheduled group backup of these resources. If you run backups every day, the
                      Configuration Change Report then shows the daily changes, until they are purged from the database.
                 The application stores the specifics of what changed for future reporting.




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        How To:
Report on Change Determination
                Follow these steps to produce regular change determination reports:
                 1    First, insure the devices you want to scan are discovered, and send change notifications to the
                      application server.
                      Juniper JUNOS-based routers, for one example, provide configuration change information
                      with an SNMP trap. The following configuration determines that configuration change traps
                      are being sent to a host 192.168.1.24:
                      trap-group test {
                                 categories {
                                     configuration;
                                 }
                                 targets {
                                     192.168.1.24;
                                 }
                           }
                      Check your vendor’s manuals to determine how to forward configuration change information
                      to OpenManage NM for your system. See Forwarding Configuration Change Commands on
                      page 526 for others.
                 2    When OpenManage NM receives a configuration change notification, in the JUNOS-based
                      example, the device transmits an event (jnxCmCfgChange) to the OpenManage NM
                      mediation server. When received, this event automatically generates an event called
                      OpenManage NMEquipmentConfigChangeNotification. Event history displays that
                      notification.




                 3    When OpenManage NM receives the OpenManage
                      NMEquipmentConfigChangeNotification event, it can initiate (if enabled) an event
                      processing rule called Configuration Change.
                      This processing rule triggers a flag in the OpenManage NM database saying a change has
                      occurred in the device’s configuration and that OpenManage NM should run change
                      determination against the device when requested.
                 4    When you run OpenManage NM’s change determination process, it reviews the flag setting
                      in the database and backs up a managed device if the flag indicates a change. This backup
                      updates the OpenManage NM system label Current which is then compared to the
                      OpenManage NM system Change Determination label. OpenManage NM then writes the
                      differences between the two labelled configurations to its database, where it is available for
                      reporting purposes.




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Compliance and Change Reporting | Change Management and Compliance


                   5   Once this occurs, the Change Determination label moves to point to the same configuration
                       which is reflected by the Current label.
                   6   The report which can run to display these changes is OpenManage NM’s Configuration
                       Change Report. It displays the name of the device in question, the IP address, date/time of
                       change, who made the change, what was removed and what was added. You can schedule this
                       report to run immediately after an Change Determination process too, so you can capture a
                       history of changes.

        Forwarding Configuration Change Commands
                 The following are setup commands for various other devices
                 Cisco
                 The following is the configuration to forward notifications to 192.168.1.176;
                       logging facility local0
                       logging 192.168.1.176
                 This configuration comes from executing the following commands on the CLI once you are logged
                 in to privileged mode
                       conf t
                       logging on
                       logging 192.168.1.176
                       logging facility local0
                       end
                       wr mem




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                                                                                                  10
Traffic Flow Analyzer
This section provides information about the Traffic Flow Analyzer (TFA) component, which allows
you to view and report on detailed traffic flow data within your network. TFA listens on UDP ports
for packets in the NetFlow and sFlow family of protocols (this includes NetFlow implementations
such as JFlow, NetStream, etc).
Using this data, Traffic Flow Analyzer can help you visualize network traffic, troubleshoot and
anticipate bottlenecks.
Supported versions include sFlow v5, and NetFlow v5 and v9, and IPFIX (which is essentially
NetFlow v10) but not previous versions (for example, v2).
Typical packages come with a default limit to the number of registered exporters. Upgrade your
license if you want to exceed the licensed limit. Traffic Flow exporters are licensed separately from
the Right to Manage (RTM) resource license count, so a license that includes 50 RTM does not
necessarily let you have 50 Traffic flow exporters.
OpenManage NMr typically limits the number of exporters available for your system through
licensing. Review your Traffic Flow Analyzer license setting in the license viewer under Product
Licenses tab, the license detail section (MaxExporterCount=n, where “n” is the number of
exporters licensed.) After reviewing recommendations for performance tuning and hardware sizing
in this document, you can request a license allowing more exporters from your sales representative.
This section covers these topics:
How does Traffic Flow work? – 528
Setup Tasks – 530
Showing Traffic – 533
Traffic Flow Portlet – 535
Traffic Flow Analyzer - Example – 545
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How does Traffic Flow work? | Traffic Flow Analyzer



How does Traffic Flow work?
                   Here is a diagram on how it works followed by some bullet points.




                    •    The NetFlow/IPFIX/sFlow exporting device monitors the traffic that traverses ing it
                    •    The device becomes an Exporter of NetFlow/IPFIX/sFlow data.
                    •    It exports the information to the NetFlow/IPFIX/sFlow Collector
                    •    The collector stores, correlates and presents the information about
                    •    Traffic bottlenecks in networks.
                    •    Applications responsible for bandwidth utilization.
                   A flow is a unidirectional stream of data between two network nodes. The following key parameters
                   appear in flows:
                    •    Source IP address
                    •    Destination IP address
                    •    Source port number
                    •    Destination port number
                    •    Layer 3 and 4 protocol type
                    •    Input interface or port
                    •    Output interface or port
                    •    Source Autonomous System Number
                    •    Destination Autonomous System Number
                    •    Number of Bytes
                    •    Number of Packets
                   Definitions
                   NetFlow— A traffic flow monitoring technology that is somewhat open-ended and thus it has has
                       various implementations by different hardware vendors. Sampling is optional, which means
                       that the reported data might represent samples of the actual data or a full and detailed
                       reporting of all traffic flow data.




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                                                                        How does Traffic Flow work? | Traffic Flow Analyzer


               IPFIX—Another traffic flow monitoring technology that is similar to NetFlow but is even more
                    open-ended and allows for more flexibility in how it can be implemented by hardware
                    vendors. Sampling is also optional for this technology.
               jFlow—Juniper's implementation of NetFlow.
               sFlow—Another traffic flow monitoring technology that has a clearly defined standard and thus
                   there is very little leeway for how hardware vendors can implement it. Sampling of traffic flow
                   data is required in this technology, so a full reporting of the data is not possible and instead
                   you would need to rely on estimated actual values.
               Collector— Application listening on a UDP port for NetFlow/IPFIX/sFlow datagram.
               Exporter— Network element that sends the NetFlow/IPFIX/sFlow datagram.
               Endpoint— A network node that sends and/or receives flows. If the flow is merely passing through
                   the node but was not sent nor received by the node, then this node would not be is not
                   considered an endpoint (not for this particular flow anyways) but it might be considered an
                   exporter (if it is registered as such).
               Conversations— IP Communications between two network endpoints. For example, if endpoint A
                   sends data to endpoint Z and then the data flow is reversed so that Z sends data to A, these
                   flows are both part of the same conversation.
               Flow—A flow is a unidirectional stream of packets between two network endpoints.

                      NOTE:
                      Counter sFlow packets do not appear as Traffic Flows, but essentially duplicate Performance metrics for
                      interfaces. Such Flows monitor how data traverses between two endpoints. You can monitor interfaces
                      with Performance monitors. See Performance Monitoring.




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Setup Tasks | Traffic Flow Analyzer



Setup Tasks
                   To set up TFA, you will need to configure one or more devices to send traffic flow data to
                   OpenManage NMr and you will also need to register these devices as exporters. Each of these tasks
                   begins from the Managed Resources portlet and the Traffic Flow Analyzer sub-menu that appears
                   when you right-click on a device.

         Creating TFA Configuration for a Managed Resource (Top-Level
         Device)
                   For any devices in which you would like to get visibility into what traffic is flowing through it, you
                   will need to configure such devices to summarize and/or to sample this data and to send the flow
                   information to OpenManage NMr. This can be done automatically for some device vendors and
                   models by using the Create Configuration menu item. Note that not all devices and models are
                   supported, and thus manual configuration would be necessary for unsupported models. Manual
                   configuration can often be accomplished by logging into the device either through CLI commands
                   and/or through a web GUI. Please check the documentation for your device to see if any traffic
                   flow protocols are supported, and if so how to enable this feature. For automatic configuration,
                   follow these steps::Setup
                     1   From the Managed Resources portlet, right-click on the appropriate device.
                     2   Select Traffic Flow Analyzer >Create Configuration.
                     3   popup box will appear that prompts for the parameters that are necessary to perform this
                         action. These parameters are determined by the configuration parameters of the device
                         model. Depending on the device model, these parameters might include sample rate, active
                         timeout, etc.
                     4   After you have entered the appropriate parameters, click Execute.
                     5   If this operation was successful then the device should be configured to send traffic flows to
                         {product name} using one of the supported protocols (sFlow, NetFlow, IPFIX). Please note,
                         however, that for some models it is also necessary for you to create configuration for TFA at
                         both the device level (using the Managed Resources portlet) and also at the subcomponent
                         level (using either the Ports or Interfaces portlet, which is described in the next section.

         Creating TFA Configuration for a Port or Interface (Subcomponent)
                   Depending on the device model, you might need to create the TFA configuration for both the top-
                   level device and for one or more of its subcomponents (ports and interfaces). You will probably
                   have to first configure the top-level device and then you can configure the subcomponent. To
                   create TFA configuration for a subcomponent, follow these steps:
                     1   From either the Ports or Interfaces portlet, right-click on the appropriate device.
                     2   Select Traffic Flow Analyzer >Create Configuration.
                     3   A popup box will appear that prompts for the parameters that are necessary to perform this
                         action. These parameters are determined by the configuration parameters of the device
                         model. Depending on the device model, these parameters might include polling interval,
                         sample rate, etc.
                     4   After you have entered the appropriate parameters, click Execute.
                     5   If this operation was successful then the port or interface should be configured to send traffic
                         flows to OpenManage NMr using one of the supported protocols (sFlow, NetFlow, IPFIX).



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                                                                                    Setup Tasks | Traffic Flow Analyzer



       Removing TFA Configuration from a Managed Resource, Port, or
       Interface
               To remove the TFA configuration for a device, whether this be the top-level device or a
               subcomponent (port or interface) follow these steps:
                1     From the Managed Resources portlet, right-click on the appropriate device.
                2     Select Traffic Flow Analyzer >Remove Configuration.
                3     A popup box will appear indicating that no parameters are necessary to perform this action.
                      Click Execute.
                4     If this operation was successful then the device should be configured to no longer send traffic
                      flow data to OpenManage NMr.




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Setup Tasks | Traffic Flow Analyzer



         Showing TFA Configuration for Managed Resource, Port, or
         Interface
                     1   From either the Managed Resources, Ports, or Interfaces portlet, right-click on the
                         appropriate device.
                     2   Select Traffic Flow Analyzer >Show Configuration.
                     3   A popup box will appear indicating that no parameters are necessary to perform this action.
                         Click Execute.
                     4   The TFA configuration for the device will be shown.

         Registering an Exporter
                   After you have configured a device to send traffic flow information to OpenManage NMr, you must
                   still register it as a traffic flow exporter in order for these flows to be processed. To register a device,
                   follow these steps:
                     1   From either the Managed Resources portlet, right-click on the appropriate device.
                     2   Select Traffic Flow Analyzer > Register. This menu item will only be available if the device is
                         not already registered, which means that the TFA Registered column should show an X.
                     3   A message will confirm that the registration succeeded and also the TFA Registered column
                         should display a check mark indicating that the device is registered for TFA.
                     4   The system should then be ready to accept and process flow data from the device. If a device
                         is not registered, the Register option appears in the menu.

         Unregistering an Exporter
                   To unregister a device, follow these steps:
                     1   From the Managed Resources portlet, right-click on the appropriate device.
                     2   Select Traffic Flow Analyzer > UnRegister. This menu item will only be available if the
                         device is already registered, which means that the TFA Registered column should show a
                         check mark.
                     3   A message will confirm that the unregistration succeeded and also the TFA Registered
                         column should display an X indicating that the device is not registered for TFA.
                     4   The system will then not process any flows that are received from this device. It is
                         recommended to remove the configuration from this device as well.




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                                                                                Showing Traffic | Traffic Flow Analyzer



Showing Traffic
               .




       Showing Traffic for a Managed Resource (Top-Level Device)
               You can view the traffic flow data for any device in the Managed Resources portlet if you select a
               device and right-click and then expand the Traffic Flow Analyzer sub-menu. The re are two Show
               Traffic menu options available from this sub-menu, both of which will navigate to full-screen views
               of the expanded Traffic Flow Portlet and will show the traffic flow data for the selected device.
               Show Traffic as Endpoint is available for all managed devices and this option navigates to a page
               showing the traffic where this device was either the sender or the receiver of the flow (as endpoints
               are essentially senders and receivers combined). Show Traffic as Exporter is available only for
               registered exporters and this option shows all traffic going through the device. Once this portlet is
               shown, a drop down list of available information types will also be available that will allow you to
               change the type of data that is displayed.




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Showing Traffic | Traffic Flow Analyzer



          Showing Traffic for a Port or Interface (Subcomponent)
                    You can view traffic flow data for a port or interface by using the Show Traffic menu item that is
                    available in either portlet. Within either portlet, select an entity and right-click and then select
                    Traffic Flow Analyzer>Show Traffic. This will navigate to the expanded Traffic Flow portlet and
                    the context will be set to show the data associated with the selected entity (if any data is available).

          Showing Traffic from the Traffic Flow Page
                    You can view a variety of different types of TFA data by selecting the Traffic Flow menu item near
                    the top of the screen. This page displays a portlet for each of the following: Exporters by Managed
                    Equipment, Exporters by Subcomponent, Top 5 Applications, Top 5 Autonomous Systems, Top 5
                    Conversations, Top 5 Endpoints, Top 5 Protocols, Top 5 Receivers, and Top 5 Senders.




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Traffic Flow Portlet
               Traffic Flow Analyzer uses several types of portlets, one for each of the types of objects on which it
               reports. These are Applications, Autonomous Systems, Conversations, Endpoints, Exporters by
               Equipment Manager, Exporters by Subcomponent, Protocols, Receivers and Senders. Note that
               Endpoints, Conversations, Receivers, and Senders all have similar data. The way it works is that
               every flow has a sender and a receiver, and these are both considered endpoints. Also if endpoint A
               sends a packet that is received by endpoint Z and then Z sends another packet back to A, these
               packets are both part of the same conversation between A and Z.
               When you add one of the traffic flow analyzer portlets to a page, its summary, or minimized form
               appears. This displays a simple view containing a pie chart and a table showing the summarized
               collected data over the configured time period. Only the time frame (shown with a clock icon), the
               mode of calculation (shown with a calculator icon), and the flow direction (ingress, egress, or both)
               can be changed in this view. These controls appear as dropdown buttons in the upper right corner
               of the portlet. Most minimized traffic flow portlets are limited to the top entities as measured by
               total bytes. The minimized Exporters by Equipment Manager portlet is not limited to 5 entries. It
               supports pagination in the event that there are lots of exporters, so that all the necessary data can
               be shown.
               To see more information about any item within the minimized traffic flow portlet, you can click on
               the name and this will navigate to the expanded traffic flow portlet, as shown in the context of the
               selected item. Another way to navigate to the expanded portlet is to click on the + sign in the
               upper right corner.
               The Expanded Traffic Flow Portlet displays an interactive graph. You can also Drill Down to
               details about components within this portlet by clicking on one of the links in the table below the
               graph.

                      NOTE:
                      The selected period determines whether data is present, especially if you have just started monitoring
                      Traffic Flow. Choose the shortest period to see data immediately (it still takes a few minutes to appear),
                      and select longer periods only after monitoring has run for longer periods.




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Traffic Flow Portlet | Traffic Flow Analyzer


                    Expanded Traffic Flow Portlet
                    When you expand the portlet, a more complex interactive view appears. Initially, it displays a line
                    graph for the selected time frame.




                    The graph on the upper portion of the portlet shows the data points for every time-slice and the
                    chart below this graph shows the aggregate for all data points covering the selected time frame.
                    The following controls appear in the title bar:
                    Select Chart Type— Lets you change the chart type. Available chart types include Pie, Line, Bar,
                         Stacked Bar and Column. Note that the pie chart only displays aggregate data while the other
                         chart types display time-slice data within the selected time frame.
                    Select TimeFrame—Several built-in relative time frames are available including Last 15 Minutes,
                         Last Hour, Last 6 Hours, Last 24 Hours, Last 5 Days, Last 30 Days and Last 12 Months. you
                         can also select Custom to display the Custom Time Frame popup screen.




                           When this screen is shown, first select either Relative (wherein the time frame starts a certain
                           period of time ago and includes everything up to the present) or Absolute (wherein the time
                           frame includes everything between a certain arbitrary start time and end time that can both
                           be in the past). If Relative is selected, you must enter a relative time value and time unit. For



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                      example, Last 8 Hours, Last 120 Minutes, Last 45 Days, etc. If Absolute is selected, you must
                      enter an absolute start and end time. Click Apply for these settings to take effect.
                      Data for Last 15 Minutes shows minute-by-minute data and this type of data typically appears
                      after about 2-5 minutes of collection (after the exporter is first registered and flow packets are
                      received from this device). Data for Last 24 Hours shows hourly data by default, and this type
                      of aggregate data is computed after each hour has passed. For example, aggregate data for
                      9:00 AM will only be computed after the 9:00 hour has passed (9:59 AM has rolled over to
                      10:00 AM). Likewise, daily data is computed once the day has passed into the next (11:59 PM
                      has rolled over to 12:00 AM). Changing the time frame displays time-slice data points, each of
                      which represent a certain time range, such as a single minute of data or a full hour of data.
                      The granularity of the time-slice data points is determined initially by the length of the
                      selected time interval, but you can then use the "Select Granularity of Data Points" option to
                      display different time-slice data points for the same time frame.
                      The granularity of time-slice data points is determined initially by the length of time frame
                      (the duration from the start time to the end time), according to the following thresholds:
                      Less than or equal to 60 minutes: 1 Minute data points
                      Less than or equal to 12 Hours: 10 Minute data points
                      Less than or equal to 3 Days: Hourly data points
                      Less than or equal to 30 Days: Daily data points
                      More than 30 Days: Weekly data points
               Select Granularity of Data Points —Lets you change the granularity of the time-slice data points
                    that are shown in the graph. The options for granularity are 1 Minute, 10 Minute, Hourly,
                    Daily, and Weekly. The way this works is that the less granular data (representing longer time
                    intervals) are aggregates of the more granular data. For example, a 10 minute data point
                    representing 6:20 would be an aggregate of all 1 minute data from 6:20 to 6:29. Likewise, an
                    hourly data point from 6:00 would be an aggregate of all 1 minute data from 6:00 to 6:59.
                    When you select a time frame, the length of the interval determines the granularity of the
                    data points that are shown at first, but you can change this. For example, the time frame Last
                    24 Hours will by default show hourly data points, but you can then see more granular data by
                    selecting 10 Minute from this menu. It would even be possible to show 1 Minute data for this
                    same time frame, but this might cause the web browser to perform poorly because there
                    would be hundreds of data points.
               Search— Displays a search dialogue to find specific traffic data.
               Select Report Type—Lets you change the number of results that are shown and also whether to
                    show the most or least significant results. You can choose between Top 5, 10 or 25 and Bottom
                    5, 10 or 25.
               Select Mode of Calculation — Lets you change the mode of calculation for data values. NetFlow
                    and sFlow data are often sampled, which means that the values reported by the exporters
                    should be understood as representing only a fraction of the total traffic. You can choose to
                    show either the reported sampled values or the estimated total values. The estimates are
                    calculated by multiplying the sampled values by the sampling rate, as reported by the exporter
                    in one of the following ways:
                      - sFlow sampling, where the sampling rate is in the packet (usually 512 or 1024 or some
                           power of 2)
                      - NetFlow V5, where the sampling rate is in the header of the packet




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                          - NetFlow V9 and IPFIX with a single sampling rate for the entire device. In these cases an
                              options datagram contains the sampling rate for the device.
                          - NetFlow V9 and IPFIX with a sampling rate specific to an interface. In these cases an
                              options datagram contains a sampling rate and a sampler ID. Flows then contain a sam-
                              pler ID to associate to this. When flows say the sampler ID is 0 then this feature is dis-
                              abled for this interface.
                           Estimated total bytes and packets are calculated by multiplying the reported sampled values
                           by the sampling rate. This works differently for sFlow and NetFlow. NetFlow packets contain
                           fields for the reported sampled bytes and packets. For example if the packet reports that the
                           sampled bytes is 45 and the sampling rate is 100 then the estimated total bytes will be 4500.
                           Likewise if the sampled packets is 3 then within this same example the estimated total
                           packets will be 300. sFlow packets do not contain fields for the sampled bytes or packets.
                           Instead, sFlow works by sampling packets that are going through the exporter, and attaching
                           these sampled packets to sFlow packets for export. So the reported sampled bytes is
                           computed by adding the total bytes of the sampled packet that is contained within the sFlow
                           packet and the reported sampled packets is naturally 1 for each sFlow packet that is exported.
                           The estimated total bytes and packets is computed by multiplying each of these numbers by
                           the sampling rate that is reported in the sFlow packet. For example, if the sampled bytes is 10
                           and the sampling rate is 512 then the estimated total bytes will be 5100 and likewise the
                           estimated total packets will be 512 since this is the sampling rate.

                          NOTE:
                           For devices that are not sampling traffic data (they are reporting on 100% of the traffic going through the
                           device), the estimated values will be the same as the raw values.
                    Select flow direction— Lets you change the flow direction of the data that is queried. The options
                         are Ingress, Egress, and Both Ingress and Egress, which is the default. This notion is related to
                         the way in which the traffic is handled by the exporter and how the exporter was configured at
                         the subcomponent (port or interface) level. When a flow goes through a device, it must go
                         into some subcomponent (ingress) and also out some subcomponent (egress). In some cases
                         only ingress flows are reported on by the exporter and in some cases only egress flows are
                         reported. Sometimes both ingress and egress are reported, but the byte and bits/second values
                         might be affected by whether the flow is ingress or egress, as reported by the exporter. In
                         some cases these values can have different data compression rates and thus it would be
                         misleading to count them together. Also sometimes you need to know how much data is
                         going into our out of a port or interface. This option allows you to sort this out by focusing
                         only on ingress or egress if you need to do so.
                    Traffic Flow Snapshots— Load or save a snapshot (preserved views) of traffic flow.
                    Export Data—Lets you export the data in the current view to a file. You can either save the
                        current view to a PDF file or export the data to a CSV file. If you select Export to PDF, the
                        resulting file will show a screen shot of the graph and the chart as shown on the screen. If you
                        select Export to CSV, the resulting file will contain the data points for the time-slice data in
                        the graph shown on the screen. The exception to this is if you are viewing a pie chart - in




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                      which case there is no time-slice data and the file will instead contain the same aggregate data
                      as shown in the chart that appears on the screen below the graph. You can retrieve the
                      generated file in the My Alerts area at the lower left corner of the portal.

                      NOTE:
                      When you export a line graph to CSV, the resulting file will have the times (minute-by-minute, hourly, etc.)
                      in the header row, but the spreadsheet program you are using (i.e. Microsoft Excel) will apply default
                      formatting to these values. You can apply your own custom formatting as needed.

                      NOTE:
                      The Export to PDF menu item is not available when canvas based line charts are enabled. If you need to
                      use this feature turn off Canvas Line Charts in the Application Settings.
               Settings—Allows you configure the way OpenManage NMr stores and queries traffic flow data.
                    You can configure how to retain data, based on collection/rollup intervals.
               Below the title bar a navigation bar displays the context path. See Drill Down on page 540 below,
               for more about this.
               Below that navigation bar a row containing the following controls appear:
               Entity Type—Selects the type of entity to report on (Exporters by Equipment Manager, Exporters
                    by Subcomponent, Applications, Conversations, End points, Senders, Receivers, Autonomous
                    Systems, and Protocol).
               Attribute—Selects which attribute to graph (Bytes, Packets, Bits/Sec).
               Refresh—Refreshes the screen (runs the report) applying any new settings.

                      NOTE:
                      You can check/uncheck by clicking on the colored squares in the legend below these graphs. This
                      reveals/conceals lines connected to the labelled item.




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          Drill Down
                    you can “drill down” into a report by clicking on one of the links in the table. This displays a detail
                    view of the selected entity and the name of the entity appears in the navigation bar.




                    When a detail view appears, the entity type appears as in the title bar. You can change to a “Top/
                    Bottom n” report of a different type, then click refresh to display a report of the top entities that
                    apply to the current detailed entity. Each time you click into the detail view for an entity, this adds
                    the entity to the context, so that the report is generated by applying all of the filters that have been
                    added to the context.
                    When you add an entity to the context, there will be fewer entity types available in the drop down
                    list. For example, if you start from Exporters by Equipment Manager and then click on the name of
                    an equipment manager in the list, this will then add this entity to the context. If you then change
                    the entity type to Exporters by Subcomponent, then only the subcomponents within this
                    equipment manager that are also flow exporters will be shown. Keep in mind that you might have
                    to change the flow direction option to "Both Ingress and Egress" for all possible subcomponents to
                    show in this view. You could then change the entity type to another available option such as
                    Applications, Protocols, etc. for a more detailed look at what flows are going through the selected
                    exporter. Another way of drilling down is to start with something other than an exporter, such as
                    Senders, Receivers, etc. and clicking into the detail view for a specific entity that is shown in that
                    view. There are many permutations of drilling down into different entity types that will work to
                    show exactly what you are interested in. This process can continue until the Conversation Detail
                    view is reached. This is the end of the line for drilling down.
                    You can return to the Home context (in which no entity is selected and all data is available and no
                    "drill down" options have been added to the list) at any point by clicking the house icon to in the
                    upper left, to the left side of the "drill down" list.




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       Search
               Search by clicking on the Search (magnifying glass) icon in the title bar. Type any string in the next
               screen to search through the traffic data. A list of all entities found matching the string appears
               below it.




               Entity found in the search support the following actions:
               View Top Conversations— Displays the top n conversations for the selected entity.
               Show Detail View— Displays a top level detail view of the selected entity.
               Add to Current View—Adds the entity to the current view and drills down to it.
               Edit — Allows you to edit information about the entity. This is currently only supported for
                    applications. If you click this icon then another screen will be shown that allows you to edit
                    the name and/or the keywords of the application.




               This is useful if you have a custom application that has traffic flow data associated with it. By
               default, the names for such applications has the format "(protocol name) port: (port number)". For
               example "UDP port: 5001". If it is the case that you see an application entry that has this default




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                    name or has the wrong name and you would like to change it, you can do so through this screen.
                    Also you can enter keywords that will help with future searches. Click Apply to save the changes
                    and return to the search screen.

                          NOTE:
                           The Settings button (the gear in the upper right corner) lets you confine the search by types (All,
                           Applications, Protocols, Autonomous Systems, Endpoints)). Note that you cannot search by exporters
                           through this screen. If you select one of the two items for exporters in from the entity type drop down list,
                           then this will show a paginated list of all exporters (by equipment manager or by subcomponent,
                           depending on which item was selected). If you want to search for a specific exporter by equipment
                           manager, then you can go to the Managed Resources portlet and use its built-in searching capability and
                           then use the menu item to Show Traffic as Exporter. Likewise if you want to search for a specific
                           exporter by subcomponent, then you can go to either the Ports or Interfaces portlet (both are different
                           types of subcomponents) and also use its search capability and menu item to Show Traffic for the
                           subcomponent entity.


          Traffic Flow Snapshot
                    This portlet lets you display Traffic Flow you configure and save as a snapshot in a portlet visible on
                    any OpenManage NMr page. It is, in effect, a portlet that permanently displays the Expanded
                    Traffic Flow Portlet, beginning with the selected snapshot.




                    After adding this portlet to a page, use the selector to choose which snapshot you want to appear.
                    Refresh the portlet with the double arrows to the right of the units displayed. You can also change
                    what appears, the units, the time interval, and so on, just as described in Expanded Traffic Flow
                    Portlet on page 536.

          Settings
                    You can edit the configuration options by clicking on the Settings (wrench) icon.
                    Several of the fields shown on this screen are for the number of days to keep each granularity of
                    traffic flow data. Initially, all traffic flows are associated with a specific minute and thus become 1
                    minute data in the database. These flows then aggregate (rollup) to larger degrees of granularity. 1
                    minute data aggregates to 10-minute intervals, which aggregate to hourly, which aggregate to daily,




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               which aggregate to weekly data. It is important to consider how long you need to keep each
               granularity of data and to set the values accordingly. If you are saving data for longer than you need
               it, then this can fill up your database.
               On this screen there are also fields that help you optimize queries. You can set the maximum
               number of rows per rollup table, which can be helpful for improving query performance. Also you
               can determine whether or not the queries should use the cache tables. Using cache tables is faster,
               but there is a possibility that not all of the detailed flow data is in the cache tables, so it is
               sometimes helpful to un-check this box, which will use the raw data tables instead.




               Sometimes the volume of traffic flow data collected from the exporters can overwhelm the
               database. OpenManage NMr collects traffic flow packets (sFlow, NetFlow, IPFIX) from the
               registered exporters and aggregates the data into 1-minute flows differentiated by exporter,
               protocol, application, and conversation (including sender and receiver for both IP and autonomous
               system). Every minute, these flow records are inserted into the database. The number of distinct
               flows, differentiated by each of these fields, can sometimes add up to more row inserts than the
               database can handle in a single minute. In such cases, the only way for the system to function is for
               it to only insert the conversation-based flows that are the most significant (highest byte totals) and
               allow for the less significant flows (low byte totals) to be aggregated into a single flow that
               represents all other conversations.
               This can be done through the “Max Conversational Flows Per Minute” feature. This feature is
               disabled by default, but if enabled it will reduce the number of inserts to the database per minute
               while preserving the most significant flows and also while preserving the overall byte and packet
               totals. What this means is that if you enter a number for “Max Conversational Flows Per Minute”
               then you are configuring OpenManage NMr to keep that many flows per minute. So this many
               flows will be inserted into the database as differentiated by exporter (by equipment manager and by
               subcomponent), protocol, application and conversation (sender and receiver) but any flow above
               this number will lose their conversation data and will only be differentiated by the other three fields
               (exporter, protocol, and application). It does this by first ranking all flows by estimated total bytes
               and then taking the highest N and inserting each of these into the database as they were reported
               by the device. The rest of the flows are then aggregated into the “Other” category and inserted into
               the database.
               For example flows with estimated total values of 3, 15, 44, 89, 248, 510, 746, 1038, 4313, and 9755
               and "Max Conversational Flows Per Minute" of 5 would find the top 5 to be 510, 746, 1038, 4313,
               and 9755. These flows would have their sender and receiver data (IP and AS) saved in the DB but




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                    the values 3, 15, 44, 89, and 248 would be added together into the "Other" category, but their
                    protocol, application, and exporter data would be preserved. So these smaller flows would only
                    actually be aggregated if they were all for the same exporter, protocol and application.
                    To enable this feature, enter a value for Max Conversational Flows Per Minute. Enter the highest
                    number of conversational flows that you believe your system is capable of handling per minute.
                    Note that a value of 0 disables this feature so that everything will be processed.

          Domain Name Resolution
                    Initially the Name column of senders, receivers, endpoints and conversations shows the IP address.
                    There is a task that is configured to execute periodically to resolve these IP addresses to domain
                    names. This works as long as a DNS server is available within the network. When an IP address is
                    resolved to a domain name, this name is shown in the Name column when viewing senders,
                    receivers, endpoints and conversations. By default, this task executes every 24 hours. To configure
                    how this task is executed, navigate to the Schedules portlet and search for an item where the
                    description contains the text "Resolve hostnames using DNS". From here you can edit the
                    frequency of the execution of this task and you can also disable this feature if you wish.
                    There is also an option to perform this DNS lookup for public IP addresses but to exclude private
                    IP addresses. To disable private IP DNS resolution while keeping this feature enabled for public IP
                    addresses, add the following line to installed.properties and restart the application server:
                    NetFlowRetentionMBean.EnabledPrivateIPDNSLookup=false
                    You can also manually execute this task by navigating to the Actions portlet and searching for an
                    item where the name contains "Resolve DNS Hostnames". From here you can execute this action
                    on demand rather than waiting for the scheduled task to execute. When you execute this task
                    manually, you have the option to re-do the DNS resolution for all endpoints, including those that
                    were previously resolved. Caution: Executing this action with this option selected can be very time
                    consuming and resource intensive.

          Resolving Autonomous System (AS) Numbers
                    OpenManage NMr provides local resolution of autonomous system numbers (ASN) based on static
                    mapping of AS number registrations and it also performs remote resolution of these names for AS
                    numbers that are not in the local file. It also supports user overrides of the default AS number to
                    name mappings. To do this, configure properties you can find in the
                    \owareapps\trafficanalyzer\lib\ta.properties file. Remember, best practice is to override properties as
                    described in Overriding Properties on page {page }.




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Traffic Flow Analyzer - Example
                 The following describes typical situations where flow is useful. When ports are over-utilized
                 because of intermittent performance problems diagnosis of the problem sometimes difficult. Turn
                 on flow traffic data collection to evaluate who, what applications, and so on, are responsible for the
                 traffic on the affected ports. This avoids getting overwhelmed with collection of traffic going in all
                 directions. Follow these steps to do this:
                   1   From the Resources monitor, select a desired device that has support for NetFlow/IPFIX/
                       sFlow
                   2   Enable NetFlow/sFlow on most impacted devices that support NetFlow/IPFIX/sFlow. Also,
                       register a number of exporters to enable an efficient and scalable data collection environment.

                       NOTE:
                       You can disable NetFlow/sFlow and unregister exporters.
                   3   After NetFlow/IPFIX/sFlow has been running for a while, verify that bandwidth utilization is
                       within expectation. This will help insure optimum performance of critical business
                       applications.
                   4   Select the Top 5 Applications portlet (or add it to the page).
                   5   From the list of the Top 5 Applications, you’ll typically see most bandwidth is being
                       consumed by the key applications in our organization.
                 Alternative 1
                   6   To ensure bandwidth is not being hijacked by unauthorized or unwanted video or music
                       streaming applications, select the Top 5 Conversations.
                   7   Often the top conversation is video streaming software.
                   8   To answer “Where and who is running this rogue application?,” drill down into the
                       conversation to see End points involved in the conversation. This identifies the user running
                       the streaming application. You could now go and stop (or block) this rogue application.
                 Alternative 2
                 An alarm indicates port X is surpassing its threshold. If the port has become a bottleneck in the
                 overall network bandwidth, we want to identify what applications are at cause, and who is
                 responsible for running them.
                   1   Look in the Top 5 Traffic Flow Endpoints portlet.
                   2   From the list of the Top 5 Endpoints, you will typically see that port X is high on the list.
                   3   Expand the portlet and drill down into the port X endpoint to see what are the top
                       conversations going through port X.
                   4   Drill down into conversations to identify any unauthorized applications.
                   5   Drill down further to identify users of any unauthorized applications
                   6   Now, go stop them!


        How To:
Create a Traffic Flow Report
                 You can create reports based on traffic flow data.




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Traffic Flow Analyzer - Example | Traffic Flow Analyzer


                     1   Create a new Report Template by right-clicking the Report Templates portlet, selecting New
                         > Table Template.
                     2   Name the report (here: Test Traffic Flow Applications Report).
                     3   Select a source in the Source tab. Here: Traffic Flow Analyzer > Traffic Flow Exporter.
                     4   Notice that the Select your inventory columns panel displays the attributes available based on
                         your traffic flow entity type selection.
                     5   Select Available columns and click the right arrow to move them to Selected. Follow these
                         guidelines:
                         • You should always select the entity name column (Exporter Name for the entity type
                           Traffic Flow Exporter, Application Name for the entity type Traffic Flow Application,
                           etc.) There are also certain entity type specific columns that provide context for the
                           entity that is being reported on. For example, Traffic Flow Autonomous System has an
                           available column for ASN and Traffic Flow Conversation has columns for A Endpoint
                           and Z Endpoint.
                         • Each template should be for either time-slice data (where the data values represent a
                           specific slice of time within the total time range of the report) or aggregate data (where
                           the data values represent sums or averages across the entire time range). Some
                           columns are appropriate for one of these but not the other.
                         • Templates for time-slice data should include the Time column and one or more time-
                           slice data columns, including Bytes, Packets, and Bits/Sec. For certain entity types the
                           available data columns might include the three of these aforementioned, with
                           directional orientation "In" and/or "Out" and perhaps also "Total", which is the "In" and
                           "Out" values added together.
                         • Templates for aggregate data should not include the time column because the time is
                           understood to be the total time range of the report. Also aggregate templates should
                           include one or more aggregate data column, which includes Bytes (sum), Packets
                           (sum), and Bits/Sec (avg). For certain entity types there might be directional ("In",
                           "Out", "Total") versions of these aggregate attributes.
                         • Note that time-slice templates should not include aggregate data columns, and
                           aggregate templates should not include time-slice data columns.
                     6   Arrange the columns and fonts as you like in the Layout tab.
                     7   Save the template.
                     8   Right-click, and select New in the Reports portlet.
                     9   Enter a Name and Title for the report.
                    10   Notice that since this is the first report created since you made the Test Traffic Flow
                         Applications Report template, that it is the Report Template already selected.
                    11   Select the desired filter conditions. Note that all traffic flow entity types have the same
                         available filter attributes. If a value is not selected for an attribute then a default value will be
                         used:
                         • Calculation Type defaults to Reported Sampled Values.
                         • Data Point Type defaults to Hourly.
                         • Report Limit defaults to 10. Note that only the Equals operator works for this filter
                           condition.
                         • Report Limit Type defaults to Top.
                         • Direction defaults to both Ingress and Egress.



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                      • Time defaults to Within Last 24 Hours. Note that the only comparison operators that
                        work for this filter conditions are Within Last, Is, Between, and After.
                      • Exporter Equipment Manager is not specified by default (meaning that data for all
                        exporters should be included), but this attribute can be used to filter by a specific
                        exporter by equipment manager (which includes all subcomponents).
                      • Exporter Subcomponent is also not specified by default (again this means that data for
                        all exporters should be included), but this attribute can be used to filter by a specific
                        exporter by subcomponent (port or interface).
               12     Test Traffic Flow Applications Report should appear in the Reports portlet.
               13     Right-click and select Execute (noticing that you can also schedule such reports, even
                      repeatedly).
               14     Click the magnifying glass to the right of the Report Completed message in My Alerts to see
                      the report.
               15     Hover your cursor over the lower right corner of the report to see a set of icons that let you
                      expand, zoom out and in, save, or print the report.

                      NOTE:
                      Traffic Flow Analyzer doesn't support comparison reporting.




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Traffic Flow Analysis Life Cycle | Traffic Flow Analyzer



Traffic Flow Analysis Life Cycle
                    The following diagrams OpenManage NMr’s Traffic Flow Analysis life cycle




                    Traffic Flow Analysis Life cycle Legend
                      1   NetFlow/IPFIX packet received— OpenManage NMr received a NetFlow or IPFIX packet
                          from a registered exporter. OpenManage NMr ignores NetFlow packets from devices not
                          registered as exporters.




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                2     Random sampler—OpenManage NMr applies random sampling to incoming packets. This
                      currently applies only to NetFlow or IPFIX packets and not sFlow packets. The
                      NetFlowListenerMBean attribute SamplingRate (1 by default) determines this
                      behavior.
                      This value represents the average number of packets received before one is processed (the
                      others are discarded). If SamplingRate is 10, then OpenManage NMr processes one of
                      every 10 packets on average and discards the other nine. The default processes every received
                      packet and does not discard any (at this step).
                3     Parse header—OpenManage NMr parses the NetFlow or IPFIX packet header. The header
                      contains information like its version and the number of flows it contains.
                4     NetFlow version?— Determines the packet version (NetFlow V5 or V9 or IPFIX).
                5     Parse fields—Fields for a NetFlow V5 packet are determined by a standard template and
                      parsed here.
                6     Parse templates—For NetFlow V9 or IPFIX packets OpenManage NMr must find the
                      template that the packet header references. OpenManage NMr receives templates as NetFlow
                      or IPFIX packets from the same exporter sending flow packets. If OpenManage NMr has not
                      yet received the referenced packet yet then it sets the current flow packet aside until the
                      template comes in. When that template comes in, it is parsed (there is a standard format for
                      template packets) and then TFA will know how to parse the flow packets that reference it.
                7     Parse fields—OpenManage NMr parses the fields of this flow packet using the header-
                      referenced template.
                8     sFlow packet received— OpenManage NMr received an sFlow packet from a registered
                      exporter. OpenManage NMr ignores sFlow packets received from devices not registered.
                9     Parse header—OpenManage NMr parses the header of the sFlow packet. The header
                      contains information like the version and the number of flows contained within the packet.
               10     Parse fields—OpenManage NMr parses the fields of this packet according to the standard
                      sFlow template.
               11     Convert data to protocol independent flow record—TFA supports multiple traffic flow
                      protocols (NetFlow, sFlow) but once OpenManage NMr parses the data within these packets,
                      it does not depend on any specific protocol. Here, OpenManage NMr normalizes data into
                      protocol-independent flow records.
               12     “Top N to Keep” filtering—OpenManage NMr applies the “Top N to Keep” filtering here.
                      This feature lets you set a maximum number of conversational flows per minute to keep,
                      which in turn means that if OpenManage NMr receives more than this number in any given
                      one minute period, then it aggregates the rest into the “Other” category. OpenManage NMr
                      ranks the received flows according to the number of estimated total bytes they report on and
                      preserves all data only for the flows designated most significant by this measurement. It still
                      preserves the total byte and packet data for the less significant flows, but the sender and
                      receiver will be set to "Other".
               13     One minute rollup— OpenManage NMr collects and “rolls up” (aggregates) flows by
                      conversation and at the end of every minute submits the resulting one minute rollup flows for
                      further processing.
               14     Post batch of flows to the application server—Most of this processing occurs in the
                      mediation server (process or host). Once OpenManage NMr produces the normalized,
                      protocol-independent flows, it adds them to a queue the mediation server posts to the




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                          application server. Once the application server receives these results, it inserts them into the
                          database for later querying. You can monitor this queue through the JMX console > oware >
                          service=NetFlowListenerMBean and the operation getQueueCount.
                     15   Receive flows— The application server receives flows from the mediation server.
                     16   Update control records—Every flow refers to control data, which includes the IP address of
                          the sender and receiver, the AS number of the sender and receiver, the protocol and the
                          application. OpenManage NMr updates the associated database records here.
                     17   Insert one minute rollup records—OpenManage NMr inserts the one minute rollup flows
                          into the database so they can be queried later.
                     18   Compute larger rollup data—The one minute rollup records contribute to larger rollup
                          records, including those representing 10 minute, hourly, daily and weekly time intervals. At
                          the end of every time interval TFA computes the appropriate rollup records.
                     19   Compute cache data—Sometimes the volume of data can be so high that queries
                          summarizing it can take several minutes. To make querying more efficient, OpenManage
                          NMr summarizes the data ahead of time and caches the results in the database.
                     20   Done— Done processing new traffic flow data.
                     21   Apply retention policies —Apply retention policies to add new rollup tables and/or drop old
                          rollup tables.
                     22   Create new rollup tables—OpenManage NMr creates new rollup tables as necessary
                          according to the settings in NetFlowRetentionMBean as specified in the attributes
                          rolloverFrequencyValue1Min, rolloverFrequencyValue10Min, rolloverFrequencyValueHourly,
                          rolloverFrequencyValueDaily and rolloverFrequencyValueWeekly.
                     23   Drop old rollup tables—The old rollup tables are dropped as necessary according to the data
                          retention settings that can be edited by clicking on the wrench icon from the expanded TFA
                          portlet.
                     24   Done— Done applying retention policies.




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                                            Best Practices: Performance Tuning Traffic Flow Analysis | Traffic Flow Analyzer



Best Practices: Performance Tuning Traffic Flow Analysis
               Most OpenManage NMr packages limit Traffic Flow exporters through licensing, however be aware
               that even small numbers of traffic flow exporters may overwhelm hardware resources. For example
               even if you monitor as few as one to five nodes export data with a very high sampling rate and have
               high traffic volumes, the amount of data that needs to be inserted into the database may quickly
               exceed the insertion rate capacity of a single 7200 RPM disc. The performance limitation imposed
               by the demands of Traffic Flow Analysis is one motivation to tailor monitored flows to fit within
               the limits of your hardware.
               You may also need to edit or fine-tune several default configurations to accommodate the volume
               of traffic flow data exported from the managed devices and to manage the resources (processing
               power, total memory) available to OpenManage NMr.
               XML and properties files in /owareapps/trafficanalyzer/server/conf/ contain these
               configuration settings. The ta-service.xml configures standalone environments, ta-med-
               service.xml configures distributed environments, and for additional configuration, edit
               ta.properties. Any edits requires an application server and/or mediation server restart to take
               effect.

                      NOTE:
                      Best practice: Contact Dell EMC support for assistance before editing these files.
               In ta-service.xml and ta-med-service.xml, you can edit the entry for the
               NetFlowListenerMBean, like the following:
                      <mbean code="com.dorado.netflow.NetFlowListenerMBean"
                       name="oware:service=NetFlowListenerMBean">
                        <attribute name="ReceiverUDPPort">9996</attribute>                         <!-- # NetFlow UDP
                        port -->
                        <attribute name="ReceiverTopNToKeep">0</attribute>                         <!-- Number of rows
                        per time bucket to keep -->
                        <attribute name="RecvQueueMaxSize">10000</attribute>                          <!-- # unparsed
                        packets -->
                        <attribute name="RecvQueueLowThreshold">80</attribute>                             <!-- Low
                        threshold for packet queue as pct -->
                        <attribute name="UnparsedMaxSize">10000</attribute>                         <!-- # unparsed v9
                        flows entries waiting on template -->
                        <attribute name="TransportBatchSize">1000</attribute>                          <!-- # NetFlow
                        values (inserts) and session summaries (updates) -->
                        <attribute name="TransportBatchTimeout">10000</attribute>                            <!--
                        milliseconds -->
                        <attribute name="SpoolQueueMaxSize">10000</attribute>                          <!-- # NetFlow
                        session results -->
                        <attribute name="SpoolBatchSize">50</attribute> <!-- # NetFlow session
                        results flushed at a time to disk during overflow -->
                        <attribute name="SpoolFileBufferSize">131072</attribute>                             <!-- # bytes
                        for I/O buffer -->
                        <attribute name="SpoolFileName">@OWARE_USER_ROOT@/owareapps/
                        trafficanalyzer/temp/tadata_spool.dat</attribute>
                        <attribute name="SpoolMaxFileSize">41943040</attribute>                             <!-- # bytes
                        for disk allocation -->




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                           <attribute name="EnabledDNSLookup">true</attribute>                           <!--#Enabed DNS
                           lookup-->
                           <attribute name="SamplingRate">1</attribute>                        <!-- #Sampling Rate-->
                           <depends>oware:service=NotificationProcessingMBean</depends>
                           <depends>oware:service=HAServiceController</depends>
                           <depends>oware:service=ClusterPrimaryDesignator</depends>
                           <depends>jboss.j2ee:jndiName=RuleEngine,service=EJB </depends>
                         </mbean>

                            CAUTION:
                         Changes to this file do not persist if you upgrade. Best practice is to save a copy of the file elsewhere,
                         and re-copy it into the correct location after upgrading.
                   Using random sampling to deal with high-volume scenarios
                   If the volume of incoming traffic flow data is beyond what can be processed, you can tune displays
                   to optimize samplingRate. The sampling rate determines processing speed for incoming NetFlow
                   packets (this does not apply to sFlow packets). The sampling rate should be 1 if you want to try to
                   process everything. If the system is unable to keep up, then set this parameter higher, for example:
                   10, and restart the server. This makes OpenManage NMr process only 1 out of every 10 incoming
                   NetFlow packet, at random. The object is to find the lowest value for this attribute that still allows
                   the system to fully process all records that it tries to process.
                   To enable this feature, add the following like to installed.properties with your chosen value of N to
                   the right of the equals sign and the restart the application server:
                   NetFlowListenerMBean.SamplingRate=
                   Advanced Performance Tuning
                   You might need to add entries to installed.properties to override the following system properties:
                   NetFlowListenerMBean. SpoolQueueMaxSize—The maximum number of traffic flow records
                       storable in the spool queue during internal processing. Such processing occurs after
                       OpenManage NMr receives them from the exporter and before they are saved to the database.
                       OpenManage NMr temporarily stores such records in the spool queue if Traffic Flow Analysis
                       receives more traffic flow packets from the exporter than it can process at once. This allows
                       Traffic Flow Analysis process these records later, packets arrive more slowly. If packets
                       consistently arrive at a faster rate than OpenManage NMr can process them, the spool queue
                       fills up and Traffic Flow Analysis discards them without processing.
                   ta.ThreadPoolSize — The default number of threads working to process traffic flow data.
                   ta.MaxThreadPoolSize — The maximum number of threads working to process traffic flow data.
                   Traffic Flow Database Advice
                   Traffic flow records average 300 bytes. Retention policies determine how long they stay in your
                   database. So 1 minute flows, retained for 48 hours, 50% correlated (Correlation factors indicate the
                   percentage of flows across all one minute buckets being aggregated that correlate based on
                   conversation key data), mean 2.7 million flows per interval. If your retention keeps these 48 hours,
                   then there are 2,880 retained intervals, and 7,776,000,000 potential rows. These rows times the 300
                   byte record size equal 2,173G in space, and 45,000 inserts per second. Typically, retention is for 1
                   minute, 10 minute, hourly, daily and weekly intervals, so for an overall picture of database needs,
                   you would need to add all these intervals.




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               See Understanding Performance Monitoring on page 361 for more about calculating database
               space and hardware and tuning monitored data.
               Traffic Flow Limitations
                •     If you receive no endpoint flow data, the Traffic Flow Analysis form appears empty when you
                      select endpoints. Make sure you are receiving flow data before concluding the device or
                      OpenManage NMr is defective.
                •     The flows received are just samples, and consequently are only as accurate as the polling
                      interval and size of the flows sent. Fewer polling and smaller packets mean less accuracy. For
                      example If you only get 1 packet over the course of a file FTP it will not show the entire file
                      size.




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                                                                         11
Actions and Adaptive CLI
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Actions and Adaptive CLI Overview | Actions and Adaptive CLI



Actions and Adaptive CLI Overview
                   The Actions Manager lets you manage actions like enabling monitors, file backups, resyncs and so
                   on. These actions are typically limited in scope, and not that complex. On the other hand, it also
                   manages Adaptive CLI (command-line interface) commands to run against devices which can be
                   complex.
                   These commands amount to “mini-scripts” to query and configure those devices. In it, you can
                   create commands to run against devices after the device driver has opened a connection to the
                   devices. The driver handles logins, and general connection management. You can even initiate
                   these actions with the application’s actions that target groups (see Discover Links for a Group of
                   Devices, for example)—although if you delete a target group, such operations fail. Many drivers
                   seed pre-configured command that appear listed when you first open this manager. For a brief
                   overview of creating and using these, see Creating Adaptive CLI (Examples) on page 591.
                   Adaptive CLI’s Attributes capabilities let you insert variables in scripts. See Attributes on page 565
                   for the details. You can also assemble configurations made here as component Tasks to execute
                   with other component Tasks. You can even use this capability to include Perl scripts within
                   OpenManage NM. See Perl Scripts on page 590.

                        NOTE:
                         You can have Actions maintain lists like ACLs, and when these change, in the Adaptive CLI script, push
                         the updated list out to the appropriate devices.
                   Adaptive CLI commands let you map several vendor-specific commands to a single action, so you
                   could, for example, query two types of devices throughout the network for their MAC addresses
                   with a single action. Adaptive CLI actions can also help you debug more complex scripts that either
                   query or configure devices.
                   The Adaptive CLI manager displays a list of Configure and Show commands (the Command Type)
                   with a Name, Description and the Last Run Date. You can filter what appears in this manager with
                   the fields at its top.

                        NOTE:
                         The Action portlet contents vary, depending on the installed options in your package.

                            CAUTION:
                         Particularly for Adaptive CLI, and possibly for other OpenManage NM capabilities, the level of access to
                         devices must match the desired effect. If OpenManage NM’s login to a device permits only read access,
                         then Adaptive CLI configuration commands which require write capabilities will not be effective.


         Using Adaptive CLI
                   You can quickly take a set of commands or configuration file snippet from a device, copy it directly
                   into the Script editor, mark it up, and save it as a working CLI.
                   When using the CLI Format, The Adaptive CLI tool will prompt you to create new attributes
                   based upon your script markup. This lets you quickly create a script and schema to create an ACLI.
                   If you have attributes that are mainly simple String attributes, this is a very quick and automated
                   approach.




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       Using Perl in Adaptive CLI
               If you need conditional logic that goes beyond simple scripting, you can use Perl in Adaptive CLI.
               The example below checks to see if a String Attribute is empty (null) or not. If the String attribute
               (ShowCmdString) has content, the show command with ShowCmdString as a parameter goes
               to the device. Otherwise, the Perl script skips or excludes this statement.
               Embedded CLI Example:
                      [IF ShowCmdString]
                          Show [ShowCmdString]
                      [ENDIF ShowCmdString]
               You could use the CLI format for the above example, but if you need to check attributes of other
               types, besides String, then you must switch to Perl. For example:
               Boolean myFlag equals True:
                      if ($myFlag)
                      {
                             …
                      }
               Integer myInt greater than zero:
               Example:
                      if ($myInt > 0)
                      {
                             …
                      }
               To check whether a string is a particular value—like from a valid values list entry assigned to the
               String attribute—then you must also use Perl. The CLI format only can test if the String exists. It
               cannot validate its value when populated. For example: EncapsulationType = “VLAN-CCC”,
               “VLAN-TCC”, … You can not do this check with the CLI Format: [IF EncapsulationType =
               “VLAN-TCC”]. Instead, use a Perl script with a statement like this:
                      If ($EncapsulationType        eq    “VLAN-TCC”)
                      {
                             print “set encapsulation $EncapsulationType\n”;
                      }
               If any attributes in your script are a List (Collection), the only way to loop through the list’s items
               during the Adaptive CLI execution is to use Perl. For example: Processing a List of Strings:
                      $count = 0;
                      foreach @MyCommandList)
                      {
                           print (“$MyCommandList[$count]\n”);
                           $count++
                      }




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Actions Portlet
                    The Actions Portlet lets you manage actions like Adaptive CLI, backups, change management
                    actions, and so on. The list of actions available to your system depends on the exact configuration
                    you have installed. This portlet is the primary access point for Adaptive CLI editing.




                    The summary portlet displays columns with the Name, Family, and Target Entity Type for the listed
                    Action. The Family column describes the type of Action. Right-click and select New > Adaptive
                    CLI to create a new action. You can also import/export actions and share actions with other users
                    on your system.

                             CAUTION:
                          For Adaptive CLI to be fully functional, you may need to install it on your servers. Refer to the
                          OpenManage NM Installation Guide for Perl installation instructions.
                    To configure and schedule groups of actions, right-click in the Schedules portlet, and create an
                    Action Group. This lets you run several actions, and configure their order and targets.




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               Expanded Actions Portlet
               The expanded portlet has the same right-click menu as the summary portlet, and adds columns for
               Description, Last Web Service ID, Access Level, Web Service Deployment, and Supports Groups.




               The expanded portlet also has snap panels to display Reference Tree connections between the
               selection and other elements within OpenManage NM, as well as an Execution History panel
               listing Device Name(s), Execution Date and Status for the selected Action, and a Scheduled
               Actions panel cataloging any Schedules for the selected Action. Right-click a Schedule to edit,
               execute or delete it.
               The Execution History snap panel displays history by device. Right-click to see the details of what
               occurred when the selected action ran against a particular device (Execution Details).




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                    The Execution Details panel displays tabs showing the Results of running an Adaptive CLI, and
                    the Sent Commands.
                    You can also View Job to see a screen like the Audit Trail Portlet on page 154, or Delete to remove a
                    listed Action record from the list.
                    Right-click menus on the Actions portlet can include the following items (these vary, depending on
                    the Action’s family):
                    New/Edit —Lets you create or modify a selected action in the Adaptive CLI Editor, described
                        below. You cannot modify system-supplied Adaptive CLIs, but you can edit any that you
                        create.
                    Execute— Execute the selected Action. This typically displays a target equipment selector screen,
                        and a screen where you can configure any parameters necessary for execution, then a screen
                        like the Audit Trail Portlet on page 154. OpenManage NM validates the parameters before
                        executing the Adaptive CLI. If a parameter is invalid, for example a blank community name
                        in the Juniper Community Adaptive CLI, OpenManage NM logs a validation error to the
                        audit trail. In this case the Adaptive CLI is not executed and leaves behind no history record.
                          Some Adaptive CLI scripts also let you Preview what is sent the device in a subsequent screen.
                          This does not appear in the execution of Targetless, and Multi-target Adaptive CLIs. Some
                          actions are configured to target groups, too.
                    Details—Opens a screen displaying the Reference Tree, Execution History, and Action Details for
                        the selected Action.
                    Web Services— You can elect to Deploy/Undeploy or Export WSDL to create a web service from
                        the selected Action.
                          Deploy/Undeploy Web Service–Deploy or undeploy the selected activity as a web service. See
                          Web Service Deployment Features on page 619 for more. Refer to the Web Services Guide
                          for detailed information.
                          Export WSDL–This exports the WSDL for the selected activity. You must select the file
                          name and location. Web Services Description Language (WSDL) is an XML format for the
                          description of network services as a set of endpoints operating on messages containing either
                          document-oriented or procedure-oriented information. See Web Service Deployment
                          Features on page 619 for more.




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               History—Displays the history of the selected action.




                      In the Results (top of screen panel) click to select the device for which you want additional
                      information, and the Execution Details panel displays the Results of execution in one tab and
                      the Sent Commands in another.
                      Notice that you can Find text within a result (click Go to repeat the find). You can also see the
                      bottom panel if you right-click a single execution within the Execution History snap panel in
                      the Expanded Actions Portlet.




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                          If you select two executions in the top panel (or in the Execution History snap panel and
                          right-click), a comparison appears.




                          This has the same color coding as you would see comparing configuration files. Lines that
                          differ between the two Adaptive CLI results appear highlighted green. Lines that are missing
                          in one, but that appear in another appear highlighted red. Added lines appear highlighted in
                          yellow. Use the right/left arrows or the page numbers at the bottom of the screen to page
                          through the side-by-side comparison.
                    Audit— Opens an Audit Trail Viewer for the selected Action. See Audit Trail Portlet on page 154
                        for details.
                    Show Last Results—Show the last execution details (like history for a single run).
                    Schedule—Schedule the selected Action. See Scheduling Actions on page 606 for details.
                    Delete—Remove the selected Action from the list.
                    Import/Export— Import or Export a file representations of the ACLI action selected. Best practice
                        is to export single actions, or actions that share a Schema, rather than exporting all actions at
                        once.
                          If you have multiple ACLIs sharing the same Schema, and change that Schema best practice
                          is to retest the other ACLIs using that schema to ensure no unintended side effects occur.




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       Adaptive CLI Editor
               This editor creates new Adaptive CLIs When you click New, or Edit after, selecting an existing
               command, the command editor screen opens. You can create Configure Commands, External
               Commands, and Show Commands.




               The editor screen has the following tabs (the ones that appear depend on the type of command you
               are editing):
                •     General
                •     Attributes
                •     Scripts
               The Adaptive CLI Manager logs into devices in enable mode by default. For most configuration
               commands (and even some show commands), you must typically first set the device to its
               configuration mode. For example: The first Adaptive CLI Manager command must be config t
               (Juniper E-Series) or edit (Juniper M/T series) to initiate the router's config/edit mode.
               OpenManage NM also validates entries. If saving fails, a red “X” appears next to required omitted
               entries.
               Click Save to preserve the Adaptive CLI you have configured. Clicking Close does not save your
               configuration.

       General
               The following are parameters to configure in this panel:
               Name— A unique identifier for this action. For example: “Retrieve MyDevice MAC addresses.”
                      For a new action to appear on the right-click Action menu, begin its name with the vendor
                      name. For example, Force10-showversion would appear under Actions in that menu.
                      Otherwise, it appears under and Adaptive CLI classification.
               Description— A text description of the action.




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                    Type—Select a type from the pick list (CLI Configure Command, External Executable, Config
                        File Generation or CLI Show Command).
                          The External Executable command refers to a script. Making this an ACLI means
                          OpenManage NM can schedule such scripts or include them in a workflow. See External
                          Executable on page 582 for more about these.

                         NOTE:
                          You can use OpenManage NM’s optional Proscan policies to scan the results of Adaptive CLI show
                          commands for compliance, and trigger actions (alarms, e-mail, and so on) based on their contents. See
                          Change Management and Compliance.
                          See How to: Use Config File Generation on page 578 for more about that.
                    Target Type— Select a type of target from the pick list (Card, Equipment and Subcomponents,
                         Interfaces, Managed Devices, Ports). Adaptive CLI targets can also be None (Targetless). On
                         execution, if you create an Adaptive CLI type with port target, then the selection view panel
                         lets you choose ports. When the Adaptive CLI type is External then Target Type can be None;
                         otherwise it is not an option
                          If you want the target to be a OpenManage NM group after you right-click an Adaptive CLI,
                          and select Execute, select (Group Membership) in the target selector filter. Click the icon to
                          the left of the Go button, and to the right of the empty field to see available groups. Select
                          the group(s), and click Done. Click the Go button. Control click if you want a subset of the
                          group’s devices, or simply click Add All and then click Done.
                    Export File Location—This is a file name and path (C:\mypath\myfile.txt) where you
                        elect to store the result of an adaptive CLI execution. You must specify an extension for the
                        file, and may specify the variable $IPAddress in the filename for pattern substitution.
                    Overwrite on Export—Check to overwrite the result file. This overwrites any existing results file
                        with new results (if checked). If it is unchecked, any new results append to the exported file,
                        with a time/date stamp and target-identifying information.
                    Is Batch Execution Enabled—Check to allow consolidation of related Adaptive CLI scripts,
                         provided the associated device driver supports such consolidation when provisioning a service.
                         (Currently supported by the Juniper JUNOS driver only.)
                          Batching is valuable for instances like the following: if an Adaptive CLI-provisioned service
                          has 10 sub-services, OpenManage NM runs commands for the first service, then if it’s
                          successful, commits, and logs off. Then OpenManage NM repeats this procedure nine times
                          more, logging on, committing and logging off for each command. If batching is turned on,
                          then OpenManage NM sends the 10 Adaptive CLIs to the device as a single unit before
                          committing and logging off. (This logic does not apply if you are running a procedure against
                          10 devices.)
                          Batching is best practice for Juniper devices, since if one line of a command fails, the device
                          rolls back the entire block of commands. Cisco devices typically skip and do not commit
                          failing lines.
                    Last Executed On—Displays the last execution date. This is blank for new Adaptive CLIs.
                    Action Associations
                    Click the Add button to add associations to vendors and device models. For example, you can
                    confine an Adaptive CLI to Dell devices, even to certain Dell models. When you right-click your
                    discovered Dell device in the Managed Resource portlet, the associated Adaptive CLIs appear
                    listed among the available actions you can request.




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       Attributes
               Adaptive CLI commands let you configure modifiable Attributes as part of the
               command you send to the selected equipment.




               Entity Type Settings
               Use the radio buttons to select from the following options:
                •     Do not use Parameter Schema
                •     Create a new Parameter Schema
                •     Use an existing Parameter Schema for this Adaptive CLI
               Sharing a schema rather than creating a new one with each Adaptive CLI lets you use the same
               attributes in complementary scripts. For example one script may create an entity, while another
               removes it. In this case, the valid values, labels, and so on for the attributes are always going to be
               the same in both create and delete Adaptive CLIs. This means sharing the same schema is both
               safe and easy. Either script can mark unused attributes as “Not applicable.”
               Do not use Parameter Schema
               This option does not save a set of standard attributes to re-use later. Go directly to the Scripts tab
               to create this type of Adaptive CLI.




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                    Create a new Parameter Schema
                    Click the New button and the schema screens appear.




                    Entity Type Settings
                    The Entity Type Settings tab has the following fields:
                    Entity Type Name—An identifier for the schema.
                    Description—A text description for the schema.
                    Category—A category for the schema.
                    Version— An automatically-created version number.




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               Attribute Settings
               Click the New Attribute button and select the attribute type and open editor panel and configure
               the attribute. Configured attributes appear in a tree to the left of the editor panel. Click a listed
               attribute to edit it after it has been created.




               The editor panel has the following fields:
               Label— An identifier for the attribute. These can have spaces, but not underscores, unless your
                   package is 7.2.3 or later, which supports both.
               Description— A text description for the attribute.
               The following tabs may appear, depending on the type of attribute you are configuring (some are
               absent). Additional fields may appear, depending on the attribute type you are configuring:
               Datatype Settings
               Default Value—An optional default value for the attribute.
               Collection Settings
               Is Collection?—Check to classify this attribute as a collection.
               Allow Duplicate Values— Check to enable allowing duplicates.
               Allow Reordering—Check to enable allowing reordering.
               Collection Min/Max Length— Enter the minimum/maximum number of characters in this
                    attribute.
               Properties
               Upper/Lower Case— Check to validate on case.




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                    Case Insensitive— Validation ignores case.
                    Multi Line Text—Check to enable multiline text.
                    One Way Encrypt—Check to encrypt.
                    Truncate—Truncate the attribute.
                    Attribute Settings
                    You can create new attribute schemas. See Attribute Editor Panels below for information about
                    different datatypes’ fields. Once you create a set of attributes, they remain available for re-use as a
                    schema, or collection of attributes. To identify schemas, enter the following fields:
                    Label—A unique, mandatory identifier for the collection of attributes.
                    Description—A text description of the entity.
                    Click New to create or select an attribute in the displayed tree and click Edit to open an editor
                    where you can create or modify attributes. Select an attribute and click Remove to delete it from
                    the list.
                    Attribute Editor Panels
                    The following panels appears, depending on the attribute type selected from the pick list. The
                    fields in the editor depend on this selection. Available types include Boolean, Coded Value, Date,
                    Decimal, IP Address, Integer, Long, Inventory Reference, and String. The following fields appear
                    for each of these types (omitting redundant fields):

                           NOTE:
                           Configure the data type of an attribute before you save a task. After attributes are in Scripts, you cannot
                           change the data type.
                    Boolean
                    Default Value—Check for True.
                    Coded Value
                    Default Coded Value— Enter the default coded value. If an attribute a Coded Value then enter
                        valid values in the format of NUMBER:Display Label. For example:
                           10:Hello World
                           20:Hello Moon
                           Without this pattern a validation error appears. Coded values become a Drop Down (Combo
                           Selection) at runtime containing the Display labels within it (like Hello World, Hello Moon).
                           Selecting one gives the script the numeric value (If users select Hello World, the value the
                           script gets is 10)
                           The default appears by default in this list of alternatives. Enter any other alternatives below
                           this field in the Valid Values.
                    Valid Values—Enter a valid value in the line above the table of valid values, then click the green +
                         to add the value entered to the list. Click the Remove icon (the red -) to delete a selected
                         value. These must be formatted like the Default Coded Value.
                    Date
                    Default Value—Enter a default date, or use date icon to display a calendar where you can select
                        one. Click off the calendar to make it disappear.




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               Valid Values—Enter valid date values above the list, and click the green plus to add them to the
                    list.
               Decimal
               Default Value—Enter a single or range of default decimal values.
               Constraints—Enter a range of acceptable numbers separated by a colon. For example, Constraints
                   = 2:4096. At runtime, a field where you can enter numbers. validates that entered numbers
                   are between 2 and 4096 when running the Adaptive CLI. If you enter a number outside this
                   range, a validation message appears and the attribute name turns red. You can also include
                   several numbers or ranges separated by the pipe (|) character. If you specify a range, the
                   lowest number must be to the left of the highest number. For example 9:99|999:1010.
               Valid Values—Enter valid decimal range values, and click the green + (the red - removes them).
                    You can manage these as described in Coded Value above.
               IP Address
               See also Validating IP Address Variables on page 570.
               Default Value—Enter a default IP Address.
               Valid Values—Enter valid values as described in Coded Value above. Check IP Mask, Subnet,
                    Allow 32 Bit Mask, and Allow Any Valid Ip in the Properties tab if you want the values
                    entered to be those.
               Editable Valid Values—Check to enable editing of default or entered IP addresses.
               Integer
               Default Value—Enter a default integer.
               Constraints—Enter a range of acceptable numbers separated by a colon. You can also include
                   several numbers or ranges separated by the pipe (|) character. If you specify a range, the
                   lowest number must be to the left of the highest number. For example 9:99|999:1010.
               Valid Values—Enter ranges of valid values as described in Decimal above.
               Editable Valid Values—Check to enable editing of default or entered integer.
               Long
               Default Value—Enter a default long.
               Constraints—Enter a range of acceptable numbers separated by a colon. You can also include
                   several numbers or ranges separated by the pipe (|) character. If you specify a range, the
                   lowest number must be to the left of the highest number. For example 9:99|999:1010.
               Valid Values—Enter ranges of valid values as described in Decimal above.
               Inventory Reference
               Select the Reference Type entity with the list that appears when you click the
               green plus (+), then use the side-by-side widget’s arrows to move available
               attributes from Available to Selected. You can change the Reference Type by deleting
               it with the red minus (-), then selecting a new type with the green plus.
               String
               Default String— Enter a default string.
               Valid Values—Enter valid values as described in Coded Value above.
               Editable Valid Values—Check to enable editing valid values.




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                    Constraint—Enter the regular expression constraints, if any, on the string attribute.
                    Constraint Description—Enter the message to appear if the regular expression constraints are not
                        met.
                    Min/Max Length— Enter the minimum/maximum number of characters in a valid string.
                    Click Apply to accept your edits for the attribute, or Cancel to abandon them.

                    Use an existing Parameter Schema for this Adaptive CLI
                    Select this, and a Select Existing button appears. Clicking this button opens a selector where you
                    can select from previously-configured attribute schemas (collections of attributes) to use in the
                    Adaptive CLI you are configuring.

                    Validating IP Address Variables
                    Programmatically, IP address attributes support four extended properties: IP_MASK, SUBNET,
                    ALLOW_32_BIT_MASK, and ALLOW_ANY_VALID_IP. The state of the first two largely defines
                    OpenManage NM’s responses.
                    IP_MASK—Determines whether OpenManage NM accepts an IP address OR a subnet/subnet
                        mask. The value accepted is an IP address attribute when false, subnet/subnet mask when
                        true.
                    SUBNET— This property determines whether a subnet value must be provided or not, and
                       controls display of the subnet portion of the widget. Valid subnet values are 1-31.
                    By default, when both of the above are false, the attribute only accepts valid IPv4 addresses. For
                    example: 10.10.10.4
                    If IP_MASK is false and SUBNET is true then OpenManage NM accepts any valid IP address with
                    a subnet specified. The address must be an IP within the specified subnet. For example, 10.10.10.4/
                    24 is a valid entry whereas 10.10.10.0/24 is invalid since it represents the subnet id, not an actual
                    address within the subnet.
                    If IP_MASK is true and SUBNET is false, then OpenManage NM accepts one of the 32 valid
                    subnet masks. The widget displays pick list for user to choose from. For example 255.255.255.0
                    If IP_MASK is true and SUBNET is true, then OpenManage NM accepts a subnet id (the first IP
                    address within a subnet). For example 10.10.10.0/24, with 10.10.10.0 as the first address within the
                    subnet spanning 10.10.10.0 to 10.10.10.254. Entering an IP address within the subnet, say
                    10.10.10.4/24, the attribute would convert that to 10.10.10.0/24
                    ALLOW_32_BIT_MASK— Valid subnet values are between 1 and 31. To extend this to support a
                       32-bit subnet, which is essentially a single IP address (10.10.10.4/32), set the
                       ALLOW_32_BIT_MASK property.
                    ALLOW_ANY_VALID_IP— To accept either an IP address, IP address and subnet or subnet,
                       then IP_MASK remains false, SUBNET is true. With the ALLOW_ANY_VALID_IP true, the
                       subnet field is optional and OpenManage NM disables any requirement that a subnet id be
                       specified. Basically the only validation is that a valid IP address is entered. For example, in this
                       configuration, 10.10.10.4, 10.10.10.4/24 and 10.10.10.0/24 would all be valid.




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               Attribute Presentation
               This panel lets you reorder attributes by selecting an attribute, then clicking the up/down arrows.
               Exporting or importing a reordered Action preserves the configured order of attributes.




               If you change the attribute order after scheduling the Action, it does not affect the execution of the
               scheduled Action. If you use the same Entity Type (schema) for another Action attributes appear in
               the same order.

       Scripts
               This screen manages the Adaptive CLI scripts created to query (show) devices or configure them.
               OpenManage NM runs only one script per target.




               Notice you can order multiple scripts with the arrow(s) to the right of a listed script. Only one
               schema of attributes exists for each Adaptive CLI, so the same attribute(s) appear when you
               construct each script.
               OpenManage NM uses the script’s filter to match the target. For example, imagine two scripts for
               which the first has filter = target.type = SWITCH, and the second has no filter. Then only
               SWITCH devices run the first script and quit. All remaining targeted devices do not run first script.
               Instead they run the second script since that script has no filter. Only one script runs on the
               selected target equipment. The ordering lets you to make the most efficient use of that one-run-
               per-target pattern.




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                    Script Settings
                    Click Add New Script to create a new item in those listed at the top of this screen, or select and
                    item and click the Edit icon to its right to alter it. When you create a new script, you must select
                    either Embedded CLI or Perl. Embedded CLI scripts are command-line interface (CLI)
                    interactions. See Perl Scripts on page 590 for more about using Perl.




                    Clicking the Delete icon removes a selected item. Notice that the up/down buttons to the right of
                    the list allow you to re-order selected items (they run from top first to bottom last).
                    See Attribute Appearance and Validation for a description of what constitutes a valid attribute.

                         NOTE:
                          You must mark an attribute as required before adding it to the script. If you add an attribute before you
                          mark it as required, you must remove it from the script, mark it as required, then re-add it. In some
                          browsers, after adding the attributes you must click in the script screen to ensure that the changes
                          persist.
                    Name—Enter an identifier for the script you are creating or altering.
                    Target Filter—Click the plus (+) to create a filter that describes the target for this script. For
                         example, this filter could confine the action of the configured script to devices from a certain
                         vendor, or only devices with an operating system version later than a certain number. Since
                         you can have several scripts, those Adaptive CLIs with a single label (“Show Users,” for
                         example) could therefore contain several scripts with syntax appropriate to a variety of devices
                         and operating systems.

                             CAUTION:
                          Adaptive CLI supports only filters that select the Managed Equipment type of device.
                    Attribute Delimiter— The delimiter(s) you select from the pick list here surround the attributes
                         you designate as mandatory. See Adaptive CLI Script Language Syntax on page 588 for more
                         about these.




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               Optional Attribute Delimiter—The delimiter(s) you select from the pick list here surround the
                   attributes you designate as optional. See Adaptive CLI Script Language Syntax on page 588
                   for more about these.
               All but Delete open a script editor with the following panels:
                •     Script Content
                •     Error Conditions
                •     Continue Pattern
                •     Prerequisite Validation
                •     Value Extraction

               Script Content
               On the left, you can enter text, Search by clicking the magnifying glass, and use Cut, Copy, Paste,
               Undo, Jump to Line #, reformat. The Attributes appear under Target Params on the right of this
               text entry screen. Double-click an attribute to insert it unless you are writing a Perl script; this
               feature does not work for Perl. Right-click the previously-configured attributes in this panel to
               designate them as Mandatory, Optional, Not Applicable or Non Configuration in a context menu
               that appears when you right-click.

                      NOTE:
                      OpenManage NM does not send Non Configuration attributes to the device with the script. These are
                      comments that can serve to remind users of critical information. For example, you can make Non
                      Configuration boolean attributes into a checklist for someone executing a script, and the history of this
                      script can record whether OpenManage NM made these checks when the script ran.
               Notice that the Search also permits Regular expressions.
               You can also enter two types of script language here. See Adaptive CLI Script Language Syntax on
               page 588 for a description of the internal If capabilities. If you need more elaborate scripting, you
               can also use Perl scripts to send text to devices. See Perl Scripts on page 590 for a description of
               those capabilities.
               Click Apply to accept the script you have configured.

                      NOTE:
                      Some versions of Firefox do not save attributes when you click Apply. Workaround: When you have
                      added the new attribute into the script content click the cursor back into the script content, then click
                      Apply.




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                    Error Conditions
                    The error condition lets you configure errors for your script.




                    Check Continue on Error under the Global Condition Options, if you want the script to not stop
                    when it encounters an error. Click Add new error conditions to configure a condition at the bottom
                    of this screen with the following fields:
                    Error Pattern—Enter a regular expression for the error. You can also click the icon in the upper
                         right corner to test the expression. See Testing Regular Expressions on page 605.
                    Error Type— Select from the pick list of options (Error, Warning, Ignore).
                    Line checking—Select from the pick list (Unlimited, Disabled (Skip error condition), Specific
                         number of lines). If you select a specific number of lines, enter the number of lines of the
                         script output to check for the pattern specified, after each command execution. An error
                         message is most likely to appear immediately right after the command is invoked.

                    Continue Pattern
                    Like Error Conditions, this screen lets you enter conditions to which script execution can respond.




                    The Continue Pattern editor operates like the Error Conditions editor, but has slightly different
                    fields.
                    Continue Pattern—If you expect the device output of a script to prompt to continue, you may
                        add a Continue Pattern with a regular expression to parse. You can also click the icon in the
                        upper right corner to test the expression. See Testing Regular Expressions on page 605.
                    Answer—This field specifies the Answer to the Continue Pattern prompt.




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               Send New Line—For some devices, a single key response without a new line would be sufficient;
                   in such cases, you may need to uncheck the Send New Line option.
               Max Occurrences—Indicates the maximum number of times respond to a prompt. The default
                   value zero (0) indicates no limit.

               Prerequisite Validation
               Some devices (JUNOS and Cisco XR) allow you to preview the result of an Adaptive CLI before
               actually executing it on devices that support such an advanced preview. Standard preview simply
               discloses what OpenManage NM sends to devices; advanced preview requires a device response
               indicating the effect.
               A Prerequisite Validation tab appears for an Show or CLI Configure Command Adaptive CLIs that
               lets you allow or prevent Adaptive CLI execution based on a regular expression match during such
               advanced previews.




               This tab provides options to select the following.
               Prerequisite Validation Pattern—This is a regular expression that is a condition to prevent
                    execution of the Adaptive CLI.
               Match Condition—For a supported device, Match Condition lets you select whether execution
                   should be prevented if a match occurs for the Prerequisite Validation Pattern on any line of
                   the Advanced Preview Results obtained from the device. Alternatively you may prevent
                   execution if a match does not occur for any line of the advanced preview Result.




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                          For non-supported devices, if you provide a Prerequisite Validation Pattern, on execution you
                          are advised to edit the Adaptive CLI and remove the pattern before execution.




                    Prerequisite Validation does not appear for types other than CLI Show Command and CLI
                    Configure Command.

                    Value Extraction
                    To support Adaptive Service and Active Monitor functions, Adaptive CLI provides a way for the
                    user to define output schema attributes. This tab is active only if you have configured schema
                    attributes to store values previously in the Attributes portion of this editor.




                    This lets you Add, Edit or Delete extracted attributes, like Error Conditions’s editor. To clarify
                    configured Attributes, Parse Algorithms, and Parse Expressions accompany scripts, they appear in a
                    table. Use the Add button to create more Value Extractions, and the Edit or Delete buttons to the
                    right of listed patterns to alter or remove them.




                    Configure Value Extractions with the following fields:
                    Attribute Name—This field specifies the name of the extracted attribute. To specify the output
                         value of an attribute, select it from the provided list.
                    Attribute Type—The data type of the attribute extracted. Only schema attributes of simple type
                         String, Integer, Long, Float, Double, and Boolean are available to choose from.
                    Parse Algorithm—Select from the pick list (Extract, Match). For match algorithm, the result is
                         either true or false for the Boolean attribute type, 0 or 1 for numeric types, or “true” or “false”
                         for String type.

                         NOTE:
                          Currently, Active Performance Monitor supports only numeric types, but you can configure extraction to
                          produce numbers. See Example 5: Monitor Text Values on page 602 for an example.




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               Parse Expression—Enter a regular expression for Parse Expression and the Parse Algorithm
                    (Extract or Match) used when evaluating the device output on a given script execution.
                    OpenManage NM matches the regular expression for sub-strings, so no need to provide a
                    leading and trailing “match all” regular expression. (.*).
               See Regular Expressions on page 508 for more information about what is these expressions can do.
               You can also click the icon in the upper right corner to test the expression. See Testing Regular
               Expressions on page 605.
               Click Apply to accept your edits, or Cancel to abandon them. Click Add new attribute extraction to
               add more such patterns to your script.

               Attribute Appearance and Validation
               Invalid schema attribute names appear in the script in red italics. This indicates that you cannot
               use such attributes in the script.
               Valid attribute names contain alphanumeric characters and underscore (_). They must begin with
               either an underscore or a letter [A-Za-z].
               All blank space characters in the schema attribute name are converted to underscore (_) by default.
               A schema attribute name that is invalid in Adaptive CLI may still be valid in other entities, so you
               can specify them in the schema but they are not usable by Adaptive CLI.
               Click Apply to accept your edits for the script, or Cancel to abandon them.

       Config File Template Generation
               This feature lets you create configuration file templates with the Config File Generation Action.
               Like other Actions, you can associate these with a particular type of device in the initial panel of the
               editor.
               You can use the Adaptive CLI Script Language Syntax within the configuration template you
               create. Optionally you can add two lines concealed in the generated script at the beginning of the
               file you create in the Scripts editor that determine some features of the configuration file itself:
                      filename=[myfilename] ; This is a sample comment
                      label=[mylabel]
               You can also separate these from comments with a semicolon.
               You cannot enter encrypted passwords in a config file template if it contains an attribute delimiter
               or optional attribute tag. You can however create string variables as you would for other scripts, and
               enter special characters when prompted for that variable as you execute the Action.
               These specifications appear in the Preview and Result screens, but do not appear in the final
               configuration file produced. filename determines how to name the generated configuration file,
               and label applies the designated label, or creates a new label and applies it if it does not yet exist.
               When you Execute this action, it requires you to select a target device, which can either be a
               database entry generated by right-clicking in the Managed Resources portlet (select New and a
               device type), or an actual discovered device.




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                    After generating the configuration, if you right-click that selected device, its Details panel’s History
                    tab displays the generated configuration file, and lets you right-click to view, edit or compare it as
                    you would other configuration files. You can also right-click the Execution Details rows to view any
                    parameters you have entered in viewer’s the Scripts and Parameters tab.




                    The How to: Use Config File Generation that follows demonstrates how to use this feature.


          How To:
Use Config File Generation
                    You can use Actions/Adaptive CLI to generate and push initial configurations to devices. Here are
                    the steps to do so:
                      1   Create a new Action/Adaptive CLI by right-clicking in the Actions portlet, and selecting New.
                      2   In the subsequent editor screen, select Type Config File Generation. That action type
                          includes as its script the Configuration File Template
                      3   Configure any attributes you want to add to the configuration file you generate as described
                          in Attributes on page 565.




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                4     Add the configuration template to Scripts.




                5     Edit it, adding attributes, if necessary, and Apply and Save.

                      NOTE:
                      This editor validates entries. You cannot save the script unless you choose the correct Optional Attribute
                      Delimiter.
               To test this, create a new device in OpenManage NM Inventory.
                1     In Resources portlet, right-click and select New.
                2     Select the Vendor and Model, Click Create.




                3     Populate attributes in the resource editor, and Save the new device.
                4     Execute the Config File Generation action you created in the previous steps with the newly
                      created device as its target. When executing the action you must enter the appropriate values.




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                          To do this, right-click the newly created device in the Managed Resources portlet, select
                          Actions, select the appropriate Generate Config File action and Load Selected.
                      5   Once you have selected the action, you must enter values in the attribute fields provided.




                      6   Click on preview to see any changes this produces.




                      7   When you Execute this action, the audit trail screen also displays a Results panel that shows
                          the configuration.




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                8     Once created, the configuration file appears in the device’s Details panel’s Execution History.
                      You can right-click two selected configuration files generated this way to compare them.




                9     Right-click the Execution History row, and select Execution Details. The attribute values
                      appear.




                      NOTE:
                      Anywhere you can see the generated configuration file in the Configuration Files portlet or in a device’s
                      Details screen, you can right-click and export it. You can also import files as configurations in the
                      Configuration files portlet. This may be handy to have a baseline to compare to generated files. Just
                      select both files and right-click to compare.




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External Executable | Actions and Adaptive CLI



External Executable
                   External executable Adaptive CLIs essentially run external scripts from the OpenManage NM
                   environment. For example, you could run the DOS dir command (and schedule its execution).
                   Make sure you select External Command as the Type of Adaptive CLI in the editor when you
                   create an Adaptive CLI that refers to an external command. Also, make sure the Net::Telnet
                   package is installed with Perl.

                         NOTE:
                         To run targetless external commands In a distributed environment, you must add the current application
                         server's IP address to a mediation partition's routing entry. The external command runs at one of
                         mediation servers that belongs to that mediation partition. Any external scripts must exist on all
                         mediation servers within that mediation partition, and the directory path must be the same. Best practice
                         is to use a shared network drive (or cloud) whenever you need to access files from multiple servers.
                   You can execute external commands with a device as target, using device attributes as input
                   parameters to the Adaptive CLI script. See some of the Seeded External Scripts on page 584.
                   Audit Trail
                   When you execute a script, the audit screen displays information about it.




                   By default, this screen often conceals the info circles in this screen. To see them, click the icon next
                   to the refresh icon to open the message level selector and check the info circle level of reporting,
                   then click Refresh to see those blue circles.




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               Results
               OpenManage NM stores the results of running a script as lines the Execution Details snap panel.
               Right-click the particular command run in the snap panel at the bottom of the Expanded Actions
               Portlet. Tabs show the Results, Sent Command, and Script and Parameters. When viewing a script
               run the results of running it appear target device-by-device.




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                   Results can also appear in the audit screen messages and in the Results panel of the Action job
                   viewer screen.




                   You can also extract parameters for these external commands as is described in Value Extraction on
                   page 576.

         Seeded External Scripts
                   Several external perl scripts come with OpenManage NM as examples of the kind of commands
                   you can execute (and Monitor, see Adaptive CLI on page 397 in Performance Monitoring). These
                   are in \owareapps\performance\scripts under the installation root.
                   To run these, the scripts panel in the Adaptive CLI editor should contain something like the
                   following:




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                      perl ../../../owareapps/performance/scripts/http_test.pl




               Notice that these also include a parameter (Result) that contains values extracted.




               Set up attribute extraction in the Values Extraction tab of the script editor.
               Script Names and Functions
               Linux installations must have the Net::Telnet package installed with Perl.
               common.pl— Common functions defined for scripts in this directory.
               dns_test.pl— Check if DNS can resolve the specified host name.
               finger_test.pl— Check if the finger service is running on a specified host.
               ftp_test.pl—Check the FTP service is running on a specified host.
               http_test.pl—Check the HTTP service is running on a specified host.
               nntp_test.pl—Check if the NNTP service is running on a specified host. (Public NNTP server to
                   test: news.aioe.org)



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                   peping_test.pl— Check if a target is pingable from the specified remote host.
                   pop3_test.pl—Check if the POP3 service is running on a specified host.
                   smtp_test.pl— Check if the SMTP service is running on a specified host.
                   telnet_test.pl— Check if the TELNET service is running on a specified host.
                   See Create a Monitor for an External Script on page 394 for more specifics about monitoring
                   these.
                   If you have a clustered installation, then every server in the cluster must have scripts installed to
                   the paths Adaptive CLIs using them specify.


         How To:
Make an Adaptive CLI Run an External Script
                   The following demonstrates Adaptive CLI running an example Windows external batch file
                   (script) that includes command line parameters. Follow these steps to create this training example:
                     1   Right-click in the Actions portlet to create a new Adaptive CLI.
                     2   In the editor’s General tab, enter a name (here: Test HelloWorld.bat), and select External
                         Command as the type.
                     3   Click the Attributes tab, and create Hello World Schema with two string attributes (in the
                         Attribute Settings sub-tab). Here, we make Command1 and Command2.
                     4   In the Script tab, make the Hello World Batch File command (the example name), whose
                         contents are:
                           c:\HelloWorld.bat [Command1] [Command2]
                         Both command line parameters are optional in this example, but you can create such scripts
                         where parameters are required before the script will run. Select a parameter and click the
                         Tokens at the bottom of the screen to arrange that.
                     5   After you have finished configuring the script, click Apply and Save.
                     6   Before running this Adaptive CLI example, you must create a batch file called
                         c:\HelloWorld.bat. Here are its contents:
                         @ECHO OFF
                         ECHO -------------------------
                         ECHO * Hello World!          *
                         ECHO -------------------------
                         ECHO ...then display the appended command(s)
                         ECHO ...
                         ECHO        %1
                         ECHO ...
                         ECHO        %2
                     7   After creating and saving c:\HelloWorld.bat, right-click Test HelloWorld.bat in the
                         Actions portlet, and select Execute.
                     8   You must select a target device before going further, even though this script does not require
                         one. Select any device.
                     9   A screen offering to let you specify Command1 and Command2 appears. For the sake of this
                         example, any string you enter works. We’ll enter XXX and YYY.




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               10     Click the Execute button.
               11     The Job Viewer screen appears displaying the command line you have specified
                      (c:\HelloWorld.bat XXX YYY) in informational messages. You typically have to
                      configure the Job Viewer so these appear. They are concealed by default.
               12     Finally, the Results screen appears with the device you specified on the left, and the result of
                      the batch file run on the right.




               For further practice, try running a script of your own, or one of the seeded Perl Scripts (see Seeded
               External Scripts on page 584).




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Adaptive CLI Script Language Syntax | Actions and Adaptive CLI



Adaptive CLI Script Language Syntax
                   The following is the Adaptive CLI scripting language syntax:
                    •    CLI script is a line-based syntax. In other words, each line’s syntax has to be completed.
                    •    CLI script supports primarily two features: Attributes and Conditional Blocks.

         Attributes
                   Each attribute in the script is marked by a delimiter. The following delimiters are supported:
                         <>   []    {}    ()    $   %   @    #
                   Think of Attribute delimiters as a pair of open/close markers surrounding a variable name. For
                   single character Attribute delimiters, there is no closing marker (the close marker is empty).
                   Examples of Attributes are:
                         <var>, [var], {var}, (var), $var, %var, #var, @var
                   The default mandatory delimiters are <>, and the default optional delimiters are [], but you can
                   change those default settings. That means an Attribute variable like <var> may represent a
                   mandatory or an optional Attribute depending on what are set as delimiters.

                        NOTE:
                         Single delimiter symbols require a space after the attribute. These do allow values immediately before
                         the symbol. Perl requires a space after the attribute, or the attribute’s closing delimiter, but values
                         immediately before single delimiters works.
                   Here is an example of a command line with a mandatory and optional Attribute:
                         show <mandatory> [optional]
                   If you set the <mandatory> Attribute to interface and do not set the [optional] one, then the
                   resulting command would be this:
                         show interface
                   If you set the <mandatory> Attribute to interface and set [optional] to brief then the resulting
                   command would be:
                         show interface brief


         Conditional Blocks
                   Every line in the script is presumably a command to be sent to the device, except for lines that
                   denote either a beginning or ending of a conditional block.
                   The begin conditional block marker is tied to a Attribute and has the following syntax:
                         <optional-open-delimiter> IF optional-attribute <optional-close-
                          delimiter>
                   The end conditional block marker has the following syntax:
                         <optional-open-delimiter> ENDIF optional-text < optional-close-delimiter>
                   Here is an example of a conditional block, where the Attribute delimiters are <>, optional delimiter
                   is [], and the conditional Attribute variable is set:
                         [IF set]
                           execute this command
                           and execute this command




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                      [ENDIF set]
               If the Attribute set has a value then the block is evaluated; otherwise, it is ignored. The text after
               ENDIF., that is set or whatever is not required and it is ignored.
               Nested conditional blocks are allowed.




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Perl Scripts | Actions and Adaptive CLI



Perl Scripts
                    This section describes the details of using Perl scripts within Adaptive CLI. See Using Perl in
                    Adaptive CLI on page 557 for more about why to use Perl.
                    The Perl output goes to the selected target device. Typically, this means creating lines like the
                    following:
                          println(“show $param”);
                    or
                          print(“show $param\n”);
                    You must specify parameters within the script (like $param) in the screen described in Attributes
                    on page 565. Unlike its internal scripts, Adaptive CLI does not automatically create attributes. You
                    must also manually configure created attributes to be Mandatory, or Optional in that screen.
                    A few things to remember when using Perl:
                     •    The normal output of your Perl scripts (to stdout) are the commands sent to a device by this
                          application.
                     •    If your script produces an error message (to stderr), the job fails with that message and all
                          script outputs are ignored. You can validate a script before sending any command to the
                          device by using die(...) and warn(...) functions in Perl to produce error messages to stderr.
                          Such messages trigger the script’s failure.
                     •    For such scripts to operate correctly, you must have Perl installed on the directory path for all
                          OpenManage NM servers.
                     •    Perl may not come with OpenManage NM and must be on the server system for it to work
                          with Adaptive CLI.
                     •    You can install your version of Perl and set the PATH environment variable accordingly so that
                          one can run perl -v from the command line (where the OpenManage NM server is to be
                          started). Adaptive CLI invokes that same perl command.
                          If for some reason Adaptive CLI, fails to invoke the default perl command, it reads the
                          setting of activeconfig.perl.exe=... inside owareapps/activeconfig/lib/
                          ac.properties, and uses that alternative command.
                          Note that the default activeconfig.perl.prefix= setting in ac.properties is
                          prepended to every Perl script. It basically forces the script to use strict mode and
                          provides a convenient println method for the user. Knowledgeable Perl users can change
                          this default behavior setting but should be careful about it. Remember, best practice is to
                          override properties as described in Overriding Properties on page 111.
                     •    The standard output (using println) of the Adaptive CLI Perl script represents the
                          command set that is to be sent to the device. For convenience, a println subroutine is
                          embedded with the script.
                     •    Adaptive CLI with Perl scripts must contain valid Perl under the “strict” pragma (use
                          strict;). If you import or migrate from a previous version a Perl script that does not pass
                          this “strict” criterion, you must rewrite it for “strict” compliance before it can be successfully
                          edited or copied.

                         NOTE:
                          When you import a Perl Adaptive CLI that doesn't pass strict, you can execute it without problems.
                          However, you cannot edit it at all, unless you first edit it to pass strict (or it won't even let you save the
                          changes).
                    The following Perl Example may be of interest.




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        Perl Example
                 The following is an example Perl script for Adaptive CLI:
                      #
                      # A script example for testing against a Cisco-XR machine.
                      #


                      # The following variables (attributes) are defined in the schema,
                      # and their values are assigned when the script
                      # is invoked from the Adaptive CLI (or Resources) manager.
                      # These variables will be declared with values and prepended
                      # to each script automatically.           Something like:
                      #
                      # my $FromPort=<some number>;
                      # my $ToPort=<some number>;
                      # my $Mtu=<some number>;
                      # my $Desc=<some text>;
                      #


                      print("config t\n");


                      foreach ($FromPort .. $ToPort) {
                          my $Desc = "$Desc Port #$_";
                          my $addr = 100 + $_;


                          print("interface GigabitEthernet0/1/1/1.$_\n");
                          print("description $Desc\n");
                          print("ipv4 address 10.10.100.$addr 255.255.255.0\n");
                          print("ipv4 unreachables disable\n");
                          print("mtu $Mtu\n");
                      }


                      print("exit\ncommit\nexit\n");



        How To:
Creating Adaptive CLI (Examples)
                 The examples that follow may not work for your device. They are often created with a specific
                 device, with specific syntax. Best practice is to telnet to the device you plan to target with your
                 Adaptive CLI, and test the command line there first. Then configure any extraction you plan to use
                 based on that testing.
                 The following describes the basics of creating and using Adaptive CLIs.
                 Example 1 - Existing Show Run uses an existing, seeded Adaptive CLI to show protocols.
                 Example 2 - New Adaptive CLI describes making and using a new Adaptive CLI.




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                    Example 3 - Adaptive CLI with Reboot shows you how to make an Adaptive CLI that requires
                        rebooting the target device(s).
                    Example 4 - Adaptive CLI To Extract Upload/Download Speeds demonstrates Adaptive CLI
                        that extracts information from the target device, then displays the results on a dashboard.
                    Example 5: Monitor Text Values demonstrates using and Adaptive CLI configured to monitor
                        attributes with strings that indicate their status.
                    Some devices do not respond to commands unless they are in the correct state. For example, some
                    Dell devices must not be in “Simple” mode to respond to Adaptive CLIs. Take account of this as
                    you create Adaptive CLIs.
                    Example 1 - Existing Show Run
                      1   Adaptive CLI Manager has pre-seeded tasks and diagnostic commands based upon the drivers
                          you have installed. For example: the Cisco 'show protocols' command. Right-click and Select
                          Edit to view and/or alter this Adaptive CLI.




                      2   Click the Edit icon next to the Cisco script. The Scripts tab in this editor appears above,
                          displaying the show protocols command to be sent target devices. Notice (in the upper
                          right corner) that this Adaptive CLI filters so it applies to all Cisco devices excluding PIX.
                      3   Close the editor(s), and select this Adaptive CLI.
                      4   Right-click to Execute, and select the target equipment for this run in the next screen. The
                          screen that appears is a standard OpenManage NM equipment selector. The Adaptive CLI is
                          valid only on devices that pass the Target Filter mentioned in step 2, but the selection here
                          narrows the target devices for the Adaptive CLI.




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                5     An Audit trail screen tracks the execution progress




                6     Select the Adaptive CLI you ran in the Expanded Portal, and right-click the execution run
                      that appears in the Execution History snap panel at the bottom of the screen.
                7     Right-click and select Execution Details.
                8     View latest results classified by the device you select on the left.




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                      9   View latest results by right-clicking in the Execution History snap-in of the expanded Action
                          portlet. You can use the Find search box to find matches to strings within the results.




                          Click Go to see the next match.
                     10   You can also look in the Sent Commands tab to see what actually went to the device.
                    Example 2 - New Adaptive CLI
                      1   Create a new Adaptive CLI. Right-click and select New.
                      2   Name this (for example “Test ACLI”)
                      3   In the Attributes panel, create string attributes named required and optional after creating a
                          new Parameter Schema (for example “test123”).
                      4   In the Script panel define the Attribute Delimiter (< >) and Optional Attributes Delimiter
                          ([ ]) and enter the following three scripts:
                            show run
                            show <required>
                            show [optional]




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                      Notice that the created attributes appear in the panel on the right of this screen.




                5     Select the attribute “required,” then click the Required icon (the green circle) in the lower
                      right corner to of this screen to associate this icon with the Required attribute. Similarly,
                      associate the Optional icon with the attribute “optional.”
                      Notice that you can double-click the attributes listed in the panel on the right, and they
                      appear in the script editor at the cursor.
                6     Save this Adaptive CLI
                7     Execute it with action > Execute.
                8     Notice that the attributes entered now are visible as inputs.




                      When you enter values for these, they accompany the show run sent to the target devices.
                      Notice that you must enter the required variable, or execution fails.
                9     Select a target.
               10     Click Execute. The show run, and any other required/optional run commands’ results
                      appear. These are searchable with the results screen.




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                    Example 3 - Adaptive CLI with Reboot
                    The following describes how to set up multi-line ACLI with error/success tracking for a command
                    sequence that requires reboot.
                      1   Create an example configure Adaptive CLI command (here quickThenReboot).




                      2   Separate commands into parts. First issue the command (here show run), then issue the
                          reboot command with a parameter that allows a prompt return before actual reboot (a delay,
                          for instance). If the first command fails the ACLI doesn't continue, so that makes using the
                          reboot command second the solution.




                          In our example:
                                  show run
                                  reboot 1 minute




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                3     OpenManage NM assumes commands are successful if a prompt appears without an error
                      return. Default error tracking for most drivers provides all the error pattern matching you
                      might need (testing the Adaptive CLI lets you know whether the device is addressed by a
                      driver in “most”).
                      Use specific error pattern matching for cases where the driver does not detect the typical
                      errors by default. As described in the Cisco Adaptive CLI Caveat on page 599, erroneous
                      output appears if the error occurs on the reboot command.




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                      4   When reboot is successful with a proper command sequence, the job screen displays the
                          successful execution. See Cisco Adaptive CLI Caveat on page 599 for more about
                          continuation prompts.




                      5   Continue Patterns—The following Continue Patterns section is an addition to the above
                          example. It looks for the Proceed prompt so the Adaptive CLI can issue a new line to force
                          the reboot. But the shutdown command follows the next prompt, so the shutdown command




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                      must be in another continue pattern to force the last line before a pause in output to be the
                      router's prompt. The patterns are .*Proceed.* and .*SHUTDOWN in.* allowing any
                      characters before and after the keywords to match.




                      Alternatively, this example could have a third command after reboot to force a new router
                      prompt, but managing this problem with the continuation set seemed more straightforward.
               Cisco Adaptive CLI Caveat
               If you have not saved configuration changes for Cisco routers, then this Adaptive CLI fails. For sake
               of this example, such a failure is the correct response. However, if the Adaptive CLI needs multiple
               confirmations you can just add more with their responses as appears in the Continue Patterns
               described above.
               Example 4 - Adaptive CLI To Extract Upload/Download Speeds
               The following describes an example Adaptive CLI configured to extract upload and download
               ADSL speeds from a Cisco Router. To create this example, follow these steps:
                1     Right-click to create a new Adaptive CLI in the Actions portlet.
                2     Name it and configure the Adaptive CLI in the General screen. Since these are generic
                      settings described elsewhere, the details do not appear here.




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                      3   Create attributes to extract. In this case, we configure Upload Speed, and Download Speed as
                          integer attributes, with a name, description, and nothing else.




                          Notice, however, that you could configure validation for extracted attributes if you liked in
                          this screen.
                      4   Create a new schema for these attributes. Schemas are helpful if you are creating several
                          Adaptive CLIs (create, destroy, update, and so on) with the same set of attributes. With
                          schemas, you are sure the attributes are configured exactly the same.
                      5   Save the configured attributes, click the Script panel
                      6   Enter the script. This extracts upload and download speeds from a Cisco device based on the
                          output from this command (the script’s contents):
                            show dsl int atm0 | inc Speed
                          This command shows dsl, grepping (inc) for the unique line beginning with Speed. The line
                          for which this script searches looks like this:
                            Speed (kbps): 544 0 256 0




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                      The attributes configured previously appear beside the script panel, but are not part of the
                      script, even though that possibility might be useful for another Adaptive CLI. The current
                      attributes are for extraction from the script results.




                      NOTE:
                      The filter at the top of this panel can limit the devices scanned by the Adaptive CLI to extract data. If you
                      have a specific device or group of devices against which you plan to test this script, it would be a time
                      saver to create the filter first.
                7     Click the Value Extractions panel within the Scripts screen, and configure an extraction
                      regular expression for each of the two values.




                      Click the green plus to add the second attribute.
                      With the pick lists, select an attribute, and that you want to extract (that is, within which you
                      plan to store a value), then enter the regular expression to match its target value. Here are
                      those attribute/regular expression pairs:




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                     •    Download Speed (the first integer in the output)
                            [Speed (kbps):\s+]([0-9]+).
                     •    Upload Speed (the third integer in the output)
                            [Speed (kbps):\s+][0-9]+\s+[0-9]+\s+([0-9]+).

                          NOTE:
                          You can use free regular expression testers to debug these expressions. See Testing Regular
                          Expressions on page 605.
                      8   Apply the edits you have made to script and extractive regular expressions, then Save the
                          Adaptive CLI.
                      9   Right-click the Adaptive CLI and Execute it.
                     10   Select the target device(s).
                     11   Confirm the execution. The screen that appears before you click Execute again would have
                          fields if you had a script with input parameters.
                     12   The Results panel appears to advise whether the script ran successfully, displaying its output.
                     13   Click Job Viewer, and arrange that panel so it displays informational messages by clicking the
                          icon next to the date/time display. Check the checkbox next to the blue informational circle,
                          and click the Refresh icon to the far left.




                     14   Click the last informational message (Set attribute extraction results...) and the extracted
                          attribute values appear in the data panel at the bottom of the screen.
                    Example 5: Monitor Text Values
                    Create an Adaptive CLI with the following to monitor layer 1 and layer 2 status:
                     •    integer attributes: layer1status, layer2status
                     •    Script to produce the output: show isdn status
                          Here is the output to match:
                          Layer 1 Status:
                            ACTIVE
                          Layer 2 Status:
                            TEI = 0, Ces = 1, SAPI = 0, State = MULTIPLE_FRAME_ESTABLISHED




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                •     Attribute Extraction Pattern:
                        layer1status/Match/(Layer 1 Status:\n\s+ACTIVE)
                •     For layer2status, the regular expression is like
                      (Layer 2 Status:\n\s+TEI = \d, Ces = \d, SAPI = \d, State =
                       MULTIPLE_FRAME_ESTABLISHED)
               Create a monitor to display the result of regularly running this Adaptive CLI on selected targets,
               and display its result in a dashboard.

                      NOTE:
                      Don’t forget to enable the attributes in the monitor!


       Monitoring Upload/Download Speeds
               Once you have configured this Adaptive CLI, you can monitor its operation. Follow these steps to
               configure the monitor for the How to: Create a Monitor for the External Script Adaptive ACLI:

                      NOTE:
                      If you are testing, make the monitoring more frequent than you might in a production system so you can
                      see if the data is available as expected. You can always change this after you have successfully tested
                      the monitor.
                1     Right-click in the Resource Monitors portlet to create a new monitor.
                      The General panel is displayed.
                2     Enter the default name and interval for the monitor.
                3     Select Monitor Options > Monitor Entities (target devices) with the green plus and
                      subsequent screen.




                4     In the same screen, elect to Enable the extracted Monitor Attributes with the editor icon to
                      the right of the listed attribute. Notice you can also elect to report the attribute as a Gauge,
                      Counter or Boolean. We selected Gauge.




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                      5   Click Save.
                      6   Right-click the saved monitor to View Monitor Data.




                          You may have to click the wrench icon to configure the columns that appear so this screen
                          displays the extracted attribute information. You should see the extracted values displayed in
                          a table.

          Configure a Dashboard for Your Monitor
                    Finally, if you want to configure a dashboard to display your monitored data graphically, follow
                    these steps:
                      1   Go to the Dashboard portlet, and right-click to create a Custom dashboard.
                      2   Enter the default data (name, retention policy, and so on) and configure the device and
                          monitor selection by editing the panel(s) you want to display with its editor icon in the upper
                          right corner.




                          Notice that you can select not only the monitor, but also the target(s) and attribute(s) to
                          display. Here, we have selected the Upload/Download Speed attributes configured in the How
                          to: Create a Monitor for the External Script Adaptive ACLI.
                      3   Save the configured dashboard.




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                4     Right-click the dashboard in the Dashboard Views portlet and view it in one of the options
                      available (Full Screen/Popup).




                      Notice that you can hover your cursor over a node in the graph and see all reported values for
                      that node.

       Testing Regular Expressions
               You can test regular expressions in OpenManage NM by clicking the icon in the upper right corner
               of screens like the one for Attribute Value Extractions in the Adaptive CLI editor.




               After entering the Regular Expression and the Input Text, click the Test button to see whether the
               expression extracts the text you want. Revise it if it does not match, or click Apply to accept the
               expression and enter it in the editor.




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                    Several applications, some free, are helpful to validate regular expressions too. These include
                    websites (regexr.com, for one). These may also be helpful when trying to match a particular
                    number and phrase in the Adaptive CLI and other output. In this example, we used Kodos to test
                    various iterations of our regular expressions.




                    Enter the regular expression in the top panel (note the helpful hints from the online help), the
                    output to scan in the middle panel, and the match appears in the bottom panel. Note: this
                    application is not supported by OpenManage NM developers.
                    Regular expressions include metacharacters to instruct the program how to treat characters it
                    encounters. These include the following: ^, $, . , | , { , } , [ , ] , ( , ), *, +, ? , \. If you want to match
                    one of these metacharacters, you must prepend a backslash (\). So to match a literal question mark,
                    rather than instructing regular expression matching to match 0 or 1 of a previous expression, you
                    must enter \?. To match a continue prompt that says Proceed? (y/n) you must escape three
                    characters in regular match expression, like this Proceed\? \(y/n\)

          Scheduling Actions
                    You can schedule actions with a right-click in the Actions portlet or the Schedules portlet. This
                    opens an editor with the following screens:
                     •    General
                     •    Parameters
                     •    Schedule
                    See Schedules Portlet on page 158 for more scheduling actions with that portlet. Schedules created
                    in the Actions Portlet also appear in the Schedules portlet.



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               General
               This screen lets you identify the scheduled item and its targets.




               This has the following fields:
               General Settings
               Action—Identifies the action being scheduled.
               Schedule Description—Identifies the schedule.
               Associated Targets
               Click the Add button to select target equipment. You can remove listed equipment with the icon to
               the right of listed items or with the Remove All button.

               Parameters
               This screen’s configuration depends on the selected action you are scheduling. Many actions have
               no parameters, so this tab is disabled. Enter the parameters for the action you are scheduling.




               Hover the cursor over fields to make their description appear in a tooltip.

               Schedule
               This screen is a standard scheduler screen, as described in Schedules Portlet on page 158.




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          Comparison
                    Selecting (ctrl+clicking) two Adaptive CLI runs within the Execution History portlet lets you
                    compare the two execution results. Right-click and select Compare.
                    Lines that differ between the two configurations appear highlighted green. Lines that are missing
                    in one, but that appear in another appear highlighted red. Added lines appear highlighted in yellow.
                    Use the right/left arrows at the bottom of this screen to page through the side-by-side comparison.




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Active Performance Monitor Support
               You can monitor Adaptive CLI execution results with Active Performance Monitor. To do this, you
               must select Adaptive CLI as the monitored type when creating a new performance monitor (see
               Resource Monitors on page 371), then select a target entities (with the Add button in the top
               panel) and a particular Adaptive CLI (with the green plus [+] in the Adaptive CLI Properties panel
               at the bottom of this screen. Click the Edit (page) icon to select the Input Parameters to monitor
               once you have selected an Adaptive CLI.




               The user can choose an Adaptive CLI to monitor and may have to configure both its input values
               and metric type for each output attribute. The Input data depends on what the Adaptive CLI
               attributes have configured.
               Input Parameters
               In Active Monitoring, all attributes of the schema appear in the Input Data for user-entered values.
               You must enter the data necessary for all selected targets’ scripts. To enter data, click Edit and then
               enter values. Clicking Apply switches the panel back to read-only mode. You must click Save to
               preserve input or output data configurations.
               Monitor Attributes
               Configure Adaptive CLI output attributes for monitoring in this tab in the lower panel of the
               Monitor Editor screen. You can monitor only exposed attributes of numeric or boolean types. To
               change metric type, select the row and click the Edit button to its right.




               An Adaptive CLI Properties screen appears that reminds you of the Attribute Name, and Attribute
               Type, where you can Enable the attribute monitoring, and select Gauge, Counter or Boolean
               buttons to the right of this panel to configure the metric type of the selected output data.



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                   These attributes default to the metric type Gauge. Adaptive CLI is where you define these
                   attributes, but you must select their metric type settings on this screen if it is something other than
                   the default.
                   Click Save to preserve your configuration, or Cancel to abandon it and close the editor screen.


         How To:
Create a Monitor for an External Script
                   The following steps describe creating a monitor for an external command configured as an
                   Adaptive CLI (ACLI). Several Perl scripts appear in this performance\scripts directory by default.
                   You can try others in addition to the http_test.pl script in the example.
                   Create the Adaptive CLI
                     1   Right-click in the Actions portlet, and create a new External Command ACLI
                     2   Make a new attribute schema with attribute: Status (integer)
                     3   In Scripts, enter the following as Script Content:
                         perl "[installation path]\owareapps\performance\scripts\
                          http_test.pl"[_EquipmentManager_IP_Address]
                         The variable [_EquipmentManager_IP_Address] provides the target device’s IP address, and
                         comes from the Target Params tab, where you can find other such variables. If you want to test
                         this script on an HTTP process on a device not under management, just to see the outcome,
                         enter a known URL instead of that variable (like www.testsoftware.com), and run the script to
                         see its output. (You will still have to select a target managed object to run the script, even
                         though it is not part of the command line.)
                         Since this is an example, use your [installation path] instead of those words.
                     4   In the Value Extraction panel enter the following:
                         ^\{(\d+)\}.*
                     5   Click Apply
                     6   Click Save
                     7   Right-click and Execute the ACLI to test it.


         How To:
Create an Advanced Script Monitor Example
                   The following monitors an external Adaptive CLI example of setting up a simple process monitor
                   using ACLI:
                     1   Make sure Perl is installed (and Windows has restarted after installing it), and check that the
                         required libraries (Info.pm and WMI.pm) are in place. Your directory may vary; with 64-bit
                         Strawberry Perl the locations are:
                         For Info.pm:
                          C:\strawberry\perl\vendor\lib\Win32\Process
                         and for WMI.pm:
                          C:\strawberry\perl\vendor\lib\Win32\Process\Info




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                      The process folder is attached to this document with proper structure. Put it in
                      C:\strawberry\perl\vendor\lib\Win32 and you are ready to go.

                      NOTE:
                      Here are the URLs where you can download these libraries:
                      http://search.cpan.org/~wyant/Win32-Process-Info-1.018/lib/Win32/Process/Info.pm
                      http://search.cpan.org/~wyant/Win32-Process-Info-1.019/lib/Win32/Process/Info/WMI.pm
                2     Put process_check.pl in the proper directory. For Windows the default is
                          [installation root]\owareapps\performance\scripts.
                3     In your actions portlet, import TEST_ACTION.xml.
                4     In your monitors portlet, import PROCESS_UPTIME_MONITOR.xml.
                5     Even though the monitor and Adaptive CLI do not technically need one, select any target a
                      dashboard can track. This permits execution of the Adaptive CLI.
                6     In your dashboard views portlet, create a new custom Monitor Dashboard for whatever
                      device(s) you decided to monitor, you will see Status as one of the tracked metrics (1 for up, 0
                      for down). You can use it as you would any other metric in OpenManage NM to track, graph,
                      and so on.
               By default this script and monitor track whether notepad.exe is running, but you can have it
               track anything by editing the monitor. Go to Monitor Options > Adaptive CLI Properties, and you
               can edit the Process Name variable to be any other process.
               Extra credit: Modify the script to track multiple applications.
               process_check.pl
                      #!/usr/bin/env perl
                      use Win32::Process::Info;
                      $processname=$ARGV[0];
                      $found = 0;
                      $pi = Win32::Process::Info->new ();
                      @info = $pi->GetProcInfo ();             # Get the max
                      @info = grep {
                           print $_->{Name};
                           print "\n";
                           if ($_->{Name})
                           {
                               if ($_->{Name} eq $processname)
                               {
                               $found = 1;
                               }
                           }
                      } $pi->GetProcInfo ();
                      if ($found == 1)
                      {
                          print "Process " . $processname . " is running! 1";
                      }
                      else




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                        {
                            print "Process " . $processname . " is not running! 0";
                        }

                   TEST_ACTION
                   This action’s name is TestExternalScript. It has two attributes, Process Name, a string, and Status,
                   an integer. It stores the retrieved process’ status in the Status integer, and takes Process Name as a
                   required input. It refers to the process_check.pl script as an external command in its Scripts tab.
                   Here is the syntax:
                        perl [installation root]\owareapps\performance\scripts\process_check.pl
                         <Process_Name>
                   In addition to referring to the script, this Adaptive CLI extracts the status from the script’s run.
                   Essentially it looks for 0 (down) or 1 (up) with the following regular expression in the Value
                   Extractions tab:
                        (\d)$
                   Note: [installation root] is an example only, not a legitimate part of the path.
                   PROCESS_UPTIME_MONITOR
                   This monitor’s name is ProcessUptimeMonitor. It refers to the TestExternalScript
                   (TEST_ACTION) Adaptive CLI. Notice that the Process Name attribute defaults to notepad.exe,
                   and the Monitor Attributes tab contains the Status attribute.
                   Monitor Dashboard
                   To see the result of your monitoring, create a custom monitor dashboard with the
                   PROCESS_UPTIME_MONITOR as its target monitor, and the desired target device as its target
                   device.




                   You can then see the process’ activity over time when you launch the dashboard.



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                7     Look in Job Viewer for the results.




                      Click Set attribute extraction results, click here to see the results appear in the bottom panel.
                      Notice also that you must check informational messages for all these to appear, and that
                      several additional sets of messages besides the extraction results appear.
               Create a Monitor for the External Script Adaptive ACLI
               Now that you have verified the script is working, you can create a monitor to see how this attribute
               is doing.
                1     In the Monitors portlet, create a new ACLI Monitor
                2     Uncheck Update Network Status (recommended since the ICMP monitor is already doing
                      this)
                3     You may want to test your monitor, in which case, change the monitoring interval to 30
                      seconds. Re-edit it to configure it with the interval needed for your production system.
                4     In Monitor Options select your example monitor configured previously.
                5     Confirm that Monitor Attributes displays the Status attribute configured previously.
                6     In the Conditions tab of the Monitor Editor, create “Status Up” condition, with the severity
                      of Informational, and check Alert.
                7     Create a criterion which is Status = 0.
                8     Save this condition
                9     Create a new Condition called “Status Down”
               10     The criterion is Status = 1
               11     Apply and Save
               12     Save your monitor.




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                   13   Right-click to select View Monitor Data, and you can see the results of your efforts.




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Action Groups
               The Action Groups Portlet lets you configure several actions with different targets, order their
               execution, and execute actions against these groups of targets all at once.




               Right-click within this portlet to create a New Action Group, Edit an existing, selected one,
               Execute the selected Action Group, view the Audit trails for the selected group, or Schedule the
               selected Action Group. You can also share action groups with others users on your system.
               The Action Group Editor on page 615 configures new or existing actions. See also Configure an
               Action Group on page 617 below.

       Action Group Editor
               This editor lets you create or edit an Action Group.




               It has the following fields and buttons:
               Name— A unique text identifier for the Action Group
               Description— A text description for the Action Group
               Actions
               This portion of the screen lists all added actions. Use the Edit this entry icon (pencil and paper) to
               edit individual actions, or the Delete this entry icon to delete individual actions. The up/down
               arrows configure the order of execution (top first). Editing an entry opens the editor described in
               Add Action below.




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                   Add Action—This opens an Action Editor where you can select the Action that is to be a member
                       of the group, its Target devices and any Parameters associated with the Action.




                         Use the Add button to add Associated Targets, and the Delete this entry icon to delete any
                         added by mistake. Click Apply to accept an added (or edited) Action. When you do this the
                         list on the Actions panel of the Action Group Editor changes to reflect the changes you have
                         made.
                   Remove All—Delete all Actions.
                   Click Save to create the Action Group. Once you have saved the group, you can right-click to
                   Execute it manually. You can also click Add Schedule to schedule its execution. Clicking Close ends
                   your editor session without saving any new Action Group, or changes you may have made to an
                   existing one.

                        NOTE:
                         When you execute an Action Group, the Results view displays a list of targets on the left, and results for
                         the selected target on the right. Click on a different target to see the target’s results.




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        How To:
Configure an Action Group
                Follow these steps to configure an Action Group
                  1   Right-click in the Action Groups portlet, and select New.
                  2   Name the Action Group, and optionally type a Description.
                  3   Click Add Action.
                  4   Select an action (with the green plus at the top of the screen), and optionally add a
                      Description in the field to the right of the selection.
                  5   To associate devices with this action, click the Add button in the Associated Targets panel,
                      and select the device(s).
                  6   Click Done.
                  7   Review the selected devices, and click Apply once that list is correct.
                  8   Review the added Actions, and insure they are in the correct order. Re-order them, if
                      necessary.
                  9   Click Save to preserve your new Action Group.
                 10   Right-click and select Execute to test the Action Group.
                 11   If appropriate, and execution is correct, right-click to Schedule for this Action Group.
                      Configure its occurrence in the Schedule panel of the screen that appears next, and Save that
                      schedule.




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Troubleshooting Adaptive CLI | Actions and Adaptive CLI



Troubleshooting Adaptive CLI
                   The following issues can prevent the correct completion of Adaptive CLI execution.
                   Connectivity—The device can be offline. To detect whether this is true, right-click the device in
                       the Managed Resources portlet and Direct Access > Ping it.
                   Incomplete Discovery—If the device is online and still does not respond to Adaptive CLI, you
                       may have only partially discovered it. Right-click the device in the Managed Resources portlet
                       and select Direct Access > Terminal. If that menu option does not exist, it is only partially
                       discovered. Right-click to edit the device, and add a Telnet Management Interface and
                       Authentication in those two tabs of the editor.
                   Timeouts—Adaptive CLI timeouts may occur because of an unresolved Continue prompt. See
                       Continue Pattern on page 574 for instructions about how to resolve such things. Depending
                       on the device, you may also configure the device itself not to emit patterns that need a
                       response.




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                                                                 Adaptive CLI Records Aging Policy | Actions and Adaptive CLI



Adaptive CLI Records Aging Policy
               You can use OpenManage NM’s aging feature to preserve Adaptive CLI information. Click the
               Redcell > Database Aging Policy (DAP) node of the Control panel, and click the default Adaptive
               CLI DAP and click the edit button on its right.I




               After filling in the General Info tab, the Parameters screen lets you configure the following:
               Keep History— Enter the number of days to retain the history in the database.
               Delete history associated with Negate command—Check to remove archived records associated
                   with Negate (described under General on page 563).
               Archive Deleted Records—Check to have deleted archived records saved as a file (configured in
                    the General Info parameters too).

       Web Service Deployment Features
               Right-clicking in Actions Portlet supports deploying actions as web services, as described in the
               following section. Web services are typically the concern of administrators, not operators.
               Administrators using these features are expected to be familiar with the web service technology
               they configure. Refer to the Web Services Guide for more about WSDL.
               Deploy Web Service—You can select one or more Actions to deploy as a web service. You must
                   assign each selected activity a unique Web Service ID, that can ultimately appear in a column
                   in the Activities Manager screen. The screen that appears after you select this item lets you
                   assign this ID for each activity connected to the web service. This screen’s appearance
                   depends on the web service you select.
                      The Web Service ID can contain only alphanumeric characters and underscores (_) and must
                      start with either a letter or underscore. This ID represents the input data class (or type) of the
                      activity. It defaults to a valid name reflecting the activity name. You can change the default.
                      Upon successful deployment, the Web Service IDs of the deployed activities appear in the
                      manager. You can then export the WSDL file for code generation and web service invocation.

                      NOTE:
                      You can see deployed Axis2 web services listed in the screen at http://[application server IP
                      address]:8089/axis2/services/listServices. These may take a little time to appear, so be patient. If you
                      have been patient, and they still do not appear listed, you may have to clear your browser’s cache.
                      Clicking the Activity link once they appear displays the WSDL.




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                   Undeploy Web Service—Select one or more activities to undeploy from web service. When
                       successful, the Web Service IDs of the undeployed activities are cleared from the manager.
                       Undeployed activities are also no longer accessible for web service requests.
                   Export WSDL—After deploying and undeploying activities, you may want to export the WSDL
                       file for client code generation. The WSDL file contains all the data class types for web service
                       execution.
                         All activity web service client code shares a common web service method:
                         TaskSvcExecute, which takes in TaskSvcExecuteInParams as input data and returns
                         TaskSvcExecuteOutParams as output data. The following describes the input and
                         output data:
                   Input Data:
                   Async—A Boolean type. If true, indicates an asynchronous (not synchronous) request.
                       Asynchronous requests return immediately with a job ID, while synchronous requests await
                       completion of the web service execution before returning job IDs. Either way, you must then
                       use the Job web service to examine the results.
                   TargetOID—A string representing the ID of the Target Entity Type.
                   TaskData—This is the base parameters class to be replaced by the activity-specific extended data
                       class (namely the Web Service ID) associated with the activity execution.
                   Output Data:
                   JobID—This is a unique ID string used for querying the results of an execution. The job web
                       service is defined in $OWARE_DEV_CACHE_CLS/ws.war/wsdl/Job.wsdl. For results,
                       the ParentJobID Status is one of the following values:
                         0 - Execution in progress (if async request)
                         1 - Execution succeed
                         2 - Execution failure
                         Status is an integer representing one of these values:
                         0 - Execution succeed
                         1 - Invalid input data
                         2 - Execution pending (for async request)
                         6 - Execution failure
                         8 - Invalid input target OID

                        NOTE:
                         The Status of the TaskSvcExecuteOutParams is different than the status of the job service.
                   TaskData—The base data class (same as input) returned as output data. Certain activities may
                       produce output data.




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                                                                   RESTful Web Service | Actions and Adaptive CLI



RESTful Web Service
               This section provides an additional Adaptive CLI type that executes a REST Web Service. Like
               other Adaptive CLI behaviors, the OpenManage NM (OMNM) application accepts user data and
               includes that in the REST API payload as JSON scripts. With this type of Adaptive CLI, JSON
               scripts (which include parameters, not just JSON) can support REST operations : GET, PUT,
               POST, and so on. You can specify a target URL and authentication. The OMNM application maps
               any resulting data back to the user data object associated with the Adaptive CLI.
               The following topics are covered:
                •     REST Call: No Authentication/Token
                •     REST Call Requiring Token Retrieval
                •     REST Call Requiring Base64-Encoded Authentication/Token Retrieval
                •     Calling an Adaptive CLI
                •     Calling an Independent Token Generation Action
                •     Supported Script Formats

       REST Call: No Authentication/Token
               The following example makes a simple REST call without needing a authentication/token:




               The script in this example:
                      URL:http://date.jsontest.com
                      requestMethod:GET




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                   The result:




                        NOTE:
                        Sometimes it is useful to specify a target even if none is required so that you can see the Results window.
                        Otherwise, the Job Viewer panel displays the same results. You can also copy and paste output into an
                        online formatter at http://jsonformatter.curiousconcept.com/ to rearrange it so its appearance is more
                        user-friendly.


         REST Call Requiring Token Retrieval
                   The following example is of a REST call requiring Token retrieval before the subsequent request.




                   The script contents:
                        TOKEN_BEGIN
                        TokenProperty: X_Auth_Token
                        TokenAccessParams: access.token.id
                        URL:http://10.101.53.2:5000/v2.0/tokens
                        Method:POST
                        {
                        "auth": {"tenantName": "admin","passwordCredentials":
                         {"username":"admin","password":"admin"} }
                        }




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                      TOKEN_END
                      URL:http://10.101.53.2:5000/v2.0/tenants
                      Method:GET

                          CAUTION:
                      Do not put lines between TOKEN_END and URL.
               Execution Result:




                      NOTE:
                      The Job Viewer does not display credentials.
               If you have already generated a token and saved it in cache, a Token Generation Action that refers
               to that particular token by name uses the saved token. If any error exists in the Token Generation
               Action, you may not notice that error in this execution. However, if you execute the same Token
               Generation Action and the saved token has expired, it may trigger errors.

       REST Call Requiring Base64-Encoded Authentication/Token
       Retrieval
               The following example script demonstrates a REST call that requires Base64 encoded
               Authentication and Token retrieval. The subsequent REST call uses the Token retrieved and has a
               JSON payload.
               Example script:
                      TOKEN_BEGIN
                      TokenProperty:Authorization
                      TokenPrefix: Bearer
                      TokenAccessParams: access_token
                      TokenExpiryTime:1440
                      TokenAuthenticationType: base64
                      TokenAuthenticationID:AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA
                       AAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAAA
                      URL:https://api.sandbox.paypal.com/v1/oauth2/token
                      RequestMethod:POST
                      grant_type=client_credentials
                      TOKEN_END
                      URL:https://api.sandbox.paypal.com/v1/payments/payment
                      RequestMethod:POST
                      {
                      "intent":"sale",
                      "payer":{




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                        "payment_method":"credit_card",
                        "funding_instruments":[
                        {
                        "credit_card":{
                        "number":"555555555550331",
                        "type":"visa",
                        "expire_month":11,
                        "expire_year":2018,
                        "cvv2":"555",
                        "first_name":"Betsy",
                        "last_name":"Buyer",
                        "billing_address":{
                        "line1":"111 First Street",
                        "city":"Saratoga",
                        "state":"CA",
                        "postal_code":"95070",
                        "country_code":"US"
                        }
                        }
                        }
                        ]
                        },
                        "transactions":[
                        {
                        "amount":{
                        "total":"7.47",
                        "currency":"USD",
                        "details":{
                        "subtotal":"7.41",
                        "tax":"0.03",
                        "shipping":"0.03"
                        }
                        },
                        "description":"This is the payment transaction description."
                        }
                        ]
                        }




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               Result:




               The following format is for the Token portion of the Script. The API used for Token Generation in
               the REST executions depends on the source queried. Sample1 uses the Paypal API. OpenStack API
               appears in Sample 2.
                •     Sample1, a base64 authentication with token prefix:
                      TOKEN_BEGIN
                      TokenProperty:Authorization
                      TokenPrefix: Bearer
                      TokenPostfix:
                      TokenAccessParams: access_token
                      TokenExpiryTime:1440
                      TokenAuthenticationType: Base64
                      TokenAuthenticationID:abc:xyz
                      URL:https://api.sandbox.paypal.com/v1/oauth2/token
                      RequestMethod:POST
                      grant_type=client_credentials
                      TOKEN_END
                •     Sample2, token value extracted from a nested JSON object :
                      TOKEN_BEGIN
                      TokenProperty: X_Auth_Token
                      TokenAccessParams: access.token.id
                      TokenExpiryTime:1440
                      URL:http://10.101.53.2:5000/v2.0/tokens
                      Method:POST
                      RequestPropertyName:abc RequestPropertyValue:def
                      RequestPropertyName:ghi RequestPropertyValue:jkl
                      {
                      "auth": {"tenantName": "admin","passwordCredentials":
                       {"username":"admin","password":"admin"} }
                      }
                      TOKEN_END




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                   The standard Request Properties form-urlencoded are part of the execution code and do not need
                   to be specified:
                   Accept: application/json
                   Content-Type:application/json;charset=UTF-8
                   Base64 encoding Content-Type:application/x-www-


         Calling an Adaptive CLI
                   The following returns a list of services from the REST call with this JSON script:
                         URL: http://192.168.54.43:8089/rest/application.wadl
                         Method: GET
                         PropertyName: Accept PropertyValue: application/xml
                   The following example executes an ACLI action using a REST call:
                     1   POST http://localhost:8089/rest/auth
                         {        "username" : "admin",           "password" : "secretpassword" }
                         This works like OpenStack’s API, you get a tokenId from that call, add it to the request header
                         "X-Auth-Token" : tokenId on subsequent calls.
                         Alternatively, create a getToken action to reuse:
                         TOKEN_BEGIN
                         TokenProperty: X-Auth-Token
                         TokenAccessParams: tokenId
                         URL:http://192.168.54.43:8089/rest/auth
                         Method:POST
                         {
                         "username" : "admin",
                         "password" : "admin"
                         }
                         TOKEN_END
                     2   GET http://localhost:8089/rest/actiondefs/
                     3   Pick a suitable ACLI that you want to call:
                         TokenActionName: getToken
                         URL: http://192.168.54.43:8089/rest/actiondefs/
                         Method:GET
                     4   Select this action oid from the result payload:
                              {
                                   "name":"Cisco \u0027show hardware\u0027",
                                  "oid":"com.dorado.redcell.inventory.task.TaskDefinition::ZvfczDh-
                             e60G03-sQ-1.313",
                                   "description":"show hardware",
                                   "family":"Adaptive CLI",
                                   "targetType":"EquipmentManager",
                                   "implementor":"AC_Config"
                              },




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                5     GET http://localhost:8089/rest/actiondefs/{oid-from-4}/sample-json
                      This returns a JSON structure that you can populate, such as:
                      TokenActionName: dp_getToken
                      URL: http://192.168.54.43:8089/rest/actiondefs/
                       com.dorado.redcell.inventory.task.TaskDefinition::ZvfczDh-e60G03-sQ-
                       1.313/sample-json
                      Method: GET
                      The result after execution:
                      {"name":"dp_getDate","description":null,"oid":null,"target":null,"definit
                       ionOid":"com.dorado.redcell.inventory.task.TaskDefinition::ZvfczDh-
                       e60G03-sQ-
                       1.313","sessionId":null,"status":null,"ordinal":0,"groupId":null,"lastE
                       xecuted":null,"lastModified":null,"dateCreated":null,"dataValues":[]}
                6     POST http://localhost:8089/rest/actions/
                      The JSON structure from the previous step creates a task in OMNM:
                      TokenActionName: dp_getToken
                      URL: http://192.168.54.43:8089/rest/actions/
                      Method:POST
                      {
                      "name":"Cisco 'show
                       hardware'","description":null,"oid":null,"target":"com.dorado.redcell.d
                       evicedriver.cisco.ciscorouter.CiscoRouter::WFKyfBmJkHo3G03","definition
                       Oid":"com.dorado.redcell.inventory.task.TaskDefinition::ZvfczDh-e60G03-
                       sQ-
                       1.313","sessionId":null,"status":null,"ordinal":0,"groupId":null,"lastE
                       xecuted":null,"lastModified":null,"dateCreated":null,"dataValues":[]}
                      }


                7     PUT http://localhost:8089/rest/actions/{oid-from-6}/execute
                      Executes the following task:
                      TokenActionName: getToken
                      URL: http://192.168.54.43:8089/rest/actions/
                       com.dorado.redcell.inventory.task.TaskDefinition::ZvfczDh-e60G03-sQ-
                       1.313/execute
                      Method:PUT
                      {
                      "name":"Cisco 'show
                       hardware'","description":null,"oid":null,"target":"com.dorado.redcell.d
                       evicedriver.cisco.ciscorouter.CiscoRouter::WFKyfBmJkHo3G03","definition
                       Oid":"com.dorado.redcell.inventory.task.TaskDefinition::ZvfczDh-e60G03-
                       sQ-
                       1.313","sessionId":null,"status":null,"ordinal":0,"groupId":null,"lastE
                       xecuted":null,"lastModified":null,"dateCreated":null,"dataValues":[]}
                      }




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         Calling an Independent Token Generation Action
                   If a cached token has expired or is invalid, OpenManage NM generates a new token by calling an
                   independent action and saves it in cache. This executes an action requiring authentication.
                   The format of token generation script (mg_os_generateTokenOnly) is as follows:
                        TOKEN_BEGIN
                        TokenProperty: X_Auth_Token
                        TokenAccessParams: access.token.id
                        URL:http://10.101.53.2:5000/v2.0/tokens
                        Method:POST
                        {
                        "auth": {"tenantName": "admin","passwordCredentials":
                         {"username":"admin","password":"admin"} }
                        }
                        TOKEN_END


                   The format of a script that uses this token generated by
                   mg_os_synergy_generateTokenOnly is:
                        TokenActionName: mg_os_synergy_generateTokenOnly
                        URL: http://localhost:8089/rest/actiondefs/
                   Method:GET
                   In such a script, TokenActionName is the name of the token generation RESTful Web Services
                   Action.

         Supported Script Formats
                   The following sample scripts confirm to the designed format:
                    •   Sample scripts that do not need authentication
                    •   Sample scripts of a token generation action
                    •   Sample scripts that use a token generation action
                    •   Sample scripts that combine token generation and execution in one action
                   Sample scripts that do not need authentication

                        URL:http://headers.jsontest.com/
                        Method:GET


                        URL:http://10.101.53.2:5000/v2.0/tokens
                        Method:POST
                        {
                        "auth": {"tenantName": "admin","passwordCredentials":
                         {"username":"admin","password":"admin"} }
                        }




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               Sample scripts of a token generation action

                      TOKEN_BEGIN
                      TokenProperty: X-Auth-Token
                      TokenAccessParams: tokenId
                      TokenExpiryTime: 86400
                      URL:http://192.168.53.50:8089/rest/auth/
                      Method:POST
                      { "username" : "admin", "password" : "admin" }


               TOKEN_END


               The following script contains all available fields for demonstration purposes.
                      TOKEN_BEGIN
                      TokenProperty: X-Auth-Token
                      TokenPrefix:Bearer
                      TokenPostfix:
                      TokenAccessParams: access.token.tokenId
                      TokenExpiryTime: 86400
                      TokenAuthenticationType:Base64
                      TokenAuthenticationID:abc:xyz
                      URL:http://localhost:8089/rest/auth/
                      Method:POST
                      RequestPropertyName:abc RequestPropertyValue:def
                      RequestPropertyName:ghi RequestPropertyValue:jkl
                      { "username" : "admin", "password" : "admin" }


               TOKEN_END

                        CAUTION:
                      You must format JSON script headers (example: Accept:application/xml) as follows:
                      PropertyName:Accept PropertyValue:application/xml.

               Sample scripts that use a token generation action
                      TokenActionName: mg_synergy_generateTokenOnly
                      URL: http://localhost:8089/rest/actiondefs/
                      Method:GET


                      TokenActionName:mg_pp_tokenGenerationOnly
                      URL:https://api.sandbox.paypal.com/v1/payments/payment
               RequestMethod:GET




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                   Sample scripts that combine token generation and execution in one action
                        TOKEN_BEGIN
                        TokenProperty: X-Auth-Token
                        TokenAccessParams: tokenId
                        TokenExpiryTime: 86400
                        URL:http://192.168.53.50:8089/rest/auth/
                        Method:POST
                        { "username" : "admin", "password" : "admin" }


                        TOKEN_END
                        URL: http://localhost:8089/rest/workorderdefs/
                   Method:GET
                   This is a functioning script with changed values for TokenAuthenticationID
                        TOKEN_BEGIN
                        TokenProperty:Authorization
                        TokenPrefix: Bearer
                        TokenAccessParams: access_token
                        TokenExpiryTime:1440
                        TokenAuthenticationType: base64
                        TokenAuthenticationID:AQ6pmxAg:14VJ8Y6fA
                        URL:https://api.sandbox.paypal.com/v1/oauth2/token
                        Method:POST
                        grant_type=client_credentials
                        TOKEN_END
                        URL:https://api.sandbox.paypal.com/v1/payments/payment
                        Method:POST
                        {
                        "intent":"sale",
                        "payer":{
                        "payment_method":"credit_card",
                        "funding_instruments":[
                        {
                        "credit_card":{
                        "number":"55555555550331",
                        "type":"visa",
                        "expire_month":11,
                        "expire_year":2018,
                        "cvv2":"874",
                        "first_name":"Betsy",
                        "last_name":"Buyer",
                        "billing_address":{ "line1":"111 First Street", "city":"Saratoga",
                         "state":"CA", "postal_code":"95070", "country_code":"US" }
                        }
                        }




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                      ]
                      },
                      "transactions":[
                      {
                      "amount":{
                      "total":"7.47",
                      "currency":"USD",
                      "details":{ "subtotal":"7.41", "tax":"0.03", "shipping":"0.03" }
                      },
                      "description":"This is the payment transaction description."
                      }
                      ]
                      }




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DNS Resolution Monitoring | Actions and Adaptive CLI



DNS Resolution Monitoring
                   Perform DNS resolution monitoring actions against WBEM-enabled devices by using the following
                   action scripts:
                    •    WBEM DNS Record Check executes a dig command from the target WBEM device to query
                         for a DNS record against a specified host name. Inputs include a target host name, the DNS
                         record type, and a match string to test against the dig command results.
                    •    WBEM DNS Record Check (With Specified DNS) is the same as WBEM DNS Record
                         Check, but includes an input for the DNS server IP to execute against.
                    •    WBEM DNS Reverse Lookup executes a dig command from the target WBEM device to
                         perform a reverse lookup against an IP address. Input includes a Host Name Match field to
                         perform a match against the host name returned by the command.
                    •    WBEM DNS Reverse Lookup (With Specified DNS) is the same as WBEM DNS Reverse
                         Lookup, but includes an input for the DNS server IP to execute against.

                         NOTE:
                         The target WBEM device must have the dig tool installed before these commands can be executed. This
                         can be done in CentOs by executing the following command:
                         yum install bind-utils
                   These action scripts return a success value of 1 if the dig command’s results contain the match
                   string and a value of 0 if the results do not contain the match string. To determine if a change has
                   occurred in the DNS record, monitor this value.
                   The following sample monitors are seeded for WBEM DNS actions and you can modify them as
                   needed:
                   WBEM DNS Record A Monitor
                   WBEM DNS Reverse Lookup Monitor
                   Create a WBEM DNS ACLI monitor from the Resource Monitors portlet.
                     1   Right-click > New.
                         The Select Monitor Type list is displayed.




                     2   Select Adaptive CLI > Continue.
                         The Creating New Monitor window is displayed.




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                3     Enter a monitor name and then click the Monitor Option tab.




                4     Select any monitor targets.
                5     Select the needed WBEM DNS adaptive CLI.
                      a. Click add (+).
                      b. Search for WBEM.
                      c. Select the appropriate action.
                      d. Click Select.




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                     6   Set the input parameters.
                         a. Click the input parameters edit icon.
                         b. Enter the host name, record type, and match string.
                            Ignore the Success attribute. It is defined in the action and contains the success value.
                            Success is the attribute that is monitored.
                         c. Click Save.




                     7   Enable the monitor attribute.
                         a. Click the Monitor Attributes tab.
                         b. Click the attribute’s edit actions icon.
                         c. Select Enabled.
                         d. Click Save.




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                8     Save your monitor.
                      The Resource Monitors portlet displays your monitor.
                9     Right-click your monitor and then select Enable.
                      Data appears after a few polling cycles.
                      Now you can create a dashboard to display the polling data over time. You can also copy this
                      monitor to create multiple instances with different parameters.




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Basic URL Monitoring | Actions and Adaptive CLI



Basic URL Monitoring
                   Monitor the HTTP status of a URL using the Get URL Status of Device action. This action allows
                   you to input a target device, a port, a URL suffix for a sub-site, and select the Https option. This
                   action returns an HTTP status, such as 200 or 501 that can be monitored.

                         NOTE:
                         There is a second action called Get URL Status, which allows you to test the HTTP status of the URL
                         provided as an input. The Get URL Status action is target-less. Do not use it as the ACLI for a monitor.
                   A sample URL Status of Device Monitor is seeded for the Get URL Status of Device action and
                   can be modified as needed.
                   Create a basic URL ACLI monitor from the Resource Monitors portlet as follows.
                     1   Right-click > New.
                         The Select Monitor Type list is displayed.




                     2   Select Adaptive CLI > Continue.
                         The Creating New Monitor window is displayed.




                     3   Enter a monitor name and then click the Monitor Option tab.




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                4     Select any monitor targets.
                5     Select the Get URL Status of Device adaptive CLI.
                      a. Click add (+).
                      b. Search for get URL.
                      c. Select Get URL Status of Device.
                      d. Click Select.




                6     Set the input parameters.
                      a. Click the input parameters edit icon.
                      b. Select the Https option.




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Basic URL Monitoring | Actions and Adaptive CLI


                         c. Enter the port and URL suffix.
                            Ignore the HTTP Status Code parameter. It is defined in the action containing the
                            resulting status. The HTTP Status Code is the attribute that is monitored.
                         d. Click Save.




                     7   Enable the monitor attribute.
                         a. Click the Monitor Attributes tab.
                         b. Click the attribute’s edit actions icon.
                         c. Select Enabled.
                         d. Click Save.




                     8   Save your monitor.
                         The Resource Monitors portlet displays your monitor.
                     9   Right-click your monitor and then select Enable.
                         Data appears after a few polling cycles.
                         Now you can create a dashboard to display the polling data over time. You can also copy this
                         monitor to create multiple instances with different parameters.




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                                                                       TCP Port Monitoring | Actions and Adaptive CLI



TCP Port Monitoring
               Monitor the TCP port status using the following action scripts, which allow you to input a target
               and a target port:
                •     TCP Port Status by Managed Device allows you to set a specific TCP port after choosing one
                      or more managed device targets.
                •     TCP Port Status by Host Name or IP allows you to set a specific port number and a target IP
                      address or host name.
               Each action returns a success or failure value that can be monitored.
               The following sample monitors are seeded for the TCP Port Status by Managed Device action:
               TCP Port Check Telnet
               TCP Port Check SSH
               These monitors may also be modified or copied.

       TCP Port Status by Managed Device
               Create a TCP Port Status by Managed Device ACLI monitor from the Resource Monitors portlet as
               follows.
                1     Right-click > New.
                      The Select Monitor Type list is displayed.




                2     Select Adaptive CLI > Continue.
                      The Creating New Monitor window is displayed.




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TCP Port Monitoring | Actions and Adaptive CLI




                     3   Enter a monitor name and then click the Monitor Option tab.




                     4   Select any monitor targets.
                     5   Select the TCP Port Status by Managed Device adaptive CLI.
                         a. Click add (+).
                         b. Search for TCP.
                         c. Select TCP Port Status by Managed Device.
                         d. Click Select.




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                                                                      TCP Port Monitoring | Actions and Adaptive CLI




                6     Set the input parameters.
                      a. Click the input parameters edit icon.
                      b. Enter the TCP port parameter.
                         Ignore the Success parameter. Success is the value defined in the action and indicates
                         success or failure. This is the attribute being monitored.
                      c. Click Save.




                7     Enable the monitor attribute.
                      a. Click the Monitor Attributes tab.
                      b. Click the attribute’s edit actions icon.
                      c. Select Enabled.
                      d. Click Save.




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TCP Port Monitoring | Actions and Adaptive CLI


                     8   Save your monitor.
                         The Resource Monitors portlet displays your monitor.
                     9   Right-click your monitor and then select Enable.
                         Data appears after a few polling cycles.
                         Now you can create a dashboard to display the polling data over time. You can also copy this
                         monitor to create multiple instances with different parameters.

         TCP Port Status by Host Name or IP
                   Create a TCP Port Status by Host Name or IP ACLI monitor from the Resource Monitors portlet
                   as follows.
                     1   Right-click > New.
                         The Select Monitor Type list is displayed.




                     2   Select Adaptive CLI > Continue.
                         The Creating New Monitor window is displayed.




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                                                                         TCP Port Monitoring | Actions and Adaptive CLI


                3     Enter a monitor name and then click the Monitor Option tab.




                4     Do not set monitor targets. This single host name or IP is set in the following steps.
                5     Select the TCP Port Status by Host Name or IP adaptive CLI.
                      a. Click add (+).
                      b. Search for TCP.
                      c. Select TCP Port Status by Host Name or IP.
                      d. Click Select.




                6     Set the input parameters.
                      a. Click the input parameters edit icon.
                      b. Enter the host name or IP and TCP port parameters.
                         Ignore the Success parameter. Success is the value defined in the action and indicates
                         success or failure. This is the attribute being monitored.
                      c. Click Save.




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TCP Port Monitoring | Actions and Adaptive CLI




                     7   Enable the monitor attribute.
                         a. Click the Monitor Attributes tab.
                         b. Click the attribute’s edit actions icon.
                         c. Select Enabled.
                         d. Click Save.




                     8   Save your monitor.
                         The Resource Monitors portlet displays your monitor.
                     9   Right-click your monitor and then select Enable.
                         Data appears after a few polling cycles.
                         Now you can create a dashboard to display the polling data over time. You can also copy this
                         monitor to create multiple instances with different parameters.




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Serving Multiple Customer Accounts
Multitenancy lets you manage your customers’ tenant networks from a central OpenManage NM
system while at the same time providing them with secure access to their specific resources.
OpenManage NM does this with a two-tiered customer multitenant service provider (MSP) model,
assigning each customer a specific security domain for their specific resources. OpenManage NM
then restricts access to the domain to the customer or a member of the MSP domain See also
Multitenant Batch Imports in the next section.
Multitenancy is a OpenManage NM extension.
Multitenant Batch Imports
You can import Discovery Profiles, Authentications and Contacts to target multitenant domains
with a command line importer. The command is import[item], for example
importprofiles, and these commands are in the owareapps/redcell/bin directory.
These commands take the import file name as an argument. The required domains should exist in
the OpenManage NM system before import occurs. Import authentications before importing
discovery profiles that refer to them. Example XML files with the <customer> tag for domains
are in owareapps/redcell/db.
The following topics are covered:
Configuring Chat for Multitenancy – 646
Configuring Multitenancy, Site Management and Access Profiles – 647
Site Management – 652
Access Profile Templates – 659
User Site Access – 662
Constraining Data Access – 664




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Configuring Chat for Multitenancy | Serving Multiple Customer Accounts



Configuring Chat for Multitenancy
                   Sometimes you may see Colleagues not members of a tenant site in the tenant site’s status bar.
                   This is not necessary. To change this so only tenant site personnel appear in the Colleagues panel,
                   do the following:
                     1   In Control Panel, under Portal > Users and Organizations, click the link under Name to the
                         tenant site.
                     2   With the Actions button in the relevant User's field, select Edit.
                     3   In the Sites panel (the link is on the right), remove OpenManage NM, and any other sites
                         present, except the tenant site itself. Only the tenant site remains as the source of chat
                         colleagues who appear in the status bar.
                     4   Go to the tenant site. You should only be able to see authorized users for the tenant site who
                         are on the tenant site. If you are on the master site, then you can still see all users.




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                      Configuring Multitenancy, Site Management and Access Profiles | Serving Multiple Customer Accounts



Configuring Multitenancy, Site Management and Access
Profiles
               OpenManage NM can support multiple client organizations from a single instance. It can also
               constrain data access for logged on users depending on the client organization to which they
               belong. To implement multitenancy, follow the How to: Create a Multitenancy Environment on
               page 648 below.
               To understand the data constraints on tenants within a Multitenant OpenManage NM
               environment, see Constraining Data Access on page 664. See also User Site Access on page 662
               for how to give users access to multiple tenant sites.
               The following diagram describes the relationship between the pieces of Multitenancy in the order
               needed to configure a tenant site. See it in narrative form in How to: Create a Multitenancy
               Environment on page 648

                        Multitenancy Components

               Control Panel
               (Multi-Page) Site Template                   Action > View Page
               Page Template                                to add/arrange portlets on
                                                            these templates
               Site Management Portlet
               Create Tenant Site
               (Must assign previously-created Site or Page Template while creating
               the new site for the first time)

               Access Profile Templates Portlet
               Create Access Profile Templates
               (Can configure OpenManage NM capabilities for groups of sites)


               Site Management Portlet
               Configure Tenant Site Access Profile
               (Right-click for AP Editor/AP Template Editor. Assign an Access Profile
               Template to be logically ANDed with the site’s own Access Profile.)

               Managed Resources Portlet
               Right-click to assign devices to Tenant sites. See View and Further
               Configure Devices for the Site on page 649.


               User Site Access Portlet
               You can optionally configure multi-site access for selected users. See
               Configure User Site Access on page 650.


               Discovery Profiles Portlet
               You can optionally assign a discovery profile to a tenant site. See
               Assigning Sites in Discovery on page 650.




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         Provisioning Site-Creating User Permissions
                  The user(s) allowed to create tenant sites with Site Templates and the other features documented
                  here are typically Administrators. However, if you want to allow another User like Tenant Admin to
                  make tenant sites, you must grant that user's Role permissions in two areas within Control Panel:
                  Redcell > Permission Manager
                  Click the edit button to the right of the assigned Role, and grant the MSP-related permissions
                  found (MSP Access Profile Templates and MSP Site Management). Search All permissions with
                  the magnifying glass at the bottom of the editor to find these permissions.
                  Portal > Roles
                  Grant the selected user’s Role permissions within this panel. Click the Role itself, then click the
                  Define Permissions panel in the editor. Within the drop-down list, under Site Content, grant Site
                  Template permissions if you want the user to create templates, and under Portal, grant Sites > Site
                  and Sites > Site Pages Variation permissions configured as appropriate.


         How To:
Create a Multitenancy Environment
                  Creating a Site Template
                    1   A tenant’s website or portal is based on a Site or Page Templates you have created. See How
                        to: Make A Site Template on page 654. Also, see Add a new vertical menu page on page 655.
                    2   Right-click in the Site Management Portlet to create a tenant site. Click Add Site and the
                        editor appears (see Site Management Editor on page 657).
                    3   While the Site Management Editor is still open, assign a Site or Page Template you have
                        already created (see Portal > Site Templates on page 654 and click add (+) to add a page).
                        This creates the default website for the customer. You can only do this when creating the
                        customer, you cannot do it after the customer is created.

                           CAUTION:
                        Deleting a Page Template already in use makes the page unusable. Don’t do it! Also: A Site Admin can
                        choose to hide some of a tenant site's pages from a Site Member through page permissions. The page
                        permissions do not work, however, if the tenant site comes from a site template.
                    4   Save the tenant site.
                    5   If you want to configure the site further, click Action > View Pages in site as it appears in the
                        list of tenant sites. You can add portlets, and they will become part of that site.

                        NOTE:
                        The Site Map portlet discloses a site’s available pages and the portlets configured to be on each page.
                        By default, the Site Map portlet is available from the Settings page by selecting the Site Map menu
                        option. Also: Sites appear in the Control Panel under Top Level Organizations, along with the number of
                        assigned users.

                  Site Map Portlet
                  Use the Site Map portlet to see where pages, sub-pages, and portlets are located within your
                  installation. Use your browser’s search function to find portlet names within this Site Map.




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               Access this portlet by selecting the Settings > Site Map menu option.




               Creating an Access Profile Template
                 6    Access Profile Templates configure tenant site access to various capabilities. These templates
                      provide an easy way to grant levels of access to resources (for example: bronze, silver, gold) to
                      your customer base too.
                      Optionally, create an Access Profile Template, using the Access Profile Templates portlet
                      described below. Right-click and select New in the Access Profile Templates portlet to create a
                      template (see AP Editor/AP Template Editor on page 660).
                      To create an individual site’s Access Profile, right-click the tenant site you created in the Site
                      Management portlet and select Access Profile from the menu. Notice you can select from
                      available Access Profile Templates at the top of this screen too.
                      Every customer automatically has an Access profile which consists of any selected Access
                      Profile Template and any customer-specific Access Profile you configure. Configure the
                      Customer Resource Assignments by clicking Add in the Access Profile Editor. OpenManage
                      NM logically ANDs these with any selected template.
               View and Further Configure Devices for the Site
                 7    To see the tenant website, right-click the tenant site in Site Management, and select Go to
                      Site. The tenant website opens, and you will see all the pages you configured when Creating a
                      Site Template.




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                    8   If you want to confine discovered devices to a particular tenant site, right-click them in the
                        master site’s Managed Resources. Right-click a device and select Manage > Domain Access
                        Control to see the menu of available tenant sites.




                        By default, only devices either discovered for an assigned site, or those explicitly assigned with
                        this procedure appear in tenant sites.
                  Configure User Site Access
                    9   You can optionally assign specific users access to multiple tenant sites. See How to:Configure
                        User Site Access on page 663 for step-by-step instructions.
                  Assigning Sites in Discovery
                  To create discovery profiles for a particular site, select the site in the New (Specified Site) action
                  within the Discovery Profile portlet.




                  These devices are visible in the master site, but are assigned, by default, to the selected tenant site.
                  Other tenant sites do not see them.




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       Supported Portlets
               The following portlets are Multitenancy-supported. If a portlet does not appear on this list, it does
               not support Multitenancy:

                •      Actions                                                •    Location
                •      Alarms                                                 •    Map View
                •      Audit                                                  •    Report Templates
                •      Audit Trails                                           •    Reports
                •      Authentication                                         •    Resources (including Ports, Interfaces)
                •      Contacts                                               •    Schedules
                •      Customers                                              •    Top N Portlets (not the RTFA Portlets
                •      Dashboard Views                                             though)/Top Problem Nodes
                •      Discovery Profiles                                     •    Topology
                •      Event History
                •      Event Processing Rules
                •      Hierarchical View/Hierarchical View
                       Manager
                •      Links - but only if the portlet is on the
                       same page as resources


                      NOTE:
                      For the Dashboard Views portlet, you must make a dashboard for performance monitoring on the tenant site if you
                      want it to appear on the tenant site. Reconfiguring monitors makes dashboards misbehave on tenant sites.




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Site Management | Serving Multiple Customer Accounts



Site Management
                  This portlet configures customer sites and organizations, including an administrative user for
                  customer sites who can configure additional user accounts within the site. Optionally an
                  organization can have its own website customize-able with non-standard graphics.




                       NOTE:
                       Rather than the contents management tasks typical for other portlets, the wrench icon in this portlet
                       opens managing restrictions for those logging into the Multitenant environment. See Login Restrictions
                       on page 653 for more about how those work.
                  The search function can locate a site based on the Organization Name, Foreign Id, Authorized
                  User or the ID. This portlet offers the following options:
                  Add Site— Click the Add Site button at the top of the portlet to create a new profile. This opens
                      the Site Management Editor with a few more options than you might see if you right-click to
                      Edit an existing profile.
                  After you have created a site, you can see the following in its right-click menu:
                  Edit—Edit an existing Profile with the Site Management Editor.
                  Access Profile— Opens the AP Editor, described in AP Editor/AP Template Editor on page 660.
                      Use the selection pick list at the top of the editor to associate an Access Profile Template with
                      the selected site.
                       To make the Access Profile customer or organization-specific, you can augment the permitted
                       functionality in the selected template by adding shareable resources. Click the Add button.
                       Existing permissions from any selected Access Profile Template do not appear in the
                       permission type totals on the left, nor are they eliminated from the available permissions that
                       appear after you click Add.
                       A Site Admin can choose to hide some of a tenant site's pages from a Site Member through
                       page permissions. The page permissions do not work, however, if the tenant site comes from a
                       site template.
                  Go to Site [New Window/Tab]— Opens the Customer’s site in a new window or tab in your
                      browser.
                  Delete—Deletes the selected customer.
                  The expanded and summary portlets are the same. Columns in both include an automatically-
                  provided ID for each customer, the Organization Name, Authoritative User (the administrator for
                  the customer or organization), and Created which records the date the customer organization was
                  created. See Portal > Sites/Site Templates in Control Panel below for more about site
                  management capabilities.



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               Login Restrictions
               The site management portlet lets you restrict access to configured network domains. Select the
               configuration icon (the wrench) which opens the Global Site Settings dialog.




               Here the administrator can add networks that the primary site’s central domain users can login
               from, or exclusions of things like a proxy server within one of the permitted networks which allows
               external access to the web server. When attempting to login from an IP address other than those
               permitted a message appears saying Login is restricted from your current IP [IP Address].
               Notice that you must check Login Restrictions Enabled to begin restricting access. When you
               check that, global portal users can only log in from defined, permitted networks. You can also elect
               to Apply Login Restrictions to Portal Admin with that checkbox, too.

       Portal > Sites/Site Templates in Control Panel
               In addition to the Site Management portlet, authorized users can manage sites from the Control
               Panel. See the following:
                •     Portal > Sites
                •     Portal > Site Templates
                •     Click add (+) to add a page

                        CAUTION:
                      Site creation must occur through OpenManage NM’s Site Management portlet. If you bypass this portlet
                      you will not create all the data that let OpenManage NM manage the sites.

               Portal > Sites
               A list of sites created in Site Management Editor appears in this screen, and clicking the Actions
               button to the right of the listed site lets you manage the page configuration and user membership
               for tenant sites as well as the main site, if your login is a user authorized to access the main site.
               Click the link that names a site to see its logo appear on the Control Panel page, and to select any
               site template (the template selected for Public Pages also appears for Private Pages). You can even
               check Enable propagation of changes from the site template to propagate changes from that
               template to the site itself.
               You can also Deactivate or Delete a site listed there. These functions supplement the Site
               Management portlet and Site Management Editor described in this document.




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                  Portal > Site Templates
                  Multitenancy uses Site Templates configured in Control Panel to configure new tenant sites. You
                  can select a Site Template or Page Template when you create a new tenant site. The following
                  describes how to create a new Site Template.


         How To:
Make A Site Template
                    1   Navigate to Control Panel
                    2   Click the Portal > Site Templates link.
                    3   Click Add to create a new site template. Notice that, in addition to configuring the Site
                        Template’s Name and Description, you can check to make a template Active, and to Allow
                        Site Administrators to Modify the Pages Associated with this Site Template at the bottom of
                        the New screen.
                    4   Save the new template.
                    5   Click the Actions button to the right of listed templates to Edit, Manage Pages, View Pages,
                        configure portal Permissions, or Delete a selected template.
                        The Permissions configurable here are for the portal, not OpenManage NM, permissions. Use
                        Portal > Roles to configure those. See Access Profile Templates on page 659 for more about
                        configuring them on multitenant types.




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                  6   Click Manage Pages to see the tenant site’s page setup in tree form on the left, and more
                      editor options on the right and center (for example, alter the look and feel, Logo and so on)[




                  7   Click Add Page to create a new page. By default, new pages appear below the root node on the
                      tree at the left, but you can drag and drop them to any new location.
                  8   After you configure the page layout(s) as you like, including the Logo, and color scheme, you
                      can preview them by clicking the View Pages button at the top of the editor screen. This
                      opens the new configuration in a new browser tab.
                  9   To configure portlets on these pages, simply use the Add > Applications menu item. When
                      you re-open the Site Template, the portlets appear as you have configured them.
                 10   Notice that you can also Import a variety of settings from an exported LAR file with the
                      button at the top right of the screen if you want pages that nearly duplicate each other. Notice
                      also that you can Export/Import these Site Templates with the buttons at the top of the editor.
                 11   Click a page in the tree on the left to expose editing capabilities for that page, including its
                      Look and Feel and Layout (columns) with links that appear on the right. Notice that you can
                      also Copy Portlets from Page to copy the portlet setup from an already-configured page in this
                      Site Template.


        How To:
Add a new vertical menu page
                  1   Go to control panel > OMNM menu section > Site pages




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                    2   Click add (+) to add a page
                        Page is added at the bottom of the displayed Private Pages hierarchy tree.
                    3   Drag the menu item to a desired location if necessary.
                    4   Click save in the details panel on left.
                  The page is now added in the vertical menu.

                  Portal > Page Templates
                  This lets you edit a single page template as you would several pages in Portal > Site Templates.




                  Click the Open Page Template link at the bottom of this screen to see the page in a separate tab or
                  window, and add the desired portlets.




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       Site Management Editor
               This editor lets you configure customers, site administrators and their organizations.




               It has the following fields and labels:
               Organization Settings
               Name— A unique name for the customer’s organization.
               Foreign ID—An optional identifier for the customer’s organization.
               Screen Name Prefix— Enter a screen prefix for the customer. The prefix must be unique within
                    the system. The prefix is prepended to all user accounts to insure no accounts conflict across
                    organizations. So if you create a customer with a prefix of DS, and his screen name is Mark
                    then the user’s login is DS-Mark. This is automated in Site Management Editor, but you must
                    manually enter the prefix for users created in Control Panel.
                      By default this field is required. If you do not want to use screen name prefixes then edit the
                      oware/synergy/conf/server-overrides.properties file and uncomment the
                      following property:
                      #site.screen.name.prefix.required=false
               Description— Any text description for this customer.
               Custom Logo (optional)—Select a graphic. The subsequent selection screen lets you select a file,
                   and recommends it be transparent, 50 pixels in height, and proportional in width. Once you
                   have successfully selected and uploaded a logo, a preview appears below this label.
               Initial Layout—Select from the radio buttons. This determines the configuration for the initial
                     screen provisioned for the customer’s site. See Portal > Site Templates on page 654 and Add
                     a new vertical menu page on page 655 for instructions about configuring these. To take
                     effect, these must exist before the Customer exists.




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                  Authoritative User
                  These fields configure the tenant site’s administrator. The user information entered here
                  automatically configures a user in OpenManage NM.
                  First/Last Name—The name of the administrator.
                  Screen Name—The screen name of the administrator.
                  Email Address— The e-mail address of the administrator.
                  Password— The administrator’s password.
                  Site Administrator— This grants the user site administration privileges. These privileges let
                       administrators add or remove users within the site, and configure pages and layouts.
                       When an organization's administrator assigns permissions to their users and/or user groups
                       they are constrained by their own access permissions granted by the Multitenant site provider,
                       ensuring that such administrators cannot grant more permissions then they have. See How
                       to:Configure User Site Access on page 663 for information about granting users access to
                       more than one site.
                       When you try to log in as a multitenant user, even if you do not type it as part of the login ID,
                       OpenManage NM automatically prepends the Screen Name Prefix if you create the user in
                       the Site Management Editor. If you make other users for the tenant site manually in Control
                       Panel, you must manually add the prefix to assign them to the correct site. In either case, you
                       must type that prefix as part of the login ID.
                  Click Save to preserve your edits, or Close to abandon them.




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                                                          Access Profile Templates | Serving Multiple Customer Accounts



Access Profile Templates
               Configure data access for Multitenant Service Providers (MSPs) through an Access Profile (AP),
               configured in these portlets as described in AP Editor/AP Template Editor on page 660, or more
               accurately, in that AP Template plus whatever customization you configure for Site Management
               when you assign it an AP.
               An AP describes which entities within the system a site can access. When enforcing AP-based
               access, OpenManage NM identifies applicable entities based upon the Site ID. The fundamental
               difference between this approach and Site ID filtering is its ability to access an entity from multiple
               sites. For example multiple customer sites can have access to an AP template.
               This approach, along with functional permissions, lets MSPs control exactly what their customers
               can do and see.
               For example, an MSP offers Gold, Silver and Bronze tiers of service. At the Gold level customers
               have access to 12 pre-defined reports and they can create their own reports from existing report
               templates. At the Silver level customers can only access the 12 per-defined reports and at Bronze
               level the customer can only access three reports, a subset of the 12.
               To do this within OpenManage NM, the MSP would first create the necessary report templates and
               report definitions. Assume there are eight templates and 12 report definitions. At the Gold level the
               MSP would provide access to the eight templates and the 12 report definitions. The MSP could
               also give gold customers the functional permission to create a report definition. At the Silver level
               the MSP gives the customer access to the 12 reports but no functional permission to create new
               reports. Since customer at the silver tier cannot create report definitions they also cannot access
               report templates. Finally at the Bronze level the MSP provides access to the three specific reports
               available at that service level. In all cases, only target devices assigned to the respective sites appear
               in the report(s).
               This portlet lets you configure the kind of access available to customers configured in the Site
               Management portlet.




               This displays a profile’s Name, Description, and Created date by default. You can also add a column
               to display its Updated date. The expanded portlet displays the same columns and a Reference Tree
               snap-in showing connections to the selected Profile.
               This portlet’s right-click menu has the following items:
               New/Edit—Create a new or edit an existing template with the AP Editor/AP Template Editor.
                   Create Access Profiles when you assign them to sites by right-clicking in the Site
                   Management portlet.
               Delete— Remove a selected profile.




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Access Profile Templates | Serving Multiple Customer Accounts



         AP Editor/AP Template Editor
                   These editors let you create and modify Access Profiles for single sites and Templates that may
                   apply to several sites. To standardize access profiles across multiple customers, create a template.
                   Right-click a site in the Site Management portlet to see the Access Profile Editor, where you can
                   select templates. Right-click in the Access Profile Templates portlet and select New to create a
                   template.
                   These profiles configure access to OpenManage NM resources for customers configured in the Site
                   Management portlet. Use that portlet’s right-click menu to associate Profiles with Customers.




                   The editor screen contains the following fields:
                   Template Association
                   This pick list contains the templates previously configured in Access Profile Templates portlet.
                   This Template Association panel does not appear in the AP Template Editor.
                   General
                   Name—An identifier for the Access Profile.
                   Description—A text description for this Profile.
                   Resource Assignments
                   This panel displays the Type of resource on the left. To select resources of that Type, click to select
                   it, then click the Add button over the right panel. A selector of available types of access to resources
                   appears. Select the desired ones for the Profile, and they appear listed below the Add button. Use
                   the icon to the right of the permission to remove it from a profile. The types of resources
                   constrained by these templates include the following:
                    •   Actions
                    •   Contacts
                    •   Reports
                    •   Report Templates
                   Click Save to preserve your edits, or Close to abandon them.
                   The access permissions configured here dictate what users can do, and can further be limited by
                   OpenManage NM’s functional permissions.




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                                                        Access Profile Templates | Serving Multiple Customer Accounts


               This AP applies to users created in the base domain as well as those created within an organization.
               Those capabilities include assigning permissions directly to an individual user or to a user group.
               Any user within the group inherits group-assigned permissions.




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User Site Access | Serving Multiple Customer Accounts



User Site Access
                   By default, users can access only one Multitenant site. If your network has users who need to see
                   more than one site, you can configure such User Site Access in this portlet.




                   Right-clicking in this portlet offers the following menu items:
                   New —Create a new mapping of a user to a set of sites. When you click this, a screen appears
                       where you can select a user already configured in the system. The User Site Access Policy
                       editor appears after you have selected a user. Configure site access in that editor.
                   Edit — This opens the User Site Access Policy editor for the selected, already configured UserID.
                        Editing existing policy may take up to 10 minutes to take effect. If user wish to see the effect
                        right away, delete and recreate the policy.
                   Delete —Delete the user site access configuration selected.

         User Site Access Policy
                   This editor assigns Multitenant sites to users.




                   This screen offers the following selections for User Site Access:
                   Access Type — Select from Permitted (allow access to the listed sites) or Restricted (deny access to
                       the listed sites).
                   Assigned Site(s) —Click Add to select sites for the selected user’s access/restriction. Click the icon
                        on the right of a listed site to delete it.
                   Click Save to preserve a User Site Access Policy, or Close to abandon your edits.




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        How To:
Configure User Site Access
                 Follow these steps to configure User Site Access:
                  1   If you have not previously configured Multitenant sites, you must do so before configuring
                      User Site Access. See How to:Create a Multitenancy Environment on page 648 for step-by-
                      step instructions about how to do that.
                  2   Create any user(s) for whom you want to configure access.
                  3   Configure those user(s) permissions. See Configure Resource Level Permissions in this guide.
                  4   Right-click in the User Site Access portlet and select New.
                  5   In the subsequent screen, select the user whose Multitenant site access you want to configure.
                  6   The User Site Access Policy editor appears.
                  7   In the Access Type pick list, select whether you want to grant the selected user access to the
                      sites you pick (Permitted), or you want to deny their access to the sites you select (Restricted).
                  8   Click the Add button with the green plus.
                  9   In the subsequent screen, select the site(s) your user can access or from which your user is to
                      be excluded.
                 10   Click Save. The user you have configured should have access to (or be restricted from) the
                      Multitenant sites you have configured.




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Constraining Data Access | Serving Multiple Customer Accounts



Constraining Data Access
                     Constraining data access for a site involves two primary mechanisms: Site ID Filtering, also
                     referred to as Domain Id filtering, and the kind of filtering provided by Access Profile Templates.
                     The following diagrams how multitenancy can work.

                                                                       User/Group: T1-User#1
                                  Tenant#1                             Permissions: T1 Role A/Permission set
                                  Permissions: T1 Access
                                  Profile
                                                                       User/Group: T1-User#2
                                  User/Group: T1-Users
                                                                       Permissions: T1 Role B/Permission set


      Service Provider Base
      Permissions:
      Administrator, universal.


                                                                       User/Group: T2-User#1
                                  Tenant#2                             Permissions: T2 Role A/Permission set
                                  Permissions: T2 Access
                                  Profile
                                                                       User/Group: T1-User#2
                                  User/Group: T2-Users
                                                                       Permissions: T2 Role B/Permission set



           Manage > Domain Access [Resources]
                     If you right-click a Managed Resource, you can select Manage > Domain Access to configure
                     different tenant domains’ access to the selected device.




                     Click the domain(s) (besides the master domain) where you want to have access to the device and
                     then click Save.

           Site ID Filtering
                     Site Management/organization site include an internal identifier. OpenManage NM automatically
                     associates that Site ID with inventory entities created within the context of the site. That Site ID
                     then appears in any database filter whenever users retrieve data within the context of a site,
                     ensuring that the results come only from the site in context.




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               The one exception to this rule of filtering is that, from the MSP's perspective, no Site ID limits the
               visible data set, regardless of the organizational site. Inventory entities only exist within a single site
               since they hold a single site ID.
               The following entities use this approach:
                •     Resources
                •     Services
                •     Policies
                •     Authentication
                •     Discovery Profiles
                •     Locations
                •     Contacts
                •     Alarms
                •     Events
                •     Event Processing Rules
                •     Resource Groups
                •     Audit History
                •     Schedules
                •     Performance Dashboards




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VLAN Visualization
VLAN Visualization provides you the ability to collect, display, and report on VLAN related data
throughout all the managed devices in your network. The collected data can be consumed in
various ways, including table, topographical, and report based formats.
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Collecting the Data | VLAN Visualization



Collecting the Data
                    The first step in utilizing the VLAN Visualization feature is to collect the data that is needed. This
                    can be done in one of two ways.

          Get VLAN Data Executed as an Action
                    In the first method, the "Get VLAN Data" action can be run from the Actions portlet (which is
                    found, by default, under the "Resources" page:
                    When executing the "Get VLAN Data" action in this method, you will be presented with a list of
                    managed devices. You can either single select, or multi-select.




                    After you have finished selecting the devices you wish to run the VLAN data collection against,
                    select the "Execute" option, and the data will be collected.




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       Adding Get VLAN Data Action to a Discovery Profile
               The second way you can have the "Get VLAN Data" action executed against a device, is by
               including it in the list of actions that are to be executed in your Discovery Profile, when discovering
               a device.

                      NOTE:
                      VLAN Data is collected and stored in the database at the time collection is run. If the VLAN configuration
                      on a particular box has changed, the "Get VLAN Data" action will need to be run against that device
                      again. This can be accomplished by either manually executing the action, or by scheduling the action to
                      be run at a specified interval, as can be done with all other actions.




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VLAN Visualization Portlets | VLAN Visualization



VLAN Visualization Portlets
                    After having executed VLAN data collection, you are now ready to work with the data that has been
                    collected.

          Adding VLAN-Related Portlets to Your Views
                    VLAN Visualization consists of four portlets (VLAN Domains, VLAN Domain Assignment, VlANs,
                    and VLAN Memberships) that can be added to your view(s) in any manner that you see fit. You
                    may create a new page or add these to an existing page from Add> Applications in the menu.




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       VLANs Portlet
               The VLANs portlet displays the current list of all VLANs that known on your network. Each entry
               in the table will have data for:
                •     "VLAN Domain - The VLAN Domain that this VLAN is considered to be a part of (Please see
                      the "Working with VLAN Domains" section for more information regarding the notion of
                      "VLAN Domains".)
                •     "VLAN ID - The ID of the VLAN.
                •     "Name - The name of the VLAN that was captured from the device during data collection.
                •     "Description - A user settable description that can be used to store information that the user
                      would like to associate with this VLAN entry. This can be edited by right-clicking on the
                      entry, and selecting "Edit".
                •     "Member Count - The current number of members that known (for devices present in
                      inventory).




       VLAN Memberships
               The VLAN Memberships portlet displays a list of all VLAN Memberships that are known on your
               network. Each entry in the table will have data for:
                •     "VLAN - the VLAN that this membership is associated with.
                •     "VLAN DOMAIN - the "VLAN Domain" of the VLAN that this membership is associated
                      with.
                •     "Device - the device that this membership is from.
                •     "Endpoint - The port/interface that this membership is from
                •     "Switchport Mode - Whether this port/interface is set to Trunk or Access.
                •     "Tagged - Whether this endpoint is Tagged or Untagged in this membership




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VLAN Visualization Portlets | VLAN Visualization



          VLAN Domains Portlet
                    The VLAN Domains portlet displays all data for the "VLAN Domains" that have been created.
                    A VLAN Domain is a concept that we have included in order to allow the user to specify that
                    equipment being managed may be from different labs, different customer sites, etc. that are not in
                    the same network. For example, if you have two groups of managed devices , and they are on
                    entirely different networks, but they both have a VLAN30, you will need a way to inform the
                    software that the VLAN30 on the first group of devices is different from the VLAN30 on the second
                    group of devices. The VLAN Domain concept provides you with the functionality to do this. (See
                    the Working with VLAN Domains section for more information on VLAN Domains.)
                    Each entry in the VLAN Domains Portlet will contain data for the following:
                     •    Name - The Name of the VLAN Domain. These must be unique.
                     •    Description - Description of the VLAN Domain.

          VLAN Domain Assignments
                    The VLAN Domain Assignments portlet will display one entry for each assignment of a particular
                    port, interface, device, etc. to a VLAN Domain. (For more information regard VLAN Domain
                    Assignment, please see "Working with VLAN Domains").




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Working with VLAN Domains
               As previously mentioned, due to the fact that when collecting VLAN data from a particular device,
               it is impossible to tell one "VLAN30" apart from a "VLAN30" that might be on a different device -
               one that is not networked to the first device in any way - the concept of a "VLAN Domain" has been
               introduced. By making use of these VLAN Domain Assignments, you can inform the software
               when one "VLAN30" is separate from another "VLAN30".

       Creating a VLAN Domain
               The first step to making use of VLAN Domains, is to create one in "VLAN Domains" portlet. To
               initiate the creation process, right-click anywhere within the table, and select the "New" option
               (Note: If you have not yet added the "VLAN Domains" portlet to a page, you must do so. Please
               see "Adding VLAN Related Portlets to Your View(s)" for more information.)




               After selecting this option, you will then be presented with a dialog prompting you to enter a name
               and description for your new VLAN Domain.




               After entering the information, click "Save", and your new VLAN Domain should now exist within
               the system, and be ready for use.




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         Default VLAN Domain
                  A Default VLAN Domain is seeded automatically. It cannot be deleted, and any piece of
                  equipment that is not specifically assigned to a different VLAN Domain will be assumed to be on
                  this Default Domain.

         Assigning to a VLAN Domain
                  Now that you have a created a VLAN Domain, you are able to assign equipment to it. Assignment
                  can be performed at any level. For example, you are able to assign a specific port/interface to a
                  VLAN Domain, in addition to being able to assign an entire card, or even an entire device.
                  To initiate the assignment process, you will select "Assign to VLAN Domain" from the actions
                  portlet
                  Once you have located the action, select the "Execute" option to begin.




                  From the first dialog, you will be asked to select what piece of equipment you wish to assign. You
                  can choose what type of equipment (Card, Equipment and Subcomponents, Interface, Managed
                  Equipment, or Port) by selecting the appropriate option from the upper most combo box. Also
                  note that multi-selection is enabled here, so you can assign multiple objects in one action.




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               Once you have finished adding selections, and clicked "Done", you will then be presented with a
               dialog that will allow you to select which VLAN Domain you wish to assign your selected
               equipment to.




               Clicking the "Click to Select" button will present you with a list of all existing VLAN Domains to
               choose from.




               After selecting your desired domain, and clicking the "Execute" button, the selected equipment will
               be assigned to your specified VLAN Domain, and VLAN Membership will be re-calculated.




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                  To illustrate this, let us consider the following example. Assume you have two devices, "Device1",
                  and "Device2". On both of them, VLANS 10, 20, and 30 exist. If you had run the "Get VLAN
                  Data" action against Device1 and Device2, and ports/interfaces on Device1 and Device2 were
                  tagged/untagged in those VLANs, you would find the following:
                   •    VLANs 10, 20, and 30 would exist , and entries for them would be visible in the "VLANs"
                        portlet.
                   •    As there were no VLAN Domain Assignments for anything on either device, each of those
                        VLANs would be assumed to exist on the Default VLAN Domain. Thus, in the "VLANs"
                        portlet, you would see entries for VLAN10, VLAN20, and VLAN30, and each of them would
                        be "assigned" to the "Default" VLAN Domain.
                   •    In the "VLAN Memberships" portlet, you would find membership entries for all VLAN ports/
                        interfaces, on either device, and they would all be associated with the three VLANs
                        mentioned above.
                  Now let's say that we have assigned Device1 to VLAN Domain "Alpha" (A VLAN Domain that you
                  had previously created). Upon assignment, "Get VLAN Data" will automatically be run against all
                  affected equipment, and you would find the following:
                   •    VLANs 10, 20, and 30 - on the Default VLAN Domain - would exist, and entries for them
                        would be visible in the "VLANs" portlet.
                   •    "VLANs 10, 20, and 30 - on the "Alpha" VLAN Domain - would exist , and entries for them
                        would also be visible in the "VLANs" portlet.
                   •    All VLAN ports/interfaces on Device1 - the device that was assigned to the "Alpha" VLAN
                        Domain - would have VLAN Membership data visible in the "VLAN Memberships" portlet,
                        and they would all be associated with the 10, 20, and 30 VLANs - on the "Alpha" VLAN
                        Domain.
                   •    All VLAN ports/interfaces on Device2 - a device that still has no VLAN Domain Assignments
                        associated with it whatsoever - would have VLAN Membership data placing them in their
                        appropriate VLANs - on the "Default" VLAN Domain.

         VLAN Domain Inheritance
                  In order to simplify VLAN Domain assignment, The software incorporates the idea of child
                  components of a device inheriting VLAN Domain assignment from their parent components. For
                  example, you are able to assign a specific port/interface to a VLAN Domain, and only that port/
                  interface will be considered to be assigned to it. If, however, you assign the card - that several ports
                  are contained in - to a VLAN Domain, all ports on that card will also be assumed to be assigned to
                  the same VLAN Domain that their parent card is assigned to. This inheritance is supported all the
                  way up through the top level - i.e., the device itself.

                       NOTE:
                        It is possible to have multiple levels of assignment on any given device; however, please note that when
                        calculating VLAN Membership for a given port/interface, only the first VLAN Assignment found in the
                        parent/child tree will be used!
                        For example, if you have assigned a the top level device, "Device1", to VLAN Domain "Alpha", but you
                        have also individually assigned a port on Device1, "portA", to VLAN Domain "Omega", when VLAN
                        Membership is calculated for "portA", it will be assumed to be on the "Omega" VLAN Domain, despite
                        the fact that the device it is contained in - Device1 - is assigned to VLAN Domain "Alpha"!




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       Cascade VLAN Domain Assignment
               In order to simpify assignment of equipment to VLAN Domains, is the concept of "Cascade"
               assignment. The "Cascade" option can be selected when executing the "Assign to VLAN Domain"
               action.




               When this option is selected, the VLAN Domain Assignment will cascade throughout all other
               VLAN ports on a given device, and all devices linked to that one. The manner in which it cascades
               will depend on the initial point (port/interface, or device) that the cascade was started from.
               If you have selected a port/interface to initiate the cascade, the following will occur:
                •     All VLANs that port/interface are members of will be considered to be "in play" for the
                      cascade. For example, if it is an access port, and it is only on VLAN30, then only VLAN30 will
                      be considered during the cascade. If, however, it is a trunk port, and it is a member of VLANs
                      10, 20, and 30, all three of those VLANs will be "in play".
                •     The selected port/interface will be assigned to the specified VLAN Domain.
                •     All other ports/interfaces, on the same device as the initially selected port/interface - that
                      share at least one VLAN with the initially selected port/interface - will also be assigned to
                      specified VLAN Domain.
                •     The cascade will then look for other devices that are linked to the device that the initially
                      selected port/interface is on, and check to see if VLAN data (for any of the VLANs in play) is
                      going over those links (VLAN data is assumed to be going over a link if both ends of the link
                      have at least one shared VLAN).
                •     If a linked device is determined to be in the same VLAN, the cascade process will continue on
                      that device, and branch out from there.
               If you have selected a device to initiate the cascade, the following will occur:
                •     ALL VLANs that are present on that device will be considered "in play" for the cascade. If, for
                      example, VLANs 10, 20, and 30 are present on the selected device, VLANS 10, 20, and 30 will
                      be considered "in play".
                •     That top level device will be assigned to the specified VLAN Domain.



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                   •    The cascade will then check to see if there are any other devices that are linked to the initially
                        selected device. If there are, it will check to see if those devices have VLAN traffic - from the
                        VLANS that are considered to be in play - passing over them (VLAN data is assumed to be
                        going over a link if both endpoints have at least one shared VLAN - from the VLANs that are
                        in play - on them).
                   •    If a linked device is determined to be in list of VLANs that are "in play", the cascade process
                        will continue on that device, and branch out from there.

         Deleting a VLAN Domain
                  When you no longer need a VLAN Domain, they can be deleted from the VLAN Domain portlet.
                  You can initiate this process by going to the portlet, selecting the VLAN Domain you wish to
                  delete, and selecting the "Delete" option from the menu.




                  After confirming the deletion, the VLAN Domain will be deleted, and VLAN Membership data will
                  be recalculated.

                       NOTE:
                        The Default VLAN Domain is seeded at installation, and cannot be deleted.




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Consuming VLAN Data
               After having assigned equipment to VLAN Domains, and having executed the "Get VLAN Data"
               for the desired devices, you are then able to view/work with the data that has been collected. There
               are several places in which the data is available, and they will be discussed here.

       VLAN Portlets
               The previously covered VLAN Portlets (VLAN Domains, VLAN Domain Assignments, VLANs, and
               VLAN Memberships) will be populated with all known/collected data. These portlets can be placed
               on whichever pages you like, and will display their relevant data.
               In each portlet you are able to filter the data with simple and "Advanced" filters:
               Example "simple" filter, displaying on VLANs with VLAN Id 91:




               Example "Advanced" filter displaying all VLANs on VLAN Domain "Omega"




       Details Pages
               VLAN Data is present in the "Details" pages in multiple places, and it is context-sensitive. For
               example, when viewing the Details page for a given device, you will find all VLAN Memberships for
               that device listed under the "Network" tab:




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                  You will also find context sensitive VLAN Membership data available in the Details for port/
                  interfaces.




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               In addition to this, the Details pages for VLAN Domains, and VLANs also contain context-
               sensitive listings.




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         Visualization
                  In addition to viewing the data it table based representations, VLANs can be visualized in a
                  topographical representation. To do this, select the VLAN that you wish to Visualize from the
                  VLANs portlet, and select the "Visualize" option.




                  Upon doing this, you will be presented with a topographical view of all devices, ports, and
                  interfaces that are members of the selected VLAN. Links that have been discovered that have
                  VLAN traffic - from the selected VLAN - going over them, will also be included in the
                  topographical representation presented to the user.




                  Once you are inside the Visualizer, you will be able to mouse over various node/edges, and get
                  additional data. Additionally, if you select device level nodes, you will be able "Expand" those
                  nodes, to see the individual VLAN ports/interfaces on that device.




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         Saving a View
                  Layout of the nodes/edges is handled on a best-effort basis. It is possible, however, for a user to
                  manually arrange the nodes in manner they desire, and to then save this view for future use. To do
                  this, drag the nodes to their desired location, and then select the "Save this view to the associated
                  context" option from the toolbar at the top of the Visualizer.




                  After having saved the view in this way, the saved view will automatically be loaded whenever the
                  same VLAN is selected for visualization.

         Multi-Selection of VLANs for Visualization
                  It is possible to visualize several VLANS at the same time. To do this, you must first maximize the
                  "VLANs" portlet. From this maximized view, you are then able to multi-select VLANs, and then
                  execute the "Visualize" operation.




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               Visualization of multiple VLANs is exactly the same as visualization of a single VLAN, with the
               exception that all memberships for both VLANs are displayed.




       Reporting
               VLAN, VLAN Membership, VLAN Domain, and VLAN Domain Assignment data is available for
               use within the standard Reporting features. To make use of it, Report Templates containing the
               desired VLAN data can be created, Reports using those templates can be constructed, and those
               Reports can then be executed.




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                  For more information on working with Reports, please see the associated section in User Guide.




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Troubleshooting
This section covers the following troubleshooting topics:
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WMI Troubleshooting Procedures – 715
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Troubleshooting Your Application | Troubleshooting



Troubleshooting Your Application
                   The following describes troubleshooting steps from installation to execution of this application.
                   Installation logs are in the directory $OWARE_INSTALL_ROOT. Log files are setup.log,
                   app_setup.log, and db_setup.log (this last log does not appear if you install an Oracle
                   database).

                        NOTE:
                         Because this software installs in many different settings, and permits many add-ons and options, not all
                         troubleshooting tips may apply to your installation.


         Troubleshooting Prerequisites
                   Before you begin troubleshooting any serious problem you will need the following:
                   System details
                    •    Hardware specifics (as applicable)… processor, memory and disk (free space, and so on).
                    •    Operating system and version?
                    •    OpenManage NM version
                    •    Browser and version? Java? Flash?
                    •    Single or distributed installation? Clustered?
                   Environment details
                    •    How many managed devices?
                    •    Main features used?
                   Troubleshooting
                    •    Screenshots of errors
                    •    Logs (the logs.jar file produced by running getlogs)
                    •    A complete description of the problem, and the steps to reproduce, and a complete
                         description of anything already tried that did not work.




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       Mini Troubleshooting
               Suggested mini-troubleshooting steps for a balky application that is already installed and running:
                1     Refresh the browser. If that does not work...
                2     Clear the browser’s cache (Firefox in particular loves persistent old pages), then refresh.
                      When you see a difference between direct access behavior between browsers on two different
                      machines, delete temporary internet files. In Windows, open control panel, and open Java.
                      Click the Settings button in the General panel, and click Delete Files. Delete for Applications
                      and Applets and Trace and log files.
                      If that does not work...
                3     Stop and start the browser. If that does not work...
                4     Stop and start the web server
                      For Windows, to start the web server manager: oware\synergy\tomcat-
                      X.X.X\bin\startsynergy. For Linux.
                      /etc/init.d/synergy start or /etc/init.d/synergy stop
                      Worth noting: The tray icon for the web server (        ) is “optimistic” about both when the
                      web server has completely started and completely stopped. You cannot re-start web server
                      when its Tomcat process still lingers. If you lack patience, kill the (large) Tomcat process then
                      re-start web server. The smaller one is that tray icon.
                      If that does not work...
                5     Stop and start application server. Command lines for this:
                      stopappserver and startappserver
                      If that does not work...
                6     Delete the contents of the oware/temp directory and restart application server. If that does
                      not work...
                7     Reboot the host and re-start the application server, web server and browser.
               When troubleshooting (or contacting technical support), you may find pertinent information in
               logs located in the following directories:
                      ..\oware\jboss-5.1\server\oware\log
                      ..\oware\temp\soniqmq.log
                      ..\app_setup.log
                      ..\db_setup.log
               You can also run getlogs from a command line.

                      NOTE:
                      If you see errors that say your Linux system has too few threads, make sure you have set the file handles
                      correctly.
               You may see: The "<portlet> is temporarily unavailable" in portlets after install or upgrade.
               Workaround: restart the Web server by stopping and re-starting the synergy service. This can be
               done from the Windows tray icon by right-clicking on the Web server.




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         Troubleshooting Adobe Flash
                   Installing the latest Flash version is a part of OpenManage NM’s requested prerequisites. When
                   Flash is not installed on the browser, things like System Topology, selecting a license file, importing
                   a file, selecting an OS image to import, and so on, do not work. Selection dialogs require installed
                   Flash to select files from the local system. When Flash is not installed, such buttons appear to be
                   active but they do not work.

         Database Aging Policies (DAP)
                   DAP policies automatically purge or archive stale data so the database can maintain its capacity.
                   Several pre-defined and pre-seeded DAPs come with OpenManage NM. You may need to revise
                   these to fit your system. These start at specific times—see the Schedules portlet for specifics about
                   when.
                   DAPs amount to preventative maintenance since they help to maintain the database’s capacity.
                   Best practice is to do the following regularly:
                     1   In the Audit Trail Manager, create a Filter for Creation Date = prior Month and Action =
                         DAP Executed.
                     2   Review the records for Status – Failed. These indicate that a DAP job failed. As long as the
                         following DAP jobs execute, no immediate action is required. If any DAPs are repeatedly
                         failing, then consult the troubleshooting document or OpenManage NM support.
                     3   Review the DAP jobs entries and compare to the scheduled DAP start times. Confirm that
                         audit records are displaying a corresponding audit record for each scheduled execution.

         Installation Issues
                   If you are having difficulty installing the application, refer to the OpenManage NM Installation
                   Guide, Preparing for Installation section may help you resolve installation problems.

                   Installation File Issues
                   When installing from a compressed file, file corruption can result from an incomplete file copy, or
                   (FTP) transmission. One symptom of corruption: the file will not unzip. Corruption can also
                   appear when you copy unzipped installation files from Windows to Linux. These can pick up
                   erroneous line feed characters. Workarounds:
                    •    FTP installation files from Windows to Linux
                    •    Copy the entire ZIP or compressed file first, then uncompress/unzip it.




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               Installer Failure
                •     The installer fails, and you are installing on Windows 2012 (this error appears: Installer
                      User Interface Mode Not Supported.
                      Workaround: Right-click the win_install.exe file, and, in Properties, select
                      compatibility mode for Windows 7 or Vista before (re)initiating installation.
                •     If you created an installation CD from unzipped package:
                          -CD formatting limitations can truncate file names to eight characters
                         -Setup.log complains about the absence of the owareapps directory
                         -The directory name is truncated to owareapp (no “s”), win_install.exe becomes
                         win_inst.exe
                      Workaround: FTP the zipped package. If you are burning an installation CD, use the ISO file,
                      and something like the mkisofs utility as the input to the CD-ROM burner.
               Additional Windows problems include the following:
                •     Installer does not provide options to select the desired network interface card /IP address.
                      Workaround: Remove the line InstallMode=Simple from the setup.ini file in the
                      installation source directory. This enables installation in standard mode which provides
                      installation options and detection of a second network interface card (NIC).
                •     Installer fails immediately with error Create Process failed ==> %1 is not a
                      valid Win64 application.
                      Solution: Change the value of the %TEMP% environment variable. Change the default value
                      of the %TEMP% environment variable to another path you have already configured, for
                      example: C:\Temp. Use the Windows System Tools menu to do this.
                •     The installing user must have write access on target directories where the application is
                      installed.
                •     The same user who installed the software must initiate any uninstallation. Uninstalling may
                      also encounter locked files and directories. This may leave files and directories behind since
                      locking prevents their deletion. For completeness’ sake, recommended practices are manual
                      deletion or the use of an unlocker program. Clean directories are important, particularly if you
                      are uninstalling then re-installing,

               Other Installation Issues
               You may see messages like failed to reset password. The following deals with this and other
               potential problems:
                •     Make sure you can resolve the hostname to the correct IP address:
                      ping -a [IP address] and ping [hostname] and make sure they are in sync.
                      If the application becomes unusable after changing the application server IP address (post-
                      install).
                      Solution: To change the application server IP address:
                      1. Shutdown application/web server
                      2. Open command prompt/shell and source environment. (for Windows: Type
                         oware, for Linux: Type .[space]/etc/.dsienv, meaning: . /etc/.dsienv)




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                        3. Modify oware.appserver.ip property in file [installation
                           root]\oware\synergytomcat-x.x.x/webapps/ROOT/WEB-INF/classes/
                           portal-ext.properties.
                        4. Verify the file does not specify the old IP anywhere else. If it does, replace
                           with new IP address and save.
                        5. Next, modify the IP address in any shortcut URL properties and click OK.
                           [installation root]\oware\synergy\tomcat-x.x.xx\bin\portal.url
                           (Web Document tab)
                        6. Type ipaddresschange -n <new IP address> in a command prompt/shell.
                        7. Restart application and web server.
                    •    Ensure any other of the application’s installation(s) have been completely removed, if you
                         have uninstalled a previous version.
                    •    Make sure no other MySQL databases are installed (some Linux packages include them by
                         default).
                    •    You must be user with administrator permissions to install.
                   Standalone Database Installation Problems
                    •    Errors appear after installing a standalone database, even though its connection has been
                         verified successful using pingdb utility.
                         Solution: After setting the environment in a shell (Windows: oware, Linux: . /etc/
                         .dsienv) Verify the following commands have been run on the application server.
                         • loaddb (create OpenManage NM database)
                         • loaddb -d instead of loaddb if the tablespace has not been created.
                         • loaddb -s (create synergy/portal database)
                         • dbpostinstall (seed components and resolve database schema changes)
                         After confirming the above, start the application server and synergy portal after application
                         server is up/ready.

                   Install-From Directory
                   Installation package files must not be in the installation destination directory.

                   Installer Logs
                   Installation logs are in $OWARE_INSTALL_ROOT. Log files are setup.log, app_setup.log,
                   and db_setup.log (this last log does not appear if you install an Oracle database). An empty or
                   missing app_setup.log means no applications were installed. This can result from a truncated
                   owareapps directory name. Solution: Correct the directory name and attempt the installation
                   again.

         Startup Issues
                   The following are some possible problems with application startup. Remember: after you first
                   install this application, the application server takes longer to start. Be patient the first time you
                   start the application.
                   The two most common reasons for the inability to start an application server which worked
                   previously are the following:




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               Application Server Does Not Start
               To find application server issues, search the server log (\oware\jboss-
               x.x\server\oware\log\server.log) file for the word error. Review the log for the first
               error or exception. This is typically the item that needs to be resolved and the most relevant for
               troubleshooting information.
                •     Installation checks to confirm your hardware is adequate, but if you are installing to a VM,
                      you can reduce hardware allocations after that installation. If you do that, your application
                      server may not start and will provide no logs. This indicates you may have inadequate
                      hardware or an inadequate portion of your hardware assigned to the VM running
                      OpenManage NM. If this occurs, check the hardware requirements, and reconfigure your VM,
                      or install on a different machine.
                      - Check the total system RAM
                      - Check the appserver heap setting in /owareapps/installprops/lib/
                      installed.properties. If it exceeds the total system RAM either you must allocate
                      more RAM or reduce the appserver setting
                      Application server should never be allocated less than 3G ram, and Web server should never
                      be allocated less than1G RAM.
                •     The following socket errors (or similar) are reported when starting the application.
                      (Feb 14, 2014 4:57:50 PM) [OWProcessMonitor] ERROR! command socket
                       failure: Address already in use: Cannot bind
                      (Feb 14, 2014 4:57:50 PM) [OWProcessMonitor] re-initializing command
                       socket: attempt 1 of 10
                      This indicates a port conflict is likely preventing your system from functioning properly. This
                      typically occurs when network management or other applications reside on the same server.
                      Determine the source of the port conflict and remove the application. Best practice is to
                      install on a dedicated server platform.
                •     Port Conflicts, as described in the previous paragraph, can arise after installation. For example
                      if you install other software that uses the SNMP ports (161 and 162), after you have installed
                      OpenManage NM, the installation cannot catch such a conflict. When you try to start it,
                      application server will report it cannot bind to that port, and fail. See Ports Used on page 1021
                      for a list of potential conflicts. The server.log file lists to such errors when they occur.
                •     Confirm your license is current and installed. Search the \oware\jboss-
                      5.1\server\oware\log\server.log file for error, and the license expired error
                      appears.
                      To install a license file without a running application server, run the licenseimporter
                      script:
                       licenseimporter license.xml
                      Your license may have a different name, but the script syntax is the same.
               Permission issues caused by license
               You receive the "You do not have a permission to view this application" message, it most likely
               means that you have an expired feature license.
               Solution:
               For Virtual Appliance:
                1     Re-apply vmlicense.xml located in the /home/synergy directory




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                     2   Apply the Dell EMC generated SKU license if you received one.
                   For Non Virtual Appliance:
                     1   Re-apply the license.xml file located in the ..\OpenManage\Network Manager directory
                     2   Apply the Dell EMC generated SKU license if you received one.
                   No valid HA license is found during installation of HA
                   After installation of the secondary appserver, the primary server goes down (appserver icon changes
                   from green to red), this most likely happened because incorrect license was applied for HA package.
                   To check the status why appserver went down, right-click on the appserver red icon and select logs/
                   server option and search for Beginning Server Shutdown. You will see:
                   2015-08-05 13:02:59,738 3040923 FATAL [com.dorado.mbeans.OWClusterPeerActiveImpl]
                   (Timer-8:) APPLICATION SERVER ERROR
                   2015-08-05 13:02:59,739 3040924 FATAL [com.dorado.mbeans.OWClusterPeerActiveImpl]
                   (Timer-8:) License Not Found for Clustering Servers in High-Availibility Mode
                   To resolve this issue, contact Dell EMC support to generate an HA license. Once HA license is
                   received, place it anywhere where appserver is installed then bring up web client and log into
                   OMNM. When at home page, select "License Management" and click on "Select File" button.
                   Navigate to where the license file is located and click on "Open" button. At this stage, after few
                   seconds, you should receive a popup message stating that license got imported. Restart appserver.
                   Startup issues for Windows installations
                   If an application or mediation server goes down ungracefully for any reason the JMS message
                   database may be corrupt in $OWARE_USER_ROOT\oware\jboss*\ server\oware\data.
                   When it becomes corrupted the application or mediation server cannot start.
                   Workaround: Delete the content of the data directory. This allows application or mediation server
                   startup.
                   See Linux Issues on page 727 for additional information about troubleshooting Linux.
                   Initial Logon after installation fails
                   If, after installation, your attempt to logon to the application fails with message Connection to
                   server failed in the Logon window.
                   Solution: The most likely cause is that the application server is not running. (Re)start it.
                   The icon in the Windows System Tray or the presence of the java.exe process indicates the
                   status of the application server.
                   If the icon is red or yellow, no client can connect (although some portlets appear without the
                   benefit of application server). If the icon is red, right-click on it and select Start from the menu.
                   The icon turns yellow as the application server starts. Wait until the icon is green, and repeat the
                   logon procedure. If this does not work, contact technical support.
                   Direct Access Fails Because of Java Security Settings
                   Some Java installations’ security settings (in v.1.7+) may block self-signed websites, interfering
                   with Direct Access. The workaround is to provide a security exception for the application server, as
                   follows:
                     1   Click Start
                     2   Type configure java and hit [Enter]
                     3   Select the Security tab.




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                4     Click Edit Site List
                5     Click Add
                6     Type the OpenManage NM URL (example: http://192.168.0.51:8080/ . Best
                      practice is to use the IP address of the application server, not localhost or 127.0.0.1)
                7     Click OK and Continue.
                8     Apply this change, and/or click OK.
               Logon Fails with Invalid Logon Message
               When you enter your User Id and Password in logon dialog and click Logon, an Invalid Logon
               message appears.
               Solution: Ensure you are entering the correct User Id and Password and click Logon. If you have
               forgotten the User Id or the Password, or if another user has changed the Password for the User Id,
               you may have to re-install the software.
               Mediation Server on separate machine fails
               Distributed mediation server failures to start can occur when multicast is disabled on your network.
               The workaround is to this property in
               owareapps\installprops\lib\installed.properties
                      oware.application.servers= [application server IP address]
               Correct this on all mediation server machines.
               Unsynchronized Clocks in Clustered Installations
               All machines in a cluster, or distributed system, must have synchronized system clocks. If this is not
               true, systems may start, but will not work correctly.
               Other Failures on Startup
                •     Another instance of appserver/medserver may be running on one host. Common error
                      contents:
               2005-06-25 08:47:51,968 ERROR [org.jboss.web.WebService] Starting failed
               java.net.BindException: Address already in use: JVM_Bind
               at java.net.PlainSocketImpl.socketBind(Native Method)
                      Solution: Stop and if necessary restart application server(s).

               Starting and Stopping Servers
               Best practice in Windows installations is to start or stop application server with the process
               monitor icon (installed by the application), when it is installed as a service. Stopping, starting or
               restarting the service through operating system’s Service Manager is not recommended. If the
               status icon in the tray is green and you restart procman (“process manager”) from Windows’
               Control Panel services, an error message appears saying the service did not stop properly. The tray
               icon then turns white. Since the application server is still running, when you try to restart the
               service again, the icon turns red.
               To restore the Process monitor icon to function correctly and show status, stop all Java and WMI
               processes in the process manager. A system reboot also re-initializes the OWProcMan (process
               monitor). Note that the service name may be different if your package has been specifically
               branded. The executable path for the service is \....\oware\bin\owprocman.exe.




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                   More Failures on Startup
                    •    Failure to connect with a database can occur when...
                             –The Oracle instance not running
                             –Oracle or separate MySQL lacks connectivity. Use pingdb -u <user> -p
                             <password> to check. Default user/password for MySQL: root/dorado
                             –Oracle database is not built, or you have not completed its installation
                             –MySQL not running (it should start automatically)
                             –Your firewall blocks ports the database needs.
                             –You see ERROR...java.lang.OutOfMemoryError in the log file.
                         The following will solve failure to see a login screen in web client:
                             1. Shutdown web server
                             2. In a command shell type the following: oware
                             3. Type mysql -u root --password=dorado This will log you into mysql database
                             4. Copy and paste into mysql shell and hit enter:
                                update lportal.layout set typeSettings = 'layout-template-
                                id=1_column\ncolumn-1=58,\n'
                                 where (groupId=10180 )
                                 AND(privateLayout=0 )
                                 AND(friendlyURL='/login' );
                             5. Restart web service.
                             6. Log into OMNM > login form comes up
                    •    Changed properties files
                           –Delete the contents of oware\temp
                    •    Connection to application server fails
                           –Application server has not fully started. Look for >>>>> Oware Application
                           Server initialization COMPLETE. <<<<< in the server.log
                   Login Failures
                    •    Invalid Logon
                            –Incorrect log in ID or password (the default for web client is User admin, password
                            admin)
                             –User has changed and forgotten password
                    •    Account is inactive
                            –Application Security Policy may be configured so passwords or accounts have an
                            expiration date.
                             –Use different account.
                    •    Memory errors that indicate too little memory on the application server can also prevent
                         login.




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               Multi-NIC Host Fails to return to the portal—When you click the Return to ... link from
                   Control panel, some unexpected URL appears in the browser. To see the root of this problem,
                   go to Portal > Portal Settings and compare the Virtual Host entry to the application server’s
                   IP address. If they are different, then DNS has two different IP addresses associated with the
                   same hostname. OpenManage NM needs an unambiguous IP address and associated
                   hostname for both application server and client.
                      Workaround(s): 1. Use a local host file and map the IP selected during installation to the
                      hostname. 2. Set the DNS server to only resolve the selected IP address to this machine’s
                      hostname.
                •     Installer fails immediately with error Create Process failed ==> %1 is not a
                      valid Win64 application.
                      Solution: Change the value of the %TEMP% environment variable. Change the default value
                      of the %TEMP% environment variable to another path you have already configured, for
                      example: C:\Temp. Use the Windows System Tools menu to do this.

       Troubleshooting Flow
               As part of the troubleshooting process, you can often determine the culprit for problems by a
               process of elimination. The following questions may help determine what is the real issue:

               Discovery/Resync
               See Communication Problems on page 701, Preventing Discovery Problems on page 701 and
               Discovery Issues on page 702
                •     Can you ping the device you are having difficulty discovering? If you can ping them, and have
                      discovered them, but ping still does not work from within the application, do the devices have
                      an ICMP management interface when you right-click > Edit them? If not, add the interface
                      and resync.
                •     Is your system permitted access to the device (on the Access Control List)?
                •     Are firewalls blocking access to the device(s)?

                      NOTE:
                      The command service iptables stop turns off the Linux firewall. Turning it off temporarily is
                      recommended when you first install.
                •     Is any other software on the application server/mediation server host causing a port conflict?
                      (Uninstall it)
                •     Is SNMP is configured on the target device and read/trap, write community strings? Is SNMP
                      correctly set up? (check with Network Tools and MIB browser or a tool like iReasoning’s MIB
                      browser)
                •     Is Telnet or SSH configured on the target device and can you Telnet/SSH to the device
                      through a command line shell or an application like puTTY?

                      NOTE:
                      Some devices support only SSH v2. Consult release notes for specifics.
                •     Are authentications created in the Authentication portlet with protocols and passwords set
                      correctly, with adequate timeout and retries configured for your network’s latency?
                •     Are Discovery Profiles using the created authentications?
                •     Does device fail to resync after deployment?
                      wait up to a minute before resync as SNMP agent is not enabled yet on the device.




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                   Backup/Restore/Deploy
                   See Backup/Restore/Deploy on page 703
                    •    Is your FTP server installed, up and running?
                    •    Is that FTP server on the same side of the firewall as the devices it addresses?
                    •    Does the device support the type of backup (FTP, SFTP, TFTP) you are attempting?
                    •    Do your authentications grant privileged access? The prompt is typically #, not > at this level
                         of access.
                    •    If the device does not successfully execute the command, then either the authentication you
                         have used does not have permission to do such commands, or the device is configured to
                         prohibit their execution.
                    •    Do FTP and TFTP servers write to the same directory, and have permissions to read/write/
                         execute to that directory?

                   Alarms/Monitors/Performance
                   Consult the User Guide’s recommendations, particularly for Monitoring and for Traffic Flow
                   Analysis. See Alarm/Performance/Retention on page 705.
                    •    Do you have the recommended hardware to handle the number of devices you are managing?
                    •    Are the devices you are monitoring sending only the relevant traps to your system?
                    •    Is your database configured correctly for the expected load? Symptoms of database
                         configuration inadequacies include slow performance when expanding the Resources portlet
                         or right-clicking on a port of a device and selecting show performance. This can also occur if
                         your database size has increased significantly since implementation.
                         Solution: For MySQL, adjust/increase the innodb_buffer_pool_size to restore performance.
                         Consult the User Guide for more about performance tuning such parameters in MySQL.

                        NOTE:
                         The internal event emsDBCapacity notifies you about how much of the database you have used.
                    •    Have you tailored your monitoring to the available capacity of your hardware? Monitoring or
                         other functionality dependant on writing to the database may stop with error specifying
                           Could not get a database connection
                         One example of an error that appears when an active monitor which is suddenly unable to
                         insert data into the database
                         2014-04-10 11:14:47,376 490736076 ERROR
                          [com.dorado.broadscope.polling.PollingResultsDAOImpl]
                          (WorkerThread#8[71.192.23.246:58220]:) persistsPollingResults failed.
                          Rolling back.
                         com.rendion.ajl.CheckedExceptionWrapper: Could not get a database
                          connection.
                         Solution: If the database can be reached over the network and has been confirmed
                         operational/healthy, the configured pool allocation(s) may be exhausted. Refer to the
                         Installation Guide and confirm sufficient pool allocations have been configured for corepool,
                         jobpool, and userpool.
                         The Installation Guide’s Clustering chapter contains suggestions for properly sizing pool
                         values based on the number of servers in your environment. Based on this information and
                         your current configuration, increase pool values accordingly.




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                •     To isolate the source of performance difficulties, does un-registering Traffic Flow exporters, or
                      turning off monitors have an impact?
                •     Not receiving flows in Traffic Flow Analyzer? Make sure that router/switch is configured to
                      send sFlows using port 6343 and NetFlow/jFlows using port 9996.

               Hardware
               See Environment/Operating System Issues on page 739.
                •     Does your hardware match the system recommendations for the number of devices managed,
                      monitoring and concurrent users?
                •     Have you followed the installation recommendations (particularly important for Linux) in
                      this guide and Installation Guide?

               Advanced Troubleshooting
               If you remain unable to resolve issues with your system, the following may be helpful.
                •     When you contact technical support, create a logs.jar file with the getlogs command,
                      so you can forward it to them.
                •     You can change the messages your system generates. That may be necessary. See Debug on
                      page 711.
               This chapter contains more troubleshooting advice like WMI Troubleshooting Procedures on page
               715, and Linux syslog not displaying on page 729 (setting up devices for various vendors).




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                   Upgrade/Data Migration Fails
                   I. Unexpected Database Behavior after Upgrade: If you observe unexpected behavior after an
                   application upgrade, review installation logs. Confirm evidence appears that the upgrade executed
                   dbevolve. If not...
                   Solution: Execute the following steps
                     1   Shut down the application.
                     2   Open a shell/command prompt on (the primary) application server.
                     3   Execute command dbpostinstall.
                         This step resolves potential database changes between application versions. You must run the
                         command for both MySql and Oracle database environments too.
                   II. Upgrade Fails with Database Connection Failure: If an upgrade installation fails with the
                   message with the app_setup.log error Connecting to database...>>>>> ERROR:
                   OWSessionIDRDBMS : Failed to make database connection, the problem is that the
                   database is not running on the host being upgraded. To cure this problem, manually start the
                   database, and then re-try the upgrade installation. The following are the startup commands for the
                   embedded database:
                   Windows:
                         net start mysql
                   You should see the following response in the shell where you execute this command:
                         The MySQL service was started successfully.

                         NOTE:
                         If you substitute the word stop for start in the above, these commands manually stop the database.


         Versions
                   Before you begin more in-depth troubleshooting, you may need to know what versions of various
                   components are installed to ensure they are compatible. To see these before installing, consult the
                   version.txt file in the installation source’s root directory, or after the application is running,
                   view its Manage > Show Versions screen. Differences between version.txt and Show Versions
                   may occur when you install additional applications or patches.
                   Another way to see the versions for currently installed modules: open a shell (Start > Run cmd in
                   Windows, for example), and type oware (. /etc/.dsienv in Linux) and [Enter]. Then type
                   showversions. The currently installed modules and their versions appear in the shell. You can
                   also use the Manage > Show Versions menu in web client to find this information.

         Search Indexes
                   Sometimes this software may display Control Panel objects like Users, Roles, and Organizations
                   inaccurately. This occurs because Search Indexes need to be re-indexed every so often, especially
                   when changes to Roles, Users and Organizations are frequent.
                   To re-index go to Control Panel > Server Administration and then click on the Reindex all search
                   indexes. Reindexing is not instantaneous; expect this to take some time.




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       Communication Problems
               Firewalls may interfere with necessary communication between elements within or monitored by
               your system. Best practice when installing is to bring the firewall down, install, then once you have
               confirmed the installation runs, bring the firewall up with the appropriate ports open. (See
               Resolving Port Conflicts on page 712, also see Ports Used on page 1021 and Ports and Application
               To Exclude from Firewall on page 1034.)
               Managed devices often have Access Control Lists (ACLs) for management traffic. Best practice is
               to use a management VLAN or subnet. Note also that in-path devices may filter management
               traffic creating an obstacle to management messages. Overlapping address spaces may also
               complicate network management. Identifying such “DMZs” and overlaps is part of network
               analysis.

       Preventing Discovery Problems
               Ensure your firewall is not blocking network access to equipment you are trying to discover. The
               following describes more preventive practices to do when you discover a mixed vendor/mixed class
               network.
               ICMP (Ping)
               You can ping devices from a shell or the Network Tools portlet to insure it’s up and online.
               Telnet/SSH
                1     Manually telnet or SSH connect to a device to verify that you have the correct authentication
                      information (although Discovery Profiles’ Inspect function does this too).

                      NOTE:
                      Later versions of Windows do not include telnet by default. In addition to free telnet programs you can
                      download and install, like PuTTY, you can open a shell (Start > Run cmd) and type oware to get telnet
                      capabilities. Also: Use SSH v2 for Dell devices.
                2     If you know the device, look at its configuration file and verify that the SNMP community
                      string is correct.
                3     Discover the device.
                4     If there are any problems with any devices, then ping them, and/or telnet to problem devices
                      and verify that telnet works/authentication is good.
                5     If SNMP problems arise, use this application’s MIB browser tool to troubleshoot them.
               To verify SNMP and WMI connections are working between your system and the devices in the
               network, use the following tools:
               SNMP
                1     Open MIB Browser in the web client’s Network Tools portlet, or by right-clicking the device.
                2     Select RFC1213, system, from the RFC Standard Mibs branch
                3     If necessary, fill out the Authentication tab
                4     Select the device tab and information will populate as soon as the query is answered.




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                   WMI
                   If you are discovering WMI systems on your network, the following may be helpful.
                     1   Launch the wmiutil.exe command line tool from \owareapps\wmi\bin\"
                     2   You need to supply a user and a password along with an IP or hostname
                         Typing wmiutil.exe with no arguments returns launch the WMIUtil User Interface.
                   c:\Dorado\owareapps\wmi\bin\wmiutil.exe -user <user> -password <password> -
                   host <IP or Hostname>
                         Typing wmiutil.exe ? at a command line returns what parameters are available for the
                         command line version.

                         NOTE:
                         Even if you do not need a domain to log into your WMI device, the graphic interface for this utility does
                         not work if the domain field is blank. Any content makes it work correctly.
                   See WMI Troubleshooting Procedures on page 715 and Additional WMI Troubleshooting on
                   page 723 for additional details.

         Discovery Issues
                   Discovery may fail if its authentication or network parameters do not match the configuration of
                   devices discovered. Here, the results panel typically displays a message like No Devices were
                   detected with selected Discovery Parameters. Use the Inspect function in
                   Discovery Profiles to validate credentials entered.
                   Some additional sources of Discovery issues, and their solutions:
                    •    Equipment with management IP Addresses in the selected subnet, range, and so on does not
                         exist. Correct the selected range and retry.
                    •    The equipment in the selected range has already been discovered.
                         Managed devices can only be discovered once. Those devices that have already been
                         discovered appear in the Discovery Results section of the Discovery Wizard. Update the state
                         of previously discovered devices by selecting Resync from the right-click menu. If you want to
                         re-discover these devices, delete them from the Managed Resources portlet
                    •    The SNMP community strings/authentication on the equipment do not match the default
                         values used by this application. Correct the SNMP authentication selected for discovery.
                    •    Discovery finds a device, but features like Direct Access, Backup and Actions do not work.
                         Solution: The device likely has a correct SNMP authentication, but an incorrect CLI (Telnet/
                         SSH) authentication. Either re-run the Discovery Profile after deleting the device and
                         correcting the authentications, or right-click to edit the device and add the CLI
                         authentication and management interface, then right-click to resync the device.
                         Note that you must log into the device as a user with enough permissions to accomplish all
                         discovery and other tasks. If you log in as a user with limited permissions, then discovery
                         results reflect those limits.

                         NOTE:
                         The Inspect feature of the Discovery wizard lets you validate authentications.
                         Alternative: The device is not supported by your current license or driver set. To request
                         support, use the MIB browser to navigate to RCC1213 ifTable details, and export/save this




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                      branch. Navigate to ENTITY-MIB entPhysicalTable details and export/save this branch.
                      Attach the exported files to e-mail to support, or to a trouble ticket.
               The following describe additional discovery issues.
               HTTP Authentication
               Often, an HTTP session with devices that support it exchanges data with the device after discovery.
               This process fails if the HTTP Authentication information is incorrect. Create HTTP
               authentications that match your devices’ in the Authentications portlet and use it in discovery.
               Device O/S Overrides
               The device driver installed must support the Operation System version on that device. Verify the
               equipment’s firmware and operating systems are among those supported. Supported firmware and
               operating systems appear listed in the release notes, or in Manage > Show Versions.
               Example: Override driver-unsupported operating systems for the Juniper devices in /owareapps/
               juniper/lib/juniper.properties. Change
               com.dorado.juniper.supported.OS.dc.default.max
               This revision does not support new features. Other device drivers have similar override
               mechanisms.
               If devices appear in Managed Resources as Discovered Entities, rather than specific vendors’
               devices. This can mean the following:
                •     The equipment’s driver is not installed.
                •     The driver installed but not seeded to database. Workaround: Run ocpinstall -s on a
                      command line.
                •     Monitored devices must be configured to connect and send SNMP traps to the element
                      management system.
               If your system discovers only top level equipment, this can mean the following:
                •     Devices do not have components (interfaces, ports, and so on).
                •     An incorrect telnet/SSH authentication can have an incorrect password or no enable
                      password. Workaround: You can right-click and edit the equipment with this problem to add
                      the telnet/SSH authentication. Make sure you also add a management interface, then resync
                      the device.

       Backup/Restore/Deploy
               Failures of backup/restore capabilities often stem from failures in the external FTP/TFTP server.
               This means the FTP/TFTP server is offline, blocked by a firewall or incorrectly configured. Check
               in the File Server Manager to correct this. Also, on such servers, FTP and TFTP server must share a
               directory, and the directory must have all permissions to permit these servers to write, read and
               delete temporary files.
               If deploying firmware fails with the following symptoms:
                •     Selecting Deploy does nothing.
                •     The FTP/TFTP File Server status is Disabled.
                      Workaround: Back up the device first to validate it is connected with the FTP server.




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                   When you use the file backup (NetConfig) option, the internal FTP/TFTP server is provided for
                   testing, not production; do not use it. External FTP servers are essential for performance reasons,
                   and, if necessary, the network equipment using FTP to send/receive configuration files must have
                   FTP enabled.

                         NOTE:
                         If you have separate FTP and TFTP servers, they must read/write to the same directory.

                   If deploying firmware succeeds, but device doesn't reboot:
                   That might be because of "Console Logging" is enabled. Please disable console logging. The
                   messages from console logging interfere with the communication between OMNM and the device
                   (via CLI) and can disrupt supported functionality in OMNM.
                   Timeout
                   Timeout can occur when backing up/restoring large config files.
                   Workaround: Change timeout values in the telnet/SSH authentication object. Right-click > Edit
                   the device and change those values in the Authentication tab. Typically this means doubling the
                   timeout, and increasing retries to 2 - 3 times.

                         NOTE:
                         Secure FTP connections (scp/sftp) often require SSH services be enabled on the devices addressed.
                         Ensure your system’s server and sftp/scp file server can access the devices with SSH too.

                   Group File Management Failure
                   If group file management backup operations fail for some devices while individual backups to these
                   devices are successful, typically thread pool-related backup errors appear in logs during the related
                   time frame.
                   Solution: Your system may have insufficient threads available to handle the number of concurrent
                   tasks required by the group backup operation. Some threads could have already been in use for
                   other tasks when the group operation began.
                   To address this, increase the size of the thread pool to handle additional concurrent tasks with the
                   following steps:
                     1   Shutdown application.
                     2   Edit owareapps/installprops/lib/installed.properties
                     3   Add the following property...
                         ProvisionThreadPoolMBean.PoolSize=70
                         (Adjust as needed based on current setting and need.)
                     4   Save installed.properties.
                     5   Start application.
                     6   Execute the group backup operation.
                   By increasing the Pool Size, the application can perform additional concurrent tasks that fall within
                   the scope of this pool.




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       Alarm/Performance/Retention
               If you install your system to monitor alarms, and experience sluggish performance or a rapidly
               filling database, several remedies are available.
                •     Configure “chatty” devices emitting many alarms to stop doing so.
                •     Configure your system’s Suppress Alarms feature to keep performance the database’s capacity
                      at acceptable levels
                •     Reconfigure your system’s database archiving policy feature to archive alarms more often so
                      the database does not fill up.

               Retention Policies
               Retention policies tune how long your system retains data. These policies also have built-in limits
               (raw, hourly, daily) that help to avoid potential performance/storage problems. The potential
               impact when going outside these thresholds is significant and generally not recommended.
               Configure retention policies with the following limits in mind:
                •     Maximum # of days to retain daily data: 180
                •     Maximum # of days to retain hourly data: 14
                •     Maximum # of days to retain raw data: 1

               Network Monitoring
               You can monitor your network’s performance two ways.
                •     Scheduled polling-based monitoring is more reliable, and specific. It also has a lower impact
                      on network. It may, however, lag behind network events.
                •     Event-based monitoring (typically Traffic Flow Analysis, syslog and SNMP) is more up-to-
                      date, but, can be less reliable. It also often does not disclose the root cause of a problem.
                •     This software does not support Traffic flow analysis on sFlows from devices using sFlow earlier
                      than v5. Typical error content reads “Data array too short” if you have an unsupported sFlow
                      version.
                •     Traffic Flow Analyzer support in OpenManage NM collects and process flows with source and
                      destination IP address. Switches or devices that only support L2 flow payloads with MAC
                      address as the source and destination payload are not currently supported. Example: Juniper
                      XE devices.

                      NOTE:
                      Typical packages come with a default limit to the number of monitored devices. Upgrade your license if
                      you want to exceed the package limit. Because of the performance demands they make, Traffic Flow
                      exporters are licensed separately from the managed resource license count, so a license to manage 50
                      devices does not necessarily let you have 50 Traffic flow exporters.

                      Also: The application discards IP v6 flow packets.

                      NOTE:
                      Does Traffic flow not appear when it’s expected? Have you made sure the device is registered to display
                      traffic flow (right-click in resources Traffic Flow Analyzer > Register)?
                •     Each monitor should have 10,000 or fewer targets. Use a new monitor to track any targets
                      exceeding that number. The general best practice is to have fewer targets distributed across
                      several monitors.




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                   Using this software’s features, you can create alarms and reports for each. Best practice is to use
                   both polling and event-based protocols. Tune the polling frequency and event granularity for the
                   specific environment, topology, bandwidth, and notification needs. See the specific Monitor
                   performance recommendations.

                        NOTE:
                         Creating a baseline performance measurement report of availability, capacity and performance can
                         provide the basis of capacity planning and proactive network management.
                   Reachability may vary by protocol (for example, Telnet works, but not ping), so test multiple
                   protocols. If it is remote, try phoning the affected site and asking for information.
                   Missing Performance Data/Monitor Stops Polling
                   This is a problem related to missing performance monitor data accompanied by logs errors like the
                   following:
                         2014-02-12 11:23:45,357 705304239 ERROR
                          [com.dorado.core.mediation.base.OWMediationDeploymentHelper]
                          (WorkManager(2)-63:) The currently deployed targets for polling
                          subscription oware.polling.PollingSubscriptionDO::59x8vSybkeEj6I2 on
                          mediation partition MED_PART-medPartition have somehow become out of
                          synch with the application server and database.
                         Actual target count, coming from the database: 184 meditation server
                          currently has: 0
                         We are now resynching this information from the appliation server to the
                          mediation server so that it will once again be accurate.
                   This error indicates that your mediation servers have no current performance monitor subscription
                   targets when 184 targets were expected. This could possibly be due to a mediation server fail-over
                   to another cluster member or a mediation server coming back on-line, etc. This is an expected error
                   when a difference is detected in the expected (database) monitor subscriptions and actual
                   subscriptions in the mediation server. A periodic process executes to ensure performance monitor
                   subscriptions remain in sync.
                   Solution(s):
                    •    Verify connectivity between application servers and mediation servers.
                    •    Verify mediation server state/health and cluster member status (active/inactive).
                    •    Verify polling subscriptions in the Monitor Editor.
                    •    Verify polling skip/miss counts in the Monitor Editor.
                    •    Review number of targets in each monitor, verify each has 10,000 or fewer targets. Monitor
                         any targets over that figure in a new monitor.
                    •    Restart the mediation server process if subscription problems persist.




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       Reports
                •     I created a report and didn't specify a location. Where's my report?
                      Solution: The default location for reports is /oware/temp/reportfw under the
                      installation root.

               Report Missing Data
               This software limits reports to 5000 rows by default when saving reports to the database (Save
               checkbox checked). This limit does not apply when not saving and only exporting the report.
               Increasing this default value is not best practice because of potential performance impact.
               Solution: If you must increase the size of reports you save, increase the following report-related
               property values and restart application server(s).
                      com.dorado.redcell.reports.max.report.size (Increase to save larger
                       datasets to database - not recommended)
                      com.dorado.redcell.reports.max.report.query.size (Increase to include
                       more data in exported reports)
               Follow these steps:
                1     Edit [Installation root]owareapps/installprops/lib/
                      installed.properties and add/modify the desired properties.
                       com.dorado.redcell.reports.max.report.size=<new value>
                       com.dorado.redcell.reports.max.report.query.size=<new value>
                2     Restart application server(s).

       Web Portal
               Web portal problems can occur as described in the following section:
               I. Web portal performance is slow or login page inaccessible.
               Solution: Check/verify portal memory heap settings and increase as needed.
               To manually change the web portal heap settings, verify sufficient system memory exists then
               modify the setenv.sh (Linux) or setenv.bat (Windows) file:
                      set "PORTAL_PERMGEN=768m"
                      set "PORTAL_MAX_MEM=4096m"
                      set "PORTAL_INIT_MEM=4096m"
                      set "PORTAL_32BIT_MAX_MEM=768m"
               These files are in the [Installation root]\oware\synergy\tomcat-x.x.xx\bin
               directory.
               For Linux, restart the portal service to apply new memory settings. In Windows, besides updating
               setenv.bat you must run service.bat update in that same directory.
               II. Web Portal Displaying Errors: The application web portal displays errors immediately after
               starting application processes.
               Solution: Allow the application/web server more time to fully start before attempting to access the
               web portal.
               III. Web Portal Down, Cannot Access/Display Login Page: The application web portal displays
               errors or cannot be accessed.




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                   Solution: Verify the Portal Oracle database password has not expired. By default, netview is the
                   default user to connect to database. This appears in /opt/dorado/oware/synergy/tomcat-
                   [version]/webapps/ROOT/WEB-INF/classes/portal-ext.properties
                         jdbc.default.username=netview
                         jdbc.default.password=dorado
                   Connect using SQL*Plus to set new password, you can even use the same password you had earlier.
                         $ sqlplus
                         SQL*Plus: Release 11.2.0.1.0 Production on Mon Dec 13 01:12:07 2010


                         Copyright (c) 1982, 2009, Oracle. All rights reserved.


                         Enter user-name: netview
                         Enter password:
                         ERROR:
                         ORA-28001: the password has expired


                         Changing password for netview
                         New password:
                         Retype new password:
                         Password changed


                         Connected to:
                         Oracle Database 11g Release 11.2.0.1.0 - 64bit Production
                   After resetting the password, best practice is to set profile/policy expiration to LIFETIME to
                   prevent this from expiring again.

                         NOTE:
                         Users netview and synadmin need to have same password.


         MySQL Database Issues
                   See Optimizing Your System on page 111 for preventive my.cnf performance tuning tips.
                   I. Slow Performance: If your system’s performance slows to the extent application is unusable, and
                   its log contains the error below or similar entries:
                         com.mysql.jdbc.CommunicationsException: Communications link failure due
                          to underlying exception:
                         ** BEGIN NESTED EXCEPTION **
                         java.net.SocketException
                         MESSAGE: Software caused connection abort: recv failed
                         STACKTRACE:
                         java.net.SocketException: Software caused connection abort: recv failed
                   Solution: Follow these steps:
                     1   Review disk space, verify adequate space is available on partition.
                     2   Shutdown MySQL database.




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                3     Edit the [installation root]\oware3rd\mysql\[version number]\my.cnf
                      file. Review database size configuration and add another data file to extend size as needed.
                      Save file.
                      For example: Change:
                      innodb_data_file_path = /ibdata/ibdata1:1024M:autoextend:max:10500M
                      To:
                      innodb_data_file_path = /ibdata/ibdata1:1024M;/disk2/
                       ibdata2:1024M:autoextend
                4     Restart MySQL. You can also refer to the following link additional detail: dev.mysql.com/doc/
                      refman/5.1/en/innodb-data-log-reconfiguration.html
               II. Tablespace Full/Application crashes. Log entries indicating tables or tablespace are full. Likely
               accompanied by application crashes. Examples of log entries (which may reflect any table).
                      The table 'rc_notification_hist' is full
               or
                      InnoDB: Warning: Cannot create table 'owbusdb/pm_dtl_7879' because
                       tablespace full
               Solution: Follow these steps:
                1     Review disk space, verify adequate space is available on partition.
                2     Shutdown MySQL database.
                3     Open [Installation root]\oware3rd\mysql\[version]\my.cnf file. Review
                      database size configuration and add another data file to extend size as needed.
                      For example, change
                      innodb_data_file_path = /ibdata/ibdata1:1024M:autoextend:max:10500M
                      To:
                      innodb_data_file_path = /ibdata/ibdata1:1024M;/disk2/
                       ibdata2:1024M:autoextend
                4     Save the file.
                5     Restart MySQL. You can also refer to the following link additional detail: dev.mysql.com/doc/
                      refman/5.1/en/innodb-data-log-reconfiguration.html
               III. MySQL Connection Exceptions: The following error, or similar errors, appear in log:
                      Caused by: com.mysql.jdbc.CommunicationsException: Communications link
                       failure due to underlying exception:
                      BEGIN NESTED EXCEPTION **
                      java.net.NoRouteToHostException
                      MESSAGE: No route to host
                      STACKTRACE:
                      java.net.NoRouteToHostException: No route to host at
                       java.net.PlainSocketImpl.socketConnect(Native Method)
               Solution: This indicates a connectivity issue between your application server and the database.
               Discover the root cause of this communication issue and correct it. Here are some things to try:
                •     Check with ps -ef | grep MySQL in Linux or in Windows’ Services utility to make sure
                      your database is running. If not, re-install (or uninstall/reinstall) until this daemon/service
                      starts without problems.



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                    •    Execute pingdb to test database connectivity.
                    •    Check network interfaces and connectivity between application server and database.
                    •    Try connecting with MySQL Workbench or other tool.
                    •    Verify database is up and healthy.
                    •    Verify database login/password has not changed or expired (default user/password: root/
                         dorado)
                   IV “Too Many Connections” Error. Ironically, this error may indicate the max_connections
                   parameter in your my.cnf files is too small. To use more connections, change the setting in the
                   my.cnf file. For example, in \oware3rd\mysql\X_X_X-64\my.cnf,under the [mysqld]
                   section add:
                         max_connections = 500
                   You can login to mysql to check current settings:
                         mysql -u root --password=dorado
                         mysql> show variables like 'max_connections';
                   To check open connections
                         mysql> SHOW STATUS WHERE `variable_name` = 'Threads_connected';


         Oracle Database Issues
                   Best practice for Oracle database users is to have a database administrator configure their Oracle
                   application before installing OpenManage NM to use an Oracle database. This ensures correct
                   configuration, best performance and connection with the database.

                   Patches
                   You can patch OCPs or add them new (for new applications, drivers, or features). If you are
                   installing only a single component, rather that a re-installation with the full installation wizard,
                   installation is a three-step process:
                     1   Extract (ocpinstall -x [filename(s)])
                     2   Optionally, update/verify the database schema (on database servers only). (ocpinstall -l
                         [filename(s)])
                     3   Seed the database (on database servers only). (ocpinstall -s [filename(s)])

                         NOTE:
                         When using hostname as oracle connection URL, sometime installer may append colon to the URL after
                         the upgrade. Workaround: remove the colon from the URL in the installed.properties and portal-
                         ext.properties.
                   Refer to the Installation Guide for more about Oracle databases.
                   If you are adding jars for patches, turn applications off, rename and move the old jar before you
                   copy in a new jar. Then delete the contents of oware/temp.




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       Debug
               When an error appears in logs (see Logs on page 713) it indicates for which Java class you need to
               increase the level of logging if you want debugging information. You can change logging levels to
               get additional (debug) information.

                      NOTE:
                      Best practice is to now alter Log Categories in the Application Server Statistics portlet by clicking that
                      button. This alteration simplifies editing log4j.xml files since it provides a graphical interface, and if
                      you have more than one server, it alters the log levels for all servers at once.

               Flipdebug
               You can easily turn debug on or off with the flipdebug script. Run this while the application
               server is running and remember to wait a few moments for the application server to pick up your
               changes. Here is the usage (just type the script name to see these options):
                      Usage: flipdebug [-d] [-t] [-r] [-h|-?] [-p] product[,product]


                      -d Turn on debug for all packages
                      -t Turn on trace for all packages
                      -p Turn on trace/debug only for product[,product] (no spaces between
                       products)
                      -r Revert to original log4j settings
                      -h|-? Display usage
               The product name in -p matches the directory under owareapps. The debug and trace write to
               the log and to stdout.

               Fine-Tuning Debug
               To fine tune debug further, create a file, whose name ends in log4j.xml in the
               owareapps\installprops\server\conf directory with the categories you want changed. If
               the class does not exist within the log4j file, add it and set it to debug. Changes preserved in such
               a file remain in place until you change them again, and are not overwritten when software upgrades
               occur.
               To increase logging levels to DEBUG, change WARN or INFO to DEBUG in categories like the
               following:
                      - <category name="com.dorado.redcell">
                      -       <priority value="WARN"/>
                      -     </category>
                      ...
                      -     <category name="redcell">
                      -       <priority value="WARN"/>
                      -     </category>


                      -     <category name="RedCell">
                      -       <priority value="INFO"/>
                      -     </category>




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                   To see what categories are available, look in \oware\jboss-x.x.x\server\
                   oware\conf\log4j.xml. This file concatenates all logging categories, but is generated, and
                   should not be changed.
                   When application server starts, it detects logging levels in these categories and concatenates them
                   into the server's log4j.xml from *log4j.xml files in the server\conf directories of
                   installed components under owareapps.
                   When it starts, application server processes logging for components in order of their dependency,
                   and overrides any detected settings from a file whose name ends in log4j.xml in the
                   installprops directory.
                   This application applies detected changes once a minute. The log4j file scanner can then detect
                   any subsequent changes up to a minute after making them. The server.log is not truncated
                   when this occurs.
                   The following are additional categories that allow logging level changes:
                   For Mediation Server registration with App Server, add the following category:
                            <category name="com.dorado.mbeans.OWMedServerTrackerMBean">
                               <priority value=“WARN"/>
                            </category>
                   For SNMP and Syslog, change INFO to DEBUG in
                            <category name="com.dorado.core.mediation">
                               <priority value="INFO"/>
                            </category>
                   To view debug output:
                   Server
                   Debug does not appear in real-time in the application server shell (if you have one). View real-time
                   and historical logs in the oware\jboss-x.x.x\server\oware\log directory.

                        NOTE:
                        Typing oware in a Windows shell lets you use Linux commands like tail -f server.log. Tailing
                         it lets you watch the log file as it is generated.

                   Resolving Port Conflicts
                   Installation scans for port conflicts, but these may arise after you install too. If your application
                   runs with others, conflicts related to those other applications’ ports are possible. For example: the
                   application can have trouble communicating with the built-in TFTP server for backups. Port
                   contention of TFTP on UDP port 69 with other applications can cause this. Try rebooting the
                   system to clear any unused ports and verify that UDP port 69 is not in use before starting the
                   application.
                   Finding Port Conflicts
                   You can find ports in use with the following command line:
                         netstat -a -b -o | findstr [port number]
                   Use this command to track down port conflicts if installation reports one. Best practice is to run
                   this software on its own machine to avoid such conflicts. Freeware port conflict finding programs
                   like Active Ports are also available.




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               Logs
               You can execute the getlogs script to package relevant logs if you need technical support. Run
               this script in a command shell where you have sourced the Oware environment (in Windows Start
               > Run cmd, then run oware, or in Linux . /etc/.dsienv, and then invoke the getlogs
               script). This script creates a logs.jar file in the root installation directory, and moves any
               existing copy of logs.jar to oware\temp. This jar compresses all logs necessary for
               troubleshooting. Read the jar yourself, or forward this file to technical support to help troubleshoot
               problems.

                      NOTE:
                      Server logs are in oware\jboss-x.x.x\server\oware\log. Also: If you install with an Oracle database,
                      because the Oracle installation is outside OpenManage NM’s installer, OpenManage NM does not
                      create db_setup.log.
               The getlogs script also gathers the tomcat web server logs for the web portal.
               If getlogs halts, and does not produce a logs.jar file, it may be because someone installed
               this software, or a previous version as root, so getlogs does not have access to directories and
               groups owned by root. Change the permissions and/or ownership of those groups and directories to
               make getlogs work.
               Increasing Startup Logging
               For applications based on Oware 6.2.1 and later (see your versions.txt file or Manage > Show
               Versions for your version), you can add the following line to oware\lib\pmstartup.dat. If
               you add this line, this software logs all output from the startappserver script to a file. For example:
                      server.out.filename=/opt/dorado/pmserver.log
                      server.out.filename=G:\Program Files\dorado\OpenManage\pmserver.log
               The destination you specify can be any valid path and file name. This helps when the server never
               starts or errors occur during deployment that would not be in the usual server.log.
               Tuning Log Retention
               The following properties are in appserver.properties and redcell.properties file for
               purging log files. As with all other properties, best practice is to override them in owareapps/
               installprops/installed.properties.
                      owappserver.properties
                      # This property defines how many days to retain server log files. All log
                       files
                      # older than the specified retention days are purged. Back up older log
                       files if
                      # you want to retain them. Set the property to -1 to disable this option.
                       The
                      # default is 7.
                      oware.server.log.files.retention.days=7


                      redcell.properties
                      # This property defines where redcell client log files are stored The
                      # following is also the default:
                      redcell.log.files.location=oware.user.root/owareapps/redcell/logs




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                         # This property defines how many days to retain the client's
                         # log files. Files older than the specified age are purged.
                         # Setting the property to a negative value disables log file deletion.
                         # The default is 7.
                         redcell.log.files.retention.days=7
                   Log Generation Fails with “Build Failed” Error (Linux)
                   Log generation and the build process fails when attempting to generate logs and is accompanied by
                   an error like this:
                         BUILD FAILED
                         /opt/dorado/oware/conf/owrtbuild.xml:46: Problem creating jar: /opt/
                          dorado/logs/ocpinstall_14332.log (Permission denied)
                   To successfully build logs, included files must be owned by the installing user (example: MyUser).
                   Solution: Locate and change the ownership of file(s) breaking the build process. To repair these,
                   follow these steps:
                     1   Open a shell and source environment by typing . /etc/.dsienv.
                     2   Type getlogs.
                     3   Navigate to the file location(s) that appear in any error.
                     4   Type ls -l and review the owners for the files in this directory.
                     5   Type su root and enter root password.
                     6   Change the file ownership from user root (or other) to the installing user.
                         Type, for example: chown MyUser:MyUser ocpinstall_* to change ownership of all
                         files beginning with ocpinstall_ .
                     7   Type ls -l to confirm new file ownership.
                     8   Type exit to return to the installing user prompt.
                     9   Repeat this process until getlogs builds a logs.jar successfully without error. You may
                         need to correct file ownership in several locations before a successful build can occur.
                   To avoid a reoccurrence, do not perform any application-related command line operations while
                   logged in as root. Such tasks must always be executed by the installing user.




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WMI Troubleshooting Procedures
               The following sections describe troubleshooting common WMI problems. To monitor with WMI,
               the following must be true:
                •     WMI must be enabled on the remote, monitored server and functioning properly.
                •     The remote server must be accessible through a Remote Procedure Call (RPC) connection to
                      run WMI queries.
               If your system does not meet these conditions WMI displays an Unknown status.
               Examples of what may prevent the above can include the following:
                •     Not having local Administrator rights on the monitored host.
                •     Firewalls blocking the WMI traffic.
                •     An operating system not configured for WMI.
                •     An error in the credential password.
               To help diagnose these issues, test the WMI services, the remote WMI connections, and you
               system’s component configuration.
               The following topics provide troubleshooting assistance:
                •     WMI Troubleshooting on the local host.
                •     Testing Remote WMI Connectivity
                •     Verify Administrator Credentials
                •     Enable Remote Procedure Call (RPC)
                •     Configure Distributed Component Object Model (DCOM) and User Account Control
                      (UAC)
                •     Add a Windows Firewall Exception for Remote WMI Connections
                •     Checking the Authentication portlet to ensure correct credentials exist.
               Finally, if these troubleshooting tips are not enough, see Additional WMI Troubleshooting on
               page 723.

       WMI and Operating Systems
               Best practice is to avoid using Windows Vista And Windows 2008 for network monitoring of WMI.
               WMI works well Windows 7, even for larger networks. But with Vista and Window 2008 this is not
               true. Some tests even indicate that Windows 7 is up to 70 times faster than Windows 2008 or Vista.
               In these tests, hardware (CPU, memory) does not strongly affect WMI monitoring performance,
               nor does virtualization.

       WMI Troubleshooting
               To troubleshoot WMI, do the following:
                1     To test WMI locally, click Start > Run, then enter wbemtest.exe and then click OK. The
                      wbemtest.exe program comes with Windows that supports WMI.
                2     Click Connect on the Windows Management Instrumentation Tester window.




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                    3   Enter \root\cimv2 in the field at the top of the dialog box next to the Connect button.




                    4   Click Connect.
                    5   Click the Enum Classes button.
                    6   Select the Recursive radio button. Leave the superclass name blank, and then click OK.




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                7     If the WMI classes you are querying appear in this list, local WMI services are functioning
                      correctly.




                8     If the list does not appear or does not contain the desired WMI class, WMI is not functioning
                      correctly. Continue reading this section for guidance on repairing WMI services on the target
                      server.
                9     Click Exit.
               10     If you did not see the desired classes, Reset the WMI Counters, and re-test until those
                      classes appear.

               Reset the WMI Counters
               At times, the WMI performance counters may not get transferred to WMI because services were
               delayed or started out of order (see support.microsoft.com/kb/820847).
               To manually reset the WMI counters:
                1     Stop the Windows Management Instrumentation (WMI) service.
                2     Open a shell (Click Start > Run, type cmd, and then click OK).
                3     At the command prompt, type winmgmt /resyncperf, and then press [Enter].
                4     At the command prompt, type wmiadap.exe /f, and then press [Enter].
                5     Type exit, and then press [Enter] to close the command shell.
                6     Restart the WMI service.
               After resetting the WMI counters, retest WMI. If resetting the WMI counters did not solve your
               problem, see “WMI is Still Not Working, Now What?” on page 12.

       Testing Remote WMI Connectivity
               Ensure WMI is running on the remote, monitored host. This is similar to WMI Troubleshooting
               on the local host described above.
                1     Click Start > Run, enter wbemtest.exe and then click OK.
                2     Click Connect on the WMI Tester window.
                3     Enter \\Target_Primary_IP_Address\root\cimv2 in the field at the top of the
                      dialog box. Replace Target_Primary_IP_Address in this entry with the actual host name or
                      primary IP address of the target server.




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                    4   Enter the appropriate administrator user name in the User field, the password in the Password
                        field, and NTLMDOMAIN:NameOfDomain in the Authority field. Replace NameOfDomain
                        with the domain of the user account specified in the User field.
                    5   Click Connect.
                    6   Click Enum Classes.
                    7   Select the Recursive radio button without entering a superclass name, and then click OK.
                    8   If the WMI class list appears, remote WMI is functioning correctly. Skip to the next topic and
                        validate your credentials.
                    9   If the list does not appear, remote WMI is not functioning correctly. Continue reading this
                        topic for guidance on restoring remote WMI connections on the target server, and retest
                        remote WMI after completing each troubleshooting step.
                  11. Click the Close button, and then click Exit.

         Verify Administrator Credentials
                  Only a credential that has administrator rights on the target server has the necessary permissions to
                  access the target host’s WMI services. Make sure that the username and password you are using
                  belongs to an administrator on the target host.
                  If the administrator credential is a domain member, be sure to specify both the user name and the
                  domain in standard Microsoft syntax. For example: DOMAIN\Administrator.

         Enable Remote Procedure Call (RPC)
                  Remote WMI connections use RPC as a communications interface. If the RPC service is disabled
                  on the target server, remote WMI connections cannot be established.
                  These steps show how to enable the RPC service:
                    1   Log on to the target host as an administrator.
                    2   Click Start > Run, then type services.msc, and then press [Enter].
                    3   Right-click Remote Procedure Call (RPC), and then click Start on the shortcut menu.

         Configure Distributed Component Object Model (DCOM) and User
         Account Control (UAC)
                  If the target computer is running Windows Vista or Windows Server 2008, you may be required to
                  make settings changes to allow remote WMI requests (See msdn.microsoft.com/enus/library/
                  aa822854(VS.85).aspx).
                  DCOM—Edit Default and Limits permissions to allow the following actions:
                   •    Local launch (default permission)
                   •    Remote launch (default permission)
                   •    Local activation (limits permission)
                   •    Remote activation (limits permission)
                        For more information, see Enabling DCOM on page 719.




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               WMI Namespaces— Modify the CIMV2 security to enable and remote enable the account used to
                  access the server or workstation through WMI. You must ensure the security change applies to
                  the current namespace and subnamespaces. For more information, see Enabling Account
                  Privileges in WMI on page 720.
               User Account Control—Remote UAC access token filtering must be disabled when monitoring
                    within a workgroup environment. For more information, see Disabling Remote User Account
                    Control for Workgroups on page 721.

               Enabling DCOM
               WMI uses DCOM to communicate with monitored target computers. Therefore, for Application
               Performance Monitor to use WMI, you must have DCOM enabled and properly configured. Follow
               these steps to enable DCOM permissions for your Application Performance Monitor credentials:
                1     Log on to the target host as an administrator.
                2     Navigate to Start > Control Panel > Administrative Tools > Component Services. (Only the
                      Classic view of the Control Panel has this navigation path). You can also launch this console
                      by double-clicking comexp.msc in the /windows/system32 directory.
                3     Expand Component Services > Computers.
                4     Right-click My Computer, and then select Properties.
                5     Select the COM Security tab, and then click Edit Limits in the Access Permissions grouping.




                6     Ensure the user account collecting WMI statistics has Local Access and Remote Access, and
                      then click OK.




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                    7   Click Edit Default, and then confirm the user account collecting WMI statistics has Local
                        Access and Remote Access, then click OK.
                    8   Click Edit Limits in the Launch and Activation Permissions grouping.
                    9   Ensure the user account collecting WMI statistics has Local Launch, Remote Launch, Local
                        Activation, and Remote Activation enabled, and then click OK.
                   10   Click Edit Default, and then ensure the user account collecting WMI statistics has Local
                        Launch, Remote Launch, Local Activation, and Remote Activation enabled.
                   11   Click OK.

                  Enabling Account Privileges in WMI
                  The account you specify for authentication must possess security access to the namespace and
                  subnamespaces of any monitored target hosts. To enable these privileges, complete the following
                  procedure.
                  To enable namespace and subnamespaces privileges:
                    1   Log on to the host you are monitoring as an administrator.
                    2   Navigate to Start > Control Panel > Administrative Tools > Computer Management >
                        Services and Applications. (Classic View of the Control Panel this navigation path).
                    3   Click WMI Control, and then right-click and select Properties.
                    4   Select the Security tab, and then expand Root and click CIMV2.




                    5   Click Security and then select the user account used to access this computer and grant the
                        following permissions:
                           –Enable Account




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                          –Remote Enable
                6     Click Advanced, and then select the user account that accesses this computer.
                7     Click Edit, select This namespace and subnamespaces in the Apply to field, and then click
                      OK.
                8     Click OK on the Advanced Security Settings for CIMV2 window.
                9     Click OK on the Security for Root\CIMV2 window.
               10     Click Services in the left navigation pane of Computer Management.
               11     Select Windows Management Instrumentation in the Services result pane, and then click
                      Restart.

               Disabling Remote User Account Control for Workgroups
               If you are monitoring a target in a workgroup, you must disable remote User Account Control
               (UAC). Although this is not recommended, it is necessary when monitoring a workgroup computer.
               Disabling remote user account control does not disable local user account control functionality.

                         CAUTION:
                      The following modifies or creates a registry key. Changing the registry can have adverse effects on your
                      computer and may result in an unbootable system. Best practice is to back up your registry before
                      making these changes.
               To disable remote UAC for a workgroup computer:
                1     Log on to the host you want to monitor as an administrator.
                2     Click Start > Run, and enter regedit.
                3     Expand
                      HKEY_LOCAL_MACHINE\SOFTWARE\Microsoft\Windows\CurrentVersion\Poli
                      cies\System.
                4     Locate or create a DWORD entry named LocalAccountTokenFilterPolicy and provide a
                      DWORD value of 1.

                      NOTE:
                      To re-enable remote UAC, change the DWORD value to 0.


       Add a Windows Firewall Exception for Remote WMI Connections
               If the target computer has Windows Firewall enabled, it must have a Remote WMI exception to
               allow remote WMI traffic through (See /msdn.microsoft.com/en-us/library/
               aa389286(VS.85).aspx). Follow these steps to add this exception:
                1     Open a command shell (Click Start > Run, type cmd and then press [Enter]).
                2     At the command prompt, type
                      netsh firewall set service RemoteAdmin enable
                      Press [Enter]
                3     Type exit then press [Enter].
               If adding the firewall exception did not solve your problem, see Additional WMI Troubleshooting
               below.




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         WMI Authentication
                  If the above troubleshooting has been done correctly, ensure the authentication credentials for the
                  WMI device in Resources match those for an administrator. Select the device in the Resources
                  screen, and click action > Open (or right-click and select Open). Go to the Authentication node of
                  the tree, and confirm that the correct authentication objects appear there.




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                                                                         Additional WMI Troubleshooting | Troubleshooting



Additional WMI Troubleshooting
               The above discusses the most common errors behind WMI failures. After trying these, if you are
               unable to get WMI services working, consult the following articles about this subject on
               Microsoft’s Technet and Developer Networks:
                •     WMI Isn’t Working!: Troubleshooting Problems with WMI Scripts and the WMI Service. (See
                      www.microsoft.com/technet/scriptcenter/topics/help/wmi.mspx)
                •     WMI Diagnosis Utility: A New Utility for Diagnosing and Repairing Problems with the WMI
                      Service (See www.microsoft.com/technet/scriptcenter/topics/help/wmidiag.mspx)
                •     WMI Troubleshooting (See msdn.microsoft.com/enus/library/aa394603.aspx)

                      NOTE:
                      While the above URLs are believed correct, they may change.




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jstack Debugging in Windows 7 | Troubleshooting



jstack Debugging in Windows 7
                  Technical assistance sometimes uses the jstack stack trace tool to debug problems in this software.
                  When you install application server to run as a service (autostart), the user SYSTEM owns the
                  application server process. You also cannot log into Windows 7 as user SYSTEM. For security’s
                  sake, no other user can access a service running as the SYSTEM user in later Windows 7 kernels.
                  The jstack tool therefore does not work if you run it as the (non-SYSTEM) user logged in to
                  Windows 7.
                  Workaround: To view a jstack output for application server, or any service (and its subprocesses)
                  running as the user SYSTEM, you must run jstack (and jps) as user SYSTEM. Windows 7 provides
                  no direct way to log in as user SYSTEM, so the following sidesteps this prohibition:
                    1   Open a command shell (Click the Start icon and type cmd in the Search Programs and Files
                        field.)
                    2   At the command prompt, type:
                        sc create testsvc binpath= "cmd /K start" type= own type= interact
                    3   Then type:
                        sc start testsvc
                        The sc start command immediately creates a new command shell owned by SYSTEM,
                        even if the original command window failed to start with error 1053 (this is expected since
                        cmd.exe does not have any service-related code in it).
                    4   Open an oware shell inside the SYSTEM-owned command prompt created in Step 3. (Type
                        oware at the command line.)
                    5   In that oware shell, run jps to see the process ID (PID) of the application server’s Java
                        process (OWLaunchV2).
                    6   Then run jstack [PID] in the SYSTEM shell.
                    7   To delete the testsvc when you are finished, type this on a command line:
                        sc delete testsvc




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                                                               FAQs about Monitoring Mediation Servers | Troubleshooting



FAQs about Monitoring Mediation Servers
               After making a UDP-based JGroups discovery request and receiving a response from an application
               server in the cluster, each mediation server makes an RMI (TCP) call to an application server every
               30 seconds. This RMI call results in a “call on cluster” on the application server cluster, using
               JGroups (UDP by default), to call the agentHeartbeat method of the OWMedServerTrackerMBean
               on each application server in the cluster. The primary application server updates the timestamp for
               the medserver in question, and the others ignore the call. Every five seconds, the primary
               application server checks to see if it has not received a call from a mediation server in the last 52
               seconds. If it has not, it attempts to verify down status by pinging the suspected mediation server.
               Then it issues an RMI call on that mediation server. It considers the meditation server down if the
               ping or the final RMI call fails. This avoids false meditation server down notifications when a
               network cable is pulled from an application server.
                •     Does the application server wait 15 seconds after receiving the mediation server's response? Or
                      does it monitor mediation server every 15 seconds regardless of the mediation server's
                      response?
                      The receipt of the mediation server's RMI call is on a different thread than the monitoring
                      code. The monitoring code should run every 5 seconds, regardless of the frequency of
                      mediation server calls. However, after investigating the scheduling mechanism used (the JBoss
                      scheduler - http://community.jboss.org/wiki/scheduler), it is possible that other tasks using
                      this scheduler could impact the schedule because of a change in the JDK timer
                      implementation after JDK 1.4.
                •     What kind of functionality (JMS?) does application server use to send and receive
                      OpenManage NM messages?
                      The application server does not actively monitor the mediation servers unless it fails to get a
                      call from one for 52 seconds. If it does try to verify a downed mediation server, it uses an RMI
                      call.
                      The RMI calls use TCP sockets. It may use multiple ports: 1103/1123 (UDP - JGroups
                      Discovery), 4445/4446 (TCP - RMI Object), 1098/1099 (TCP - JNDI), or 3100/3200 (TCP -
                      HAJNDI), 8093 (UIL2).
                •     What kind of problem or bug would it make application server to falsely detect a mediation
                      server down? For example, would failing to allocate memory cause application server to think
                      a mediation server is down (dead)?
                      An out of memory error on an application server could result in a false detection of a downed
                      medserver.
                •     If such memory depletion occurs as described in the previous answer, would the record
                      appears in the log? If it doesn't appear in the log, would it possibly appear if the log-level is
                      changed?
                      An out of memory error usually appears in the log without modifying logging configuration,
                      since it is logged at ERROR level.
                •     The log shows that a mediation server was detached from the cluster configuration, but what
                      kind of logic is used to decide the detachment from the cluster? For instance, would it
                      detach application servers if they detect the mediation server down?
                      JBoss (JGroups) has a somewhat complex mechanism for detecting a slow server in a cluster,
                      which can result in a server being “shunned.” This logic remains, even though we have never
                      observed the shunning of a server resulting in a workable cluster. This is the only mechanism
                      which automates removing servers from the cluster. The configuration for this service is




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                        located in $OWARE_USER_ROOT/oware/jboss-x.x.x/owareconf/cluster-
                        service.xml. Shunning can be disabled by replacing all shun=’true’ instances with
                        shun="false". A flow control option also exists which regulates the rate of cluster
                        communication to compensate for one server being slower in processing cluster requests than
                        another. The detection of a mediation server being down with the heartbeat mechanism
                        described here does not attempt to remove the medserver from its cluster.
                    •   Why does Mediation server not appear in the control panel?
                        Make sure you have followed the instructions in the Installation Guide.




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                                                                                         Linux Issues | Troubleshooting



Linux Issues
               The following are issues with Linux installations:
                •     Install in /opt/dorado, unzip package in, for example, /opt/installs, not /opt/
                      dorado.
                •     Linux (executed as the root user) uses this command:
                       /etc/init.d/owaredb start
                      You should see the following response in the shell where you execute this command:
                       Starting MySQL[        OK    ]
                •     If you experience problems with discovery, and see errors on startup similar to the following:
                      [com.dorado.core.mediation.snmp.SRSnmpEventReportDispatcher] (Thread-36
                       RecvTrap Exception :
                      com.dorado.core.mediation.snmp.SRSnmpException:
                      at com.dorado.core.mediation.snmp.SRSnmpSession.nRecvTrap(Native Method)
                      at
                       com.dorado.core.mediation.snmp.SRSnmpSession.recvTrap(SRSnmpSession.jav
                       a:733)
                      at
                       com.dorado.core.mediation.snmp.SRSnmpEventReportDispatcher.run(SRSnmpEv
                       entReportDispatcher.java:96)
                      at java.lang.Thread.run(Thread.java:662)
                      or
                      ERROR [com.dorado.core.mediation.syslog.OWSysLogListener]
                       (OWSysLog.Listener Received a null SysLog message. SysLog port may be in
                       use. Shutting down SysLog listener.
                      You may be able to solve this issue by increasing the available memory on the entire system or
                      lowering the heap memory used by your system. The former option is best practice.
               Application Server Memory (Linux and Windows)
               I. Linux application server appears to have low memory.
               Solution: Memory statistics using TOP can be deceiving. Linux may have borrowed some free
               memory for disk caching. To determine if this is the case:
                1     Open a shell and execute command: free -m
                      This returns the amount of (true) free/available memory for application use in megabytes. See
                      cache value in line -/+ buffers/cache: 26441 37973 below…
                      [redcell@AppRedcell01 ~]$ free -m
                      total used free shared buffers cached
                      Mem: 64414 63823 590 0 364 37018
                      -/+ buffers/cache: 26441 37973
                      Swap: 65535 11 65524
                      [redcell@AppRedcell01 ~]$
                      Here, 37,973M is still free for application use.
                      See www.linuxatemyram.com/ for more detail on this topic.
                      Alternatively,




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                     2   If TOP reveals an excessive and abnormally high memory usage for the application java
                         process, you may need to restart your application server and evaluate installed/available
                         memory with regard to your sizing and application usage requirements. Install more server
                         memory as needed.
                   II. Genuine memory issues appear if logs contain an error like
                   java.lang.OutOfMemoryError: GC overhead limit exceeded, and application
                   server performance is slow, possibly preventing log into web portal. You may also see many other
                   errors, for example, from performance monitoring:
                         WARN [com.dorado.broadscope.polling.PollingResultsDAOImpl]
                          (WorkManager(2)-99:) Low on memory. Discarding this batch.
                   Solution: These errors indicate memory resources are low or have been depleted.
                   To address this, first review any potential causes for an increase in memory usage. For example, has
                   there been a significant increase in performance monitor load, perhaps from reducing polling times
                   or an increase in targets/attributes? Have there been any other changes?
                   Assuming sufficient server memory is available, increase heap size. Adjust memory values below
                   according to your environment and configuration needs:
                     1   Shut down the application.
                     2   Open owareapps/installprops/lib/installed.properties file for editing.
                     3   Modify the oware.server.max.heap.size property
                         oware.server.max.heap.size=3072m
                         In this example, a recommended increase would be 25% to 4096m.
                     4   Increase oware.server.min.heap.size to match (4096m)
                     5   Save changes to installed.properties.
                     6   Restart the application.

                         NOTE:
                         Heap adjustments work for Windows too.
                   III. Out of Memory errors like Out of Memory: unable to create new native
                   thread in logs for server (application or mediation) may indicate memory resources are sufficient,
                   but threads are not.
                   Solution: The operating system may be limiting the number of available threads for use by the
                   application. Check/modify the ulimits settings with these steps:
                     1   Open shell/CLI and type ulimits -a.
                         Open files and User Processes should not be set to typical defaults (1024). Change these with
                         the next steps.
                     2   Open /etc/security/ limits.conf for editing.
                     3   Add the following lines and save.
                         <installing user> soft nofile 65536
                         <installing user> hard nofile 65536
                         <installing user> soft nproc 65536
                         <installing user> hard nproc 65536
                     4   Restart the application processes.




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               Refer to the OpenManage NM Installation Guide for Linux installation and upgrade instructions
               and best practices.

       Linux syslog not displaying
               Application does not display syslog messages.
               On Linux based platforms, under certain circumstances, a race condition at application startup
               may impact syslog event/messaging functionality. If syslog messages are not displaying as expected,
               please apply the following workaround to restore functionality.
               1) Shutdown the webserver.
               2) Restart the appserver.
               3) Start the webserver after the appserver's status shows 'ready'.
               This process may need to be repeated if the server is restarted.

       HA installation issue on Linux
               Servers within HA system might fail on startup caused by the following exception:
                      ERROR [org.jgroups.protocols.UDP] (Timer-1,192.168.54.41:37377:) failed
                       sending message to null (69 bytes)
               The recommended workaround is to modify a line with the run.sh script found in install_path/
               oware/jboss-5.1/bin
               From
                      JAVA_OPTS="$JAVA_OPTS -Djava.net.preferIPv4Stack=false"
               To
                      JAVA_OPTS="$JAVA_OPTS -Djava.net.preferIPv4Stack=true"
               Servers restart is required.

               Linux HA does not support IPv6 as default.
               While IPv6 is supported on Windows HA, Linux HA does not support IPv6 as default. To acquire
               IPv6 on Linux HA, it's suggested that users must follow these steps enable unicast within the
               Mediation cluster. Apply the configuration changes to all Mediation servers.
                 1    Add the property oware.unicast=true to installed.properties file located in .../dorado/
                      owareapps/installprops/lib directory.
                 2    Locate .../oware/jboss/server/oware/deploy/cluster/jgroupschannelfactory.sar/META-INF/
                      jgroups-channelfactory-stacks.xml.
                 3    In the TCP section (you can search by <stack name="tcp"), comment this portion:
                      <!--Alternative 1: multicast-based automatic discovery. -->
                      <MPING timeout="3000"
                      num_initial_members="3"
                      mcast_addr="${jboss.partition.udpGroup:230.11.11.11}"
                      mcast_port="${jgroups.tcp.mping_mcast_port:45700}"
                      ip_ttl="${jgroups.udp.ip_ttl:2}"/>




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                     4   And Uncomment
                         <!-- Alternative 2: non multicast-based replacement for MPING. Requires
                         a static configuration of all possible cluster members.>
                         <TCPPING timeout="3000"
                         initial_hosts="${jgroups.tcpping.initial_hosts:localhost[7600],localhost[7601]}"
                         port_range="1"
                         num_initial_members="3"/-->

                            CAUTION:
                         Make sure you modify stack "tcp" section, not "tcp-sync" section

                   Example:
                         <!--Alternative 1: multicast-based automatic discovery.
                         <MPING timeout="3000"
                         num_initial_members="3"
                         mcast_addr="${jboss.partition.udpGroup:230.11.11.11}"
                         mcast_port="${jgroups.tcp.mping_mcast_port:45700}"
                         ip_ttl="${jgroups.udp.ip_ttl:2}"/>
                         -->
                         Alternative 2: non multicast-based replacement for MPING. Requires
                         a static configuration of all possible cluster members.>
                         <TCPPING timeout="3000"
                         initial_hosts="${jgroups.tcpping.initial_hosts:10.35.35.200[7600],10.35.35.201[7601]}"
                         port_range="1"
                         num_initial_members="3"/
                         Where 10.35.35.200 and 10.35.35.201 are IPaddresses of Mediation servers.
                     5   Restart Mediation servers. (#service oware stop/start)




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Device Prerequisites
               Often, devices require pre-configuration before they are manage-able by this software. For example,
               the management system application server must have access to the device, and often must be listed
               on the access control list for the managed device.

       Common Device Prerequisites
               The following are common prerequisites:
               Credentials—WBEM credentials have a role in discovering the device. Your system must have
                   access to the computer using Administrative only credentials. These are the same credentials
                   as the user installing WBEM on the device.
                      Telnet/SSH credentials are necessary for other supported applications.
                      For full functionality, this WBEM device driver requires administrative (root) access. Many
                      devices may only allow root logins on a local console.
                      In such cases, configure the Telnet/SSH authentication for these devices to login as a non-root
                      user—and, in Authentication Manager, enter su in the Enable User ID field and enter the
                      root user’s password in Enable User Password in that same authentication. This enables full
                      device management functionality with root access.

                      NOTE:
                      Credentials for Telnet/SSH should have a privilege level sufficient to stop services and to restart the
                      computer system.
               Firewall— Some firewalls installed on the computer may block Web-Based Enterprise
                    Management requests. Allow those you want to manage.
               License—Make sure you have the correct WBEM driver license installed. Licenses come in the
                    following types:
                      • Major Vendor by Name - Such as Dell, Compaq, HP, Gateway.
                      • Server/Desktop individual license support.
                      • Generic computers - non-major vendors.
                      • ALL - this gives the driver all capabilities for any computer system.

       Aruba Devices
               By default, only SSH interactions work on these devices. If you want to use telnet you have to
               configure the device through the console or through an SSH session and turn it on.
               Cut through or direct access sessions are only supported for SSHv2. You must create an SSHv2
               management interface for the device and use it when attempting direct access. If you use SSHv1
               the session does not connect (the ArubaOS does not support SSHv1), and if you select telnet, the
               driver cannot log into the device automatically, and must login manually.




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                   SNMP v2c only supports read operations, not write. SNMP v3 supports both read and write, but
                   not SNMP v3 informs. To manage Aruba devices you must use SNMP v2 or v3. Up to Aruba
                   OS3.1.1.2, SNMPv2c (read-only) and v3 (read-write) are recommended. SNMP v1 does not work
                   correctly.

                         NOTE:
                         Although SNMP handles the bulk of the communication with this device, and you must supply the correct
                         SNMP authentication information, some information comes through telnet interaction, so you must
                         supply telnet/SSH authentication too for all device interactions to work correctly.

                   Backup and Restore
                   You can backup or restore text files that reflect the Startup Config, and Running Config as well as
                   backup/restore of a binary Flash memory for the selected device. You can compare, store, view and
                   version the text files, and can restore either text or flash memory to the device if you have the File
                   Management option installed.
                   Because the Aruba mobility controller's flash memory backup is a compressed, binary .tar.gz
                   file, the displayed Current Config is not always textual. The flash file is binary, so you cannot view
                   it as text. Nevertheless, you can restore it as long as the backup file has the extension of .tar.gz
                   Using this application to backup the flash automatically creates the file with this extension.

         Avaya Device Prerequisites
                   You must do the following for the device driver to function correctly with Avaya devices. Whether
                   you use RTCP or not, do the bullet point setup steps outlined in Setting Up RTCP on page 732,
                   below.

                   Cut-Through
                   Avaya Communication Manager uses a special port for telnet sessions. To use the Telnet Cut-thru
                   feature in this software, you must modify the port. You can do this during the discovery process by
                   creating a Telnet authentication object and entering port 5023. Alternatively, once you install
                   Communication Manager, open it from the Resources screen, select the Authentication tab and
                   create a new Telnet management interface with port 5023. When you initiate a Telnet cut-thru
                   session, Customer Manager asks for an emulation type. Select type 4410.

                   Setting Up RTCP
                   The following describes setting up RTCP with Avaya devices. Do this on the Avaya Media Server
                   with the Media Server's Management Web Interface using a browser (for example, Internet
                   Explorer) to access the IP address of the media server. For an S8300, S8400, S8500 use the server’s
                   IP address. For the S87xx, use the active server IP address—not server A or server B but the active
                   server address. When accessing the web manager, after logging in, navigate to the Maintenance
                   Web Page to see the following menu choice:.

                         NOTE:
                         When changing SNMP settings Avaya recommends stopping and restarting the agent.
                    •    Enable SNMP v2 on the device (under Alarms > SNMP Traps)
                    •    Ensure the SNMP community strings match on the authentications you have configured and
                         on the device (Alarms > SNMP Agents).




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                •     Mediation Server (or Application Server, if enabled as a Mediation Server) must be allowed
                      access on the device, either through its specific IP address(es) or by checking Any IP address
                      under Alarms > SNMP Agents.
                •     Security > Firewall must have SNMP, HTTP and/or HTTPS, and Telnet and/or SSH and
                      RTCP enabled both as Input and Output from the Server. If your system collects SNMP Traps
                      and syslog messages, select those for Output from Server only.
                •     You must confirm, or start, the SNMP agent (Master Agent) on the device under Alarms >
                      Agent Status.
               After modifying the alarm and security areas of the web manager, you need to access the
               Communication Manager command line interface (CLI) using telnet, the Native Configuration
               Manager (from the main web management page) or use Avaya’s Site Administration software. If
               telnetting to the CLI, choose the w2ktt terminal type upon login. You must have a
               Communication Manager login which may or may not be the same as the web manager login and
               password.
               Execute and change the following:
                1     Change system-parameter ip-options and specify under RTCP Monitor Server the:
                      • Default server IP address = the Application server IP address
                      • Default port = Must match what you put in your software
                      • Default RTCP Report Period = you can leave at default
                      • Enter/submit the changes




                2     Change ip-network-region x (for every network region that pulls RTCP information)
                      • On page one, make sure that RTCP Reporting is enabled.
                      • Under RTCP monitor server Parameters,
                         –Use default server parameters (this uses the parameters you set up on the system-
                         parameter ip-options form)
                         –If you want to specify a separate server IP address, specify it under server IP address
                         and server port




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                             –Enter/submit the changes.




         Brocade Devices
                   This software will not telnet connect to some devices if they use the factory default password. You
                   must set the password to something other than that default. This software does not recognize the
                   additional prompt asking that default password be changed each time login occurs.
                   Follow these steps and update firmware on the non-RX devices:
                     1   Download the firmware update (.zip file) from www.brocade.com
                     2   Extract that zip file to the download directory of the External FTP file server your system
                         uses.
                     3   Create an empty file named release.plist and load into the OS Image manager portlet.
                     4   Deploy that image, selecting the device and release.plist file loaded in your system. To
                         deploy the image, select the device(s) and select the release.plist file in OS Manager.
                     5   Remove any remaining files before attempting the next Brocade firmware update.

                         NOTE:
                         You cannot deploy these updates using this software’s internal FTP server.
                   For RX devices, download and deploy firmware updates as you ordinarily would, registering the OS
                   image in the OS Images manager (see the OS Images section of this guide), and deploying it to
                   either a device or group with the action menu.

         BIG-IP F5
                   OpenManage NM supports the BIG-IP F5 load-balancing appliance and software. It supports the
                   following capabilities, and requires the listed device configurations:
                    •    SNMP— This requires adding the IP address from which you manage the F5 to its Client
                         Allow List under System > SNMP > Agent > Configuration). Supports SNMP-based default
                         device/resync using the ifTable - creates interface sub-components.
                    •    Event Management— SNMP Trap Definitions (Tip: search for event definitions beginning
                         with “big”).
                    •    Reports— Run any default OpenManage NM reports against F5 inventory.




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               Features not supported
                •     Any CLI-based functionality (NetRestore, CLI Cut-Thru, and so on)
                •     Link Discovery
                •     Port creation

       Cisco Devices
               The following sections discuss prerequisites and limitations of Cisco device management
               capabilities.

               Setup Prerequisites
               You must include the Enable user ID. Omitted enable user IDs may interfere with correct device
               management.
               You must create Authentication objects for Cisco Switches with an Enable user and password.
               Otherwise authentication for Interface level DC login sessions fail. The Cisco Router
               authentication rules automatically send the Enable user/password at the interface level.
               For IOS devices, access to various system command modes on the device may be defined by
               specifying an access privilege level for a user account. Access privilege level 15 is required to access
               Enable (privileged) mode. This software requires the user account for authenticating with and
               managing a device has a privilege level of 15.
               Ensure that user accounts associated with CLI Authentication objects in your system are
               configured on the device with privilege level 15. Consult your device’s manuals for additional
               information about configuring this privilege level.


                         CAUTION:
                      If you upgrade IOS when you have not copied running-config to Startup-config, provisioning services
                      may fail because of the unexpected device error message below. This message causes “write memory”
                      command to fail. In the application the user may see a message like “failure to terminate telnet session”
                      Device message: Warning: Attempting to overwrite an NVRAM configuration previously written by a
                      different version of the system image. Also: Currently unsupported: Chassis View, Discrete configuration.

               Saving Running-Config to Startup Config
               To save the running-config to startup-config whenever the router's configuration is updated
               uncomment the following in cisco.properties to enable this feature.
                      #cisco.ios.save.running.config=true
               This copying behavior should not be fatal to the configuration that was updated but a job message
               displays the failure or success.

                      NOTE:
                      Nexus configuration restore to start-up is not supported. When you attempt this, an error including This
                      command is deprecated appears on 3000 series devices. On 5000 series, the error is
                      sysmgr_copy_nvram_dest_action: src uri_type = 1 is not supported
                      yet. (25242)




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                   Copying to the Device Rather than Your System
                   You can have backup copy running configurations to the device's disk rather than the system’s
                   database. This requires no intervention of FTP since everything occurs on the device itself. The
                   option appears when you change the following properties in the cisco.properties file in
                   owareapps/cisco/lib:
                         #flags that enable direct copy run start
                         cisco.rmc.save.config=false
                         cisco.backup.save.config=false
                   When these are true you can back up running-config to startup-config for Cisco devices. You can
                   select this option in addition to standard backup in the backup configuration screen (choose
                   running-config from the File System pick list, and startup-config from the File Server Protocol pick
                   list.) You can also trigger it from the System > General screen's Save Config button.




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                                                                                          Adaptive CLI FAQs | Troubleshooting



Adaptive CLI FAQs
                •     Why share an existing schema from another Adaptive CLI (ACLI) versus creating a new one
                      with each ACLI?
                      One reason to use the same schema is to accommodate a complementary ACLIs. For example
                      one ACLI creates an entity and you want a script to remove the same entity. For such
                      examples, the valid values, labels, and so on, for the attributes are always going to be the same
                      in your create and delete ACLIs. Therefore, it is safest to use the same single referenced
                      version of the Schema. You can share the same schema, and your delete script can mark the
                      attributes it does not use as Not applicable.
                •     What is the best practice for exporting ACLIs to import later into another system?
                      If you have ACLIs that you need to export so that you can import them into a production
                      system, then the recommended practice is to create a separate file for each ACLI and export
                      them one at a time.
                      You can group select multiple ACLIs in the Adaptive CLI Manager and export them to a
                      single file, but this can be difficult to maintain if changes are being made frequently to the
                      ACLIs. Best practice is that only ACLIs directly sharing a common Schema (example a Create
                      ACLI and its complimentary Delete ACLI) be exported to the same file. Keep in mind how to
                      maintain/version/update the ACLIs and associated shared schemas when plotting how to map
                      your export files, and frequently back up your export files to external devices/machines. You
                      can use source control systems version/maintain ACLI export files, since they are in XML
                      format.
                •     If I change an ACLI’s schema shared by other ACLIs, do I need to do anything to the other
                      ACLIs?
                      If you have multiple ACLIs sharing the same Schema, you should be in the habit of retesting
                      the other ACLIs using that schema for to ensure no unintended side effects occur.

                      NOTE:
                      Regularly export all ACLIs with the same schema before modifying the schema by editing any of the
                      ACLIs that use it. Also: Test your ACLI scripts in a telnet or direct access session with the target
                      device(s).
                      When previewing ACLI and preview form is empty, most likely Perl is not installed. Best practice is to
                      use Perl version 5.10 or later (however not 5.16).




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Server Information
                   You can see mediation and application server information in JMX Console. The URLs for this
                   console:
                    •    Mediation Server JMX: http://[mediation server IP address]:8089/jmx-console/ (for stand-
                         alone mediation servers), or port 8489 for HTTPS.
                    •    Application Server JMX: http://[application server IP address]:8089/jmx-console/, or port
                         8489 for HTTPS.
                   Some information visible in these consoles:
                   Is a mediation server active or standby?— Open the JMX console for the mediation server, then
                         click PollingEngine and view the Active attribute. If true the mediation server is primary, if
                         false it is standby.
                   To which application server is mediation server posting data?— In the mediation server’s
                       console, click ClusterPrimaryDesignator and then view the AppServerPartitionName
                       attribute.
                   List active subscriptions and targets— Click PollingEngine, then invoke the
                         getSubscriptionAndTargetInfo operation.
                   Is mediation server writing polling results to the spool file? —Click
                        MonitorPollingHandlerMBean and then view the DataBeingWrittenToSpoolFile attribute.
                        While there you can also see the most recent time the mediation server posted data to the
                        application server (item 7) by viewing the MostRecentPostTime attribute.
                   When does a server skip execution and what is the total number of skips?—Click PollingEngine
                      and then viewing those attributes. While there, you can also see the last time the server
                      rejected execution and the last time that happened

                        NOTE:
                         The jmx-console is a Development tool used for troubleshooting and not accessible to the application
                         user. Please request assistance through Dell EMC support channels to investigate any potential
                         application issues..




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                                                                Environment/Operating System Issues | Troubleshooting



Environment/Operating System Issues
               The following are items that have historically caused some problems. They may not apply to your
               environment.

       CRON Events
               CRON events can update Linux Releases, check for linkage errors and run through other tasks.
               This should occur when server traffic is generally higher. If necessary, change it to run late during
               off peak hours.

       Potential Problem Processes
               auditd— This process logs errors periodically, and can send RESTART or KILL signals to processes
                    outside of its policies. This could be dangerous if configured wrong.
               cpuspeed—Throttles down CPU speeds within the Kernel. Since OpenManage NM’s Java runs in
                   a VM it is unaware of sudden increase/decrease in CPU speeds, and this could pose issues in
                   threading and calculating thread counts.

       SELINUX
               This should be disabled. To check, run the following:
               [root@AppRedcell01 bin]# selinuxenabled && echo enabled || echo disabled
               To fix this, if it indicates it is enabled, modify the /etc/selinux/config and change
               targeted to none so this is preserved on reboots.

       Hardware Errors
               A fragment found in dmesg, triggered further investigation. This detected memory errors.
                      [Hardware Error]: Machine check events logged
                      Errors found in /var/log/mcelog:
                      Hardware event. This is not a software error.
                      MCE 0
                      CPU 30 BANK 9
                      TIME 1370474184 Wed Jun        5 17:16:24 2013
                      MCA: MEMORY CONTROLLER GEN_CHANNELunspecified_ERR
                      Transaction: Generic undefined request
                      STATUS 900000400009008f MCGSTATUS 0
                      MCGCAP 1000c18 APICID c0 SOCKETID 3
                      CPUID Vendor Intel Family 6 Model 47


       DNS Does Not Resolve Public Addresses
               DNS must permit application servers to resolve public DNS names like google.com. Web server
               needs this to determine its public facing interface by determining which route the packet went out
               on quick test.




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         Raise User Limits
                  If User Limits are low on the Application Servers and possibly Mediation Servers, these can impact
                  threading and normal server behaviors.

         Web Server
                  The memory configuration (heap min/max) should also be the same for all server environments.
                  Portal Memory Settings
                  To manually change the web portal heap settings, change the setenv.sh (Linux) or
                  setenv.bat (Windows) file:
                        set "PORTAL_PERMGEN=512m"
                        set "PORTAL_MAX_MEM=3072m"
                        set "PORTAL_INIT_MEM=768m"
                        set "PORTAL_32BIT_MAX_MEM=768m"
                  These files are in the Tomcat***/bin directory. For Linux, restart the portal service to apply new
                  memory settings. In Windows, besides updating setenv.bat you must run service.bat
                  update in that same directory.
                  You can increase these to even higher figures if your system has the memory available.

                       NOTE:
                        Make sure only one Tomcat process is running, otherwise your web server may exhibit poor
                        performance.

                  Post Upgrade Web Portal Problems
                  After applying patches, restarting processes or other recent activity, web portal exhibits undesired
                  behavior like the following:
                   •    Displaying pink bar in application portlets indicating applications are temporarily
                        unavailable.
                   •    Message in application portlets indicating resource unavailable.
                   •    Actions screen does not appear after right-click device and choosing Actions.
                   •    Inability to expand hierarchies or a previously selected hierarchy expands when clicking
                        another hierarchy.
                  Solution: These, and other symptoms, can stem from browser caching or attempting to login too
                  soon after starting the application. To resolve, try waiting and/or clearing the browser cache.

         Clustering
                  You must enable Clustering on multiple web servers, otherwise index and users become out of sync.
                  To solve this: enable clustering on the web servers by turning on cluster properties found within
                  synergy/conf/server-overrides.properties




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                                                                                      Upgrade Installations | Troubleshooting



Upgrade Installations
               The following outlines tasks to execute when you are updating your drivers, extensions or license.
               Refer to Upgrade/Data Migration Fails on page 700, Post Upgrade Web Portal Problems on page
               740 for instructions about how to prevent and/or handle upgrade problems that can occur.

       Patch Installation
               Updating Driver Patches
                1     Shut down your system.
                2     On the application server designated as oware.config.server in [installation
                      root]/owareapps\installprops\lib\installed.properties, copy the update
                      file with the ocp or ddp extension to the owareapps directory.
                3     Open a shell or command prompt, and Source the oware environment (Windows: oware.
                      Linux: . /etc/.dsienv), and execute the following command lines:
                4     cd $OWAREAPPS
                5     ocpinstall -x <ocp/ddp filename>
                6     ocpinstall -u <ocp/ddp filename>
                7     ocpinstall -s <ocp/ddp filename>
               Repeat steps 1 - 5 on any secondary application or mediation servers.
               Adding or Updating Extensions
                1     Copy extensions to the extensions folder: [Installation
                      root]\oware\synergy\extensions
                2     Restart web portal (Synergy) process.
               Synergy Portal Updates (netview.war)

                         CAUTION:
                      Do this when no users are on the system. Apply this to all web servers.
               With the portal running and the tomcat catalina log being tailed:
                1     Navigate to [Installation root]/oware/synergy/tomcat-x.x.xx/webapps
                      and delete the netview directory. After a brief pause you should see it being undeployed in
                      the log.
                2     Drop the new netview.war into the directory [Installation root]/oware/
                      synergy/deploy. Wait a few minutes and you should see it hot deploy the new WAR file
                      and load registry items.
                3     After this is deployed, shut down the web servers.

                         CAUTION:
                      Ensure no old copies of netview.war remain in the [Installation root]/oware/synergy/deploy folder. This
                      software automatically deploys any files in this folder. This will cause a conflict.
               Synergy Portal Updates (NetviewFactory.war)
                1     Shutdown your system (both webserver/appserver processes).
                2     Navigate to [Installation root]/oware/jboss-x.x/server/oware/deploy.
                      Apply NetViewFactory.war by overwriting any existing version with the new one.




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Upgrade Installations | Troubleshooting



          License Installation
                     1   Stop the application or mediation server.
                     2   Rename the old license file ([Installation root]\license.xml)
                     3   Copy the new license file to your installation’s root.
                     4   Rename it to license.xml if it is named anything else.
                     5   Open a shell and cd to your installation root.
                     6   Source the application’s environment (Windows: oware. Linux . /etc/.dsienv)
                     7   Type licenseimporter license.xml

                   SMTP Mail Sender
                   If you require a sender/reply to e-mail address on mail sent, you can configure that with the
                   following property (as always, it's best to override in owareapps/installprops/lib/
                   installed.properties)
                         redcell.smtp.returnaddress.name

                   SMTP Test Failed "Could not convert socket to TLS”
                   If you encountered "Could not convert socket to TLS" during email test, you may need to import
                   mail server's certificate into OpenManage NM.
                   To import mail server's certificate into OMNM
                     1   assume user placed certificate selfsign.cer in your desktop, e.g. C:\Users\qa\Desktop
                         open command prompt
                         cd C:\Users\qa\Desktop
                         type > oware
                         keytool.exe -import -trustcacerts -keystore $JAVA_HOME/jre/lib/
                         security/cacerts -noprompt -alias MyRootCA -file selfsign.cer
                     2   To validate import status:
                         keytool.exe -list -alias MyRootCA -storepass changeit -keystore
                         $JAVA_HOME/jre/lib/security/cacerts
                     3   restart appserver/webserver services




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Integrating with Other Dell EMC Products
and Services
This section provides the following instructions to integrate the Dell EMC OpenManage NM
application with other Dell EMC products and services:
Synchronizing with OpenManage Essentials – 744
Activating Dell EMC SupportAssist – 746
Generating System Performance Summary – 749
Configuring Dell EMC Warranty Reporting – 750




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Synchronizing with OpenManage Essentials | Integrating with Other Dell EMC Products and Services



Synchronizing with OpenManage Essentials
                   The OpenManage Essentials (OME) product is a separate product from the OpenManage NM
                   (OMNM) product. The OME product is also used for some system management operations.
                   However, it has fewer overall features than the OpenManage NM product. If you are already using
                   the OME product to manage computer systems such as servers, it is possible to configure the
                   OpenManage NM product so that all of your OME data is available through the OpenManage NM
                   application.
                   Synchronize the OME product with the OpenManage NM product as follows.
                    1   Navigate to the Setup Tasks portlet.
                    2   Find the OpenManage Essentials (OME) Configuration entry.
                    3   Select the Edit action.
                        The Dell EMC OpenManage Essentials (OME) Configuration window is displayed. The
                        default configuration name is Setup needed. You can change the name to reflect the OME
                        server name.




                    4   Optionally enable OME.
                        a. Select Enabled.
                        b. Enter the OME server IP address or hostname.
                        c. Enter your OME login user name and password.
                    5   Select the following optional configurations as needed:
                        • DBypass Certificate Validation when selected, the default security verification is
                          disabled allowing communication with servers that use self-signed, expired, or
                          otherwise invalid security certificates.
                        • Poll for Alerts when selected along with the Enabled option, the OpenManage NM
                          application regularly polls the OME application for alerts so that any alerts that are




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                       Synchronizing with OpenManage Essentials | Integrating with Other Dell EMC Products and Services


                         created within the OME application will become events and possibly alarms within the
                         OpenManage NM system.
                         Common OME alerts include omeAlertSystemUp and omeAlertSystemDown. It is
                         possible to configure the OME application to forward alerts to the OpenManage NM
                         application, which would eliminate the need to poll for such alerts. If you configured
                         the OME application with a rule to forward alerts to the OpenManage NM application,
                         then it is recommended that you do not select this option.
                      • Auto-Sync OME when selected along with the Enabled option, the OpenManage NM
                        application automatically synchronizes to all devices that the OME application has
                        under management.
                         When you save this configuration, the OpenManage NM application communicates
                         with the OME application and creates managed resources corresponding to every
                         device in the OME inventory. The save also creates a recurring schedule item is that
                         periodically synchronizes the OME application with the OpenManage NM application.
                      • Enabled when selected, the OpenManage NM application communicates with the
                        OME application.
                         If not selected, the OpenManage NM application does not sync to the OME applica-
                         tion or poll for OME alerts. At any time, you can change the OME configuration from
                         enabled to disabled or vice-versa.
                6     Save the configurations.
                7     Verify that OME managed devices now show in the Managed Resources portlet.

                      NOTE:
                      In most cases, the OME data shown in the Managed Resources portlet is the same as what shows in
                      OME product but there are some exceptions. For example, the OME application states that a device type
                      is Unclassified but the OMNM application considers the equipment type to be Server.




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Activating Dell EMC SupportAssist | Integrating with Other Dell EMC Products and Services



Activating Dell EMC SupportAssist
                   The Dell EMC SupportAssist feature provides automated, proactive and predictive technology
                   that reduces troubleshooting steps and speeds up your resolution time. The SupportAssist feature
                   collects information from supported devices and automatically creates support cases when issues
                   arise. This helps Dell EMC to provide you an enhanced, personalized, and efficient support
                   experience. The default setting for this feature is Opt-Out but you can select Opt-In.
                   Activate the Dell EMC SupportAssist feature as follows.
                     1   Navigate to the Setup Tasks portlet.
                     2   Find the Dell EMC SupportAssist entry.
                     3   Select the Edit action.
                         The Dell EMC SupportAssist window shows the End User License Agreement (EULA) panel.




                     4   Select the appropriate System-Wide SupportAssist Status option (Opt-In or Opt-Out).
                         Note that this controls whether or not the OpenManage NM application is synced with the
                         SupportAssist feature at the system-wide level and this status is not necessarily applied at the
                         device level.
                     5   Optionally select Apply System-Wide Status to Supported Devices. Otherwise, continue with
                         step 6.
                         If selected, the system-wide status automatically applies to all supported devices under
                         management and all newly discovered devices that support this feature. If not selected, the
                         status does not automatically apply to any devices.
                     6   Click Apply if you selected the Opt-Out option in step 4. Otherwise, continue with step 7.
                     7   Click the Contact Info tab if you selected the Opt-In option in step 4.




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                                Activating Dell EMC SupportAssist | Integrating with Other Dell EMC Products and Services


                      The Contact options are displayed.




                8     Enter the required fields.
                      Dell EMC SupportAssist needs this information to provide your company or organization
                      with support to help optimize the OpenManage NM application and any Dell EMC
                      equipment under management.
                9     Click Apply.
                      After you apply the System-Wide SupportAssist settings, you can still change the
                      SupportAssist status for any device in inventory, if the System-Wide SupportAssist Status is
                      set to Opt-In. If the System-Wide Status is Opt-Out, all devices remain as Opt-Out.
                      If you have selected Opt-In at the system-wide level, the SupportAssist > Opt-In/Out pop-up
                      menu option is available from the OMNM Resources > Managed Resources portlet for only
                      Dell EMC devices. Right-click any Dell EMC managed equipment listed in the Managed




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Activating Dell EMC SupportAssist | Integrating with Other Dell EMC Products and Services


                         Resources portlet to change the SupportAssist status to Opt-In or Opt-Out depending on its
                         current status.




                         If any given device’s SupportAssist status is set to Opt-In, that device sends usage data to
                         Dell EMC products. However, the OpenManage NM server does not automatically send any
                         system-wide usage data to Dell EMC products. If you want to send data to Dell EMC from
                         the OpenManage NM application to help optimize your system, generate a system
                         performance summary and send it to the Dell EMC optimize team.




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                        Generating System Performance Summary | Integrating with Other Dell EMC Products and Services



Generating System Performance Summary
               The OpenManage NM server does not automatically send any system-wide usage data to
               Dell EMC. If you want Dell EMC to help optimize your system, generate a system performance
               summary file and then send it to the Dell EMC optimize team. The Dell EMC optimize team
               reviews the data and offers advice on how to optimize the performance of your system.
               Generate a system performance summary file as follows.
                1     Navigate to the Resources > Actions page.
                2     Search the Actions portlet for “Generate system performance summary file.”
                3     Right-click on it and then select Execute.
                      The Executing Action window is displayed.
                4     Execute this action now or else you can schedule this action to execute on a regular basis,
                      such as once a day.
                      A system performance summary file is created and placed in the application server file system.
                      The Job Viewer panel displays the file location.
                5     Transfer the file to the Dell EMC optimize team using FTP (or some other agreed upon
                      transfer method).
                      If you configured a schedule to generate this file on a regular basis, you can set up a process
                      that automatically transfers these files to the Dell EMC optimize team when they are
                      generated.




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Configuring Dell EMC Warranty Reporting | Integrating with Other Dell EMC Products and Services



Configuring Dell EMC Warranty Reporting
                   Dell EMC manufactured devices might have warranty information associated with them. You can
                   configure the OpenManage NM (OMNM) application to synchronize with the warranty
                   information in the Dell EMC database for each Dell EMC device that is under management. If
                   warranty information is in the OMNM database, you can view and report on this information and
                   receive alarms when any warranty is nearing expiration or has expired.
                   Configure a Dell EMC warranty report as follows.
                     1   Navigate to the OMNM the Common Setup Tasks portlet.
                     2   Find the Dell EMC Warranty Reporting entry.
                     3   Select the Edit action.
                         The OMNM Warranty Reporting window is displayed.




                     4   Select whether to Opt-In or Opt-Out.
                         The default is to Opt-In, which means that the OMNM application automatically gathers
                         warranty information from Dell EMC devices. You can generate reports with this information
                         and the OMNM application creates alarms to inform you when the warranty is close to
                         expiration or has already expired.
                     5   Select the Use Proxy Server option if the OMNM application connects to the internet
                         through a proxy server. Otherwise, skip to step 7.
                     6   Edit the proxy server settings.
                         a. Click the Edit Proxy Server Settings button.




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                         Configuring Dell EMC Warranty Reporting | Integrating with Other Dell EMC Products and Services


                         The Edit Proxy Server Settings window is displayed.




                      b. Enter the Proxy Server Address and Port.
                      c. Select the “Proxy server requires authorization” option if authentication is required to
                         access the proxy server.
                      d. Enter the Username and Password.
                      e. Test the connection to the proxy server.
                      f. Click Apply.
                         You are returned to the Dell EMC Warranty Reporting window.
                7     Click Apply.
                      The settings are saved.
                      If you selected Opt-Out, no device warranty information is shared with the OMNM
                      application. If you selected Opt-In, the OMNM application automatically synchronizes with
                      the warranty information in the Dell EMC database for each Dell EMC device that is
                      currently under management and warranty information is saved to the OMNM database.
                      Synchronization also happens whenever a Dell EMC device is newly discovered and brought
                      under management by the OMNM application.
                8     Test your warranty configuration.
                      a. Navigate the Managed Resources portlet.
                      b. Right-click a Dell EMC device and then select Details.
                         The devices details are displayed.
                      c. Click the Maintenance Info tab.
                         The Maintenance Logs and License and Warranty Info lists should show information
                         relating to the products and services that are licensed and the warranty information
                         relating to the selected device.
                      d. Run a report of all devices’ warranty information from the Reports portlet by searching for
                         Equipment Warranty Status, right-clicking the report, and then selecting Execute Report.




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Configuring Dell EMC Warranty Reporting | Integrating with Other Dell EMC Products and Services




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                                                                                              16
Localization
OMNM (OMNM) text appears in these distinct entities: menus, forms and fields, and messages.
The OMNM Internationalization feature lets you alter the text for each of these entities to the
language appropriate for a particular locale. The following sections provide what you need to do
this.
Localization Overview – 754
Language and Dictionary Portlets – 755
Adding the Language Portlet – 756
Localizing Events – 757
Localizing Events not in Event History – 759
Localizing Resource Bundles – 761
Localizing Message Files – 762
Overriding MIB Text for Event Names – 763
Caching Message/Property Files – 764
Creating Property Files for Double-Byte Characters – 765
Understanding the Message Properties Files – 766
Producing the Properties List – 767
Altering Double-Byte Characters in Audit Trails – 768




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Localization Overview | Localization



Localization Overview
                    The installation wizard detects the operating system’s default language and installs the
                    OpenManage NM (OMNM) software so its default language. If you want the OMNM software
                    installed with English regardless of the installation platform’s default, remove the SynergyI8N.jar
                    file from Synergy.zip file before you install.

                         NOTE:
                          This should have been done as part of your pre-installation tasks.
                    The properties settings that force a particular locale for messages are the easiest to change. Only
                    English message files ship with the software. You can override them as needed.
                    Setting the language property to an empty string in installprops/lib/installed.properties file applies
                    the operating system’s defaults.
                    Override the following Locale properties in that file:
                          oware.resourcebundle.language=en
                          oware.resourcebundle.country=US
                          oware.resourcebundle.language.variant=
                    The language value must be a valid ISO Language Code. These codes are the lower-case, two-letter
                    codes as defined by ISO-639. Use your preferred search engine to find a full list of these codes at a
                    number of sites.
                    The country value must be a valid ISO Country Code. These codes are the upper-case, two-letter
                    codes as defined by ISO-3166. Use your preferred search engine to find a full list of these codes at a
                    number of sites.
                    The variant value is a vendor or browser-specific code. For example, use WIN for Windows, MAC
                    for Macintosh, and POSIX for POSIX. Where two variants exist, separate them with an underscore,
                    and put the most important one first. For example, a Traditional Spanish collation might construct
                    a locale with parameters for language, country, and variant as: es, ES, Traditional_WIN.

                             CAUTION:
                          Multilingual support does not necessarily extend to all application add-ons.




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                                                                        Language and Dictionary Portlets | Localization



Language and Dictionary Portlets
               The OpenManage NM (OMNM)Language portlet displays flags indicating languages available for
               many non-OMNM portlets and menus. Click a flag to change menus and titles to the related
               language.
               The Dictionary portlet is a separate portlet that allows you to select which dictionary to use. Follow
               these similar steps to add the Dictionary portlet.
               By default, neither portlet reside on n OMNM page. Both portlets are listed under Portal
               Applications > Tools on the Applications List on page 132.




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Adding the Language Portlet | Localization



Adding the Language Portlet
                   The Language portlet displays flags indicating languages available for many non-OMNM portlets
                   and menus. By default, this portlet does not reside on any OMNM pages.
                   Add the Language portlet as follows.
                     1   Select the page on which you want to add this portlet.
                     2   Select the Add > Applications menu option.
                         The application list is displayed.
                     3   Select Portal Applications > Tools > Language.
                     4   Click Add.
                         Note that the Dictionary is a seperate portlet. Follow these similar steps to add the Dictionary
                         portlet.




                     5   Click a flag to change menus and titles to the related language for non-OMNM portlets and
                         menus.




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                                                                                          Localizing Events | Localization



Localizing Events
               If your events’ MIB is in a language you want translated, the event MIB description is in English.
               Localize events from the Alarms or Event History portlets as follows.
                1     Right-click the event and then select Details.
                      The Details portlet displays the MIB text.




                2     Select the text and copy it to the clipboard.
                3     Paste it into your favorite translation site (such as translate.google.com.




                4     Copy the translated text to the clipboard.
                5     Return to the portlet used in step 1.
                6     Right-click the event and then select Edit > Event Definition.
                      The Editing Event Definition window is displayed.




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Localizing Events | Localization


                      7   Paste the translated text into the Advisory Text field.




                      8   Click Save.
                      9   Right-click the event and then select Details.
                          The Details portlet displays the advisory test.

                          NOTE:
                          Advisory Text only appears in the Details of Alarms, not Events.




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                                                                    Localizing Events not in Event History | Localization



Localizing Events not in Event History
               Localize events that are not in Event History as follows.
                1     Note the MIB name for the event you want to localize.
                      For example, the lldpRemTablesChange event is in LLDP-MIB.
                2     Navigate to the Managed Resources portlet.
                3     Right-click any resource and then select Direct Access > MIB Browser.
                      The MIB Browser window is displayed.
                4     Locate the MIB note connected to the event.
                      For example, navigate to the lldpRemTablesChange event in LLDP-MIB by expanding:
                       LLDP-MID > lldpMIB > lldpNotifications > lldpNotificationPrefix
                5     Click the MIB Information tab.
                      The description text is displayed.




                6     Copy the text to the clipboard.
                7     Right-click the event and then select Edit > Event Definition.
                      The Editing Event Definition window is displayed.




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Localizing Events not in Event History | Localization


                      8   Paste the translated text into the Advisory Text field.




                      9   Click Save.
                     10   Right-click the event and then select Details.
                          The Details portlet displays the advisory test.

                          NOTE:
                          Advisory Text only appears in the Details of Alarms, not Events.




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                                                                            Localizing Resource Bundles | Localization



Localizing Resource Bundles
               You can localize some OpenManage NM (OMNM) text that is not in Localizing Message Files
               (described below), but in resource bundles. Resource bundles let you localize static labels and
               button text on forms. These resource bundles are in .jar files, and load automatically based on the
               locale settings on the operating system where you installed the OMNM software. See Producing
               the Properties List on page 767 for more about file naming.
               Resource bundles exist in msgs.jar files like owareapps\redcell\lib\rcform_msgs.jar. The msgs.jar
               portion of this filename is common to all existing resource bundles.
               The resource bundle for each form contains an ASCII properties file in the same directory as the
               form class. For example, “form_A” in the “com.driver” package would be named:
                      com/driver/form_A.properties
               This properties file contains text like:
                      #Resource bundle for Oware form com.driver.form_A
                      lblName.text=Name
                      lblName.tooltipt=Enter your name here
               To localize this resource bundle into “Spanish/Mexican,” the resource bundle for form_A in the
               com.driver package, is an ASCII properties file in the same directory as the form class, and is
               named:
                      com.driver.form_A_es_MX.properties
               With text like:
                      #Resource bundle for Oware form com.driver.form_A
                      lblName.text=Nombre
                      lblName.tooltipt= Incorpore su nombre aquí
               By default, a blank follows the equal sign, and the form displays the text specified when it was
               created. To override the default, add your text after the equal sign, and create your own .jar with
               that modified file, named as specified in Producing the Properties List on page 767. Note that not
               only the .properties files must follow this convention, you must also name the .jar file containing
               them to reflect the locale.




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Localizing Message Files | Localization



Localizing Message Files
                   A message file is a property file. The file name dictates which locales it applies to. The suggested
                   naming convention is as follows:
                   <prefix>msgs[_languageCode[_countryCode[_variantCode]]].properties
                   Do not provide more precision than necessary. By default, all message files are named as one of the
                   following:
                   <prefix>msgs_en.properties (English)
                   <prefix>msgs.properties (language independent)
                   No support exists for prepend or append operations.
                   All entries must follow this syntax: category.number=message text
                   To find all available message files, search the installation root and all its directories for
                   *msg*.properties or *.msgs files.
                   Finally, extract the synergy-i18n.jar file into the oware/synergy/extensions directory, edit the
                   appropriate files in the localization subdirectory, then re-compress the .jar file.

                            CAUTION:
                         If you take the time to translate these files, make sure you keep a copy of any modified files because any
                         upgrade may return them to their original state. You must manually copy the localized files to their
                         original positions to see those translations after any update.
                   The localization/language functionality comes from Liferay. You may find additional information
                   regarding localization on www.liferay.com/documentation.




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                                                                       Overriding MIB Text for Event Names | Localization



Overriding MIB Text for Event Names
               You can override default MIB text for event names and descriptions using a text file with the
               .properties extension in the owareapps/[device driver name]/lib or owareapps/installprops/lib
               directory to include the override messages. For example:
                      # Below is an example overriding the default redcellDiscoveryJobBegin
                       event Name and MIB Text with NEC CX specific information
                      #
                      # 1.3.6.1.4.1.3477.1.6.7.3 is the redcellDiscoveryJobBegin Notification
                       OID
                      #
                      # 1.3.6.1.4.1.3477.1.6.7.3.1=cx2900NMDiscoveryJobBegin
                      # 1.3.6.1.4.1.3477.1.6.7.3.2=CX2900-NM discovery job begin notification
                       indicates a discovery job has been executed
                      #
                      1.3.6.1.4.1.3477.1.6.7.3.1=cx2900NMDiscoveryJobBegin
                      1.3.6.1.4.1.3477.1.6.7.3.2=CX2900-NM discovery job begin notification
                       indicates a discovery job has been executed
               This overrides the redcellDiscoveryJobBegin notification.
               With such overrides you can alter event names and notification descriptions. These event names
               and descriptions are visible in the Event Definitions manager.
               To do this, create your own properties file in a text editor (for example, myfilemsgs.properties) and
               put it either in the driver’s lib directory, or in owareapps/installprops/lib directory if you do not want
               this file overwritten by any application upgrades.




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Caching Message/Property Files | Localization



Caching Message/Property Files
                   The OpenManage NM system loads all message files when it loads properties. The application
                   creates a temporary cache under the oware/temp/msgs directory for the client and the oware/temp/
                   appserver/msgs directory for the server. Subsequent loads use this cache unless a property file or
                   message file was modified (messages are in separate cache).




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                                                           Creating Property Files for Double-Byte Characters | Localization



Creating Property Files for Double-Byte Characters
               Properties files must be in escaped unicode format for the properties to appear in a double-byte
               character set. Create properties files for double-byte character format as follows.
                1     Open an editor that is UTF-8 capable.

                      NOTE:
                      Notepad UTF-8 files do not work because notepad inserts a Byte Order Mark at the beginning of UTF8
                      streams.
                2     Enter the properties in the text editor using any available double-byte character entry
                      method.
                3     Save the file as UTF8 - No Signature.
                4     Convert this file to unicode-escaped ANSI format by running the native2ascii Java utility .
                      You must specify the source and target file in the command. For example:
                       native2ascii -encoding UTF8 chinese-utf8.properties chinese.properties
                      These steps are just an example. Make sure the final file is named appropriately to match the
                      Oware naming standard previously described. This file displays double-byte characters on
                      Windows double-byte versions.




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Understanding the Message Properties Files | Localization



Understanding the Message Properties Files
                   Following the convention cited in Localizing Message Files on page 762, the name of a Spanish-
                   language (Español) message properties file intended for use in Mexico would be:
                   rcmsgs_es_mx.properties
                   The entries in this file are grouped according to function. If you want to create a local language
                   version of the OpenManage NM messages, edit the message properties file and translate the
                   message portion of each entry into the language appropriate for your site.
                   Edit the Message Properties file with any text editor that renders the characters you need. Double-
                   byte characters are allowed, but the OpenManage NM application supports only left-to-right text
                   rendering. The following example shows an edited message properties file with Italian translations.
                       #
                       # rcmsgititaliano.properties
                       # Ciò è l'archvio italiano del messaggio per il nucleo 4.1 di OMNM
                       #


                       RC_GENERAL.1=Aggiunta Nuovo
                       RC_GENERAL.2=Modificando "
                       RC_GENERAL.3="
                       RC_GENERAL.4=Prevista Scoperta
                       RC_GENERAL.5=Modificando
                       RC_GENERAL.6=Programmazione"
                       RC_GENERAL.7=Programma
                       RC_GENERAL.8=Previsto Evento




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                                                                                 Producing the Properties List | Localization



Producing the Properties List
               Product a properties list as follows.
                1     Shut down the application server.
                2     Add the following section to the OMNM log4j.xml file (such as
                      \owareapps\redcell\server\conf\redcell-log4j.xml):
                      <category name="com.dorado.redcell.appframework.nav.RCNavI18NHelper">
                          <priority value="TRACE"/>
                      </category>
                3     Restart the application server.
                4     Open the application server log file once the application is running. T
                      The server log is in the \oware\jboss-5.1\server\oware\log\server.log directory.
                5     Search for the following properties information in the server log:
                      --- I8N: OMNM Navigation Tree --------------
                      You should find something that looks like this:
                      --- I8N: OMNM Navigation Tree --------------
                      - Place the following list in a message file and replace each value.
                      - If the property is already in place, the retrieved value is displayed.
                      RCMenuObject.I18N.menu_reportManager.1=Reports
                      RCMenuObject.I18N.leaf_templateMgr.1=Report Templates
                      RCMenuObject.I18N.leaf_reportsMgr.1=Reports
                      RCMenuObject.I18N.menu_inventory.1=Inventory
                      RCMenuObject.I18N.leaf_deviceDiscWiz.1=Resource Discovery
                      RCMenuObject.I18N.leaf_equipMgr.1=Resources
                      RCMenuObject.I18N.leaf_equipRoleMgr.1=Resource Roles
                      …
                      …
                      …
                      RCMenuObject.I18N.leaf_RetentionPolicy.1=Retention Policies
                      --- I8N: OMNM Navigation Tree --------------

                      NOTE:
                      The above is an example. Menu item order can differ from this example.




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Altering Double-Byte Characters in Audit Trails | Localization



Altering Double-Byte Characters in Audit Trails
                    To see double-byte characters in audit trail messages, you need to alter the database, as described
                    in the following sections.
                     •    Setting Up MySQL
                     •    Setting Up Oracle
                    Follow the steps outlined for your database type.

          Setting Up MySQL
                    Setting up your MySQL database for double-byte characters in audit trail messages as follows:
                      1   Stop MySQL using one of the following commands:
                          • On Windows, execute this as an administrator;
                            net stop mysql
                          • On Linux, execute this as root:
                            /etc/init.d/owaredb stop
                      2   Open the MySQL configuration file in a text editor:
                          • Windows file is %SYSTEMROOT%/my.ini
                          • Linux file is /etc/my.cnf
                      3   Add the following lines to the [mysqld] section:
                            default-character-set=utf8
                            default-collation=utf8_general_ci
                            character-set-server=utf8
                            collation-server=utf8_general_ci
                            init-connect='SET NAMES utf8'
                            skip-character-set-client-handshake
                      4   Restart MySql.
                          • On Windows, execute this as an administrator:
                            net start mysql
                          • On Linux, execute this as root:
                            /etc/init.d/owaredb start
                      5   Run dbevolve.
                          • On windowb2s execute as the install user:
                            oware dbevolve -x
                          • On Linux,
                            . /etc/.dsienv
                            dbevolve -x




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                                                          Altering Double-Byte Characters in Audit Trails | Localization



       Setting Up Oracle
               Set up the Oracle database for double-byte characters in audit trail messages by selecting the UTF8
               character set when creating an Oracle database.
                      CREATE DATABASE owbusdb CHARACTER SET UTF8;
               For existing databases, Oracle has extensive documentation regarding character set selection and
               conversion. Refer to download.oracle.com/docs/cd/B10501_01/server.920/a96529/ch10.htm.
               The simplest form of this is as follows:
               ALTER DATABASE owbusdb CHARACTER SET UTF8;




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Altering Double-Byte Characters in Audit Trails | Localization




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Configuring Virtualization
As virtualized network functionality becomes central to a service provider's business model, key
Network Functions Virtualization (NFV) capabilities need to be brought under management.
With the OpenManage NM (OMNM) NFV applications and the third-party OpenStack
operating system, service providers can quickly bring virtual network functions (VNFs) under
full resource management.
This section is intended for system administrators, network administrators, or any one else using
the OpenManage Nm (OMNM) and OpenStack® infrastructure to design, configure, and
administer your network environment.
This document assumes that you are familiar with or have knowledge of:
 •   Linux distribution that supports OpenStack cloud, SQL databases, and virtualization
 •   Networking configurations
 •   Concepts, such as DHCP, Linux bridges, VLANs, iptables
This section covers the following topics related to the OMNM NFV administration and
configuration, such as defining your OpenStack environment, preparing vendor virtual network
function (VNF) images for use, and configuring those images:
Overview – 772
Preparing to Configure NFV Infrastructure – 775
Setting Up Cisco CSR100V VNF Package – 796
Setting Up F5 BIGIP VNF Package – 812
Setting Up the Juniper Firefly VNF Package – 839
Understanding the Sonus VSBC VNF Package – 859
Managing NFVI/VIM Resources – 866
Managing Descriptors – 881
Automating SMB vCPE Deployment – 910
For a description of the network virtualization-specific portlets see Network Virtualization Portlets
on page 926. OMNM NFV Permissions on page 1037 and Notifications on page 1045 provide
reference information that you might need during configuration.




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Overview | Configuring Virtualization



Overview
                     Service providers need to accelerate the deployment of new network services to support their
                     revenue and growth objectives. The OpenManage Nm (OMNM) Network Functions Virtualization
                     (NFV) feature and its ability to utilize the OpenStack operating system (Figure 17-1) to bring a
                     Virtualized Network Function (VNF) under management gives service providers what they need to:
                      •      Reduce hardware and support costs
                      •      Minimize installation costs
                      •      Optimize scaling and usage
                      •      Enable innovation
                      •      Simplify network services rollout and management
                      •      Reduce risks associated with rolling out new services
                      •      Improve return on investment of new services
                      •      Support NFV packaging of virtual functions and infrastructure resource management

                                                                                                   NFV Management and
                                                                                                      Orchestration

                                                                                 Os-Ma
                                        OSS/BSS                                                       Orchestrator

                                                                                 Se-Ma
                                          Service, VNF and Infrastructure
                                                    Description
                                                                                                               Or-Vnfm

                     EMS 1               EMS 2                 EMS 3
                                                                                Ve-Vnfm                  VNF
                                                                                                       Managers
                     VNF 1               VNF 2                 VNF 3                                                           Or-Vi

                                                    Vn-Nf
             NFVI                                                                                              Vi-Vnfm
               Virtual Computing          Virtual               Virtual
                                         Storage               Network
                                                                                 Nf-Vi                  Virtualized
                                    Virtualization Layer                                              Infrastructure
                                    VI-Ha                                                               Managers
                                                    Hardware Resources
                    Computing       Storage Hardware    Network Hardware                                               OpenStack
                    Hardware                                                                                              OS




                 Execution Reference Points            Other Reference Points             Main NFV Reference Points

                 OpenStack Environment                 Cloud                              OMNM NFVO

                                                    Figure 17-1.       OMNM and OpenStack Interaction
                     The OpenStack operating system provides services used to manage (Figure 17-2):
                      •      Instances’ Lifecycle (run, reboot, suspend, resize and terminate instances)




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                                                                                        Overview | Configuring Virtualization


                   •     Compute Resources (CPU, memory, disk, and network interfaces)
                   •     Local Area Networks (Flat, Flat DHCP, VLAN DHCP and IPv6) through programmatically
                         allocated IPs and VLANs
                   •     Who has access to compute resources and prevent users from impacting each other with
                         excessive API utilization
                   •     Virtual Machine (VM) Images (store, import, share, and query images)
                   •     Floating IP Addresses (assign and re-assign IP addresses to VMs)
                   •     Projects and Quotas (allocate, track and limit resource utilization)
                  The following example shows the services interaction in an OpenStack environment.


                                                                Heat
                                                           (Orchestration
                                                               Cloud)




                                                             Horizon
                                                           (Dashboard)




    Neutron (Network)                  Nova (Compute)                                                      Swift
                                                                              Glance
                                                                                                      (Object Storage)
                                                                              (Image)




                        Cinder
                    (Block Storage)




                                                                                                              UI Interaction
                                                                                                              Storage
                                                                                                              Authorization
                         Telemetry                      Keystone (Identity)
                        (Ceilometer)                                                                          Monitoring
                                                                                                              Connectivity


                                                 Figure 17-2.    OpenStack Services (example)
                  The following list (Table 17-1) provides a brief description of each OpenStack service and the Heat
                  Orchestration program provided in the previous example. The identity, compute, and image
                  services are standard dashboard components. The other components are optional.




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                    Details of the OpenStack system is out of scope for this document. Refer to the OpenStack
                    documentation for more details on these services and other OpenStack services, programs, and so
                    on.

                    Table 17-1. OpenStack Services

                    Service Name        Service Type     Description
                    Heat                Orchestration    Implements an orchestration engine to launch multiple
                                                         composite cloud applications based on templates in the form of
                                                         text files that are treated like code.
                    Horizon             Dashboard        Provides the Web-based user interface used to manage
                                                         OpenStack services (network, compute, image, block and object
                                                         storage, and identity).
                    Neutron             Network          Provides network connectivity between interface devices
                                                         managed by other OpenStack services, such as Compute.
                    Nova                Compute          Provides the ability to manage your computing resources, such as
                                                         CPU, memory, disk, and network interfaces.
                                                         This allows you to easily migrate workloads and run them at scale
                                                         with predictability, consistent performance, control, and visibility.
                    Glance              Image            Stores images from the compute service.
                    Swift               Object Storage   Provides cloud-storage software so that you can store and retrieve
                                                         data with an API (application programming interface).
                                                         Ideal for storing unstructured data that grows without bounds,
                                                         such as image files.
                    Cinder              Block Storage    Provides the ability to virtualize block storage devices
                                                         management and provide a self-service API for end-users to
                                                         request and consume resources without knowing where their
                                                         storage is actually deployed or on what type of device.
                                                         In our example, it stores volumes for the Compute service.
                    Telemetry           Ceilometer       Monitors, collects, normalizes, and transforms data produced by
                                                         OpenStack services (network, compute, image, and block
                                                         storage).
                                                         Use this data to create different views to help solve telemetry
                                                         issues.
                    Keystone            Identity         Provides authentication (authN) and high-level authorization
                                                         (authZ) for the dashboard, network, compute, image, block
                                                         storage, and object storage services.




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                                                     Preparing to Configure NFV Infrastructure | Configuring Virtualization



Preparing to Configure NFV Infrastructure
               This section provides what you need to prepare for Network Functions Virtualization (NFV)
               infrastructure configuration and how to start the applications used to do the preparation tasks.
                •     Verifying Prerequisites
                •     Signing In/Out OMNM Application
                •     Starting and Exiting OpenStack Dashboard
                •     Setting Up an OpenStack Project
                •     Bringing a VIM Under Management
                •     Setting Up OMNM Application
                •     Determining What to Do Next

       Verifying Prerequisites
               Before you can perform the virtualization configuration tasks the Network Functions Virtualization
               (NFV) product, make sure that the following software is installed and operational:
                •     OMNM 7.4.x application with the NFV feature
                      Start the OpenManage Nm (OMNM) application and then select Manage > Show Version to
                      verify your version. See Signing In/Out OMNM Application on page 776 if you need
                      instructions.
                      Select Add > Applications and then verify that Network Virtualization applications are listed.
                      For a list of NFV applications, see Starting and Exiting OpenStack Dashboard on page 777.
                      Refer to the OpenManage NM Installation Guide for system requirements and the
                      OpenManage NM Release Notes for new features supported, adaptive CLIs, standard change
                      management policies, known issues, and supported devices, switches, and equipment.
                •     OpenStack operating system (Liberty, Mirantis version 8)
                      The OpenStack environment is set up and defined by your system administrator. Obtain login
                      information your system administrator. See Setting Up an OpenStack Project to set up
                      interaction between the OMNM application and the OpenStack operating system.
                •     One of these Web browsers at the listed version or above: Chrome V45, Firefox V40, Internet
                      Explorer V11, or Safari V8
               Make sure that you have access to the OpenManage Nm (OMNM) and third-party documents that
               contain additional information related to the configuration tasks described in this guide.
                •     OpenManage NM Release Notes
                •     OpenManage NM Installation Guide
                •     OpenStack documentation
                •     Cisco® CSR 1000V-Series datasheet
                •     F5® BIG-IP® Virtual Edition (VE) datasheet and OpenStack KVM environment
                      requirements
                •     Juniper Networks® Firefly SRX documentation and release notes
                •     SonusTM Network Session Border Controller (SBC) Software Edition (SWe) documentation
                      and release notes




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          Signing In/Out OMNM Application
                    To get started using the OpenManage Nm (OMNM) Network Functions Virtualization (NFV)
                    features, you need to know how to sign in to the OMNM application and sign out when you are
                    finished with the application.
                    Sign in to your OMNM NFV installation from your Web browser as follows and then sign out when
                    finished.
                      1   Enter the OMNM URL.
                          http://appServerHost:portNumber
                          Replace appServerHost with your OMNM NFV server host name or IP address. The default
                          portNumber is 8080.
                          The sign in request is displayed.




                      2   Enter your screen name (user name) and password.
                      3   Click Sign In.
                          The OMNM NFV Home page is displayed.
                          If you entered an incorrect user name or password, a message is displayed. Enter the
                          information again.




                      4   Click Sign Out when you are finished with the application.
                          You are returned to the sign in request page.




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       Starting and Exiting OpenStack Dashboard
               Connect to the OpenStack dashboard from your Web browser as follows and then sign out when
               you are finished.
                1     Enter the OpenStack URL.
                      http://serverIP/horizon/auth/login/
                      Replace serverIP with your OpenStack server host name or IP address.
                      The OpenStack Dashboard sign in page is displayed.




                2     Enter your user name and password.
                3     Click Connect.
                      The OpenStack dashboard is displayed.
                      If you entered an incorrect user name or password, a message is displayed. Enter the
                      information again.




                4     Select userName > Sign Out when finished with the application.
                      You are returned to the OpenStack Dashboard sign in page.




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          Setting Up an OpenStack Project
                    OpenStack software is the third-party cloud computing software that the OpenManage Nm
                    (OMNM) application interacts with to manage NFV packaging of virtual functions and
                    infrastructure resources. Before defining your Virtualized Infrastructure Managers (VIMs), you
                    need to make sure that you have an OpenStack project in which the VIMs will reside and make sure
                    that the project is set up to interact with the OMNM application.
                    Set up an OpenStack project using one of the following set of instructions:
                     •    Creating a Project if the project does not exist.
                     •    Verify Project Setup for OMNM if the project already exists.

                          NOTE:
                          Details of the OpenStack system is out of scope for this document. Refer to the OpenStack
                          documentation if you need more OpenStack details than what is provided in this document.

                    Creating a Project
                    Create a project from the OpenStack dashboard as follows.
                      1   Select Identity > Project.
                      2   Click Create Project.
                          The Create Project window is displayed.
                      3   Enter a name and detailed description.




                      4   Assign users/permissions.
                          a. Click Project Members.
                          b. Add the following users to the Project Members list.
                              • heat-cfn
                              • heat
                              • admin
                          c. Set the member permissions to admin.



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                5     Click Create Project.
                      The new project is saved to the Projects list.




                6     Create project networking in an OpenStack VIM (KILO or later release).
                      a. Select Project > Network > Routers.
                      b. Click Create Router.
                         The Create Router window is displayed, where you create a project router with a
                         gateway interface.




                      c. Make sure that the router’s gateway IP is reachable from the LAN (your Windows system)
                         following project router creation.
                      d. Select Project > Network > Networks.
                      e. Click Create Network.




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                              The Create Network window is displayed.
                          f. Create and attach the following networks to the project router:
                              • net-mgmt
                              • net-data1
                              • net-data2




                    Now that your OpenStack project is ready, you can get started by creating a VIM from the
                    OpenManage Nm application.

                    Verify Project Setup for OMNM
                    Verify that an existing OpenStack project has the proper settings to communicate with the
                    OpenManage Nm (OMNM) application and make the appropriate changes as needed.
                    Verify a project’s setup from the OpenStack dashboard as follows.
                      1   Select Identity > Projects.
                          A list of projects is displayed.




                      2   Select the Edit Project action for the appropriate project.
                          The Edit Project window is displayed.




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                3     Click Project Members.
                4     Add the following users to the Project Members list if they do not exist.
                      • heat-cfn
                      • heat
                      • admin
                5     Set the member permissions to admin.
                6     Save your changes.




                7     Create project networking in an OpenStack VIM (KILO or later release) if it does not already
                      exist.
                      a. Select Project > Network > Routers.
                      b. Click Create Router.
                         The Create Router window is displayed, where you create a project router with a
                         gateway interface.




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                          c. Make sure that the router’s gateway IP is reachable from the LAN (your Windows system)
                             following project router creation.
                          d. Select Project > Network > Networks.
                          e. Click Create Network.
                              The Create Network window is displayed.
                          f. Create and attach the following networks to the project router:
                              • net-mgmt
                              • net-data1
                              • net-data2




                    Now that your OpenStack project is ready, you can get started by creating a VIM from the OMNM
                    application.




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       Bringing a VIM Under Management
               Before you can deploy network services or virtualized network functions (VNFs), you need to bring
               under management the Virtualized Infrastructure Manager (VIM) to which you want to deploy the
               network services or VNFs. Bring VIMs under management by:
                •     Setting Up Authentications
                •     Defining Discovery Profiles
                •     Adding VIM Resources

               Setting Up Authentications
               Set up authentications from the Authentication portlet as follows.
                1     Right-click > New.
                      The Creating New Authentication window is displayed.
                2     Enter an authentication ID.
                3     Enter the remaining information that applies.
                4     Save the authentication profile.
                5     Repeat steps 1 through 4 for each new authentication required.




               If you need more details than what is provided here, refer to the Authentication portlet description
               (Authentications on page 162).

               Defining Discovery Profiles
               Define discovery profiles from the Discovery Profiles portlet as follows.
                1     Right-click > New.
                      The Creating New Discovery Profile window is displayed.
                2     Enter a name and optional description.




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                      3   Select Network.
                      4   Create a list of authentications.
                      5   Select authentications for this profile.




                      6   Modify the list of actions as needed.
                      7   Click Execute.




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               If you need more details than what is provided here, refer to the Discovery Profile portlet
               description (Discovery Profiles on page 165).

               Adding VIM Resources
               Bring a VIM under management from the Virtualized Infrastructure Manager portlet as follows.
                1     Right-click > New.
                      The Editing VIM window is displayed.




                2     Enter the required information.
                      Optionally, provide a more detailed description and a priority.
                3     Specify any constraints.
                      Constraints specify where to place a network service or VNF if you do not specify a VIM
                      during the staging process.
                4     Save the VIM.
                      This brings the VIM under management.
                5     Right-click > Resync the VIM you created.
                      This updates the VIM with the appropriate service models representing the artifacts.




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                      6   View VIM details to see everything related to the VIM, such as:
                          • Capacity resources (CPU, memory, disk)
                          • Defined constraints
                          • Hypervisors
                          • VIM Images
                          • Reference details (IP addresses, network, port, router, capacity, and so on)
                      7   Repeat steps 1 through 6 for each new VIM.

          Setting Up OMNM Application
                    Before you perform the tasks described in this guide, make sure that the NFV-specific portlets you
                    need are added to the existing OpenManage Nm (OMNM) application.




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               Which portlets you need, depends on your role (Table 17-2) in the management of your virtualized
               network environment and the deployment of network services and virtualized network functions
               (VNFs).

               Table 17-2.   User Roles and Tasks

               Role                      Tasks
               Administrator             Bringing VIM under management
                                         Setting up the OpenStack environment (uploading vendor base images to the
                                         OpenStack controller, modifying resource flavors, creating VIM snapshots)
                                         Preparing vendor-supplied images from OMNM (creating and editing VIM
                                         images)
                                         Maintaining the VIMs under NFV resource management, descriptors, virtual
                                         reservations, and virtual requirements
               Network Designer/         Defining descriptors
               Engineer                  Implementing virtual reservations
                                         Monitoring virtual requirements
               Operator                  Instantiating VNFs (stage, deploy)
                                         Monitoring virtual requirements
                                         Performing other daily operations, such as undeploying, scaling, monitoring
                                         system health, resolving issues found, etc.

               Depending on how your company wants to define the work environment for all users, you have the
               option to add the Network Virtualization applications (portlets) to existing OMNM pages or create
               pages and add portlets more appropriately for each users work environment. Once the pages/
               portlets setup is complete, verify this setup.
               Here is a list of NFV portlets (Table 17-3) and how each portlet is used by the different user roles.
               For a detailed description of these portlets, see Network Virtualization Portlets on page 926. If any
               of these portlets are not available, a message is displayed when you try to add it to a page.

               Table 17-3.   NFV Portlets (Sheet 1 of 2)

               Portlet                      Operator                      Administrator              Network Designer
               License Accounts             Maintain a list of            Maintain a list of         Maintain a list of
                                            licensed accounts             licensed accounts          licensed accounts
               License Descriptors          View and understand           Maintain available         Define licensing
                                            license descriptors           license descriptors        integration and
                                                                                                     characteristics
               License Records              View and understand           View and understand        View and understand
                                            license records               license records            license records
               NFV Monitoring               View and understand           Maintain monitoring        Maintain monitoring
               Attributes                   NFV monitoring                attributes                 attributes
                                            attributes
               Network Service              View and understand           Maintain network service Define monitoring
               Descriptors                  NSDs                          descriptors              attribute characteristics
               Network Service Records Stage, deploy, and                 No activity performed by Test an implemented
                                       undeploy (manage)                  the administrator        network service
                                       network services
               OSS Instance                 View and understand           Implement OSS              No activity performed by
                                            OSS instances                 instances                  the network designer




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                    Table 17-3. NFV Portlets (Sheet 2 of 2)

                    Portlet                     Operator                  Administrator               Network Designer
                    Physical Network            View and understand       Maintain PNF                Implement physical
                    Function Descriptors        PNFDs                     descriptors                 network functionality
                    Physical Network            Stage, deploy, and        Test new or modified        Test implemented PNFs
                    Function Records            undeploy (manage)         descriptors
                                                PNFs
                    SDN Controllers             View and understand       Maintain software-          Test SDN controllers
                                                SDN controllers           defined network (SDN)
                                                                          controllers.
                    Software Images             View and understand       Create a software image     Create a software image
                                                software images           descriptor for a snapshot   descriptor for a snapshot
                                                                          image, deploy software      image, deploy software
                                                                          images, and edit the VIM    images, and edit the VIM
                                                                          software descriptor         software descriptor
                                                                          parameters                  parameters
                    VIM Images                  View and understand       Maintain consistency     Test that software images
                                                VIM images                across the VIM instances deployed/undeployed
                                                                                                   were added/removed
                                                                                                   from the VIM images list
                    Virtual Network             View and understand       Maintain VNF                Implement virtualized
                    Function Descriptors        VNFDs                     descriptors                 network functions
                    Virtual Network             Stage, deploy, and        No activity performed by Test an implemented
                    Function Records            undeploy (manage)         the administrator        network service
                                                VNFs
                    Virtual Requirements        View virtual domain resource requirements and usage (such as memory, CPU,
                                                and disk). You also have the option to modify a domain’s description.
                    Virtual Reservations        Verify that a VDU’s       Maintain virtual            Implement virtual
                                                resources were reserved   reservations                reservations
                                                after they stage a VNF
                                                record
                    Virtualized Infrastructure View available VIMs and Maintain the VIMs              No activity performed by
                    Managers                   their resources before  under resource                 the network designer
                                               deploying services or   management
                                               VNFs

                    Adding a Page
                    Pages allow you to organize commonly used portlets into a single location for easy access or to
                    group portlets by tasks you perform. For example, group tasks used to monitor and resolve network
                    health on a single page. You have the option to add NFV pages to the menu bar, add child pages to
                    existing pages, or a combination of both.
                    Add any needed pages to the OpenManage Nm (OMNM) application as follows.
                      1   Select Manage > Page.
                          The Manage Page window is displayed.




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                2     Add pages you want to access from the navigation panel.
                      a. Select Private Pages.
                      b. Specify the look and feel.
                      c. Click Add Page.
                         The Add Page window is displayed.
                      d. Enter page name.
                      e. Select a type.
                      f. Click Add Page.




                3     Repeat steps 1 and 2 for each page you add to the navigation panel.
                4     Add a child page to an existing page.
                      a. Select Manage > Page.
                         The Manage Page window is displayed.
                      b. Select the page under which to add the child page.
                      c. Click Add Child Page.
                         The Add Child Page window is displayed.
                      d. Enter page name.
                      e. Select the type.
                      f. Select whether to copy the parent or make the page hidden.
                      g. Click Add Page.
                      h. Repeat these steps for each child page you want to add.




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                    Now you are ready to add portlets (applications) to the appropriate pages.

                    Adding Portlets to a Page
                    These instructions assume that the pages to which you plan to add portlets already exist. If the
                    pages do not exist, see Adding a Page before continuing.
                    Add portlets to a page from the OpenManage Nm (OMNM) application as follows.
                      1   Click the page label to which you want to add a portlet.
                          The selected page is displayed.
                      2   Select Add > Applications.
                          The applications list is displayed.
                      3   Expand the Network Virtualization list.
                          See Setting Up OMNM Application on page 786 for a brief description of each portlet, or
                          Network Virtualization Portlets on page 926 more details.
                      4   Click Add for each portlet you want to add to the selected page.
                          Note that the purple indicator means that you can add the portlet only once to a page. All
                          other portlets you can add multiple instances to a page.




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                5     Refresh the page to show the portlet.
                      If you do not have permissions to view the portlet, a message is displayed. Delete the portlet
                      or consult your system administrator if you feel you should have access to the portlet.
                6     Repeat steps 4 and 5 for each portlet you want to add to the selected page.
                7     Rearrange the portlets as needed using the drag-and-drop method.
                8     Repeat steps 1 through 7 for each page to which you want to add portlets.

               Testing Your OMNM Setup
               You should run some tests to make sure you have what you need and you can perform some basic
               tasks, such create, edit, view details, delete, and so on.
               Test your setup from the OpenManage Nm (OMNM) application as follows.
                1     Sign out and then sign back in if you are already logged in.
                2     Verify that your pages are accessible from the menu bar.
                3     Make any necessary changes.
                4     Make sure that you can do some basic tasks (add, edit, delete, and view details) from each
                      added portlet, such as these:
                      • Network Service Descriptors
                      • Physical Network Function Descriptors
                      • Software/VIM Images
                      • Virtual Network Function Descriptors
                      • Virtual Requirements/Reservations
                      • Virtualized Infrastructure Managers
                5     Navigate to the Virtual Network Function Records portlet.
                      a. Verify that you can discover VNF records.




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                          b. Verify that you can stage a record.




                          c. Verify that you can deploy a staged record staged.




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                      d. Verify that you can modify a record.




                      e. Verify that you can undeploy the record deployed in step c.




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                           f. Verify that you can delete a record.




          Determining What to Do Next
                    Now that you have prepared your system to configure your NFV infrastructure, you you are ready to
                    get started with the following tasks that apply to your environment (Table 17-4).

                    Table 17-4. Configuration Tasks (Sheet 1 of 2)

                    Task                          High-Level Steps                             Detail Steps
                    Create Cisco CSR100V          1.   Review VNF package content.             Setting Up Cisco
                    VNF descriptor                2.   Deploy vendor-provided image.           CSR100V VNF Package
                                                  3.   Create resource flavors.
                                                  4.   Create VM snapshots.
                                                  5.   Create software image descriptor.
                                                  6.   Modify VIM software image descriptor.




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               Table 17-4.   Configuration Tasks (Sheet 2 of 2)

               Task                          High-Level Steps                                     Detail Steps
               Create F5 BIGIP VNF           1.   Review VNF package content.                     Setting Up F5 BIGIP VNF
               descriptors                   2.   Create a OpenStack project.                     Package
                                             3.   Deploy vendor-provided image.
                                             4.   Modify running VM booted from original image.
                                             5.   Create resource flavors.
                                             6.   Create VM snapshots.
                                             7.   Create software image descriptor.
                                             8.   Modify VIM software image descriptor.
                                             9.   Apply license.
               Create Juniper Firefly VNF 1.      Review VNF package content.                     Setting Up the Juniper
               descriptor                 2.      Convert vendor .jva to qcow2 format.            Firefly VNF Package
                                          3.      Create a project.
                                          4.      Deploy vendor-provided image.
                                          5.      Create resource flavors.
                                          6.      Modify snapshot image changes.
                                          7.      Create VM snapshots.
                                          8.      Create software image descriptor.
                                          9.      Modify VIM software image descriptor.
               Bring Sonus SBC under         1.  Review VNF package content.                      Understanding the Sonus
               management                    2.  Make sure that you understand the VNF            VSBC VNF Package
                                                 configuration methods.
                                             Note: Sonus VSBC VDUs are automatically
                                             brought under OMNM management.
               Manage resources              1.   Create, modify, and/or delete VIMs.             Managing NFVI/VIM
                                             2.   Resyncing VIMs.                                 Resources
                                             3.   Discovering VNF records.
                                             4.   Managing software images.
                                             5.   Maintaining resource monitors.
               Manage descriptors            1. Create or Import descriptors.                     Managing Descriptors
                                             2. Modify descriptors as needed.
                                             3. Remove descriptors no longer needed.
                                             Note: This covers network service, VNF, and
                                             PNF descriptors.
               Automate deployment           Note: Only includes reference information at         Automating SMB vCPE
                                             this time.                                           Deployment




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Setting Up Cisco CSR100V VNF Package
                   This section explains the scope, functions, and processes associated with Virtualized Network
                   Functions (VNF) onboarding and instantiation.
                    •    Understanding the Cisco CSR100V VNF Package
                    •    Preparing an Image

         Understanding the Cisco CSR100V VNF Package
                   The Cisco CSR 1000v model is a virtual router that can be deployed in the OpenStack
                   environment. Cloud Services Router (CSR) software images are downloadable and portable
                   between on-premises virtualized data centers, public, and hybrid cloud environments. The CSR
                   allows you to rapidly provision routers as needed across the data center and into the cloud.
                   The OpenManage Nm (OMNM) Cisco CSR100V VNF package provides a sample VNF Descriptor
                   and associated artifacts to deploy the Cisco CSR 1000v virtual router.
                   Cisco Systems® provides qcow2 images (.qcow2) and licenses that are ready for the OpenStack
                   environment. You need these files to deploy and enable the Cisco CSR 1000v features.
                   The following list provides the VNF package vendor and validation information:

                   Vendor and Model Information
                   Vendor                                           Cisco Systems, Inc.
                   Product Family                                   CSR
                   Models                                           Type 1: 1000v
                   Operating Systems                                IOSXE
                   Version                                          15.4(2)S
                   Validated Environment
                   VIM                                              OpenStack
                   Version                                          Liberty
                   Installer                                        Mirantis
                   Version                                          8
                   Network Configurations                           VXLAN, VLAN Segmentation
                   OMNM MANO (Management and Operation) Validated Functions
                   MANO                                             NSD, VNFD, NSR, VNFR
                                                                    Link LCEs
                   VNFM                                             Generic (MANO Lite)
                                                                    Independent/Specific
                   NFVO                                             MANO Lite
                   OMNM RMO (Resource Management and Operation) Validated Functions
                   Inventory                                        Resource Discovery and Inventory
                                                                    Resource Creation Method (NFV-Model)
                   Monitoring                                       SNMP Monitoring
                                                                    CPU & Memory KPIs
                                                                    TFA (flows)
                   Config                                           ACLI




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               NetRestore File Management                           NR Backup
                                                                    NR Restore
                                                                    NR Firmware (not validated)

               This section covers the:
                •     Cisco CSR VNF Package Contents
                •     OMNM VNF Package - Install Component Files
                •     License Requirements
                •     Known Issues
                •     References
               Once you have a good understanding of the VNF package, you can get started preparing an image.

               Cisco CSR VNF Package Contents
               The Cisco CSR (Cloud Services Router) VNF package contains artifacts necessary to install and
               deploy Virtualized Network Functions (VNFs) for the Cisco CSR 1000v type Virtualization
               Deployment Unit (VDU).
               The sample VNF descriptor created has basic flavors to deploy the VNF VDU as part of a
               standalone VNF record. The Network Service descriptor is not currently available for the CSR
               software.
               The sample Cisco CSR Cluster VNF descriptor is located in the following file:
               owareapps/nfv-vnfm-cisco/db/vnf.cisco-csr-cluster-v1.xml
               This sample VNF descriptor defines the packaging and behavior of one or more Cisco CSR 1000v
               VDUs and can be included as part of a network descriptor.
               Here are the Cisco CSR Cluster descriptor deploy parameters used:

               Field Name       Data Type         Description       Default             Valid Values    Required
               Cluster Name     String            VNF’s Cluster     Cisco-Cluster       String          N
                                                  Name
               DNS IP           IP Address        IP of DNS         8.8.8.8             IP Address      N
                                                  Server

               Here are the Cisco CSR Cluster descriptor flavors used:

               Flavor Name                  VDU Name                  VDU Count     CPU          Disk (GB)   Memory
                                                                                                             (MB)
               Cisco CSR VR Small           Cisco-CSR-1000V-VR        1             2            0           4096

               View the VNF descriptor’s details from the OpenManage Nm VNF Descriptor portlet.

               OMNM VNF Package - Install Component Files
               The following OpenManage Nm (OMNM) Virtualized Network Function (VNF) package
               installation components are required for the Cisco CSR100V product:

               VNF (OCP)                                            nfv-vnfm-cisco.ocp
               Device Driver (DDP)                                  cisco.ddp




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                   The OMNM VNF package descriptors for the Cisco CSR100V VNF product includes:

                                    NVF VNF Package                                 Resource Management
                   VIM Software         VNF           Sample NSD      Discovery          Discovery        Device
                   Image Records        Descriptors                   Authentication     Profiles         Driver
                                                                      Records
                   Y                    Y             N               Y                  Y                Y

                   The VNF package descriptors include:
                    •    Discovery Authentication Profiles
                    •    Discovery Profiles
                    •    NFV VIM Software Image Descriptors
                   Discovery Authentication Profiles
                   The Cisco CSR100V Discovery Authentication profiles are located in the following file:
                   owareapps/nfv-vnfm-cisco/db/rc.disc-auths-cisco.xml
                   This file contains the following discovery authentication profiles:

                   Authentication Record Name                         Description
                   cisco-csr1000v-cli                                 Telnet Credentials
                   cisco-csr1000v-snmp                                SNMP v1/v2 Credentials

                   Discovery Profiles
                   The Cisco CSR100V Discovery profiles are located in the following file:
                   owareapps/nfv-vnfm-cisco/db/rcdisc-profile-cisco.xml
                   This file contains the Cisco-CSR1000v-Discovery profile that automatically discovers and
                   populates resource records during VNF record instantiation.
                   The following tasks are run once the target VM in the OpenStack environment is fully booted and
                   can respond to SNMP and CLI requests from the management system:
                     1   Resync
                     2   DataCollectionForGroupOfDevices
                     3   Scheduled Resync
                     4   Refresh Monitor Targets
                     5   Cisco CSR IOSXE SNMP Trap Forwarding to OMNM




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               NFV VIM Software Image Descriptors
               The original Cisco vendor image was used to produce the following workable snapshot image used
               to create Network Functions Virtualization (NFV) Virtualized Infrastructure Manager (VIM)
               software image descriptors from the OpenManage Nm (OMNM) application. See Preparing an
               Image on page 800 for detailed instructions.


               Name            Scope/Description              Container   Disk        Min RAM MIN Disk Resource
                                                              Format      Format      (MB)    (GB)     Discovery
                                                                                                       Profile
               CiscoCSR1000 Dorado Snapshot of original       BARE        QCOW2       4096       0         Y
               v-snapshot-2- csr1000v-universalk9
               16Ports       .03.12.00.S.154-2.S-std plus
                             16 Interfaces per iosxe-cfg-
                             16Ports.txt file

               License Requirements
               Contact your vendor for licensing requirements.

               Known Issues
               The OpenStack flavor for the Cisco CSR 1000v VMs must contain a value of 0 for the Root,
               Ephemeral, and Swap Disk fields. Otherwise, the VM does not complete the bootup process.

               References
               This section provides references to:
                •     Vendor Documentation (URLs)
                •     VNF Configuration Methods
               Vendor Documentation (URLs)
               Refer to the Cisco website (http://www.cisco.com) for all vendor-specific documentation.
               For the Cisco CSR 1000v-Series datasheet, refer to the following Cisco website page:
               http://www.cisco.com/c/en/us/products/collateral/routers/cloud-services-
               router-1000v-series/datasheet-c78-733443.html
               VNF Configuration Methods
               A combination of image (snapshot) preparation, along with Virtualization Deployment Unit
               (VDU) Post Instantiate Configuration Lifecycle Events (LCEs), is implemented in this VNF
               package to ensure the Cisco CSR VDU is automatically brought under OMNM management.

               Config Method                                                 Deacription
               Customized Image              The Cisco CSR image is provided by Cisco Resource Management
               Preparation                   applications.
                                             See Preparing an Image on page 800 for a description of how to create an
                                             updated image (snapshot) for the Cisco CSR 1000v model series to use to
                                             boot up VMs that are managed by the OMNM application. The snapshot
                                             produced is used to create Cisco CSRs in the OpenStack environment, so
                                             that no manual intervention is required to apply the management system
                                             communication settings.




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                   Config Method                                                 Deacription
                   OMNM Resource                  Once the target VM in the OpenStack environment is fully booted and
                   Configuration Tasks            can respond to SNMP and CLI requests from the management system,
                                                  post discovery tasks are run.
                                                  For more details about the Cisco-CSR1000v-Discovery profile and the
                                                  tasks that run, see Discovery Profiles on page 798.

                   Preparing an Image
                   Before you can discover and manage a Virtualized Network Function (VNF) resource from the
                   OpenManage Nm (OMNM) application, you need to:
                     1   Set up your OpenStack environment by preparing a Cisco CSR image with the necessary
                         configuration.
                     2   Create a software image record from the OMNM application.

                   Setting Up Your OpenStack Environment
                   To set up your OpenStack environment, you need to:
                     1   Deploy the vendor’s base image by uploading the original qcow2 image file received from
                         your Cisco supplier to a target Bare Metal OpenStack controller.
                     2   Create flavors representing the smallest supported flavor to use. The vendor (Cisco) provides
                         a flavor (Figure 17-3).
                     3   Create VM snapshots that are used to create and export a VIM software image descriptor
                         within the OpenManage Nm application.




                                                    Figure 17-3.    Cisco_CSR1000v Flavor




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               Instantiating a VM From a Vendor Image
               Instantiate a VM (virtual machine) in your OpenStack environment from the vendor-provided
               image as follows.
                1     Create a default Cisco IOS-XE configuration file (iosxe_config.txt) with your operational
                      settings for your Cisco CSR 1000v virtual routers.
                      Refer to your Cisco product documentation for instructions on how to create and populate a
                      Cisco configuration file for your Cisco CSR VNFs.
                      a. Add configuration for the number of interfaces you need to utilize (GigabitEthernet1
                         GigabitEthernetN).
                         The following example shows configuration for four interfaces:
                         interface GigabitEthernet1
                           description "Data Port 1"
                           ip address dhcp
                           no shutdown
                         !negotiation auto
                         !
                         interface GigabitEthernet2
                           description "Data Port 2"
                           ip address dhcp
                           no shutdown
                         !negotiation auto
                         !
                         interface GigabitEthernet3
                           description "Data Port 3"
                           ip address dhcp
                           no shutdown
                         !negotiation auto
                         !
                         interface GigabitEthernet4
                           description "Data Port 4"
                           ip address dhcp
                           no shutdown
                         !negotiation auto
                      b. Configure more GigabitEthernet interfaces than are actually attached to the VM when
                         booted later in from the OpenStack system.
                         This allows you to use the same image in multiple network topologies that have a
                         varying number of networks to which you will attach the Cisco CSR 1000v virtual
                         rouers.
                      c. Name the file iosxe_config.txt.
                      d. Upload the iosxe_config.txt file to your target’s local disk under the /root directory.
                2     Obtain an image from your vendor in qcow2 format.
                3     Upload the qcow2 image to the OpenStack VIM.
                      For example, Cisco provided the following image file for the Cisco CSR 1000v VNF package:
                      csr1000v-universalk9.03.12.00.S.154-2.S-std.qcow2
                4     Name the image record in the OpenStack system as CiscoCSR1000v.




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                     5   Double-click the image from the Project > Compute > Images page.
                         The image details overview is displayed.




                     6   Boot up a VM from the OpenStack system using this image.
                         Here is an example command syntax:
                         Image file Used:\\192.168.51.11\it\VMs\vnf\vendor\cisco\CSR\csr1000v-
                          universalk9.03.12.00.S.154-2.S-std.qcow2
                         Config file used - placed on OpenStack controller 10.101.170.3 (bare metal
                          ICEHOUSE via Fuel) in the root directory:
                         \\192.168.51.11\it\VMs\vnf\vendor\cisco\CSR\iosxe_config_MgtPlus8DataPort
                          s.txt -> copied to /root/iosxe_config_MgtPlus8DataPorts.txt on the
                          OpenStack Controller.
                     7   Log into the OpenStack controller.
                     8   Boot a new VM using the following nova command line syntax.
                         Make sure that you are using the image along with your iosxe_config.txt file and that the
                         instance is operational.
                         nova --os-username admin --os-password <OpenStack admin password> --os-
                          <OpenStack Tenant Name> admin --os-auth-url <OpenStack Auth URL> boot
                          <VM Name> --image <OpenStack Image Name> --flavor <OpenStack Flavor
                          Name> --nic net-id=<OpenStack Network 1 UUID> --nic net-
                          id=<OpenStack Network 2 UUID> --config-drive=true --file
                          iosxe_config.txt=<default config file disk location/file name>
                         This example command has two network connections. You can include additional network
                         connections by adding repetitions of the following:
                         –-nic net-id=<value>
                     9   Verify that the VM:
                         • Booted successfully.
                         • Has the proper Cisco configuration file contents applied to its running configuration.
                         • Is fully operational.




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               10     Suspend the VM instance from the OpenStack dashboard.
               11     Take a snapshot of the instance.
               12     Boot a new VM using the snapshot.
               13     Make sure that the VM is operational and has the proper contents from the original
                      configuration file created in step 1 applied to its running configuration.
               Create a flavor before creating the VM snapshots.
               Creating a Flavor
               Cisco provides a flavor. However, VIMs require some additional settings to boot properly.
               Create a flavor to use from the OpenStack dashboard as follows.

                         CAUTION:
                      It is critical that the Root, Ephemeral, and Swap Disk settings are all set to 0. Otherwise, the VMs created
                      later using this flavor and the Cisco CSR 1000v image do not boot properly.
                1     Select Admin > System > Flavors.
                2     Click Create Flavor.
                      The Create Flavor window is displayed.




                3     Enter a name, such as Cisco_CSR1000v, and the number of VCPUs.
                4     Set the memory required to 4096.
                5     Set Root, Ephemeral, and Swap Disk values to zero.
                6     Specify which projects to apply the flavor.
                      If you do not specify a project, the flavor is available to all projects.
                7     Click Create Flavor.
                      Your flavor is created.




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                   Next you need to create a VM snapshot.
                   Creating a VM Snapshot
                   The VM snapshot is used to create and export a VIM software image descriptor from the
                   OpenManage Nm application and then the VIM software image descriptor is used to manage,
                   deploy, or migrate images.
                   Create a VM snapshot from the OpenStack dashboard as follows.
                     1   Shut off the instance.
                         a. Select Project > Compute > Instances.
                            A list of instances is displayed.
                         b. Select the Shut Off Instance action for the appropriate instance.
                            A confirmation message is displayed.
                         c. Click Shut Off Instance.




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                      If you prefer to shutdown the Cisco CSR 1000v VM from the Cisco CLI, refer to your Cisco
                      documentation for instructions.
                2     Create a snapshot image.
                      a. Select Admin > System > Instances.
                         A list of instances is displayed.
                      b. Select the Create Snapshot action for the instance.
                         The Create a Snapshot window is displayed.




                      c. Enter a name, such as CiscoCSR1000v-snapshot followed by any additional text
                         based on the configuration file you created and applied to the VM (such as Cisco IOS-
                         XE).
                      d. Click Create Snapshot.




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                     3   Assign OpenStack image properties to the snapshot image created in step 2.
                         a. Select Admin > System > Images.
                         b. Select the Edit Image action for the instance.
                             The Update Image window is displayed.

                            CAUTION:
                         It is critical that the Root, Ephemeral, and Swap Disk settings are all set to 0. Otherwise, the VMs created
                         later using this flavor and the Cisco CSR 1000v image do not boot properly.
                         c. Set the disk and memory requirements to zero (0).
                         d. Select Public.
                             This is required so that the OpenManage Nm system can access and manage the image
                             later on.
                         e. Click Update Image.
                             Your changes are saved.




                   Once you create the VM snapshot image in the OpenStack environment, you are ready to create a
                   software image descriptor from the OpenManage Nm application.

                   Creating a Software Image Descriptor
                   The OpenManage Nm (OMNM) Network Functions Virtualization (NFV) feature uses the
                   software image descriptor to manage, deploy, or migrate images. Create a software image descriptor
                   record from the OMNM application by:
                     1   Creating a Software Image Descriptor for a Snapshot
                     2   Modifying the VIM Software Image Descriptor
                   The steps provided in this section assume that you have already created a VIM that houses the
                   snapshot image in the OpenStack environment. If a VIM that houses the snapshot image does not
                   exist, see Setting Up Your OpenStack Environment on page 800 before continuing.




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               Creating a Software Image Descriptor for a Snapshot
               Create a software image descriptor for a snapshot image from the OpenManage Nm application as
               follows.
                1     Navigate to the Software Images portlet.
                      The portlet’s location depends on your company’s configuration.
                2     Right-click an image.
                3     Select Download.
                      The Save VIM Image to Disk Parameters input window is displayed.




                4     Select the Virtualized Infrastructure Manager (VIM) housing the CiscoCSR1000v-snapshot-
                      2-16Ports image created earlier.
                5     Select the snapshot image to download.
                      For example: CiscoCSR1000v-snapshot-2-16Ports.qcow2
                      The fields are populated based on your selection.




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                     6   Click Execute.
                     7   Copy the image downloaded from your local disk to your company’s centralized file server
                         (such as an FTP Server) to redistribute the new snapshot image across additional OpenStack
                         VIMs.
                   Before the image descriptor is complete and ready to export, you need to modify the image
                   descriptor.
                   Modifying the VIM Software Image Descriptor
                   These instructions assume that you have already created a VIM image descriptor. If you have not
                   created the image descriptor, see Creating a Software Image Descriptor for a Snapshot on page
                   807.
                   Modify the VIM software image descriptor from the OpenManage Nm application as follows.
                     1   Navigate to the Software Images portlet.
                         The portlet’s location depends on your company’s configuration.
                     2   Right-click an image.
                     3   Select Manage.
                         The Manage new Software Image from VIM Parameters window is displayed.
                     4   Select the VIM that houses the snapshot image.
                     5   Select the snapshot image name.
                         For example: CiscoCSR1000v-snapshot-2-16Ports: uniqueImageID
                         The image ID, container format, disk format, size, and software image name fields are
                         populated.
                     6   Select a discovery profile.




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                7     Click Execute.
                      A new software image record is created matching the image name in your OpenStack
                      environment.
                8     Right-click an image.
                9     Select Edit.
                      The Editing Software Image window is displayed.
               10     Select the snapshot image from the Image Name list.
                      The Editing Software Image window is displayed.




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                   11   Enter the missing information as follows.
                        a. Add a meaningful description.
                        b. Specify the vendor, such as Cisco.
                        c. Add a meaningful version number, such as 2.
                        d. Enter a valid URL that points to your local environment’s file server or disk location where
                           the qcow2 file is stored and accessible. For example:
                            ftp://caserverIP/cisco/csr/CiscoCSR1000v-snapshot-2-16Ports.qcow2
                        e. Enter the SNMP SysObject ID for the Cisco CSR 1000v model, such as:
                            1.3.6.1.4.1.9.1.1537
                        f. Select the discovery profile containing the required ssh and SNMP authentication objects.
                            Discovery profiles are created by your system administrator or someone within your
                            organization with administrative permissions.
                        g. Leave the Boot Wait Time field blank.
                            The OMNM system assigns a default integer value of 0 after you save the profile.
                        h. Review your inputs to ensure accuracy.




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               12     Save the software image record.
               13     Locate and Select the newly created Software Image Record and export it to an archive disk
                      location for backup purposes.




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Setting Up F5 BIGIP VNF Package
                   This section explains the scope, functions, and processes associated with Virtualized Network
                   Functions (VNF) onboarding and instantiation:
                     •    Understanding the F5 BIGIP VNF Package
                     •    Preparing an Image
                     •    Manually Applying an F5 License

          Understanding the F5 BIGIP VNF Package
                   The F5 BIG-IP Virtual Edition (VE) is a virtual application delivery controller that is deployable in
                   an OpenStack environment. The BIG-IP VE provides rich features, such as advanced traffic
                   management, acceleration, DNS, firewall, and access management. The BIG-IP VE software
                   images are downloadable and portable between on-premises virtualized data centers, public, and
                   hybrid cloud environments. With BIG-IP virtual editions, you can rapidly provision consistent
                   application services across the data center and into the cloud.
                   The OpenManage Nm (OMNM) F5 BIGIP Virtualized Network Function (VNF) package provides
                   sample VNF descriptors and associated artifacts used to deploy the LTM (Local Traffic Manager,
                   Load Balancer) and AFM (Advanced Firewall Manager) models.
                   F5 Networks provides qcow2 images (.qcow2) and licenses that are ready for the OpenStack
                   environment. You need these files to deploy and enable the F5 BIGIP VNF features.
                   The following list provides the VNF package vendor and validation information:

                    Vendor and Model Information
                    Vendor                                         F5 Networks, Inc.
                    Product Family                                 BIGIP VE
                    Models                                         Type 1: LTM (Load Balancer)
                                                                   Type 2: AFM (Firewall)
                    Operating Systems                              BIGIP Traffic Management Shell (tmsh)
                    Version                                        12.1.1
                    Validated Environment
                    VIM                                            OpenStack
                    Version                                        Liberty
                    Installer                                       Mirantis
                    Version                                        8
                    Network Configurations                         VXLAN, VLAN Segmentation
                    OMNM MANO (Management and Operation) Validated Functions
                    MANO                                           NSD, VNFD, NSR, VNFR
                                                                   Link LCEs
                    VNFM                                           Generic (MANO Lite)
                                                                   Independent/Specific (N-N/A)
                    NFVO                                           MANO Lite
                    OMNM RMO (Resource Management and Operation) Validated Functions
                    Inventory                                      Resource Discovery and Inventory
                                                                   Resource Creation Method (NFV-Model)




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               Monitoring                                       SNMP Monitoring
                                                                CPU & Memory KPIs
                                                                TFA (flows)
               Config                                           ACLI
               NetRestore File Management                       NR Backup
                                                                NR Restore
                                                                NR Firmware (not validated)

               This section covers the:
                •     F5 BIGIP VNF Package Contents
                •     OMNM VNF Package - Install Component Files
                •     License Requirements
                •     Known Issues
                •     References
               Once you have a good understanding of the VNF package, you can get started preparing an image.

               F5 BIGIP VNF Package Contents
               The F5 BIGIP VNF package contains artifacts necessary to install and deploy Virtualized Network
               Functions (VNFs) for the following Virtualization Deployment Unit (VDU) types the F5 BIG-IP
               VE product family offers:
                •     Type 1: BIGIP VE - LTM (Load Balancer)
                •     Type 2: BIGIP VE - AFM (Firewall)
               Multiple sample VNF descriptors were created with basic flavors to deploy the VNF VDUs, either
               as part of a standalone VNF record, or as part of a higher level, end-to-end Network Service record:
                •     NFV VNF Descriptors
                •     Network Service Descriptor
               NFV VNF Descriptors
               This section describes the following OpenManage Nm (OMNM) Network Functions Virtualization
               (NFV) VNF (virtualized network functions) descriptors:
                •     F5 BIGIP LTM Virtual Appliance
                •     F5 BIGIP ALL AFM Virtual Appliance
                •     F5 BIGIP Cluster.
               F5 BIGIP LTM Virtual Appliance
               The sample F5 BIGIP LTM Virtual Appliance descriptor is located in the following file:
               owareapps/nfv-vnfm-f5/db/vnfd.f5-bigip-ltm-v12.xml
               This sample Virtualized Network Function (VNF) descriptor defines the packaging and behavior of
               a single F5 BIGIP LTM (Load Balancer) Virtualization Deployment Unit (VDU) and can be
               included as part of a network descriptor.
               Here are the F5 BIGIP LTM Virtual descriptor deploy parameters used:

               Field Name       Data Type       Description       Default Value    Valid Values      Required
               LTM Admin        String          VNF’s Admin       admin            Valid Linux     N
               Password                         User Password                      password format




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                   Here are the F5 BIGIP LTM Virtual descriptor flavors used:

                    Flavor Name                 VDU Name                         VDU Count       CPU             Disk (GB)    Memory
                                                                                                                              (MB)
                    F5-BIGIP-TTM-Small          BIGIP LTM VA                     1               2               50           4096

                   View the VNF descriptor’s composition details from the OMNM VNF Descriptor portlet.
                   F5 BIGIP ALL AFM Virtual Appliance. The sample F5 BIGIP ALL AFM Virtual Appliance
                   descriptor is located in the following file:
                   owareapps/nfv-vnfm-f5/db/vnfd.f5-bigip-all-afm-v12.xml
                   This sample Virtualized Network Function (VNF) descriptor defines packaging and behavior of a
                   single F5 BIGIP AFM (Firewall) Virtualization Deployment Unit (VDU) and can be included as
                   part of a Network descriptor.
                   Here are the F5 BIGIP ALL AFM Virtual descriptor deploy parameters:

                    Field Name        Data Type          Description         Default                 Valid Values         Required
                    AFM Admin         String             VNF’s Admin         admin                   Valid Linux     N
                    Password                             User Password                               password format

                   Here are the F5 BIGIP ALL AFM Virtual descriptor flavors:

                    Flavor Name       VDU Name           VDU Count           CPU                     Disk (GB)            Memory (MB)
                    F5-BIGIP-AFM- BIGIP AFM VA 1                             4                       160                  8192
                    Small

                   View the VNF descriptor’s composition details from the OMNM VNF Descriptor portlet.
                   F5 BIGIP Cluster. . The sample F5 BIGIP Cluster descriptor is located in the following file:
                   owareapps/nfv-vnfm-f5/db/vnfd.f5-bigip-cluster-v12.xml
                   This sample Virtualized Network Function (VNF) descriptor defines a standalone type, which
                   means that no higher-level network service is required to establish the network/virtual links and
                   deploy stage/deploy the VNF.
                   This sample VNF descriptor includes lifecycle event (LCE) tasks to create the project’s router and
                   networks as well as deploy into the project’s network a varied composition of F5 BIGIP
                   Virtualization Deployment Units (VDUs), based upon the assigned VNF flavor.
                   Here are the F5 BIGIP Cluster descriptor deploy parameters used:

                    Field Name      Data Type     Description                        Default Value         Valid Values
                    Cluster Name String           Name of the Cluster                F5-BIGIP-             String (1-255 characters)
                                                  identifying the group of           Cluster
                                                  networks and
                                                  interconnected VDUs
                    Shared Key      String        SSH Shared Key                     OpenStack-All         Name of a valid/existing
                                                                                                           OpenStack Key Pair Object
                                                                                                           usable by the selected VIM
                                                                                                           and project.




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               Here are the F5 BIGIP Cluster descriptor flavors used for the VNF scope. There are no VDU scope
               deploy parameters:

               Flavor Name               VDU Name                              VDU Count CPU            Disk (GB) Memory
                                                                                                                  (MB)
               F5-BIGIP-LTM-             F5 BIGIP LTMBIGIP-C-LTM VDU           1            2           50           4096
               Only
               F5-BIGIP-Small            BIGIP-C-LTM F5 BIGIP LTM VDU 1                     2           50           4096
                                         BIGIP-C-AFM F5 BIGIP ALL              1            4           160          8192
                                         (AFM) VDU

               View the VNF descriptor’s composition details from the OMNM VNF Descriptor portlet.
               Network Service Descriptor
               The sample Network Service descriptor (NSD) provided shows how to define a network service and
               utilize any combination of the Virtualized Network Function (VNF) descriptors provided in this
               package (those that are not standalone), to compose various flavors with different Virtualization
               Deployment Unit (VDU) composition for a single network service definition.
               View the Network Service descriptor contents from the OMNM Network Service Descriptors
               portlet.

                      NOTE:
                      The Network Service Descriptors portlet location is dependant on your company’s OMNM NFV
                      installation and configuration. By default, the Network Service Descriptors portlet is located on the
                      On Boarding page and the Network Services page.
               This sample NSD is located in the following file:
               owareapps/nfv-vnfm-f5/db/nsd.f5-bigip- v12-sample.xml
               Here are the VNF Scope deploy parameters used:

               Field Name       Data Type      Description                     Default Value     Valid Values       Required
               Cluster          String         Name of the Cluster             F5-BIGIP-         String (1-255      Y
               Name                            identifying the group of        Cluster           characters)
                                               networks and
                                               interconnected VDUs

               Here are the BIGIP LTM VA VDU Scope deploy parameters used:

               Field Name       Data Type       Description                   Default Value      Valid Values       Required
               LTM Admin String                 VNF’s Admin User              admin              Valid Linux     N
               Password                         Password                                         password format

               Here are the BIGIP AFM VA VDU Scope deploy parameters used:

               Field Name       Data Type       Description                   Default Value      Valid Values       Required
               AFM Admin String                 VNF’s Admin User              admin              Valid Linux     N
               Password                         Password                                         password format




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                   Here are the Network Service descriptor flavors used:

                    NS Flavor       VNF Flavor      VDU Name                   VDU Count CPU          Disk (GB)   Memory
                    Name            Names                                                                         (MB)
                    Standard-       F5 BIGIP        F5 BIGIP LTM Virtual       1              2       50          4096
                    Small           LTM Small       Appliance 1 x BIGIP LTM
                                                    VA VDU
                    Standard-       F5 BIGIP        BIGIP LTM VA VDU           1              2       50          4096
                    Medium          LTM VA          1 x BIGIP LTM VDU
                                    Small
                                    F5 BIGIP        F5 BIGIP LTM Virtual       1              2       160         8192
                                    AFM VA          Appliance 1 x BIGIP AFM
                                    Small           VA VDU


                   OMNM VNF Package - Install Component Files
                   The following OpenManage Nm (OMNM) Virtualized Network Function (VNF) package
                   installation components are required for the F5 BIGIP product:

                    VNF (OCP)                                           nfv-vnfm-f5.ocp
                    Device Driver (DDP)                                 f5bigip.ddp

                   The OMNM VNF package descriptors for the F5 BIGIP VNF product include:

                                     NVF VNF Package                                  Resource Management
                    VIM Software      VNF               Sample NSD      Discovery         Discovery         Device
                    Image Records     Descriptors                       Authentication    Profiles          Driver
                                                                        Records
                    Y                 Y                 Y               Y                 Y                 Y

                   The VNF package descriptors include:
                     •   Discovery Authentication Profiles
                     •   Discovery Profiles
                     •   NFV VIM Software Image Descriptors
                   Discovery Authentication Profiles
                   The F5 BIGIP Discovery Authentication profiles are located in the following file:
                   owareapps/nfv-vnfm-f5/db/rc.disc-auths-f5-bigip.xml
                   This file contains the following discovery authentication profiles:

                    Authentication Record Name                       Description
                    f5bigip-cli                                      SSH v2 Credentials
                    f5bigip-snmp                                     SNMP v1/v2 Credentials
                    f5bitip-https                                    HTTPS Credentials

                   Discovery Profiles
                   The F5 BIGIP Discovery profiles are located in the following file:
                   Fowareapps/nfv-vnfm-f5/db/rcdisc-profile-f5-bigip.xml




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               This file contains the F5 BIGIP Discovery profile that automatically discovers and populates
               resource records during Virtualized Network Functionality (VNF) record instantiation. The
               discovery profile name is F5-BIGIP-VE-Discovery_v12x.
               The following tasks are run once the target VM in the OpenStack environment is fully booted and
               can respond to SNMP and CLI requests from the management system:
                1     Resync
                2     DataCollectionForGroupOfDevices
                3     Scheduled Resync
                4     Refresh Monitor Targets
                5     F5 BIGIP SNMP Trap Forwarding to OpenManage Nm (OMNM)
               NFV VIM Software Image Descriptors
               The F5-BIGIP-12.1.1.0.0.184-LTM-SS1 and F5-BIGIP-12.1.1.0.0.184-ALL-SS1 snapshot records
               were used to create and test the Network Functions Virtualization (NFV) descriptors in this
               package. See Preparing an Image on page 819 for image customization required to produce and use
               these snapshots.
               The original F5 vendor images covered by the BIGIP-12.1.1.0.0.184-LTM and BIGIP-
               12.1.1.0.0.184-ALL descriptors were used to produce the workable snapshot images.

               Name            Scope/Description                Container    Disk        Min RAM MIN Disk Resource
                                                                Format       Format      (MB)    (GB)     Discovery
                                                                                                          Profile
               F5-BIGIP-       F5 BIGIP LTM - snapshot          BARE         QCOW2       4096       50         Y
               12.1.1.0.0.184- created from F5 original
               LTM-SS1         image BIGIP-12.1.1.0.0.184-
                               LTM
               F5-BIGIP-       F5 Big IP Firewall - snapshot    BARE         QCOW2       8192       160        Y
               12.1.1.0.0.184- created from F5 original
               ALL-SS1         image BIGIP-12.1.1.0.0.184-
                               ALL
               BIGIP-          F5 BIGIP VE LTM (Load            BARE         QCOW2       4096       50         Y
               12.1.1.0.0.184- Balancer) Image - Original
               LTM             Note: No RC Discovery/
                               Management Enabled
               BIGIP-          F5 BIGIP VE ALL Image            BARE         QCOW2       8192       160        Y
               12.1.1.0.0.184- (Use for AFM-Firewall) F5
               ALL             BIGIP VE LTM (Load
                               Balancer) Image - Original
                               Note: No RC Discovery/
                               Management Enabled


               License Requirements
               To enable either the LTM (Load Balancer) or AFM (Firewall) feature set, you must manually apply
               a license to each F5 BIGIP VM.
               Manually apply the license after creating the Virtualized Network Function (VNF) record and
               successfully deploying the Virtualization Deployment Units (VDUs) to the OpenStack
               environment.




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                   You can register and apply a license directly to an F5 BIG-IP VE VM who’s status is Online (Active)
                   by logging into the VNF’s Web interface and following the instructions F5 provides.
                   See Manually Applying an F5 License on page 834 regarding an example process for obtaining/
                   applying the license provided by F5 using the manual license registration process. Contact F5
                   directly for further assistance.

                   Known Issues
                   The following issues are known:
                     •   F5 BIGIP VE license registration and activation requires manual steps.
                         License activation is not automatically assigned or applied by OpenManage Nm NFV-MANO.
                         License activation requires some manual steps. After instantiating a VNF/VDU, you must
                         perform the manual steps every time you instantiate a VM that represents an F5 BIGIP VE
                         instance in the OpenStack environment.
                         See Manually Applying an F5 License on page 834 for detailed instructions.
                     •   Management Traffic using SNMP is blocked by default.
                         By default, the F5 BIGIP VE is configured to block SNMP traffic.
                         OpenManage Nm (OMNM) Resource Discovery and Resource Monitoring activities require
                         that SNMP access is turned on and enabled on the running F5 BIGIP VEs, in order to
                         discover and manage the VEs.
                         OMNM applications require a setting before creating the bootable snapshot that enables
                         SNMP access.
                         See Preparing an Image on page 819 for details on creating an updated F5 BIGIP VE
                         snapshot image.
                     •   Pagination preference for F5’s TMSH CLI is only available globally.
                         The F5 BIGIP TMSH command line interface (CLI) Pagination preference setting is not
                         available on a per CLI session or per user account basis. Because the setting is global and it is
                         required to be set to false for OpenManage Nm (OMNM) to issue scripts to the F5 BIGIP
                         VM via the TMSH CLI without errors in an automated fashion, the global pagination setting
                         must be reset to false (off).
                         Turn off the pagination setting before creating the bootable snapshot that contains other
                         settings.
                         See Preparing an Image on page 819 for details on creating the updated F5 BIGIP VE
                         snapshot image.
                     •   The nfv-vnfm-f5 package is a codeless VNFM implementation and therefore does not
                         support NFV VNF record and NFV Network Service record Discovery/Resync.

                   References
                   This section provides references to:
                     •   Vendor Documentation (URLs)
                     •   VNF Configuration Methods
                   Vendor Documentation (URLs)
                   Refer to the following vendor-specific websites for assistance, downloads, documentation, product
                   datasheet, and so on:




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                •     F5 Vendor website:
                      http://www.f5.com
                      http://ask.f5.com
                      http://devcentral.f5.com
                •     Product Description:
                      https://www.f5.com/pdf/products/BIGIP-virtual-editions-datasheet.pdf
                •     OpenStack KVM Environment Requirements:
                      https://support.f5.com/kb/en-us/products/BIGIP_ltm/manuals/product/bigip-
                       ve-setup-linux-kvm-12-0-0.html
               VNF Configuration Methods
               A combination of image (snapshot) preparation, along with Virtualization Deployment Unit
               (VDU) Post Instantiate Configuration Lifecycle Events (LCEs), is implemented in this VNF
               package to ensure that the F5 BIGIP LTM and AFM VNF VDUs are automatically brought under
               OpenManage Nm (OMNM) management.
               Customized Image Preparation. The base BIGIP model family images provided by F5
               requires additional manual configuration before producing VMs in the OpenStack environment
               that can be discovered and managed using the OpenManage Nm (OMNM) Resource Management
               applications.
               See Preparing an Image on page 819 for a description of how to create an updated image
               (snapshot) for the F5 BIGIP LTM and AFM model series to use to boot up VMs that the
               OpenManage Nm (OMNM) application manages. Use the snapshot produced to create F5 BIGIP
               VEs in the OpenStack environment, so that no manual intervention is required to apply the
               management system communication settings.
               OMNM Resource Configuration Tasks. Once the target VM in the OpenStack environment
               is fully booted and can respond to SNMP and CLI requests from the management system, post
               discovery tasks are run.
               For more details about the F5-BIGIP-VE-Discover_v12x profile and the tasks that run, see
               Discovery Profiles on page 816.

       Preparing an Image
               Before you can discover and manage a Virtualized Network Function (VNF) resource from the
               OpenManage Nm (OMNM) application, you need to:
                1     Set up your OpenStack environment by preparing BIGIP VE VIM images with the necessary
                      configuration.
                2     Create a software image record from the OMNM application.
               A snapshot is taken to capture the following settings, so that the OpenManage Nm (OMNM)
               system automatically discovers the resources using SNMP and SSH (tmsh CLI) access when a new
               BIGIP VE VM is created/booted in the OpenStack environment.
               To enable OMNM Resource Management for the BIGIP VE VNF VDUs (VMs), use these
               management settings:
                •     SNMP Access Enabled
                •     Pagination Turned Off
                •     Mgmt (eth0) Port MTU - Set to recommended value of 1400 instead of 1500 (default)




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                   Setting Up Your OpenStack Environment
                   To set up your OpenStack environment, you need to:
                     1   Create a project.
                     2   Deploy the vendor’s base image by uploading the original qcow2 image file received from the
                         F5 vendor to a target Bare Metal OpenStack controller.
                     3   Make configuration changes to the running VM booted from the F5 vendor’s original image.
                     4   Create flavors representing the smallest supported flavor to use. The F5 vendor provides the
                         following flavors (Figure 17-4).

                    F5 LTM v12.1.1 For LTM Models Flavor Name: f5.medium               CPU – 2, Memory – 4 GB (4096
                                                                                       MB), Disk - 50 GB
                    F5 BIGIP ALL v12.1.1 For AFM        Flavor Name: f5.xxlarge        CPU – 4, Memory – 8 GB (8192
                    (Firewall) Models                                                  MB), Disk – 160 GB

                     5   Create VM snapshots that are used to create and export a VIM software image descriptor
                         within the OpenManage Nm (OMNM) application.




                                                    Figure 17-4. F5 BIGIP Flavors Example

                   Creating a Project
                   Create a project in an OpenStack VIM (Virtualized Infrastructure Manager) as follows.
                     1   Select Identity > Project.
                     2   Click Create Project.
                         The Create Project window is displayed.
                     3   Enter a name and detailed descriptions.




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                4     Assign users/permissions.
                      a. Click Project Members.
                      b. Add the following users to the Project Members list.
                         • heat-cfn
                         • heat
                         • admin
                      c. Set the member permissions to admin.
                5     Click Create Project.
                      The new project is saved to the Projects list.




                6     Create project networking in an OpenStack VIM (KILO or later release).




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                         a. Create a project router with a gateway interface.




                         b. Make sure that the router’s gateway IP is reachable from the LAN (your PC) following
                            project router creation.
                         c. Create and attach the following networks to the project router:
                             • net-mgmt
                             • net-data1
                             • net-data2




                     7   Create the F5 BIGIP security group in the project.
                         The new security group allows utilization of the F5 BIGIP VE VMs created during Image
                         Preparation and other manual activities for the F5 BIGIP VE performed in the OpenStack
                         environment.
                         a. Navigate to the project, for example the F5Dev project.




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                      b. Select Project > Compute > Access & Security.
                         The Access & Security options are displayed.
                      c. Click Create Security Group.
                         The Create Security Group window is displayed.




                      d. Enter the security group name and description.
                      e. Click Create Security Group.
                         The new security group object is saved in the OpenStack environment.
                      f. Select the Manage Rules action for the new security group.
                         The two default rules added by the OpenStack environment are listed.




                      g. Click Add Rule.




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                                The Add Rule window is displayed.




                         h. Add the following rules to enable all ICMP, TCP, and UDP traffic:

                    Direction          Either Type      IP Protocol    Port Range      Remote IP Prefix Remote Security
                    Ingress            IPv4             ICMP           Any             0.0.0.0/0        -
                    Egress             IPv4             ICMP           Any             0.0.0.0/0        -
                    Ingress            IPv4             TCP            1-65535         0.0.0.0/0        -
                    Egress             IPv4             TCP            1-65535         0.0.0.0/0        -
                    Ingress            IPv4             UDP            1-65535         0.0.0.0/0        -
                    Egress             IPv4             UDP            1-65535         0.0.0.0/0        -

                                When done, the resulting rule set for the f5-bigip-sec-group security group should
                                contain the two default rules added by the OpenStack environment and the traffic
                                rules you added, as in:

                    Direction          Either Type      IP Protocol    Port Range      Remote IP Prefix Remote Security
                    Egress             IPv4             Any            Any             0.0.0.0/0        -
                    Egress             IPv6             Any            Any             ::/0             -
                    Ingress            IPv4             ICMP           Any             0.0.0.0/0        -
                    Egress             IPv4             ICMP           Any             0.0.0.0/0        -
                    Ingress            IPv4             TCP            1-65535         0.0.0.0/0        -
                    Egress             IPv4             TCP            1-65535         0.0.0.0/0        -
                    Ingress            IPv4             UDP            1-65535         0.0.0.0/0        -
                    Egress             IPv4             UDP            1-65535         0.0.0.0/0        -




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               Now it is time to instantiate a VM from a vendor image.
               Instantiating a VM from a Vendor Image
               Instantiate a VM (virtual machine) in the new OpenStack project from the F5 vendor-provided
               image as follows.
                1     Boot up the F5 BIGIP LTM or F5 BIGIP ALL (AFM) image with the following network
                      connections.

               Linux interface name                 F5 Interface Name                  Network
               eth0                                 mgmt                               net-mgmt
               <None> *                             1.1                                net-data-1
               <None> *                             1.2                                net-data-2
               * The <None> interface names require CLI configuration along with a proper license before the
               interface can be configured/enabled and pass traffic. This is done as post-bootup and post device
               discovery configuration applied by the OpenManage Nm (OMNM) system (not part of the base image
               snapshot).

                2     Assign a floating IP Address to the eth0/mgmt connection.
                3     Log into the new VMs Web interface using the floating IP address.
                      For example: https://10.122.0.244
                4     Verify that the status changes to ONLINE (ACTIVE) and the proceeding status bar is green.




                                                                        Status
                                                                        Information




               Now you are ready to make VM configurations changes.
               Manually Making Configuration Changes
               To enable automated resource management, the OpenManage Nm application requires additional
               configuration to the VM post bootup and this configuration captured in the new shapshot.
               Manually make the required configuration changes to the running VM booted from the F5
               vendor’s original image as follows.

                      NOTE:
                      Dorado Software provides an executable script in the F5 BIGIP Device Driver component that automates
                      the following configuration additions.
                1     Go to a command line prompt.
                      On a Windows system, enter Cygwin Linux shell.
                2     Run the following bash script to apply the management configuration.
                      $OWARE_USER_ROOT/oware/bin/oware.cmd




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                     3   Run the f5vmconfig.sh script, which logs into the target VM using the F5 vendor’s default ssh
                         v2 user credentials and applies the following commands to the VM as well as saves the
                         running configuration to be permanent.
                         f5vmconfig.sh -i <Management IP Address> [-m <MTU>]
                         Where:
                         • -i is the target F5 BIGIP device management IP address (required)
                         • -m is the MTU integer value (optional)
                             The Dorado Software LAN environment requires that MTU value of 1400 be assigned
                             to the mgmt (eth0) port. Omit or change to a different valid MTU value based upon
                             your specific network environment requirements.
                         • -h is the help message
                         For example: f5vmconfig.sh -i 10.122.15.44 -m 1400
                     4   Reboot the VM for the MTU change to take affect by logging into the Linux shell using the
                         ssh command and issuing the reboot command.
                         The ssh connectivity is lost, until the VM reboots and completely starts up again.
                     5   Manually log into the VM using the ssh command.
                     6   Verify that the MTU setting was applied or retained properly:
                         # ifconfig eth0
                         config eth0 Link encap:Ethernet HWaddr FA:16:3E:9E:E7:4D
                             inet addr:172.85.0.5 Bcast:172.85.0.255 Mask:255.255.255.0
                             inet6 addr: fe80::f816:3eff:fe9e:e74d/64 Scope:Link
                             UP BROADCAST RUNNING ALLMULTI MULTICAST MTU:1400 Metric:1
                             RX packets:817 errors:0 dropped:0 overruns:0 frame:0
                             TX packets:843 errors:0 dropped:0 overruns:0 carrier:0
                             collisions:0 txqueuelen:1000
                             RX bytes:167119 (163.2 KiB) TX bytes:148788 (145.3 KiB)
                     7   Verify that the mtu setting of 1400 for the eth0 interface command was appended to the /
                         config/startup file by running the following command.
                         config # cat /config/startup
                         #
                         # NOTE:
                         # This file will be installed in /config/startup and it will
                         # be called by /etc/rc.local.
                         #
                         # - /config/startup is for customer config additions and
                         # will be saved in UCS and synced by tmsh run sys sync-sys-files
                         #
                         # - /etc/rc.local should *not* be used by customers and
                         # can/will be changed by F5
                         #
                         ifconfig eth0 mtu 1400
                     8   Make sure that the SNMP allowed-addresses tmsh cli setting of ALL was persisted after
                         reboot:




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                      config # tmsh list sys snmp allowed-addresses
                      sys snmp {
                          allowed-addresses { ALL }
                      }
               Create flavors before creating the VM snapshots.
               Creating Flavors
               Create the following F5 flavors from the OpenStack dashboard.

               F5 LTM v12.1.1 For LTM Models Flavor Name: f5.medium                     CPU – 2, Memory – 4 GB (4096
                                                                                        MB), Disk - 50 GB
               F5 BIGIP ALL v12.1.1 For AFM         Flavor Name: f5.xxlarge             CPU – 4, Memory – 8 GB (8192
               (Firewall) Models                                                        MB), Disk – 160 GB

                1     Select Admin > System > Flavors.
                2     Click Create Flavor.
                      The Create Flavor window is displayed.




                3     Enter a name, such as f5.medium.
                4     Set VCPUs, memory, and disk values.
                5     Specify which projects to apply the flavor.
                      If you do not specify a project, the flavor is available to all projects.
                6     Click Create Flavor.
                      Your flavor is created.
                7     Repeat step 2 through step 6 for the f5.xxlarge flavor.




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                   Next you need to create a VM snapshot.
                   Creating a VM Snapshot
                   The VM snapshot is used to create and export a Virtualized Infrastructure Manager (VIM) software
                   image descriptor from the OpenManage Nm application and then the VIM software image
                   descriptor is used to manage, deploy, or migrate images.
                   This section uses the F5 BIGIP VE LTM image as an example. The same process applies for
                   creating a snapshot for the F5 BIGIP VE ALL image (for the AFM model).
                   Gracefully shutdown the VM manually in the OpenStack environment and then take a snapshot
                   produced as a qcow2 image file.
                   Create a VM snapshot from the OpenStack dashboard as follows.
                     1   Shut off the instance.
                         a. Select Project > Compute > Instances.
                             A list of instances is displayed.
                         b. Select the Shut Off Instance action for the appropriate instance.
                             A confirmation message is displayed.
                         c. Click shut Off Instance.




                         If you prefer to shutdown F5 BIGIP VM processes from the Linux shell, log in as root and
                         enter shutdown now. Refer to your F5 BIG-IP documentation for more details.
                     2   Create a snapshot image.
                         a. Select Admin > System > Instances.
                             A list of instances is displayed.
                         b. Select the Create Snapshot action for the instance.
                             The Create a Snapshot window is displayed.




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                      c. Enter a name, such as the original image name with the F5- vendor prefix and a suffix of
                         -SS1.
                      d. Click Create Snapshot.
                3     Assign OpenStack image properties to the snapshot image created in step 2.
                      a. Select Admin > System > Images.
                      b. Select the Edit Image action for the instance.
                         The Update Image properties are displayed.
                      c. Set the disk and memory requirements to match the smallest flavor that the image
                         supports.
                         See Creating Flavors on page 827 for BIGIP-VE Version 12.x.x flavors.
                      d. Select Public.
                         This is required so that the OpenManage Nm system can access and manage the image
                         later on.
                      e. Click Update Image
                         Your changes are saved.




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                   Once you create the VM snapshot image in the OpenStack environment, you are ready to create a
                   software image record from the OpenManage Nm (OMNM) application.

                   Creating a Software Image Descriptor
                   The OpenManage Nm (OMNM) Network Functions Virtualization (NFV) feature uses the
                   software image descriptor to manage, deploy, or migrate images. Create a software image descriptor
                   record from the OMNM application by:
                     1   Creating a Software Image Descriptor for Snapshot Image
                     2   Modifying the VIM Software Image Descriptor
                   The steps provided in this section assume that you have already created a VIM that houses the
                   snapshot image in the OpenStack environment. If a VIM that houses the snapshot image does not
                   exist, see Setting Up Your OpenStack Environment on page 820 before continuing.
                   Creating a Software Image Descriptor for Snapshot Image
                   Create a software image descriptor for a snapshot image from the OpenManage Nm application as
                   follows.
                     1   Navigate to the Software Images portlet.
                         The portlet’s location depends on your company’s configuration.
                     2   Right-click an image.
                     3   Select Download.
                         The Save VIM Image to Disk Parameters input window is displayed.




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                4     Select the Virtualized Infrastructure Manager (VIM) housing the snapshot qcow2 image
                      created earlier.
                5     Select the snapshot image to download.
                      For example: F5-BIGIP-12.1.1.0.0.184-LTM-SS1.qcow2
                      The fields are populated based on your selection.




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                     6   Click Execute.
                     7   Copy the image downloaded from your local disk to your company’s centralized file server
                         (such as an FTP Server) to redistribute the new snapshot image across additional OpenStack
                         VIMs.
                   Before the image descriptor record is complete and ready to export, you need to edit the image
                   descriptor.
                   Modifying the VIM Software Image Descriptor
                   These instructions assume that you have already created a Virtualized Infrastructure Manager
                   (VIM) image descriptor. If you have not created the image descriptor, see Creating a Software
                   Image Descriptor for Snapshot Image on page 830 before continuing.
                   Modify the VIM software image descriptor from the OpenManage Nm (OMNM) application as
                   follows.
                     1   Navigate to the Software Images portlet.
                         The portlet’s location depends on your company’s configuration.
                     2   Right-click an image.
                     3   Select Manage.
                         The Manage new Software Image from VIM Parameters window is displayed.




                     4   Select the VIM that houses the snapshot image.
                     5   Select the snapshot image name.
                         For example: F5-BIGIP-12.1.1.0.0.184-LTM-SS1: uniqueImageID



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                      The image ID, container format, disk format, size, and software image name fields are
                      populated.
                6     Select a discovery profile.
                7     Click Execute.
                      A new software image record is created matching the image name in your OpenStack
                      environment.
                8     Right-click an image.
                9     Select Edit.
                      The Editing Software Image window is displayed.
               10     Select the snapshot image from the Image Name list.
                      The Editing Software Image window is displayed.




               11     Enter the missing information as follows.
                      a. Add a meaningful description.
                      b. Specify the vendor, such as F5.
                      c. Add a meaningful version number, such as 12.1.1.
                      d. Enter a valid URL that points to your local environment’s file server or disk location where
                         the qcow2 file is stored and accessible. For example:
                         ftp://serverIP/bigipveltm/F5-BIGIP-12.1.1.0.0.184-LTM-SS1.qcow2
                      e. Enter the SNMP SysObject ID for the F5 VE instances (for LTM, AFM and other VE
                         models), which is:
                         1.3.6.1.4.1.3375.2.1.3.4.43
                      f. Select the discovery profile containing the required ssh and SNMP authentication objects.




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                             Discovery profiles are created by your system administrator or someone within your
                             organization with administrative permissions.
                         g. Leave the Boot Wait Time field blank.
                             The OpenManage Nm system assigns a default integer value of 0 after you save the
                             profile.
                         h. Review your inputs to ensure accuracy.




                    12   Save the software image record.
                    13   Locate and Select the newly created Software Image Record and export it to an archive disk
                         location for backup purposes.

          Manually Applying an F5 License
                   Due to license requirements and logistics for the F5 BIGIP VE instances, you need to work directly
                   with F5 to obtain and apply a license. This section provides an example on how to apply a license
                   obtained from F5. The example covers applying the AFM (Firewall product feature set) license
                   after you successfully booted a VM from the F5-BIGIP-12.1.1.0.0.184-ALL-SS1 snapshot created in
                   Creating a VM Snapshot on page 804.
                   Consult the F5 Networks product documentation or contact the F5 Support team directly for
                   further instructions on configuring the BIGIP VE VM following license activation.
                   Manually apply an F5 AFM (Firewall) features license from the OpenStack system as follows.
                     1   Login using the admin user account to the running VM housed in the OpenStack system to
                         be licensed using https.
                     2   Navigate to the Main Tab.
                         A Setup Utility wizard is displayed.
                     3   Click Next.
                         The Setup > Utility > License information is displayed.
                     4   Click Activate.
                     5   Locate the registration key value from the text provided by F5.
                     6   Enter the license properties.
                         a. Enter the base registration key provided by F5.



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                      b. Select Manual activation method.




                      c. Click Next.
                         The General Properties, Dossier is populated.




                      d. Select the Download/Upload File option.
                      e. Select “Click Here to Download Dossier File.”




                      f. Save the file to an accessible/writable disk location.




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                     7   Specify the licensing server.
                         a. Select “Click here to access F5 Licensing Server.”
                              The Activate F5 Product webpage is displayed.




                         b. Click Choose File > Next.
                             The license agreement is displayed.
                         c. Select the option to accept and agree to the license terms.
                         d. Click Next.
                             A file activation page is displayed.
                         e. Click Download license.




                         f. Save the file as License.txt to a writable disk location.
                     8   Go back to the F5 Setup Utility >> License General Properties page.
                     9   Continue with the License setup.
                         a. Click Choose File.
                         b. Select the License.txt file saved in step 7.




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                      c. Click Next.
                         A status message is displayed indicating that the configuration data is loading followed
                         by a message that the license configuration changes are in progress.




                      d. Wait until a process completed message is displayed.




               10     Verify the activated license by selecting the Setup Utility, License tab on the F5 BIGIP page.
                      For example: Applying an Evaluation AFM (Firewall) license.




               11     Continue on through the rest of the Setup Wizard.
                      The Resource Provisioning page should show which modules are now licensed, such as an
                      AFM (Firewall) evaluation license.




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                         Consult F5’s product documentation or contact F5 Support team directly for further
                         instructions on configuring the BIGIP VE VM following license activation.




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Setting Up the Juniper Firefly VNF Package
               This section explains the scope, functions, and processes associated with the Virtualized Network
               Function (VNF) onboarding and instantiation:
                •     Understanding the Firefly VNF Package
                •     Preparing an Image

       Understanding the Firefly VNF Package
               The Juniper Networks Firefly SRX model is a virtual appliance that provides security and
               networking services at the edge in a virtualized private or public cloud environment. This appliance
               runs on a virtual machine (VM) on a server.
               The OpenManage Nm (OMNM) Firefly Virtualized Network Function (VNF) package provides
               sample VNF descriptors and associated artifacts used to deploy the Juniper Firefly SRX model
               described in this section.
               Juniper Networks provides images and licenses needed to deploy and enable the Juniper Firefly
               SRX features.
               The following list provides the VNF package vendor and validation information:

               Vendor and Model Information
               Vendor                                             Juniper Networks
               Product Family                                     Firefly
               Models                                             SRX
               Operating Systems                                  Junos® OS
               Version                                            12.1
               Validated Environment
               VIM                                                OpenStack
               Version                                            Liberty
               Installer                                          Mirantis
               Version                                            8
               Network Configurations                             VXLAN, VLAN Segmentation
               OMNM MANO (Management and Operation) Validated Functions
               MANO                                               NSD, VNFD, NSR, VNFR
                                                                  Link LCEs
               VNFM                                               Generic (MANO Lite)
                                                                  Independent/Specific
               NFVO                                               MANO Lite
               OMNM RMO (Resource Management and Operation) Validated Functions
               Inventory                                          Resource Discovery and Inventory
                                                                  Resource Creation Method (NFV-Model)
               Monitoring                                         SNMP Monitoring
                                                                  CPU & Memory KPIs
                                                                  TFA (flows)
               Config                                             ACLI




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                    NetRestore File Management                            NR Backup
                                                                          NR Restore
                                                                          NR Firmware (not validated)

                    This section covers the:
                     •    Firefly VNF Package Contents
                     •    OMNM VNF Package - Install Component Files
                     •    License Requirements
                     •    Known Issues
                     •    References
                    Once you have a good understanding of the VNF package, you can get started preparing an image.

                    Firefly VNF Package Contents
                    The OpenManage Nm (OMNM) Firefly VNF package contains artifacts necessary to install and
                    deploy Virtualized Network Functions (VNFs) for the SRX Virtualization Deployment Unit (VDU)
                    offered as part of the Juniper Firefly product family.
                    Multiple sample VNF descriptors were created with basic flavors to deploy the VNF VDUs, either
                    as part of a standalone VNF record, or as part of a higher level, end-to-end Network Service record:
                     •    NFV VNF Descriptors
                     •    Network Service Descriptor
                    NFV VNF Descriptors
                    This section describes the following OpenManage Nm Network Functions Virtualization (NFV)
                    VNF (virtualized network functions) descriptors:
                     •    Juniper Firefly SRX Cluster
                     •    Juniper Firefly Virtual Appliance
                    Juniper Firefly SRX Cluster. The sample Juniper Firefly SRX cluster descriptor is located in
                    the following file:
                    owareapps/nfv-vnfm-firefly/db/vnfd.juniper-firefly-cluster.xml
                    This Virtualized Network Function (VNF) descriptor defines a standalone network as a varied
                    composition of Juniper Firefly Virtualization Deployment Units (VDUs), based on the assigned
                    VNF favor.
                    Here are the Juniper Firefly SRX descriptor deploy parameters used:

                    Field Name        Data Type      Description                     Default Value      Valid     Required
                                                                                                        Values    Values
                    Management-       IP Address     Address of the Management       172.191.0.0/24     Valid     Y
                    Network                          Network to be created on the                       CIDR
                                                     OpenStack system                                   Address
                    LAN1 -            IP Address     Address of the LAN1 Network to 172.191.1.0/24      Valid     Y
                    Network                          be created on the OpenStack                        CIDR
                                                     system                                             Address
                    LAN2 –            IP Address     Address of the LAN2 Network to 172.191.2.0/24      Valid     Y
                    Network                          be created on the OpenStack                        CIDR
                                                     system                                             Address




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               Field Name          Data Type       Description                         Default Value       Valid        Required
                                                                                                           Values       Values
               Cluster-Name        String          Name of the Cluster identifying None                    Alpha-       Y
                                                   the group of networks and                               numeric
                                                   interconnected VDUs                                     String

               Here are the Juniper Firefly SRX descriptor flavors used:

               Flavor Name                     VDU Name                       VDU Count    CPU         Disk (GB)       Memory
                                                                                                                       (MB)
               Basic                           Firefly-SRX                    1            2           2               2048

               View the VNF descriptor’s composition details from the OpenManage Nm Onboarding
               page > VNF Descriptor portlet.
               Juniper Firefly Virtual Appliance. The sample Juniper Firefly Virtual Appliance descriptor is
               located in the following file:
               owareapps/nfv-vnfm-firefly/db/vnfd.juniper-firefly-virtual-appliance.xml
               This sample Virtualized Network Function (VNF) descriptor defines packaging and behavior of one
               or more Firefly SRX Virtualization Deployment Units (VDUs) and can be included as part of a
               Network Descriptor.
               Here are the Juniper Firefly Virtual Appliance descriptor flavors:

               Flavor Name                     VDU Name                       VDU Count    CPU         Disk (GB)       Memory
                                                                                                                       (MB)
               Firefly Basic                   Firefly Virtual Appliance      1            2           2               2048

               View the VNF descriptor’s composition details from the OpenManage Nm Onboarding
               page > VNF Descriptor portlet.
               Network Service Descriptor. The sample Network Service descriptor (NSD) provided shows
               how to define a Network Service and utilize any combination of the Virtualized Network Function
               (VNF) descriptors provided in this package.
               View the Network Service descriptor contents from the OpenManage Nm Network Service
               Descriptors portlet.

                      NOTE:
                       The Network Service Descriptors portlet location is dependant on your company’s OMNM NFV
                       installation and configuration. By default, the Network Service Descriptors portlet is located on the
                       On Boarding page and the Network Services page.
               This sample NSD is located in the following file:
               owareapps/nfv-vnfm-firefly/db/ns.juniper-firefly-sample.xml
               Here are the Network Service descriptor flavors used:

               NS Flavor         VNF Flavor       VDU Name                        VDU Count CPU            Disk (GB)    Memory
               Name              Names                                                                                  (MB)
               Standard-         Firefly Basic    Firefly Virtual Appliance       1            2           2            2048
               Basic




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                    OMNM VNF Package - Install Component Files
                    The following OpenManage Nm (OMNM) Virtualized Network Function (VNF) package
                    installation components are required for the Juniper Firefly product:

                    VNF (OCP)                                             nfv-vnfm-firefly.ocp
                    Device Driver (DDP)                                   juniper.ddp

                    The OMNM VNF package descriptors for the Juniper Firefly product include:

                                      NVF VNF Package                                   Resource Management
                    VIM Software      VNF                Sample NSD       Discovery         Discovery        Device
                    Image Records     Descriptors                         Authentication    Profiles         Driver
                                                                          Records
                    Y                 Y                  Y                Y                 Y                Y

                    The VNF package descriptors include:
                     •    Discovery Authentication Profiles
                     •    Discovery Profiles
                     •    NFV VIM Software Image Descriptors
                    Discovery Authentication Profiles
                    The Juniper Firefly Discovery Authentication profiles are located in the following file:
                    owareapps/nfv-vnfm-firefly/db/rc.disc-auths-firefly.xml
                    This file contains the following discovery authentication profiles:

                    Authentication Record Name                            Description
                    Juniper Firefly SNMP                                  SNMP v2 Credentials
                    Juniper Firefly CLI                                   SSH v2 Credentials

                    Discovery Profiles
                    The Juniper Firefly Discovery profiles are located in the following file:
                    owareapps/nfv-vnfm-firefly/db/rcdisc-profile-firefly.xml
                    This file contains the Juniper Firefly Discovery profile that automatically discovers and populates
                    resource records during Virtualized Network Functionality (VNF) record instantiation. The
                    discovery profile name is JuniperFirefly_Discovery.
                    The following tasks run once the target VM in the OpenStack environment is fully booted and can
                    respond to SNMP and CLI requests from the management system:
                      1   Resync
                      2   DataCollectionForGroupOfDevices
                      3   Discovery Links for a Group of Devices
                      4   Refresh Monitor Targets
                      5   Juniper JUNOS SNMP Trap Forward to OpenManage Nm (OMNM)




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               NFV VIM Software Image Descriptors
               See Preparing an Image for image customization required to produce and use this snapshot.

               Name               Scope/Description              Container    Disk       Min RAM MIN Disk Resource
                                                                 Format       Format     (MB)    (GB)     Discovery
                                                                                                          Profile
               Juniper-Firefly-   Juniper Firefly Snapshot 2 - BARE           QCOW2 2048            2          Y
               snapshot-2         Customized for OMNM
                                  Resource Management -
                                  created from original Juniper
                                  image junos-vsrx-12.1X46-
                                  D25.7-domestic.jva


               License Requirements
               Contact Juniper Networks regarding pricing and logistics for obtaining and installing license for the
               Juniper Firefly (SRX).

               Known Issues
               There are no known issues at this time.

               References
               This section provides references to:
                •     Vendor Documentation (URLs)
                •     VNF Configuration Methods
               Vendor Documentation (URLs)
               Refer to the Juniper Networks website (http://www.juniper.net) for all vendor-specific
               documentation.
               For the Juniper Networks documentation and release notes, refer to the following Juniper websites
               page:
               http://www.juniper.net/support/downloads/?p=vsrx#docs
               http://www.juniper.net/support/downloads/?p=firefly
               VNF Configuration Methods
               A combination of image (snapshot) preparation, along with Virtualization Deployment Unit
               (VDU) Post Instantiate Configuration Lifecycle Events (LCEs), is implemented in this VNF
               Package to ensure that the Juniper Firefly VDUs are automatically brought under OpenManage Nm
               (OMNM) management.
               Customized Image Preparation. The base Firefly SRX model family images provided by
               Juniper requires additional manual configuration before producing VMs in the OpenStack
               environment that can be discovered and managed using the OpenManage Nm (OMNM) Resource
               Management applications.
               See Preparing an Image on page 844 for a description of how to create an updated image
               (snapshot) for the Firefly SRX model series to use to boot up VMs that the OMNM application
               manages. Use the snapshot produced to create Firefly VMs in the OpenStack environment, so that
               no manual intervention is required to apply the management system communication settings.




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                    OMNM Resource Configuration Tasks. Once the target VM in the OpenStack environment
                    is fully booted and can respond to SNMP and CLI requests from the management system, post
                    discovery tasks are run.
                    For more details about the JuniperFirefly_Discovery profile and the tasks that run, see Discovery
                    Profiles on page 842.

          Preparing an Image
                    Before you can discover and manage a Virtualized Network Functionality (VNF) resource from the
                    OpenManage Nm (OMNM) application, you need to:
                      1   Set up your OpenStack environment by preparing the Firefly VIM image with the necessary
                          configuration.
                      2   Create a software image record from the OMNM application.
                    The junos-vsrx-12.1X46-D25.7-domestic.jva file provided by Juniper Networks must be converted
                    to a qcow2 format before configuration can be performed.

                    Setting Up Your OpenStack Environment
                    To set up your OpenStack environment, you need to:
                      1   Convert the Firefly self-extracting package file (.jva) to a qcow2 file format.
                      2   Create a project.
                      3   Deploy the vendor’s base image junos-vsrx-domestic.jva file by uploading it to a target Bare
                          Metal OpenStack controller and then converting it to a qcow2 format.
                      4   Create a flavor representing the smallest supported flavor to use (Figure 17-5). The Juniper
                          vendor provides the following JUNOS VSRX Version 12.x.x flavor:

                    Juniper-Firefly-snapshot-2           Flavor Name: cpu-2-ram-2048-     CPU – 2, Memory – 2 GB (2048
                                                         disk-2                           MB), Disk – 2 GB

                      5   Make configuration changes to the snapshot image.
                      6   Create a VM snapshot that is used to create and export a Virtualized Infrastructure Manager
                          (VIM) software image descriptor within the OpenManage Nm (OMNM) application.




                                                   Figure 17-5. Juniper Firefly Flavors Example

                    Converting JVA to QCOW2
                    Convert the Firefly self-extracting package file (.jva) to a qcow2 file format from the command line
                    as follows.



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                1     Upload junos-vsrx-domestic.jva file you received from Juniper to a target Bare Metal
                      OpenStack controller.
                2     Access the OpenStack controller using the ssh command.
                3     Navigate to the var/tmp directory.
                4     Verify that the .jva file is located in the junos-vsrx-domestic-NUMBER directory.
                5     Enter the following command:
                      glance image-create --name "Juniper-Firefly-InitialConversion" --disk-
                       format qcow2 --container-format bare --is-public True --file junos-vsrx-
                       domestic.img
                      This creates the qcow2 file.
                6     Verify that the qcow2 image was created by entering glance image-list.
               Now that you have converted the .jva file to a qcow2 format, you are ready to create a project.
               Creating a Project
               Create a project in an OpenStack VIM (Virtualized Infrastructure Manager) as follows.
                1     Select Identity > Project.
                2     Click Create Project.
                      The Create Project window is displayed.
                3     Enter a name and detailed descriptions.




                4     Assign users/permissions.
                      a. Click Project Members.
                      b. Add the following users to the Project Members list.
                         • heat-cfn
                         • heat
                         • admin
                      c. Set the member permissions to admin.




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                      5   Click Create Project.
                          The new project is saved to the Projects list.




                      6   Create project networking in an OpenStack VIM (KILO or later release).
                          a. Create a project router with a gateway interface.




                          b. Make sure that the router’s gateway IP is reachable from the LAN (your PC) following
                             project router creation.
                          c. Create and attach the following networks to the project router:
                              • net-mgmt
                              • net-data1
                              • net-data2




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               Now you can instantiate a VM from the vendor-created image.
               Instantiating a VM from a Vender-Converted Image
               Instantiate a VM (virtual machine in the new OpenStack project from the Juniper-Firefly-
               snapshot-2 image created in the Creating a VM Snapshot section as follows.
                1     Boot up the Juniper-Firefly-snapshot-2 image with the following network connections.

               Linux interface name                Firefly Interface Name              Network
               eth0                                mgmt                                net-mgmt
               <None> *                            1.1                                 net-data-1
               <None> *                            1.2                                 net-data-2
               * The <None> interface names require CLI configuration along with a proper license before the
               interface can be configured/enabled and pass traffic. This is done as post-bootup and post device
               discovery configuration applied by the OpenManage Nm (OMNM) system (not part of the base image
               snapshot).

                2     Assign a floating IP address to the eth0/mgmt connection.
                3     Go to the OpenStack dashboard.
                4     Select Project > Compute > Instances.
                      The instances list is displayed.
                5     Verify that the deployed instance is listed.
               Create flavors before creating the VM snapshots.
               Creating a Flavor
               Create the following Firefly flavor from the OpenStack dashboard.

               Juniper-Firefly-snapshot-2          Flavor Name: cpu-2-ram-2048-        CPU – 2, Memory – 2 GB (2048
                                                   disk-2                              MB), Disk – 2 GB

                1     Select Admin > System > Flavors.




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                      2   Click Create Flavor.
                          The Create Flavor window is displayed.




                      3   Enter a name, such as cpu-2-ram-2048-disk-2.
                      4   Set VCPUs, memory, and disk values.
                      5   Specify which projects to apply the flavor.
                          If you do not specify a project, the flavor is available to all projects.
                      6   Click Create Flavor.
                          Your flavor is created.
                    Now it is time to manually configure the converted image.
                    Manually Configuring the Snapshot
                    The Juniper-Firefly-Initial conversion image must now be deployed and configured manually to
                    create a snapshot that functions with the OpenManage Nm (OMNM) application.
                    Manually configure the snapshot from the OpenStack dashboard as follows.
                      1   Select Admin > System > Images.
                      2   Launch a Juniper-Firefly-InitialConversion instance from Images.
                      3   Make sure that you select the correct flavor (cpu-2-ram-2048-disk-2) and the created networks
                          are included.
                      4   Wait until instantiation completes.
                      5   Enter the instance overview.
                      6   Navigate to the instance console.
                      7   Login as root.
                      8   Configure the admin user (admin/D0rado!!) as follows:




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                      logout
                      Amnesiac (ttyv0)
                      Login: root
                      --- JUNOS 12.1X16-D25.7 built 2012-09-06 01:40:34 UTC
                      root@% cli
                      root> edit private
                      warning: uncommiitted changes will be discarded on exit
                      Entering configuration mode


                      [edit]
                      root# edit system
                      [edit system]
                      root# set root-authentication plain-text-password
                      New password:
                      Retype new password:


                      root# edit login user admin


                      [edit system login user admin]
                      root# set uid 2001


                      [edit system login user admin]
                      root# set class super-user


                      [edit system login user admin]
                      root# set pl
                      syntax error.
                      root# set authentication plain-text-password
                      New password:
                      Retype new password:


                      [edit system login user admin]
                      root# top


                      [edit]
                      root# commit
                      commit complete


                      [edit]
                      root#

                9     Login as the admin user.
               10     Configure the interfaces for each network connection as follows:




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                          ge-0/0/0: net-mgmt network port
                          ge-0/0/1: net-data-1 network port
                          ge-0/0/2: net-data-2 network port
                          For example, configure the ge-0/0/0 port (repeat this process for ge-0/0/1 and ge-0/0/2) “set
                          unit 0 family inet dhcp” as follows:
                          [edit]
                          admin@vSRX1# show interfaces ge-0/0/0
                          unit 0 {
                              family inet {
                                    dhcp;
                              }
                          }
                    11    Configure security zones.
                          a. Delete ge-0/0/0 interface from security-zone untrust (default settings).
                          b. Add the ge-0/0/0 interface to security-zone trust and add host-inbound-traffic settings as
                             follows:
                                  [edit]
                                  admin@vSRX1# show security zones
                                  security-zone trust {
                                      tcp-rst;
                                      interfaces {
                                      ge-0/0/0.0 {
                                      host-inbound-traffic {
                                      system-services {
                                      all;
                                      }
                                      protocols {
                                      all;
                                      }
                                      }
                                      }
                                      }
                                  }
                                  security-zone untrust {
                                      screen untrust-screen;
                                  }

                                  [edit]
                                  admin@vSRX1#
                    Next you need to create a VM snapshot.
                    Creating a VM Snapshot
                    The VM snapshot is used to create and export a Virtualized Infrastructure Manager (VIM) software
                    image descriptor from the OpenManage Nm (OMNM) application and then the VIM software
                    image descriptor is used to manage, deploy, or migrate images.
                    Gracefully shutdown the VM manually in the OpenStack environment and then take a snapshot
                    produced as a qcow2 image file.




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               Create a VM snapshot from the OpenStack dashboard as follows.
                1     Shut off the instance from.
                      a. Select Project > Compute > Instances.
                         A list of instances is displayed.
                      b. Select the Shut Off Instance action for the appropriate instance.
                         A confirmation message is displayed.
                      c. Click shut Off Instance.




                      If you prefer to shutdown Firefly VM processes from the Firefly SRX command-line interface
                      (CLI) shell, use the request system power-off command or the request system
                      halt command. Refer to your Juniper firefly documentation for more details.
                2     Create a snapshot image.
                      a. Select Admin > System > Instances.
                         A list of instances is displayed.
                      b. Select the Create Snapshot action for the instance.
                         The Create a Snapshot window is displayed.




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                          c. Enter a name, such as Juniper-Firefly-Snapshot-2.
                          d. Click Create Snapshot.
                      3   Assign OpenStack image properties to the snapshot image created in step 2.
                          a. Select Admin > System > Images.
                          b. Select the Edit Image action for the instance.
                              The Update Image properties are displayed.
                          c. Set the Disk to 2 and the Memory requirements to 2048.
                          d. Select Public.
                              This is required so that the OMNM system can access and manage the image later on.
                          e. Click Update Image
                              Your changes are saved.




                    Now you are ready to create a software image descriptor from the OMNM application.




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               Creating a Software Image Descriptor
               The OpenManage Nm (OMNM) Network Functions Virtualization (NFV) feature uses the
               software image descriptor to manage, deploy, or migrate images. Create a software image descriptor
               record from the OMNM application by:
                1     Creating a Software Image Descriptor for Snapshot Image
                2     Modifying the VIM Software Image Descriptor
               The steps provided in this section assume that you have already created a VIM that houses the
               snapshot image in the OpenStack environment. If a VIM that houses the snapshot image does not
               exist, see Setting Up Your OpenStack Environment on page 844 before continuing.
               Creating a Software Image Descriptor for Snapshot Image
               Create a software image descriptor for a snapshot image from the OpenManage Nm application as
               follows.
                1     Navigate to the Software Images portlet.
                      The portlet’s location depends on your company’s configuration.
                2     Right-click an image.
                3     Select Download.
                      The Save VIM Image to Disk Parameters input window is displayed.




                4     Select the Virtualized Infrastructure Manager (VIM) housing the snapshot qcow2 image
                      created earlier.




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                      5   Select the snapshot image to download.
                          For example: Juniper-Firefly-snapshot-2.qcow2
                          The fields are populated based on your selection.




                      6   Click Execute.
                      7   Copy the image downloaded from your local disk to your company’s centralized file server
                          (such as an FTP Server) to redistribute the new snapshot image across additional OpenStack
                          VIMs.
                    Before the image descriptor record is complete and ready to export, you need to edit the image
                    descriptor.
                    Modifying the VIM Software Image Descriptor
                    These instructions assume that you have already created a Virtualized Infrastructure Manager
                    (VIM) image descriptor. If you have not created the image descriptor, see Creating a Software
                    Image Descriptor for Snapshot Image on page 854 before continuing.
                    Modify the VIM software image descriptor from the OpenManage Nm (OMNM) application as
                    follows.
                      1   Navigate to the Software Images portlet.
                          The portlet’s location depends on your company’s configuration.
                      2   Right-click an image.
                      3   Select Manage.
                          The Manage new Software Image from VIM Parameters window is displayed.




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                4     Select the VIM that houses the snapshot image.
                5     Select the snapshot image name.
                      For example: Juniper-Firefly-snapshot-2: uniqueImageID
                      The image ID, container format, disk format, size, and software image name fields are
                      populated.
                6     Select a discovery profile.
                7     Click Execute.
                      A new software image record is created matching the image name in your OpenStack
                      environment.
                8     Right-click an image.
                9     Select Edit.
                      The Editing Software Image window is displayed.
               10     Select the snapshot image from the Image Name list.
                      The Editing Software Image window is displayed.




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                    11    Enter the missing information as follows.
                          a. Add a meaningful description.
                          b. Specify the vendor, such as Juniper.
                          c. Add a meaningful version number, such as 12.1.
                          d. Enter a valid URL that points to your local environment’s file server or disk location where
                             the qcow2 file is stored and accessible. For example:
                              ftp://serverIP/firefly/Juniper-Firefly-snapshot-2.qcow2
                          e. Enter the SNMP SysObject ID for the Juniper Firefly SRX instances, which is:
                              1.3.6.1.4.1.2636.1.1.1.2.96
                          f. Select the discovery profile containing the required ssh and SNMP authentication objects.
                              Discovery profiles are created by your system administrator or someone within your
                              organization with administrative permissions.
                          g. Leave the Boot Wait Time field blank.
                              The OMNM system assigns a default integer value of 0 after you save the profile.
                          h. Review your inputs to ensure accuracy.




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               12     Save the software image record.
               13     Locate and Select the newly created Software Image Record and export it to an archive disk
                      location for backup purposes.




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Understanding the Sonus VSBC VNF Package | Configuring Virtualization



Understanding the Sonus VSBC VNF Package
                  This section explains the scope, functions, and processes associated with the Sonus VSBC
                  Virtualized Network Functionality (VNF) onboarding and instantiation:
                    •    Sonus SBC VNF Package
                    •    Sonus SBC VNF Package Contents
                    •    OMNM VNF Package - Install Component Files
                    •    License Requirements
                    •    Known Issues
                    •    References

         Sonus SBC VNF Package
                  The Sonus Network Session Border Controller (SBC) Software Edition (SWe) product is
                  virtualized and fits into a service provider’s or enterprise’s Network Functions Virtualization (NFV)
                  strategy – optimizing resource utilization based on their specific needs.
                  The SBC SWe product, also referred to as VSBC, utilizes the same code base and firmware as the
                  Sonus SBC 5000 and 7000 series and provides the same carrier-class redundancy to ensure service
                  continuity.
                  A popular use of the SBC SWe as a Virtualized Network Function (VNF) is in support of voice
                  communications, including the use of SIP, H.323, and over 80 signaling variants providing Call
                  Admission Control (CAC).
                  The OpenManage Nm (OMNM) VNF package provides sample VNF descriptors and associated
                  artifacts to deploy the SBC SWe (VSBC) as a VNF in the OpenStack environment. This VNF
                  package also includes:
                    •    A sample standalone Sonus VSBC Cluster VNF – to demonstrate an SIP communication
                         deployment scenario with scaling operations (elasticity) based upon call volume
                    •    A simpler Sonus VSBC Virtual Appliance VNF descriptor for SBC SWe standalone usage – or
                         for insertion into the Network Service record, alongside other VNFs, that can be defined and
                         customized based on your specific network topology and intended use
                  Sonus Networks provides qcow2 images and licenses that are ready for the OpenStack
                  environment. You need these files to deploy and enable the VSBC VNF features.
                  The following list provides the VNF package vendor and validation information:

                   Vendor and Model Information
                   Vendor                                               Sonus Networks
                   Product Family                                       SBC
                   Models                                               VSBC (Virtual SBC)
                   Operating Systems                                    SBC SWe (Software Edition)
                   Version                                              5.01
                   Validated Environment
                   VIM                                                  OpenStack
                   Version                                              Liberty
                   Installer                                            Mirantis
                   Version                                              8
                   Network Configurations                               VXLAN, VLAN Segmentation




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               OMNM MANO (Management and Operation) Validated Functions
               MANO                                              NSD, VNFD, NSR, VNFR
                                                                 Link LCEs
               VNFM                                              Generic (MANO Lite)
                                                                 Independent/Specific (N-N/A)
               NFVO                                              MANO Lite
               OMNM RMO (Resource Management and Operation) Validated Functions
               Inventory                                         Resource Discovery and Inventory
                                                                 Resource Creation Method (NFV-Model)
               Monitoring                                        SNMP Monitoring
               Config                                            ACLI


       Sonus SBC VNF Package Contents
               The Sonus SBC VNF package contains artifacts necessary to install and deploy Virtualized Network
               Functions (VNFs) for Sonus VSBC Virtualization Deployment Units (VDUs) offered.
               The following sample VNF descriptors were created with basic flavors to deploy the VNF VDUs,
               either as part of a standalone VNF record, or as part of a higher level, end-to-end Network Service
               record.
                •     Sonus VSBC Virtual Appliance
                •     Sonus VSBC Cluster

               Sonus VSBC Virtual Appliance
               The sample Sonus VSBC Virtual Appliance descriptor is located in the following file:
               owareapps/nfv-vnfm-sonus/db/vnfd.sonus-virtual-appliance.xml
               This is a standalone Sonus VSBC that you can deploy without a Network Service.
               You can copy (branch) this basic Virtualized Network Function (VNF) housing a single VSBC SWe
               Virtualization Deployment Units (VDU) using the OpenManage Nm (OMNM) VNFD portlet,
               Branch action and easily convert it to a non-standalone VNF to incorporate as a VNF member of a
               higher-level Network Service descriptor.
               The Sonus VSBC Virtual Appliance VNF descriptor defines a standalone VNF that deploys a single
               VSBC VDU along with the required project networks and security groups in the OpenStack
               environment.
               The Sonus VSBC Virtual Appliance VNF creates the following artifacts during deployment:
                •     Tenant Router — OpenStack Neutron Router
                •     Private Tenant Networks required for the VSBC to connect with to function:

               Network Name            Description
               MGT0                    Management Network with Public (Floating) IP Address Assignment
               HA                      High Availability Network for Internal SBC VM Communication
               PKT0                    Internal Packet Network
               PKT1                    External Packet Network

                •     Security Groups controlling TCP, UDP, and ICMP port access to/from the VSBC’s network
                      ports.




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                  Here are the Sonus VSBC Virtual Appliance descriptor deploy parameters used:

                   Field Name        Data Type       Description                     Default Value     Valid       Require
                                                                                                       Values      Values
                   Cluster Name      String          Cluster Name                    ExampleCluste Any String N
                                                                                     r

                  Here are the Sonus VSBC Virtual Appliance descriptor flavors used:

                   Flavor Name                   VDU Name                  VDU Count     CPU         Disk (GB)    Memory
                                                                                                                  (MB)
                   Basic                         VSBC VA                   1             2           65           10240

                  View the VNF descriptor’s composition details from the OpenManage Nm (OMNM) Onboarding
                  page > VNF Descriptor portlet.

                  Sonus VSBC Cluster
                  The sample Sonus VSBC Cluster descriptor is located in the following file:
                  owareapps/nfv-vnfm-sonus/db/vnfd.sonus-vsbc-cluster-v1.xml
                  The Sonus VSBC Cluster Virtualized Network Function (VNF) descriptor defines a standalone
                  VNF that fully automates the deployment and monitoring of multiple types of Servers/VMs
                  alongside of one or two VSBC Virtualization Deployment Units (VDUs). This VNF is deployed as a
                  cluster of VDUs and is isolated to an OpenStack project.
                  The Sonus VSBC Cluster VNF creates the following artifacts during deployment:
                    •      Tenant Router — OpenStack Neutron Router
                    •      Private Tenant Networks interconnecting the VSBC with a central Dynamic Name Service
                           (DNS) in addition to an SIP client and server VM:

                   Network Name               Description
                   MGT0                       Management Network with Public (Floating) IP Address Assignment
                   HA                         High Availability Network for Internal SBC VM Communication
                   PKT0                       Internal Packet Network
                   PKT1                       External Packet Network

                    •      Security Groups controlling TCP, UDP, and ICMP port access to/from each VSBC’s network
                           ports.
                    •      The following VDU types that get instantiated as VMs in the target OpenStack project:

                   VDU Type        Description
                   DNS             Used to perform load balancing across multiple VSBC VDU instances.
                   VSBC            Performs SIP Call Admission and Control for this scenario.
                   SIP Client      Used to originate SIP calls with the SIP Server VDU and utilized to test and
                                   demonstrate SIP call connectivity and generate call volume using the VSBCs.
                   SIP Server      Used to establish SIP calls with the SIP Client and utilized to test and demonstrate
                                   SIP call connectivity and generate call volume using the VSBCs.




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               Here are the Sonus VSBC Cluster descriptor deploy parameters used:

               Field Name      Data Type        Description                      Default Value        Valid            Required
                                                                                                      Values           Values
               Cluster Name String              Cluster Name                     ExampleCluster Any String N
               DNS IP          String           IP address of DNS Server         8.8.8.8              Valid IP         N
                                                                                                      Address
               DNS Zone        String           DNS zone                         example.com          Any String N
               VSBC DNS        String           Host Name in the Domain to       vsbc                 Any String N
               Host Name                        use for the Updated DNS
                                                Entry

               Here are the Sonus VSBC Cluster descriptor flavors used:

               Flavor Name           VDU Name            VDU Count         CPU              Disk (GB)            Memory (MB)
               Basic                 C-VSBC              1                 2                65                   10240
                                     Ubuntu DNS          1                 1                10                   512
                                     SIPP Server         1                 1                20                   2048
                                     SIPP Client         1                 1                20                   2048
               Advanced              C-VSBC              2                 4                130                  20480
                                     Ubuntu DNS          1                 1                10                   512
                                     SIPP Server         1                 1                20                   2048
                                     SIPP Client         1                 1                20                   2048

               View the VNF descriptor’s composition details from the OpenManage Nm (OMNM) Onboarding
               page > VNF Descriptor portlet.

       OMNM VNF Package - Install Component Files
               The following OpenManage Nm (OMNM) installation components are required for the Sonus
               VSBC product:

               VNF (OCP)                                             nfv-vnfm-sonus.ocp
               Device Driver (DDP)                                   ddsonus.ddp

               The OMNM VNF package descriptors for the Sonus VSBC VNF product include:

                                NVF VNF Package                                      Resource Management
               VIM Software      VNF                Sample NSD       Discovery                    Discovery       Device
               Image Records     Descriptors                         Authentication               Profiles        Driver
                                                                     Records
               Y                 Y                  N                Y                            Y               Y

               The VNF package descriptors include:
                •      Discovery Authentication Profiles
                •      Discovery Profiles
                •      NFV VIM Software Image Descriptors




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                  Discovery Authentication Profiles
                  The Sonus VSBC Discovery Authentication profiles are located in the following file:
                  owareapps/nfv-vnfm-sonus/db/rc.disc-auths-vsbc.xml
                  This file contains the following discovery authentication profiles:

                   Authentication Record Name                           Description
                   sonus-cli                                            SSH v2 Credentials
                   snmp-sonus-vsbc                                      SNMP v2 Credentials


                  Discovery Profiles
                  The Sonus VSBC Discovery profiles are located in the following file:
                  owareapps/nfv-vnfm-sonus/db/rc.disc-profile-vsbc-v50x.xml
                  This file contains the Sonus VSBC Discovery profile (Sonus_VSBC_v5.0.x) that automatically
                  discovers and populates resource records during Virtualized Network Function (VNF) record
                  instantiation.
                  The following tasks are run once the target VM in the OpenStack environment is fully booted and
                  can respond to SNMP and command-line interface (CLI) requests from the management system:
                    1   Sonus SBC Reset CLI Password
                    2   Resync
                    3   Refresh Monitor Targets
                    4   Sonus VSBC Set Account Max Session
                    5   Sonus vSBC SNMP Trap Forwarding to OpenManage Nm (OMNM)

                  NFV VIM Software Image Descriptors
                  Here is a list of the Network Functions Virtualization (NFV) Virtualized Infrastructure Manager
                  (VIM) software image descriptors.

                   Name                 Scope/Description               Container     Disk     Min      Min    Resource
                                                                        Format        Format   RAM      Disk   Discovery
                                                                                               (MB)     (GB)   Profile
                   sbc-V05.00.01S600-   Base image for the SBC SWe BARE               QCOW 10240        65     Y
                   connexip-            (VSBC) - version 5.0.1 GA                     2
                   os_03.00.02-         Release. This is the original
                   S600_amd64-GA        qcow2 file supplied by Sonus.
                   ubuntu-14.04         Open Source version of the   BARE             QCOW 0            0      N
                                        Ubuntu OS utilized to create                  2
                                        the DNS VDU in the Sonus
                                        VSBC Cluster VNF.
                   VMSipp-RR-           Open Linux Image with            BARE         QCOW 0            20     N
                   Master-snapshot-1    cloud-in it and SIP testing                   2
                                        software installed. Utilized for
                                        the SIP Client and Server
                                        VDUs in the Sonus VSBC
                                        Cluster VNF.




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       License Requirements
               Sonus Networks does require and provide licenses to operate a SBC SWe (VSBC) as a fully
               functional Virtual Machine in the OpenStack environment.
               Contact the Sonus Networks support team regarding license requirements and logistics.

       Known Issues
               The Sonus VSBC instances require that the CLI user account’s password change during the initial
               login session. A task was implemented in the Sonus Device Driver so that it applies a password
               change via CLI communication with the VSBC during the initial SSH session established to a
               newly deployed VSBC Virtualized Network Function’s (VNF’s) Virtualization Deployment Unit
               (VDU).
               Contact the Sonus Networks support team for further details regarding known issues or caveats
               utilizing the SBC SWe VNF.

       References
               This section provides references to:
                •     Vendor Documentation (URLs)
                •     VNF Configuration Methods

               Vendor Documentation (URLs)
               Refer to the Sonus Networks website (http://www.sonus.net) for all vendor-specific documentation.
               For the Sonus VSBC documentation and release notes, refer to the following Sonus Networks
               websites page:
               http://www.sonus.net/products/session-border-controllers/sbc-swe

               VNF Configuration Methods
               A combination of image (snapshot) preparation, along with Virtualization Deployment Unit
               (VDU) Post Instantiate Configuration Lifecycle Events (LCEs), is implemented in this Virtualized
               Network Function (VNF) package to ensure that the Sonus VSBC VDUs are automatically brought
               under OpenManage Nm (OMNM) management.
               Customized Image Preparation
               For the VSBC VDUs:
                •     The original qcow2 image was used to create this VNF package, without a need to customize
                      or take a snapshot for the Sonus VSBC VNF VDUs.
                •     Configuration changes are applied automatically through discovery actions to the VSBC
                      running in the OpenStack system post boot-up in order to have OpenManage Nm (OMNM)
                      monitor, configure and manage the VSBC.
               For the SIP Client and Server VDUs:
                •     Cloud-init was added by first using the original image, VMSipp-RR-Master, and then
                      installing cloud-init on a running instance booted from the original image. A snapshot image
                      was created with cloud-init included.




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                    •   The SIP Client and Server VDUs are then configured with instance specific IP address
                        information using the OpenStack HEAT Server Resource metadata facility in conjunction
                        with cloud-init during execution of the VNF VDU’s instantiate lifecycle task.
                  For the DNS VDU:
                    •   A cloud enabled Ubuntu version 14.04 image is used that has cloud-init included in the
                        original image.
                    •   The DNS service is installed and configured using the OpenStack HEAT Server Resource
                        metadata facility in conjunction with cloud-init during execution of the VNF VDU’s
                        instantiate Lifecycle task.
                  OMNM Resource Configuration Tasks
                  A specialized action, Sonus SBC Rest CLI Password, is specified as one of the execution actions in
                  the sample OpenManage Nm (OMNM) Resource Discovery profile included in this VNF package.
                  This action is required to perform the initial password reset required by the SBC when logging in
                  the very first time to a new VSBC VM instance using the CLI user account.
                  The password reset action is automatically executed, prior to performing resource discovery/resync
                  and post configuration tasks.
                  Once the target VM in the OpenStack environment is fully booted and can respond to SNMP and
                  CLI requests from the management system, post discovery tasks are run. For more details about the
                  Sonus VSBC profile and the tasks that run, see Discovery Profiles on page 842.




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Managing NFVI/VIM Resources
               The management of Network Functions Virtualization infrastructure (NFVI) or virtualized
               infrastructure manager (VIM) resources from the OpenManage Nm (OMNM) application is no
               different from managing physical devices you discovered or created on your network. This section
               provides some basic instructions to manage NFVI/VIM resources. For a detailed description of the
               user interface, instructions, and other resource management options available, Resource
               Management Portlets and Editors on page 162.
               Monitor VIM details, alarms, and history to determine what actions are required, such as VNF
               discovery, VIM resync, VIM delete, and so on.
                •     Managing VIMs
                •     Discovering VNF Records
                •     Managing Software Images
                •     Maintaining Resource Monitors

       Managing VIMs
               A Virtualized Infrastructure Managers portlet is where you deploy network services, physical
               network functions (PNFs) and virtualized network functions (VNFs).
               This section provides example instructions for:
                •     Creating VIMs
                •     Modifying a VIM
                •     Deleting a VIM
                •     Resyncing a VIM

               Creating VIMs
               Create VIMs from the Virtualized Infrastructure Manager portlet as follows.
                1     Right-click > New.
                      The Editing VIM window is displayed.




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                     2   Enter the required information.
                         Optionally, provide a more detailed description and a priority.
                     3   Specify any constraints.
                         Constraints specify where to place a network service or VNF if you do not specify a VIM
                         during the staging process.
                     4   Save the VIM.
                         This brings the VIM under management.
                   Once you create the VIM, it is a good idea to do a resync to ensure that the VIM has the latest
                   capacity information.




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                5     View VIM details to see everything related to the VIM, such as:
                      • Capacity resources (CPU, memory, disk)
                      • Defined constraints
                      • Hypervisors
                      • VIM Images
                      • Reference details (IP addresses, network, port, router, capacity, and so on)
                6     Repeat steps 1 through 6 for each new VIM.




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                   Modifying a VIM
                   Modify a VIM from the Virtualized Infrastructure Manager portlet as follows.
                     1   Select a VIM.
                     2   Right-click > Edit.
                         The Editing VIM window is displayed.




                     3   Modify the general information as needed.
                     4   Modify the constraints as needed.
                     5   Save your changes.




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               Deleting a VIM
               Delete a VIM from the Virtualized Infrastructure Manager portlet as follows.
                1     Select a VIM.
                2     Right-click > Delete.
                      A confirmation message is displayed.
                3     Click Delete.




                4     Verify that the VIM no longer exists.




               Resyncing a VIM
               The resync action refreshes the selected virtualized infrastructure manager (VIM) with the latest
               capacity information.
               Resync a VIM from the Virtualized Infrastructure Manager portlet by right-clicking a VIM and then
               selecting Resync, or from the Actions portlet as follows.
                1     Navigate to the VIM Resync action.
                2     Right-click VIM Resync > Execute.
                      The Executing Action (VIM Resync) window displays a list of VIM entities.




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                     3   Select a VIM.
                     4   Click Add Selection and then Done.
                         The Executing Action (VIM Resync) Info window is displayed.




                     5   Click Execute.
                         The Executing Action (VIM Resync) Job Viewer displays the progress and upon completion,
                         the results are displayed.




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       Discovering VNF Records
               The discovery VNF action finds VNF records existing on the specified VIM. You can discover VNF
               records from the Virtual Network Function Records portlet or the Actions portlet. The instructions
               provided in this section show how to discover VNFs from the Actions portlet.
               Discover VNF records from the Actions portlet as follows.
                1     Navigate to the Vnf Discovery action.
                2     Right-click Vnf Discovery > Execute.
                      The VIM entities list is displayed.




                3     Select a VIM




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                     4   Click Add Selection and the Done.
                         The Vnf Discovery Parameters are displayed.
                     5   Specify the namespaces.
                     6   Click Execute.
                         The Executing Action (Vnf Discovery) Job Viewer displays the progress and upon completion,
                         the results are displayed.




                     7   Verify that the target names listed are found in the Virtual Network Function Records portlet.




         Managing Software Images
                   A software image represents an image that can be deployed to a virtualized infrastructure manager
                   (VIM) and then turned up (activated and provisioned) for a specific virtualization deployment unit
                   (VDU) within a virtualized network function (VNF). Once a software image exists, you can modify,
                   deploy, undeploy, view details, and so on.
                   This section provides example instructions for:
                    •    Creating a Software Image
                    •    Deploying a Software Image




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               Creating a Software Image
               You have the option to create a software image from the Software Images portlet using either the
               New or Manage options. For simplicity, the example provided here uses the New option.
               Create a software image from the Software Images portlet as follows.
                1     Right-click > New.
                      The Creating new Software Image window is displayed.
                2     Enter the required information and any other optional information.




                3     Click Save.
                      The Audit Trail Viewer shows that an inventory item was created for the image and the
                      Software Images portlet displays the new image.




               Before the image is available for use, you need to deploy it to one or more VIMs.




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                   Deploying a Software Image
                   Successfully deploying a software image makes the image available from the selected virtualized
                   infrastructure managers (VIMs), which allows you to activate and provision specific virtualization
                   deployment unit (VDU) within a virtualized network function (VNF). Deployed images are added
                   to the VIM Images list.
                   Deploy a software image from the Software Images portlet as follows.
                     1   Select an image.
                     2   Right-click > Deploy.
                         The Deploy Image to VIM Parameters are displayed.
                     3   Select the VIMs to which you want to deploy the image.




                     4   Click Execute.
                         The Job Viewer displays the processing progress.
                     5   Wait until the deploy process successfully completed.




                     6   Verify that the image was added to the VIM Images list.




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       Maintaining Resource Monitors
               The options available and the steps you take to create a resource monitor varies depending on the
               type of monitor you choose to create. The example steps provided here are for creating, modifying,
               and deleting a key metrics monitor.
               In addition to these basic steps, there are many other settings to set up for monitoring, such as
               calculated metrics, thresholds, inventory mappings, and conditions. See Resource Monitors on
               page 371 for a detailed description of the Resource Monitors portlet, features, and options.

               Creating a Monitor
               Create a Key Metrics Monitor from the Resource Monitors portlet as follows.
                1     Right-click > New Monitor > Key Metrics.
                      The Creating New Monitor window displays the General parameters.




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                     2   Enter a name.
                         For example, enter Test Key Metrics Monitor.
                     3   Select a polling interval.
                         The default is 5 minutes.
                     4   Make sure that Retain Polled Data is selected.
                     5   Accept all other default retention options.
                     6   Set monitor options.
                         a. Select Monitor Options.
                         b. Click Add for Monitor Entities.
                            An entities list is displayed.
                         c. Select devices on which you want to apply key metrics.
                         d. Click Add Selection.
                         e. Click Done.




                         f. Select key metrics Category.
                         g. Move the appropriate available metrics to the Selected list.




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                7     Save your new monitor.
                8     Verify that the Resource Monitors portlet lists your new monitor.




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                   Modifying a Monitor
                     1   Select the resource monitor you want to modify.
                         For example, the Test Key Metrics Monitor created earlier.
                     2   Right-click > Edit Monitor.
                         The Editor Monitor window displays the General parameters.




                     3   Make any needed changes to:
                         • Polling Interval or Retention Options
                         • Monitor Options
                         • Calculated Metrics
                         • Thresholds
                         • Inventory Mapping
                         • Conditions
                     4   Save your changes.




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               Deleting a Monitor
               Delete a resource monitor from the Resource Monitors portlet as follows.
                1     Select the resource monitor you want to delete.
                      For example, the Test Key Metrics Monitor created earlier.
                2     Right-click > Delete.
                      A confirmation message is displayed.
                3     Click Delete.




                4     Verify that the Resource Monitors portlet no longer lists the deleted monitor.
                      Notice that the Test Key Metrics Monitor created earlier no longer exists.




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Managing Descriptors | Configuring Virtualization



Managing Descriptors
                   Network function virtualization (NFV) descriptor management is done by users with
                   administrative permissions, such as administrators, network designers, or engineers. This section
                   covers the basic create, import, modify, and delete descriptor tasks. For a description of all the
                   available options to monitor and maintain descriptors, see Network Virtualization Portlets on page
                   926.
                     •   Maintaining Network Service Descriptors
                     •   Maintaining VNF Descriptors
                     •   Maintaining PNF Descriptors

          Maintaining Network Service Descriptors
                   This section covers the following basic network service descriptor maintenance tasks:
                     •   Creating a Network Service Descriptor
                     •   Importing a Network Service Descriptor
                     •   Modifying a Network Service Descriptor
                     •   Deleting a Network Service Descriptor
                   For a description of all the available options to monitor and maintain descriptors, see Network
                   Service Portlets on page 938.

                   Creating a Network Service Descriptor
                   Create a network service (NS) descriptor from the Network Service Descriptors portlet as follows.
                     1   Right-click > New.
                         The Editing Network Service Descriptor window is displayed.




                     2   Enter a name and optional description.
                         For example, information for an F5 BIG-IP network service.




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                3     Enter an on-board date and the version information.
                4     Click Apply.
                      The Editing Network Service Descriptor window is updated based on the information
                      provided so far.
                5     Save the record.
                6     Verify that the NS descriptors list displays the new descriptor.
                      Depending on the descriptor, you may need to define dependencies, data values, lifecycle
                      events connection points, and so on. The remaining steps are only for connection points,
                      deployment flavors, virtual links, and VNF descriptors.




                7     Define connection points, such as a NS connection point for an F5 BIG-IP VNF service.
                      a. Right-click descriptor > Edit.
                      b. Click Connection Points.
                         Notice that there are no connection points listed.
                      c. Click Add.
                         The general parameters are displayed.




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                         d. Enter the required information.
                         e. Click Apply.
                             The new connection point definition is listed.




                     8   Define NS deployment flavors, such as standard-small and standard-medium.
                         a. Click Deployment Flavors.
                             Notice that there are no deployment flavors listed.
                         b. Click Add.
                         c. Enter information for a small flavor.




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                      d. Click Apply.
                         The flavor definition is added to the list.




                      e. Click Add.
                      f. Enter information for a medium flavor.
                      g. Click Apply.
                         The flavor definition is added to the list.




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                     9   Define NS virtual links, such as a management, internal, and external link.
                         a. Click Virtual Links.
                             Notice that there are no virtual links listed.
                         b. Click Add.
                             The general and extended parameters are displayed.




                         c. Enter the required information, such as name, vendor information, link management
                            method, and connectivity type for a manager link.




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                      d. Click Apply.
                         The new link is listed.




                      e. Click Add.
                         The general and extended parameters are displayed.
                      f. Enter the required information, such as name, vendor information, link management
                         method, and connectivity type for an internal link.




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                         g. Click Apply.
                             The new link is listed.




                         h. Click Add.
                             The general and extended parameters are displayed.
                         i. Enter the required information, such as name, vendor information, link management
                            method, and connectivity type for an external link.




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                      j. Click Apply.
                         The new link is listed.




               10     Define VNF descriptors, such as F5 BIG-IP LTM and F5 BIG-IP ALL AFM virtual appliances.
                      a. Click VNF Descriptor.
                         Notice that there are no VNF descriptors listed.




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                         b. Click Add.
                             A list of descriptor entities are displayed.
                         c. Select a descriptor from which to create a VNF.
                             For example, F5 BIG-IP LTM Virtual Appliance.




                         d. Click Select.
                             The selected descriptor is added to the associated VNF descriptor list.




                         e. Click Add.
                             A list of descriptor entities are displayed.




                         f. Select a descriptor from which to create a VNF.
                             For example, F5 BIG-IP All AFM Virtual Appliance.




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                      g. Click Select.
                         The selected descriptor is added to the associated VNF descriptor list.




               11     Make this descriptor available.
                      a. Click the descriptor name, such as F5 BIG-IP Sample Network Service.
                         The general details are displayed.




                      b. Click Edit.
                      c. Select Enable.




               12     Save the NS descriptor.




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          Importing a Network Service Descriptor
                   You can import a network service (NS) descriptor from another system or from a backup that was
                   exported to a XML file or you can import a descriptor from a URL. The example provided here
                   imports a descriptor from an XML file.
                   Import an NS descriptor from the Network Service Descriptors portlet as follows.
                     1   Right-click > Import/Export. > Import.
                         The Import Network Services Descriptor(s) window is displayed.




                     2   Click Choose File.
                         The navigation window is displayed.




                     3   Navigate to the XML file.
                     4   Select the file to import.
                         For example: NSD_F5_BigIP1485376558898.xml
                     5   Click Open.
                         The Import Network Service Descriptor(s) Import from Disk button is activated.




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                6     Click Import from Disk.
                      The selected descriptor is added to the PNF list.




               Modifying a Network Service Descriptor
               Modify a network service (NS) descriptor from the Network Service Descriptors portlet as follows.
                1     Right-click > Edit.
                      The Editing Network Service Descriptor window is displayed.




                2     Click Edit to modify the general or extended details.
                3     Modify any of the following needing changes:
                      • VNF Dependencies
                      • Data Values
                      • Lifecycle Events
                      • Connection Points
                      • Forwarding Graphic
                      • Deployment Flavors
                      • Virtual Links
                      • PNF Descriptor
                      • VNF Descriptor




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                     4   Save your changes.

                   Deleting a Network Service Descriptor
                   Delete a network service (NS) descriptor from the Network Service Descriptors portlet as follows.
                     1   Right-click > Delete.
                         A confirmation message is displayed.
                     2   Click Delete.
                         The descriptor is removed.




                     3   Verify that the descriptor is no longer listed.




          Maintaining VNF Descriptors
                   This section covers the following basic virtualized network function (VNF) descriptor maintenance
                   tasks:
                     •   Creating a VNF Descriptor
                     •   Importing a VNF Descriptor
                     •   Modifying a VNF Descriptor
                     •   Deleting a VNF Descriptor
                   For a description of all the available options to monitor and maintain descriptors, see Network
                   Service Portlets on page 938.

                   Creating a VNF Descriptor
                   Create a virtualized network function (VNF) from the Virtual Network Function portlet as follows.




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                1     Right-click > New.
                      The general and extended details are displayed.




                2     Enter the general and extended details, such as information for an F5 BIG-IP LTM Virtual
                      Appliance VNF descriptor.
                3     Click Apply.
                      The entered information is applied to the descriptor.
                4     Define VNF deployment flavors, such as F5 BIGIP LTM VA Small.
                      a. Click Deployment Flavors.
                      b. Click Add.
                      c. Enter information for a small flavor.




                      d. Click Apply.
                         The flavor definition is added to the list.




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                     5   Define connection points, such as management, internal, and external.
                         a. Click Connection Points.
                             The Connection Points list is displayed.
                         b. Click Add.
                             The general details are displayed.




                         c. Enter the required information, such as information for a management connection point.
                         d. Click Apply.
                             The new connection definition is listed.




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                      e. Click Add.
                         The general details are displayed.




                      f. Enter the required information, such as information for an internal connection point.
                      g. Click Apply.
                         The new connection definition is listed.




                      h. Click Add.
                         The general details are displayed.




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                         i. Enter the required information, such as information for an external connection point.
                         j. Click Apply.
                             The new connection definition is listed.




                     6   Define virtual links, such as management, internal, and external.
                         a. Click Virtual Links.
                             Notice no links are listed.
                         b. Click Add.
                             The general and extended parameters are displayed.




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                      c. Enter the required information, such as name, vendor information, link management
                         method, and connectivity type for a manager link.




                      d. Click Apply.
                         The new link is listed.




                      e. Click Add.
                         The general and extended parameters are displayed.
                      f. Enter the required information, such as name, vendor information, link management
                         method, and connectivity type for an external link.




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                         g. Click Apply.
                             The new link is listed.




                         h. Click Add.
                             The general and extended parameters are displayed.
                         i. Enter the required information, such as name, vendor information, link management
                            method, and connectivity type for an internal link.




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                      j. Click Apply.
                         The new link is listed.




                7     Specify VDUs, such as BIGIP LTM VA.
                      a. Click VDUs.
                         Notice that no VDUs are listed.




                      b. Click Add.
                         The general and extended parameters are displayed.




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                         c. Enter the required information, such as name and image requirements for F5 BIG-IP
                            LTM.
                         d. Click Apply.
                             The new VDU is listed.




                     8   Save your new VNF.




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               Importing a VNF Descriptor
               You can import a virtualized network function (VNF) descriptor from another system or from a
               backup that was exported to a XML file or you can import a descriptor from a URL. The example
               provided here imports a descriptor from an XML file.
               Import a virtualized network function from the Virtual Network Function portlet as follows.
                1     Right-click > Import/Export. > Import.
                      The Import Virtualized Network Function Descriptor(s) window is displayed.




                2     Click Choose File.
                3     Navigate to the XML file.
                4     Select the file to import.
                      For example: VNFD_1487373019604.xml
                5     Verify that the descriptor was added to the VNF descriptors list.




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                   Modifying a VNF Descriptor
                   Modify a virtualized network function (VNF) from the Virtual Network Function portlet as follows.
                     1   Right-click > Edit.
                         The Editing Network Service Descriptor window is displayed.




                     2   Click Edit to modify the general or extended details.
                     3   Modify any of the following needing changes:
                         • Data Values
                         • Lifecycle Events
                         • Deployment Flavors
                         • Connection Points
                         • VDU Dependencies
                         • Virtual Links
                         • VDUs
                     4   Save your changes.




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               Deleting a VNF Descriptor
               Delete a virtualized network function (VNF) from the Virtual Network Function portlet as follows.
                1     Right-click > Delete.
                      A confirmation message is displayed.
                2     Click Delete.
                      The descriptor is removed.




                3     Verify that the descriptor is no longer listed.




       Maintaining PNF Descriptors
               This section covers the following basic physical network function (PNF) descriptor maintenance
               tasks:
                •     Creating a PNF Descriptor
                •     Importing a PNF Descriptor
                •     Modifying a PNF Descriptor
                •     Deleting a PNF Descriptor
               For a description of all the available options to monitor and maintain descriptors, see Physical
               Network Function Portlets on page 952.




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                   Creating a PNF Descriptor
                   Create a physical network function (PNF) from the Physical Network Function portlet as follows.
                     1   Right-click > New.
                         The Editing Physical Network Function Descriptor window is displayed.
                     2   Enter a name.
                     3   Select Enabled.
                     4   Click Apply.




                     5   Click Connection Points.
                         Notice that no items are listed.
                     6   Click Add.




                     7   Enter a name and a type.




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                8     Click Apply.
                      The connection point is added to the list.




                9     Save your new descriptor.

               Importing a PNF Descriptor
               You can import a physical network function (PNF) descriptor from another system or from a
               backup that was exported to a XML file or you can import a descriptor from a URL. The example
               provided here imports a descriptor from an XML file.
               Import a physical network function (PNF) from the Physical Network Function portlet as follows.
                1     Right-click > Import/Export. > Import.
                      The Import Physical Network Descriptor(s) window is displayed.




                2     Click Choose File.
                      The navigation window is displayed.




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                     3   Navigate to the XML file.
                     4   Select the file to import.
                         For example: PNFD_1487374126253.xml
                     5   Click Open.
                         The Import Physical Network Function Descriptor(s) Import from Disk button is activated.




                     6   Click Import from Disk.
                         The selected descriptor is added to the PNF list.




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               Modifying a PNF Descriptor
               Modify a physical network function (PNF) from the Physical Network Function portlet as follows.
                1     Right-click descriptor > Edit.
                      The Editing Physical Network Descriptor window is displayed.
                2     Click Edit.
                3     Make any necessary changes.
                4     Save your modifications.




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                   Deleting a PNF Descriptor
                   Delete a physical network function (PNF) from the Physical Network Function portlet as follows.
                     1   Right-click descriptor > Delete.
                         A confirmation message is displayed.
                     2   Click Delete.




                     3   Verify that the descriptor is no longer listed.




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Automating SMB vCPE Deployment
               Full deployment automation of an SMB vCPE service including VPN and internet access. For this
               example, the provider’s order management (OM) system manages the customer catalog service and
               coordinates with the Dell, Inc. OpenManage Nm (OMNM) Network Functions Virtualization
               Orchestration/Virtualized Network Function Manager (NFVO/VNFM) for full automated
               instantiation of the virtualized network functions.
                •     Current State
                •     Order Management
                •     Service Orchestration
                •     Final State
                •     NFV Catalogs

       Current State
               The current Network Functions Virtualization Infrastructure (NFVI) Point of Presence (POP) is
               configured and has one multi-vendor Virtualized Network Function (VNF) deployed.
               The system provides a wide array of ongoing management tools to access the health and
               configuration of the network function and environment, such as:
                •     Topology
                •     Resource Management
                •     Performance Monitoring
                •     Infrastructure Capacity
               These portals indicate the current NFVI POP state where the virtual customer premise equipment
               (vCPE) is to be deployed.

       Order Management
               Your order management system and the Dell, Inc. OpenManage Nm (OMNM) Management and
               Orchestration (MANO) product use a REST interface to provide a seamless service deployment.
               Catalogs defined in both systems provide the platform for top-to-bottom automated order
               management.
               Key elements include:
                •     Product Catalogs
                •     Service Templates
                •     Network Service Descriptors
                •     Virtualized Network Function Descriptors
                •     Current Network Capability (VNFR)

       Service Orchestration
               Create and deploy a customer vCPE service. Track a service from initial order entry through final
               function configuration.
               Key tasks include:
                •     Create a Customer Record
                •     Select a Service




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                    •   Complete Service Order
                    •   Submit the Order
                    •   Instantiate virtual components
                    •   Configure customer attachment
                    •   Configure virtual functions
                    •   Monitor Progress

         Final State
                  Upon completion of vCPE instantiation, the OpenManage Nm (OMNM) management tools
                  reflect the deployed VNFs.
                  The topology reflects the positioning of the new vCPE and VNF instances.
                  Resource Management indicates the additional VNFs under management.
                  Infrastructure capacity reflects the resources utilized for the scaled capability.

         NFV Catalogs
                  The NFV catalogs contain the building blocks (Figure 17-6) that the orchestrators use to manage
                  services, functions, and infrastructure for virtual network ecosystems.
                  Managed elements include:
                    •   VNF Descriptor
                    •   NS Descriptor
                    •   VNF Images
                    •   VIM Images
                    •   VIM Capacity
                    •   NS Records
                                                       Network Service Descriptors
                                                       (NSD)
                                 Service
                                 Provider



                   Virtual Network Function
                   Descriptors (VNFD)

                              VNF                                       NFV               OMNM
                            Provider                                   Catalogs           MANO




                                            Infrastructure
                                            Resources
                                                                          NFV
                                                                     Infrastructure


                                                      Figure 17-6.    Orchestration Building Blocks




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               Managing Network Services (NS) and Virtualized Network Function (VNF) descriptors effectively
               as the Network Functions Virtualization (NFV) standards, functions, and processes mature is
               essential to allow both service and network function providers to recognize benefits.
               F5 LTM               Review the full process of instantiation of a VNF from onboarding through
               Onboarding           function turnup.
               VIM                  The OpenManage Nm (OMNM) application manages each VIM as a
               Management           resource. This allows all the OMNM core management processes to be
                                    applied to the VIM resources. Additionally NFV functions are supported,
                                    such as reservation.
               Image                The OMNM NFV functions provide image management capabilities to
               Management           support both the demand of production and lab environments.
               REST API             The OMNM application provides REST access to both its NFV capabilities
                                    and its entire suite of service management features.




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Virtualization Management
As virtualized network functionality becomes central to a service provider's business model, key
Network Functions Virtualization (NFV) capabilities need to be brought under management.
With the Dell EMC OpenManage NM NFV applications and the third-party OpenStack®
operating system, service providers can quickly bring virtual network functions (VNFs) under
full resource management.
This section is intended for operations technicians, system administrators, network administrators,
or any one else using the OpenManage Nm (OMNM) and OpenStack infrastructure to perform
daily operations, such as stage, deploy, and undeploy virtual network functions (VNFs).
This section covers the following topics related to the OpenManage Nm (OMNM) Virtualized
Network Function (VNF) daily operations, such as stage, deploy, and undeploy:
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Network Virtualization Portlets – 926
Managing Virtualized Network Functions – 989




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Getting Started
                   Before you get started managing virtualized network functions (VNFs) from the OpenManage Nm
                   (OMNM) application, you should know how to start the OMNM application, set up your
                   environment, and test your setup.
                    •    Signing In/Out
                    •    Setting Up OMNM Application
                    •    Testing Your OMNM Setup

         Signing In/Out
                   To get started using the OpenManage Nm (OMNM) Network Functions Virtualization (NFV)
                   features, you need to know how to sign in to the OMNM application and sign out when finished.
                   Sign in to your OMNM NFV installation from a Web browser as follows and then log off when
                   finished.
                     1   Enter the OMNM URL.
                         http://appServerHost:portNumber
                         Replace appServerHost with your OMNM NFV server host name or IP address. The default
                         portNumber is 8080.
                         The sign in request is displayed.




                     2   Enter your screen name (user name) and password.
                     3   Click Sign In.
                         The OMNM NFV Home page is displayed.
                         If you entered an incorrect user name or password, a message is displayed. Enter the
                         information again.




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                 4    Click Sign Out when finished with the application.
                      You are returned to the sign in request page.

       Setting Up OMNM Application
               Before you perform the tasks described in this guide, make sure that the NFV-specific portlets you
               need are added to the existing OpenManage Nm (OMNM) portal.
               Which portlets you need, depends on your role (Table 18-1) in the management of your virtualized
               network environment and the deployment of network services and virtualized network functions
               (VNFs).

               Table 18-1.   User Roles and Tasks

               Role                     Tasks
               Administrator            Bringing VIM under management (creating the controller record)
                                        Setting up the OpenStack environment (uploading vendor base images to the
                                        OpenStack controller, modifying resource flavors, creating VIM snapshots)
                                        Preparing vendor-supplied images from OMNM (creating and editing VIM
                                        images)
                                        Maintaining the VIMs under management, descriptors, virtual reservations, and
                                        virtual requirements
               Network Designer/        Defining descriptors
               Engineer                 Implementing virtual reservations
                                        Monitoring virtual requirements
               Operator                 Instantiating VNFs (stage, deploy)
                                        Monitoring virtual requirements
                                        Performing other daily operations, such as undeploying, scaling, monitoring
                                        system health, resolving issues found, etc.




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                   Depending on your permissions and how your company wants to define the work environment for
                   all users, you have the option to add the Network Virtualization applications (portlets) to existing
                   OMNM pages or create pages and add portlets more appropriately for each users work
                   environment. Once the pages/portlets setup is complete, verify this setup.
                   Here is a list of NFV portlets (Table 18-2) and how each portlet is used by the different user roles.
                   For a detailed description of these portlets, see Network Virtualization Portlets on page 926. If any
                   of these portlets are not available, a message is displayed when you try to add it to a page.

                   Table 18-2. NFV Portlets (Sheet 1 of 2)

                    Portlet                   Operator                Administrator               Network Designer
                    License Accounts          Maintain a list of      Maintain a list of          Maintain a list of
                                              licensed accounts       licensed accounts           licensed accounts
                    License Descriptors       View and understand     Maintain available          Define licensing
                                              license descriptors     license descriptors         integration and
                                                                                                  characteristics
                    License Records           View and understand     View and understand         View and understand
                                              license records         license records             license records
                    NFV Monitoring            View and understand     Maintain monitoring         Maintain monitoring
                    Attributes                NFV monitoring          attributes                  attributes
                                              attributes
                    Network Service           View and understand     Maintain network service Define monitoring
                    Descriptors               NSDs                    descriptors              attribute characteristics
                    Network Service Records Stage, deploy, and        No activity performed by Test an implemented
                                            undeploy (manage)         the administrator        network service
                                            network services
                    OSS Instance              View and understand     Implement OSS               No activity performed by
                                              OSS instances           instances                   the network designer
                    Physical Network          View and understand     Maintain PNF                Implement physical
                    Function Descriptors      PNFDs                   descriptors                 network functionality
                    Physical Network          Stage, deploy, and      Test new or modified        Test implemented PNFs
                    Function Records          undeploy (manage)       descriptors
                                              PNFs
                    SDN Controllers           View and understand     Maintain software-          Test SDN controllers
                                              SDN controllers         defined network (SDN)
                                                                      controllers.
                    Software Images           View and understand     Create a software image     Create a software image
                                              software images         descriptor for a snapshot   descriptor for a snapshot
                                                                      image, deploy software      image, deploy software
                                                                      images, and edit the VIM    images, and edit the VIM
                                                                      software descriptor         software descriptor
                                                                      parameters                  parameters
                    VIM Images                View and understand     Maintain consistency     Test that software images
                                              VIM images              across the VIM instances deployed/undeployed
                                                                                               were added/removed
                                                                                               from the VIM images list
                    Virtual Network           View and understand     Maintain VNF                Implement virtualized
                    Function Descriptors      VNFDs                   descriptors                 network functions
                    Virtual Network           Stage, deploy, and      No activity performed by Test an implemented
                    Function Records          undeploy (manage)       the administrator        network service
                                              VNFs




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               Table 18-2.   NFV Portlets (Sheet 2 of 2)

               Portlet                      Operator                  Administrator             Network Designer
               Virtual Requirements         View virtual domain resource requirements and usage (such as memory, CPU,
                                            and disk). You also have the option to modify a domain’s description.
               Virtual Reservations         Verify that a VDU’s       Maintain virtual          Implement virtual
                                            resources were reserved   reservations              reservations
                                            after they stage a VNF
                                            record
               Virtualized Infrastructure View available VIMs and Maintain the VIMs             No activity performed by
               Managers                   their resources before  under resource                the network designer
                                          deploying services or   management
                                          VNFs

               Adding a Page
               Pages allow you to organize commonly used portlets into a single location for easy access or to
               group portlets by tasks you perform. For example, group tasks used to monitor and resolve network
               health on a single page. You have the option to add NFV pages to the menu bar, add child pages to
               existing pages, or a combination of both.
               Add any needed pages to the OpenManage Nm (OMNM) application as follows.
                 1    Select Manage > Page.
                      The Manage Page window is displayed.




                 2    Add pages you want to access from the navigation panel.
                      a. Select Private Pages.
                      b. Specify the look and feel.
                      c. Click Add Page.
                         The Add Page window is displayed.
                      d. Enter a name for the page.
                      e. Select a type.
                      f. Click Add Page.




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                     3   Repeat steps 1 and 2 for each page you add to the navigation panel.
                     4   Add a child page to an existing page.
                         a. Select Manage > Page.
                             The Manage Page window is displayed.
                         b. Select the page under which to add the child page.
                         c. Click Add Child Page.
                             The Add Child Page window is displayed.
                         d. Enter a name for the child page.
                         e. Select the type.
                         f. Select whether to copy the parent or make the page hidden.
                         g. Click Add Page.
                         h. Repeat these steps for each child page you want to add.




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               Now you are ready to add portlets (applications) to the appropriate pages.

               Adding Portlets to a Page
               These instructions assume that the pages to which you plan to add portlets already exist. If the
               pages do not exist, see Adding a Page before continuing.
               Add portlets to a page from the OpenManage Nm (OMNM) application as follows.
                1     Click the page label to which you want to add a portlet.
                      The selected page is displayed.
                2     Select Add > Applications.
                      The applications list is displayed.
                3     Expand the Network Virtualization list.
                      See Setting Up OMNM Application on page 915 for a brief description of each portlet, or
                      Network Virtualization Portlets on page 926 more details.
                4     Click Add for each portlet you want to add to the selected page.
                      Note that the purple indicator means that you can add the portlet only once to a page. All
                      other portlets you can add multiple instances to a page.




                5     Refresh the page to show the portlet.
                      If you do not have permissions to view the portlet, a message is displayed. Delete the portlet
                      or consult your system administrator if you feel you should have access to the portlet.
                6     Repeat steps 4 and 5 for each portlet you want to add to the selected page.
                7     Rearrange the portlets as needed using the drag-and-drop method.
                8     Repeat steps 1 through 7 for each page to which you want to add portlets.




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         Testing Your OMNM Setup
                   It does not matter if you set up your OpenManage Nm (OMNM) Network Functional Virtualized
                   (NFV) work environment (pages/portlets) or if it was defined by your system administrator, you
                   should run some tests to make sure you have what you need and you can perform some basic tasks
                   on a record, such as discover, stage, deploy, modify, undeploy, and delete. This test example uses an
                   NFV record and assumes that you have access to the OMNM application and your OpenStack
                   project.
                   Test your NFV setup from the OMNM application as follows.
                     1   Sign out and then sign back in if you are already logged in.
                     2   Verify that your pages are accessible from the menu bar.
                     3   Make any necessary changes.
                     4   Navigate to the Virtual Network Function Records portlet.
                         This is where you will complete steps 5 through 10.
                     5   Verify that you can discover VNF records.
                         a. Right-click > Discover/Resync.
                             The Discover VNF Records window is displayed.
                         b. Select a VIM entity.
                             The VNF Discovery parameters are displayed.
                         c. Specify namespaces.




                         d. Click Execute.
                             The Job Viewer displays the execution progress, any errors, and success/failure, followed
                             by the Results information.




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                      e. Close the Discover VNF Records window.
                         The discovery/resync process makes sure that you have any changes from the target
                         VIM (Virtualized Infrastructure Manager).
                6     Verify that you can stage a record.
                      a. Select a record.
                      a. Right-click > New.
                         The Stage VNF window displays a list of descriptor entities.
                      b. Select the service you want to instantiate.
                      c. Click Select.
                         The Vnf Stage Parameters window is displayed.
                      d. Enter a name for the VNF and a description that includes specifics on the services.
                      e. Specify the parameters, such as the VIM on which to deploy.
                         The Name, VIM, Namespace, and Flavor fields are required.




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                         f. Click Execute.
                             The Job Viewer displays the execution progress, any errors, and success/failure. Upon
                             completion, the stage results are displayed.
                             If staging is successful, the record is created and staged based on the descriptor
                             information found and then resources are reserved. However, nothing is deployed to
                             the OpenStack controller.
                             If staging fails, the reason for the failure is displayed.
                         g. Close the Stage VNF window.




                     7   Verify that you can deploy the record successfully staged in step 6.
                         a. Click Deploy.
                             The default VNF deploy parameter values are displayed.
                         b. Change the default parameters as needed.
                         c. Click Execute.
                             The Job Viewer displays the steps taken and the results.




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                      d. Close the Job Viewer.
                      e. Verify that the record status changed to Normal.




                      f. Go to your OpenStack dashboard for your project.
                      g. Click Instances.
                         A list of instances and their information is displayed.




                      h. Verify that the resource record is listed.
                         This indicates connectivity to your target VIM.
                      i. Return to the OMNM application.
                8     Verify that you can modify the record staged in step 6.
                      a. Select a record.
                      b. Right-click > Edit.
                         The Editing VNF Record window is displayed.




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                         c. Click Edit.
                         d. Modify the name or description.
                         e. Click Apply.
                         f. Click Save.




                     9   Verify that you can undeploy the record deployed in step 7.
                         a. Select a record.
                         b. Right-click > Undeploy.
                             A confirmation message is displayed.
                         c. Click Undeploy.
                             The Job Viewer displays the steps taken and the results.
                         d. Click Close.
                         e. Verify the record’s status is now Offline.




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               10     Verify that you can delete a record.
                      a. Select a record.
                      b. Right-click > Edit.
                         A confirmation message is displayed.
                      c. Click Delete.
                         The Job Viewer displays the steps taken and the results.
                      d. Close the Job Viewer.
                      e. Verify that the record is no longer listed in the Virtual Network Function Records portlet.




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Network Virtualization Portlets
                   This section describes the portlets, windows, menu options, and other aspects for the Network
                   Virtualization (NV) user interface.
                     •   Image Portlets
                     •   Network Service Portlets
                     •   Physical Network Function Portlets
                     •   Virtualized Network Function Portlets
                     •   Virtual Requirements Portlet
                     •   Virtual Reservations Portlet
                     •   Virtualized Infrastructure Managers Portlet
                   To understand the common portlet behavior, options, and so on, see General Portlet Information
                   on page 127.

          Image Portlets
                   Use the following image portlets to view, create, and manage image descriptors that are used to
                   manage, deploy, or migrate images:
                     •   Software Images Portlet
                     •   VIM Images Portlet

                   Software Images Portlet
                   Use the Software Images portlet (Figure 18-1) to view and manage software image descriptors. The
                   software image descriptors are used to manage, deploy, or migrate images.
                   From the Software Images portlet, a system administrator creates and maintains the image
                   snapshots used to create descriptors, a network designer could also create and maintain image
                   snapshots, and operators (if they have the proper permissions) view descriptors to gain knowledge.
                   The Software Images portlet also has a maximized view. Both views have the same pop-up menu
                   options and by default the same columns. See Expanded Portlet on page 130 for a description of
                   its standard options provided.




                                                       Figure 18-1. Software Images Portlet




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               Pop-Up Menu
               The Software Images pop-up menu provides access to the following options. Right-click a row to
               access these options (Table 18-3).

               Table 18-3.   Software Images Pop-Up Menu Options

               Menu Option             Description
               New                     Opens the Creating new Software Image window, where you specify the details
                                       used to create an image. You can also create an image using the Manage option.
               Edit                    Opens the Editing Software Image window, where you modify the general image
                                       details or simply view the image details.
                                       Click Vim Images > Edit icon to view the VIM image details or select whether
                                       the image is a master copy. By default, Master Copy is not selected.
               Details                 Displays the general details provided when you created the image, a reference
                                       tree, alarms, and event history details for the selected image. Click Return to
                                       previous to return to the Software Images portlet.
               Manage                  Opens the Manage new Software Image from VIM Parameters window, where you
                                       create a software image so it is available from the catalog to deploy to other VIMs.
                                       This method of creating a software image is useful when you are not sure of all the
                                       parameters needed when creating an image using the New option.
               Download                Opens the Save VIM Image to Disk Parameters window, where you specify where
                                       to store the image backup and then execute the download.
               Deploy                  Pushes the software image out to VIMs under management so that the same
                                       image is available across all your VIMs or datacenters. A deployed image can then
                                       be turned up (activated and provisioned) for a specific virtualization deployment
                                       unit (VDU) within a virtualized network function (VNF).
               Undeploy                Removes the selected image’s availability from your VIMS or datacenters. Some
                                       reasons for undeploying an image that is no longer needed are the service is no
                                       longer offered or perhaps the VDU was updated to a newer image and the only
                                       image is no longer needed.
                                       Caution: This also removes the OpenStack project image instance, which can cause issues
                                       with anything using that image.
               Delete                  Removes the selected images from the system.
                                       Caution: Deleting an image can cause anything using that image to fail.
               Audit Trail             Opens the Audit Trail Viewer window, which displays a list of actions that
                                       occurred for the selected image. Select an audit record and the job record displays
                                       its status and any other job-related information.
               Import/Export           Provides the following actions when available for the selected image:
                                       • Import retrieves a file containing XML image descriptions. Some imports can
                                          come from a URL.
                                       • Export Selection exports the selected image description to an XML file.
                                       • Export All exports all image descriptions to an XML file.
                                       Click Download Export File to specify where to save the file.
                                       The Import/Export option is useful as a backup or to share descriptors with other
                                       projects.
               Share with User         Opens the Share with User window, where you select a user to which you want to
                                       share the selected asset and then enter a message. You can share with colleagues
                                       existing on your system.
                                       Note: Sharing only handles one item so it uses the first one in the selection.




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                   Columns
                   Other than the general navigation and configuration options, the Software Images portlet includes
                   the following columns/fields (Table 18-4).
                   You can view the value for most of the hidden columns by right-clicking a row and selecting
                   Details. The other option is to add the column by clicking the Settings tool, selecting the Columns
                   tab, clicking Show for the appropriate column, and the applying the change.

                   Table 18-4. Software Images Columns (Sheet 1 of 2)

                    Column                  Description
                    Name                    The user-specified software image identifier.
                    Description             The optional details about the software image, such as its purpose.
                                            For example, mentions customizations made for your use and the original vendor-
                                            provided image from which you created the software image.
                    Disk Format             The file format in which the image is to be created, such as QCOW2. Valid
                                            formats are AKI, AMI, ARI, ISO, QCOW2, RAW, UNRECOGNIZED, VDI,
                                            VHD, VMDK.
                    Vendor                  The vendor’s name that supplied the initial image used to create the software
                                            image descriptor.
                    Version                 The vendor-supplied image version.
                    Boot Wait Time          The number of seconds to wait for an image to finish booting. By default, this
                                            field is not shown.
                    Checksum                The data used to detect errors introduced during transmission or storage. By
                                            default, this field is not shown.
                    Cloud Provider          The target locations where you plan to deploy the image. By default, this field is
                                            not shown.
                    Container Format        The target format to which you plan to deploy the image. For example, a target
                                            Bare Metal (BARE) OpenStack controller. Valid values are AKI, AMI, ARI,
                                            BARE, DOCKER, OVF, and UNRECOGNIZED. By default, this field is not
                                            shown.
                    Created                 The system-generated timestamp for the image instance creation. By default, this
                                            field is not shown.
                    Discovery Profile       The resource profile selected for the image. By default, this field is not shown.
                    Min Disk                The minimum disk size required in gigabytes (such as 2GB) for the image to boot
                                            and operate. By default, this field is not shown.
                    Min Ram                 The minimum RAM required in megabytes for the image to boot and operate,
                                            such as 2048. By default, this field is not shown.
                    Size                    The binary image size in gigabytes. By default, this field is not shown.
                    Sys Object Id           The system’s object ID number provided during creation. This ID is a universally
                                            unique identifier that tells what type of resource the device is. For example:
                                            1.3.6.1.4.1.3375.2.1.3.4.43
                                            By default, this field is not shown.
                    URL                     The local environment’s file server or disk location where the snapshot image file
                                            (.qcow2) is stored, for example:
                                            ftp://caserverIP/vnf/images/juniper/firefly/Juniper-
                                                 Firefly-shapshot-2.qcow2
                                            By default, this field is not shown.




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               Table 18-4.   Software Images Columns (Sheet 2 of 2)

               Column                   Description
               UUID                     A unique 128-bit, system generated value assigned to each network service image
                                        descriptor created. By default, this field is not shown.
               Updated                  The system-generated timestamp for the latest image changes. By default, this
                                        field is not shown.

               Creating new Software Image Window
               Use the Creating new Software Image window (Figure 18-2) to create software images, bring that
               images under management so that you can deploy the images to the various VIMs that you have
               under management. This promotes consistency across the VIMs and simplifies the process of
               deploying a new image to multiple VIMs (Openstack installations).
               You can create an software image from an existing image snapshot listed in the Software Image
               portlet or a new snapshot image from the original image located in the specified URL.
               Access this window by navigating to the Software Images window, right-clicking the portlet or a
               selected image, and then selecting New.
               After you provide the required information, you can save the image and then edit the image to
               provide the additional information later.




                                            Figure 18-2. Creating new Software Image Window
               The Creating new Software Image window includes the following editable fields and options
               (Table 18-5).

               Table 18-5.   Creating New Software Image Fields/Options (Sheet 1 of 2)

               Field/Options            Description
               Name                     Enter a name that allows you to identify the software image.
               Description              Enter more details about the software image.
                                        For example, mention customizations made for your use and the original vendor-
                                        provided image from which you created the software image.




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                   Table 18-5. Creating New Software Image Fields/Options (Sheet 2 of 2)

                    Field/Options           Description
                    Cloud Provider          Select the target container where you plan to deploy the image. When you select
                                            a provider, the Container Format and Disk Format lists are populated based.
                    Vendor                  Enter a name for the vendor that supplied the initial image used to create this
                                            software image descriptor.
                    Version                 Enter the version for the vendor-supplied image.
                    URL                     Enter the local environment’s file server or disk location where the snapshot
                                            image file (.qcow2) is stored, for example:
                                            ftp://caserverIP/vnf/images/juniper/firefly/Juniper-
                                                Firefly-shapshot-2.qcow2
                    Checksum                Enter the value assigned to the image snapshot instance located in your
                                            OpenStack environment. For example, an F5-BIGIP LTM-SS1 image could look
                                            like this:
                                            9275adf3c578c60754b3d56dcbbed5c8
                                            This value is used to detect errors introduced during transmission or storage and
                                            it is provided by the image manufacturer.
                    Container Format        Select a format for the target container to which you deploy the image. For
                                            example, if your target container is a Bare Metal OpenStack controller, select
                                            BARE. Valid values are AKI, AMI, ARI, BARE, DOCKER, OVF, and
                                            UNRECOGNIZED.
                    Disk Format             Select the file format of the image provided by the manufacturer, such as
                                            QCOW2. Valid formats are AKI, AMI, ARI, ISO, QCOW2, RAW,
                                            UNRECOGNIZED, VDI, VHD, VMDK.
                    Min Disk                Enter a minimum disk size required in gigabytes, such as 2. The default is 0 (zero)
                                            if you do not enter a value.
                                            This identifies how much disk space is required for the image to boot and operate.
                    Min Ram                 Enter the minimum RAM required in megabytes, such as 2048. The default is 0
                                            (zero) if you do not enter a value.
                                            This identifies how much RAM is required for the image to boot and operate.
                    Size                    Enter the binary image size in gigabytes, such as 3.5. The default is 0 (zero) if you
                                            do not enter a value.
                    Sys Object Id           The system’s object ID number provided during creation. This ID is a universally
                                            unique identifier that tells what type of resource the device is. For example:
                                            1.3.6.1.4.1.3375.2.1.3.4.43
                    Discovery Profile       Select a resource profile.
                    Boot Wait Time          Enter how many seconds to wait for an image to finish booting. The default is 0
                                            (zero) if you do not enter a value.
                    Vim Images              View the list of VIM images after you deploy the image by clicking the Vim
                                            Images tab.
                    Save                    Save the image you created and exits the window.
                    Close                   Exist the current window without creating the image.

                   Editing Software Image Window
                   Use the Editing Software Image window (Figure 18-3) to modify the existing software image
                   details.
                   Access this window by navigating to the System Images portlet, right-clicking an image, and then
                   selecting Edit.




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                                               Figure 18-3. Editing Software Image Window
               The Editing Software Image window allows you to change the following fields and options as
               required (Table 18-6).

               Table 18-6.   Editing Software Image Fields/Options (Sheet 1 of 2)

               Field/Options            Description
               Name                     Modify the name that allows you to identify the software image.
               Description              Provide more details about the software image.
                                        For example, mention customizations made for your use and the original vendor-
                                        provided image from which you created the software image.
               Cloud Provider           Select a different target container where you plan to deploy the image. When you
                                        select a provider, the Container Format and Disk Format lists are populated
                                        based.
               Vendor                   Modify the name for the vendor that supplied the initial image used to create this
                                        software image descriptor.
               Version                  Modify the version for the vendor-supplied image.
               URL                      Provide a different local environment’s file server or disk location where the
                                        snapshot image file (.qcow2) is stored, for example:
                                        ftp://caserverIP/vnf/images/juniper/firefly/Juniper-
                                             Firefly-shapshot-2.qcow2
               Checksum                 Enter the value assigned to the image snapshot instance located in your
                                        OpenStack environment. For example, an F5-BIGIP LTM-SS1 image could look
                                        like this:
                                        9275adf3c578c60754b3d56dcbbed5c8
                                        This value is used to detect errors introduced during transmission or storage and
                                        it is provided by the image manufacturer.
               Min Disk                 Modify the minimum disk size required in gigabytes, such as 2. The default is 0
                                        (zero) if you do not enter a value.
                                        This identifies how much disk space is required for the image to boot and operate.




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                   Table 18-6. Editing Software Image Fields/Options (Sheet 2 of 2)

                    Field/Options           Description
                    Min Ram                 Modify the minimum RAM required in megabytes, such as 2048. The default is 0
                                            (zero) if you do not enter a value.
                                            This identifies how much RAM is required for the image to boot and operate.
                    Size                    Modify the binary image size in gigabytes, such as 3.5. The default is 0 (zero) if
                                            you do not enter a value.
                    Sys Object Id           The system’s object ID number provided during creation. This ID is a universally
                                            unique identifier that tells what type of resource the device is. For example:
                                            1.3.6.1.4.1.3375.2.1.3.4.43
                    Discovery Profile       Select a different resource profile.
                    Boot Wait Time          Modify how many seconds to wait for an image to finish booting. The default is 0
                                            (zero) if you do not enter a value.
                    Vim Images              Select whether a VIM image is the master copy by clicking the Vim Images tab,
                                            clicking the Edit this entry icon for the appropriate image, selecting/deselecting
                                            the Master Copy option, and then saving the change.
                    Save                    Saves any changes made and closes the window.
                    Close                   Exits the current window without saving the changes.

                   Manage new Software Image from VIM Parameters Window
                   Use the Manage new Software Image from VIM parameters window (Figure 18-4) to bring an
                   image under management that is already deployed to a VIM. This method of creating a software
                   image is useful when you are not sure of all the parameters needed when creating an image using
                   the New option.
                   Access this window by navigating to the Software Images portlet, right-clicking an image, and
                   selecting Manage.




                                        Figure 18-4. Manage new Software Image VIM Parameters Window




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               The Managing new Software Image from VIM Parameters window includes the following fields and
               options (Table 18-7).

               Table 18-7.   Manage New Software Image Fields/Options

               Field/Options           Description
               VIM                     Select the VIM where the source software image is deployed. The Image Name
                                       list is populated based on the selected VIM.
               Image Name              Select the appropriate image from the list. Based on the image selected, the
                                       following fields are populated:
                                       • Image Id is the system-generated identifier.
                                       • Container Format is the target format specified during image creation.
                                       • Disk Format is the format in which the image was saved.
                                       • Size is a value in gigabytes.
                                       • Software Image Name is an editable field to specify a name identifier.
               Description             Enter more details about the software image.
                                       For example, mention customizations made for your use and the original vendor-
                                       provided image from which you created the software image.
               Vendor                  Enter a name for the vendor that supplied the initial image used to create this
                                       software image descriptor.
               Version                 Enter the version for the vendor-supplied image.
               Sys Object Id           The system’s object ID number provided during creation. This ID is a universally
                                       unique identifier that tells what type of resource the device is. For example:
                                       1.3.6.1.4.1.3375.2.1.3.4.43
               Discovery Profile       Select a resource profile.
               Boot Wait Time          Enter how many seconds to wait for an image to finish booting. The default is 0
                                       (zero) if you do not enter a value.
               Add Schedule            Set the following schedule parameters used to automatically execute the manage
                                       new software image from VIM task.
                                       • Starting On sets the date and time to execute the task.
                                       • Recurrence sets whether the task executes Only Once, Only at Startup, every X
                                          minutes (Increment), or Every X minutes, hours, days, weekdays, weekend
                                          days, weeks, months, years.
                                       • Stopping On sets when the task stops executing. Valid values are Never, By
                                          Occurrence, or By Date and Time.
               Execute                 Runs the manage new software image from VIM task.
               Save                    Saves the parameters and exits the window.
               Close                   Exits the current window without saving the VIM parameters.

               Save VIM Image to Disk Parameters Window
               Use the Save VIM Image to Disk Parameters window (Figure 18-5) to define the settings used to
               download a VIM image to disk.
               Access this window by navigating to the Software Images portlet, right-clicking an image, and then
               selecting Download.




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                   s




                                            Figure 18-5. Save VIM Image to Disk Parameters Window




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               The Save VIM Image to Disk Parameters window includes the following fields and options
               (Table 18-8).

               Table 18-8.   Save VIM Image to Disk Parameters Fields/Options

               Field/Options            Description
               VIM                      Select the VIM where the source software image is deployed. The Image Name
                                        list is populated based on the selected VIM.
               Image Name               Select the appropriate image from the list. Based on the image selected, the
                                        following fields are populated:
                                        • Image Id is a system-generated identifier.
                                        • Container Format is the target format specified during image creation.
                                        • Disk Format is the format in which the image was saved.
                                        • Size is a value in gigabytes.
                                        • Software Image Name is an editable field to specify a name identifier.
               File Path                Enter the full path to where you want to save the image.
               Manage as NFV Image Select whether to manage this image as a network functions virtualized image.
                                   This option is selected by default.
               Description              Enter more details about the VIM image.
                                        For example, mention customizations made for your use and the original vendor-
                                        provided image from which you created the software image.
               Vendor                   Enter a name for the vendor that supplied the initial image used to create this
                                        software image descriptor.
               Version                  Enter the version for the vendor-supplied image.
               Sys Object Id            The system’s object ID number provided during creation. This ID is a universally
                                        unique identifier that tells what type of resource the device is. For example:
                                        1.3.6.1.4.1.3375.2.1.3.4.43
               Discovery Profile        Select a resource profile.
               Boot Wait Time           Enter how many seconds to wait for an image to finish booting. The default is 0
                                        (zero) if you do not enter a value.
               Add Schedule             Set the following schedule parameters used to automatically execute the manage
                                        new software image from VIM task.
                                        • Starting On sets the date and time to execute the task.
                                        • Recurrence sets whether the task executes Only Once, Only at Startup, every X
                                           minutes (Increment), or Every X minutes, hours, days, weekdays, weekend
                                           days, weeks, months, years.
                                        • Stopping On sets when the task stops executing. Valid values are Never, By
                                           Occurrence, or By Date and Time.
               Execute                  Runs the manage new software image from VIM task.
               Save                     Saves any changes and exits the window.
               Close                    Exits the current window.




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                   VIM Images Portlet
                   Use the VIM Images portlet (Figure 18-6) to view a list of VIMs to which software images are
                   deployed and details about the images or share software images with others users on your current
                   system.
                   From the VIM Images portlet, a system administrator maintains consistency across the VIM
                   instances or network designer views the list of VIMs to test that the software image they deployed/
                   undeployed was added to the list or removed from the list, respectively.
                   The VIM Images portlet also has a maximized view. Both views have the same pop-up menu
                   options and by default the same columns. See Expanded Portlet on page 130 for a description of
                   its standard options provided.




                                                          Figure 18-6. VIM Images Portlet

                   Pop-Up Menu
                   The VIM Images pop-up menu provides access to the following options. Right-click a row to access
                   these options (Table 18-9).

                   Table 18-9. VIM Images Pop-Up Menu Options

                    Menu Option             Description
                    Details                 Displays details provided when you created the image and reference tree for the
                                            selected image. Click Return to previous to return to the Software Images portlet.
                    Share with User         Opens the Share with User window, where you select a user to which you want to
                                            share the selected asset and then enter a message. You can share with colleagues
                                            existing on your system.
                                            Note: Sharing only handles one item so it uses the first one in the selection.




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               Columns
               Other than the general navigation and configuration options, the VIM Images portlet includes the
               following columns/fields (Table 18-10).
               You can view the value for most of the hidden columns by right-clicking a row and selecting Details.
               The other option is to add the column by clicking the Settings tool, selecting the Columns tab,
               clicking Show for the appropriate columns, and the applying the change.

               Table 18-10. VIM Images Columns

               Column                 Description
               VIM                    The name of the virtualized Infrastructure Manager that houses the image.
               Name                   The user-specified image identifier.
               Description            Details that explain more about the image, such as its purpose.
                                      For example, mentions customizations made for your use and the original vendor-
                                      provided image from which you created the software image.
               Disk Format            The file format in which the image is to be created, such as QCOW2. Valid
                                      formats are AKI, AMI, ARI, ISO, QCOW2, RAW, UNRECOGNIZED, VDI,
                                      VHD, VMDK.
               Status                 The image status, such as Active.
               Checksum               The data used to detect errors introduced during transmission or storage. By
                                      default, this field is not shown.
               Container Format       The target format to which you deploy the image. For example, if the target is a
                                      Bare Metal OpenStack controller, the container format is BARE. Valid values are
                                      AKI, AMI, ARI, BARE, DOCKER, OVF, and UNRECOGNIZED. By default, this
                                      field is not shown.
               Created                The system-generated timestamp for the image instance creation. By default, this
                                      field is not shown.
               Image Id               The number assigned to the image when it was created. By default, this field is
                                      not shown.
               Image URL              The local environment’s file server or disk location where the snapshot image file
                                      (.qcow2) is stored, for example:
                                      ftp://caserverIP/vnf/images/juniper/firefly/Juniper-
                                           Firefly-shapshot-2.qcow2
                                      By default, this field is not shown.
               Master Copy            An indicator that shows whether this is a master copy or not. By default, this field
                                      is not shown.
               Min Disk               The minimum disk size required in gigabytes (such as 2GB) for the image to boot
                                      and operate. By default, this field is not shown.
               Min Ram                The minimum RAM required in megabytes for the image to boot and operate,
                                      such as 2048. By default, this field is not shown.
               Size                   The binary image size in gigabytes. By default, this field is not shown.
               UUID                   A unique 128-bit, system generated value assigned to each image descriptor
                                      created. By default, this field is not shown.
               Updated                The system-generated timestamp for the latest image changes. By default, this
                                      field is not shown.
               VIM URL                The address used to access the VIM from your browser, for example:
                                      http://ipAddress:5000/v2.0
                                      By default, this field is not shown.
               Version                The vendor-supplied image version. By default, this field is not shown.




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          Network Service Portlets
                   This section describes the following Network Service portlets:
                     •    Network Service Descriptors Portlet
                     •    Network Service Records Portlet
                     •    Details Portlets

                   Network Service Descriptors Portlet
                   Use the Network Service Descriptors portlets (Figure 18-7) to maintain a list of network service
                   descriptors. These descriptors are templates used to create network service records that provision
                   virtualized network functions (VNFs) and physical network functions (PNFs) used to produce
                   connectivity.
                   From the Network Service Descriptors portlet, a system administrator creates and maintains the
                   descriptors, a network designer implements network services, and operators (if they have the proper
                   permissions) view descriptors to gain knowledge.
                   The Network Service Descriptors portlet also provides a maximized view that includes additional
                   filtering and the ability to export the table to a portable document format (PDF), Excel format, or
                   CSV format.
                   Both views have the same pop-up menu options and by default the same columns. See Expanded
                   Portlet on page 130 for a description of its standard options provided.




                                                 Figure 18-7. Network Service Descriptors Portlets

                   Pop-Up Menu
                   The Network Service Descriptors portlet provides access to the following pop-up menu options.
                   Right-click a row to access these options (Table 18-11).

                   Table 18-11.   Network Service Descriptor Pop-Up Menu Options (Sheet 1 of 2)

                    Option                       Description
                    New                          Opens the Editing Network Service Descriptor window, where you
                                                 define a new descriptor.




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               Table 18-11. Network Service Descriptor Pop-Up Menu Options (Sheet 2 of 2)

               Option                      Description
               Edit                        Opens the Editing Network Service Descriptor window, where you can
                                           change the description for the selected descriptor.
               Details                     Displays the general details, such as identification information,
                                           version information, monitor parameters, a list of VNF forwarding
                                           descriptors, and a reference tree.
                                           You can also view network functions details, connection details,
                                           service flavor details, alarms and event details, and history details by
                                           selecting the appropriate tab.
               Topology                    Opens the Topology portlet, where you define a multi-layered, customizable
                                           topology view of your network to help track network devices state. See
                                           Topology Portlet on page 241 for more details on configuring the Topology
                                           portlet.
               Stage                       Opens the Stage new Network Service window, where you set the
                                           staging parameters and then execute the staging task.
               Delete                      Deletes the selected network service.
               Audit Trail                 Opens the Audit Trail Viewer window, which displays a list of actions that
                                           occurred for the selected descriptor. Select an audit record and the job
                                           record displays its status and any other job-related information.
               Import/Export               Provides the following actions when available for the selected image:
                                           • Import retrieves a file containing XML network service descriptions.
                                              Some imports can come from a URL.
                                           • Export Selection exports the selected network service description to an
                                              XML file.
                                           • Export All exports all network service descriptions to an XML file.
                                           Click Download Export File to specify where to save the file.
                                           The Import/Export option is useful as a backup or to share descriptors with
                                           other projects.
               Share with User             Opens the Share with User window, where you select a user to which you
                                           want to share the selected asset and then enter a message. You can share
                                           with colleagues existing on your system.
                                           Note: Sharing only handles one item so it uses the first one in the selection.

               Columns
               Other than the general navigation and configuration options, the Network Service Descriptors
               portlet includes the following columns (Table 18-12).
               You can view the value for most of the hidden columns by right-clicking a row and selecting Details.
               The other option is to add the column by clicking the Settings tool, selecting the Columns tab,
               clicking Show for the appropriate column, and the applying the change.

               Table 18-12. Network Service Descriptors Columns (Sheet 1 of 2)

               Column                      Description
               UUID                        A unique 128-bit, system generated value assigned to each network service
                                           descriptor created.
               Name                        The user-provided name that identifies the network service descriptor.




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                   Table 18-12.     Network Service Descriptors Columns (Sheet 2 of 2)

                    Column                         Description
                    Description                    More details about the network service descriptor, such as its functionality
                                                   and purpose.
                    Vendor                         The name that identifies from which vendor image this descriptor was
                                                   created.
                    Version                        The vendor image version.
                    Created                        The system-generated timestamp for the descriptor creation. By default, this
                                                   field is not shown.
                    Enabled                        An indicator that shows whether the descriptor is available (checkmark) or
                                                   not (X). By default, this field is not shown.
                    Monitoring Parameters          Displays any monitoring parameters provided when the descriptor was
                                                   created. By default, this field is not shown.
                    Notifications                  This feature is not currently implemented. By default, this field is not
                                                   shown.
                    On Board Date                  The system-generated timestamp when the service was instantiated. By
                                                   default, this field is not shown.
                    Updated                        The system-generated timestamp for the latest descriptor changes. By
                                                   default, this field is not shown.
                    Version Date                   The timestamp provided during descriptor creation. By default, this field is
                                                   not shown.

                   Editing Network Service Descriptor Window
                   Use the Editing Network Service Descriptor window (Figure 18-8) to define a new network service
                   (NS) descriptor, modify an existing NS descriptor, or view an NS descriptor configuration.

                         NOTE:
                         Network Service descriptor creation and maintenance requires administrative permissions.
                   The navigation tree allows you to select and view a network service descriptor’s details for:
                     •   VNF Dependencies lists any defined VNF dependencies.
                     •   Data Values lists any defined data values.
                     •   Lifecycle Events provides access to any defined list of events for the Heal, Shutdown,
                         Configure, Scale in, Instantiate, Terminate, Scale out, and Diagnostics lifecycle events.
                     •   Connection Points lists any defined connection points.
                     •   Forwarding Graphics lists any defined forwarding graphs.
                     •   Deployment Flavors lists the default or defined deployment flavors.
                         There are deployment flavors available by default. However, your system administrator can
                         create and maintain the deployment flavors available.
                     •   Virtual Links lists any defined virtual links.
                     •   PNF and VNF Descriptors lists any defined PND/VNF descriptors.
                   Select an item from the navigation tree and the available definitions are displayed in the general or
                   extended details. If you have administrative permissions, you can add, modify, or deletes
                   definitions.
                   Access this window by navigating to the Network Service Descriptors portlet, right-clicking a
                   descriptor or the portlet, and then selecting Edit or New.




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                                       Figure 18-8. Editing Network Service Descriptor Window
               The Editing Network Service Descriptor window has the following editable fields and options
               (Table 18-13) by default. The fields not listed are system-generated fields, such UUID, Created,
               and Updated.

               Table 18-13. Editing Network Service Descriptor Fields/Options

               Field/Option           Description
               Name                   Enter a name that identifies the network service descriptor.
               Description            Provide more details about the network service descriptor purpose.
               Enabled                Select whether the descriptor is available. Select this option to make the
                                      descriptor available. The default is no (not selected).
               On Board Date          Select a date and time to instantiate the network service. Once instantiated, it
                                      displays the date of instantiation.
               Version Info           Enter the network service descriptor version, vendor/provider, and date.
               Monitor Parameters     Enter any monitoring parameters. This feature is not currently implemented.

               Stage new Network Service Window
               Use the Stage new Network Service window (Figure 18-9) to specify network service staging
               parameters.
               Access this window by navigating to the Network Service Descriptors portlet, right-clicking a
               descriptor, and then selecting Stage.




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                                            Figure 18-9. Stage new Network Service Parameters Window
                   The Stage new Network Service window has the following fields and options (Table 18-14).

                   Table 18-14.    Stage new Network Service Parameters Fields/Options

                    Field/Option                  Description
                    Name                          Enter a name that identifies the service you want to stage.
                    Description                   Enter a more detailed description of the service you want to stage.
                    Customer                      Select the person, group, or organization that requested the service. If the
                                                  customer is not listed, create it.
                    VIM                           Select the Virtualized Infrastructure Manager to which you to instantiate
                                                  the network service.
                    Namespace                     Select the name for the project that houses the VIM. This list is populated
                                                  when you select a deployment flavor.
                    Flavor                        Select a target deployment model (flavor). Valid values vary depending on
                                                  the service selected. Selecting a flavor populates the Namespace list.
                    Add Schedule                  Set the following schedule parameters used to automatically execute the
                                                  network service staging task.
                                                  • Starting On sets the date and time to execute the task.
                                                  • Recurrence sets whether the task executes Only Once, Only at Startup,
                                                     every X minutes (Increment), or Every X minutes, hours, days, weekdays,
                                                     weekend days, weeks, months, years.
                                                  • Stopping On sets when the task stops executing. Valid values are Never,
                                                     By Occurrence, or By Date and Time.
                    Execute                       Runs the network service stage task.
                    Save                          Preserves your staging configuration.
                    Close                         Exits the Stage new Network Service window.




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               Network Service Records Portlet
               Use the Network Service Records portlets (Figure 18-10) to maintain a list of records that provision
               virtualized network functions (VNFs) connectivity.
               From the Network Services Records portlet, operators stage, deploy, and undeploy network services.
               A network designer would use this portlet to test a new or modified network service descriptor.
               The Network Service Records portlet also provides a maximized view that includes additional
               filtering and the ability to export the table to a PDF, Excel, or CSV format.
               Both views have the same pop-up menu options and by default the same columns. See Expanded
               Portlet on page 130 for a description of its standard options provided.




                                           Figure 18-10. Network Service Records Portlets

               Pop-Up Menu
               The Network Service Records portlet provides access to the following pop-up menu options. Right-
               click a row to access these options (Table 18-15).

               Table 18-15. Network Service Record Pop-Up Menu Options (Sheet 1 of 2)

               Option                      Description
               New                         Opens the Stage NSR window, where you define a network service record.
                                           Select the service descriptor from which you want to create the record.
               Edit                        Opens the Editing Network Service Record window, where you view the
                                           selected service record definition or modify the:
                                           • Record name, description, or monitoring parameters
                                           • Connection point name or description
                                           • Virtual links name, description, or QOS options
               Details                     Displays the general details, such as identification information, VNF health,
                                           and a reference tree showing related virtual link records and VNF records.
                                           You can also view network functions details, connection details, alarms and
                                           event details, and history details by selecting the appropriate tab.




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                   Table 18-15.   Network Service Record Pop-Up Menu Options (Sheet 2 of 2)

                    Option                       Description
                    Topology                     Opens the Topology portlet, where you define a multi-layered, customizable
                                                 topology view of your network to help track network devices state. See
                                                 Topology Portlet on page 241 for more details on configuring the Topology
                                                 portlet.
                    Deploy                       Implements a network service in the specified VIM by establishing network
                                                 connectivity, processing the VNF instantiate event, and re-syncing VIM
                                                 resources.
                    Undeploy                     Removes the network service from the specified VIM by processing the VNF
                                                 terminate event and re-syncing VIM resources.
                    Deploy Virtual Links         Executes the Service Link Deploy task on the target NFV, processing the
                                                 Instantiate event for each defined network service.
                    Discover/Resync              Executes the Network Service Discovery task to identify services in the
                                                 network and performs a resync action to ensure services are up to date.
                    Scaling                      Provides access to the following scaling options:
                                                 • Scale In opens the Network Service Sale In Parameters window, where
                                                    you specify a deployment flavor name and increment number, and then
                                                    execute the Scale-in event to reduce the service scope.
                                                 • Scale Out opens the Network Service Scale Out Parameters window,
                                                    where you specify a deployment flavor name and increment number, and
                                                    then execute the Scale-out event to increase the service scope.
                    Maintenance                  Executes the following network service tasks on the target VNF:
                                                 • Diagnostics runs the Diagnostics event for the selected service and the
                                                   VNF. The user defines these events.
                                                 • Heal runs the Heal event for the network service and the VNF.
                                                 • Upgrade runs the Upgrade event for the selected service and the VNF to
                                                   ensure that the latest descriptor is used.
                                                 • Disaster Recovery runs the Disaster Recovery event for the selected
                                                   service and the VNF. The user defines these events.
                    Delete                       Removes the selected network service record from the system.
                    Shutdown                     Gracefully shuts down the selected network service.
                    Audit Trail                  Opens the Audit Trail Viewer window, which displays a list of actions that
                                                 occurred for the selected record. Select an audit record and the job record
                                                 displays its status and any other job-related information.
                    Share with User              Opens the Share with User window, where you select a user to which you
                                                 want to share the selected asset and then enter a message. You can share
                                                 with colleagues existing on your system.
                                                 Note: Sharing only handles one item so it uses the first one in the selection.

                   Columns
                   Other than the general navigation and configuration options, the Network Service Record portlet
                   includes the following columns (Table 18-16).
                   You can view the value for most of the hidden columns by right-clicking a row and selecting
                   Details. The other option is to add the column by clicking the Settings tool, selecting the Columns
                   tab, clicking Show for the appropriate column, and the applying the change.




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               Table 18-16. Network Service Records Columns

               Column                 Description
               UUID                   A unique 128-bit, system generated value assigned to each network service record
                                      created.
               Name                   A name that identifies the network service record.
               Description            More details about the network service record, such as its functionality and
                                      purpose.
               Vendor                 The name for the vendor that created the record, such as Dell, Inc..
               Customer               The customer selected during record creation.
               Status                 The network service record’s status, such as Offline, Normal, etc.
               Active Operation       The current operation being performed on the network service. Because network
                                      service operations are long running, this lets you know when the network service is
                                      ready to receive another operation. By default, this field is not shown.
               Alarm Severity         The alarm severity for each record, such as Critical, Major, Minor, Informational,
                                      Normal, Warning. By default, this field is not shown.
               Alarm Suppression      A text description of alarm suppression. By default, this field is not shown.
               Description
               Alarm Suppression      An indicator that shows whether alarm suppression is on or off. By default, this
               Mode                   field is not shown.
               Created                The system-generated timestamp for the record creation. By default, this field is
                                      not shown.
               Deployment Flavor      The deployment selected for each record, such as Basic, Standard Basic, etc. By
                                      default, this field is not shown.
               Monitoring             The attributes (parameters) described in the descriptor and that you are
               Parameters             monitoring. By default, this field is not shown.
                                      This feature is not currently implemented.
               Network Service        The descriptor used to create the network service record. By default, shows only
               Descriptor             on the maximized view.
               OSS ID                 The identifier for the higher-level system for which the service was instantiated.
                                      In addition to being able to see the service associated with a particular OSS, the
                                      OSS ID is used to filter northbound notifications to the right place, making sure
                                      that the wrong OSS is not notified about an event that does not pertain to them.
                                      By default, this field is not shown.
               Operation Start Time The time the active operation started. By default, this field is not shown.
               Updated                The system-generated timestamp for the latest record modifications. Initially this
                                      date is the same as the Created date. By default, shows only on the maximized
                                      view.
               Version                The network service version. By default, this field is not shown.

               Stage NSR Window
               Use the Stage NSR window (Figure 18-11) to define and stage a network service record.
               Access this window by navigating to the Network Service Records portlet, right-clicking the portlet,
               and the selecting New.




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                                                           Figure 18-11. Stage NSR Window
                   The Stage NSR window has the following fields and options (Table 18-17).

                   Table 18-17.    Stage NSR Fields/Options (Sheet 1 of 2)

                    Field/Option             Description
                    Conditional Search       Define conditional search criteria to find the appropriate descriptor.
                    Parameters
                    Available Descriptors    Select a descriptor from which to create a network service record and then click
                    List                     Select. The Network Service Stage Parameters input fields are displayed.
                    Name                     Enter a name for the network service record you are creating.
                    Description              Enter a detailed description to understand the service function.
                    Customer                 Select the customer requesting the service. If the customer is not on the list, add
                                             it.
                    VIM                      Select the managed VIM to which you want to instantiate the network service.
                    Namespace                Select the name for the project that houses the VIM. This list is populated when
                                             you select a deployment flavor.
                    Flavor                   Select a target deployment model (flavor). Valid values vary depending on the
                                             service selected. Selecting a flavor populates the Namespace list.




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               Table 18-17. Stage NSR Fields/Options (Sheet 2 of 2)

               Field/Option            Description
               Add Schedule            Set the following schedule parameters used to automatically execute the network
                                       service record staging task.
                                       • Starting On sets the date and time to execute the task.
                                       • Recurrence sets whether the task executes Only Once, Only at Startup, every X
                                          minutes (Increment), or Every X minutes, hours, days, weekdays, weekend
                                          days, weeks, months, years.
                                       • Stopping On sets when the task stops executing. Valid values are Never, By
                                          Occurrence, or By Date and Time.
               Execute                 Runs the network service stage task.
               Save                    Preserves your staging configuration.
               Close                   Exits the Stage new Network Service window.

               Editing Network Service Record Window
               Use the Editing Network Service Record window (Figure 18-12) to view and maintain the service
               record details, such as record name, description, and monitoring parameters. You can also modify
               some other details, such as connection points, virtual links, VNF records, and so on.
               Access this window by navigating to the Network Service Records portlet, right-clicking a record,
               and then selecting Edit.




                                         Figure 18-12. Editing Network Service Record Window




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                   The Editing Network Service Record window allows you to modify some fields for the following
                   record elements (Table 18-18).

                   Table 18-18.     Navigation Tree Elements

                    Element                   Description
                    Service Record            Modify the record name, description, and monitoring parameters by clicking the
                                              Edit button.
                    Forwarding Graphs         Modify a forwarding graph name and description by selecting Forwarding Graphs,
                                              clicking the Edit this entry icon, making your changes, and then clicking Apply.
                    VNF Dependencies          Modify a VNF dependency name and description by selecting VNF
                                              Dependencies, clicking the Edit this entry icon, making your changes, and then
                                              clicking Apply.
                    Data Values               Modify a data value name and description by selecting Data Values, clicking the
                                              Edit this entry icon, making your changes, and then clicking Apply.
                    Connection Points         Modify a connection point name and description by selecting Connection Points,
                                              clicking the Edit this entry icon, making your changes, and then clicking Apply.
                    Virtual Links             Modify a virtual link name, description, and QOS options by selecting Virtual
                                              Links, clicking the Edit this entry icon, making your changes, and then clicking
                                              Apply.
                    Data Sets                 Modify a data set name and description by selecting Data Sets, clicking the Edit
                                              this entry icon, making your changes, and then clicking Apply.
                    PFN Record                Cannot modify this record element.
                    VNF Record                Cannot modify this record element.


                   Details Portlets
                   The Details portlets display the general details for the selected network service descriptor or
                   record. Except where noted, the general details are the same for the network service descriptor and
                   network service record.
                   You can also view network functions details, connection details, service flavor details (descriptor
                   only), alarms and event details, and history details related to the selected Network Service
                   descriptor or record.
                   General Details
                   Use the Network Service General details (Figure 18-13) to view identification and version
                   information, and a reference tree of items related to the selected network service descriptor or
                   record. You can also view:
                     •   Any monitoring parameter definitions and related VNF forwarding graph descriptors for the
                         selected network service descriptor
                     •   Service health for the selected network service record
                   Access this information by navigating to the appropriate Network Service portlet, right-clicking a
                   row, and then selecting Details.




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                                                            Network Service
                                                            Descriptor Details




                                                            Network Service
                                                            Record Details




                                        Figure 18-13. Network Service General Details Portlet

               Network Functions Details
               Use the Network Functions details (Figure 18-14) to view the related VNF record, PNF record, and
               dependency details.
               You can perform the same actions as those available from the Virtual Network Function
               Descriptors Portlet on page 961 (New, edit, Details, Discover Vnfd, Branch, Stage, Delete, Audit
               Trail, Import/Export, Share with User).
               Access this information by navigating to the appropriate Network Service portlet, right-clicking a
               row, selecting Details, and then clicking the Network Functions tab.




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                                                     Figure 18-14. Network Functions Details

                   Connection Details
                   Use the Network Service Connection details (Figure 18-15) to view more granular details about the
                   connection point and virtual link descriptor/record. This information is useful when trying to
                   troubleshoot connectivity issues.
                   You have the option to drill down to more details or share these details with another user.
                   If the Connections details are for a selected network service record, you can edit or delete a VL
                   record.
                   Access this information by navigating to the appropriate Network Service portlet, right-clicking a
                   row, selecting Details, and then clicking the Connections tab.




                                                Figure 18-15. Network Service Connection Details

                   Service Flavor Details
                   Use the Network Service Flavors details (Figure 18-16) to view a list of deployment flavors for the
                   selected network service descriptor. These deployment flavors are useful when there is a need to
                   scale in/out the number of instances to decrease/increase network service capacity, respectively.




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               You have the option to share a service flavor with another user on your system.
               Access this information by navigating to the Network Service Descriptors portlet, right-clicking a
               row, selecting Details, and then clicking the Service Flavors tab.




                                            Figure 18-16. Network Service Flavors Details

               Alarms and Event Details
               Use the Network Service Alarms details (Figure 18-17) to monitor and manage alarms and view
               event history for the selected service.
               You can perform the same actions on an alarm or event history from this location as you can from
               the Alarms and Event History portlets, respectively. See Alarms on page 284 for details about the
               Alarms and Event History portlets.
               Access this information by navigating to the appropriate Network Service portlet, right-clicking a
               row, selecting Details, and then clicking the Alarms tab.




                                            Figure 18-17. Network Service Alarms Details

               History Details
               Use the Network Service History details (Figure 18-18) to view a list of actions (audit trail)
               performed on the selected service.
               Access this information by navigating to the appropriate Network Service portlet, right-clicking a
               row, selecting Details, and then clicking the History tab.




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                                                  Figure 18-18. Network Service History Details




          Physical Network Function Portlets
                   This section describes the following Physical Network Function (PNF) portlets:
                     •   Physical Network Function Descriptors Portlet
                     •   Physical Network Function Records Portlet
                     •   Detail Portlets

                   Physical Network Function Descriptors Portlet
                   Use the Physical Network Function Descriptors portlet (Figure 18-19) to view, create, and maintain
                   PNF descriptors. The PNF descriptors are used to define network connections between a PNF and
                   other network instances, such as network service, virtualized network functions, virtual links, and
                   so on.
                   From the Physical Network Functions Descriptors portlet, a system administrator creates and
                   maintains the PNF descriptors, a network designer PNFs, and operators (if they have the proper
                   permissions) view descriptors to gain knowledge.
                   The Physical Network Function Descriptors portlet also provides a maximized view that includes
                   additional filtering and the ability to export the table to a portable document format (PDF), Excel
                   format, or CSV format.
                   Both views have the same pop-up menu options and by default the same columns. See Expanded
                   Portlet on page 130 for a description of its standard options provided.




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                                     Figure 18-19. Physical Network Function Descriptors Portlet

               Pop-Up Menu
               The Physical Network Function Descriptors portlet provides access to the following pop-up menu
               options. Right-click a row to access these options (Table 18-19).

               Table 18-19. Physical Network Function Descriptors Pop-Up Menu Options

               Option                 Description
               New                    Opens the Editing Physical Network Function Descriptor window, where you
                                      create a physical network function descriptor.
               Edit                   Opens the Editing Physical Network Function Descriptor window, where you
                                      modify a physical network function descriptor.
               Details                Displays the general details, such as identification information, version
                                      information, connection points, and a reference tree.
                                      You can also view alarms and event details and history details by selecting the
                                      appropriate tab.
               Delete                 Removes the selected PNF descriptor from the system. A confirmation message is
                                      displayed giving you a chance to change your mind.
               Audit Trail            Opens the Audit Trail Viewer window, which displays a list of actions that
                                      occurred for the selected PNF. Select an audit record and the job record displays
                                      its status and any other job-related information.
               Import/Export          Provides the following actions when available for the selected image:
                                      • Import retrieves a file containing XML PNF descriptions. Some imports can
                                         come from a URL.
                                      • Export Selection exports the selected PNF description to an XML file.
                                      • Export All exports all PNF descriptions to an XML file.
                                      Click Download Export File to specify where to save the file.
                                      The Import/Export option is useful as a backup or to share descriptors with other
                                      projects.
               Share with User        Opens the Share with User window, where you select a user to which you want to
                                      share the selected asset and then enter a message. You can share with colleagues
                                      existing on your system.
                                      Note: Sharing only handles one item so it uses the first one in the selection.




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                   Columns
                   Other than the general navigation and configuration options, the Physical Network Function
                   Descriptors portlet includes the following columns (Table 18-20).
                   You can view the value for most of the hidden columns by right-clicking a row and selecting
                   Details. The other option is to add the column by clicking the Settings tool, selecting the Columns
                   tab, clicking Show for the appropriate column, and the applying the change.

                   Table 18-20.    Physical Network Function Descriptors Columns

                    Column                   Description
                    UUID                     A unique 128-bit, system generated value assigned to each PNF descriptor
                                             created.
                    Name                     The text that identifies each PNF descriptor.
                    Vendor                   The vendor generating this PNF descriptor.
                    Pnf Version              The version for the PNF that this PNF descriptor is describing. Provided by the
                                             network service engineer creating the descriptor.
                    Descriptor Version       The version of the PNF descriptor.
                    Version Date             The timestamp for the PNF descriptor.
                    Created                  The system-generated timestamp in which the PNF descriptor was created. By
                                             default, this field is not shown.
                    Description              A detailed description of the PNF’s purpose. By default, this field is not shown.
                    Enabled                  An indicator that shows whether the PNF descriptor is available (checkmark) or
                                             not (X). By default, this field is not shown.
                    On Board Date            The user-specified timestamp in which to instantiate the PNF descriptor. By
                                             default, this field is not shown.
                    Update                   The system-generated timestamp that the PNF descriptor was last modified. By
                                             default, this field is not shown.

                   Editing Physical Network Function Descriptor Window
                   Use the Editing Physical Network Function Descriptor window (Figure ) to create and modify PNF
                   descriptors. This is where you define network connections between a PNF and other network
                   instances, such as network service, virtualized network functions, virtual links, and so on.
                   Access this window by navigating to the Physical Network Function Descriptors portlet, right-
                   clicking a row, and then selecting Edit.




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                                  Figure 18-20. Editing Physical Network Function Descriptor Window
               The Editing Physical Network Function Descriptor window has the following input fields and
               options (Table 18-21). The fields not listed are system-generated fields, such UUID, Created, and
               Updated.

               Table 18-21. Editing Physical Network Function Descriptor Fields/Options (Sheet 1 of 2)

               Field/Option            Description
               Name                    Enter a name for the PNF descriptor you are creating. If you are modifying the
                                       PNF descriptor, you can change the name.
                                       This field is required.
               Description             Enter an optional description that provides more details about the PNF.
               Enable                  Indicates whether the device is available for use.
                                       If you select this option during PNF descriptor creation, you must define
                                       connection points. Otherwise, an error is displayed when save the descriptor.
               On Board Date           Enter the date and time that you want to instantiate the PNF descriptor.
               Vendor Info             Enter the PNF version, vendor, descriptor version, and the version date.
               Data Values             Define one or more data value records. Enter a name, description, data type, and
                                       value. The name and data type are required fields. The system generates the
                                       UUID, Created, and Updated information.
                                       Data values are typically captured at deploy time. They are either entered directly
                                       by the user or extracted from the resulting deployed VDU. The types of values is
                                       completely dependent upon the network service. For example:
                                       • A VNF may need to know what the gateway IP address is for the service so that
                                          it can properly configure the service.
                                       • A value is extracted from the OpenStack system is the heat stack ID, that ID is
                                          then used at a later date when undeploying the service.




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                   Table 18-21.    Editing Physical Network Function Descriptor Fields/Options (Sheet 2 of 2)

                    Field/Option             Description
                    Connection Points        Define one or more connection points between the PNF and other network
                                             instances, such as network service, virtualized network functions, virtual links, etc.
                                             The name and connection type are required. Valid connection types are
                                             EthernetPort, IPVPN, OTHER, PNIC, PPORT, VNIC (virtual network interface
                                             controller), VPORT, VPORTLAN, VPORTWAN.

                   Physical Network Function Records Portlet
                   Use the Physical Network Function Records portlet (Figure 18-21) to view, create, and maintain
                   PNF records.
                   From the Physical Network Function Records portlet, operators creates PNF records that specify
                   network connectivity between a physical device and virtual network instances. An administrator or
                   network designer would use this portlet to test a new or modified descriptor or test an
                   implemented PNF.
                   The Physical Network Function Records portlet also provides a maximized view that includes
                   additional filtering and the ability to export the table to a portable document format (PDF), Excel
                   format, or CSV format.
                   Both views have the same pop-up menu options and by default the same columns. See Expanded
                   Portlet on page 130 for a description of its standard options provided.




                                              Figure 18-21. Physical Network Function Records Portlet

                   Pop-Up Menu
                   The Physical Network Function Records portlet provides access to the following pop-up menu
                   options. Right-click a row to access these options (Table 18-22).

                   Table 18-22.    Physical Network Function Records Pop-Up Menu Options (Sheet 1 of 2)

                    Option                   Description
                    New                      Opens the Editing Pnf Record window, where you create a PNF record.
                    Edit                     Opens the Editing Pnf Record window, where you modify a PNF record name or
                                             description.




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               Table 18-22. Physical Network Function Records Pop-Up Menu Options (Sheet 2 of 2)

               Option                 Description
               Details                Displays the general details, such as identification information, version
                                      information, connection points, and a reference tree.
                                      You can also view alarms and event details and history details by selecting the
                                      appropriate tab.
               Delete                 Removes the selected PNF descriptor from the system.
               Share with User        Opens the Share with User window, where you select a user to which you want to
                                      share the selected asset and then enter a message. You can share with colleagues
                                      existing on your system.
                                      Note: Sharing only handles one item so it uses the first one in the selection

               Columns
               Other than the general navigation and configuration options, the Physical Network Function
               Records portlet includes the following columns (Table 18-23).
               You can view the value for most of the hidden columns by right-clicking a row and selecting Details.
               The other option is to add the column by clicking the Settings tool, selecting the Columns tab,
               clicking Show for the appropriate column, and the applying the change.

               Table 18-23. Physical Network Function Records Columns

               Column                 Description
               UUID                   A unique 128-bit, system generated value assigned to each PNF record created.
               Name                   The text that identifies the PNF record.
               Description            Details that provide more information about the PNF record, such as it function
                                      and purpose.
               Vendor                 The vendor that generated this PNF descriptor.
               Alarm Severity         The alarm severity for each record, such as Critical, Major, Minor, Informational,
                                      Normal, Warning. By default, this field is not shown.
               Alarm Suppression      A text description of alarm suppression. By default, this field is not shown.
               Description
               Alarm Suppression      An indicator that shows whether alarm suppression is on or off. By default, this
               Mode                   field is not shown.
               Created                The timestamp that the PNF record was created. By default, this field is not
                                      shown.
               DescriptionId          The identifier for the PNF descriptor from which the PNF record was created. By
                                      default, this field is not shown.
               Equipment              A reference to the physical resource that the network service is using. By default,
                                      this field is not shown.
               IP Address             The resource (equipment) IP address. By default, this field is not shown.
               Network Service        The reference to the network service record in which the PNF is participating. By
                                      default, this field is not shown.
               OAM Reference          This is not currently implemented. By default, this field is not shown.
               Updated                The timestamp for the latest PNF record changes. By default, this field is not
                                      shown.
               Version                The PNF descriptor version from which the PNF record was created. By default,
                                      this field is not shown.




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                   Editing Pnf Record Window
                   Use the Editing Pnf Record window (Figure 18-22) to create and modify PNF records. This is where
                   you define network connections between a physical device and other virtual network instances,
                   such as network service, virtualized network functions, virtual links, and so on.
                   Access this window by navigating to the Physical Network Function Records portlet, right-clicking
                   a row, and then selecting New or Edit.




                                                     Figure 18-22. Editing Pnf Record Window
                   The Editing Physical Network Function Descriptor window has the following input fields and
                   options (Table 18-21). The fields not listed are system-generated fields, such UUID, Created, and
                   Updated.

                   Table 18-24.    Editing Physical Network Function Descriptor Fields/Options (Sheet 1 of 2)

                    Field/Option             Description
                    Name                     Enter a name for the PNF record you are creating. If you are modifying the PNF
                                             descriptor, you can change the name.
                                             This field is required.
                    Description              Enter an optional description that provides more details about the PNF.
                    Vendor                   Enter the vendor that generated this PNF descriptor.
                    Version                  Enter the PNF descriptor version from which the PNF record was created.
                    Network Service          Enter a reference to the network service record in which the PNF is participating.
                    DescriptorId             Enter an identifier for the PNF descriptor from which the PNF record was
                                             created.
                    Equipment                Enter a reference to the physical resource that the network service is using.
                    IP Address               Enter the resource (equipment) IP address.
                    OAM Reference            This is not currently implemented.




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               Table 18-24. Editing Physical Network Function Descriptor Fields/Options (Sheet 2 of 2)

               Field/Option            Description
               Data Values             Define one or more data value records. Enter a name, description, data type, and
                                       value. The name and data type are required fields. The system generates the
                                       UUID, Created, and Updated information.
                                       Data values are typically captured at deploy time. They are either entered directly
                                       by the user or extracted from the resulting deployed VDU. The types of values is
                                       completely dependent upon the network service. For example:
                                       • A VNF may need to know what the gateway IP address is for the service so that
                                          it can properly configure the service.
                                       • A value is extracted from the OpenStack system is the heat stack ID, that ID is
                                          then used at a later date when undeploying the service.
               Connection Points       Define one or more connection points between the PNF and other network
                                       instances, such as network service, virtualized network functions, virtual links, etc.
                                       The name and connection type are required. Valid connection types are
                                       EthernetPort, IPVPN, OTHER, PNIC, PPORT, VNIC (virtual network interface
                                       controller), VPORT, VPORTLAN, VPORTWAN.

               Detail Portlets
               The Details portlets display the general details for the selected network descriptor or record.
               Except where noted, the general details are the same for the network service descriptor and network
               service record.
               You can also view alarms and event details and history details related to the selected Physical
               Network Function descriptor or record.
               General Details
               Use the Physical Network Function (PNF) General details (Figure 18-23) to view identification and
               version information, connection points, and a reference tree of items related to the selected
               physical network function descriptor or record.
               Access this information by navigating to the appropriate PNF portlet, right-clicking a row, and then
               selecting Details.




                                        Figure 18-23. Physical Network Function General Details




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                   Alarms and Event Details
                   Use the Physical Network Function (PNF) Alarms details (Figure 18-24) to monitor and manage
                   alarms and view event history for the selected PNF descriptor or record.
                   You can perform the same actions on an alarm or event history from this location as you can from
                   the Alarms and Event History portlets, respectively. See Alarms on page 284 for details about the
                   Alarms and Event History portlets.
                   Access this information by navigating to the appropriate PNF portlet, right-clicking a row, selecting
                   Details, and then clicking the Alarms tab.




                                          Figure 18-24. Physical Network Function Alarms Details Portlet

                   History Details
                   Use the Physical Network Function (PNF) History details (Figure 18-25) to view a list of actions
                   (audit trail) performed on the selected PNF descriptor or record.
                   For the selected action, you can view the job, aging policy, delete the action, view as a portable
                   document format (PDF), or share this action with other users on your system.
                   Access this information by navigating to the appropriate Physical Network Function portlet, right-
                   clicking a row, selecting Details, and then clicking the History tab.




                                             Figure 18-25. Physical Network Function History Portlet




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       Virtualized Network Function Portlets
               This section describes the following Virtualized Network Function (VNF) portlets:
                •     Virtual Network Function Descriptors Portlet
                •     Virtual Network Function Records Portlet
                •     Details Portlets

               Virtual Network Function Descriptors Portlet
               Use the Virtual Network Function Descriptors portlet (Figure 18-26) to maintain a list of
               virtualized network function (VNF) descriptors. These descriptors are templates used to create
               VNF records.
               From the Virtual Network Function Descriptors portlet, a system administrator creates and
               maintains the descriptors, a network designer implements VNFs, and operators (if they have the
               proper permissions) view descriptors to gain knowledge.
               The Virtual Network Function Descriptors portlet also provides a maximized view that includes
               additional filtering and the ability to export the table to a portable document format (PDF), Excel
               format, or CSV format.
               Both views have the same pop-up menu options and by default the same columns. See Expanded
               Portlet on page 130 for a description of its standard options provided.




                                       Figure 18-26. Virtual Network Function Descriptors Portlet

               Pop-Up Menu
               The Virtual Network Function Descriptors portlet provides access to the following pop-up menu
               options. Right-click a row to access these options (Table 18-25).

               Table 18-25. Virtual Network Function Descriptors Pop-Up Menu Options (Sheet 1 of 2)

               Option                 Description
               New                    Opens the Editing Virtual Network Function Descriptor window, where you
                                      define a VNF descriptor and any related data values, lifecycle events, deployment
                                      flavors, connection points, VDU dependencies, virtual links, and VDUs.




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                   Table 18-25.   Virtual Network Function Descriptors Pop-Up Menu Options (Sheet 2 of 2)

                    Option                  Description
                    Edit                    Opens the Editing Virtual Network Function Descriptor window, where you
                                            modify a VNF descriptor and any related data values, lifecycle events, deployment
                                            flavors, connection points, VDU dependencies, virtual links, and VDUs.
                    Details                 Displays the general details, such as identification information, version
                                            information, monitor parameters, and a reference tree.
                                            You can also view VDU information, deployment flavor details, connections
                                            details, alarms and event details, and history details by selecting the appropriate
                                            tab.
                    Discover Vnfd           Opens the Discover VNF Descriptor window, where you select a target VIM on
                                            which to create the VNF descriptor, create the VNF descriptor from OpenStack
                                            artifacts parameters, and then execute the Create Vnf Descriptor from
                                            OpenStack Artifacts task.
                    Branch                  Opens the Branch VNF Descriptor window, where you execute the Vnf Descriptor
                                            Branch to new version task or schedule the task to run at a later time.
                                            Executing this task ensures that you have the latest descriptor.
                    Stage                   Opens the Stage new VNF Record window, where you set staging parameters and
                                            then run the VNF stage tasks or schedule them to run at a later time. If the
                                            staging tasks run successfully, you can then deploy the VNF.
                    Delete                  Removes the selected VNF descriptor from the system.
                    Audit Trail             Opens the Audit Trail Viewer window, which displays a list of actions that
                                            occurred for the selected VNF. Select an audit record and the job record displays
                                            its status and any other job-related information.
                    Import/Export           Provides the following actions when available for the selected image:
                                            • Import retrieves a file containing XML VNF descriptions. Some imports can
                                               come from a URL.
                                            • Export Selection exports the selected VNF description to an XML file.
                                            • Export All exports all VNF descriptions to an XML file.
                                            Click Download Export File to specify where to save the file.
                                            The Import/Export option is useful as a backup or to share descriptors with other
                                            projects.
                    Share with User         Opens the Share with User window, where you select a user to which you want to
                                            share the selected asset and then enter a message. You can share with colleagues
                                            existing on your system.
                                            Note: Sharing only handles one item so it uses the first one in the selection.

                   Columns
                   Other than the general navigation and configuration options, the Virtual Network Function
                   Descriptors portlet includes the following columns (Table 18-26).
                   You can view the value for most of the hidden columns by right-clicking a row and selecting
                   Details. The other option is to add the column by clicking the Settings tool, selecting the Columns
                   tab, clicking Show for the appropriate column, and the applying the change.

                   Table 18-26.   Virtual Network Function Descriptors Columns (Sheet 1 of 2)

                    Column                  Description
                    UUID                    A unique 128-bit, system generated value assigned to each VNF descriptor
                                            created.




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               Table 18-26. Virtual Network Function Descriptors Columns (Sheet 2 of 2)

               Column                  Description
               Name                    The user-entered name that identifies the VNF descriptor.
               Vendor                  The vendor VNF used to generate this VNF descriptor, such as F5, Cisco, etc.
               Vnf Software Version    The version of VNF software used to generate this VNF.
               Vnf Descriptor Version The VNF descriptor version.
               Version Date            The VNF descriptor timestamp.
               Auto-configure          An indicator that shows whether configuration tasks are queued (checkmark)
                                       once the instantiation completes or not (X). By default, this field not shown.
               Created                 The system-generated timestamp for the description creation. By default, this
                                       field is not shown.
               Description             The optional detailed description provided during descriptor creation. By default,
                                       this field is not shown.
               Enabled                 An indicator that shows whether the VNF descriptor is available (checkmark) or
                                       not (X). By default, this field is not shown.
               Monitor Attributes      Monitor attributes provided during descriptor creation. By default, this field is
                                       not shown.
               Monitoring              Monitoring parameters provided during descriptor creation. By default, this field
               Parameters              is not shown.
               Notifications           The latest activity for the descriptor, such as Created. By default, this field is not
                                       shown.
               On Board Date           The timestamp for the descriptor onboarding. By default, this field is not shown.
               Parent Version          The name of the descriptor from which the new descriptor was branched. By
                                       default, this field is not shown.
               Stand-alone             A indicator that shows whether the VNF descriptor deploys without (checkmark)
                                       or with (X) a network service. By default, this field is not shown.
               Updated                 The system-generated timestamp for the latest descriptor changes. By default,
                                       this field is not shown.

               Editing Virtual Network Function Descriptor Window
               Use the Editing Virtual Network Function (VNF) Descriptor window (Figure 18-27) to view,
               define, or modify a VNF descriptor and any of the following related items listed in the navigation
               tree:
                •     Data Values lists any defined data values.
                •     Lifecycle Events provides access to any defined list of events for the Heal, Shutdown,
                      Configure, Scale in, Instantiate, Terminate, Scale out, and Diagnostics lifecycle events.
                •     Deployment Flavors lists the default or defined deployment flavors.
                      There are deployment flavors available by default. However, your system administrator can
                      create and maintain the deployment flavors available.
                •     Connection Points lists any defined connection points.
                •     VDU (virtualization deployment unit) Dependencies lists any defined VDU dependencies.
                •     Virtual Links lists any defined virtual links.
                •     VDUs lists any defined VDU descriptors.
               Select an item from the navigation tree and the available definitions are displayed in the general or
               extended details. If you have administrative permissions, you can add, modify, or delete definitions.




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                   Access this window by navigating to the Virtual Network Function Descriptors portlet, right-
                   clicking a descriptor or the portlet, and the selecting New or Edit.




                                         Figure 18-27. Editing Virtual Network Function Descriptor Window
                   The Editing Virtual Network Function Descriptors window has the following editable fields and
                   options (Table 18-27). The fields not listed are system-generated fields, such UUID, Created, and
                   Updated.

                   Table 18-27.    Editing Virtual Network Function Descriptor Fields/Options

                    Field/Option             Description
                    Name                     Enter a VNF descriptor name that identifies its purpose.
                    Description              Enter more details that describe the VNF’s purpose, version, etc.
                    Stand-alone              Select to deploy the VNF descriptor deploys without a network service. The
                                             default is to deploy with a network service (not selected).
                    Enabled                  Select to make the VNF descriptor is available. By default, the VNF descriptor is
                                             not available (not selected.)
                    Auto-configure           Select to automatically queue configuration tasks once the VNF descriptor
                                             instantiation completes. By default, configuration tasks are not automatically
                                             queued (not selected).
                    On Board Date            Select a date and time instantiate the VNF descriptor. Once instantiated, this
                                             timestamp changes to the instantiation date/time.




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               Table 18-27. Editing Virtual Network Function Descriptor Fields/Options

               Field/Option            Description
               Extended Details        Enter the appropriate information for the VNF descriptor or the selected
                                       element, during creation:
                                       • For the VNF descriptor, enter Vendor Info (Vnf Software Version, Vendor
                                          name, Vnf Descriptor Version, Version Date) and Monitor Parameters
                                          (monitor attributes).
                                       • For Virtual Links, enter Properties (connectivity type, root bandwidth, leaf
                                          bandwidth, test access), VNFC Connection Points, and Qos options
                                       • For a VDU, enter Image Requirements (VIM image, CPU, memory, disk,
                                          bandwidth, resource model, system object ID), Image Properties (HA, min/
                                          max instances), and Monitoring Parameters

               Discover VNF Descriptor Window
               Use the Discover VNF Descriptor window (Figure 18-28) to create a VNF descriptor from
               OpenStack artifacts on a target VIM.
               Access this window by navigating to the Virtual Network Function Descriptors portlet, right-
               clicking a descriptor, and then selecting Discover Vnfd.




                                            Figure 18-28. Discover VNF Descriptor Window
               The Discover VNF Descriptor window has the following fields and options (Table 18-28).

               Table 18-28. Discover VNF Descriptor Fields/Options (Sheet 1 of 2)

               Field/Option            Description
               Conditional Search      Define conditional search criteria to find the appropriate VIM.
               Parameters
               Available VIM List      Select a VIM on which to create a VNF descriptor and then click Add
                                       Selection > Done. The Create Vnf Descriptor from OpenStack Artifacts
                                       Parameters input fields are displayed.
               Create Using            Select whether to use Servers or Stacks to discover a VNF descriptor.




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                   Table 18-28.    Discover VNF Descriptor Fields/Options (Sheet 2 of 2)

                    Field/Option             Description
                    Tenant Name              Select the target project. When you select a project, the Servers/Stacks field
                                             populates with available choices.
                    Servers/Stacks           Select which servers/stacks to use. This field name and available choices vary
                                             depending on your Create Using and Tenant Name selection.
                    Vnf Descriptor Name Enter a name identifier for the new VNF descriptor.
                    Vnf Descriptor           Enter a detailed description for the new VNF descriptor.
                    Description
                    Vnf Descriptor Version Enter a version for the new VNF descriptor.
                    Vnf Descriptor Vendor Enter the vendor VNF used to generate this descriptor.
                    Vnf Flavor Name          Enter a VNF deployment flavor name or leave the value as default.
                    Group VDUs By            Select whether to group VDUs by Flavor, Image, Name Pattern, or No Grouping.
                                             The default is No Grouping.
                    Management               Enter the port through which the VDU is managed.
                    Interface Name
                    Create External          Select whether to create external connection points. The default is not to create
                    Connection Points        external connection points (not selected).
                    Add Schedule             Set the following schedule parameters used to automatically execute the Create
                                             VNF Descriptor from OpenStack Artifacts task on the specified target VIM.
                                             • Starting On sets the date and time to execute the task.
                                             • Recurrence sets whether the task executes Only Once, Only at Startup, every X
                                                minutes (Increment), or Every X minutes, hours, days, weekdays, weekend
                                                days, weeks, months, years.
                                             • Stopping On sets when the task stops executing. Valid values are Never, By
                                                Occurrence, or By Date and Time.
                    Execute                  Runs the Create VNF Descriptor from OpenStack Artifacts task to create the
                                             selected descriptor on the target VIM.
                    Save                     Preserves your create VNF descriptor configuration.
                    Close                    Exits the Discover VNF Descriptor window.

                   Branch VNF Descriptor Window
                   Use the Branch VNF Descriptor window (Figure 18-29) to create a descriptor with the latest/
                   improved version.
                   Access this window by navigating to the Virtual Network Function Descriptors portlet, right-
                   clicking a descriptor, and then selecting Branch.




                                                   Figure 18-29. Branch VNF Descriptor Window




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               The Branch VNF Descriptor window has the following fields and options (Table 18-29).

               Table 18-29. Branch VNF Descriptor Fields/Options

               Field/Option           Description
               Name                   Modify the displayed VNF identifier as needed.
               Description            Modify the displayed VNF detailed description as needed.
               Version                Modify the displayed VNF software version as needed.
               Descriptor Version     Modify the displayed VNF descriptor version as needed.
               Add Schedule           Set the following schedule parameters used to automatically execute the branch
                                      VNF descriptor to new version task.
                                      • Starting On sets the date and time to execute the task.
                                      • Recurrence sets whether the task executes Only Once, Only at Startup, every X
                                         minutes (Increment), or Every X minutes, hours, days, weekdays, weekend
                                         days, weeks, months, years.
                                      • Stopping On sets when the task stops executing. Valid values are Never, By
                                         Occurrence, or By Date and Time.
               Execute                Runs the branch VNF descriptor to new version task.
               Save                   Preserves your branching configuration.
               Close                  Exits the Branch VNF Descriptor window.

               Stage new VNF Record Window
               Use the Stage new VNF Record window (Figure 18-30) to stage a VNF and then deploy the
               successfully staged VNF record.
               Access this window by navigating to the Virtual Network Function Descriptor portlet, right-clicking
               a descriptor, and then selecting Stage.




                                            Figure 18-30. Stage new VNF Record Window
               The Stage new VNF Record window has the following fields and options (Table 18-30).

               Table 18-30. Stage new VNF Record Fields/Options (Sheet 1 of 2)

               Field/Option                 Description
               Name                         Enter a name that identifies the VNF you want to stage.
               Description                  Enter a more detailed description of the VNF you want to stage.
               Customer                     Select the person, group, or organization that requested the VNF. If the
                                            customer is not listed, create it.
               VIM                          Select the Virtualized Infrastructure Manager to which you to instantiate
                                            the VNF. Selecting a VIM populates the Namespace list.




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                   Table 18-30.    Stage new VNF Record Fields/Options (Sheet 2 of 2)

                    Field/Option                  Description
                    Namespace                     Select the name for the project that houses the VIM. This list is populated
                                                  when you select a deployment VIM.
                    Flavor                        Select a target deployment model (flavor). Valid values vary depending on
                                                  the VNF selected.
                    Add Schedule                  Set the following schedule parameters used to automatically execute the
                                                  VNF staging task.
                                                  • Starting On sets the date and time to execute the task.
                                                  • Recurrence sets whether the task executes Only Once, Only at Startup,
                                                     every X minutes (Increment), or Every X minutes, hours, days, weekdays,
                                                     weekend days, weeks, months, years.
                                                  • Stopping On sets when the task stops executing. Valid values are Never,
                                                     By Occurrence, or By Date and Time.
                    Execute                       Runs the VNF record stage task.
                    Save                          Preserves your staging configuration.
                    Close                         Exits the Stage new VNF Record window.

                   Virtual Network Function Records Portlet
                   Use the Virtual Network Function Records portlet (Figure 18-31) to maintain a list of virtualized
                   network function (VNF) records.
                   From the Virtual Network Function Records portlet, operators stage, deploy, and undeploy network
                   services. A network designer would use this portlet to test a new or modified descriptor.
                   The Virtual Network Function Records portlet also provides a maximized view that includes
                   additional filtering and the ability to export the table to a portable document format (PDF), Excel
                   format, or CSV format.
                   Both views have the same pop-up menu options and by default the same columns. See Expanded
                   Portlet on page 130 for a description of its standard options provided.




                                               Figure 18-31. Virtual Network Function Records Portlet




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               Pop-Up Menu
               The Virtual Network Function Records portlet provides access to the following pop-up menu
               options. Right-click a row to access these options (Table 18-31).

               Table 18-31. Virtual Network Function Records Pop-Up Menu Options (Sheet 1 of 2)

               Option                 Description
               New                    Opens the Stage VNF window, were you define a new VNF to stage and then
                                      deploy.
               Edit                   Opens the Editing VNF Record window, where
               Details                Displays the general details, such as identification information, version
                                      information, deployment status, external references monitor parameters,
                                      health, connection points, and a reference tree.
                                      You can also view VDU information, alarms and event details, and history details
                                      by selecting the appropriate tab.
               Deploy                 Adds the VNF to the specified VIM by running the VNF Deploy task on the
                                      specified target, which includes processing the VNF Instantiate event for the
                                      VNF.
                                      You can also execute the Vnf Deploy action from the Actions portlet.
                                      Once deployment successfully completes, the record status shows as
                                      Instantiating. When instantiation completes, the status changes to Normal.
               Undeploy               Removes the VNF from the specified VIM by running the VNF Undeploy task on
                                      the specified target, which includes processing the Terminate event for the VNF.
                                      You can also execute the Vnf Undeploy action from the Actions portlet.
                                      This action changes the record status to Offline.
               Discover/Resync        Executes the Vnf Discovery task on the target VIM to identify VNF changes and
                                      performs a resync action to ensure VNFs are up to date.
               Scaling                Provides access to the following scaling options:
                                      • Scale In executes the Scale-in event to reduce the VNF capacity.
                                      • Scale Out executes the Scale-out event to increase the VNF capacity.
                                      You can also execute the Vnf Scale In and Vnf Scale Out actions from the Actions
                                      portlet.
               Start/Stop             Toggles between the ability to start or stop a VNF record depending on its current
                                      state.
                                      If you stop the record, a confirmation message is displayed. Click Stop to
                                      continue. This updates the record status to Stopped and any transactions after
                                      this point are lost.
                                      When you start activity, the record status returns to Normal.
                                      You can also execute the Vnf Stop and Vnf Start actions from the Actions portlet.
               Resume/Suspend         Toggles between the ability to suspend a VNF’s record activity or resume a
                                      suspended VNF’s record activity.
                                      If you suspend the record, a confirmation message is displayed. Click Suspend to
                                      continue. This updates the record status to Suspended. Activity continues to
                                      collect and is passed through once you resume activity.
                                      When you resume activity, the record status returns to Normal.
                                      You can also execute the Vnf Suspend and Vnf Resume actions from the Actions
                                      portlet.




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                   Table 18-31.   Virtual Network Function Records Pop-Up Menu Options (Sheet 2 of 2)

                    Option                  Description
                    Maintenance             Executes the following tasks on the selected VNF record:
                                            • Diagnostics runs the Diagnostics event. The user defines these events.
                                            • Heal runs the Heal event.
                                            • Upgrade runs the Upgrade event to ensure that the latest descriptor is used.
                                            • Disaster Recovery runs the Disaster Recovery event. The user defines these
                                              events.
                                            You can also execute the Vnf Diagnostics, Vnf Heal, Vnf Upgrade, and Vnf
                                            Disaster Recovery actions from the Actions portlet.
                    Delete                  Removes the selected VNF record from the system. You can also execute the Vnf
                                            Delete action from the Actions portlet.
                    Shutdown                Gracefully shuts down VNF/VDUs, allowing any current processes to complete. A
                                            confirmation message is displayed. Click Shutdown to continue. The status
                                            remains the same.
                                            You can also execute the Vnf Shutdown action from the Actions portlet.
                    Audit Trail             Opens the Audit Trail Viewer window, which displays a list of actions that
                                            occurred for the selected VNF record. Select an audit record and the job record
                                            displays its status and any other job-related information.
                    Share with User         Opens the Share with User window, where you select a user to which you want to
                                            share the selected asset and then enter a message. You can share with colleagues
                                            existing on your system.
                                            Note: Sharing only handles one item so it uses the first one in the selection

                   Columns
                   Other than the general navigation and configuration options, the Virtual Network Function
                   Records portlet includes the following columns (Table 18-32).
                   You can view the value for most of the hidden columns by right-clicking a row and selecting
                   Details. The other option is to add the column by clicking the Settings tool, selecting the Columns
                   tab, clicking Show for the appropriate column, and the applying the change.

                   Table 18-32.   Virtual Network Function Records Columns (Sheet 1 of 2)

                    Column                  Description
                    UUID                    A unique 128-bit, system generated value assigned to each VNF record created.
                    Name                    A text that identifies the VNF record and its purpose.
                    Description             Details that describe the VNF’s purpose, version, etc.
                    Vendor                  The vendor VNF (such as F5, Cisco, etc.) used to generate the VNF descriptor.
                    Customer                The person, group, or organization that requested the VNF.
                    Status                  The current record status, such as Normal, Offline, Stopped, Instantiating, etc.
                    Active Operation        The current operation being performed on the VNF. Because VNF operations are
                                            long running, this lets you know when the VNF is ready to receive another
                                            operation. By default, this field is not shown.
                    Alarm Severity          The alarm severity for each record, such as Critical, Major, Minor, Informational,
                                            Normal, Warning. By default, this field is not shown.
                    Alarm Suppression       A text description of alarm suppression. By default, this field is not shown.
                    Description




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               Table 18-32. Virtual Network Function Records Columns (Sheet 2 of 2)

               Column                  Description
               Alarm Suppression       An indicator that shows whether alarm suppression is on or off. By default, this
               Mode                    field is not shown.
               Created                 The system-generated timestamp for the record creation. By default, this field is
                                       not shown.
               Deployment Flavor      A usage deployment model. Valid values vary depending on the VNF selected. By
                                      default, this field is not shown.
               Descriptor ID           The name of the descriptor from which the record was created.
                                       By default, shows only on the maximized view.
               Foreign ID             A identifier of a VNF managed by an external VNFM. The foreign ID is useful
                                      when OMNM needs to do something to the VNF managed by the external
                                      VNFM. By default, this field is not shown.
               Localization            This feature is not currently implemented. By default, this field is not shown.
               Monitoring              Monitoring parameters provided by the descriptor. By default, this field is not
               Parameters              shown.
               Namespace               The name for the project that houses the VIM. This list is populated when you
                                       select a deployment VIM. By default, this field is not shown.
               OSS ID                 The identifier for the higher-level system for which the service was instantiated.
                                      In addition to being able to see the service associated with a particular OSS, the
                                      OSS ID is used to filter northbound notifications to the right place, making sure
                                      that the wrong OSS is not notified about an event that does not pertain to them.
                                      By default, this field is not shown.
               Operation Start Time The time the active operation started. By default, this field is not shown.
               Updated                 The system-generated timestamp for the latest record changes. By default, this
                                       field is not shown.
               VIM                    The Virtualized Infrastructure Manager on which to deploy the VNF record. By
                                      default, shows only on the maximized view.
               VNF Address             The primary IP address associated with the VNF. By default, this field is not
                                       shown.
               VNFM ID                 The VNF manager name or identifier. By default, this field is not shown.
               Version                The vendor VNF (such as F5, Cisco, etc.) version used to generate the VNF
                                      descriptor.

               Stage VNF Window
               Use the Stage VNF window (Figure 18-32) to define a new VNF to stage and then deploy.
               Access this window by navigating to the Virtual Network Function Records portlet, right-clicking a
               record, and then selecting New.




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                                                           Figure 18-32. Stage VNF Window
                   The Stage VNF window has the following fields and option (Table 18-33).

                   Table 18-33.    Stage VNF Fields/Options

                    Field/Option             Description
                    Conditional Search       Define conditional search criteria to find the appropriate VNF descriptor entity.
                    Parameters
                    Available VNF List       Select a VNF descriptor from which to stage a VNF record and then click Select.
                                             The Vnf Stage Parameters input fields are displayed.
                    Name                     Enter a VNF descriptor name that identifies its purpose.
                    Description              Enter more details that describe the VNF’s purpose, version, etc.
                    Customer                 Select the person, group, or organization that requested the VNF. If the customer
                                             is not listed, create it.
                    VIM                      Select a VIM. Selecting a VIM populates the namespace list.
                    Namespace                Select the project in which to deploy the VNF
                    Flavor                   Select a deployment flavor.
                    Network Service          Select the network service required to stage or deploy the VNF. This field shows
                                             only when a network service is required to stage or deploy the VNF.
                    Add Schedule             Set the following schedule parameters used to automatically execute the VNF
                                             Stage task on the specified target.
                                             • Starting On sets the date and time to execute the task.
                                             • Recurrence sets whether the task executes Only Once, Only at Startup, every X
                                                minutes (Increment), or Every X minutes, hours, days, weekdays, weekend
                                                days, weeks, months, years.
                                             • Stopping On sets when the task stops executing. Valid values are Never, By
                                                Occurrence, or By Date and Time.
                    Execute                  Runs the VNF Stage task on the specified target and reserves resources.
                    Save                     Preserves your stage VNF configuration.
                    Close                    Exits the Stage VNF window.




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               Editing VNF Record Window
               Use the Editing VNF Record window (Figure 18-33) to modify the following VNF record
               information:
                •     General VNF details name, description, and monitoring parameters
                •     Data Values description
                •     Connection Points name and description
                •     Virtual Links name, description and QOS options
                •     VDUs name and description
                •     Data Set description
               Access this window by navigating to the Virtual Network Function Records portlet, right-clicking a
               record, and then selecting Edit.




                                            Figure 18-33. Editing VNF Record Window

               Details Portlets
               The Details portlets display the general details for the selected Virtualized Network Function
               (VNF) descriptor or record. Except where noted, the general details are the same for the VNF
               descriptor and VNF record.
               You can also view VDU information details, descriptor deployment flavor details, connections
               details, alarms and event details, and history details related to the selected VNF descriptor or
               record.
               General Details
               Use the Virtualized Network Function (VNF) General details (Figure 18-34) to view identification
               and version information, any monitoring parameter definitions, and a reference tree of items
               related to the selected VNF descriptor or record. You can also view VNF deployment status,
               external references, health, and connection points for the selected VNF record. For VNF descriptor
               connection portlets, see Connections Details on page 976.




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                   Access this information by navigating to the appropriate VNF portlet, right-clicking a row, and then
                   selecting Details.




                                                      VNF Record Details




                                                                                                 VNF Descriptor
                                                                                                 Details




                                                    Figure 18-34. VNF General Details Portlets

                   VDU Information Details
                   Use the Virtualized Network Function (VNF) VDU Information details (Figure 18-35) to view the
                   following information:
                     •   For a Descriptor, Virtualization Deployment Unit (VDU) information (required CPU,
                         memory, and disk) and any defined dependencies
                     •   For a Record, VDU status and VNF virtual link information
                   You have the option to view more details or share selected details with another user on your system.
                   Access this information by navigating to the appropriate VNF portlet, right-clicking a row, selecting
                   Details, and then clicking the VDU Information tab.




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                      VNF Descriptor
                      Details




                                                                                                VNF Record Details




                                            Figure 18-35. VNF VDU Information Details Portlets

               Deployment Flavor Details
               Use the Virtualized Network Function (VNF) Deployment Flavor details (Figure 18-36) to view a
               list of deployment flavors for the selected VNF descriptor. These deployment flavors are useful
               when there is a need to scale in/out the number of instances to decrease/increase VNF capacity,
               respectively.
               You have the option to view more deployment flavor details or share a deployment flavor with
               another user on your system.
               Access this information by navigating to the Virtual Network Function Descriptors portlet, right-
               clicking a row, selecting Details, and then clicking the Deployment Flavor tab.




                                       Figure 18-36. VNF Descriptor Deployment Flavor Details Portlet




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                   Connections Details
                   Use the Virtualized Network Function (VNF) descriptor Connection details (Figure 18-37) to view
                   more granular details about the descriptor virtual link and connection point. This information is
                   useful when trying to troubleshoot connectivity issues.
                   You have the option to drill down to more details or share these details with another user.
                   Access this information by navigating to the Virtual Network Function Descriptor portlet, right-
                   clicking a row, selecting Details, and then clicking the Connections tab.
                   For VNF record connection details, see General Details on page 973. For VNF record virtual link
                   details, see VDU Information Details on page 974.




                                                Figure 18-37. VNF Descriptor Connections Portlets

                   Alarms and Event Details
                   Use the Virtualized Network Function (VNF) Alarms details (Figure 18-38) to monitor and
                   manage alarms and view event history for the selected device.
                   You can perform the same actions on an alarm or event history from this location as you can from
                   the Alarms and Event History portlets, respectively. See Alarms on page 284 for details about the
                   Alarms and Event History portlets.
                   Access this information by navigating to the appropriate VNF portlet, right-clicking a row, selecting
                   Details, and then clicking the Alarms tab.




                                              Figure 18-38. VNF Alarms and Events Details Portlets




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               History Details
               Use the Virtualized Network Function (VNF) History details (Figure 18-39) to view a list of actions
               (audit trail) performed on the selected VNF descriptor or record.
               For a selected action, you can view the job, aging policy, delete the action, view as a portable
               document format (PDF), or share this information with other users on your system.
               Access this information by navigating to the appropriate VNF portlet, right-clicking a row, selecting
               Details, and then clicking the History tab.




                                                 Figure 18-39. VNF History Details


       Virtual Requirements Portlet
               Use the Virtual Requirements portlet (Figure 18-40) to view the virtual domain resource
               requirements and usage (such as memory, CPU, and disk). You also have the option to modify a
               domain’s description.
               The Virtual Requirements portlet also provides a maximized view that includes additional filtering
               and the ability to export the table to a portable document format (PDF), Excel format, or CSV
               format.
               Both views have the same pop-up menu options and by default the same columns. See Expanded
               Portlet on page 130 for a description of its standard options provided.




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                                                    Figure 18-40. Virtual Requirements Portlet

                   Pop-Up Menu
                   The Virtual Requirements portlet provides access to the following pop-up menu options. Right-
                   click a row to access these options (Table 18-34).

                   Table 18-34.   Virtual Requirements Pop-Up Menu Options

                    Option                  Description
                    Edit                    Opens the Edit VIM Capacity window, where you view virtual requirements
                                            information and make any needed modifications to the description.
                    Details                 Opens the Details portlets, where you view the general details, VDU reservations,
                                            reference tree, and activities history (audit-trail).
                                            You can also modify a selected VDU’s name or description, view VDU details, or
                                            share a VDU with another user on your system.
                    Share with User         Opens the Share with User window, where you select a user to which you want to
                                            share the selected asset and then enter a message. You can share with colleagues
                                            existing on your system.
                                            Note: Sharing only handles one item so it uses the first one in the selection.


                   Columns
                   Other than the general navigation and configuration options, the Virtual Requirements portlet
                   includes the following columns (Table 18-35).
                   You can view the value for most of the hidden columns by right-clicking a row and selecting
                   Details. The other option is to add the column by clicking the Settings tool, selecting the Columns
                   tab, clicking Show for the appropriate column, and the applying the change.

                   Table 18-35.   Virtual Requirements Columns (Sheet 1 of 2)

                    Column                  Description
                    UUID                    The unique 128-bit, system generated value assigned to each virtual requirements
                                            record created. By default, this field is not shown.




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               Table 18-35. Virtual Requirements Columns (Sheet 2 of 2)

               Column                  Description
               Name                    The text that identifies the VIM domain.
               Description             The hypervisor description.
               CPU Free                The number of CPUs available. By default, this field is not shown.
               CPU Reserved            The number of CPUs reserved. By default, this field is not shown.
               CPU Unallocated         The number of CPUs not allocated. By default, this field is not shown.
               CPU Used                The number of CPUs used. By default, this field is not shown.
               Cloud Id                The text that identifies the VIM. By default, this field is not shown.
               Created                 The system-generated timestamp for the virtual requirements creation. By
                                       default, this field is not shown.
               Disk Free               The disk space available in gigabytes. By default, this field is not shown.
               Disk Reserved           The disk space reserved in gigabytes. By default, this field is not shown.
               Disk Unallocated        The disk space not allocated in gigabytes. By default, this field is not shown.
               Disk Used               The disk space used in gigabytes. By default, this field is not shown.
               Host Id                 The OpenStack identifier. By default, this field is not shown.
               IP Address              The address where the VIM is located. By default, this field is not shown.
               Last Synchronization    The most recent VIM synchronization timestamp. By default, this field is not
                                       shown.
               Memory Free             The memory available in megabytes. By default, this field is not shown.
               Memory Reserved         The memory reserved in megabytes. By default, this field is not shown.
               Memory Unallocated      The memory not allocated in megabytes. By default, this field is not shown.
               Memory Used             The memory used in megabytes. By default, this field is not shown.
               Total CPU               The total number of CPUs (used, free, reserved, and unallocated). By default, this
                                       field is not shown.
               Total Disk              The total gigabytes of disk space (used, free, reserved, and unallocated). By
                                       default, this field is not shown.
               Total Memory            The total megabytes of memory (used, free, reserved, and unallocated). By
                                       default, this field is not shown.
               Type                    Information from the OpenStack system describing the type of hypervisor. By
                                       default, this field is not shown.
               Updated                 The system-generated timestamp for the latest virtual requirements changes. By
                                       default, this field is not shown.


       Virtual Reservations Portlet
               Use the Virtual Reservations portlet (Figure 18-41) to verify that a VDU’s resources were reserved
               after you stage a VNF record.
               From the Virtual Reservation portlet, a system administrator maintains the reservations, a network
               designer implements reservations, and operators (if they the the proper permissions) view to verify
               resources were reserved after VNF staging.
               The Virtual Reservations portlet also provides a maximized view that includes additional filtering
               and the ability to export the table to a PDF, Excel, or CSV format.
               Both views have the same pop-up menu options and by default the same columns. See Expanded
               Portlet on page 130 for a description of its standard options provided.




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                                                     Figure 18-41. Virtual Reservations Portlet

                   Pop-Up Menu
                   The Virtual Reservations portlet provides access to the following pop-up menu options. Right-click
                   a row to access these options (Table 18-36).

                   Table 18-36.   Virtual Reservations Pop-Up Menu Options

                    Option                       Description
                    Edit                         Opens the Editing VDU Reservation window, where you can change
                                                 the VDU name and description for the selected reservation.
                    Details                      Displays the general VDU reservation details, such as identification
                                                 information, CPU, memory, disk, date, etc. for the selected reservation.
                    Share with User              Opens the Share with User window, where you select a user to which you
                                                 want to share the selected asset and then enter a message. You can share
                                                 with colleagues existing on your system.
                                                 Note: Sharing only handles one item so it uses the first one in the selection.


                   Columns
                   Other than the general navigation and configuration options, the Virtual Reservations portlet
                   includes the following columns (Table 18-37).




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               You can view the value for most of the hidden columns by right-clicking a row and selecting Details.
               The other option is to add the column by clicking the Settings tool, selecting the Columns tab,
               clicking Show for the appropriate column, and the applying the change.

               Table 18-37. Virtual Reservations Columns

               Column                      Description
               Cloud Id                    The Virtualized Infrastructure Manager (VIM) name.
               Namespace                   The name for the project that houses the VIM.
               Vnf Record                  The VNF record name.
               Vdu Record                  The VDU record name.
               CPU                         The number of CPUs reserved for the selected VDU.
               Memory                      Displays how much memory is reserved for the selected VDU.
               Disk                        Displays how much disk space is reserved for the selected VDU.
               Reservation Date            The date the resources were reserved.
               Created                     The timestamp when the reservation record was created. By default, this
                                           field is not shown.
               Description                 Details about the reserved VDU, such as function, version, purpose, etc. By
                                           default, this field is not shown.
               Name                        The text that identifies the reserved VDU. By default, this field is not
                                           shown.
               UUID                        The unique 128-bit, system generated value assigned to each virtual
                                           reservation record created. By default, this field is not shown.
               Updated                     The timestamp for the latest reservation record changes. By default, this
                                           field is not shown.


       Virtualized Infrastructure Managers Portlet
               Use the Virtualized Infrastructure Managers portlet (Figure 18-42) to maintain a list of virtualized
               infrastructure managers (VIMs) to which you deploy network services, physical network functions
               (PNFs) and virtualized network functions (VNFs).
               From the Virtualized Infrastructure Managers portlet, a system administrator creates and maintains
               VIMs and operators (if they have the proper permissions) view VIM resources as part of their
               network monitoring process.
               The Virtualized Infrastructure Managers portlet also provides a maximized view that includes
               additional filtering and the ability to export the table to a portable document format (PDF), Excel
               format, or CSV format.
               Both views have the same pop-up menu options and by default the same columns. See Expanded
               Portlet on page 130 for a description of its standard options provided.




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                                             Figure 18-42. Virtualized Infrastructure Managers Portlet

                   Pop-Up Menu
                   The Virtualized Infrastructure Managers portlet provides access to the following pop-up menu
                   options. Right-click a row to access these options (Table 18-38).

                   Table 18-38.   Virtualized Infrastructure Managers Pop-Up Menu Options (Sheet 1 of 2)

                    Option                  Description
                    New                     Opens the Editing VIM window, where you create a VIM.
                    Edit                    Opens the Editing VIM window, where you modify the selected VIM’s
                                            description.
                    Details                 Displays the general details, such as identification information, version
                                            information, deployment status, external references monitor parameters,
                                            health, connection points, and a reference tree.
                                            You can also view alarms and event details and history details selecting the
                                            appropriate tab.
                    Resync                  Runs the VIM Resync task on the target VIM to update capacity information. You
                                            can also execute the VIM Resync action from the Actions portlet.
                    Topology                Opens the Topology portlet, where you define a multi-layered, customizable
                                            topology view of your network to help track network devices state. See Topology
                                            Portlet on page 241 for the Topology portlet configuration details.
                    Delete                  Removes the selected VIM from the system. You can also execute the VIM Delete
                                            action from the Actions portlet.




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               Table 18-38. Virtualized Infrastructure Managers Pop-Up Menu Options (Sheet 2 of 2)

               Option                  Description
               Import/Export           Provides the following actions when available for the selected image:
                                       • Import retrieves a file containing XML VIM descriptions. Some imports can
                                          come from a URL.
                                       • Export Selection exports the selected VIM description to an XML file.
                                       • Export All exports all VIM descriptions to an XML file.
                                       Click Download Export File to specify where to save the file.
                                       The Import/Export option is useful as a backup or to share descriptors with other
                                       projects.
               Share with User         Opens the Share with User window, where you select a user to which you want to
                                       share the selected asset and then enter a message. You can share with colleagues
                                       existing on your system.
                                       Note: Sharing only handles one item so it uses the first one in the selection.

               Columns
               Other than the general navigation and configuration options, the Virtualized Infrastructure
               Managers portlet includes the following columns (Table 18-39).
               You can view the value for most of the hidden columns by right-clicking a row and selecting Details.
               The other option is to add the column by clicking the Settings tool, selecting the Columns tab,
               clicking Show for the appropriate column, and the applying the change.

               Table 18-39. Virtualized Infrastructure Managers Columns (Sheet 1 of 2)

               Column                  Description
               Name                    The text that identifies the VIM.
               Description             The optional details provided about the VIM, such as its purpose.
               Cloud Provided          The cloud environment where the VIM resides.
               URL                     The address used to access the VIM. For example:
                                       http://ipAddress:5000/v2.0
               Alarm Severity          The severity of alarms against the VIM. By default, this field is not shown.
               Alarm Suppression       An indicator that shows whether alarms are suppressed. By default, this field is
               Mode                    not shown.
               CPU Free                The number of CPUs available. By default, this field is not shown.
               CPU Reserved            The number of CPUs reserved. By default, this field is not shown.
               CPU Unallocated         The number of CPUs not allocated. By default, this field is not shown.
               CPU Used                The number of CPUs used. By default, this field is not shown.
               Created                 The VIM creation timestamp. By default, this field is not shown.
               Disk Free               The disk space available in gigabytes. By default, this field is not shown.
               Disk Reserved           The disk space reserved in gigabytes. By default, this field is not shown.
               Disk Unallocated        The disk space not allocated in gigabytes. By default, this field is not shown.
               Disk Used               The disk space used in gigabytes. By default, this field is not shown.
               Last Synchronization    The most recent VIM synchronization timestamp. By default, this field is not
                                       shown.
               Memory Free             The memory available in megabytes. By default, this field is not shown.
               Memory Reserved         The memory reserved in megabytes. By default, this field is not shown.




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                   Table 18-39.   Virtualized Infrastructure Managers Columns (Sheet 2 of 2)

                    Column                  Description
                    Memory Unallocated      The memory not allocated in megabytes. By default, this field is not shown.
                    Memory Used             The memory used in megabytes. By default, this field is not shown.
                    Priority                A relative number indicating which VIM should be chosen over another, where
                                            multiple VIMs support a VNF deployment. By default, this field is not shown.
                    Private Network Space The private network space identifier in the following format:
                                          123.17.0.0/16
                                          This is the overall address space used to create smaller subnet private networks.
                                          By default, this field is not shown.
                    Shared Network Space The shared network space identifier in the following format:
                                         123.18.0.0/16
                                         This is the overall address space used to create smaller subnet shared networks. By
                                         default, this field is not shown.
                    Total CPU               The total number of CPUs (used, free, reserved, and unallocated). By default, this
                                            field is not shown.
                    Total Disk              The total gigabytes of disk space (used, free, reserved, and unallocated). By
                                            default, this field is not shown.
                    Total Memory            The total megabytes of memory (used, free, reserved, and unallocated). By
                                            default, this field is not shown.
                    UUID                    A unique 128-bit, system generated value assigned to each VIM created. By
                                            default, this field is not shown.
                    Updated                 The latest VIM changes timestamp. By default, this field is not shown.

                   Editing VIM Window
                   Use the Editing VIM window (Figure 18-43) to create and maintain Virtualized Infrastructure
                   Managers (VIMs).
                   Access this window by navigating to the Virtualized Infrastructure Managers portlet, right-clicking
                   a VIM or the portlet, and then selecting Edit or New. You can also access this window from the
                   details reference tree, by right-clicking a VIM, and then selecting Edit.




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                                                   Figure 18-43. Editing VIM Window
               The Editing VIM window has the following fields and option (Table 18-40).

               Table 18-40. Editing VIM Fields/Options (Sheet 1 of 2)

               Field/Option            Description
               Name                    Enter required text that identifies the VIM.
               Description             Enter an optional description that provides more information about the VIM,
                                       such as its purpose.
               URL                     Enter the address used to access the VIM. For example:
                                       https://ipAddress:5000/v2.0
               Cloud Provider          Select the provider where the VIM resides.
               Priority                Enter a relative number indicating which VIM should be chosen over another,
                                       where multiple VIMs support a VNF deployment. By default, this field is not
                                       shown.
               User                    Enter the user account ID that is used to access the VIM (OpenStack).
               Password                Enter the password assigned the provided user ID.
               Private Network Space Modify appropriately. This field is automatically populated in the following
                                     format when you select the New menu option:
                                     123.17.0.0/16
                                     This is the overall address space used to create smaller subnet private networks.
               Shared Network Space Modify appropriately. This field is automatically populated in the following
                                    format when you select the New menu option:
                                       123.18.0.0/16
                                       This is the overall address space used to create smaller subnet shared networks. By
                                       default, this field is not shown.
               Extended Details        Displays details about the VIM, such as CPU, memory, and disk information as
                                       well as the synchronized, created, and updated dates, and service UUID.




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                   Table 18-40.    Editing VIM Fields/Options (Sheet 2 of 2)

                    Field/Option              Description
                    Constraints               Displays the list of defined constraints, which determine where to place network
                                              services or VNFs if the VIM is not specified during network service or VNF
                                              descriptor staging process. Modify the list as needed by adding, deleting, or
                                              modifying constraints.

                   Details Portlets
                   The Details portlets display the general details for the selected Virtualized Infrastructure Manager
                   (VIM).
                   You can also view alarms and event details and history details related to the selected VIM.
                   Access the details portlets by navigating to the Virtualized Infrastructure Managers portlet, right-
                   clicking a VIM, and then selecting Details.
                   General Details
                   Use the Virtualized Infrastructure Manager (VIM) General details (Figure 18-44) to view
                   identification and version information, CPU, memory (MB), disk (GMB), activity dates, service
                   information, health, constraints, hypervisors, and a reference tree of items related to the selected
                   VIM.
                   From the Hypervisor details, you have the following menu options:
                     •   Edit to view VIM capacity or change the VIM’s description from the Editing VIM Capacity
                         window
                     •   Details allows you to view more details about a selected hypervisor and any audit trail history
                     •   Share with User allows you to share the selected asset with colleagues on your system
                   From the Vim Images details, you have the following menu options:
                     •   Details allows you to view details and the reference tree for the selected image
                     •   Share with User allows you to share the selected asset with other users on your system
                   From the Reference Tree, you have the following menu options:
                     •   Edit when you right-click a capacity element, opens the Editing VIM Capacity window, where
                         you view VIM capacity or change the VIM’s description
                         Edit when you right-click a VIM, opens the Editing VIM window, where you modify the
                         selected VIM’s description
                     •   Details allows you to view more details about a selected hypervisor and any audit trail history
                     •   Share with User allows you to share the selected asset with colleagues on your system
                   Access this information by navigating to the Virtualized Infrastructure Managers portlet, right-
                   clicking a row, and then selecting Details.




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                                             Figure 18-44. VIM General Details Portlets

               Alarms and Event Details
               Use the Virtualized Infrastructure Manager (VIM) Alarms details (Figure 18-45) to monitor and
               manage alarms and view event history for the selected VIM.
               You can perform the same actions on an alarm or event history from this location as you can from
               the Alarms and Event History portlets, respectively. See Alarms on page 284 for details about the
               Alarms and Event History portlets.
               Access this information by navigating to the Virtualized Infrastructure Managers portlet, right-
               clicking a row, selecting Details, and then clicking Alarms.




                                          Figure 18-45. Alarms and Event History Portlets




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                   History Details
                   Use the Virtualized Infrastructure Manager (VIM) History details (Figure 18-46) to view a list of
                   actions (audit trail) performed on the selected VIM.
                   For a selected action, you can view the job, aging policy, delete the action, view as a portable
                   document format (PDF), or share this information with other users on your system.
                   Access this information by navigating to the Virtualized Infrastructure Managers portlet, right-
                   clicking a row, selecting Details, and then clicking History.




                                                    Figure 18-46. VIM History Details Portlet




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Managing Virtualized Network Functions
               From the OpenManage Nm (OMNM) application, you can manage virtualized network functions
               (VNFs) by staging and deploying VNF resources (instantiating) and then managing those resources
               by monitoring network health, updating VNFs, and adding or removing VNFs as needed to resolve
               issues or expansion.
               See Network Virtualization Portlets on page 926 for a detailed description of each portlet and the
               different actions that you can perform.
                •     Instantiating a Complex Virtual Network
                •     Instantiating a Standalone VNF Record
                •     Monitoring Network Health
                •     Updating Virtual Network Functions
                •     Undeploying Virtual Network Functions

       Instantiating a Complex Virtual Network
               This section illustrates how to instantiate a complex Virtualized Network Function (VNF) record.
               The example environment has a Session Boarder Controller, a client Session Initiation Protocol
               (SIP) server, and a DNS with internal networks that connects the virtual networks.
               Instantiate a virtual network by:
                •     Reviewing a System’s Current State
                •     Reviewing a VNF Descriptor
                •     Staging a Complex VNF Record
                •     Verifying Reserved Resources
                •     Deploying a Complex VNF Record
                •     Viewing Alarms and Notifications
                •     Verifying a Complex VNF Instantiation
                •     Reviewing the VNF Record Status

               Reviewing a System’s Current State
               The Virtualized Infrastructure Managers (VIMs) portlet lists the OpenStack controllers and VIM
               instances. Before you instantiate a Virtualized Network Function (VNF), it is good to know the
               system’s current state and the OpenStack controllers and VIM instances available to which you can
               deploy services.
               The OpenManage Nm (OMNM) application provides many management tools from which to
               access the network health and configuration, such as:
                •     Topology
                •     Resource Management
                •     Performance Monitoring
                •     Infrastructure Capacity
               Review the system’s current state from the OMNM Virtualized Infrastructure Managers portlet as
               follows.

                      NOTE:
                      The Virtualized Infrastructure Managers portlet location is dependant on your company’s OMNM NFV
                      installation and configuration.




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                    1   Select a VIM or OpenStack controller.
                    2   Right-click > Details.
                        The selected instance’s details display CPU, memory, and disk capacity, service and health
                        status, and lists any constraints and hypervisor records.




                    3   Select a hypervisor server.
                    4   Right-click > Details.
                        The selected hypervisor details are displayed, such as CPU, memory, and disk capacity and
                        any related VDU reservations.




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                5     Go to the OpenStack dashboard to view information about the server to which you are going
                      to deploy, such as the network topology, networks, instances, and so on.
                6     Return to the OMNM application.
               Next review the VNF descriptor you plan to deploy to gain an understanding of its fuctionality.

               Reviewing a VNF Descriptor
               The OpenManage Nm (OMNM) Virtual Network Function Descriptors portlet provides a list of
               the Virtualized Network Function (VNF) descriptors available. Before using a descriptor to deploy a
               VNF, review the descriptor to gain a better understanding of its functionality.
               Review a VNF descriptor from the Virtual Network Function Descriptors portlet as follows.
                1     Select a VNF descriptor.
                2     Right-click > Edit.
                      The Editing Virtual Network Function Descriptor window is displayed.
                3     Review the descriptor details, such as VDU components used to connect internal networks to
                      the VNF, lifecycle events (terminate/instantiate), deployment flavors (models), and so on. It
                      needs to be complete and at a deployable state.
                      Note that when instantiating a complex VNF, the stand-alone option is not selected.
                4     Click Close when finished.




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                  Now you are ready to stage a VNF record.

                  Staging a Complex VNF Record
                  The staging process creates and stages a VNF record based on the selected descriptors information
                  found and then reserves resources. The staging process only reserves resources, it does not deploy
                  the VNF record to the OpenStack controller.
                  Stage a complex VNF record from the Virtual Network Function Records portlet as follows.

                        NOTE:
                        The portlet’s location depends on your company’s configuration.
                    1   Right-click > New.
                        The Stage VNF window displays a list of descriptor entities.




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                2     Select the service to instantiate.
                3     Click Select.
                      The Vnf Stage Parameters window is displayed.




                4     Enter a name for the VNF and a description that includes specifics on the services.
                5     Specify the parameters, such as the VIM (Virtualized Infrastructure Manager) on which to
                      deploy.

                      NOTE:
                      If you do not specify the VIM, the system determines the appropriate VIM. The Name, VIM, Namespace,
                      and Flavor fields are required.




                6     Click Execute.
                      Upon completion, the stage results are displayed.
                      If staging is successful, the record is created and staged based on the descriptor information
                      found and resources are reserved. However, nothing is deployed to the OpenStack controller.
                      If staging fails, the reason for the failure is displayed.




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                    7   Click Deploy once the staging operation successfully completes.
                        Otherwise, optionally verify that the resources were reserved and then deploy the VNF record.

                  Verifying Reserved Resources
                  Verify that the resources were reserved from the Virtualized Infrastructure Managers portlet as
                  follows. You can also view the capacity details.

                        NOTE:
                        The portlet’s location depends on your company’s configuration.
                    1   Select a VIM.
                    2   Right-click > Details.
                        The Details are displayed. Notice the reserved CPU, memory, and disk values.




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                3     Go to the Hypervisor list.
                4     Select a hypervisor.
                5     Right-click > Details.
                      The VDU Reservation details show the reservations for the virtual networks to instantiate.




                6     Select a VDU.
                7     Right-click > Details.
                      The VDU Reservation details are displayed.




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                  Once you optionally verified the reserved resources, deploy the VNF record.

                  Deploying a Complex VNF Record
                  The deployment process sets up the network connectivity for a stagged VNF record. Deploy a
                  complex VNF record from the Virtual Network Functions Records portlet as follows.

                        NOTE:
                        The portlet’s location depends on your company’s configuration.
                    1   Select the VNF record you staged.
                    2   Right-click > Deploy.
                        The default Vnf Deploy Parameters are displayed.




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                3     Change default parameters as needed.
                4     Click Execute.
                      The Job Viewer displays the deploy operation results, such as the steps taken to instantiate the
                      networks needed to talk to each other and the information on the individual Virtualization
                      Deployment Units (VDUs).




                5     Click Close.
               Once deployed, you can view VNF information provided, verify the instantiated VNF, and review
               the VDUR status.

               Viewing Alarms and Notifications
               The OpenManage Nm (OMNM) Alarms page allows you to view the alarms, notifications, and
               event history provided for the selected VNF.




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                  Next verify the instantiated VNF and then review the VDUR status

                  Verifying a Complex VNF Instantiation
                  Verify the VNF instantiation from the Functional Resources page as follows.
                    1   Verify that the Managed Resources portlet lists the VNF record that you created.




                    2   Select a virtual network.
                    3   Right-click > Performance > Show Performances to see that you are collecting call rate data.
                        The Performance Dashboard is displayed.




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                4     Navigate to the Virtual Network Function Records portlet.
                5     Verify that the record status is Normal.




               The last step is to review the VNF record status.

               Reviewing the VNF Record Status
               Review the VNF Record status from the Virtual Network Function Records portlet. By default, the
               Status column shows each VNF record’s status. However, you can also review all VNF component’s
               status from the Details portlets as follows.
                1     Select a VNF record.
                2     Right-click > Details.
                      The General details are displayed. Notice that the status is normal.




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                        a. Click the VDU Information tab.
                            VDU and VNF Virtual Links portlets are displayed and show that the VDUs came up
                            successfully.
                        b. Select a VDU.
                        c. Right-click > Details.
                            The General details for the selected VDU are displayed.
                            The virtual machine ID is used to manage the VDU. The equipment ID is used to
                            interact with the virtual network in OpenManage Nm (OMNM) as if it were a device.




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                3     View the VNF connection instance details.
                      a. Select a VNF connection.
                      b. Right-click > Details.
                         The VNF Connection Point Instance list is displayed.
                      c. Select a connection instance.
                      d. Right-click > Details.
                         The VNF’s General connection point details are displayed.




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                    4   View the resource details.
                        a. Click the NFVI Resources tab.
                            The Virtualized Infrastructure Managers portlet is displayed.
                        b. Select a resource.
                        c. Right-click > Details.
                            The General details are displayed. Notice the change in CPU usage.




                        d. Select a hypervisor.
                        e. Right-click > Details.
                            Note that there are no more reservations and the CPU, memory, and disk usage is
                            higher.




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                5     View network topology and compute instances from the OpenStack dashboard.




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                  Once you instantiate a complex VNF (stage and deploy), you can perform daily operations on the
                  VNF, such as monitoring alarms, updating virtual network functions (scale in/out), and
                  undeploying virtual network functions.

         Instantiating a Standalone VNF Record
                  This section shows how to instantiate a standalone Virtualized Network Function (VNF) record.
                  The example standalone VNF descriptor used contains all lifecycle events (LCEs) required to
                  create a set of Virtualization Deployment Units (VDUs) and contains the networks required to
                  interconnect VDUs in the OpenStack environment. In this example, only a VNF record is required
                  because there are no other VNFs required to interconnect with the VNF descriptor, and because
                  the same target OpenStack project space contains all the VDUs.
                  Instantiate a standalone VNF record by:
                    •   Staging a Standalone VNF Record
                    •   Deploying a Standalone VNF Record
                    •   Verifying VM Network Connections

                  Staging a Standalone VNF Record
                  The staging process creates and stages a Virtualized Network Function (VNF) record based on the
                  selected descriptor’s information found and then reserves resources. The staging process does not
                  deploy the VNF record to the OpenStack controller.
                  Stage a standalone VNF record from the Virtual Network Function Records portlet as follows.

                        NOTE:
                        The portlet’s location depends on your company’s configuration.
                    1   Right-click > New.
                        The Stage VNF window displays a list of descriptor entities.




                    2   Select the service you want to instantiate.



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                3     Click Select.
                      The Vnf Stage Parameters window is displayed.




                4     Enter a name for the VNF and a description that includes specifics on the services.
                5     Specify the parameters, such as the VIM (Virtualized Infrastructure Manager) on which to
                      deploy.
                      The Name, VIM, Namespace, and Flavor fields are required.

                      NOTE:
                      If you do not specify the VIM, the system determines the appropriate VIM. The Name, VIM, Namespace,
                      and Flavor fields are required.




                6     Click Execute.
                      Upon completion, the stage results are displayed.
                      If staging is successful, the record is created and staged based on the descriptor information
                      found and resources are reserved. However, nothing is deployed to the OpenStack controller.
                      If staging fails, the reason for the failure is displayed.




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                  Now that the stage process successfully completed, it is time to deploy the VNF record.

                  Deploying a Standalone VNF Record
                  Deploy a standalone Virtualized Network Function (VNF) record from the Stage VNF Results
                  panel or the VNF record from the Virtual Network Function Records portlet as follows. The
                  example instructions here deploy a VNF from the Stage VNF Results panel.
                  Deploy a standalone VNF record from the Stage VNF Results panel as follows.
                    1   Click Deploy.
                        The default VNF deploy parameter values are displayed.




                    2   Change the default parameters as needed.
                    3   Click Execute.
                        The Job Viewer displays the deploy operation results, such as the steps taken to instantiate the
                        networks needed to talk to each other and the information on the individual Virtualization
                        Deployment Units (VDUs).




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               After successfully deploying the VNF record, make sure that the VM’s network connections are up
               and okay.

               Verifying VM Network Connections
               Verify that the VM’s network connections are up and okay from the OpenStack dashboard as
               follows.
                1     Select Project > Compute > Instances.
                      A list of instances and their information is displayed.




                2     Verify that the resource records were deployed.
                      a. Wait 5 minutes.
                      b. Go to the Managed Resources portlet.
                         The list shows the created Virtualized Network Function (VNF) records deployed to
                         the OpenStack system. If the firmware and software versions show, the device is ready
                         for SNMP requests.

                      NOTE:
                      If you do not have resource management implemented, ignore step h.




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                        When the OpenManage Nm (OMNM) system detects that the device is up, the system
                        automatically runs the Resync and other Discovery Profile tasks for the VNF record. If
                        successful, the VNF resource shows up as a managed resource.




                    3   Check network connectivity to each VNF descriptor using its management interface, the
                        assigned floating IP address, and both ping and ssh commands.
                  Once you instantiate a VNF (stage and deploy), you can perform daily operations on the VNF, such
                  as monitoring alarms, updating virtual network functions (scale in/out), and undeploying virtual
                  network functions.

         Monitoring Network Health
                  The OpenManage Nm (OMNM) application has many tools to monitor network health, determine
                  whether any action is required, and then take the appropriate action, such as stage and deploy new
                  virtual services or devices, scale network usage in/out, or undeploying virtual services or devices.
                  Here are a few of the tasks to monitor network health:
                    •   Monitoring Alarms
                    •   Viewing Managed Resources Performance
                    •   Viewing VNF Record Details
                    •   Viewing VIM Details
                    •   Viewing Resource Monitors and Thresholds
                    •   Reviewing Event Rules

                  Monitoring Alarms
                  Monitor alarms from the Alarms portlet. Here are the actions that you can perform on alarms:
                    •   Take ownership of those alarms you plan to address (Acknowledge Alarm).
                    •   Assign selected alarms to another user on the system to resolve (Assign User).
                    •   Remove resolved alarms from the list and mark them for database archiving (Clear Alarm).
                    •   Remove many alarms that are old, low severity, or both at the same time (Clear Group of
                        Alarms). For example, you have many information alarms that are over a week old and do not
                        want to clear them one at a time. This action requires a filter for the alarm group and the
                        action is irreversible.
                  For a detailed description of this portlet and its options, see Alarms Portlet on page 284.
                  Monitor alarms from the OMNM application as follows.
                    1   Navigate to the Alarms portlet.
                    2   Review alarms who’s severity is Warning, Minor, Major, or Critical.




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                3     Acknowledge those alarms that you plan to address.
                      Address alarms from the most sever state to the least sever state (Critical, Major, Minor, and
                      Warning).
                4     Address alarm issues appropriately.

               Viewing Managed Resources Performance
               A managed resource’s Performance Dashboard shows patterns for CPU and memory utilization,
               packet counts, RTT (round-trip time) measurements, and so on. Viewing VIM Details on page
               1012 also shows resource usage (memory, CPU, and disk). For a detailed description of this portlet
               and its options, see Performance Dashboard on page 428.
               View a managed resource’s performance from the Managed Resources portlet as follows.
                1     Select a resource.
                2     Right-click > Performance > Show Performance.
                      The Performance Dashboard displays data patterns based on the defined properties, entities,
                      and view attributes defined.




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                  Viewing VNF Record Details
                  View a VNF record’s details to see its general information, deployment status, external references,
                  monitoring parameters, and health. The VNF record details also provide information about
                  connection points, VDUs, VNF virtual links, alarms, event history, and actions audit trail.
                  View VNF record details from the Virtual Network Function Records portlet as follows.
                    1   Select a record.
                    2   Right-click > Details.
                        The General details are displayed, which includes general details, deployment status, external
                        references, monitoring parameters, health, connection points, and a reference tree.




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                3     Click the VDU Information tab.
                      A list of related VDUs and VNF virtual links are displayed.




                4     Click Alarms or History.
                      The Alarms details provides a list of alarms and a list of event history. The History details is an
                      audit trail of actions.




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                  Viewing VIM Details
                  The Virtualized Infrastructure Managers (VIM) details includes resource information (CPU,
                  memory and disk usage), any constraints, images, hypervisors, reference tree, alarms, event history,
                  and action audit trail. Viewing Managed Resources Performance on page 1009 shows usage
                  patterns.
                  You can also view information about the VIM from your OpenStack system if you have permissions
                  to access that system.
                  View VIM details from the Virtualized Infrastructure Managers portlet and the OpenStack system
                  as follows.
                    1   Select a resource.
                    2   Right-click > Details.
                        The General details are displayed. Notice the amount of CPU, memory, and disk being used.




1012                                                                                           OMNM 8.0 User Guide
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                3     Go to the OpenStack dashboard.
                4     Select Project > Network > Network Topology.
                5     Review the network topology.
                      Notice the networks and VDUs deployed.




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                    6   Select Project > Compute > Instances.
                        A list of instances are displayed.




                    7   Return to the OMNM application.




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               Viewing Resource Monitors and Thresholds
               Look at your resource monitor configuration to understand the parameters set that could generate
               alerts and determine whether changes are needed as the network changes. Resource monitor
               configuration settings include:
                •     General Monitor and Retention options that are common to all different monitor types.
                •     Monitor Options that specify monitor targets and options specific to a monitor type.
                •     Calculated Metrics, where you create attributes that are calculated from existing monitor
                      attributes.
                •     Thresholds, where you set threshold intervals on attributes in the monitor.
                •     Inventory Mapping, where you associate predefined inventory metrics with a monitored
                      attribute to normalize the attribute if an VNF does not report metrics in a way that matches
                      the monitored attribute’s name or format. Available metrics include CPU utilization
                      percentage, memory utilization percentage, bandwidth utilization percentage, and so on.
                •     Conditions, where you define conditions.
               For a detailed description of this portlet and its options, see Resource Monitors on page 371.
               View resource monitors and threshold information from the Resource Monitors portlet as follows.
                1     Select a resource monitor.
                2     Right-click > Edit Monitor.
                      The General monitor and retention options currently monitoring the call rate are displayed.




                3     Click the Monitor Options tab.
                      Notice the monitor’s entities and SNMP attributes.




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                    4   Click the Thresholds tab.
                        The Configured Attributes are displayed.




                    5   Click the Edit action.
                        The configured threshold intervals are displayed, such as high, low, and warning call rates.
                    6   Review other configurations by clicking the appropriate tab.
                    7   Cancel out of the monitoring windows when you are done.

                  Reviewing Event Rules
                  Event processing rules define how the OpenManage Nm (OMNM) system responds to events. By
                  default, seeded rules exist. However, if you have permission to, you can create your own rules (New
                  Protocol Translation, Stream Based Correlation, Event Definition Override, or Automation), copy
                  or modify existing rules, delete them, or Import rules from and Export rules to files. For a detailed
                  description of this portlet and its options, see Automation and Event Processing Rules on page
                  297.




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               Review event rules from the Automation and Event Processing Rules portlet as follows.
                1     Search for the processing rules.
                      The Event Processing Rules portlet displays the search results.
                2     Select the rule.
                3     Right-click > Edit.
                      The definition for the selected rule is displayed.




                4     Review the event definition, filtering conditions, and actions to take.
                      A scale out scales the VNF to the next highest deployment flavor.




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         Updating Virtual Network Functions
                  You should update your virtualized network functions (VNFs) on a regular basis to make sure that
                  you always have the latest definition and changes from the target VIM (Virtualized Infrastructure
                  Manager.
                  Update a VNF from the Virtual Network Function Records portlet as follows.
                    1   Select a record.
                    2   Right-click > Discover/Resync.
                        The Discover VNF Records window is displayed.




                    3   Select the appropriate VIM entity.
                    4   Click Select.
                        The Vnf Discovery Parameters are displayed.




                    5   Select the namespaces.
                    6   Click Execute.
                        The Job Viewer displays the execution progress, any errors, and success/failure, followed by
                        the Results information, such as VDU, VNFC, and other record information. If you VNF is up
                        to date, the following message is displayed.




1018                                                                                          OMNM 8.0 User Guide
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                      No vnfs/changes found on VIM.




                7     Close the Discover VNF Records window.

       Undeploying Virtual Network Functions
               Undeploy virtualized network functions (VNFs) from the Virtual Network Function Records
               portlet as follows.
                1     Select a record.
                2     Right-click > Undeploy.
                      A confirmation message is displayed.
                3     Click Undeploy.
                      The Job Viewer displays the steps taken and the results.




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                        a. Click Close.
                        b. Verify the record’s status is now Offline.




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                                                                A
Ports Used
The following reference material is provided in this section:
Standard Port Assignments – 1022
Protocol Flows – 1028
Ports and Application To Exclude from Firewall – 1034
Installed Third-Party Applications – 1035
Windows Management Instrumentation Ports – 1036




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Standard Port Assignments |



Standard Port Assignments
                  Initial installation scans the following ports, and reports any conflicts with them:
                  Database: 3306 or user-configured database host, if using MySQL server.
                  Application server: 8089, 8162, 8489 [HTTPS], 8082
                  Web Portal: 8080, 8443 [HTTPS]
                  SNMP: 161, 162
                  Syslog: 514
                  When installation encounters a conflict with any of the above ports, a panel appears displaying a
                  warning and the port[s] in conflict. You can then elect to continue since you can change the
                  application ports after installation. If installation encounters no port conflicts, then no panel
                  appears.

                          NOTE:
                          The installation scans TCP ports to detect potential conflicts. It does not scan UDP port conflicts
                          including SNMP Ports 161 and 162. No SNMP or other applications should bind to UDP ports 161 and 162
                          since such bindings interfere with the application. If this conflict exists, the following error appears (with
                          others):
                          FATAL ERROR - Initializing SNMP Trap Listener
                  You may also configure network ports’ availability on firewalls. Sometimes, excluding applications
                  from firewall interference is all that is needed (see Ports and Application To Exclude from Firewall
                  on page 1034). If you have remote mediation servers, see Remote Mediation Ports on page 1027.
                  The following are some of the standard port assignments for installed components. These are often
                  configurable, even for “standard” services like FTP or HTTP, with alterations to the files
                  mentioned, so these are the default, typical or expected port numbers rather than guaranteed
                  assignments. Also, see Protocol Flows on page 1028 for more about network connections. The
                  JBoss directory number may vary with your package’s version; *.* appears rather than actual
                  numbers.

                   Destination Service                       Files                                  Notes
                   Ports
                   3306           Database                                                          ... or user-configured database
                                                                                                    host, if using MySQL server.
                   8089, 8162, Application server
                   8489
                   [HTTPS],
                   8082
                   8080, 8443 Web Portal:
                   [HTTPS]
                   HTTP/S (Web Client)
                   80894          oware.webservices.port [user.root]\oware\lib\owweb                appserver.
                                                         services.properties
                                                                                                    Note: this port was 80 in some
                                                                                                    previous versions.
                   84894, 5, 7    org.apache.coyote.tom [user.root]\oware\jboss-         app/medserver, jmx console, and
                                  cat4.CoyoteConnector *.*\server\oware\deploy\jbossweb- web services, including Axis2
                                  (Apache)              tomcat41.sar\META-INF\ jboss-
                                                        service.xml




1022                                                                                                         OMNM 8.0 User Guide
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                                                                                              Standard Port Assignments |


               Destination Service                    Files                               Notes
               Ports
               Other Ports
               n/            ping                                                         MedSrv -> NtwkElement,
               a5(ICMP)                                                                   NtwkElement -> MedSrv,
                                                                                          ICMP ping for connection
                                                                                          monitoring.
               204, 5, 7     FTP Data Port            n/a                                 (Internally configurable),
               (TCP)                                                                      “MedSrv -> FTPSrv
                                                      Configurable in File Servers        NtwkElement -> FTPSrv”
                                                      portlet editor                      medserver1
               214, 5, 7     FTP Control Port         n/a                                 (Internally Configurable)
               (TCP)                                                                      “MedSrv -> FTPSrv
                                                                                          NtwkElement -> FTPSrv”
                                                                                          medserver1
               224, 5, 7     SSH                      n/a                                 MedSrv -> NtwkElement,
               (TCP)                                                                      secure craft access
                                                                                          medserver1
               234, 5, 7     Telnet                   n/a                                 MedSrv -> NtwkElement, non-
               (TCP)                                                                      secure craft access
                                                                                          medserver1
               25 4,5, 7     com.dorado.mbeans.O Configurable in the SMTP                 AppSrv -> SmtpRelay,
               (TCP)         WEmailMBean (mail) configuration editor in the               communication channel to
                                                 Common Setup Tasks portlet.              email server from Appserver
               694, 5, 7     TFTP                     n/a                                 (Configurable internally),
               (UDP)                                                                      MedSrv -> TFTPSrv


                                                                                          NtwkElement ->
                                                                                          TFTPSrvmedserver1
               1614, 5, 7    com.dorado.media        [user.root]\owareapps\ezmediatio MedSrv -> NtwkElement,
               (UDP)         tion.snmp.request.liste n\lib\owmediation.properties     SNMP request listener and trap
                             ner.port (SNMP),                                         forwarding source
                             oware.media                                              medserver1
                             tion.snmp.trap.forward
                             ing.source.port
               1624, 5       oware.media              [user.root]\owareapps\ezmediatio NtwkElement -> MedSrv,
               (UDP)         tion.snmp.trap.forward   n\lib\ezmediation.properties     SNMP trap forwarding
                             ing.des tination.port    change this property:            destination port, medserver1
                             (SNMP)                   com.dorado.snmp.trap.listener.bin
                                                      ding=0.0.0.0/162
               5144, 5       com.dorado.mediation. To change the syslog port, add      NtwkElement -> MedSrv
               (UDP)         syslog.port (syslog)  com.dorado.mediation.syslog.port (mediation syslog port)
                                                   =[new port number] to               medserver1
                                                   owareapps\installprops\lib\installe
                                                   d.properties




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Standard Port Assignments |


                   Destination Service                   Files                                Notes
                   Ports
                   10984, 5, 7   org.jboss.naming.Nami [user root]\oware\jboss-               AppSrv -> MedSrv
                   (TCP)         ngService (JBOSS)     *.*\owareconf\jboss-root-              MedSrv -> AppSrv
                                                       service.xml
                                                                                              user client ->AppSrv
                                                                                              user client ->MedSrv, (JBOSS
                                                                                              naming service), app/medserver
                   10994, 5, 7   org.jboss.naming.Nami [user.root]\oware\jboss-               MedSrv -> AppSrv, user client -
                   (TCP)         ngService (JBOSS)     *.*\owareconf\jboss-root-              > AppSrv, user client ->
                                                       service.xml                            MedSrv,
                                                                                              (JBOSS naming service &
                                                                                              OWARE context server URL),
                                                                                              app/medserver
                   10992, 4, 5, 7 OWARE.CONTEXT.S [user.root]\oware apps\install            MedSrv -> AppSrv, user client -
                   (TCP)          ERVER.URL       props\lib\installed.properties            > AppSrv. user client ->
                                                         [user.root]\oware apps\install     MedSrv. (JBOSS naming service
                                                         props\medserver\lib\installed.prop & OWARE context server URL)
                                                         erties
                                                                                              client




                                                                                              medserver1
                   1100-1101     org.jboss.ha.jndi.HANa [user.root]/oware/jboss-*.*/server/
                                 mingService,           all/deploy/cluster-service.xml
                   11034, 5      jnp.reply.discoveryPort [user.root]\oware\lib\owappserver. AppSrv -> MedSrv, AppSrv ->
                   (UDP)         (JNP)                   properties                         user client, (JNP reply discovery
                                                                                            port), app/medserver
                   11234, 5      jnp.discoveryPort       [user.root]\oware\lib\owappserver. MedSrv -> AppSrv, user client -
                   (UDP)         (JNP)                   properties                         > AppSrv, (JNP discovery port),
                                                                                            app/medserver
                   15214, 7      com.dorado.jdbc.datab [user.root]\oware apps\install         AppSrv ->OracleDBSrv, (JDBC
                   (TCP)         ase_name.oracle       props\lib\installed.properties         database naming [Oracle])
                                 (JDBC)                                                       database
                   33064, 7      com.dorado.jdbc.datab [user.root]\oware apps\install         AppSrv -> MySQLSrv, (JDBC
                   (TCP)         ase_name.mysql        props\lib\installed.properties         database naming [MySQL])
                                                                                              appserver)
                   31004, 5, 7   org.jboss.ha.jndi.HANa [user.root]\oware\jboss-        AppSrv -> AppSrv,
                   (TCP)         ming Service (JBOSS) *.*\owareconf\cluster-service.xml user client -> AppSrv
                   32004, 5, 7                                                                AppSrv -> MedSrv MedSrv ->
                                                                                              AppSrv user client -> AppSrv
                                                                                              user client -> MedSrv (JBOSS
                                                                                              HA JNDI HA Naming service
                                                                                              [1100 is stub]
                                                                                              app/medserver




1024                                                                                                   OMNM 8.0 User Guide
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                                                                                               Standard Port Assignments |


               Destination Service                   Files                                 Notes
               Ports
               33554 -     Direct access             Override application server port For both, the relay increments
               application                           with this property:              from the default until lit can
               &                                     com.dorado.mediation.socket.rela bind to an open port.
               mediation                             y.listen.port=3355
               servers


               8082 -
               portal
               4444          org.jboss.invocation.jr [user.root]/oware/jboss-*.*/server/
                             mp.server.JRMPInvoke all/conf/jboss-service.xml,
                             r                       RMIObjectPort, jboss:service
                                                     =invoker,type=jrmp
               44454, 5, 7   org.jboss.invocation.po [user.root]\oware\jboss-              AppSrv -> MedSrv
               (TCP)         oled.server.PooledInvo *.*\owareconf\jboss–root-              MedSrv -> AppSrv
                             ker (JBOSS)             service.xml
                                                                                           user client -> AppSrv
                                                                                           user client -> MedSrv, app/
                                                                                           medserver
               44464, 5, 7   org.jboss.invoca       [user.root]\oware\jboss-               (AppSrv ->AppSrv, AppSrv ->
               (TCP)         tion.jrmp.server.JRMPI *.*\owareconf\jboss–root-              MedSrv, MedSrv -> AppSrv,
                             nvoker (JBOSS)         service.xml                            user client -> AppSrv, user
                                                                                           client -> MedSrv) app/
                                                                                           medserver
               5988, 5989 WBEM Daemon (5989                                                You can add ports and daemons
                          is the secure port)                                              in monitored services. These are
                          defaults                                                         only the default. WBEM
                                                                                           requires one port, and only one,
                                                                                           per daemon.
               6500-104, 5, JBOSS                    Specify such connections in the       user client -> MedSrv (user
               7 (TCP)                               ezmediation/lib/                      client to mediation server cut-
                                                     ezmediation.properties file.          through)
               78002(TCP org.jboss.ha.frame      [user.root]\oware\conf\cluster-           disabled - see UDP for same,
               )         work.server.ClusterPart service.xml                               (JBOSS HA frame work server
                         ition (JBOSS)                                                     cluster partition) TCP only
               8009 (TCP) org.mort               [user.root]\oware\jboss-          Obsolete — appserver
                          bay.http.ajp.AJP13List *.*\server\oware\deploy\jbossweb-
                          ener                   tomcat41.sar\META-INF\ jboss-
                                                 service.xml
               8083 (TCP) org.jboss.web.WebServ [user.root]\oware\jboss-                   Used by JBoss web service,
                          ice (JBOSS)           *.*\owareconf\jboss–root-                  appserver
                                                service.xml
               80934, 5. 7   org.jboss.mq.il.uil2.UI [user.root]\oware\jboss-              MedSrv -> AppSrv, user client -
               (TCP)         LServerILService        *.*\owareconf\uil2-service.xml        > AppSrv (JBOSS mq il uil2
                                                                                           UIL Server-IL Server), app/
                                                                                           medserver (Jboss JMS)
               84432,4, 5, 7 org.apache.coyote.tom [user.root]\oware\jboss-          user client -> AppSrv (Apache
                             cat4.CoyoteConnector *.*\server\oware\deploy\jbossweb.s Coyote Tomcat4 Coyote
                                                   ar\META-INF\ jboss-service.xml connector), appserver. This is
                                                                                     the default HTTPS port for the
                                                                                     web portal.




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Standard Port Assignments |


                   Destination Service                      Files                                  Notes
                   Ports
                   90014, 6, 7   mediation.listener.mul [user.root]\lib\owmediation                MedSrv <-> MedSrv
                   (UDP)         ti cast.intercomm.port listeners.properties                       (mediation listener multicast
                                                                                                   intercommunications port)
                                                                                                   medserver3
                   9996, 6343 Traffic Flow Analysis         trafficanalyzer.ocp                    You must configure the router to
                   (UDP)                                                                           send flow reports to the
                                                                                                   OpenManage NM server on
                                                                                                   6343 for sflow by default.
                   313104, 6, 7 JBoss                                                              AppSrv -> AppSrv
                   (TCP)
                   455664, 5     org.jboss.ha.frame      [user.root]\jboss-*.*\owareconf           AppSrv -> Multicast, (JBoss HA
                   (UDP)         work.server.ClusterPart \cluster-service.xml                      frame work server cluster
                                 ition                                                             partition), UDP only
                   540274,7      Process Monitor            [user.root]\oware\lib\pmstar           mgmt client -> AppSrv, mgmt
                                                            tup.dat                                client -> MedSrv (process
                                                                                                   monitor local client for server
                                                                                                   stop/start/status) app/medserver
                         1 Remote mediation servers or application servers behaving as though they were mediation servers

                           (single host installation).
                         2 Unused in standard configuration.

                         3 Client does not connect to medserver on this port.

                         4 This port is configurable.

                         5Firewall Impacting

                         6The most likely deployment scenarios will have all servers co-resident at the same physical location; as

                           such, communications will not traverse through a firewall
                         7Bidirectional


                  To operate through a firewall, you may need to override default port assignments.
                  If you cluster your installation, you must disable multicast for communication through firewalls (to
                  mediation servers or clients). Refer to the OpenManage NM Installation Guide for more
                  information.

                        NOTE:
                         To configure ports, open their file in a text editor and search for the default port number. Edit that, save
                         the file and restart the application server and client. Make sure you change ports on all affected
                         machines.
                  Note that mediation service also establishes a socket connection to client on ports 6500 to 6510 for
                  cut through. Specify such port connections in the ezmediation/lib/
                  ezmediation.properties file. (As always, best practice is to override when specifying
                  properties.)
                  Finding Port Conflicts
                  You can find ports in use with the following command line:
                         netstat -a -b -o | findstr [port number]
                  Use this command to track down port conflicts if, for example, installation reports one. Best
                  practice is to run OpenManage NM on its own machine to avoid such conflicts.




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                                                                                      Standard Port Assignments |


               Remote Mediation Ports
               You must open the following ports between application servers and remote mediation servers: 8443,
               3306, 3200, 7800, 8009, 8080, 9001, 31310, 45566.




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Protocol Flows |



Protocol Flows
                   The following network protocol flows represent the application’s interactions with Network Devices
                   (for example: Dell Powerconnect switches). The (N) in these lines identifies dynamic port
                   assignments. Often, OpenManage NM establishes several communication flows to a specified
                   static port so N can represent several dynamic ports. This list also outlines alternative flows for
                   JBoss JMS activation.

                        NOTE:
                          This does not identify time service flows like ntp that can manage the time on the servers.
                   The following were changes to a standard installation done for the sake of measuring the protocol
                   flows. In the J2EE Naming Service: the RMIPort was changed to 31310. Also,
                   owappserver.properties (turns off mediation v2 services on application server) was
                   changed: mediation true->false. This essentially disables mediation on the application server.
                   The following is the installation that produced the listed protocol flows: Full Application Server
                   Installation, Custom Mediation Installation, toggling off 2 (MySQL) and 5 (App Server). The
                   client was a simple client installation.

          Application Server to Mediation Server Flows
                   J2EE
                   TCP Med Svr (N) -> App Svr (1098)
                   TCP Med Svr (N) <-> App Svr (1098)


                   TCP Med Svr (N) -> App Svr (1099)
                   TCP Med Svr (N) <-> App Svr (1099)


                   TCP Med Svr (N) -> App Svr (4446)
                   TCP Med Svr (N) <-> App Svr (4446)


                   TCP Med Svr (N) -> App Svr (4445)
                   TCP Med Svr (N) <-> App Svr (4445)

          JBoss JMS enabled:
                   TCP Med Svr (N) -> App Svr (8093)
                   TCP Med Svr (N) <-> App Svr (8093)

          Application Server to Application Server in Application Server
          Cluster
                   IGMP App Svr-A/B -> 230.13.13.13 (Multicast address assigned per application cluster)
                   UDP App Svr-A/B (45566) -> 230.13.13.13 (45566)
                   IGMP App Svr-A/B -> 230.0.0.253




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                                                                                             Protocol Flows |




               UDP App Svr-A/B (1123) -> 230.0.0.253 (1123)


               UDP App Svr-A/B (1103) -> 230.0.0.5 (1103)


               TCP App Svr-A (1100) <- App Svr-B (N)
               TCP App Svr-A (1100) <-> App Svr-B (N)


               TCP App Svr-A (31310) <- App Svr-B (N)
               TCP App Svr-A (31310) <-> App Svr-B (N)
               (Dynamic Port statically defined to be 31310 in the cluster-service.xml property file)


               TCP App Svr-A (4446) <- App Svr-B (N)
               TCP App Svr-A (4446) <-> App Svr-B (N)


               TCP App Svr-A (2507) <- App Svr-B (N)
               TCP App Svr-A (2507) <-> App Svr-B (N)


               TCP App Svr-A (2508) <- App Svr-B (N)
               TCP App Svr-A (2508) <-> App Svr-B (N)


               TCP App Svr-B (N) -> App Svr-A (8080)
               TCP App Svr-B (N) <-> App Svr-A (8080)

       Application Server to Oracle Database Server
               Optionally configured
               TCP App Svr (N) -> Oracle DB Svr (1521)
               TCP App Svr (N) <-> Oracle DB Svr (1521)



       Application Server to MySQL Database Server
               Embedded Database
               TCP App Svr (N) -> MySQL Svr (3306)
               TCP App Svr (N) <-> MySQL Svr (3306)

       Mediation Server to Application Server Flows
               J2EE
               TCP App Svr (N) -> Med Server (4446)




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Protocol Flows |


                   TCP App Svr (N) <-> Med Server (4446)


                   TCP App Svr (N) -> Med Server (4445)
                   TCP App Svr (N) <-> Med Server (4445)


                   TCP App Svr (N) -> Med Server (1098)
                   TCP App Svr (N) <-> Med Server (1098)


                   Mediation Server uses 230.0.0.223:1123 to discover the application server cluster.
                   UDP Med Server (N) -> 230.0.0.223 (1123) (This multicast address is configurable)
                   UDP Med Svr (1123) -> 230.0.0.253 (1123)

          Mediation Server to Mediation Server Flows
                   Mediation Server to Mediation Server cluster pair flows use the same ports to communicate
                   between each other as those in the section Application Server to Application Server in
                   Application Server Cluster on page 1028. In addition, HA Trap processing use the following
                   configurable multicast flow:
                   IGMP Med Svr-A/B -> 226.0.0.226
                   UDP Med Svr-A (9001) -> Med Svr-B (9001)
                   UDP Med Svr-A (9001) <-> Med Svr-B (9001)

          Mediation Server to Network Element Flows
                   Telnet
                   TCP Med Server (N) -> Network Element (23)
                   TCP Med Server (N) <-> Network Element (23)
                   SSHv1/SSHv2
                   TCP Med Server (N) -> Network Element (22)
                   TCP Med Server (N) <-> Network Element (22)
                   FTP (mediation server FTPs files to and from the FTP server)
                   TCP Med Server (N) -> FTP/TFTP Svr (21)
                   TCP Med Server (N) <-> FTP/TFTP Svr (21)


                   TCP Med Server (N) <- FTP/TFTP Svr (20)
                   TCP Med Server (N) <-> FTP/TFTP Svr (20)
                   TFTP
                   Not applicable
                   SNMP
                   UDP Med Server (162) <- Network Element (N) (trap receipt)




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                                                                                                            Protocol Flows |




               UDP Med Server (N) -> Network Element (161) (get/set)
               UDP Med Server (N) <- Network Element (161)
               ICMP
               No ports are involved with ICMP, but you must allow ICMP traffic from the application/ mediation
               server and devices (and back).
               Syslog
               UDP Med Server (514) <- Network Element (514) (syslog messages) (TCP is possible but not
               implemented)


               Mediation Server to FTP/TFTP Server
               TCP (N) -> FTP/TFTP Svr (21) (ftp-control)
               TCP (N) <-> FTP/TFTP Svr (21)


               TCP (N) <- FTP/TFTP Svr (20) (ftp-data)
               TCP (N) <-> FTP/TFTP Svr (20)


               TCP Med Svr (N) -> FTP/TFTP Svr (69) (Testing “File Server”)
               TCP Med Svr (N) <-> FTP/TFTP Svr (M)

       Mediation Server to Trap Forwarding Destination
               IP Trap Forwarding
               Network Element (161) -> Trap Forwarding Receiver (statically defined N ex. 162 UDP)

                      NOTE:
                      The forwarded trap actually has the IP address of the Network Element, not the Med Server.


       Network Element to FTP/TFTP Server
               FTP
               Network Element (N) -> FTP/TFTP Svr (21)
               Network Element (N) <-> FTP/TFTP Svr (21)


               Network Element (N) <- FTP/TFTP Svr (20)
               Network Element (N) <-> FTP/TFTP Svr (20)


               Network Element (N) -> FTP/TFTP Svr (69)
               Network Element (N) <-> FTP/TFTP Svr (M)




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Protocol Flows |


                   Devices should have connectivity to the external FTP/TFTP server. M means we recommend
                   installing external file servers on mediation servers for a performance improvement. You can also
                   use the internal FTP/TFTP server in Windows environments.

          Client to Application Server
                   J2EE
                   TCP RC clt (N) -> App Svr (1099)
                   TCP RC clt (N) <-> App Svr (1099)


                   TCP RC clt (N) -> App Svr (1098)
                   TCP RC clt (N) <-> App Svr (1098)


                   TCP RC clt (N) -> App Svr (4446)
                   TCP RC clt (N) <-> App Svr (4446)


                   TCP RC clt (N) -> App Svr (4445)
                   TCP RC clt (N) <-> App Svr (4445)


                   IGMP RC clt(N) -> 230.0.0.5
                   UDP RC clt(1123) -> 230.0.0.253 (1123)
                   UDP RC clt(1103) <- App Svr(1103)


                   TCP RC clt (N) -> App Svr (1100)
                   TCP RC clt (N) <-> App Svr (1100)
                   JBoss JMS enabled:
                   TCP RC clt (N) -> App Svr (8093)
                   TCP RC clt (N) <-> App Svr (8093)



          Client to Mediation Server (Direct Access, or Cut Thru)
                   Telnet/SSHv1/SSHv2 Cut - through
                   RC clt (N) -> Med Svr (1099)
                   RC clt (N) <-> Med Svr (1099)


                   RC clt (N) -> Med Svr (1098)
                   RC clt (N) <-> Med Svr (1098)


                   RC clt (N) -> Med Svr (4446)




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                                                                                                  Protocol Flows |


               RC clt (N) <-> Med Svr (4446)


               RC clt (N) -> Med Svr (4445)
               RC clt (N) <-> Med Svr (4445)


               RC clt (6500) <- Med Svr (N) (6500 represents ports 6500-6510)
               RC clt (6500) <-> Med Svr (N)

       Email Network Element Config Differences
               If email from the application server is turned on then the following port must be opened between
               the application and email server:
               TCP App Svr (N) -> smtp relay (25)
               TCP App Svr (N) <-> smtp relay (25)

       JBoss Management Access
               The J2EE server has port 8080 open to allow web browsers access to the JBoss Management
               console. If you want to access this capability then the system browsing the jmx console must have
               access.
               Mgmt client (N) -> App Server (8080)
               To access the Mediation Servers:
               Mgmt client (N) -> Med Server (8080)




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Ports and Application To Exclude from Firewall |



Ports and Application To Exclude from Firewall
                   Exclude java.exe, tcp port 21 and udp port 69 from firewall interference to let the application
                   function. The java process to exclude from firewall blocking is <Installdir>\oware3rd\
                   jdk[version number]\jre\bin\java.exe.
                   If you have distributed the database functions then you must allow the database process to
                   communicate with your machine through your firewall as well. The embedded database process is
                   mysqld-max-nt.exe (in Windows, the path is
                   <installdir>oware3rd\mysql\[version number]\bin\mysql-max-nt.exe.
                   Consult your DBA for Oracle processes, if applicable.
                   Example Linux firewall configuration (from iptables-save > my-config-file):
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 21 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 22 -j ACCEPT
                         -A INPUT -p udp -m state --state NEW -m udp --dport 69 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 161 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 162 -j ACCEPT
                         -A INPUT -p udp -m state --state NEW -m udp --dport 162 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 514 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 1099 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 1100 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 1101 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 3306 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8089 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 5900 -j ACCEPT
                         -A INPUT -p udp -m state --state NEW -m udp --dport 5900 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 6343 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8080 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8089 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8082 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8083 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8119 -j ACCEPT
                         -A INPUT -p udp -m state --state NEW -m udp --dport 8162 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 8162 -j ACCEPT
                         -A INPUT -p tcp -m state --state NEW -m tcp --dport 9996 -j ACCEPT
                         -A INPUT -p udp -m state --state NEW -m udp --dport 9996 -j ACCEPT
                   Add any new lines to the firewall file /etc/sysconfig/iptables, and restart the firewall
                   service.




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                                                                                  Installed Third-Party Applications |



Installed Third-Party Applications
               This software includes the following applications. License information follows in parenthesis:
               ant (licensed under GNU Lesser General Public License [LGPL] http://www.gnu.org/licenses/)
               cygwin (LGPL)
               expect (Public Domain)
               J Free Charts (LGPL)
               Jasper Reports (LGPL)
               JBoss (see directory name for version) (LGPL)
               JDK (Open Source)
               JLoox — (Commercially Licensed to this vendor, not re-distributable)
               MySQL — (GNU Public License [GPL])
               Open SSH — includes OpenSSL (LGPL)
               OpenLDAP — (OpenLDAP License: http://www.openldap.org/software/release/license.html)
               Perl — (LGPL)
               TCL — (LGPL)
               Tomcat — (Apache License)
               Liferay Portal—Liferay Community Edition (LGPL)
               The LGPL, GPL and Apache licenses let us redistribute the above listed open source components,
               but the EULA for all OpenManage NM products prohibits redistribution of any package or
               component of the software. Consult the product’s EULA.htm file, typically in the InstData
               directory of the installation source for more information.




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Windows Management Instrumentation Ports |



Windows Management Instrumentation Ports
                 Windows Management Instrumentation uses the following ports:

                  Protocol or Function                             Ports Used
                  RPC, TCP                                         135,139,445,593
                  SNMP, UDP                                        161,162
                  Optional:
                  WINS, TCP                                        42
                  UDP                                              42, 137
                  PrintSpooler, TCP                                139, 445
                  TCP/IP PrintServer, TCP                          515

                 These are relevant only if you are using any Windows-based server device driver.




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                                                                                        B
OMNM NFV Permissions
This section describes the permissions for NFV records, descriptors, and operations. Each list
includes a description of its type or function, valid actions, and portlet from which each action is
performed.
NFV Records – 1038
NFV Descriptors – 1039
NFV Operations – 1040




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NFV Records |



NFV Records
                Record types (Table B-1) are object-scoped, where READ, WRITE, ADD, DELETE, and
                EXECUTE are against objects of the specified type.

                       NOTE:
                       By default, all users have permission to create and maintain these NFV records.


                Table B-1.   Record Types

                Type                    Description                                                      Actions
                Software Image          A catalog of VDU/VM images.                                  Read, Write, Add,
                                        Maintain and deploy/undeploy these records from the Software Delete, Execute
                                        Images Portlet.
                Vim Instance            Virtual Information Manager OpenStack deployments under          R,W,A,D,E
                                        management.
                                        Maintain these records from the Virtualized Infrastructure
                                        Managers Portlet.
                Network Service         Provisioned virtual network functions and physical functions     R,W,A,D,E
                                        used to produce connectivity.
                                        Maintain these records from the Network Service Records
                                        Portlet.
                Vnf                     At least one VDU/VM, such as a router.                           R,W,A,D,E
                                        Maintain these records from the Virtual Network Function
                                        Records Portlet.
                Pnf                     Physical device to which you connect a virtual device.           R,W,A,D,E
                                        Maintain these records from the Physical Network Function
                                        Records Portlet.
                Vdu Reservation         Virtualization Deployment Unit (VDU) reserved within a           R,W,A,D,E
                                        staged VNF.
                                        View VDU reservation records from the Virtual Reservations
                                        Portlet.




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                                                                                                            NFV Descriptors |



NFV Descriptors
               Descriptor types (Table B-2) are object-scoped, where READ, WRITE, ADD, DELETE, and
               EXECUTE are against objects of the specified type.

                      NOTE:
                      By default, only users with administrative permissions (such as system administrators, network service
                      designers or engineers, and so on) can add and maintain the NFV descriptors.


               Table B-2. Descriptor Types

               Type                    Description                                                        Actions
               Network Service         The template used to create network service records that        Read, Write, Add,
                                       provision virtual network functions and physical functions used Delete, Execute
                                       to produce connectivity.
                                       Maintain these descriptors from the Network Service
                                       Descriptors Portlet.
               Vnf                     The template used to create VDU/VM records, such as a router. R,W,A,D,E
                                       Maintain these descriptors from the Virtual Network Function
                                       Descriptors Portlet.
               Pnf                     The template used to create records for physical device to         R,W,A,D,E
                                       which you connect a virtual device.
                                       Maintain these descriptors from the Physical Network Function
                                       Descriptors Portlet.




OMNM 8.0 User Guide                                                                                                     1039
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NFV Operations |



NFV Operations
                   Operation functions (Table B-3) for which there is only an EXECUTE action defined.
                   The listed functions are performed from the OpenManage NM (OMNM) application portlets.

                        NOTE:
                        By default, all users have permission to execute all these functions except for the Vnf Discovery function.
                        Only users with administrative permissions (such as system administrators, network service designers or
                        engineers, and so on) can execute the Vnfd Discovery function.


                   Table B-3.   Operation Functions (Sheet 1 of 4)

                   Function                Description                                                         Actions
                   Vim Capacity Resync Refreshes namespace resources and capacity for the selected             Execute
                                       VIM or OpenManage NM Stack capacity.
                                           Performed from the Virtualized Infrastructure Managers
                                           Portlet.
                   Image Download          Creates a software image descriptor (such as F5 Firefly) for a      Execute
                                           snapshot image and saves it to disk in the specified location.
                                           Performed from the Software Images Portlet. Right-click and
                                           software image and then select Download.
                   Image Deploy            Implements the selected software image (such as F5 Firefly) in Execute
                                           the specified VIM.
                                           Performed from the Software Images Portlet. Right-click an
                                           software image and then select Deploy.
                   Image Undeploy          Removes the selected software image setup from the VIM.             Execute
                                           Performed from the Software Images Portlet. Right-click an
                                           software image and then select Undeploy.
                   Network Service         Implements a network service in the specified VIM by                Execute
                   Deploy                  establishing network connectivity, processing the VNF
                                           instantiate event, and resyncing VIM resources.
                                           Performed from the Network Service Records Portlet. Right-
                                           click a network service record and then select Deploy.
                   Network Service         Removes the network service from the specified VIM by               Execute
                   Undeploy                processing the VNF terminate event and resyncing VIM
                                           resources.
                                           Performed from the Network Service Records Portlet. Right-
                                           click a network service record and then select Undeploy.
                   Network Service         Brings existing Network Services under management by                Execute
                   Discovery               interrogating the virtualization platform and matching the
                                           instance properties to a descriptor.
                                           Performed from the Network Service Records Portlet. Right-
                                           click a network service record and then select Discovery/Resync.
                   Network Service         Runs the Scale-in event to reduce the service scope. To             Execute
                   Scale-In                successfully run, this option requires a scale-in event with a
                                           lower scale value.
                                           Performed from the Network Service Records Portlet. Right-
                                           click a network service record and then select Scaling > Scale
                                           In.




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                                                                                                          NFV Operations |


               Table B-3. Operation Functions (Sheet 2 of 4)

               Function               Description                                                       Actions
               Network Service        Runs the Scale-out event to increase the service scope. To        Execute
               Scale-Out              successfully run, this option requires a scale-out event with a
                                      higher scale value.
                                      Performed from the Network Service Records Portlet. Right-
                                      click a network service record and then select Scaling > Scale
                                      Out.
               Network Service        Runs the Diagnostics event for the selected service. The user     Execute
               Diagnostics            defines this event.
                                      Performed from the Network Service Records Portlet. Right-
                                      click a network service record and then select
                                      Maintenance > Diagnostics.
               Network Service        Runs the Upgrade event for the selected service to ensure that Execute
               Upgrade                the latest descriptor is used.
                                      Performed from the Network Service Records Portlet. Right-
                                      click a network service record and then select
                                      Maintenance > Upgrade.
               Network Service        Runs the Disaster Recovery event for the selected service. The Execute
               Recovery               user defines this event.
                                      Performed from the Network Service Records Portlet. Right-
                                      click a network service record and then select
                                      Maintenance > Disaster Recover.
               Network Service        Gracefully shuts down the selected network service.               Execute
               Shutdown               Performed from the Network Service Records Portlet. Right-
                                      click a network service record and then select Shutdown.
               Network Service Link Deploys link configuration actions that define the end points to Execute
               Deploy               pass traffic.
                                      Performed from the Network Service Records Portlet. Right-
                                      click a network service record and then select Deploy Virtual
                                      Links.
               Vnfd Discovery         Creates a base descriptor record from an existing VNF             Execute
                                      deployment.
                                      Performed from the Virtual Network Function Descriptors
                                      Portlet. Right-click a VNF descriptor and then select Discover
                                      Vnfd.
                                      Note: Only users with administrative permissions (such as
                                      system administrators, network service designers or engineers,
                                      and so on) can execute this function.
               Vnf Discovery          Brings existing VNF instances under management by matching Execute
                                      the configuration properties with those of a descriptor in
                                      inventory.
                                      Performed from the Virtual Network Function Records Portlet.
                                      Right-click a VNF and then select Discover/Resync.
               Vnf Deploy             Implements a VNF instance in the specified VIM.                   Execute
                                      Performed from the Virtual Network Function Records Portlet.
                                      Right-click a VNF and then select Deploy.




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NFV Operations |


                   Table B-3.   Operation Functions (Sheet 3 of 4)

                   Function                Description                                                       Actions
                   Vnf Undeploy            Runs the VNF terminate event.                                     Execute
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Undeploy.
                   Vnf Start               Resumes running the selected VNF instance in a non-frozen         Execute
                                           state.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Start/Stop > Start. Can also
                                           use the OpenStack Unpause command.
                   Vnf Stop                Pauses the selected VNF instance, stores the VM state in RAM, Execute
                                           and the instance continues to run in a frozen state.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Start/Stop > Stop. Can also
                                           use the OpenStack Pause command.
                   Vnf Resume              Continues with the selected VNF instance maintenance state. Execute
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Resume/Suspend > Resume.
                   Vnf Suspend             Pauses the selected VNF instance maintenance state.               Execute
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Resume/
                                           Suspend > Suspend.
                   Vnf Shutdown            Gracefully shuts down the selected VNF instance. Part of the      Execute
                                           lifecycle event.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Shutdown. Can also use the
                                           OpenStack Shut Off Instance action.
                   Vnf Migrate             Move the VNF from one host to another.                            Execute
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Maintenance > Migrate.
                   Vnf Scale-In            Runs the Scale-in event to reduce the VNF scope. To               Execute
                                           successfully run, this option requires a scale-in event with a
                                           lower scale value.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Scaling > Scale In.
                   Vnf Scale-Out           Runs the Scale-out event to increases the VNF scope. To           Execute
                                           successfully run, this option requires a scale-out event with a
                                           higher scale value.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Scaling > Scale Out.
                   Vnf Diagnostics         Runs the Diagnostics event for the selected VNF. The user         Execute
                                           defines this event.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Maintenance > Diagnostics.
                   Vnf Heal                Runs the Heal event for the selected VNF. Part of the lifecycle   Execute
                                           event.
                                           Performed from the Virtual Network Function Records Portlet.
                                           Right-click a VNF and then select Maintenance > Heal.




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                                                                                                       NFV Operations |


               Table B-3. Operation Functions (Sheet 4 of 4)

               Function               Description                                                    Actions
               Vnf Upgrade            Runs the Upgrade event for the selected VNF to ensure that     Execute
                                      the latest descriptor is used.
                                      Performed from the Virtual Network Function Records Portlet.
                                      Right-click a VNF and then select Maintenance > Upgrade.
               Vnf Recovery           Runs the Disaster Recovery event for the selected VNF. The     Execute
                                      user defines this event.
                                      Performed from the Virtual Network Function Records Portlet.
                                      Right-click a VNF and then select Maintenance > Disaster
                                      Recovery.
               Vnf Configure          Lays the down base configuration necessary for VNF to operate, Execute
                                      once the VNF is instantiated.




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NFV Operations |




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                                                                                   C
Notifications
Provides a list of notifications (Table C-1) that the OpenManage NM (OMNM) application
publishes to the OpenManage NM event bus. Refer to the OpenManage NM Event Management
User Guide to understand what you can do with the notification’s w/r/t forwarding, suppressing,
running actions, correlation, and so on.




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|



               Table C-1.   Notifications (Sheet 1 of 4)

               Notification                                 OID
               Network Service Descriptors
               Network Service Descriptor Created           1.3.6.1.4.1.3477.36.2.2
               Network Service Descriptor Branched          1.3.6.1.4.1.3477.36.2.3
               Network Service Descriptor Updated           1.3.6.1.4.1.3477.36.2.4
               Network Service Descriptor Deleted           1.3.6.1.4.1.3477.36.2.5
               Network Service Records
               Network Service Record Staged                1.3.6.1.4.1.3477.36.4.2
               Network Service Record Deploy Initiated      1.3.6.1.4.1.3477.36.4.3
               Network Service Record Deploy Completed      1.3.6.1.4.1.3477.36.4.4
               Network Service Record Deploy Failed         1.3.6.1.4.1.3477.36.4.5
               Network Service Record Undeploy Initiated    1.3.6.1.4.1.3477.36.4.6
               Network Service Record Undeploy Completed    1.3.6.1.4.1.3477.36.4.7
               Network Service Record Undeploy Failed       1.3.6.1.4.1.3477.36.4.8
               Network Service Record Scaling Initiated     1.3.6.1.4.1.3477.36.4.9
               Network Service Record Scaling Complete      1.3.6.1.4.1.3477.36.4.10
               Network Service Record Scaling Failed        1.3.6.1.4.1.3477.36.4.11
               Network Service Record Deleted               1.3.6.1.4.1.3477.36.4.12
               VNF Descriptors
               Vnf Descriptor Created                       1.3.6.1.4.1.3477.36.6.2
               Vnf Descriptor Branched                      1.3.6.1.4.1.3477.36.6.3
               Vnf Descriptor Updated                       1.3.6.1.4.1.3477.36.6.4
               Vnf Descriptor Deleted                       1.3.6.1.4.1.3477.36.6.5
               VNF Records
               Vnf Record Staged                            1.3.6.1.4.1.3477.36.8.2
               Vnf Record Deploy Initiated                  1.3.6.1.4.1.3477.36.8.3
               Vnf Record Deploy Completed                  1.3.6.1.4.1.3477.36.8.4
               Vnf Record Deploy Failed                     1.3.6.1.4.1.3477.36.8.5
               Vnf Record Undeploy Initiated                1.3.6.1.4.1.3477.36.8.6
               Vnf Record Undeploy Completed                1.3.6.1.4.1.3477.36.8.7
               Vnf Record Undeploy Failed                   1.3.6.1.4.1.3477.36.8.8
               Vnf Record Scaling Initiated                 1.3.6.1.4.1.3477.36.8.9
               Vnf Record Scaling Complete                  1.3.6.1.4.1.3477.36.8.10
               Vnf Record Scaling Failed                    1.3.6.1.4.1.3477.36.8.11
               Vnf Record Deleted                           1.3.6.1.4.1.3477.36.8.12
               Vnf Record Offline                           1.3.6.1.4.1.3477.36.8.13
               Vnf Record Failed                            1.3.6.1.4.1.3477.36.8.14
               Vnf Record Suspended                         1.3.6.1.4.1.3477.36.8.15
               Vnf Record Resumed                           1.3.6.1.4.1.3477.36.8.16
               Vnf Record Stopped                           1.3.6.1.4.1.3477.36.8.17
               Vnf Record Started                           1.3.6.1.4.1.3477.36.8.18




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                                                                                         |


               Table C-1.   Notifications (Sheet 2 of 4)

               Notification                                OID
               Vnf Record Migrated                         1.3.6.1.4.1.3477.36.8.19




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               Table C-1.   Notifications (Sheet 3 of 4)

               Notification                                 OID
               VNF Records (continued)
               Vnf Record Normal                            1.3.6.1.4.1.3477.36.8.20
               Vdu Record Staged                            1.3.6.1.4.1.3477.36.10.2
               Vdu Record Instantiation Initiated           1.3.6.1.4.1.3477.36.10.3
               Vdu Record Instantiation Complete            1.3.6.1.4.1.3477.36.10.4
               Vdu Record Instantiation Failed              1.3.6.1.4.1.3477.36.10.5
               Vdu Record Virtual Machine Booted            1.3.6.1.4.1.3477.36.10.6
               Vdu Record Resource Under Management         1.3.6.1.4.1.3477.36.10.7
               Vdu Record Termination Initiated             1.3.6.1.4.1.3477.36.10.8
               Vdu Record Termination Complete              1.3.6.1.4.1.3477.36.10.9
               Vdu Record Termination Failed                1.3.6.1.4.1.3477.36.10.10
               Vdu Record Offline                           1.3.6.1.4.1.3477.36.10.11
               Vdu Record Failed                            1.3.6.1.4.1.3477.36.10.12
               Vdu Record Suspended                         1.3.6.1.4.1.3477.36.10.13
               Vdu Record Resumed                           1.3.6.1.4.1.3477.36.10.14
               Vdu Record Stopped                           1.3.6.1.4.1.3477.36.10.15
               Vdu Record Started                           1.3.6.1.4.1.3477.36.10.16
               Vdu Record Migrated                          1.3.6.1.4.1.3477.36.10.17
               Vdu Record Rebooted                          1.3.6.1.4.1.3477.36.10.18
               Vdu Record Normal                            1.3.6.1.4.1.3477.36.10.20
               Lifecycle Records
               Lifecycle Vdu Record Task Initiated          1.3.6.1.4.1.3477.36.12.2
               Lifecycle Vdu Record Task Complete           1.3.6.1.4.1.3477.36.12.3
               Lifecycle Vdu Record Task Failed             1.3.6.1.4.1.3477.36.12.4
               Lifecycle Vnf Record Task Initiated          1.3.6.1.4.1.3477.36.12.5
               Lifecycle Vnf Record Task Complete           1.3.6.1.4.1.3477.36.12.6
               Lifecycle Vnf Record Task Failed             1.3.6.1.4.1.3477.36.12.7
               Lifecycle Service Record Task Initiated      1.3.6.1.4.1.3477.36.12.8
               Lifecycle Service Record Task Complete       1.3.6.1.4.1.3477.36.12.9
               Lifecycle Service Record Task Failed         1.3.6.1.4.1.3477.36.12.10
               Lifecycle Link Record Task Initiated         1.3.6.1.4.1.3477.36.12.11
               Lifecycle Link Record Task Complete          1.3.6.1.4.1.3477.36.12.12
               Lifecycle Link Record Task Failed            1.3.6.1.4.1.3477.36.12.13
               Virtual Link Records
               Virtual Link Record Deploy Initiated         1.3.6.1.4.1.3477.36.14.2
               Virtual Link Record Deploy Complete          1.3.6.1.4.1.3477.36.14.3
               Virtual Link Record Deploy Failed            1.3.6.1.4.1.3477.36.14.4
               Virtual Link Record Undeploy Initiated       1.3.6.1.4.1.3477.36.14.5
               Virtual Link Record Undeploy Complete        1.3.6.1.4.1.3477.36.14.6
               Virtual Link Record Undeploy Failed          1.3.6.1.4.1.3477.36.14.7




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               Table C-1.   Notifications (Sheet 4 of 4)

               Notification                                OID
               VIM Instances
               VIM Instance Created                        1.3.6.1.4.1.3477.36.16.2
               VIM Instance Deleted                        1.3.6.1.4.1.3477.36.16.3
               Software Images
               Software Image Deployed                     1.3.6.1.4.1.3477.36.18.2
               Software Image Undeployed                   1.3.6.1.4.1.3477.36.18.3
               VNF Licenses
               VNF License Threshold Warning               1.3.6.1.4.1.3477.36.20.2
               VNF License Threshold Cleared               1.3.6.1.4.1.3477.36.20.3




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Access Control        Refers to mechanisms and policies that restrict access to computer resources. An access
                      control list (ACL), for example, specifies what operations different users can perform on
                      specific files and directories.
Advanced Firewall     An F5 Networks BIG-IP Web application firewall that uses both positive and negative
Manager (AFM)         security models to identify, isolate, and block sophisticated attacks without impacting
                      legitimate application transactions. AFM is a high-performance, stateful, full-proxy
                      network security solution designed to guard data centers against incoming threats that
                      enter the network on the most widely deployed protocols.
Agent Mapper          The Mediation Agent handles SNMP requests, SNMP traps, and ASCII grammars
                      through the Agent Mapper. You must configure the Agent Mapper with each Mediation
                      Agent location.
Alarm                 A signal alerting the user to an error or fault. Alarms are produced by events. Alarms
                      produce a message within the Alarm Window.
API                   Application Programing Interface—A set of routines used by the application to direct the
                      performance of procedures by the computer’s operating system.
Applet                A small application that performs a single task and runs within a widget engine or larger
                      program, often as a plug-in.
Application Server    A component frameworks container. For example, Enterprise JavaBeans, that includes
                      fundamental services for access and intra-system communication. Both OpenManage NM
                      and Oware run in the Application Server.
ASCII                 American Standard Code for Information Interchange protocol.
ATM                   Asynchronous Transfer Mode. ATM is a high bandwidth, low-delay, connection-oriented,
                      packet-like switching and multiplexing technique.
Authentication        The process of determining the identity of a user that is attempting to access a network.
                      Authentication occurs through challenge/response, time-based code sequences or other
                      techniques. See CHAP and PAP.
Bare Metal            A computer system or network in which a virtual machine is installed directly on hardware
                      rather than within the host operating system (OS). Bare metal refers to a hard disk where
                      the OS is installed.
Blade                 See Solution Blade.
BOM                   Business Object Manager; responsible for managing all defined objects. Includes object
                      database. Handles all scheduling, notification, caching and modification services for
                      objects.
Business Class        A category of objects. A business class contains a name that defines the class, properties,
                      and attributes that define the individual data within the business class. For example, you
                      can have a business class named Employee that has a persisted property and a Name
                      attribute.
                      Note: A business class is not the same as a Java class. Business class is concept that is
                      unique to Oware.




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 Business Object       One specific instance in a class. For example, the Employee business class would include
                       the John Smith object.
 Ceilometer            A metering function that collects, normalizes, and transforms data produced by
                       OpenStack services. The information collected allows you to track and manage resources.
 Center                One of three integrated Oware parts; each part has its own function within Oware. The
                       three parts are:
                        •   Oware Creation Center (OCC) — for creating and rendering solution blades
                        •   Oware Execution Center (OEC) — for powering solution blades
                        •   Oware Management Center (OMC) — for deploying and managing solution blades
 Class                 See Business Class.
 CORBA                 Common Object Request Broker Architecture — An architecture that enables pieces of
                       programs, called objects, to communicate with one another regardless of what
                       programming language they were written in or what operating system they're running on.
 CoS                   Class of Service—Describes the level of service provided to a user. Also provides a way of
                       managing traffic in a network by grouping similar types of traffic.
 CoS                   Class of Service — Describes the level of service provided to a user. Also provides a way of
                       managing traffic in a network by grouping similar types of traffic.
 Creation Center,      This Oware center is where you create and render solution blades.
 (OCC)
 Database              An organized collection of Oware objects.
 Deployment            The distribution of solution blades throughout the domain.
 Descriptor            A file that describes the VNF attributes and network services specifications.
                       A VNF descriptor describes the virtual functions behavior. A network services descriptor
                       describes the deployment requirements, operational behavior, and policies required.
                       These descriptors are templates from which you build network service records and VNF
                       records.
 Digital Certificate   A digital certificate is an electronic “credit card” that establishes your credentials when
                       doing business or other transactions on the Web. It is issued by a certification authority
                       (CA). It contains your name, a serial number, expiration dates, a copy of the certificate
                       holder's public key (used for encrypting and decrypting messages and digital signatures),
                       and the digital signature of the certificate-issuing authority so that a recipient can verify
                       that the certificate is real.
 Domain                A goal-oriented environment that can include an industry, company, or department. You
                       can use Oware to create solutions within your particular domain.
 Domain                A command-line tool used to query domain name system (DNS) servers.
 Information Groper
 (dig)
 Domain                A goal-oriented environment that can include an industry, company, or department. You
                       can use the Oware product to create solutions within your particular domain.
 EJB                   Enterprise JavaBean — An application designed to extend the JavaBean component
                       model to a cross-platform, server-side application.




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Element               A type of data that defines and organizes Oware data for easy references. There are six
                      types of elements: business class, event, form, grammar, graphic, and rule.
Encryption            Scrambling data in such a way that it can only be unscrambled through the application of
                      the correct cryptographic key.
Equipment             A network device managed by the system.
Ethernet Access       These represent the access points through which Ethernet frames flow in and out of an
Point                 Ethernet service.
                      For an Ethernet Service that uses an Ethernet Trunk Service, an Ethernet Access Port
                      must be associated with either one of the two Ethernet Access Services.
Ethernet Access       Since an Ethernet trunk can be shared by multiple Ethernet Services, each Ethernet
Service               Service relates to a shared trunk via a unique Ethernet Access component.
                      Because Ethernet trunk is a point-to-point connection, there are two Ethernet Access
                      Services per trunk per Ethernet service instance.
Ethernet Service      An Ethernet service represents a virtual layer broadcast domain that transports or
                      transmits Ethernet traffic entering from any one endpoint to all other endpoints.
                      Often, this is a VLAN service across multiple devices.
                      An Ethernet service may or may not use Ethernet trunk, depending on the desired
                      connection between two neighboring devices. If the connection is exclusively used for this
                      Ethernet service, no Ethernet trunk is needed. On the other hand, if the connection is
                      configured as an aggregation which can be shared by multiple Ethernet services, an
                      Ethernet trunk models such a configuration.
                      Each Ethernet service can have multiple Ethernet Access Ports through which Ethernet
                      traffic flows get access to the service.
Ethernet Trunk        An Ethernet Trunk service represents a point-to-point connection between two ports of
                      two devices. Ethernet frames transported by the connection are encapsulated according to
                      IEEE 802.1Q protocol. The each tag ID value in 802.1Q encapsulated Ethernet frames
                      distinguishes an Ethernet traffic flow. Thus, an Ethernet trunk can aggregate multiple
                      Ethernet VLANs through a same connection which is why “trunk” describes these.
Ethernet Trunk Port   An Ethernet trunk port is a port that terminates a point-to-point Ethernet trunk. Since
                      Ethernet trunk is a point-to-point connection, each Ethernet trunk contains two Ethernet
                      trunk ports.
Event                 Notification received from the NMS (Network Management System). Notifications may
                      originate from the traps of network devices or may indicate an occurrence such as the
                      closing of a form. Events have the potential of becoming alarms.
Event Definition      Parameters that define what an event does. For example, you can tell Oware that the event
                      should be to wait for incoming data from a remote database, then have the Oware
                      application perform a certain action after it receives the data.
Event Instance        A notification sent between two Oware components. An event instance is the action the
                      event performs per the event definition.
Event Template        Defines how an event is going to be handled.
Event Threshold       Number of events within a given tomfooleries that must occur before an alarm is raised.




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 Event Definition   Parameters that define what an event does. For example, you can tell the Oware
                    application that the event waits for incoming data from a remote database, then the
                    Oware application performs a certain action after it receives the data.
 Event Instance     A notification sent between two Oware components. An event instance is the action the
                    event performs per the event definition.
 Event Template     Defines how an event is handled.
 Event Threshold    Number of events within a given time frame that must occur before an alarm is raised.
 Execution Center   This Oware center renders solutions by executing solution blades. It does this by
 (OEC)              completing the application. It loads classes into the classes database, it and reads and
                    creates objects in the database.
 Exporting          Saving business objects, packages, or solution blades to a file for others to import.
 FCAPS              Fault Configuration Accounting Performance Security
 Filter             In network security, a filter is a program or section of code that is designed to examine
                    each input or output request for certain qualifying criteria and then process or forward it
                    accordingly.
 Flavors            OpenManage NM deployment configurations that specify the number of network
                    services, virtualized network functions, etc. The deployment flavors are useful when there
                    is a need to scale in/out the number of instances to decrease/increase capacity, respectively.
                    In an OpenStack configuration, flavors define resources, such as CPU, memory, and disk
                    space.
 Form               An interface that lets users interact with a solution blade. Users can use forms to enter
                    data, view data and/or events, and trigger rules and/or events in a solution blade.
 Grammar            Translates ASCII text communications between the solution blade and the external
                    systems via patterns built into the OCC Grammar Composer.
 Growl              A small pop-up message that appears in the upper right corner when you save an item,
                    when information is shown, or when there is an error. The growl only shows for a few
                    seconds. This message is also sent to the My Alerts list to view later.
 Hypervisor         Software that partitions the underlying physical resources and creates Virtual Machines
                    (VMs), and isolates the VMs from each other.
                    A hypervisor runs one or more virtual machines on a host machine, and each virtual
                    machine is called a guest machine. This allows multiple guest VMs to effectively share the
                    system’s physical resources, such as CPU cycles, memory space, network bandwidth, and
                    so on.
 IDE                Integrated Development Environment. A programing environment integrated into an
                    application.
 IIOP               Internet Inter-ORB Protocol. A protocol used to implement CORBA solutions over the
                    World Wide Web
 Image              A blueprint from which new VMs are deployed. An image captures the operating system,
                    applications, and their configuration settings. The image does not contain any sensitive
                    data (such as private keys and passwords).
 Importing          Loading business objects, packages, or solution blades into the OCC for you to edit.




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Instantiate           The process of creating an object of a specific class.
ISATAP                The Intra-Site Automatic Tunnel Addressing Protocol (ISATAP) is an IPv6 transition
                      mechanism which is defined as a tunneling IPv6 interface and is meant to transmit IPv6
                      packets between dual-stack nodes on top of an IPv4 network.
Key                   In cryptography, a key is a variable value that is applied using an algorithm to a string or
                      block of unencrypted text to produce encrypted text. The length of the key generally
                      determines how difficult it will be to decrypt the text in a given message.
Key Management        The establishment and enforcement of message encryption and authentication
                      procedures, in order to provide privacy-enhanced mail (PEM) services for electronic mail
                      transfer over the Internet.
LCE                   A Lifecycle Event (LCE) that identifies a specific behavior as defined within the
                      OpenManage NM Management and Orchestration NFV specification.
Managed Object        A network device managed by the system.
Management            This Oware center deploys and manages solution blades.
Center, Oware
(OMC)
Mbeans                Management Beans. These objects specify the protocol of the device with which they are
                      communicating.
Mediation             Communication between this application and external systems or devices, for example,
                      printers. Mediation services let this application treat these devices as objects.
Mediation Agent       Any communication to and from equipment is handled by the Mediation Agent. This
                      communication includes SNMP requests, ASCII requests, and unsolicited ASCII
                      messages. In addition, the Mediation Agent receives and translates emitted SNMP traps
                      and converts them into events.
MEG                   Maintenance Entity Group
MEP                   Maintenance End Point
Metadata              Attributes that describe Oware database objects; data about data (for example, title, size,
                      author, or subject).
Metadatabase          An organized collection of Oware attributes (also called meta-data). For example, the ZIP
                      Code attribute in the meta-database can describe all database business objects with five
                      digits (such as, 94101).
MIB                   Management Information Base. A database (repository) of managed objects containing
                      object characteristics and parameters that can be monitored by the network management
                      system.
Multi-Threading       Concurrent processing of more than one message by an application.
Network Functions     All hardware and software components used to create the environment in which you
Virtualization        deploy virtualized network functions (VNFs).
Infrastructure
(NFVI)                Note: The NFV infrastructure can span across several locations (such as different data
                      center operations) and provides the connectivity between these locations.
                      NFVI and VNF are the are the main entities of network function virtualization.
OAM                   Operation, Administration and Maintenance




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 OCC               See Creation Center, (OCC).
 OEC               See Execution Center (OEC).
 OID               Object ID.
 OID               Object ID.
 OMC               See Management Center, Oware (OMC).
 Onboarding        A process used to implement network services.
 OpenStack         An open-source cloud operating system that controls large pools of compute, storage, and
                   networking resources. The OpenStack system is often deployed as an infrastructure-as-a-
                   service (IaaS).
 Orchestration     The automated arrangement, coordination, and management of computer systems,
                   middleware, and services.
 OSPF              Open Shortest Path First routing protocol.
 Oware             Oware is an Internet infrastructure software product that delivers advanced user, content
                   and network aware Internet Commerce Systems. Oware allows users to quickly render
                   Internet Commerce Systems that have inherent knowledge of user profiles, content, and
                   network resources, enabling a class-of-service based Internet.
 Package           The container for Oware elements.
 Parameter Event   An event with rule parameters.
 Persistent Data   Data stored in the database for future use. (As opposed to transient data).
 Pessimistic       A pessimistic locking scheme denies all access (create, read, write, update) to database
 Locking           items already being read by other users.
 Policy            A rule made up of conditions and actions and associated with a profile. Policy objects
                   contain business rules for performing configuration changes in the network for controlling
                   Quality of Service and Access to network resources. Policy can be extended to perform
                   other configuration functions, including routing behavior, VLAN membership, and VPN
                   security.
 Policy            In a policy enforced network, a policy enforcement point represents a security appliance
 Enforcement       used to protect one or more endpoints. PEPs are also points for monitoring the health and
 Points (PEP)      status of a network. PEPs are generally members of a policy group.
 Policy routing    Routing scheme that forwards packets to specific interfaces based on user-configured
                   policies. Such policies might specify that traffic sent from a particular network should be
                   routed through interface, while all other traffic should be routed through another
                   interface.
 Policy Rules      In a policy enforced network (PEN), policy rules determine how the members and
                   endpoint groups of a policy group communicate.
 PPTP (Point-to-   Point-to-Point Tunneling Protocol (PPTP) is a network protocol that enables the secure
 Point Tunneling   transfer of data from a remote client to a private enterprise server by creating a virtual
 Protocol)         private network (VPN) across TCP/IP-based data networks. PPTP supports on-demand,
                   multi-protocol, virtual private networking over public networks, such as the Internet.




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Private Key           In cryptography, a private or secret key is an encryption/decryption key known only to the
                      party or parties that exchange secret messages. In traditional secret key cryptography, a key
                      would be shared by the communicators so that each could encrypt and decrypt messages.
                      The risk in this system is that if either party loses the key or it is stolen, the system is
                      broken. A more recent alternative is to use a combination of public and private keys. In
                      this system, a public key is used together with a private key.
Profile               A profile is an abstract collection of configuration data that is utilized as a template to
                      specify configuration parameters to be applied to a device as a result of a policy condition
                      being true.
Pseudo-optimistic     Oware provides pseudo-optimistic locking. The first caller to attempt to get an object for
locking               update is granted an “update” lock. Subsequent callers can still read the object, but Oware
                      denies any attempt to obtain an update lock until the initial caller ends the session.
Public Key            A public key is a value provided by some designated authority as a key that, combined with
                      a private key derived from the public key, can be used to effectively encrypt and decrypt
                      messages and digital signatures. The use of combined public and private keys is known as
                      asymmetric encryption. A system for using public keys is called a public key infrastructure
                      (PKI).
QoS                   Quality of Service. In digital circuits, it is a measure of specific error conditions as
                      compared with a standard. The establishment of QoS levels means that transmission
                      rates, error rates, and other characteristics can be measured, improved, and, to some
                      extent, guaranteed in advance. Often related to Class of Service (CoS).
RADIUS                RADIUS (Remote Authentication Dial-In User Service) is a client/server protocol and
                      software that enables remote access servers to communicate with a central server to
                      authenticate dial-in users and authorize their access to the requested system or service.
                      RADIUS allows a company to maintain user profiles in a central database that all remote
                      servers can share.
Rendering/Render      The process of generating OMG metadata, compiling and saving application components
                      within the context of Oware. Also called solution rendering.
RIP                   Routing Information Protocol
RMI                   Remote Method Invocation — A set of protocols (Sun’s JavaSoft) that enables Java
                      objects to communicate remotely with other Java objects. It works only with Java objects.
RMO                   Resource Management and Operation (RMO) is the OpenManage NM core resource
                      management, configuration, backup, and image management feature.
RMON                  Remote Monitoring; a monitoring set of SNMP-based MIBS used to manage networks
                      remotely. Nine diagnostic groups are defined. Of these, OpenManage NM software
                      supports Events and Alarms.
Rule                  Defines what a solution blade does in a particular situation — for example, how the
                      solution blade responds to an event. An event, another rule, or program code can trigger a
                      rule.
Scale In              An event used to decrease an instance’s capacity by selecting the appropriate deployment
                      flavors.
Scale Out             An event used to increase an instance’s capacity by selecting the appropriate deployment
                      flavors.




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 Self-signed          A self-signed certificate uses its own certificate request as a signature rather than the
 Certificate          signature of a CA. A self-signed certificate will not provide the same functionality as a CA-
                      signed certificate. A self-signed certificate will not be automatically recognized by users'
                      browsers, and a self-signed certificate does not provide any guarantee concerning the
                      identity of the organization that is providing the website.
 Servlet              A small Java program that runs on a server, noted for quickness. (See also: Applet.)
 SMTP                 Simple Mail Transfer Protocol.
 SNMP                 Simple Network Management Protocol. Network management protocol used almost
                      exclusively in TCP/IP networks. SNMP provides the means to monitor and control
                      network devices, and to manage configurations, statistics collection, performance, and
                      security.
 Solution Blade       The properties specified in the OCC that describe the application to be rendered. Also
                      called a meta application or a blade.
 Solution             The integration of all Oware elements and components into an executable application
 Rendering            and a set of instructions (metadata) for creating the application.
 Spanning Tree        The inactivation of links between networks so that information packets are channeled
 Protocol (STP)       along one route and will not search endlessly for a destination.
 Spanning Tree        The inactivation of links between networks so that information packets are channeled
 Protocol (STP)       along one route and will not search endlessly for a destination.
 SSH (Secure Shell)   A protocol which permits secure remote access over a network from one computer to
                      another. SSH negotiates and establishes an encrypted connection between an SSH client
                      and an SSH server.
 SSL (Secure          A program layer created by Netscape for managing the security of message transmissions
 Sockets Layer)       in a network. Netscape's idea is that the programming for keeping your messages
                      confidential ought to be contained in a program layer between an application (such as
                      your Web browser or HTTP) and the Internet's TCP/IP layers. The “sockets” part of the
                      term refers to the sockets method of passing data back and forth between a client and a
                      server program in a network or between program layers in the same computer.
 Telemetry            An automated communications process used to collect measurements and other data
                      from remote or inaccessible points and transmit it to receiving equipment for monitoring.
 Transaction          An atomic unit of work that modifies data. A transaction encloses one or more program
                      statements, all of which either complete or roll back. Transactions enable multiple users to
                      access the same data concurrently.
 Transaction          The scope of a transaction; defined by a transaction context shared by the participating
 Context              objects.
 Transaction          This defines interfaces that allow multiple, distributed objects to cooperate. These
 Service              interfaces enable the objects to either commit all changes together or to rollback all
                      changes together, even in the presence of failure. The Transaction Service typically places
                      no constraints on the number of objects involved, the topology of the application or the
                      way in which the application is distributed across a network.
 Transient Data       Temporary data that exists only while being used by a solution blade.




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Trap (SNMP Trap)      A notification from a network element or device of its status, such as a server startup. This
                      notification is sent by an SNMP agent to a Network Management System (NMS) where it
                      is translated into an event by the Mediation Agent.
Trap Forwarding       The process of re-emitting trap events to remote hosts. Trap Forwarding is available from
                      the application through Actions and through the Resource Manager.
Trap Forwarding       The process of re-emitting trap events as traps to another management system, such as
                      the NMS (Network Management System).
UUID (Universally     A unique 128-bit, system generated value assigned to each network service, virtual
Unique ID)            network function, and physical function descriptor.
Virtual Rule          A rule engine encapsulated by a ubiquitous meta schema that manages logic, processes
Machine (VRM)         requests, and associates behaviors required by a solution blade.
Virtual Solution      A complete, integrated set of technologies used to create, execute, and manage Internet
Machine (VSM)         commerce business systems. All of the components, services and technology in a single
                      product, already integrated and ready to use.
Virtualized           A functional block that controls and manages Network Functions Virtualization
Infrastructure        Infrastructure (NFVI) resources (compute, storage, and network) within an operator’s
Manager (VIM)         infrastructure domain.
VLAN                  A virtual local area network (LAN), commonly known as a VLAN, is a group of hosts with
                      a common set of requirements that communicate as if they were attached to the
                      Broadcast domain, regardless of their physical location. A VLAN has the same attributes as
                      a physical LAN, but it allows for end stations to be grouped together even if they are not
                      located on the same network switch. Network reconfiguration can be done through
                      software instead of physically relocating devices.
WBEM                  Web-Based Enterprise Management (WBEM) is a set of industry standards that an
                      enterprise uses to manage its Internet information operations in a distributed computing
                      environment.




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